12-12020-mg     Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13   Appendix
                                        Pg 1 of 385




                          UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

In re:                                    : Chapter 11

RESIDENTIAL CAPITAL, LLC, et. al.         : Case Number 12-12020 (MG)
                                            (Jointly Administered)
                           Debtors.       :



                REPORT OF ARTHUR J. GONZALEZ, AS EXAMINER

                                       APPENDIX

CHADBOURNE & PARKE LLP
30 Rockefeller Plaza
New York, New York 10112
Telephone: (212) 408-5100
Facsimile: (212) 541-5369

Howard Seife
David M. LeMay
Thomas J. McCormack
N. Theodore Zink, Jr.
Robin D. Ball
Seven R. Rivera
Andrew Rosenblatt
Marc D. Ashley
Christy L. Rivera
Francisco Vazquez

Counsel to Examiner

MESIROW FINANCIAL CONSULTING, LLC
666 Third Avenue, 21st Floor
New York, New York 10017
Telephone: (212) 808-8330
Facsimile: (212) 682-4995

Ralph S. Tuliano
James C. Atkinson
James F. Feltman
Melissa Kibler Knoll
Jack F. Williams

Financial Advisors to Examiner
 12-12020-mg                  Doc 3698-36                  Filed 05/13/13 Entered 05/13/13 17:08:13                                             Appendix
                                                                  Pg 2 of 385



                                                                    APPENDIX
                                                                 Table of Contents

Name                                                                                                                                                Number

Glossary .........................................................................................................................................................I

ResCap Timeline of Selected Events 2005 – 2012 .................................................................................... III
ResCap – Evolution of Barclays DIP Financing Proposals ................................................ III.J.1.c(1)(b)—1
ResCap – Evolution of Citibank DIP Financing Proposals ................................................ III.J.1.c(1)(b)—2

ResCap Officer Chart 2004 – 2012.................................................................................................. IV.A—1
ResCap Summary of Board Composition 2004 – 2012................................................................... IV.A—2
ResCap Board of Directors Chart 2004 – 2012 ............................................................................... IV.A—3
ResCap Independent Director Annual Compensation (By Type) 2005 – 2012......................... IV.B.1.d—1
ResCap Independent Director Annual Compensation (By Director) 2005 – 2012.................... IV.B.1.d—2
ResCap Independent Director Payment Information by VEND Number .................................. IV.B.1.d—3
Summary of Comparable Board of Directors Compensation 2006 – 2011 ........................... IV.B.1.d(8)—1
Director Compensation Benchmarking 2011 – 2012............................................................. IV.B.1.d(8)—2
AFI and ResCap Independent Director Compensation (Comparison of Total
        Aggregate) 2008 – 2012............................................................................................ IV.B.1.d(8)—3
AFI and ResCap Independent Director Compensation (Comparison by Director)
        2008 – 2012 .............................................................................................................. IV.B.1.d(8)—4
AFI and ResCap Independent Director Compensation (Comparison by Type)
        2008 – 2012 .............................................................................................................. IV.B.1.d(8)—5
ResCap Officers Receiving AFI Equity Compensation 2006 – 2012........................................ IV.B.1.d(12)

Ally Bank Transactions: Reasonably Equivalent Value .................................................................... V.A.2.a
2006 Bank Restructuring .................................................................................................................. V.A.2.b
2008 Bank Transaction ...................................................................................................................... V.A.2.c
2009 Bank Transaction ..................................................................................................................... V.A.2.d
Summary of Government Settlement Economics......................................................................... V.C.1.c(4)
Resort Finance Facility ......................................................................................................................... V.E.1
Secured MSR Facility ........................................................................................................................... V.E.2
Secured Revolver Facility..................................................................................................................... V.E.3
Servicing Advance Factoring Facility................................................................................................... V.E.4
Initial Line of Credit Facility ................................................................................................................ V.E.5
ResMor Loan Facility ........................................................................................................................... V.E.6
Second Line of Credit Facility.............................................................................................................. V.E.7
A&R Line of Credit Facility ................................................................................................................. V.E.8
BMMZ Repo Facility............................................................................................................................ V.E.9
Health Capital – Historical Financial Statements .......................................................................... V.F.4.a(1)
Health Capital – Summary of Houlihan Lokey's Valuation........................................................... V.F.4.a(3)
Resort Finance – Historical Financial Statements ......................................................................... V.F.4.c(1)
Resort Finance – Summary of Houlihan Lokey's Valuation.......................................................... V.F.4.c(3)
ResMor Trust Company – Summary of Goldin Associates' Fairness Opinion
         Valuation Analysis as of November 20, 2008 .............................................................. V.F.4.f(4)(a)
Residential Financial Securities, LLC – Historical Financial Statements ................................ V.F.4.g(1)(a)
RFC Investment Limited / RFSC International Limited – Historical Financial
         Statements.................................................................................................................... V.F.4.g(1)(b)
                                                                                1
 12-12020-mg                Doc 3698-36               Filed 05/13/13 Entered 05/13/13 17:08:13                                     Appendix
                                                             Pg 3 of 385



Residential Funding Securities, LLC – Summary of Goldin Associates' Fairness
       Opinion Valuation Analysis as of March 18, 2009...................................................... V.F.4.g(4)(a)
RFC Investments Limited – Summary of Goldin Associates' Fairness Opinion
       Valuation Analysis as of March 18, 2009.................................................................... V.F.4.g(4)(b)

ResCap, LLC – Quarterly Solvency Analysis: Balance Sheet Test 2005 – 2011............................... VI.B.3
ResCap, LLC – Quarterly Solvency Analysis: Market Approach ............................................... VI.B.4.a(4)
ResCap, LLC – Quarterly Solvency Analysis: Asset-Based Approach........................................... VI.B.4.b
ResCap, LLC Historical Financial Statements
ResCap, LLC Historical Financial Statements Years Ended 2005 – 2011 ...................................... VI.B.4.b
ResCap, LLC Historical Financial Statements Quarters Ended 2005 – 2011.................................. VI.B.4.b
Subsidiary Historical Financial Statements
GMAC Mortgage, LLC Historical Financial Statements Years Ended 2003 – 2011 ....................... VI.E—1
Residential Funding Company, LLC Historical Financial Statements Years Ended
        2003 – 2011 ......................................................................................................................... VI.E—2

List of RMBS Actions ................................................................................................................. VIII.A—1
List of Non-RMBS Actions ......................................................................................................... VIII.A—2
Arthur J. Gonzalez, Examiner Letter Re: In re Residential Capital, LLC, et al.,
         No. 12-12020 (MG) — Request for Submissions
         Regarding Third-Party Claims ........................................................................................ VIII.A—3
Chadbourne & Park, LLP Letter Re: In re Residential Capital, LLC, et al.,
         No. 12-12020 (MG) (Bankr. S.D.N.Y.) — Request for Third-Party Claims
         Damages Quantification................................................................................................... VIII.A—4
ResCap 392 PLS Deal Details ....................................................................................................... VIII.B—1
Ally Securities as Lead and Joint Lead Underwriter on ResCap's PLS deals................................ VIII.B—2
Old GMAC Bank and Ally Bank as Custodian on ResCap's PLS Deals....................................... VIII.B—3
Loan Origination ...................................................................................................................... VIII.B.1.b(1)
Structuring the Securitization ................................................................................................... VIII.B.1.b(3)
ResCap, LLC, et.al. All or Substantially All Analysis................................................................... VIII.C.6.c
Alleged RMBS / Non-RMBS and Unsecured Noteholder Claims Analysis ................................... VIII.D.1

List of Complete Citations for Exhibits With Truncated Citations............................................................. X




                                                                         2
12-12020-mg      Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                         Pg 4 of 385
                                   Appendix I, Page 1 of 38


                                        GLOSSARY

       1.1   Definitions. For purposes of the Report, the following defined terms will have the
following meanings:

      “2001 MMLPSA” means the Master Mortgage Loan Purchase and Sale Agreement
between GMAC Bank, as Seller, and GMAC Mortgage Corporation, as Purchaser, dated
December 15, 2001.

      “2004 Pipeline Swap” means the ISDA Master Agreement between GMAC Mortgage
Corporation and GMAC Bank, dated October 1, 2004, including the Schedule thereto, dated
October 1, 2004.

      “2004 Pipeline Swap Schedule” means the Schedule to the ISDA Master Agreement
between GMAC Mortgage and GMAC Bank, dated October 1, 2004.

       “2005 Indenture” means the Indenture by and among Residential Capital Corporation,
any Guarantors Party thereto, and Deutsche Bank Trust Company Americas, as Trustee, dated
June 24, 2005.

       “2005 Operating Agreement” means the Operating Agreement by and between GM,
AFI, and ResCap, dated June 24, 2005.

      “2005 Pipeline Swap Schedule” means the Schedule to the ISDA Master Agreement
between GMAC Mortgage and GMAC Bank, dated March 30, 2005.

       “2006 AFI Amended LLC Operating Agreement” means the Amended and Restated
Limited Liability Company Operating Agreement of GMAC, dated November 30, 2006.

    “2006 AFI LLC Agreement” means the Limited Liability Company Agreement of
GMAC LLC, dated July 21, 2006.

      “2006 Amended Operating Agreement” means the Amended and Restated Operating
Agreement by and between GM, AFI and ResCap, dated November 27, 2006.

       “2006 Bank Restructuring” means the November 2006 transaction whereby:
(1) substantially all of the assets and liabilities of Old GMAC Bank were transferred to GMAC
Automotive Bank; (2) IB Finance acquired all of the outstanding shares of GMAC Automotive
Bank; (3) ResCap acquired a non-voting economic interest in IB Finance’s (and indirectly,
GMAC Automotive Bank’s) mortgage business; and (4) GMAC Automotive Bank was renamed
“GMAC Bank.”

      “2006 MMLPSA” means the Master Mortgage Loan Purchase and Sale Agreement
between GMAC Bank, as Seller, and GMAC Mortgage, as Purchaser, dated October 31, 2006.

      “2006 ResCap LLC Agreement” means the Limited Liability Company Agreement of
ResCap, dated October 24, 2006.



                                   Appendix I, Page 1 of 38
12-12020-mg       Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                         Pg 5 of 385
                                   Appendix I, Page 2 of 38


       “2006 Tax Allocation Agreement” means the Agreement for the Allocation of Income
Taxes by and between GMAC and ResCap, effective as of December 1, 2006.

      “2007 FMV Schedule” means the Schedule to the ISDA Master Agreement (FMV)
between GMAC Mortgage and GMAC Bank, dated August 31, 2007.

       “2007 MMLPSA” means the Master Mortgage Loan Purchase and Sale Agreement
between GMAC Bank, as Seller, and GMAC Mortgage, as Purchaser, amended and restated as
of June 1, 2007.

       “2007 MSR Swap” means the ISDA Master Agreement between GMAC Mortgage and
GMAC Bank, dated June 12, 2007, including the FMV Schedule thereto, dated August 31, 2007
and the Net Funding Schedule thereto, dated August 31, 2007.

      “2007 Net Funding Schedule” means the Schedule to the ISDA Master Agreement (Net
Funding) between GMAC Mortgage and GMAC Bank, dated August 31, 2007.

      “2007 Pipeline Swap Schedule” means the Schedule to the ISDA Master Agreement
between GMAC Mortgage and GMAC Bank, dated May 1, 2007.

       “2007 Restructuring Plan” means that ResCap business plan initially presented to the
ResCap Board in September 2007, which included proposed reductions and contingency
planning.

        “2008 Bank Transaction” means, collectively, the: (1) March 2008 transaction whereby
ResCap issued 607,192 ResCap Preferred Interests pursuant to the terms of its 2008 Amended
ResCap LLC Agreement to AFI in exchange for AFI’s contribution of ResCap notes with a face
amount of $1.2 billion and a fair value of approximately $607,192,000; and (2) June 2008
transaction whereby ResCap issued an additional 199,152 ResCap Preferred Interests pursuant to
the terms of the 2008 Amended ResCap LLC Agreement to AFI in exchange for AFI’s
contribution of ResCap notes with a face amount of $249,085,000 and a fair value as of
March 31, 2008 of approximately $199,152,000.

        “2008 MMLPSA” means the Master Mortgage Loan Purchase and Sale Agreement
between GMAC Bank, as Seller, and GMAC Mortgage, as Purchaser, amended and restated as
of July 1, 2008.

        “2008 ResCap Amended LLC Agreement” means the Amended and Restated Limited
Liability Company Agreement of ResCap, dated March 31, 2008.

        “2009 AFI Amended Certificate” means the GMAC Inc. Amended and Restated
Certificate of Incorporation, dated December 30, 2009.

       “2009 AFI Certificate” means the GMAC Inc. Certificate of Incorporation, dated
June 30, 2009.

      “2009 Bank Transaction” means, collectively, the January 30, 2009 transactions
whereby: (1) AFI exercised its option to convert its 806,344 ResCap Preferred Interests into the



                                    Appendix I, Page 2 of 38
12-12020-mg      Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                         Pg 6 of 385
                                   Appendix I, Page 3 of 38


same number of IB Finance Preferred Interests; and (2) ResCap sold its remaining IB Finance
Class M Shares to AFI in exchange for AFI’s contribution of ResCap notes with a face amount
of approximately $830.5 million and accrued interest and a fair value of $608.5 million.

      “2010 FMV Schedule” means the Schedule to the ISDA Master Agreement (FMV)
between GMAC Mortgage and GMAC Bank, dated July 1, 2010.

      “2010 Net Funding Schedule” means the Schedule to the ISDA Master Agreement (Net
Funding) between GMAC Mortgage and GMAC Bank, dated July 1, 2010.

       “2011 AFI Amended Certificate” means the AFI Amended and Restated Certificate of
Incorporation, as amended, dated March 25, 2011.

       “2012 MMLPSA” means the Amended and Restated Master Mortgage Loan Purchase
and Sale Agreement between Ally Bank, as Seller, and GMAC Mortgage, as Purchaser, dated
May 1, 2012.

        “A&R First Priority Security Agreement” means the Amended and Restated First
Priority Pledge and Security Agreement and Irrevocable Proxy among GMAC Mortgage, RFC,
ResCap, GMAC Holding, RFC Holding, and Homecomings Financial and certain other affiliated
entities party thereto from time to time, as Grantors, AFI as lender and agent, and Wells Fargo
Bank, N.A., as first priority collateral agent and collateral control agent, dated December 30,
2009, which amends and restates the First Priority Security Agreement.

       “A&R Initial Line of Credit Security Agreement” means the Amended and Restated
Pledge and Security Agreement and Irrevocable Proxy among GMAC Mortgage and RFC,
ResCap, RAHI, PATI, GMAC Holding, RFC Holding and Equity Investment I, LLC, as
grantors, AFI, as Omnibus Agent and Lender Agent under the A&R Line of Credit and the
Secured MSR Facility, and, together with Ally Investment Management, as secured parties,
dated December 30, 2009, which amends and restates the Initial Line of Credit Security
Agreement and the Omnibus Security Agreement.

         “A&R Line of Credit Agreement” means the Amended and Restated Loan Agreement
by and among GMAC Mortgage and RFC, as borrowers, ResCap, RAHI, PATI, GMAC
Holding, RFC Holding, Homecomings Financial, and Equity Investment I, LLC, as guarantors,
and AFI as, initial lender and lender agent, dated December 30, 2009, which amends and restates
the Initial Line of Credit Agreement and the Second Line of Credit Agreement.

       “A&R Line of Credit Borrowers” means RFC and GMAC Mortgage.

      “A&R Line of Credit Collateral” means the collateral securing the obligations under
the A&R Line of Credit Agreement.

       “A&R Line of Credit Facility” means the credit facility evidenced by the A&R Line of
Credit Agreement and all documents, instruments, or agreements executed and delivered in
connection therewith.




                                   Appendix I, Page 3 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                          Pg 7 of 385
                                    Appendix I, Page 4 of 38


      “A&R Line of Credit Guarantors” means ResCap, RAHI, PATI, GMAC Holding, RFC
Holding, Homecomings Financial, and Equity Investment I, LLC.

       “A&R Line of Credit Loans” means the revolving loans made under the A&R Line of
Credit Agreement.

       “A&R Second Line of Credit Security Agreement” means the Amended and Restated
Pledge and Security Agreement and Irrevocable Proxy among GMAC Mortgage and RFC,
ResCap, RAHI, PATI, GMAC Holding, RFC Holding, and Equity Investment I, LLC, as
grantors and AFI, as a secured party, dated December 30, 2009, which amends and restates the
Second Line of Credit Security Agreement.

        “A&R Second Priority Security Agreement” means the Amended and Restated Second
Priority Pledge and Security Agreement and Irrevocable Proxy among GMAC Mortgage, RFC,
ResCap, GMAC Holding, RFC Holding, and Homecomings Financial and certain other affiliated
entities party thereto from time to time, as Grantors, AFI as lender and agent, and Wells Fargo
Bank, N.A., as second priority collateral agent and collateral control agent, dated December 30,
2009, which amends and restates the Second Priority Security Agreement.

        “A&R Secured Revolver Loan Agreement” means the Amended and Restated Credit
Agreement by and among GMAC Mortgage and RFC, as borrowers, ResCap, GMAC Holding,
RFC Holding, and Homecomings Financial and certain other affiliated entities party thereto from
time to time, as guarantors, AFI as initial lender and agent, and Wells Fargo Bank, N.A., as first
priority collateral agent, dated December 30, 2009, which amends and restates the Secured
Revolver Loan Agreement.

       “A&R Servicing Agreement” means the Amended and Restated Servicing Agreement
by and between Ally Bank, as owner, and GMAC Mortgage, as servicer, dated May 11, 2012.

        “A&R Third Priority Security Agreement” means the Amended and Restated Third
Priority Pledge and Security Agreement and Irrevocable Proxy among GMAC Mortgage, RFC,
ResCap, GMAC Holding, RFC Holding, and Homecomings Financial and certain other affiliated
entities party thereto from time to time, as Grantors, AFI as lender and agent, and Wells Fargo
Bank, N.A., as third priority collateral agent and collateral control agent, dated December 30,
2009, which amends and restates the Third Priority Security Agreement.

      “Ad Hoc Group” means the Ad Hoc Group as defined in the Junior Secured
Noteholders’ Plan Support Agreement.

       “Adjusted Book Value Method” means a method within the Asset-Based Approach
whereby all assets and liabilities (including off-balance sheet, intangible, and contingent) are
adjusted to their fair market values.

       “Aegis” means Aegis Mortgage Corporation.

        “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
controls, is controlled by, or is under common control with the Person specified. For purposes of
this definition, the term “control” of a Person means the possession, direct or indirect, of the


                                     Appendix I, Page 4 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                          Pg 8 of 385
                                    Appendix I, Page 5 of 38


power to: (1) vote 20% or more of the voting securities of such Person, or (2) direct or cause the
direction of the management and policies of such Person, whether by Contract or otherwise, and
the terms and phrases “controlling,” “controlled by,” and “under common control with” have
correlative meanings.

        “Affiliate Transaction” means any material prepetition transaction and any material
verbal or written agreement or contract between the Debtors and any affiliate of the Debtors
(other than ResCap’s subsidiaries), including AFI, Cerberus, and Ally Bank, and any of their
respective current and former, direct and indirect affiliates and subsidiaries.

         “AFI” means Ally Financial Inc., formerly known as GMAC LLC and GMAC Inc., and
all of its direct and indirect subsidiaries, excluding ResCap.

       “AFI Board” means the board of directors of AFI as constituted from time to time.

        “AFI Defendants” means AFI, Ally Bank, and Ally Securities and their respective
directors and officers, in their capacity as defendants in the Third-Party Claims litigations.

        “AFI DIP Financing Agreement” means the Debtor-in-Possession Financing
Amendment by and among GMAC Mortgage and RFC, as borrowers, ResCap and certain
Affiliates of the borrowers, as guarantors, AFI, as the initial lender and agent, and the lenders
party thereto, dated May 25, 2012, that was approved by the AFI DIP Order.

        “AFI DIP Order” means the Final Order Under Sections 105, 361, 362, 363, and 364 of
the Bankruptcy Code and Bankruptcy Rules 2002, 4001, 6004, and 9014 (I) Authorizing the
Debtors to Obtain Postpetition Financing on a Secured Superpriority Basis, (II) Authorizing the
Debtors to Use Cash Collateral, and (III) Granting Adequate Protection to Adequate Protection
Parties entered in the Chapter 11 Cases on June 25, 2012 at [Docket No. 491].

        “AFI Hedge Agreements” means, collectively: (1) each agreement identified on
Schedule X to the Omnibus Security Agreement; and (2) each additional agreement and any
related documentation between Ally Investment Management and ResCap, RFC and/or GMAC
Mortgage, as counterparty, evidencing a hedging transaction entered into by Ally Investment
Management and such ResCap entity as the case may be.

       “AFI Line of Credit Agreement Claim” means any Claim arising under, derived from,
or based upon the A&R Line of Credit Agreement, the A&R Initial Line of Credit Security
Agreement, and the A&R Second Line of Credit Security Agreement.

        “AFI Released Parties” means AFI, its direct and indirect subsidiaries and affiliates
(other than the Debtors and the Debtors’ direct and indirect subsidiaries), and each of their
respective members, officers, directors, agents, financial advisors, attorneys, employees,
partners, affiliates, and representatives.

       “AFI Secured Revolver Facility Claim” means any Claim arising under, derived from,
or based upon the A&R Secured Revolver Loan Agreement and the A&R First Priority Security
Agreement.



                                    Appendix I, Page 5 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                          Pg 9 of 385
                                    Appendix I, Page 6 of 38


       “AFI Settlement and Plan Sponsor Agreement” means the agreement, entered into by
the Debtors and AFI, dated May 14, 2012, which is attached as Exhibit 8 to the First Day
Affidavit.

       “AG” means Attorney General.

       “AG Menu Matrix” means the schedule set forth in Exhibit 4-B of the A&R Servicing
Agreement, which provides a methodology for calculating the indemnification obligation of
GMAC Mortgage with respect to losses suffered by Ally Bank as a result of certain loan
modification activity related to the DOJ/AG Settlement.

      “Agency” means a government-sponsored secondary mortgage market enterprise or
Government Entity acquiring, owning, or guaranteeing Mortgage Loans, including Fannie Mae,
FHA, Freddie Mac, Ginnie Mae, and HUD.

       “Ally Bank” means Ally Bank, a commercial state non-member bank chartered under the
laws of the State of Utah, formerly known as GMAC Bank and GMAC Automotive Bank.

       “Ally Bank Transactions” means collectively to all consummated transactions,
agreements, or events concerning: (1) the 2006 Bank Restructuring; (2) the 2008 Bank
Transaction; and (3) the 2009 Bank Transaction.

      “Ally Investment Management” means Ally Investment Management LLC, formerly
known as GMAC Investment Management LLC.

        “Ally Securities” means Ally Securities LLC, formerly known as Residential Funding
Securities, LLC, Residential Funding Securities Corporation, and GMAC-RFC Securities.

       “ALTA” means the American Land Title Association or any successor thereto.

       “Alt-A” means alternative a-paper, a type of mortgage.

       “American Home” means American Home Mortgage Holdings.

       “Annualized P/E” means MVE divided by annualized earnings.

        “Antitrust Authority” means the Federal Trade Commission, the Department of Justice,
any attorney general of any state of the U.S., or any other antitrust or competition authority of
any jurisdiction.

      “April 2011 MSR Swap Confirmation” means the Confirmation of the Total Return
Swap Relating to Mortgage Servicing Rights of Ally Bank, dated April 1, 2011.

       “April 2011 Pipeline Swap Confirmation” means the Confirmation of the Swap
Relating to Loans in the Held for Sale Portfolio, dated April 1, 2011.

       “ARMs” means adjustable rate mortgages.




                                    Appendix I, Page 6 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                         Pg 10 of 385
                                    Appendix I, Page 7 of 38


        “Asset-Based Approach” means the standard valuation approach to valuing a business
by adjusting the asset and liability balances on the subject company’s balance sheet to their
market value equivalents (also commonly referred to as the asset approach or adjusted balance
sheet approach).

        “Audit Services” means either GM Audit Services or GMAC Audit Services.

       “Balance Sheet Test” means the standard solvency assessment that compares an entity’s
property to its debt, at a fair valuation.

        “Bank Board” means the board of directors of Ally Bank as constituted from time to
time.

         “Bank of America” means Bank of America Corporation and all of its direct and indirect
affiliates.

        “Bankruptcy Code” means title 11 of the U.S. Code.

        “Bankruptcy Court” means the U.S. Bankruptcy Court for the Southern District of New
York.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure.

        “Barclays” means Barclays Bank PLC and all of its direct and indirect affiliates.

       “Barclays DIP Financing Agreement” means the Amended and Restated Superpriority
Debtor-in-Possession Credit and Guaranty Agreement by and among GMACM Borrower and
RFC Borrower, as borrowers, ResCap, GMAC Mortgage, RFC, and certain Subsidiaries of
ResCap, as guarantors, GMAC Mortgage and RFC, as administrators, originators, receivables
custodians and servicers, the lenders party thereto, GMAC Mortgage, as GMACM servicer, and
Barclays, as administrative agent, collateral agent and syndication agent, dated May 16, 2012,
that was approved by the Barclays DIP Order.

        “Barclays DIP Order” means the Final Order Pursuant to 11 U.S.C. §§ 105, 362,
363(b)(1), 363(f), 363(m), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e) and Bankruptcy
Rules 4001 and 6004 (I) Authorizing Debtors (A) to Enter into and Perform under Receivables
Purchase Agreements and Mortgage Loan Purchase and Contribution Agreements Relating to
Initial Receivables and Mortgage Loans and Receivables Pooling Agreements Relating to
Additional Receivables, and (B) to Obtain Post-Petition Financing on a Secured Superpriority
Basis, and (II) Granting Related Relief entered in the Chapter 11 Cases [Docket No. 490] on
June 25, 2012.

      “BCG” means the five business units that comprised the business capital group of
ResCap.

       “BCL2B Presentation” means the Brokering Consumer Loans 2 Bank project (BCL2B),
Legal Entity Revenue, Expense, and Broker Fee Proposal, dated November 19, 2008.




                                     Appendix I, Page 7 of 38
12-12020-mg       Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13             Appendix
                                          Pg 11 of 385
                                     Appendix I, Page 8 of 38


         “Bear Stearns” means Bear, Stearns & Co. Inc. and all of its direct and indirect
affiliates.

       “Berkshire Hathaway” means Berkshire Hathaway Inc.

      “BH Legacy APA” means the Asset Purchase Agreement among Berkshire Hathaway,
ResCap, RFC, GMAC Mortgage, GMACM Borrower, and RFC Borrower, dated June 28, 2012.

      “Bilateral Facilities” means, collectively, the specified bilateral credit facilities listed on
Schedule 7.01(t) to the Secured Revolver Facility from time to time; each, a “Bilateral Facility.”

       “Bloomberg” means Bloomberg Inc.

       “BMMZ” means BMMZ Holdings LLC.

       “BMMZ Master Repo Agreement” means the Master Repurchase Agreement by and
among BMMZ, as buyer, GMAC Mortgage, as seller and servicer, RFC, as seller, and ResCap,
as guarantor, dated December 21, 2011.

       “BMMZ Repo Facility” means the repurchase facility evidenced by the BMMZ Master
Repo Agreement and all documents, instruments or agreements executed and delivered in
connection therewith.

        “BMMZ Repo Sellers” means, collectively, RFC, as seller, and GMAC Mortgage, as
seller and servicer under the BMMZ Repo Facility.

       “bps” means basis points.

      “Broker Agreement” means the Broker Agreement between GMAC Bank, GMAC
Mortgage, and Ditech, LLC, dated November 20, 2008.

       “Bryan Cave” means Bryan Cave LLP.

       “Business Day” means any day of the year, other than any Saturday, Sunday or any day
on which banks located in New York, New York generally are closed for business.

       “Capital IQ” means S&P Capital IQ.

       “CAPM” means capital asset pricing model.

       “Cap Re” means Cap Re of Vermont, LLC.

       “Carpenter Lipps” means Carpenter Lipps & Leland LLP.

       “Cash Collateral Order” means the Final Order (I) Authorizing the Debtors to Obtain
Postpetition Financing on a Secured Superpriority Basis, (II) Authorizing the Debtors to Use
Cash Collateral, and (III) Granting Adequate Protection to Adequate Protection Parties [Docket
No. 491], dated June 25, 2012.



                                      Appendix I, Page 8 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13             Appendix
                                         Pg 12 of 385
                                    Appendix I, Page 9 of 38


        “Causes of Action” means any and all Claims, actions, causes of action, choses in action,
rights, demands, suits, claims, liabilities, encumbrances, lawsuits, adverse consequences, debts,
damages, dues, sums of money, accounts, reckonings, deficiencies, bonds, bills, disbursements,
expenses, losses, specialties, covenants, contracts, controversies, agreements, promises,
variances, trespasses, judgments, remedies, rights of set-off, third-party claims, subrogation
claims, contribution claims, reimbursement claims, indemnity claims, counterclaims, and cross-
claims (including those of the Debtors and/or bankruptcy estate of any Debtor created pursuant
to sections 301 and 541 of the Bankruptcy Code upon the commencement of the Chapter 11
Cases), whether known or unknown, foreseen or unforeseen, suspected or unsuspected,
liquidated or unliquidated, fixed or contingent, matured or unmatured, disputed or undisputed,
whether held in a personal or representative capacity, that are or may be pending on the Effective
Date or instituted after the Effective Date against any entity, based in law or equity, including
under the Bankruptcy Code, whether direct, indirect, derivative, or otherwise and whether
asserted or unasserted as of the date of entry of the Confirmation Order.

       “CDS” means credit default swap.

       “Centerbridge” means Centerbridge Partners, L.P.

         “Centerview” means Centerview Partners Holdings LLC and all of its direct and indirect
affiliates.

         “Cerberus” means Cerberus Capital Management, L.P. and all of its direct and indirect
affiliates and subsidiaries, including Cerberus FIM, LLC, Cerberus FIM Investors LLC, and FIM
Holdings LLC.

        “Cerberus PSA” means the Purchase and Sale Agreement by and among GM, General
Motors Acceptance Corporation, GM Finance Co. Holdings Inc., and FIM Holdings LLC, dated
April 2, 2006.

        “Cerberus Secondment Agreements” means, collectively: (1) the Secondment
Agreement by and among Cerberus, COAC, and Thomas Marano, dated September 2008; and
(2) the Secondment Agreement by and among Cerberus, COAC, and Joshua Weintraub, dated
September 2008.

      “Chapter 11 Cases” means the voluntary chapter 11 cases filed by the Debtors with the
Bankruptcy Court.

       “Citibank” means Citibank, N.A. and all of its direct and indirect affiliates.

      “Citibank MSR Loan Agreement” means the Amended and Restated Loan and Security
Agreement by and among GMACM, ResCap, and Citibank, dated June 30, 2010.

        “Claims” means any right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured or unsecured, known or unknown; or any right to an equitable remedy for
breach of performance if such breach gives rise to a right to payment, whether or not such right



                                     Appendix I, Page 9 of 38
12-12020-mg      Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                        Pg 13 of 385
                                  Appendix I, Page 10 of 38


to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed,
undisputed, secured or unsecured, known or unknown.

       “Class A Senior Preferred Shares” means the senior class of membership interest in
CMH.

       “Class B Junior Preferred Shares” means the junior class of membership interest in
CMH.

       “Clayton” means Clayton Holdings LLC.

       “CMH” means CMH Holdings LLC, an entity set up by Cerberus in connection with the
June 2008 Model Home Sale.

       “CMP” means the civil money penalty issued in connection with the FRB/FDIC
Settlement against AFI, ResCap, and GMAC Mortgage in the amount of $207,000,000
announced on February 9, 2012 and effectively entered on February 10, 2012.

       “CMP Order” means the Order of Assessment of a Civil Money Penalty Issued upon
Consent Pursuant to the Federal Deposit Insurance Act, as Amended, by and among the Federal
Reserve Board, AFI, ResCap, and GMAC Mortgage and its subsidiaries, and issued in
connection with the FRB/FDIC Consent Order in the amount of $207,000,000, announced on
February 9, 2012 and executed on February 10, 2012.

       “COAC” means Cerberus Operations and Advisory Company, LLC, an affiliate of
Cerberus Capital Management, L.P.

       “Committee Rule 2004 Motion” means the Motion of the Official Committee of
Unsecured Creditors of Debtors Residential Capital, LLC, et al., for Entry of an Order Pursuant
to Bankruptcy Rule 2004 Authorizing the Issuance of Subpoenas for the Production of
Documents and the Provision of Testimony by the Debtors and Others entered in the Chapter 11
Cases [Docket No. 192] on June 1, 2012.

        “Committee Rule 2004 Order” means the Order Authorizing the Official Committee of
Unsecured Creditors to Issue Subpoenas Compelling the Production of Documents and Provision
of Testimony by the Debtors and Others Pursuant to Federal Rule of Bankruptcy Procedure 2004
entered in the Chapter 11 Cases [Docket No. 217] on June 5, 2012.

      “Confirmation Order” means an order of the Bankruptcy Court confirming any Plan, as
amended, supplemented, or modified, under, among others, section 1129 of the Bankruptcy
Code.

       “Consenting Junior Secured Noteholders” means the holders of Junior Secured Notes
Claims that are or were party to the Junior Secured Noteholders’ Plan Support Agreement.

      “Correspondent Agreement” means the Correspondent Agreement between GMAC
Mortgage, as seller, and GMAC Bank, as purchaser, of mortgage loans, dated August 21, 2001.




                                   Appendix I, Page 10 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                         Pg 14 of 385
                                   Appendix I, Page 11 of 38


         “Countrywide” means Countrywide Financial Corp. and all of its direct and indirect
affiliates, now known as Bank of America Home Loans.

       “Countrywide Settlement” means the settlement of mortgage repurchase and servicing
claims entered into on or about June 28, 2011 between Bank of America, BAC Home Loans
Servicing, LP, and its legacy Countrywide affiliates, and Bank of New York Mellon.

       “Creditors’ Committee” means the Official Committee of Unsecured Creditors of
Residential Capital, LLC, et al. in the Chapter 11 Cases.

         “Credit Suisse” means Credit Suisse Securities LLC and all of its direct and indirect
affiliates.

       “D&O RMBS Actions” means those litigations brought on account of D&O RMBS
Claims.

        “D&O RMBS Claims” means claims against the Debtors’ and the AFI Defendants’
directors and officers related to mortgage-backed securities.

      “Damages Letter” means any submission by a Third-Party Claimant in response to the
Examiner’s Counsel’s letter of December 21, 2012.

       “Davis Polk” means Davis Polk & Wardwell LLP.

       “DBRS” means DBRS Limited and all of its direct and indirect affiliates.

       “DCD” means either Old GMAC Bank’s or Ally Bank’s Document Custody Division.

       “DCF Method” means the discounted cash flow method of the Income Approach.

        “Debtor Release” means a release of claims on substantially the same or similar terms as
set forth in section 3.1(d)(i) of the now-terminated AFI Settlement and Plan Sponsor Agreement.

        “Debtors” means ResCap and its direct and indirect subsidiaries that have filed voluntary
petitions commencing a case under chapter 11 of the Bankruptcy Code, and are debtors and
debtors-in-possession on behalf of each such entity and its Estate in the Chapter 11 Cases, as set
forth on Schedule A.

        “Deloitte” means Deloitte & Touche LLP, AFI’s auditor for the entirety of the
Investigation period and ResCap’s auditor beginning in 2009.

       “Delta Financial” means Delta Financial Corporation.

      “Depositor Entities” means, collectively, RALI, RAMP (sometimes d/b/a RAAC),
RASC, RFMSI, and RFMSII.

       “DFI” means Utah Department of Financial Institutions.




                                    Appendix I, Page 11 of 38
12-12020-mg       Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13             Appendix
                                          Pg 15 of 385
                                     Appendix I, Page 12 of 38


      “Disclosure Statement” means any disclosure document relating to a Plan filed in the
Chapter 11 Cases pursuant to section 1125 of the Bankruptcy Code, as the same may be
amended, supplemented, or otherwise modified from time to time.

      “Document Depository” means the central document depository established by the
Examiner and approved by the Bankruptcy Court pursuant to the Examiner Rule 2004 Order.

       “DOJ” means the Department of Justice.

         “DOJ/AG Consent Judgment” means the settlement agreement entered into by AFI,
ResCap and GMAC Mortgage with the U.S., acting through the DOJ, and with the AGs of
various states, agreed to on February 8, 2012 and filed on April 4, 2012, to settle certain potential
civil claims for conduct related to the servicing of mortgage loans.

      “DOJ/AG Settlement” means the settlement memorialized by the DOJ/AG Consent
Judgment, among the DOJ and various state AGs on the one hand and AFI, ResCap, and GMAC
Mortgage on the other.

       “DTI” means debt-to-income.

       “Duff & Phelps” means Duff & Phelps, LLC.

        “Earmark Agreement” means the agreement between ResCap and AFI, dated
March 14, 2012, which dictated the terms of ResCap’s use of liquidity provided by AFI pursuant
to the January 30 Letter Agreement solely to fund the payments required under the DOJ/AG
Consent Judgment.

        “Effective Date” means the first Business Day on which no stay of a Confirmation Order
is in effect and all conditions precedent to the effectiveness of a Plan have been satisfied or
waived.

       “EPD” means early payment default.

        “Estate” means, as to each Debtor, the estate created for the Debtor pursuant to section
541 of the Bankruptcy Code.

       “EV” means enterprise value.

       “EV/TA” means enterprise value divided by total assets (net of cash).

       “Evercore” means Evercore Partners Inc. and all of its direct and indirect affiliates.

       “Examiner” means Arthur J. Gonzalez, Esq., as the examiner appointed by the U.S.
Trustee and approved by the Court in the Examiner Approval Order to conduct the Investigation
and perform such other duties as set forth in the Examiner Order and the Examiner Scope
Approval Order.




                                     Appendix I, Page 12 of 38
12-12020-mg      Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13         Appendix
                                       Pg 16 of 385
                                  Appendix I, Page 13 of 38


      “Examiner Approval Order” means the Order Approving Appointment of Arthur J.
Gonzalez, Esq. as Examiner entered in the Chapter 11 Cases [Docket No. 674] on July 3, 2012.

       “Examiner Memorandum Opinion” means the Memorandum Opinion and Order
Granting Berkshire Hathaway’s Motion to Appoint an Examiner Under 11 U.S.C. § 1104(c)
entered in the Chapter 11 Cases [Docket No. 454] on June 20, 2012.

       “Examiner Motion” means the Motion of Berkshire Hathaway Inc. for the Appointment
of an Examiner Pursuant to 11 U.S.C. § 1104(c) entered in the Chapter 11 Cases [Docket No.
208] on June 4, 2012.

       “Examiner Order” means the Order Directing the Appointment of an Examiner
Pursuant to Section 1104(c) of the Bankruptcy Code entered in the Chapter 11 Cases [Docket
No. 536] on June 28, 2012.

       “Examiner Rule 2004 Motion” means the Motion of the Examiner for Entry of an Order
(I) Granting Authority to Issue Subpoenas for the Production of Documents and Authorizing the
Examination of Persons and Entities, (II) Establishing Procedures for Responding to those
Subpoenas, (III) Approving Establishment of a Document Depository and Procedures to Govern
Use, and (IV) Approving Protective Order filed in the Chapter 11 Cases [Docket No. 1093] on
August 10, 2012.

        “Examiner Rule 2004 Order” means the Order (I) Granting Examiner Authority to
Issue Subpoenas for the Production of Documents and Authorizing the Examination of Persons
and Entities, (II) Establishing Procedures for Responding to those Subpoenas, (III) Approving
Establishment of a Document Depository and Procedures to Govern Use, and (IV) Approving
Protective Order entered in the Chapter 11 Cases [Docket No. 1223] on August 20, 2012.

       “Examiner Scope Approval Order” means the Order Approving Scope of Investigation
of Arthur J. Gonzalez, Examiner, entered in the Chapter 11 Cases [Docket No. 925] on July 27,
2012, including the Examiner’s Preliminary Statement as annexed thereto as Exhibit A.

       “Examiner Work Plan” means the Work Plan of Arthur J. Gonzalez, Examiner, filed in
the Chapter 11 Cases [Docket No. 1010] on August 6, 2012.

        “Examiner Work Plan Fourth Supplement” means the Fourth Supplement to Work
Plan of Arthur J. Gonzalez, Examiner, entered in the Chapter 11 Cases [Docket No. 3361] on
April 5, 2013.

       “Examiner Work Plan Second Supplement” means the Second Supplement to Work
Plan of Arthur J. Gonzalez, Examiner, filed in the Chapter 11 Cases [Docket No. 2263] on
November 26, 2012.

      “Examiner Work Plan Supplement” means the Supplement to Work Plan of Arthur J.
Gonzalez, Examiner, filed in the Chapter 11 Cases [Docket No. 1240] on August 23, 2012.




                                  Appendix I, Page 13 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                         Pg 17 of 385
                                    Appendix I, Page 14 of 38


       “Examiner Work Plan Third Supplement” means the Third Supplement to Work Plan
of Arthur J. Gonzalez, Examiner, entered in the Chapter 11 Cases [Docket No. 2868] on
February 8, 2013.

       “Examiner’s Counsel” means Chadbourne & Parke LLP.

       “Examiner’s Financial Advisors” means Mesirow Financial Consulting, LLC.

        “Examiner’s Preliminary Statement” means the Preliminary Statement of Arthur J.
Gonzalez, Examiner, Regarding the Scope and Timing of his Investigation attached as Exhibit A
to the Examiner Scope Approval Order.

       “Examiner’s Professionals” means, collectively, Examiner’s Counsel and Examiner’s
Financial Advisors.

      “Excess Servicing Rights Sales” means, collectively, the Freddie Mac Sale and Fannie
Mae Sale.

       “Exchange Act” means the Securities Exchange Act of 1934.

        “Fair Market Value” means the price, expressed in terms of cash equivalents, at which
property would change hands between a hypothetical willing and able buyer and a hypothetical
willing and able seller, acting at arm’s length in an open and unrestricted market, when neither is
under compulsion to buy or sell and when both have reasonable knowledge of the relevant facts.

       “Fannie Mae” means the Federal National Mortgage Association (FNMA).

       “Fannie Mae Sale” means the transaction whereby GMAC Mortgage, a wholly-owned
subsidiary of ResCap, sold by way of auction certain securitized excess servicing rights
representing a portion of the servicing fees payable under the Fannie Mae guide to Cerberus,
pursuant to an Asset Purchase Agreement dated July 30, 2008.

       “FAS” means Statement of Financial Accounting Standards.

       “FASB” means the Financial Accounting Standards Board.

       “FCIC” means the Financial Crisis Inquiry Commission.

       “FDIC” means the Federal Deposit Insurance Corporation.

       “FGIC” means Financial Guaranty Insurance Company.

       “FHA” means the Federal Housing Administration of HUD.

       “FHA Loans” means mortgages insured by the FHA.

       “FHFA” means the Federal Housing Finance Agency.

       “FHLB” means Federal Home Loan Bank.


                                    Appendix I, Page 14 of 38
12-12020-mg       Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                          Pg 18 of 385
                                    Appendix I, Page 15 of 38


       “FICO” means the Fair Isaac Corporation, the creators of the FICO score.

        “First 2009 Tax Allocation Agreement” means the Amended and Restated Agreement
for the Allocation of United States Federal Income Taxes among GMAC Mortgage Group LLC,
ResCap Investments LLC, and ResCap, made as of November 1, 2009, attached as Exhibit A to
the Joint ResCap-AFI Memorandum to ResCap Board on 2009 Tax Allocation Agreement, and
approved by the ResCap Board at a meeting held on August 6, 2010.

      “First Amendment to APA” means the first amendment to the Asset Purchase
Agreement dated July 26, 2008, related to the Resort Finance Sale.

       “First Day Affidavit” means the Affidavit of James Whitlinger, Chief Financial Officer
of Residential Capital, LLC, In Support of Chapter 11 Petitions And First Day Pleadings and
entered in the Chapter 11 Cases [Docket No.6] on May 14, 2012.

        “First Magnus” means First Magnus Financial Corporation and all of its direct and
indirect affiliates.

       “First Priority Collateral” means the collateral securing the obligations under the
Secured Revolver Facility.

       “First Priority Collateral Agent” means Wells Fargo Bank, N.A., as First Priority
Collateral Agent under the First Priority Security Agreement and the A&R First Priority Security
Agreement.

        “First Priority Security Agreement” means the First Priority Pledge and Security
Agreement and Irrevocable Proxy (as amended, supplemented or otherwise modified prior to
being amended and restated by the A&R First Priority Security Agreement) among GMAC
Mortgage, RFC, ResCap, RAHI, PATI, GMAC Holding, RFC Holding, Homecomings
Financial, and Equity Investment I, LLC, and certain of their affiliates party thereto from time to
time, as grantors, and AFI as lender and lender agent and Wells Fargo Bank, N.A., as First
Priority Collateral Agent, dated June 4, 2008.

       “Fitch” means Fitch Ratings and all of its direct and indirect affiliates.

       “Flume No. 8 Note” means the Flume No. 8 Initial Note or any other note issued from
time to time under and in accordance with the Flume No. 8 Note Issuance Facility Deed, dated
November 14, 2008 and including any notes given in substitution or replacement therefor; Flume
No. 8 Notes means, collectively, all of them.

       “FMV” means Fair Market Value.

    “FMV Schedule” means the Schedule to the ISDA Master Agreement (FMV) between
GMAC Mortgage and GMAC Bank, dated August 31, 2007.

      “FNMA EAF Agreement” means the term sheet between Fannie Mae and GMAC
Mortgage, dated August 1, 2010, amended and restated as of January 18, 2011, and further
amended and restated on August 1, 2011.



                                    Appendix I, Page 15 of 38
12-12020-mg        Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13              Appendix
                                          Pg 19 of 385
                                     Appendix I, Page 16 of 38


         “Fortress” means Fortress Investment Group LLC and all of its direct and indirect
affiliates and subsidiaries including, but not limited to, Nationstar.

        “Forward P/E” means MVE divided by projected earnings for the current or upcoming
year.

        “Fox-Pitt” means Fox-Pitt Kelton Cochran Caronia Waller.

        “FRB” means the Board of Governors of the Federal Reserve System.

       “FRB/FDIC Consent Order” means the Consent Order to Cease and Desist by and
among the Federal Reserve Board and the Federal Deposit Insurance Corporation and AFI, Ally
Bank, ResCap and GMAC Mortgage, as defendants, dated April 13, 2011.

       “FRB/FDIC Settlement” means the settlement memorialized by the FRB/FDIC Consent
Order and related CMP, among the FRB and the FDIC on the one hand and AFI, Ally Bank,
ResCap, and GMAC Mortgage on the other (though Ally Bank was not a party to the CMP).

        “Freddie Mac” means the Federal Home Loan Mortgage Corporation (FHLMC).

       “Freddie Mac Sale” means the transaction whereby GMAC Mortgage, a wholly owned
subsidiary of ResCap, sold by way of auction certain securitized excess servicing rights
representing a portion of the servicing fees payable under the Freddie Mac guide to Cerberus,
pursuant to an Asset Purchase Agreement dated July 30, 2008.

        “FTI” means FTI Consulting, Inc. and all of its direct and indirect affiliates.

        “GAAP” means U.S. generally accepted accounting principles.

       “Ginnie Mae” means the Government National Mortgage Association (GNMA), a body
corporate organized and existing under the laws of the U.S. within HUD.

        “GM” means General Motors Corporation, now known as Motors Liquidation Co.

        “GM Preferred Holdco” means GM Preferred Finance Co. Holdings Inc.

        “GMAC” means GMAC LLC.

       “GMAC Automotive Bank” means the Utah industrial bank, a direct wholly-owned
subsidiary of AFI, which was the predecessor of Ally Bank (f/k/a GMAC Bank).

    “GMAC Bank” means GMAC Bank, now known as Ally Bank and formerly known as
GMAC Automotive Bank.

       “GMAC Canada” means GMAC Residential Funding of Canada, Limited, a corporation
governed by the laws of Canada.

        “GMAC CF” means GMAC Commercial Finance LLC, a wholly owned subsidiary of
AFI.


                                     Appendix I, Page 16 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                         Pg 20 of 385
                                   Appendix I, Page 17 of 38


       “GMAC Debtors” means the Debtors that are Subsidiaries of GMAC Holding.

       “GMAC FS” means GMAC Financial Services, a wholly owned subsidiary of AFI.

       “GMAC Holding” means GMAC Residential Holding Company, LLC.

       “GMAC LLC Agreement” means the 2006 AFI LLC Agreement.

       “GMAC Management” means GMAC Management LLC.

       “GMAC MHF” means GMAC Model Home Finance I, LLC.

      “GMAC Mortgage” means GMAC Mortgage, LLC (f/k/a GMAC Mortgage
Corporation).

       “GMACM Borrower” means GMACM Borrower LLC.

       “Goldin Associates” means Goldin Associates, LLC.

         “Goldman Sachs” means Goldman Sachs Group Inc. and all of its direct and indirect
affiliates.

        “Government Entity” means any U.S. federal, state or local, or any supranational, court,
judicial or arbitral body, administrative or regulatory body, or other governmental or quasi-
Government Entity with competent jurisdiction (including any political or other subdivision
thereof), including the Agencies, the DOJ, the FDIC, the FRB, the IRS, the SEC, the VA, any
State Agency, and any Antitrust Authority.

        “GSAP Facility” means the financing facility under: (1) the Fourth Amended and
Restated Indenture among GMAC Mortgage Servicer Advance Funding Company Ltd., an
exempted company incorporated with limited liability under the laws of the Cayman Islands, as
issuer, GMAC Mortgage, as an administrator and a servicer, RFC, as an administrator and a
servicer, and The Bank of New York Mellon, as indenture trustee, calculation agent and paying
agent, dated March 15, 2011, as amended by Amendment No. 1, dated March 13, 2012, as
amended or supplemented; (2) the Series 2012-VF1 Indenture Supplement by and among GMAC
Mortgage Servicer Advance Funding Company Ltd., as issuer, GMAC Mortgage, as an
administrator and servicer, RFC, as an administrator and servicer, The Bank of New York
Mellon, as indenture trustee, calculation agent and paying agent, and Barclays, as administrative
agent, dated March 13, 2012; (3) the VFN Purchase Agreement by and among GMAC Mortgage
Servicer Advance Funding Company Ltd, GMAC Mortgage, as an originator, RFC, as an
originator, GMACR Mortgage Products, LLC, as a seller, RFC-GSAP Servicer Advance, LLC,
as a seller, and Barclays, as administrative agent and purchaser, dated March 13, 2012, relating
to the GMAC Mortgage Servicer Advance Funding Company Ltd., GMAC Mortgage Advance
Receivables-Backed Notes, Series 2012-VF1 issued pursuant to the indenture and indenture
supplement identified in items (1) and (2) above; and (4) the Series 2012-VF1 notes and all other
notes issued pursuant to the indenture and indenture supplement identified in items (1) and (2)
above.




                                   Appendix I, Page 17 of 38
12-12020-mg      Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13             Appendix
                                        Pg 21 of 385
                                    Appendix I, Page 18 of 38


       “GSE” means government-sponsored enterprise, including Fannie Mae and Freddie Mac.

      “Guarantors” means, collectively, the Junior Secured Notes Guarantors, the Secured
Revolver Facility Guarantors, and the A&R Line of Credit Guarantors.

       “Guideline M&A Method” means the guideline merged and acquired company method
of the Market Approach.

      “Guideline Publicly Traded Company Method” means the guideline publicly traded
company method of the Market Approach.

        “GX II Notes” means the note of GX CE Funding H B.V. issued pursuant to the GX II
VFLN Agreement by and among ResCap, GX CE Funding II B.V., Stichting Security Trustee
GX CE Funding II, GMAC-RFC Investments B.V. and GMAC RFC Nederland B.V. and
including any notes given in substitution or replacement therefor; GX II Notes means,
collectively, all of them.

       “Health Capital” means the division within the BCG that provided capital solutions to
the healthcare industry.

       “Health Capital Sale” means the transaction whereby RFC and Equity Investments II,
LLC, each wholly owned subsidiaries of ResCap, sold substantially all of the assets and
operations comprising their healthcare finance business to GMAC CF pursuant to an Asset
Purchase Agreement dated August 27, 2007.

       “HELOC” means a Mortgage Loan that is a home equity line of credit.

       “HFI” means held-for-investment.

       “HFI Portfolio” means HFI consumer finance receivables and loan portfolio.

       “HFS” means held-for-sale.

        “HFS Asset Purchase Agreement” means the Asset Purchase Agreement among AFI,
BMMZ, ResCap, RFC, GMAC Mortgage, and additional sellers identified on Schedule A
thereto, dated May 13, 2012.

        “HFS Portfolio” means ResCap’s HFS portfolio of mortgage loans, which are the
subject of the HFS Asset Purchase Agreement.

       “HOEPA” means the Home Ownership and Equity Protection Act of 1994.

       “Homecomings Financial” means Homecomings Financial, LLC.

       “Houlihan Lokey” means Houlihan Lokey Howard & Zukin Financial Advisors, Inc.

       “HSBC” means HSBC Holdings plc and all of its direct and indirect affiliates.

       “HUD” means the Department of Housing and Urban Development.


                                    Appendix I, Page 18 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                         Pg 22 of 385
                                    Appendix I, Page 19 of 38


        “Ibbotson Associates” means Ibbotson Associates, Inc.

        “IB Finance” means IB Finance Holding Company, LLC, the holding company for Ally
Bank.

       “IB Finance 2006 LLC Agreement” means the Limited Liability Company Agreement
of IB Finance Holding Company, LLC, dated November 20, 2006.

        “IB Finance 2008 LLC Agreement” means the Amended and Restated Limited
Liability Company Agreement of IB Finance Holding Company, LLC, dated March 31, 2008.

      “IB Finance LLC Agreements” means, collectively, the IB Finance 2006 LLC
Agreement and the IB Finance 2008 LLC Agreement.

        “IB Finance Class A Shares” means the voting common interests in IB Finance that
track the performance of Ally Bank’s automotive business.

        “IB Finance Class M Shares” means the non-voting common interests in IB Finance
that track the performance of Ally Bank’s mortgage business.

       “IB Finance Preferred Interests” means non-voting, non-cumulative, non-participating,
perpetual class M preferred membership interests of IB Finance.

        “IBG” means the international business group of ResCap.

        “IMF” means the International Monetary Fund.

        “Implemented 2005 Tax Allocation Agreement” means the Agreement for the
Allocation of United States Federal Income Taxes by and between GMAC and ResCap, effective
as of January 1, 2005.

        “Income Approach” means the standard valuation approach to valuing a business based
on the present value of the cash flows that the business can be expected to generate in the future.

        “Independent Directors” means the independent directors of the ResCap Board from
time to time.

        “IndyMac” means IndyMac Bancorp, Inc. and all of its direct and indirect affiliates.

       “Initial Line of Credit Agreement” means the Loan Agreement (as amended,
supplemented or otherwise modified prior to being amended and restated by the A&R Line of
Credit Agreement) by and among PATI and RAHI, as borrowers, RFC, GMAC Mortgage and
ResCap, as guarantors, and AFI, as initial lender and lender agent, dated November 20, 2008.

        “Initial Line of Credit Borrowers” means PATI and RAHI.

         “Initial Line of Credit Collateral” means the collateral securing the obligations under
the Initial Line of Credit Agreement.



                                    Appendix I, Page 19 of 38
12-12020-mg         Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                          Pg 23 of 385
                                    Appendix I, Page 20 of 38


       “Initial Line of Credit Facility” means the credit facility evidenced by the Initial Line of
Credit Agreement and all documents, instruments, or agreements executed and delivered in
connection therewith.

          “Initial Line of Credit Guarantors” means ResCap, RFC, and GMAC Mortgage.

          “Initial Line of Credit Loans” means the revolving loans under the Initial Line of
Credit.

       “Initial Line of Credit Security Agreement” means the Pledge and Security Agreement
and Irrevocable Proxy (as amended, supplemented, or otherwise modified prior to being
amended and restated by the A&R Initial Line of Credit Security Agreement) among PATI,
RAHI, ResCap, RFC, and GMAC Mortgage, as Grantors, and AFI, as lender agent, dated
November 20, 2008.

         “Intercreditor Agreement” means the agreement by and among Wells Fargo, N.A., as
First Priority Collateral Agent for the First Priority Secured Parties under the First Priority
Documents, Wells Fargo Bank, N.A., as Second Priority Collateral Agent for the Second Priority
Secured Parties under the Second Priority Documents, Wells Fargo Bank, N.A., as Third Priority
Collateral Agent for the Third Priority Secured Parties under the Third Priority Documents, AFI,
in its capacity as agent for the Lenders under the Secured Revolver Facility, U.S. Bank National
Association, as Trustee under the 2010 Indenture, U.S. Bank National Association, as Trustee
under the 2015 Indenture, RFC, GMAC Mortgage, and ResCap, dated June 6, 2008.

       “Interest” means any “Equity Security,” as defined in section 101(16) of the Bankruptcy
Code, of a Debtor existing immediately prior to the Effective Date.

          “Internal Revenue Code” means the Internal Revenue Code of 1986.

      “Investigation” means the investigation conducted by the Examiner pursuant to the
Examiner Order and the Examiner Scope Approval Order.

          “IRS” means the Internal Revenue Service.

        “January 26 Goldin Letter” means the January 26, 2009 financial fairness opinion from
Goldin Associates to the Committee of Independent Members of the ResCap Board, regarding
the sale of ResCap’s remaining IB Finance Class M Shares to AFI (the January 26 Goldin Letter
is misdated January 26, 2008).

        “January 30 Goldin Letter” means the January 30, 2009 supplementary financial
fairness opinion from Goldin Associates to the Committee of Independent Members of the
ResCap Board, regarding the sale of ResCap’s remaining IB Finance Class M Shares to AFI.

        “January 30 Letter Agreement” means the January 30, 2012 letter agreement regarding
the “Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement” entered
into by ResCap, GMAC Mortgage, and AFI.




                                    Appendix I, Page 20 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                         Pg 24 of 385
                                    Appendix I, Page 21 of 38


        “Joint Collateral” means certain of the Debtors’ assets that secure the AFI Secured
Revolver Facility Claims and the Junior Secured Notes Claims, as described in the A&R First
Priority Security Agreement and the A&R Third Priority Security Agreement.

      “Joint ResCap-AFI Tax Memorandum to ResCap Board” means the memorandum
from William J. Marx, James. N. Young, and Tammy Hamzehpour to the ResCap Board, dated
August 6, 2010, regarding Agreements for Allocation of Taxes.

       “JPMorgan” means JPMorgan Chase & Co. and all of its direct and indirect affiliates.

       “JPMorgan 2005 Term Loan Facility” means the Term Loan Facility among ResCap,
the several lenders from time to time parties thereto, the documentation agents named therein,
Citibank, as syndication agent, and JPMorgan, as administrative agent, dated July 28, 2005.

       “JPMorgan 364-Day Facility” means the 364-Day Competitive Advance and Revolving
Credit Facility among ResCap, the several lenders from time to time party thereto, the
documentation agents named therein, Citibank, as syndication agent, and JPMorgan, as
administrative agent, dated June 11, 2007.

      “July 2008 Pipeline Swap Schedule” means the Schedule to the ISDA Master
Agreement between GMAC Mortgage and GMAC Bank, dated July 1, 2008.

       “June 2008 Indentures” means, collectively, the Senior Secured Notes Indentures and
the Junior Secured Notes Indenture.

        “June 2008 Model Home Sale” means the transaction whereby ResCap and GMAC
Model Home Finance I, LLC, a wholly owned subsidiary of ResCap, sold certain model home
assets including model homes, option lots, and real estate owned by certain wholly owned
subsidiaries of ResCap to CMH, a newly formed affiliate entity of Cerberus, pursuant to an Asset
Purchase Agreement dated June 6, 2008.

      “Junior Secured Noteholders’ Plan Support Agreement” means the agreement by and
among the Debtors, AFI, the Consenting Holders, and the Ad Hoc Group entered into as of
May 13, 2012, which is attached as Exhibit 9 to the First Day Affidavit.

       “Junior Secured Noteholders” means the holders of the Junior Secured Notes.

        “Junior Secured Notes” means the 9.625% Junior Secured Guaranteed Notes due 2015
issued under the Junior Secured Notes Indenture.

        “Junior Secured Notes Claims” means any Claim arising from or relating to the Junior
Secured Notes, excluding the reasonable and documented fees and expenses, including
professional fees and expenses, of U.S. Bank National Association, as indenture trustee or
successor indenture trustee under the Junior Secured Notes Indenture, together with its respective
successors and assigns in such capacity, incurred pursuant to the Junior Secured Notes Indenture
after the Petition Date in connection with carrying out its duties as provided for under the Junior
Secured Notes Indenture, service on the Creditors’ Committee, and making distributions under a
Plan.


                                    Appendix I, Page 21 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                         Pg 25 of 385
                                   Appendix I, Page 22 of 38


       “Junior Secured Notes Indenture” means the indenture among ResCap LLC, as issuer,
GMAC Holding, RFC Holding, GMAC Mortgage, RFC, and Homecomings Financial, as
guarantors, and U.S. Bank National Association, as trustee, dated June 6, 2008.

       “Kirkland & Ellis” means Kirkland & Ellis LLP.

       “KPMG Report” means the Ally Financial Inc. Investigation Report by KPMG LLP,
dated March 16, 2012.

       “Lazard” means Lazard Ltd and all of its direct and indirect affiliates.

       “Legacy Sale” means the sale of the HFS Portfolio to Berkshire Hathaway.

         “Lehman” means Lehman Brothers Holdings Inc. and all of its direct and indirect
affiliates.

       “LIBOR” means London Interbank Offered Rate.

        “Lien” means any lien, charge, pledge, deed of trust, right of first refusal, security
interest, conditional sale agreement or other title retention agreement, lease, mortgage, option,
proxy, hypothecation, voting trust agreement, transfer restriction, easement, servitude,
encroachment, or other encumbrance (including the filing of, or agreement to give, any financing
statement under the UCC of any jurisdiction).

       “Line of Credit Facilities” means the Initial Line of Credit Facility and the Second Line
of Credit Facility.

        “LLC Conversion Dividend” means the cash dividend declared by the Executive
Committee of the ResCap Board on November 27, 2006, in an amount equal to the net increase
in the equity of ResCap resulting from ResCap and certain of its domestic subsidiaries (on a
consolidated basis) having all their tax-related accounts released upon converting to disregarded
entities under federal income tax law in November 2006.

       “LTM” means latest twelve months.

       “LTM P/E” means MVE divided by LTM earnings.

       “LTV” means loan-to-value ratios.

       “March 2005 Pipeline Schedule” means the Schedule to the ISDA Master Agreement
between GMAC Mortgage Corporation and GMAC Bank, dated October 1, 2004 and amended
as of March 30, 2005.

      “March 2008 Pipeline Swap Schedule” means the Schedule to the ISDA Master
Agreement between GMAC Mortgage and GMAC Bank, dated March 14, 2008.

      “Market Approach” means the standard valuation approach to valuing a business in
which market transactions are used in completing a relative comparison between the subject



                                    Appendix I, Page 22 of 38
12-12020-mg       Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                        Pg 26 of 385
                                   Appendix I, Page 23 of 38


company and guideline market transactions (commonly used through identifying guideline
publicly traded companies and guideline merged & acquired companies).

       “Market Value of Invested Capital” means the combined market value of the equity
and debt interest in a company, inclusive of cash.

      “Master Netting Agreement” means the Guarantee and Master Netting Agreement
among GMAC, Ally Investment Management, GMAC Mortgage, RFC, ResCap, PATI, and
RAHI, dated March 18, 2009.

       “Mayer Brown” means Mayer Brown LLP.

       “MBIA” means MBIA, Inc. and all of its direct and indirect affiliates.

       “MBS” means mortgage backed-securities.

       “MCAPM” means modified capital asset pricing model.

       “Mergerstat” means Mergerstat Review.

      “Mitchell Appeal Decision” means Mitchell v. Residential Funding Corp., 334 S.W.3d
477 (Mo. Ct. App. 2010).

       “Mitchell Defendants” means RFC, Homecomings Financial, LLC, as defendants in
Mitchell v. Residential Funding, No. 03CV220489 (Mo. Cir.).

       “Mitchell Plaintiffs” means the class of consumers who obtained second mortgage loans
on Missouri real property from Mortgage Capital Resource Corporation on or after July 29,
1997, including Steven and Ruth Mitchell, among others, as plaintiffs in Mitchell v. Residential
Funding, No. 03CV220489 (Mo. Cir.).

     “Mitchell Trial Order” means Mitchell v. Residential Funding, No. 03CV220489, 2008
WL 310998 (Mo. Cir. Jan. 14, 2008).

       “MMLPSA” means a Master Mortgage Loan Purchase and Sale Agreement between
Ally Bank and GMAC Mortgage governing the purchase of mortgage loans by GMAC Mortgage
from Ally Bank.

         “Moody’s” means Moody’s Investors Service, Inc. and all of its direct and indirect
affiliates.

       “Morrison & Foerster” means Morrison & Foerster LLP.

       “Morrison Cohen” means Morrison Cohen LLP.

       “Mortgage Bank” means, as used in Section V.A.2, Old GMAC Bank prior to the 2006
Bank Restructuring, and the mortgage division of Ally Bank from and after the 2006 Bank
Restructuring.



                                   Appendix I, Page 23 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                         Pg 27 of 385
                                   Appendix I, Page 24 of 38


        “Mortgage Loan” means any U.S. individual residential (one-to-four family) mortgage
loan or other extension of credit secured by a Lien on U.S. real property of a borrower
originated, purchased, or serviced by any of the Debtors (which, for avoidance of doubt, may be
a charged-off Mortgage Loan).

        “MSCI Barra” means Barra, LLC, a wholly owned subsidiary of MSCI, Inc (MSCI, Inc.
acquired Barra, Inc., a leading provider of risk management systems and services to managers of
portfolio and firm-wide investment risk in 2004).

       “MSMLA” means Missouri’s Second Mortgage Loan Act, MO. REV. STAT. §§ 408.231–
41.

        “MSR” means mortgage servicing rights, including the rights under Servicing Contracts
to: (1) receive servicing fees; (2) be reimbursed for Servicing Advances; (3) receive ancillary
income (e.g., late charge fees); and (4) hold and administer custodial fees and accounts.

       “MSR Swap” means the ISDA Master Agreement between GMAC Mortgage and
GMAC Bank, dated June 12, 2007, including the FMV Schedule thereto, dated August 31, 2007
and the Net Funding Schedule thereto, dated August 31, 2007.

       “MVE” means market value of equity.

       “MVIC” means market value of invested capital.

    “National Motors Bank FSB” means the federal savings bank formerly known as Old
GMAC Bank.

       “Nationstar” means Nationstar Mortgage LLC and all of its direct and indirect affiliates.

     “Natixis” means Natixis Real Estate Capital, Inc., (f/k/a IXIS Real Estate Capital, Inc.), a
New York corporation.

       “NAV” means net asset value.

       “NBV” means net book value of equity.

      “Net Funding Schedule” means the Schedule to the ISDA Master Agreement (Net
Funding) between GMAC Mortgage and GMAC Bank, dated August 31, 2007.

       “New Century” means New Century Financial Corporation.

       “NFY” means next fiscal year.

      “NOL” means net operating loss as that term is defined in section 172(c) of the Internal
Revenue Code.

      “Non-RMBS Actions” means litigations related to the Non-RMBS Claims, as listed in
Appendix VIII.A2.



                                   Appendix I, Page 24 of 38
12-12020-mg      Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                        Pg 28 of 385
                                  Appendix I, Page 25 of 38


        “Non-RMBS Claims” means claims against the Debtors and the AFI Defendants related
to areas of the Debtors’ business other than the securitization of mortgage loans.

       “Observable Market Value Method” means the standard valuation methodology that
uses observable market prices to value equity, debt, or assets.

       “OCC” means the Office of the Comptroller of the Currency.

       “Ocwen” means Ocwen Financial Corporation.

       “Ocwen Platform Asset Purchase Agreement” means the Asset Purchase Agreement
between Ocwen and ResCap, RFC, GMAC Mortgage, Executive Trustee Services, LLC, ETS of
Washington, Inc., EPRE LLC, GMACM Borrower, and RFC Borrower, dated November 2,
2012, attached as Exhibit 1 to the Court’s Order Under Bankruptcy Code Sections 105, 363, and
365 and Fed. Bankr. P. 2002, 6004, 6006, and 9014 (I) Approving (A) Sale of Debtors’ Assets
Pursuant to Asset Purchase Agreement With Ocwen Loan Servicing, LLC; (B) Sale of Purchased
Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests; (C) Assumption and
Assignment of Certain Executory Contracts and Unexpired Leases Thereto; (D) Related
Agreements; and (II) Granting Related Relief Platform Sale [Docket No. 2246].

      “Old GMAC Bank” means the federal savings bank now known as National Motors
Bank FSB.

     “Omnibus Agent” means AFI, in its capacity as Omnibus Agent pursuant to the
Omnibus Security Agreement.

        “Omnibus Security Agreement” means the Omnibus Pledge and Security Agreement
and Irrevocable Proxy (as amended, supplemented or otherwise modified, prior to being
amended and restated by the A&R Initial Line of Credit Security Agreement) among GMAC
Mortgage, RFC, ResCap, RAHI, PATI, and certain of their affiliates party thereto from time to
time, as grantors and, AFI, as Omnibus Agent, Lender, Lender under the Secured MSR Facility
and, together with Ally Investment Management, as secured parties, dated March 18, 2009.

        “Order” means, with respect to any Person, any award, decision, injunction, judgment,
stipulation, order, ruling, subpoena, writ, decree, consent decree, or verdict entered, issued,
made, or rendered by any Government Entity affecting such Person or any of its properties.

      “Original Servicing Agreement” means the Servicing Agreement between GMAC Bank
and GMAC Mortgage, dated August 21, 2001.

       “Other 2005 Tax Allocation Agreement” means the Agreement for the Allocation of
United States Federal Income Taxes by and between GMAC and ResCap, effective as of
January 24, 2005.

       “OTS” means Office of Thrift Supervision.

       “P/E” means MVE or price divided by earnings.




                                   Appendix I, Page 25 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                         Pg 29 of 385
                                   Appendix I, Page 26 of 38


       “P/NBV” means MVE divided by net book value of equity.

       “P/TBVE” means MVE divided by TBVE.

       “PATI” means Passive Asset Transactions, LLC.

         “Pentalpha” means Pentalpha Capital Group LLC and all of its direct and indirect
affiliates.

        “Person” means a natural person, partnership, corporation, limited liability company,
business trust, joint stock company, trust, unincorporated association, joint venture, Government
Entity, or other entity or organization.

       “Petition Date” means May 14, 2012.

      “Pipeline Letter Agreement” means the Letter Agreement Re: Preservation of Sales of
Mortgage Loans to ResCap and Other Matters among ResCap, GMAC Mortgage, AFI, and
GMAC Mortgage Group, LLC, dated December 5, 2011.

    “Pipeline Swap” means the ISDA Master Agreement between GMAC Mortgage and
GMAC Bank, dated October 1, 2004, including the Schedule thereto, dated October 1, 2004.

      “Plan” means any chapter 11 plan of Residential Capital, LLC, et al., including all
addenda, exhibits, schedules, and other attachments, as may be amended, modified, or
supplemented from time to time.

      “Plan Support Agreements” means, collectively, the AFI Settlement and Plan Sponsor
Agreement, the Junior Secured Noteholders’ Plan Support Agreement, and the RMBS Plan
Support Agreements.

       “Plan Term Sheet” means the chapter 11 plan term sheet, dated May 14, 2012, which is
Exhibit 4 to the AFI Settlement and Plan Sponsor Agreement.

       “Platform Asset Purchase Agreement” means the Amended and Restated Asset
Purchase Agreement between Nationstar and ResCap, RFC, GMAC Mortgage, Executive
Trustee Services, LLC, ETS of Washington, Inc., EPRE LLC, GMACM Borrower, and RFC
Borrower, dated June 28, 2012.

       “Platform Sale” means the sale of the Debtors’ Mortgage Loan origination and servicing
businesses to Ocwen and Walter Investment Management Corp. as authorized pursuant to: (1)
the Court’s Order Under Bankruptcy Code Sections 105, 363, and 365 and Fed. Bankr. P. 2002,
6004, 6006, and 9014 (I) Approving (A) Sale of Debtors’ Assets Pursuant to Asset Purchase
Agreement With Ocwen Loan Servicing, LLC; (B) Sale of Purchased Assets Free and Clear of
Liens, Claims, Encumbrances, and Other Interests; (C) Assumption and Assignment of Certain
Executory Contracts and Unexpired Leases Thereto; (D) Related Agreements; and (II) Granting
Related Relief [Docket No. 2246].

       “PLS” means private label mortgage-backed securities.



                                   Appendix I, Page 26 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                         Pg 30 of 385
                                    Appendix I, Page 27 of 38


        “PMI” means personal mortgage insurance.

        “Postpetition Asset Sales” means the Platform Sale and the Legacy Sale.

       “Prepetition Asset Sales” means, collectively, Freddie Mac Sale, Fannie Mae Sale,
Health Capital Sale, June 2008 Model Home Sale, Resort Finance Sale, ResMor Sale, September
2008 Model Home Sale, and US/UK Broker-Dealer Sale.

       “Protective Order” means Uniform Protective Order for Examiner Discovery approved
by the Bankruptcy Court pursuant to the Examiner Rule 2004 Order.

      “Purchase and Assumption Agreement” means the Purchase and Assumption
Agreement by and between Old GMAC Bank and GMAC Automotive Bank dated
November 20, 2006.

        “PwC” means PricewaterhouseCoopers LLP.

      “RAAC” means Residential Asset Acquisition Corp., a name under which RAMP
sometimes did business.

        “RAHI” means RFC Asset Holdings II, LLC.

       “RALI” means Residential Accredit Loans, Inc., an RFC Holding subsidiary and one of
the Depositor Entities.

       “RAMP” means Residential Asset Mortgage Products, Inc., an RFC Holding subsidiary
and one of the Depositor Entities (for certain securitizations, RAMP sometimes did business as
RAAC).

        “RASC” means Residential Asset Securities Corp., an RFC Holding subsidiary and one
of the Depositor Entities.

        “Rating Agencies” means, collectively, DBRS, Fitch, Moody’s, and S&P.

       “RCG” means Residential Capital Group, an operating segment of ResCap housed under
RFG, responsible for activities relating to origination, acquisition, warehouse lending, servicing,
investment banking, capital markets, portfolio, and asset management.

       “Reorganized Debtors” means the Debtors, or any successors thereto by merger,
consolidation, or otherwise, on and after the Effective Date.

      “Report” means the report filed by the Examiner pursuant to the Examiner Order and the
Examiner Scope Approval Order, including exhibits therein and appendices thereto.

        “ResCap” means ResCap LLC and, as the context may require, all of its direct and
indirect subsidiaries.

        “ResCap Board” means the board of directors of ResCap as constituted from time to
time.


                                    Appendix I, Page 27 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                         Pg 31 of 385
                                   Appendix I, Page 28 of 38


      “ResCap By-Laws” means the By-Laws of Residential Capital Corporation, dated
August 20, 2004.

       “ResCap Guideline Companies” means Countrywide, IndyMac, and WaMu.

      “ResCap LLC” means Residential Capital, LLC, formerly known as Residential Capital
Corporation.

       “ResCap LLC Agreement” means the limited liability agreement of ResCap in effect
from time to time.

        “ResCap Preferred Interests” means the non-participating, perpetual preferred
membership interests of ResCap, with a liquidation preference of $1,000 per unit; the ResCap
Preferred Interests were exchangeable, at AFI’s option, on a unit-for-unit basis for IB Finance
Preferred Interests at any time on or after January 1, 2009, as long as neither ResCap nor any of
its significant subsidiaries was the subject of a bankruptcy proceeding on or before that date.

       “ResMor” means ResMor Capital Corporation.

       “ResMor Facility Borrower” means GMAC Canada.

       “ResMor Loan” means the term loan made under the ResMor Loan Agreement.

      “ResMor Loan Agreement” means the Loan Agreement between GMAC Canada, as
borrower, and AFI, as lender, dated November 20, 2008.

       “ResMor Loan Facility” means the credit facility evidenced by the ResMor Loan
Agreement and all documents, instruments, or agreements executed and delivered in connection
therewith.

      “ResMor Sale” means the transaction whereby GMAC Canada, an indirect subsidiary of
ResCap, sold all of the outstanding the shares of 1020491 Alberta Ltd and all of the shares of
ResMor Capital Corporation that GMAC Canada owned to AFI pursuant to a Share Purchase
Agreement dated November 20, 2008.

       “Resort Facility Borrower” means RFC.

       “Resort Facility Collateral” means the collateral securing the obligations under the
Resort Finance Agreement.

      “Resort Facility Loans” means the revolving loans made under the Resort Finance
Agreement.

        “Resort Finance” means the division within the BCG that provided capital solutions to
the resort finance industry, including RFC Resort Funding, LLC.

      “Resort Finance Agreement” means the Credit Agreement among RFC, as borrower,
and AFI, as lender and agent, dated February 21, 2008.



                                   Appendix I, Page 28 of 38
12-12020-mg      Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13        Appendix
                                       Pg 32 of 385
                                 Appendix I, Page 29 of 38


       “Resort Finance Facility” means the credit facility evidenced by the Resort Finance
Agreement and all documents, instruments, or agreements executed and delivered in connection
therewith.

        “Resort Finance Sale” means the transaction whereby RFC and GMAC Canada, each
indirect wholly owned subsidiaries of ResCap, sold 100% of ResCap’s resort finance business,
including RFC Resort Funding, LLC, a wholly owned subsidiary of RFC, to GMAC CF pursuant
to an Asset Purchase Agreement dated July 2, 2008.

       “Restricted Stock Units” means any compensation provided to employees, management,
and/or directors of ResCap in connection with the Ally Financial Inc. Long-Term Equity
Compensation Plan, the Residential Capital, LLC Annual Plan, the ResCap Reward and
Recognition Program and Sign-on Bonus Program, or any discretionary variable pay plans
involving ResCap (RSUs).

       “REV” means reasonably equivalent value.

       “RFC” means Residential Funding Company, LLC.

       “RFC Borrower” means RFC Borrower LLC.

       “RFC Holding” means GMAC-RFC Holding Company, LLC.

       “RFCIL” means RFSC Investments Limited.

      “RFG” means Residential Funding Group, the operating segment name used for RFC
and GMAC Mortgage, in connection with their origination and securitization operations.

       “RFMSI” means Residential Funding Mortgage Securities I, Inc., an RFC Holding
subsidiary and one of the Depositor Entities.

       “RFMSII” means Residential Funding Mortgage Securities II, Inc., an RFC Holding
subsidiary and one of the Depositor Entities.

       “RFS” means Residential Funding Securities, LLC, now known as Ally Securities, LLC.

       “RFSCIL” means RFSC International Limited.

       “RMBS” means residential mortgage-backed securities.

       “RMBS Actions” means litigations related to the RMBS Claims, as listed in Appendix
VIII.A1.

      “RMBS Claims” means claims against the Debtors and the AFI Defendants on account
of RMBS.

        “RMBS Institutional Investors” means the Steering Committee Group together with the
Talcott Franklin Group.



                                  Appendix I, Page 29 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                         Pg 33 of 385
                                    Appendix I, Page 30 of 38


      “RMBS Insurer Actions” means the RMBS Actions pending against the Debtors and/or
the AFI Released Parties that were brought by financial guaranty (i.e., monoline) insurance
companies that insured various of the Debtors’ RMBS offerings.

       “RMBS Investor Actions” means the RMBS Actions pending against the Debtors and/or
the AFI Released Parties that were brought by purchasers of RMBS.

       “RMBS Offering Documents” means documents prepared in connection with the
Debtors’ PLS securities offerings, including but not limited to, shelf registrations, prospectuses,
and prospectuses supplements.

       “RMBS Plan Support Agreements” means the Plan Support Agreement by and
between the Debtors, AFI, and the Steering Committee Group, entered into as of May 13, 2012,
together with the Plan Support Agreement by and between the Debtors, AFI, and the Talcott
Franklin Group, entered into as of May 13, 2012.

        “RMBS Trust Settlement Agreements” means the RMBS Trust Settlement Agreement
by and between the Debtors and the Steering Committee Group, entered into as of May 13, 2012,
together with the RMBS Trust Settlement Agreement by and between the Debtors and the
Talcott Franklin Group, entered into as of May 13, 2012.

       “ROE” means return on equity.

       “Rule 2004” means Rule 2004 of the Bankruptcy Rules.

       “S&P” means Standard & Poor’s and all of its direct and indirect affiliates.

        “Sandler O’Neill” means Sandler O’Neill + Partners, L.P. and all of its direct and
indirect affiliates.

       “Sarbanes-Oxley” means the Sarbanes-Oxley Act of 2002.

       “SEC” means the Securities and Exchange Commission.

      “Second 2009 Tax Allocation Agreement” means the Amended and Restated
Agreement for the Allocation of United States Federal Income Taxes among GMAC Mortgage
Group LLC, ResCap Investments LLC, and ResCap, made as of November 1, 2009.

       “Second Line of Credit Agreement” means the Loan Agreement (as amended,
supplemented or otherwise modified prior to being amended and restated by the A&R Line of
Credit Agreement) by and among PATI and RAHI, as borrowers, RFC, GMAC Mortgage and
ResCap, as guarantors, and AFI, as initial lender and lender agent, dated June 1, 2009.

       “Second Line of Credit Borrowers” means PATI and RAHI.

       “Second Line of Credit Collateral” means the collateral securing the obligations under
the Second Line of Credit Agreement.




                                    Appendix I, Page 30 of 38
12-12020-mg        Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                         Pg 34 of 385
                                    Appendix I, Page 31 of 38


       “Second Line of Credit Facility” means the credit facility evidenced by the Second Line
of Credit Agreement and all documents, instruments, or agreements executed and delivered in
connection therewith.

          “Second Line of Credit Guarantors” means ResCap, RFC, and GMAC Mortgage.

          “Second Line of Credit Loans” means revolving loans made under the Second Line of
Credit.

       “Second Line of Credit Security Agreement” means the Pledge and Security
Agreement and Irrevocable Proxy (as amended, supplemented or otherwise modified prior to
being amended and restated by the A&R Second Line of Credit Security Agreement) among
PATI and RAHI, ResCap, RFC and GMAC Mortgage, as Grantors, and AFI, as secured party,
dated June 1, 2009.

       “Second Priority Collateral Agent” means Wells Fargo Bank, N.A., as Second Priority
Collateral Agent under the Second Priority Security Agreement.

        “Second Priority Security Agreement” means the Second Priority Pledge and Security
Agreement and Irrevocable Proxy (as amended, supplemented or otherwise modified prior to
being amended and restated by the A&R Second Priority Security Agreement) among GMAC
Mortgage, RFC, ResCap, RAHI, PATI, GMAC Holding, RFC Holding, Homecomings
Financial, and Equity Investment I, LLC, and certain of their affiliates party thereto from time to
time, as grantors, and AFI as lender and lender agent and Wells Fargo Bank, N.A., as Second
Priority Collateral Agent, dated June 6, 2008.

       “Secured MSR Facility” means the credit facility evidenced by the Secured MSR Loan
Agreement and all documents, instruments, or agreements executed and delivered in connection
therewith.

          “Secured MSR Facility Borrowers” means RFC and GMAC Mortgage.

       “Secured MSR Facility Collateral” means the collateral securing the obligations under
the Secured MSR Facility.

        “Secured MSR Facility Loans” means revolving loans made under the Secured MSR
Facility.

       “Secured MSR Loan Agreement” means the Loan and Security Agreement by and
between RFC and GMAC Mortgage, as borrowers, ResCap, as Guarantor, and AFI, as lender,
dated April 18, 2008.

       “Secured Revolver Facility” means, collectively: (1) the Secured Revolver Loan
Agreement; and (2) the A&R Secured Revolver Loan Agreement, and includes all documents,
instruments, or agreements executed and delivered in connection with each such loan agreement.

          “Secured Revolver Facility Borrowers” means RFC and GMAC Mortgage.




                                    Appendix I, Page 31 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                         Pg 35 of 385
                                   Appendix I, Page 32 of 38


        “Secured Revolver Facility Guarantors” means ResCap, GMAC Holding, RFC
Holding, Equity Investment I, LLC, and Homecomings Financial and certain other affiliated
entities.

       “Secured Revolver Facility Loans” means the Secured Revolver Facility Term Loan
and the Secured Revolver Facility Revolver Loans made under the Secured Revolver Facility.

       “Secured Revolver Facility Revolver Loans” means revolving loans made under the
Secured Revolver Facility.

      “Secured Revolver Facility Term Loan” means the term loan made under the Secured
Revolver Facility.

         “Secured Revolver Loan Agreement” means the Loan Agreement (as amended,
supplemented or otherwise modified prior to being amended and restated by the A&R Secured
Revolver Loan Agreement) among RFC and GMAC Mortgage, as borrowers, ResCap, GMAC
Holding, RFC Holding, Equity Investment I, LLC, and Homecomings Financial and certain other
affiliated entities party thereto from time to time, as guarantors, and AFI, as initial lender and
lender agent, dated June 4, 2008.

       “Securities Act” means the Securities Act of 1933.

       “Senior Secured Notes” means the ResCap 8.5% Senior Secured Guaranteed Notes that
were due May 15, 2010.

        “Senior Secured Notes Indenture” means the indenture among ResCap, the guarantors
party thereto, and U.S. Bank National Association, as trustee, dated June 6, 2008.

       “September 2008 Model Home Sale” means the transaction whereby ResCap, DOA
Holding Properties, LLC, and DOA Properties IIIB (KB Models), LLC, each a wholly owned
subsidiary of ResCap, sold by way of auction certain model home assets to MHPool Holdings,
LLC, an affiliate of Cerberus, pursuant to an Asset Purchase Agreement dated September 30,
2008.

       “Servicing Advance Factoring Agreement” means the Servicer Advance Factoring
Agreement among RFC and GMAC Mortgage, as sellers, and GMAC CF, as purchaser, dated
June 17, 2008.

       “Servicing Advance Factoring Facility” means the factoring facility evidenced by the
Servicing Advance Factoring Agreement and all documents, instruments, or agreements
executed and delivered in connection therewith.

       “Servicing Advance Factoring Sellers” means RFC and GMAC Mortgage.

        “Servicing Advances” means advances contractually obligated to be made by a servicer
under a Servicing Contract, including advances: (1) for delinquent interest and/or principal; (2)
for real estate taxes or flood or primary mortgage insurance premiums; and (3) in connection
with collateral protection, maintenance, and foreclosures.



                                    Appendix I, Page 32 of 38
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                         Pg 36 of 385
                                   Appendix I, Page 33 of 38


       “Servicing Agreement Modification Terms” means the terms to be incorporated into
any amendment to the Original Servicing Agreement as set forth in Exhibit C to the January 30,
2012 letter agreement entered into by ResCap, GMAC Mortgage, and AFI.

       “Servicing Contract” means any agreement, whether entitled “servicing agreement,”
“pooling and servicing agreement,” or “sale and servicing agreement,” pursuant to which the
servicer is obligated to perform collection, enforcement, or foreclosure services with respect to,
or to maintain and remit any funds collected from, persons obligated on specified pools of loans.

      “Share Contribution Agreement” means the Share Contribution Agreement by and
between Old GMAC and IB Finance, dated November 20, 2006.

      “Shared Services Agreement” means the Shared Services Agreement by and between
AFI and the Debtors and attached as Exhibit A to the Shared Services Approval Order.

       “Shared Services Approval Order” means the Final Order Under Bankruptcy Code
Sections 105(a) and 363(b) Authorizing Residential Capital, LLC to Enter Into A Shared
Services Agreement with Ally Financial Inc. Nunc Pro Tunc to the Petition Date for the
Continued Receipt and Provisions of Shared Services Necessary for the Operation of the
Debtors’ Business entered in the Chapter 11 Cases [Docket No. 387] on June 15, 2012.

       “Skadden” means Skadden, Arps, Slate, Meagher & Flom LLP.

       “SPE” means special purpose entity.

        “Special Review Committee” means the special committee of the ResCap Board,
established as of December 5, 2011, comprised of Jonathan Ilany and John Mack.

        “State Agency” means any state agency or regulatory authority with authority to regulate
the activities of any of the Debtors relating to the origination or servicing of Mortgage Loans,
determine the servicing requirements with regard to Mortgage Loan origination, purchasing,
servicing, master servicing, or certificate administration performed by any of the Debtors, or to
otherwise participate in mortgage lending.

        “Steering Committee Group” means those holders, and authorized managers for such
holders, of certain notes, bonds, and/or certificates backed by mortgage loans held by certain
securitization trusts, represented by Kathy Patrick of Gibbs & Bruns LLP.

       “Sterne Agee” means Sterne, Agee & Leach, Inc.

       “STM” means significant transaction memo.

      “Submission Paper” means any submission by a Third-Party Claimant in response to the
Examiner’s letter of September 21, 2012.

      “Submitting Parties” means those parties who prepared Submission Papers for the
Examiner on the topic of Third Party Claims.




                                    Appendix I, Page 33 of 38
12-12020-mg        Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13             Appendix
                                           Pg 37 of 385
                                     Appendix I, Page 34 of 38


        “Subsidiary” means, as to any person or entity, any corporation, partnership, association,
trust, or other form of legal entity of which: (1) more than 50% of the outstanding voting
securities are directly or indirectly owned by such person or entity; or (2) such person or entity or
any subsidiary of such person or entity is a general partner (excluding partnerships in which such
person or entity or any subsidiary of such person or entity does not have a majority of the voting
interests in such partnership).

       “Sullivan & Cromwell” means Sullivan & Cromwell LLP.

        “Talcott Franklin Group” means those holders, and authorized managers for such
holders, of certain notes, bonds, and/or certificates backed by mortgage loans held by certain
securitization trusts, represented by Talcott Franklin of Talcott Franklin, P.C.

       “TARP” means the Troubled Asset Relief Program.

       “TBVE” means tangible book value of equity.

       “Third-Party Claimant” means any party holding Third-Party Claims.

        “Third-Party Claims” means the causes of action, whether known or unknown, whether
for tort, fraud, contract, violations of federal or state securities laws, veil piercing, or alter-ego
theories of liability, or otherwise, arising from or related in any way to the Debtors, including
those in any way related to residential mortgage backed securities issued and/or sold by Debtors
and/or the Chapter 11 Cases, held by the holders of Claims and Interests against AFI, and each of
theirs and the Debtors’ respective members, officers, directors, agents, financial advisors,
attorneys, employees, partners, affiliates, and representatives, which causes of action include, but
are not limited to, the RMBS Actions and the Non-RMBS Actions.

        “Third-Party Release” means a release of Third-Party Claims on substantially the same
or similar terms as set forth in section 3.1(d)(ii) of the now-terminated AFI Settlement and Plan
Sponsor Agreement.

       “Third Priority Collateral Agent” means Wells Fargo Bank, N.A., as Third Priority
Collateral Agent under the Third Priority Security Agreement and the A&R Third Priority
Security Agreement.

        “Third Priority Security Agreement” means the Third Priority Pledge and Security
Agreement and Irrevocable Proxy (as amended, supplemented or otherwise modified prior to
being amended and restated by the A&R Third Priority Security Agreement) among GMAC
Mortgage, RFC, ResCap, RAHI, PATI, GMAC Holding, RFC Holding, Homecomings
Financial, and Equity Investment I, LLC, and certain of their affiliates party thereto from time to
time, as grantors, and AFI as lender and lender agent, and Wells Fargo Bank, N.A., as Third
Priority Collateral Agent, dated June 6, 2008.

       “TNW” means tangible net worth.

       “Treasury Regulations” means all the regulations promulgated by the U.S. Treasury
under the Internal Revenue Code.


                                     Appendix I, Page 34 of 38
12-12020-mg       Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13          Appendix
                                        Pg 38 of 385
                                   Appendix I, Page 35 of 38


      “Triaxx” means, collectively, Triaxx Prime CDO 2006-1, LLC, Triaxx Prime 2006-2,
LLC, and Triaxx Prime CDO 2007-1, LLC.

        “Trust R&W Claims” means alleged and potential representation and warranty claims
held by up to 392 securitization trusts in connection with approximately 1.6 million mortgage
loans and approximately $221 billion in original issue balance of associated RMBS, comprising
all such securities issued by the Debtors’ affiliates from 2004 to 2007.

       “U.S.” means the United States of America.

       “U.S. Treasury” means the U.S. Department of the Treasury.

       “U.S. Trustee” means the Office of the U.S. Trustee.

       “UBS” means UBS Investment Bank and all of its direct and indirect affiliates.

       “UCC” means the Uniform Commercial Code.

       “UFCA” means the Uniform Fraudulent Conveyance Act (1918).

       “UFTA” means the Uniform Fraudulent Transfer Act (1984).

       “Unsecured Noteholder Causes of Action” means the claims against the AFI
Defendants identified in the Submission Papers of Wilmington Trust, N.A., solely in its capacity
as indenture trustee for various series of Unsecured Notes.

       “Unsecured Noteholders” means the holders of the Unsecured Notes.

        “Unsecured Notes” means the various series of senior unsecured notes issued by ResCap
LLC under that certain indenture dated June 24, 2005, including $1,250,000,000 6.5% notes due
2012, $1,750,000,000 6.5% notes due 2013, $750,000,000 6.875% notes due 2015,
€750,000,000 5.125% notes due 2012, £400,000,000 6.375% notes due 2013, and £400,000,000
7.875% notes due 2014, with a total aggregate outstanding principal amount of approximately
$1 billion (based on the foreign exchange rates as of the Petition Date).

        “US/UK Broker-Dealer Sale” means the transaction whereby RFC, a wholly owned
subsidiary of ResCap, sold all of its interests in RFS (a SEC-registered broker-dealer, now
known as Ally Securities LLC) and RFC Investments Limited (the parent of RFSCIL, a broker-
dealer registered with the Financial Services Authority in the United Kingdom) to GMAC (now
known as Ally Financial Inc.), pursuant to a Membership Interest and Share Purchase Agreement
dated March 31, 2009.

       “VA” means the Department of Veteran Affairs.

       “VA Loans” means the Mortgage Loans guaranteed by the VA.




                                   Appendix I, Page 35 of 38
12-12020-mg         Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                          Pg 39 of 385
                                    Appendix I, Page 36 of 38


       “Walker Report” means the report to the ResCap Board, which was signed by David C.
Walker and entitled “D.C.W. No. 3,” dated November 20, 2006 (the report analyzes and
ultimately recommends the 2006 Bank Restructuring).

       “WaMu” means Washington Mutual, Inc. and all of its direct and indirect affiliates.

       “Wilmington Trust” means Wilmington Trust, National Association, solely in its
capacity as indenture trustee for various series of the Unsecured Notes.

        1.2    Rules of Interpretation. For purposes of the Report, unless otherwise specified,
the following rules of interpretation apply:

               a.      The singular includes the plural and the plural includes the singular.

              b.       The masculine includes the feminine and the feminine includes the
       masculine.

              c.     Any reference to a statute, code, ordinance or other law includes all
       amendments and modifications thereto, and all regulations, rulings, and other legal
       requirements promulgated thereunder.

              d.      Any reference to a governmental agency or entity includes references to
       any successor thereto and to any direct or indirect affiliates.

               e.      The word “including” (in its various forms) means without limitation.

              f.      A reference to a document, instrument or agreement includes all exhibits,
       schedules, and other attachments thereto and any amendment, supplement, or
       modification thereof.

               g.     Titles appearing at the beginning of any articles, sections, subsections,
       other subdivisions, exhibits, or appendices are for convenience only and are disregarded
       in construing the language hereof.

               h.      All references to “$” and “dollars” refer to U.S. currency unless otherwise
       specifically provided.




                                     Appendix I, Page 36 of 38
12-12020-mg     Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13   Appendix
                                      Pg 40 of 385
                                Appendix I, Page 37 of 38


                                     SCHEDULE A
                                      DEBTORS

ditech, LLC
DOA Holding Properties, LLC
DOA Properties IX (Lots-Other), LLC
EPRE LLC
Equity Investment I, LLC
ETS of Virginia, Inc.
ETS of Washington, Inc.
Executive Trustee Services, LLC
GMAC Model Home Finance I, LLC
GMAC Mortgage, LLC
GMAC Mortgage USA Corporation
GMAC Residential Holding Company, LLC
GMAC RH Settlement Services, LLC
GMACM Borrower LLC
GMACM REO LLC
GMACR Mortgage Products, LLC
GMAC-RFC Holding Company, LLC
HFN REO Sub II, LLC
Home Connects Lending Services, LLC
Homecomings Financial, LLC
Homecomings Financial Real Estate Holdings, LLC
Ladue Associates, Inc.
Passive Asset Transactions, LLC
PATI A, LLC
PATI B, LLC
PATI Real Estate Holdings, LLC
RAHI A, LLC
RAHI B, LLC
RAHI Real Estate Holdings, LLC
RCSFJV2004, LLC
Residential Accredit Loans, Inc.
Residential Asset Mortgage Products, Inc.
Residential Asset Securities Corporation
Residential Capital, LLC
Residential Consumer Services, LLC
Residential Consumer Services of Alabama, LLC
Residential Consumer Services of Ohio, LLC
Residential Consumer Services of Texas, LLC
Residential Funding Company, LLC
Residential Funding Mortgage Exchange, LLC
Residential Funding Mortgage Securities I, Inc.
Residential Funding Mortgage Securities II, Inc.
Residential Funding Real Estate Holdings, LLC
Residential Mortgage Real Estate Holdings, LLC


                                 Appendix I, Page 37 of 38
12-12020-mg    Doc 3698-36   Filed 05/13/13 Entered 05/13/13 17:08:13   Appendix
                                   Pg 41 of 385
                             Appendix I, Page 38 of 38


RFC Asset Holdings II, LLC
RFC Asset Management, LLC
RFC Borrower LLC
RFC Construction Funding, LLC
RFC REO LLC
RFC SFJV-2002, LLC
RFC-GSAP Servicer Advance, LLC




                             Appendix I, Page 38 of 38
     Appendix III, Page 1 of 11
                                                      12-12020-mg
                                                      Doc 3698-36




         ResCap
Timeline of Selected Events
                                        Pg 42 of 385




       2005 – 2012

            ResCap Event
            AFI Event
            Industry Event
                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                      Appendix




     Appendix III, Page 1 of 11
ResCap Timeline of Selected Events                                                    Appendix III, Page 2 of 11
                                                                                                                                                                                                        ResCap Event
                                                                                                                                                                                                        AFI Event
                                                                                                                                                                                                        Industry Event


  Jan 2005                                          Apr 2005                                                                                             Sep 20, 2005
 DOL reports                                        Mortgage Bankers                                                                                      Federal Funds
 unemployment rate                                  Association reports                                                                                   Rate increases
                                                                                                                            Jul 2005
 at 5.3%                                            9.5% subprime                                                                                         to 3.75%
                                                                                                                           ResCap obtains
                                                                                                                                                                                                       Nov 2005
                                                    delinquency rate                                                       $3.5 billion in
  Jan 2005                                                                                                                                                                                           ResCap issues
                                                    for 1Q 2005                                                            syndicated bank                Sep 26, 2005
                                                                                                                                                                                                      $1.25 billion
                                                                                                                                                                                                                                                   12-12020-mg




 Mortgage Bankers                                                                                                          credit facilities             Fitch downgrades
 Association reports      Feb 2, 2005                                                                                                                                                                unsecured debt
                                                                                                                           and repays $1.5               ResCap to
 11.1% subprime          Federal Funds               Apr 20, 2005                                                                                                                                    and repays
                                                                           May 3, 2005                                    billion term loan             BBB- (non-
 delinquency rate        Rate increases             Independent                                                                                                                                       $620 million
                                                                          Federal Funds Rate                               from AFI                      investment grade),
 for 4Q 2004             to 2.5%                    Directors Jacob                                                                                                                                   under AFI
                                                                          increases to 3.0%                                                              citing link to
                                                    and Melzer and AFI                                                                                                                                subordinated note
                                                                                                                            Jul 30, 2005                struggling GM
                                                    CAO Zukauckas
  Jan 2005               Feb 14, 2005                                                                                    Mortgage Bankers
                                                    join ResCap Board;     May 4, 2005                                                                                                                Nov 1, 2005
 S&P reports 16%         DBRS rates GM                                                                                     Association reports            Sep 29, 2005
                                                    Van Orman departs     AFI announces                                                                                                               Federal Funds
 increase in Case-       and AFI BBB                                                                                       10.4% subprime                ResCap receives
                                                    ResCap Board          formation of                                                                                                                Rate increases
 Shiller Home                                                                                                              delinquency rate              SEC approval of
                                                                                                                                                                                                      to 4.0%
                                                                                                                                                                                                                                                   Doc 3698-36




 Price Index for                                                          ResCap                                           for 2Q 2005                   $12 billion shelf
 2004 over 2003                                                                                                                                          registration

                                                                                                        2005
   Jan                 Feb            Mar               Apr               May                  Jun                 Jul                 Aug                   Sep              Oct               Nov              Dec

                                                                           May 4, 2005               Jun 2005
                                             Mar 2005                    AFI contributes $2                                                                                    Oct 2005                      Dec 2005
                                            FRB reports                                              FRB reports                                Aug 2005                      Mortgage Bankers
                                                                          billion capital to                                                                                                                  ResCap
                                            annualized                                               annualized                                DOL reports                     Association reports
                                                                          ResCap in form of                                                                                                                   terminates
                                            economic                                                 economic growth                           unemployment                    11.0% subprime
                                                                          forgiveness of                                                                                                                      $2.5 billion
                                            growth rate of 3%                                        rate of 3.3%                              rate at 4.9%                    delinquency rate for
                                                                          ResCap                                                                                                                              AFI revolver
                                                                          subsidiaries’ debt                                                                                   3Q 2005
                                                                                                                                                                                                                                     Pg 43 of 385




                                                                                                      Jun 2005                                                                 Oct 14, 2005                  Dec 2005
                                             Mar 22, 2005                                                                                      Aug 9, 2005
                                                                                                     Federal Funds Rate                                                        DBRS                           ResCap
                                            Federal Funds Rate                                                                                 Federal Funds Rate
                                                                                                     increases to 3.25%                                                        downgrades GM                  makes $250
                                            increases to 2.75%                                                                                 increases to 3.5%
                                                                                                                                                                               to BB (non-                    million
                                                                                                                                                                               investment                     payment on
                                                                                                      Jun 2005                                                                grade)                         AFI sub note
                                                                                                                                                Aug 24, 2005
                                                                                                     ResCap issues $4
                                                                                                                                               Moody’s
                                                                                                     billion unsecured                                                                                         Dec 13, 2005
                                                                                                                                               downgrades                       Oct 19, 2005
                                                                                                     debt to repay                                                                                            Federal Funds
                                                                                                                                               ResCap to Baa3                  ResCap appoints
                                                                                                     portion of existing                                                                                      Rate increases
                                                                                                                                               (non-investment                 Paradis as CEO
                                                                                                     AFI debt                                                                                                 to 4.25%
                                                                                                                                               grade), citing link             and Applegate as
                                                                                                                                               to struggling GM                COO
                                                                                                      Jun 24, 2005
                                                                                                     ResCap, GM, and                                                                                           2005
                                                                                                     AFI enter into 2005                                                                                      ResCap earns
                                                                                                     Operating                                                                                                net income for
                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                                     Agreement                                                                                                year of
                                                                                                                                                                                                              $1.0 billion
                                                                                                                                                                                                                                                   Appendix




                                                                                       Appendix III, Page 2 of 11
ResCap Timeline of Selected Events                                               Appendix III, Page 3 of 11                                                             Nov 15, 2006
                                                                                                                                                                        FDIC approves        ResCap Event
                                                                                                                                                                application for transfer     AFI Event
                                                                                                                                                                of assets and liabilities    Industry Event
                                                                                                                                                                 from Old GMAC Bank
                                                                                                                                                                       (FSB) to GMAC
                                                                                                                                                                      Automotive Bank
                                                                                                                                                                      Nov 20, 2006
                                                                           May 2006                                                                                  ResCap Board
                                                                          Ameriquest                                                                             approves proposed
                                                                          announces layoffs and                                                                  Bank Restructuring
                                                                                                                                       Sep 12, 2006
                                                                          closes retail branches                                                                and waiver of certain            Dec 12, 2006
                                                                                                                                      ResCap advises
                                                                                                                                                                                                                                           12-12020-mg




                                                                                                                                                                  provisions of 2005            ResCap Board
                                                                                                                                      Cerberus that
                                                                           May 4, 2006                                                                         Operating Agreement             holds its first
                                                                                                                                      “RFG’s August
                                                                          Jacob and Melzer                                                                                                      regular meeting
                                                                                                                                      [2006] results were                Nov 20, 2006
                                                                          receive proposal                                                                                                      following closing
                                                                                                                                      poor and deviated       ResCap transfers assets
                                                                          regarding Bank                                                                                                        of Cerberus
                                                                                                                                      significantly from       of Old GMAC Bank plus
                      Feb 2006                                           Restructuring                    Summer 2006                                                                         transaction
                                                                                                                                      forecast”               $360 million of additional
                     ResCap issues                                        transaction; neither            Housing bubble
                                                                          Marple or Applegate’s                                                                 capital in exchange for
                     $1.75 billion of                                                                     peaks; interest                                        non-voting IB Finance
                     unsecured debt                                       concerns nor alternate          rates continue to            Sep 15, 2006                                             Dec 28, 2006
                                                                          structure are included                                                                  Class M Shares. AFI
                     and makes $500                                                                       increase;                   ResCap Board                                              Ownit Mortgage
                                                                                                                                                                     contributes GMAC
                                                                                                                                                                                                                                           Doc 3698-36




                     million payment                                                                      subprime market             appoints Giertz as                                        Solutions files
                                                                          May 5, 2006                                                                             Automotive Bank in
                     on AFI sub note                                                                      begins to see               CFO (effective                                            Chapter 11
                                                                         Merit Financial                                                                        exchange for voting IB
                                                                                                          significant rise in         Oct 1, 2006),
                                                                         files Chapter 11                                                                      Finance Class A shares
                                                                                                          defaults                    replacing Olson

                                                                                                   2006
   Jan          Feb                       Mar   Apr                 May                Jun                   Jul                Aug       Sep                    Oct                  Nov          Dec

                                                                                                                     Aug 2006            Oct 24, 2006                Nov 27, 2006             4Q 2006
                          Mar 2006                    Apr 3, 2006
                                                                                                                     U.S. Home         ResCap converts                  ResCap Exec             ResCap incurs
                 ResCap’s auditor                     GM announces its
                                                                                                                   Construction         to LLC; ResCap           Committee approves             quarterly
                   notifies ResCap                    intention to sell 51%
                                                                                                                    Index drops              and GMAC               $575 million LLC            operating loss of
             that it will not sign off                stake in AFI to investor
                                                                                                                      over 35%         Mortgage execute        Conversion Dividend to           ($651 million),
                                                                                                                                                                                                                             Pg 44 of 385




              on 2005 audit report                    group led by Cerberus
                                                                                                                      compared             2006 ResCap                            AFI           first in its history
             because of concerns                      in sale expected to
              regarding ResCap’s                      close in Q4 2006                                             to prior year        LLC Agreement
                                                                                                                                                                      Nov 27, 2006              2006
                        statement of
                                                                                                                                                                ResCap, AFI, and GM             Foreclosure
                          cash flows
                                                       Apr 19, 2006                                                                       Oct 31, 2006             enter into 2006            filings soar as
                                                      ResCap issues $3.5                                                                GMAC Mortgage            Amended Operating              delinquencies
                                                      billion unsecured debt                                                               and Ally Bank                 Agreement              rise from 10% to
                                                      to repay balance                                                                          enter into         Nov 27 – 30, 2006           15% on subprime
                       Mar 29, 2006                  of AFI sub note                                                                           MMLPSA                   Fitch and S&P          loans
                      ResCap Board                     Apr 20, 2006                                                                      eliminating first          upgrade ResCap
                      discusses LLC                   Marple expresses concerns that ResCap’s                                              lien loan level         ratings to BBB with
                conversion to allow                   loss of controlling interest in GMAC Bank                                       representation and              negative outlook           2006
                    for sale of 20%+                  pursuant to Bank Restructuring will run                                           warranty (R & W)                (lower medium           ResCap earns
                 interest in ResCap                   afoul of Operating Agreement and that                                                    provisions                        grade)         net income for
                  to third party while                Independent Directors would “likely veto”                                                                                                 year of
                     still allowing tax               transaction                                                                                                       Nov 28, 2006           $705 million
                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




                   benefits to flow to                                                                                                                              ResCap pays $575
                       GM as parent;                   Apr 24, 2006                                                                                           million LLC Conversion
                   Jacob and Melzer                   Applegate expresses concerns regarding                                                                            Dividend to AFI
                      raise concerns                  implications of ResCap losing controlling
                                                      interest in GMAC Bank pursuant to Bank                                                                          Nov 30, 2006
                                                      Restructuring and proposes alternate                                                           GM sells 51% of AFI to Cerberus
                                                      structure where ResCap would maintain                                                          led group (FIM Holdings LLC) for
                                                      controlling interest in Ally Bank                                                                                 $7.353 billion
                                                                                                                                                                                                                                           Appendix




                                                                                                                                                                       Nov 30, 2006
                                                                                                                                               GM receives $2.7 billion dividend from
                                                                                                                                           conversion of AFI and subsidiaries to LLCs


                                                                                  Appendix III, Page 3 of 11
ResCap Timeline of Selected Events                                                       Appendix III, Page 4 of 11
                                                                                                                                                                                           ResCap Event
                                                                                                                                                                                           AFI Event
                                                                                                                                                                                           Industry Event
                                                                         May 2007                                                                     Aug 17, 2007
                                                                    ResCap issues                                                                     ResCap’s available
                    Feb 5, 2007
                                                            $2.25 billion unsecured                                                                   cash decreases to
                   Mortgage
                                                                              bonds                                                                   $0.3 billion;
                   Lenders                                                                                                   Aug 2007                receives $775
                   Network                                          May 11, 2007                                           Banks raise               million deposit for
                   USA files                                       Paradis submits                                                                                               Sep 2007
                                                                                                                            3-month                   Health Capital Sale
                   Chapter 11                               resignation as Director                                                                                             Department of
                                                                                                                            interbank rates
                                      Mar 2007                 and CEO; ResCap                                                                        Aug 17, 2007            Labor reports first
                                                                                                                                                                                                                                 12-12020-mg




                                     Foreclosures reach      Board appoints Jones                                            Aug 2007                Sentinel Mgmt             month of negative
                    Feb 8, 2007
                                     record levels          as President and CEO                                            Foreclosures up           Group files               job growth since
                   HSBC warns
                                                                 and Zukauckas as                                           115% from August          Chapter 11                2003
                   of 20% higher
                                                               CAO and Controller                                           2006
                   bad debt                                                                                                                                                      Sep 2007
                                      Mar 2007                                             Jun 2007                                                  Aug 21, 2007
                   provisions                                          May 14, 2007                                                                                            AFI contributes
                                     AFI contributes                                       ResCap issues                     Aug 6, 2007             Analyst indicates
                   ($10.5 billion)                                Cerberus purchases                                                                                            $1 billion in cash
                                     $500 million                                          €600 million 3-                  Cerberus ceases           ResCap CDS
                                                                      80% of Chrysler                                                                                           to ResCap
                                     cash to ResCap                                        year floating rate               operations of Aegis       prices imply 45%
                    Feb 27, 2007                                        Holdings for
                                                                                           bond, GBP 400                    Mortgage                  risk of default within
                   Freddie Mac                                            $7.4 billion
                                      Mar 13, 2007                                        million 7-year                                             one year
                   announces it
                                                                                                                                                                                                                                 Doc 3698-36




                                     Moody's affirms                                       fixed rate bond,                  Aug 6, 2007                                        Sep 6, 2007
                   will no longer                                       May 2, 2007                                                                                            AFI enters into
                                     ResCap's                                              and MXP 1.8                      American Home              Aug 21, 2007
                   buy certain                                      S&P downgrades                                                                                              financing agreement
                                     ratings at Baa3                                       billion 5-year                   Mortgage                  AFI COO de Molina
                   subprime loans                                    ResCap to BBB-                                                                                             with Citibank
                                     with stable                                           fixed rate bond                  Investment files          joins ResCap Board
                                                                (lower medium grade)
                                     outlook                                                                                Chapter 11

                                                                                                        2007
    Jan               Feb             Mar                 Apr                   May           Jun                   Jul                       Aug                                  Sept

  Jan 2007                           Mar 23, 2007              Apr 2007                  Jun 2007          Jul 2007     Aug 9, 2007             Aug 21, 2007             Sep 7, 2007
 ResCap announces workforce          ResCap Board               AFI contributes            ResCap renews         ResCap     Global credit            ResCap Board              Feldstein resigns as
 reduction to increase               appoints Jones             $500 million               $875 million      bond pricing   markets seize            notes "further            chairman of ResCap
 operational effectiveness and       COO of ResCap,             cash to ResCap             1-year revolver        sharply                            rapid deterioration in    Board and is replaced
                                                                                                                                                                                                                   Pg 45 of 385




 reduce costs                        replacing                                             and $875 million     declines                             residential mortgage      by Rossi
                                                                                                                             Aug 9, 2007
                                     Applegate, and              Apr 2, 2007              3-year syndicated                BNP Paribas              market conditions
  Jan 30, 2007                      appoints Jones,            New Century                revolver                         suspends three           and unexpectedly
 American                            Bossidy, and               (largest U.S.                                               subprime investment      large ResCap losses”
                                     Kravit to Board;                                       Jun 1, 2007
 Freedom                                                        subprime                   GMAC Mortgage and                funds due to              Aug 27, 2007             Sep 7, 2007
 Mortgage                            Casey is elected           lender) files                                               “complete                ResCap sells Health
                                     to Treasurer                                          Ally Bank amend                                                                     Mayer Brown makes
 files Chapter 7                                                Chapter 11                 MMLPSA (eliminating              evaporation of           Capital to GMAC           presentation to ResCap
                                     (effective June 1,                                                                     liquidity”               Commercial Finance
                                     2007)                                                 second lien loan level                                                              Board regarding fiduciary
                                                                                           R & W provisions)                 Aug 10, 2007           (GMAC CF) for $900.5      duties in zone of
                                                                 Apr 20, 2007
                                                                                                                            FRB and central          million                   insolvency
                                                                ResCap Board                Jun 7, 2007
                                      Mar 26, 2007                                                                         banks inject $290
                                                                confirms Khattri as        Bear Stearns                                               Aug 30, 2007
                                     Giertz announces                                                                       billion into global
                                                                CFO and Chapman as         halts redemptions                                         After Health Capital
                                     his resignation as                                                                     markets to increase
                                                                Director                   for two of its                                            Sale, Jacob and
                                     CFO, citing concerns                                                                   liquidity                                           Sep 26, 2007
                                                                                           CDO hedge funds                                           Melzer request robust
                                     regarding Cerberus’s                                                                    Aug 16, 2007                                     ResCap Board hears
                                                                                                                                                     diligence materials and
                                     management style                                                                       Countrywide                                        presentation outlining
                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                            Jun 25, 2007                                            ample time to review
                                                                                                                            obtains $11 billion                                restructuring options,
                                                                                           Chapman departs                                           for any future related
                                      1Q 2007                                                                              rescue-financing                                   including staying the
                                                                                           ResCap Board                                              party transactions
                                     ResCap incurs                                                                          package                                            current course, sale of
                                     quarterly loss of                                                                                                                         business, or liquidation
                                                                                                                             Aug 16, 2007            Aug 31, 2007
                                     ($910 million)                                         2Q 2007                        Moody’s and Fitch        GMAC Mortgage and
                                                                                           ResCap incurs                    downgrade                Ally Bank enter into       3Q 2007
                                                                                           quarterly loss of                ResCap to Ba1 and        MSR Swap Agreement        ResCap incurs its
                                                                                                                                                                                                                                 Appendix




                                                                                           ($254 million)                   BB+, respectively                                  fourth consecutive
                                                                                                                            (non-investment grade)    Aug 31, 2007            quarterly net loss
                                                                                                                                                     Ameriquest                ($2.3 billion)
                                                                                                                                                     ceases operations

                                                                                         Appendix III, Page 4 of 11
ResCap Timeline of Selected Events                                                Appendix III, Page 5 of 11
                                                                                                                                                                                               ResCap Event
                                                                                                                                                        May 2008                              AFI Event
                                                                                                                                                       FTI retained to advise                  Industry Event
                   Nov 2007                                                                                                                           ResCap in developing
                  FRB injects $41                                                                                                                      liquidity forecasting            Jun 1, 2008
                                                                                                                             Apr 2008
                  billion into         Dec 2007             Jan 2008                                       Mar 2008                                 process                         ResCap Board approves
                                                                                                                            ResCap Board
                  money supply to     Bondholders           Markit stops                             AFI provides $143                                                                 five affiliate transactions
                                                                                                                            asked to approve            May 5, 2008
                  keep credit         tender $389           issuing ABX                                million capital to                                                              with only one
                                                                                                                            $3.5 billion AFI           ResCap announces
                  markets open        million face          subprime indices;                      ResCap to overcome                                                                  Independent Director
                                                                                                                            credit facility            exchange offer and states
                                      value of              S&P downgrades                               TNW shortfall                                                                 (Smith)
                   Nov 2007          ResCap                or places on credit                                                                        that Operating Agreement
                                      bonds                 watch more than                                                                            requires two Independent         Jun 2, 2008
                                                                                                                                                                                                                                         12-12020-mg




                  AFI executes
                                      for cash of           8,000 RMBS and                                                                             Directors and, "[a]s of the     ResCap amends AFI
                  open market                                                                              Mar 3, 2008
                                      $241 million          CDO securities                                                   Apr 2008                 date hereof, the two            Secured MSR Facility to
                  purchases of                                                                                     Fitch
                                                                                                                            ResCap enters into         independent director            $1.2 billion
                  certain ResCap                                                                            downgrades
                                       Dec 2007                                                                            $750 million               positions are currently
                  senior unsecured                           Jan 2008                                   ResCap to BB-                                                                  Jun 4, 2008
                                      AFI provides                                                                          Secured MSR                vacant"
                  bonds                                     Stock market begins                                  (highly                                                               AFI provides $3.5 billion
                                      $763 million                                                                          Facility with AFI
                                                            prolonged downturn                              speculative)                                May 7, 2008                   secured facility to RFC
                   Nov 1, 2007       capital to                                                                                                       ResCap retains Lazard to        and GMAC Mortgage,
                  Moody’s and S&P     ResCap to                                                          Mar 16, 2008                                 advise on potential             replacing ResCap’s
                  announce            overcome                                                                JPMorgan                                 restructuring, sale, and/or     unsecured lines
                                      TNW shortfall                                                       acquires Bear      Apr 18, 2008
                  downgrades of
                                                                                                                                                                                                                                         Doc 3698-36




                                                             Jan 2008                                                                                 refinancing
                                                                                                           Stearns with     Cerberus hires
                  ResCap’s senior                           ResCap retains Morgan                                                                                                      Jun 4 – 5, 2008
                                       Dec 2007                                                        assistance from     Marano as                   May 15, 2008
                  debt to Ba3 and                           Stanley as financial advisors                                                                                             Fitch and S&P downgrade
                                      U.S. enters                                                         U.S. Treasury     Managing Director          Smith joins ResCap
                  BB+ with negative                         to advise on strategic and                                                                                                ResCap to D (default) and
                  outlook (non-       recession                                                                                                        Board as                       SD (selective default),
                                                            financial alternatives
                  investment grade)                                                                                                                    Independent Director           respectively

                        2007                                                                                                 2008
     Oct                Nov              Dec                  Jan                       Feb                      Mar               Apr                           May                          Jun
  Oct 2007                                                  Jan 11, 2008         Feb 5, 2008                              Apr 18, 2008              May 16, 2008                  Jun 6, 2008
                   Nov 1, 2007        Dec 2007                                                         Mar 20, 2008
 ResCap                                                     Countrywide sold      Moody’s                                   Khattri resigns from       Morgan Stanley                 ResCap issues new
                  Moody's             ResCap                                                              Rossi resigns
 announces                                                  to Bank of            downgrades                                ResCap Board               updates ResCap                 Senior and Junior
                  downgrades          establishes third                                                     as ResCap                                                                 Secured Notes as part
                                                                                                                                                                                                                           Pg 46 of 385




 formal           AFI to Ba2          party facilities to   America (“BofA”)      ResCap to B2                chairman                                 Board regarding
 restructuring                                                                    (highly                                                              various scenarios in           of exchange offer
                  (non-investment     fund $1.5 billion
 plan including   grade)              MSRs and up to                              speculative)                                                         potential restructurings
                                                                                                          Mar 28, 2008      Apr 20, 2008                                             Jun 9, 2008
 elimination of                       $2 billion
                                                                                                         ResCap Board       Independent                                               Cerberus purchases
 3,000 jobs        Nov 1, 2007       conforming and                                                                                                    May 29, 2008
                                                                                                         approves 2008      Directors Jacob and                                       certain model home
                  AFI states it is    non-conforming                               Feb 21, 2008                                                       At ResCap Board
                                                                                                               ResCap       Melzer resign from                                        assets from ResCap for
                  aggressively        mortgages                                   AFI provides $750                                                    meeting, Skadden
                                                                                                          Amended LLC       ResCap Board                                              $230 million
  Oct 5, 2007    moving to                                                       million advance                                                      discusses fiduciary
 Merrill Lynch    restructure                                                                               Agreement                                  duties
                                                                                  facility to ResCap                                                                                   Jun 12, 2008
 incurs loss of   ResCap's risk        Dec 2007                                  to be repaid from                          Apr 21, 2008                                            Hirtler-Garvey joins
 ($8.4 billion)   profile             FRB establishes                             proceeds of Resort                        Bossidy resigns             May 30, 2008                 ResCap Board as
                                      Term Auction                                Finance sale                              from ResCap Board;         Mayer Brown advises AFI        Independent Director
                   Nov 20, 2007      Facility to provide                                                                   Young joins ResCap         Board on fiduciary duties in
                                      additional bank                                                                       Board                                                      Jun 13, 2008
                  Analyst indicates                                                                                                                    affiliate transactions
                                      funding                                      Feb 22, 2008                                                                                      AFI CAO DeBrunner
                  ResCap CDS
                                                                                  S&P                                                                                                 joins ResCap Board
                  prices imply 72%
                                                                                  downgrades                                 Apr 23, 2008
                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




                  risk of default      4Q 2007                                                                                                                                        Jun 16, 2008
                                                                                  ResCap to B                               Cerberus employees
                  within one year     ResCap incurs                                                                                                                                   Moody's rates new
                                                                                  (highly                                   Marano and
                                      quarterly loss of                           speculative)                              Weintraub join                                            ResCap secured debt
                   Nov 21, 2007      ($921 million)                                                                        ResCap Board                                              from bond exchange
                  ResCap                                                                                                                                                              Caa2 and Caa3
                  announces tender                                                                                                                                                    (in poor standing)
                  offer for up to
                                       2007                                                                                 Apr 23, 2008                                             Jun 24, 2008
                  $750 million of
                                                                                                                                                                                                                                         Appendix




                                      ResCap incurs                                                                         Moody’s downgrades AFI and ResCap                         Analyst indicates
                  outstanding bonds
                                      net loss for                                                                          credit ratings to B2 (highly speculative)                 ResCap CDS prices
                  to increase
                                      year of                                                                               and Caa1 (substantial risk),                              imply 100% risk of
                  income and TNW
                                      ($4.3 billion)                                                                        respectively                                              default within five years


                                                                                   Appendix III, Page 5 of 11
ResCap Timeline of Selected Events                                                       Appendix III, Page 6 of 11
                                                                                                                                                                                                   ResCap Event
                                                                                                                                                                                                   AFI Event
                              Sep – Dec 2008                                                                                                                    Nov 2008
                             ResCap and advisors
                                                                                                                                                                                                   Industry Event
                                                                                                                                                                U.S. Treasury, FRB, and
                             begin planning for                                                                                                                 FDIC announce $301 billion
                             potential Chapter 11 filing        Sep 16, 2008                                                                                                                    Dec 2008
                                                                                                                                                                guarantee of Citigroup
                                                               Federal Reserve Bank                                                                                                             AFI secured facility with
                              Sep 2008                                                                                                                         assets
  Jul 1, 2008                                                 of New York loans                                               Oct 10, 2008                     Nov 3, 2008                   RFC and GMAC
                             ResCap Board
 GMAC Mortgage and                                             AIG $85 billion to                                             AFI Board meets and focuses on    AFI authorizes debt             Mortgage is reduced to
                             considers sale of                                                Oct 3, 2008
 Ally Bank amend                                               avoid bankruptcy                                               AFI’s liquidity concerns          forgiveness sufficient to       $3 billion
                             ResCap’s interest in                                            U.S. Treasury creates
 MMLPSA (changing                                                                                                              Oct 12, 2008                    cover ResCap's TNW               Dec 19, 2008
                             Ally Bank to AFI                                                $700 billion TARP
 purchase price to market)                                      Sep 21, 2008                                                 Wells Fargo acquires              covenant in October             U.S. Treasury
                                                                                             program to purchase
                                                                                                                                                                                                                                                12-12020-mg




 and Amended and              Sep 3, 2008                     Morgan Stanley and                                             Wachovia Bank                                                     announces loans to
                                                               Goldman Sachs become          failing bank assets
 Restated Pipeline Swap      ResCap publicly                                                                                                                     Nov 5, 2008                   GM and Chrysler
 (adding HFS loans)                                            bank holding companies                                          Oct 17, 2008
                             announces plans for                                              Oct 6 – 10, 2008                                                 ResCap reports 3Q                Dec 24, 2008
                                                                                                                              At ResCap Board meeting
                             restructuring                                                   Stock market plummets 18%,                                         2008 ($1.9 billion) net         FRB approves AFI’s
  Jul 12, 2008                                                 Sep 23, 2008                                                 Marano describes working with
                                                                                             worst one-week drop in                                             loss with “going                application to
                                                               Lazard advises ResCap                                          Cerberus and Morrison &
 Federal regulators           Sep 3, 2008                                                   history                                                            concern” qualification          become bank
                                                               Board to consider                                              Foerster on term sheet to
 seize IndyMac               ResCap begins closing                                                                                                                                              holding company
                                                               ResCap in “zone of                                             request TARP funds from U.S.       Nov 17, 2008
                             branches and wholesale            insolvency”                    Oct 7, 2008                    Treasury                                                           Dec 24, 2008
  Jul 15, 2008                                                                                                                                                 U.S. Treasury announces
                             broker channel, curtails                                        FRB announces its new                                                                              AFI receives
 SEC places restrictions                                                                                                                                        distribution of $33.6 billion
                             business lending and               Sep 25, 2008                Commercial Paper Funding          Oct 17, 2008                                                    notification of TARP
                                                                                                                                                                of TARP funds to 21
                                                                                                                                                                                                                                                Doc 3698-36




 on naked short selling of   international operations,         FDIC seizes WaMu and          Facility (“CPFF”) to provide     ResCap agrees to meet $168                                        approval,
 certain financial stocks                                                                                                                                       smaller and regional
                             reduces worldwide                 sells its assets to           liquidity “backstop” to non-     million margin call under AFI                                     forestalling ResCap
                                                                                                                                                                banks
                             workforce                         JPMorgan                      financial sector companies       Secured Revolver Facility                                         bankruptcy

                                                                                                        2008
             Jul                                         Sep                                                                Oct                                          Nov                           Dec
  Jul 15, 2008               Sep 7, 2008                      Sep 29, 2008                 Oct 7, 2008                     Oct 17, 2008                     Nov 20, 2008
 S&P upgrades                Federal Housing                   Kirkland & Ellis              In attempt to inject             AFI Board discusses pursuing      GMAC Mortgage and
                                                                                                                                                                                                 Dec 30, 2008
 ResCap to CCC+              Finance Agency (FHFA)             discusses fiduciary           liquidity, IRS relaxes           bank holding company status,      Ally Bank enter into            AFI receives $5
 (substantial risk)          takes over Fannie Mae             duties with AFI               rules on U.S.                    AFI’s liquidity position,         Broker Agreement                billion of TARP
                             and Freddie Mac                   Board                         corporations repatriating        ResCap’s proposed participation                                   funding from
                                                                                             money held overseas              in TARP, and extension of $1.2     Nov 20, 2008                  U. S. Treasury
  Jul 21, 2008                                                 Sep 30, 2008
                              Sep 11, 2008                                                                                                                     ResCap and AFI
                                                                                                                                                                                                                                  Pg 47 of 385




 Jones resigns as                                              AFI Board receives             Oct 7, 2008                    billion Secured MSR Facility
                             AFI Board                                                                                        provided by AFI                   announce commencement            Dec 31, 2008
 President and CEO of                                          report addressing             FRB makes emergency
                             discusses potential                                                                               Oct 28, 2008                    of exchange offers              AFI announces
 ResCap and is replaced                                        risks to AFI of ResCap        move to lend $1.3 trillion
                             sale of ResCap’s                                                                                 Four commercial banks,                                            completion of its
 by Marano as CEO, who                                         bankruptcy                    directly to companies                                               Nov 20, 2008
                             interest in Ally                                                                                 three investment banks,                                           exchange offer and
 remains employed by                                                                         outside financial sector                                           PATI and RAHI enter
                             Bank to AFI                                                                                      and two custodian banks                                           cash tender offer for
 Cerberus                                                       Sep 30, 2008                                                                                   $430 million AFI Line of
                                                                                              Oct 8, 2008                    receive $125 billion in                                           exchange of $3.7
                                                               ResCap completes                                                                                 Credit Agreement
                              Sep 15, 2008                                                  AIG obtains another              TARP funds                                                        billion of ResCap
  Jul 30, 2008                                                second sale of model
                                                                                             $37.8 billion in loans                                              Nov 20, 2008                  bonds
 Cerberus purchases          Lehman Brothers                   home assets to                                                  Oct 30, 2008
 FNMA and FHLMC              files Chapter 11                  Cerberus for $59              from government                                                    AFI and ResCap each              Dec 31, 2008
                                                                                                                              Moody’s downgrades                                                AFI contributes
 excess servicing rights                                       million after auction                                                                            downgraded by Moody’s
                                                                                              Oct 8, 2008                    AFI’s credit rating to                                            $219.9 million in
 from ResCap for $282                                                                                                                                           to C (in default) and
                              Sep 15, 2008                                                  Central banks worldwide          Caa1 (substantial risk)                                           bonds to ResCap
 million after auction                                          Sep 30, 2008                                                                                   downgraded by S&P to
                             Merrill Lynch avoids              AFI renews Secured            announce coordinated rate         Oct 31, 2008                    CC (default imminent)            Dec 31, 2008
                             filing Chapter 11 by              MSR Facility with             cut                              AFI Board discussion notes                                        S&P downgrades both
                             agreeing to
                                                                                                                                                                 Nov 20, 2008
                                                               ResCap through                 Oct 8, 2008                    ResCap bankruptcy would                                           AFI and ResCap to SD
                             purchase by BofA                                                                                                                   AFI applies for TARP
  Jul 30, 2008                                                May 1, 2009 and               Skadden and Lazard make          likely be fatal to AFI’s bank                                     (selective default)
                                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                                                                                                and bank holding
 ResCap sells Resort                                           reduces advance rate          presentation to ResCap           holding company
                                                                                                                                                                company status                   2008
 Finance to GMAC CF                                            to 76.6%                      Board on impact and timing       application
                              Sep 16, 2008                                                                                                                      Nov 25, 2008                  Over 3 million real
 for net purchase price      Money market funds                 Sep 30, 2008                of bankruptcy filing on           Oct 31, 2008
                                                                                                                                                                FRB announces it will           property
 of $96.1 million            announce they have                AFI forgives $101.5           ResCap's liquidity and           AFI forgives $238.9
                                                                                                                                                                purchase $100 billion           foreclosures take
                             “broken the buck”                 million of ResCap             creditor recoveries; they        million of ResCap                                                 place in U.S. (81%
                                                                                                                                                                of MBS securities
                                                               Secured MSR Facility          conclude that without            Secured MSR Facility                                              increase over 2007)
                                                                                             another cash infusion or                                            Nov 30, 2008
                                                                                             sale of its interest in Ally                                       AFI forgives $451.5              2008
                                                                                                                                                                                                                                                Appendix




                                                                Sep 30, 2008                Bank, ResCap will run out                                          million of ResCap               ResCap incurs
                                                               AFI contributes $54 million   of cash in November                                                Secured MSR Facility            loss for year of
                                                               of ResCap unsecured                                                                                                              ($5.6 billion)
                                                               bonds as capital

                                                                                         Appendix III, Page 6 of 11
ResCap Timeline of Selected Events                                                      Appendix III, Page 7 of 11
                                                                                                                                                                                                   ResCap Event
                                                                                                                                                                                                   AFI Event
                                                                                                                                                                                                   Industry Event
  Jan 1, 2009
 ResMor sale to AFI
 closes for $67 million         Feb 3, 2009                                                                                                                                           Jun 10, 2009
                               AFI tells investors that                                                                                                                               Lazard gives presentation to
                               despite challenges,          Mar 2009                                                                                                                 ResCap Board on “free-fall”
  Jan 5, 2009                 ResCap is meeting all       Cerberus executives                                                                                                        Chapter 11 filing by ResCap
 Flees resigns                 of its covenants in         Kravit and Weintraub                                                                                                       and potential ramifications for
 as ResCap CAO and             fourth quarter due          resign from ResCap                                                                                                         AFI and Ally Bank
                                                           Board; Marano nominates
                                                                                                                                                                                                                                            12-12020-mg




 Controller, replaced by       largely to continued                                                                                                 Jun – Jul 2009
 Dondzila                      support from AFI            Renzi to ResCap Board;
                                                           AFI’s de Molina resigns                                    May 8, 2009                 ResCap and FTI resume               Jun 10, 2009
                                                                                          Apr 2009                  ResCap confirms West          planning for anticipated           AFI Board discusses MSR
                                Feb 6, 2009               from ResCap Board,
  Jan 8, 2009                                                                           AFI makes capital           as Independent Director       Chapter 11 filing                  hedge, support for ResCap, and
                                                           subsequently joins AFI
 In statement filed with       AFI reports that                                          contribution to ResCap                                                                       consequences of hypothetical
                                                           Board and becomes AFI
 SEC, ResCap indicates         ResCap has no direct                                      of $34.7 million in                                                                          ResCap free-fall Chapter 11
                                                           CEO
 AFI will provide support      access to TARP funds,                                     bonds                                                                                        filing for AFI and Ally Bank
                                                                                                                                                    Jun 2009
 to ResCap as long as it       but has support of AFI;
                                                                                                                                                   AFI makes capital
 is in best interests of AFI   AFI likely to continue       Mar 2009                                                 May 2009                    contribution to ResCap of
                                                                                                                                                                                       Jun 12, 2009
                               supporting ResCap as        AFI makes capital              Apr 2009                  AFI makes capital                                                AFI increases ResCap
 stakeholders                                                                                                                                      $750.8 million in bonds
                                                                                         CEO Marano becomes
                                                                                                                                                                                                                                            Doc 3698-36




                               long as it benefits AFI     contribution to ResCap of                                 contribution to ResCap of                                        Secured MSR Facility
                               stakeholders                $263.1 million in bonds       ResCap employee             $112.6 million in bonds                                          commitment to $400 million

                                                                                                          2009
          Jan                          Feb                         Mar                          Apr                          May                                               Jun

  Jan 16, 2009                 Feb 17, 2009               Mar 2, 2009                  Apr 6, 2009                May 1, 2009                  Jun 2009                          Jun 15, 2009
 U.S. Treasury                 President Obama signs       U.S. Treasury states it       GMAC Mortgage and           ResCap closes U.S./U.K.       ResCap Board begins                Young presents AFI Board
 announces $20 billion         $787 billion stimulus       may need to invest another    Ally Bank amend             Broker-Dealer Sale to         daily meetings to                  with pro forma analysis of two
 investment in                 package                     $30 billion in AIG            Pipeline Swap               AFI for $110 million          discuss liquidity                  scenarios: (1) ResCap
 BofA and $25 billion           Feb 18, 2009                                            (eliminating HFI loans)                                   concerns; meetings                 bankruptcy plus AFI partial
 investment through
                                                            Mar 11, 2009                                                                          continue through                   absorption of ResCap, and
                               U.S. Treasury                                                                          May 8, 2009
 Capital Purchase                                          Freddie Mac requests                                                                    November 2009                      (2) AFI full absorption of
                               announces increase in                                                                 Fannie Mae requests
                                                           additional $30.8 billion
                                                                                                                                                                                                                              Pg 48 of 385




 Program (part of TARP)        funding commitment to                                      Apr 30, 2009                                                                               ResCap
                                                           from U.S. Treasury                                        additional $19 billion from
                               Fannie Mae and                                            Marano informs
                                                                                                                     U.S. Treasury                  Jun 1, 2009
                               Freddie Mac from $100                                     ResCap Board that
                                                                                                                                                   PATI and RAHI enter                 Jun 16, 2009
                                                            Mar 18, 2009                Independent Director
                               billion to $200 billion                                                                                             into $370 million AFI              ResCap Board meets with
                                                           FRB announces decision        Hirtler-Garvey is joining    May 12, 2009
                                                                                                                     Freddie Mac requests          revolving credit facility          Morrison & Foerster to
                                Feb 26, 2009              to buy $1.2 trillion of       AFI as Chief Risk
                                                                                                                     additional $6.1 billion       guaranteed by RFC,                 discuss potential Chapter
  Jan 30, 2009                Fannie Mae requests         government bonds and          Executive, but that she
                                                                                                                     from U.S. Treasury            GMAC Mortgage, and                 11 filing
 AFI exercises its             $15.2 billion from U.S.     mortgage-related              will continue on
                                                                                                                                                   ResCap
 option to convert its         Treasury due to             securities, including $200    ResCap Board
 ResCap Preferred              Q4 2008 losses              billion of Fannie Mae and
                                                                                                                      May 15, 2009
 Interests to                                              Freddie Mac debt                                                                                                            Jun 23, 2009
                                                                                                                     AFI receives $7.5 billion      Jun 1, 2009
 IB Finance Preferred           Feb 26, 2009                                                                                                                                         Hirtler-Garvey leaves
                                                                                          Apr 30, 2009              in TARP funds from U.S.       GM files Chapter 11
 Interests and                 AFI reiterates its Jan 8,    1Q 2009                                                                                                                  ResCap Board
                                                                                         Chrysler files              Treasury
 purchases ResCap’s            2009 qualified statement    AFI initiates “Project
                               of support in its 2008                                    Chapter 11                                                 Jun 5, 2009
 remaining                                                 Windmill,” which analyzes                                                                                                   2Q 2009
 IB Finance Class              annual report               AFI’s exposure in event of                                                              Marano discusses request
                                                                                                                                                   by AFI Board for business          S&P upgrades AFI
 M Shares                                                  ResCap bankruptcy filing
                                                                                                                                                                                                                        Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                                                                                   plan projection of core            ratings to CCC
                                Feb 26, 2009                                                                                                                                         (extremely speculative),
                               ResCap discloses in                                                                                                 ResCap business separate
                                                                                                                                                   from legacy business               while Fitch downgrades
                               its Form 10-K                                                                                                                                          AFI to RD (restricted
                               that "there is                                                                                                                                         default)
                                                                                                                                                    Jun 10, 2009
                               substantial doubt
                                                                                                                                                   Moody's upgrades AFI to
                               about the Company's
                                                                                                                                                   Ca with stable outlook
                               ability to continue as a
                                                                                                                                                   (default imminent)
                               ‘going concern’”
                                                                                                                                                                                                                                            Appendix




                                                                                                                                                               Daily liquidity meetings by ResCap Board




                                                                                        Appendix III, Page 7 of 11
ResCap Timeline of Selected Events                                                        Appendix III, Page 8 of 11
                                                                                                                                                                                                    ResCap Event
                                                                                                                                                                                                    AFI Event
                                                                                                                                                                                                    Industry Event




                                                                                                                                                  Dec 11, 2009
                                                                                                                    Nov 2009 – Jan 2010         AFI discusses ResCap exit strategy in meeting with
                                                                                                                   ResCap and FTI resume         U.S. Treasury to request funds under SCAP program
                                                                                                                   planning for potential
                                                                                                                                                                                                                                              12-12020-mg




                                                                                                                   Chapter 11 filing

                                                                                                                                                  Dec 30, 2009
                                                                                                                    Nov 2009                    AFI receives $3.8 billion from TARP, and
                                                                                                                   AFI contributes $23.6         U.S. Treasury becomes majority owner of AFI
                                                                                                                   million to ResCap in
                                                                                                                   bonds from December
  Jul 7, 2009                                                                                                     2008 exchange offer
                                                                                                                                                  Dec 30, 2009
 ResCap Board considers                                                                                                                          AFI contributes $1.4 billion in HFS loans,
 presentation prepared by                                                                                           Nov 2009                    $600 million in cash, $316.2 million in
 Lazard on risk to various                                                                                         AFI forgives $52.4
                                                                                                                                                                                                                                              Doc 3698-36




                                                                                                                                                 receivables, $262.7 million in Secured MSR
 constituents if ResCap files                                  Sep 8, 2009                                        million of ResCap             Facility debt forgiveness, and $195 million in
 Chapter 11                                                   Renzi resigns from                                   Secured MSR Facility          forgiveness of intercompany payables to
                                                              ResCap Board, reducing                                                             ResCap
                                                              ResCap Board to four                                  Nov 2009
  Jul 15 – 16, 2009                                          Directors (Marano, Young,                            ResCap ceases daily            Dec 30, 2009
 DeBrunner and Walker                                         and Independent                                      liquidity meetings            AFI converts $3 billion ResCap Secured Revolver
 resign from ResCap Board                                     Directors Smith and West)                                                          Facility loan into amortizing term loan

                                                                                                       2009
         Jul                            Aug                           Sep                        Oct                       Nov                                                    Dec

                                   Aug 2009                                                Oct 2009                                               2009
                                                                                                                                                                                                                                Pg 49 of 385




                                                                                                                    Nov 1, 2009
                                  Ally Bank makes fair value                               Unemployment peaks at   CIT Group files                 Foreclosure filings increase
                                  election for HFS loans,                                  10.2%, highest rate     Chapter 11                      21% over 2008; subprime
                                  changing revenue allocation                              since 1983                                              mortgage delinquencies
                                  under Broker Agreement                                                                                           increase to 25.5%
                                                                                                                    Nov 3, 2009
                                                                                                                   SEC approves ResCap’s
                                    Aug 8, 2009                                                                   request to deregister as
                                   Fannie Mae requests                                                             separate filer
                                   additional $10.7 billion
                                   from U.S. Treasury                                                               Nov 4, 2009
                                                                                                                   Fannie Mae requests
                                                                                                                                                                                                                2009
                                                                                                                   additional $15 billion from
                                                                                                                                                                                                      ResCap incurs
                                                                                                                   U.S. Treasury
                                                                                                                                                                                                      loss for year of
                                                                                                                                                                                                         ($4.5 billion)

                                                                                                                    Nov 16, 2009
                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                                                   Carpenter replaces de
                                                                                                                   Molina as AFI CEO
                                                                                                                                                                                                                                              Appendix




                                Daily liquidity meetings by ResCap Board




                                                                                          Appendix III, Page 8 of 11
ResCap Timeline of Selected Events                                                   Appendix III, Page 9 of 11
                                                                                                                                                                                                            ResCap Event
                                                                                                                                                                                                            AFI Event
                                                                                                                                                                 Sept – Oct 2010
                                                                                                             Jul 2010                                          Several lenders, including AFI,             Industry Event
                                                                                                            Article published                                   suspend foreclosure proceedings
                                                                                                            by Reuters                                          in wake of “robosigning”
                                                                                                            describes                  Aug 2010                issues
                                                                                                            potential of              Elliott Assoc.
                                                                                                            clearinghouse                                        Oct 2010
                                                                                                                                      provides
                                                                                                            model to                                            ResCap sells its European
                                                                                                                                      presentation to                                                            Dec 2010
                                                                                                            aggregate RMBS                                      mortgage assets and
                                                                                                                                      ResCap estimating                                                   Housing prices
                                                                                                            claimants                                           operations to Fortress
                                                                                                                                      potential RMBS                                                  continue to decline
                                                                                                                                                                 Oct 5, 2010
                                                                                                                                                                                                                                                       12-12020-mg




                                                                                                                                      claims against                                                       past mid-2009
                                 Mar 2010                                                                                            ResCap at $7.3            AFI provides guarantee to Ally
                                                                                                                                                                Bank of GMAC Mortgage                    low; foreclosure
                                Lenders report                                                                                        billion
                                                                                                             Jul 1, 2010                                       obligations under Original Servicing      filings increase
                                declining
                                                                                                            GMAC Mortgage                                       Agreement and MSR Swap                        from first half
                                provisions for                                                                                         Aug 6, 2010
                                                                                                            and Ally Bank                                                                                           of 2010
                                loan losses                                                                                           Goldman Sachs              Oct 5, 2010
                                on their                                                                    amend MSR                                           GMAC Mortgage executes
                                                                                                                                      updates AFI Board                                                    Dec 22, 2010
                                balance sheets                                                              Swap (increasing                                    “sideletter” with Ally Bank
                                                                                                                                      on strategic                                                        ResCap Board
                                                                       May 9 – 10, 2010                    funding fee                                         acknowledging responsibility for
                   Feb 2010                                                                                                          alternatives for                                                 approves Second
                                 Mar 17, 2010                        EU enacts EFSF                        margin from 1.0%                                    “any aspect of the foreclosure
                  PIMCO                                                                                                               mortgage                                                       2009 Tax Allocation
                                GMAC Mortgage, RFC,                   and EFSM funding                      to 3.25% and                                        affidavit process”
                                                                                                                                                                                                                                                       Doc 3698-36




                  organizes                                                                                                           operations, including                                         Agreement proposed
                                and AFI enter into $325               programs to                           adding loan
                  investor                                                                                                            third party interest in    Oct 8, 2010                              by AFI despite
                                million settlement with               address Eurozone                      repurchase
                  conference                                                                                                          ResCap's core             AFI receives letter from several       outside counsel’s
                                Freddie Mac for R & W                 crisis                                expense)
                  to pursue                                                                                                           operations, asset         U.S. Senators demanding that           comment that it is
                                claims
                  potential                                                                                                           sales, and trade          AFI stop foreclosures in all 50         unfair to ResCap
                  RMBS claims                                                                                                         settlements               states

                                                                                                     2010
   Jan              Feb          Mar               Apr                May              Jun               Jul                    Aug                 Sep            Oct                    Nov                     Dec

   Jan 27, 2010                 Mar 29, 2010                                                                                         Aug 6, 2010              Oct 29, 2010          Nov 3, 2010         Dec 23, 2010
                                                      Apr 2010                       Jun 2010
  S&P upgrades                  Abreu confirmed                                                                                       ResCap Board              AFI Board              U.S. Treasury            ResCap and
                                                     Delinquency                     Unemployment remains
  ResCap’s rating to B          to ResCap Board                                                                                       approves First 2009       receives results       announces it                 AFI add
                                                     rate on sub-                    high with second
                                                                                                                                                                                                                                         Pg 50 of 385




  (highly speculative)                                                                                                                Tax Allocation            of bid process         will purchase       unsecured $500
                                                     prime variable                  quarter average of
                                                                                                                                      Agreement; the            for ResCap; all        $600 billion of     million swingline
                                                     rate loans                      9.75%
                                                                                                                                      agreement is signed       three bids             Treasury              tranche to line
   Jan 29, 2010                                     hovers at 40%
                                                                                                                                      by AFI but not            indicate implied       securities                   of credit
  Abreu appointed                                                                     Jun 14, 2010                                                             transaction loss       by end of 2011       agreement with
                                                                                                                                      signed by Young
  President of ResCap                                                                MBIA files                                                                 and negative                                RAHI and PATI
                                 1Q 2010                                            $4 billion R & W lawsuit                                                   cash at closing
                                Moody’s, S&P,                                        against GMAC                                                                                       Nov 4, 2010
                                                                                                                                                                as well as
                                and Fitch                                            Mortgage                                                                                          Congressional
                                                                                                                                                                concerns
                                upgrade AFI’s                                                                                                                                          Oversight Panel
                                                                                                                                                                regarding                                   Dec 23, 2010
                                credit rating to                                                                                                                                       estimates R & W
                                                                                                                                                                contingent                                     ResCap, LLC
                                B3, B, and B,                                                                                                                                          claims could
                                                                                                                                                                liabilities; AFI                                    and Ally
                                respectively                                                                                                                                           be as much as
                                                                                                                                                                Board agrees to                            Securities, et al.
                                (highly                                                                                                                                                $16 billion
                                                                                                                                                                terminate sale                            enter into $461.5
                                speculative)                                                                                                                    process                 Nov 5, 2010      million settlement
                                                                                                                                                                                       Results of AFI     with Fannie Mae
                                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                                                                                                                       bid process are    for R & W claims
                                                                                                                                                                                       presented
                                                                                                                                              Fall 2010
                                                                                                                                                                                       to ResCap
                                                                                                                                      DOJ, FRB, FDIC,
                                                                                                                                                                                       Board                           2010
                                                                                                                                  SEC, and authorities
                                                                                                                                  in all 50 states begin                                                      ResCap earns
                                                                                                                                           investigating                                                      net income for
                                                                                                                                                                                        Nov 18, 2010
                                                                                                                                    mortgage servicing                                                          year of $575
                                                                                                                                                                                       Marano testifies
                                                                                                                                  companies, including                                                        million, its first
                                                                                                                                                                                                                                                       Appendix




                                                                                                                                                                                       at hearing on
                                                                                                                                    ResCap, regarding                                                         profitable year
                                                                                                                                                                                       foreclosure
                                                                                                                                     foreclosure issues                                                           since 2006
                                                                                                                                                                                       issues



                                                                                      Appendix III, Page 9 of 11
ResCap Timeline of Selected Events                                                                Appendix III, Page 10 of 11
                                                                                                                                                                                                                 ResCap Event
                                                                                                                                                                                                                 AFI Event
                                                                                                          Aug 2011 – May 2012                                                                                   Industry Event
                                                                                                         ResCap and FTI resume planning for
                                                                                                         potential Chapter 11 filing

                                        Apr 1, 2011                                                      Aug 3, 2011
                                    GMAC Mortgage                                                        DeBrunner presents review of                                                          Oct 6, 2011
 1Q – 2Q 2011                         and Ally Bank                                                     R & W claims and potential                                                           AFI Board meets and discusses
Moody’s, S&P, and                    revise MSR and                                                      exposure to DOJ/AG Settlements to                                                    “merits and potential
Fitch upgrade                      Pipeline Swaps in                                                     AFI Board                                                                            consequences of remaining in or
ResCap to Ca                       response to FDIC                                                                                                                                           exiting all or a portion of the
                                                                                                          Aug 12, 2011
                                                                                                                                                                                                                                                            12-12020-mg




(default imminent),                        concerns,                                                                                               Sept – Oct 2011                           mortgage business”
                                                                                                         ResCap CEO Marano sends AFI
B+ (highly                                 expanding                                                                                              ResCap Board continues to
                                                                                                         CEO Carpenter letter describing                                                       Oct 15, 2011
speculative), and B                        guarantee                                                                                              evaluate “various different
                                                                                                         ResCap’s precarious financial                                                        AFI engages Evercore to analyze
(highly speculative),                                                            Jul – Dec 2011         condition                                strategic scenarios” and
respectively                                                                                                                                                                                  strategic alternatives in connection
                                      Apr 13, 2011                            ResCap, Cerberus,                                                  “contingency planning” options
                                                                                                          Aug 18, 2011                                                                       with AFI’s mortgage business
                           ResCap, GMAC Mortgage,                                and AFI evaluate
                            AFI, and Ally Bank, enter                           potential ResCap         ResCap Board receives liquidity
                                                                                                                                                   Sept 2011                                  Oct 17, 2011
                             into Consent Order with                             sale to Cerberus        and MSR update and in executive
                                                                                                                                                  Unemployment reported steady
                                      FRB and FDIC                                                       session discusses "a variety of                                                      Attorney Patrick alleges R & W claims
                                                                                                                                                  at 9%
 Jan 26, 2011                                                                                           strategic matters," including                                                        against AFI for class of RMBS
                                                                                                                                                                                                                                                            Doc 3698-36




                         Feb 2 – 7, 2011                                                                potential bankruptcy                                                                 claimants
AFI and
                        Moody’s and Fitch
ResCap                                                                                                    Aug 19 – 31, 2011
                        upgrade AFI to B1                                                                                                          Sept 2, 2011
execute                                                                                                  ResCap Board meets on four                                                            Oct 17, 2011 – May 8, 2012
                        (highly speculative)                                                                                                      FHFA files $6 billion R & W
Second 2009                                                                                              separate occasions to discuss                                                        RMBS Steering Committee, Talcott
                        and BB (non-                                                                                                              lawsuit against Ally et al.
Tax Allocation                                                                                           preparations for bankruptcy or                                                       Franklin, and ResCap discuss and
                        investment grade),
Agreement                                                                                                restructuring                                                                        negotiate RMBS Trust Settlement
                        respectively

                                                                                                              2011
  Jan              Feb            Mar              Apr          May      Jun                Jul                       Aug                                       Sep                                           Oct

               Mar 31, 2011            Apr 28, 2011                     Jun 2011                       Aug 19, 2011                           Sep 16, 2011                                Oct 18, 2011
               AFI files SEC                AFI Board                    Rate of                         AFI CFO Mackey expresses belief         AFI EVP Brown emails Carpenter,              ResCap retains Centerview as its
            Form S-1 for IPO          receives report                    unemployed who                  that R & W claims against ResCap
                                                                                                                                                                                                                                              Pg 51 of 385




                                                                                                                                                 recommending that AFI and ResCap             investment banker to assist in
                                        that analysts                    have been jobless               are inevitable and will be              “[s]top origination immediately” and         restructuring efforts
                                      have significant                   six months or                   “avalanche”                             “[a]nnounce we are exiting future
                                            questions                    more peaks at                    Aug 19, 2011                          mortgage business”
                                         surrounding                     45%, a post WWII                ResCap Board receives update on                                                       Oct 25, 2011
                   1Q 2011           AFI IPO related                    high                            MSR hedge activity and in                Sep 23, 2011
                 Foreclosure                                                                                                                                                                  AFI Board resolves again to provide
                                           to ResCap                                                     executive session discusses             AFI Board reviews strategic                  ResCap with enough capital to exceed
                       filings                                            Jun 6, 2011                   contingency planning                    alternatives for ResCap and impact
                   decrease                                                                                                                                                                   its TNW covenants by $50 million
                                                                         AFI Board advised by IPO                                                on AFI
                                                    May 20, 2011        underwriters that AFI IPO        Aug 25, 2011
                                               CFO Young departs         should not be launched          ResCap Board receives liquidity          Sep 27, 2011                                Oct 28, 2011
                                                   ResCap Board,         due to market conditions        update and in executive session         ResCap Board meets in executive              Morrison & Foerster gives presentation
                                                   Whitlinger joins      and concerns around             discusses strategic options for         session to discuss foreclosure issue         on fiduciary duties of directors during
                                                ResCap Board and         R & W exposure                  ResCap, potential implications of       and potential settlements with FHFA          executive session of ResCap Board
                                                   appointed CFO                                         mortgage foreclosure issues,            and DOJ, as well as ResCap's near-
                                                                                                         securities litigation exposure, R & W   term projected equity position in relation
                                                                                                         exposure, and effect of capital                                                       Oct 31, 2011
                                                                                     Jul 29, 2011                                               to its TNW covenant requirements             MF Global files Chapter 11
                                                                                                                                                                                                                                        Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                                         markets volatility on ResCap's equity
                                                                                        In wake of       position
                                                        Jun 14, 2011          BofA’s announced                                                   Sep 27, 2011
                                                       ResCap Board           settlement with PLS                                                AFI Board resolves again to provide
                                                approves Apr 1, 2011           investors, ResCap          Aug 29, 2011                          ResCap with enough capital to exceed
                                                revisions to MSR and      estimates internally that      AFI Board resolves to provide ResCap    its TNW covenants by $50 million
                                                       Pipeline Swaps     ResCap’s R & W claims          with enough capital to exceed $250
                                                                          could be as much as $4         million minimum TNW covenants by
                                                       Jun 29, 2011                         billion     $50 million
                                                                                                                                                                                                                                                            Appendix




                                                     BofA announces
                                                        settlement of
                                                      PLS claims for
                                                          $8.5 billion
                                                                                                  Appendix III, Page 10 of 11
ResCap Timeline of Selected Events                                                         Appendix III, Page 11 of 11
                                                                                                                                                                                                                   ResCap Event
                                                             Dec 2011                                                                                                                                             AFI Event
                           Nov 22, 2011                    Credit markets                                          Feb 2012                                                                                      Industry Event
                          AFI Board receives                continue to be tight,
                          counsel by advisors that                                                                 Cerberus exec Tessler hired by
                                                            with 80% of lenders                                    AFI to assist in restructuring
 Nov 4, 2011             Chapter 11 and 363                reducing credit limits
                          sale process is best way                                                                 efforts but remains
DeBrunner                                                   for specific                                                                                                                                               May 9, 2012
                          to address legacy                                           Jan – Mar 2012              employed by Cerberus                                                       May 1, 2012
presents review of                                          counterparties                                                                                             Apr 4, 2012                                   ResCap Board
                          mortgage exposure                                          ResCap undertakes DIP                                                                                 GMAC Mortgage
R & W litigation                                             Dec 2011                                                                                                DOJ/AG Consent                                  receives
                                                                                     marketing process,             Feb 2, 2012                                                             and Ally Bank
and other                                                   AFI and its advisors                                                           Mar 2012                  Judgment filed                                  executive
                                                                                     negotiates with Barclays      Fitch downgrades                                                        amend MMLPSA
mortgage                                                    begin to focus on                                                             GMAC Mortgage                                                               summary of
                           Nov 25, 2011                                             and Citibank                  AFI’s rating to
contingency                                                 preparations for                                                              and RFC issue                Apr 9, 2012                                   proposed $8.7
                          Carpenter attends                                                                        BB-(non-
                                                                                                                                                                                                                                                             12-12020-mg




matters to AFI                                              ResCap bankruptcy         Jan – May 2012                                     term notes under            ResCap executes           May 4, 2012          billion RMBS
                          special meeting of                                                                       investment
Audit Committee                                                                      EU fiscal crisis                                     GSAP facility with          committed DIP         AFI Independent           Trust Settlement
                          ResCap Board to                    Dec 2011                                             grade), reflecting
                                                                                     intensifies; Greece                                  Barclays and                facility term sheet       Directors and         Agreement and
 Nov 4, 2011             discuss AFI - ResCap              AFI contributes                                        deterioration of
                                                                                     receives additional                                  defease existing            with Barclays        Carpenter consent          approves it
ResCap Board              relationship                      $109.4 million in                                      ResCap
                                                                                     bailout funds                                        notes                                              to ResCap filing         shortly
receives liquidity                                          capital to ResCap                                                                                          Apr 12, 2012
                           Nov 28, 2011                                                                            Feb 9, 2012                                                                  bankruptcy          thereafter
update and                                                  with forgiveness of                                                                                       ResCap Board
                          ResCap makes                                                                             FRB announces           Mar 8, 2012
discusses inability                                         debt on LOC               Jan 2012                                                                       resolves not to
                          formal request for                                                                       settlement             Mack begins                                           May 9, 2012
to obtain fairness                                                                   Unemployment                                                                     make                                             May 11, 2012
                          additional support                 Dec 2011                                             agreement              settlement                                      ResCap enters into
opinion                                                                              declines to 8.25%,                                                               scheduled                                       GMAC Mortgage
                          from AFI in preparation           Mortgage delinquency                                   imposing CMP of        negotiations with                                        real estate
as to collateral                                                                     lowest rate in three                                                             Apr 17, 2012                                    executes amended
                                                                                                                                                                                                                                                             Doc 3698-36




                          for bankruptcy,                   rates remain elevated                                  $207 million on        Carpenter and                                      transaction with
that will potentially                                                                years                                                                            interest payment                                servicing
                          including DIP financing           but steady                                             AFI corporate          Tessler                                                 AFI/GMAC
be pledged to                                                                                                                                                         on senior                                       agreement with
                          and 363 sale support                                                                     group                                                                            Mortgage
AFI LOC                                                                                                                                                               unsecured bonds                                 Ally Bank

                                      2011                                                                                                             2012
                        Nov                                         Dec                    Jan                         Feb                       Mar                       Apr                                   May
  Nov 8, 2011             Nov 29, 2011                      Dec 2 – 4, 2011                                                                                         Apr 12, 2012                              May 11, 2012
                                                                                      Jan 20, 2012                 Feb 9, 2012           Mar 21, 2012
 ResCap Board             AMR files                             ResCap Board                                                                                          Fortress submits                  Assured Guarantee files
                                                                                     AFI provides draft DIP        DOJ/AG Consent         ResCap Board
 holds special            Chapter 11                        discusses need for                                                                                        revised bid requiring           $1.2 billion R & W lawsuit
                                                                                     financing term sheet          Judgment agreed        agrees to submit
 meeting with                                                 continued capital                                                                                       AFI financing                    against GMAC Mortgage
                                                                                     to ResCap                     to include:            request to AFI for
 advisors Morrison        Nov 30, 2011                  support and potential                                     $109.6 million         equity support in            Apr 16 – May 10, 2012
 & Foerster,             AFI Board resolves             DIP financing from AFI                                                                                                                                  May 13, 2012
                                                                                      Jan 25, 2012                payment and
                                                                                                                                                                                                                                               Pg 52 of 385




 Centerview, and         again to provide                  in event of ResCap                                                             form of debt                AFI and Berkshire                         ResCap Board
                                                                                     AFI Board approves            $200 million           forgiveness                 Hathaway explore out of
 FTI regarding           ResCap with                                bankruptcy                                                                                                                                and Independent
                                                                                     capital contribution          borrower relief                                    court restructuring
 contingency             enough capital to                                                                                                 Mar 23, 2012                                                    Directors authorize
                         exceed its TNW                            Dec 5, 2011      to ResCap of up to                                                               proposals                                bankruptcy filing
 planning                                                                                                                                 ResCap Board
 Nov 10 – 11,           covenants by $50           ResCap Board establishes         $65 million                    Feb 14, 2012         receives liquidity                                               May 13, 2012
2011                     million                   Special Review Committee                                        Morrison &                                          Apr 18, 2012
                                                                                                                                          update showing                                     ResCap, AFI, and Consenting
S&P and Fitch                                                      Dec 5, 2011                                    Foerster meets                                     Moody's
                                                                                                                                          cash, excess                               Junior Secured Noteholders enter into
both downgrade                                  GMAC Mortgage and ResCap              Jan 25, 2012                with AFI’s                                         downgrade
                                                                                                                                          collateral, and                                     Junior Secured Noteholders’
ResCap to CCC                                           execute Pipeline Letter      Morrison & Foerster           counsel Kirkland                                   ResCap to C
                          Nov – Dec 2011                                                                                                 borrowing capacity                                     Plan Support Agreement
(extremely                                     Agreement with AFI agreeing to        presents initial results of   & Ellis to present                                 (default
                         FGIC files                                                                                                       falling below zero
speculative)                                   post up to $4 billion of collateral   claims investigation to       results of claims                                  imminent)                           May 13, 2012
                         several suits                                                                                                    within one year
                                                                  with Ally Bank     ResCap Board                  investigation                                                                      AFI replaces Fortress as
 Nov 14 – 16,           alleging
                         $7 billion in R & W                                                                                                                           Apr 30, 2012                 “stalking horse” bidder on
2011                                                             Dec 21, 2011                                      Feb 24, 2012
                         damages against                                                                                                                              ResCap Board                                HFS portfolio
Centerview                                                 ResCap enters into         Jan 30, 2012                Analyst at Brookfield states, "No
                         AFI and its                                                                                                                                  discusses DIP
prepares                                         repo/factoring facility (BMMZ       ResCap Board                  matter [the advisor], the
                         affiliates, including                                                                                                                        financing and                               May 14, 2012
preliminary                                      Repo Facility) with BMMZ, an        authorizes Marano’s           overwhelming issue is that
                                                                                                                                                                      overview and
                                                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13




assessment of            ResCap                          indirect wholly owned       letter request for capital    ResCap is effectively insolvent"                                                                 ResCap et al.
                                                                                                                                                                      update on                                   file Chapter 11
ResCap’s asset                                                subsidiary of AFI      support to AFI                 Feb 29, 2012                                     Fortress bid
sale alternatives                                                                                                  Fortress selected as exclusive
                                                                  Dec 29, 2011
and advises that                                                                                                   “stalking horse” bidder                                                                       May 14, 2012
                                         AFI Board resolves again to provide          Jan 30, 2012
Cerberus is prime                                                                                                                                                      Apr 30, 2012              ResCap files 363 sale motion
                                       ResCap with enough capital to exceed          January 30 Letter Agreement: AFI provides capital contribution to
purchaser                                                                                                                                                             GMAC Mortgage              with Fortress for Platform Sale
                                           its TNW covenants by $50 million          ResCap via $196.5 million in debt forgiveness related to government
candidate                                                                                                                                                             and Ally Bank                    and AFI for Legacy Sale
                                                                                     settlement and commits to provide ResCap with enough capital to                  terminate MSR
 Nov 16, 2011                                                            2011                                                                                                                                 May 14, 2012
                                                                                                                                                                                                                                                             Appendix




                                                                                     exceed its TNW covenants by $25 million for Jan 2012                             and Pipeline
ResCap Board                                                    ResCap incurs                                                                                                                       ResCap and AFI enter into
confirms Ilany and                                                                    Jan – Feb 2012                                                                 Swaps
                                                                loss for year of                                                                                                                      AFI Settlement and Plan
Mack as Independent                                                                  Potential “stalking horse” bidders interested in ResCap’s assets conduct
                                                                  ($845 million)                                                                                                                          Sponsor Agreement
Directors                                                                            substantial due diligence and submit preliminary non-binding letters of intent

                                                                                            Appendix III, Page 11 of 11
                                                                                            Appendix III.J.1.c(1)(b)—1, Page 1 of 1

Residential Capital, LLC
Evolution of Barclays DIP Financing Proposals


                                                  Barclays                                             Barclays                                               Barclays                                                   Barclays
                                                                                                                                                                               (1)
                Term                   February 17, 2012 Terms                                  March 8, 2012 Terms                                  March 21, 2012 Terms                                           May 14, 2012 Terms


      Facility            $1.80 billion facility comprised of:                   $1.35 billion facility comprised of:                   $1.50 billion facility comprised of:                    $1.45 billion facility comprised of:
                                                                                                                                                                                                                                                                           12-12020-mg




      summary                $200 million revolver                                  $200 million revolver                                  $200 million revolver                                   $200 million revolver
                             $1.00 billion term loan (A-1 TL)                       $1.25 billion term loan (A-1 TL)                       $1.10 billion term loan (A-1 TL)                        $1.05 billion term loan (A-1 TL)
                             $600 million term loan (A-2 TL)                                                                               $200 million term loan (A-2 TL)                         $200 million term loan (A-2 TL)

      Prepetition facilities GSAP Facility                                       GSAP Facility                                          GSAP Facility                                           GSAP Facility
      refinanced             BMMZ Repo Facility                                  BMMZ Repo Facility                                     BMMZ Repo Facility                                      BMMZ Repo Facility
                             Citibank MSR Loan                                   FNMA EAF facility                                      FNMA EAF facility
                             FNMA EAF facility

      Pricing             Revolver: L + 400-450 bps                              Revolver: L + 400-450 bps                              Revolver: L + 400 bps                                   Revolver: L+400 bps
                                                                                                                                                                                                                                                                           Doc 3698-36




                          A-1 TL: L + 400-450 bps (LIBOR floor of 1.25%)         A-1 TL: L + 400-450 bps (LIBOR floor of 1.25%)         A-1 TL: L + 400 bps (LIBOR floor of 1.25%)                                                       (2)
                                                                                                                                                                                                A-1 TL: L+400 bps (LIBOR floor of 1.25%)
                          A-2 TL: L +550-600 bps (LIBOR floor of 1.25%)                                                                 A-2 TL: L + 600 bps (LIBOR floor of 1.25%)              A-2 TL: L+600 bps (LIBOR floor of 1.25%) (2)

      Maturity            18 months from closing, or earliest of certain other   18 months from closing, or earliest of certain other   18 months from closing, or earliest of certain other    18 months from closing, or earliest of certain other
                          milestones                                             milestones                                             milestones                                              milestones

      Upfront fees/OID    Revolver: 150 bps                                      Revolver: 150 bps                                      Revolver: 150 bps                                                     (3)
                                                                                                                                                                                                $52 million
                          A-1 TL: 99 OID                                         A-1 TL: 100 OID                                        A-1 TL: 99 OID
                          A-2 TL: 98 OID                                                                                                A-2 TL: 98 OID

      Underwriting fee    Underwriting fee: 200 bps on aggregate commitment Underwriting fee: 200 bps                                   Underwriting fee: 200 bps on aggregate commitment                     (3)
                                                                                                                                                                                                See footnote
                          Structuring fee: 50 bps on aggregate commitment   Structuring fee: 50 bps                                     Structuring fee: 50 bps, with rebate if more than 100
                                                                                                                                                                                                                                                             Pg 53 of 385




                                                                                                                                        bps of price flex is required


      Flex                - Increase pricing by 150 bps on weighted basis        - Margin/OID: 200 to 250 bps                           - Margin/OID: 200 bps                                                 (3)
                                                                                                                                                                                                See footnote
                          - Increase commitment fee by 50 bps                    - Unused line fee: 50 bps                              - Unused line fee: 50 bps
                          - Add LIBOR floor of 1.25% to revolver                 - LIBOR floor on revolver                              - LIBOR floor on revolver
                          - Shorten DIP tenor to 12 months                       - Tenor to 12 months                                   - Tenor to 12 months
                          - Add prepayment premium to A-1 and A-2 TLs            - Soft call premium                                    - Soft call premium
                          - Reallocate portions of the revolver and TLs          - Reallocate $100 million revolver to A-1 Term Loan    - Reallocate $100 million revolver to A-1 Term Loan
                                                                                 - Reallocate $300 million A-1 to A-2 Term Loan         (considering removing at ResCap's request)
                                                                                                                                        - Reallocate $200 million of A-1 to A-2 Term Loan

      Total yield         10.06% – 12.03%                                        9.21% – 11.79%                                         9.53% – 10.95%                                          8.87%
                                                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Barclays also submitted a March 19, 2012 DIP proposal.
(2)
    Amended to A-1 TL: L+375 bps (LIBOR floor of 1.25%) and A-2 TL: L+550 bps (LIBOR floor of 1.25%). Notice of Filing of Amendment to Financing Fee Letters [Docket No. 417] at 1.
(3)
    Barclay's DIP Motion indicated $52 million in aggregate fees and did not provide detailed fees by component. These fees were subsequently adjusted downward after the Debtors' objection to the DIP Financing and Cash Collateral Motions.
Source: Barclays Confidential Presentation of Financing Discussion Materials, dated Feb. 17, 2012, at RC40020317 –20 [RC40020290]; Confidential Presentation of Financing Discussion Materials, dated Mar. 19, 2012, at 2–4
[EXAM00073480]; Centerview Materials for Discussion, dated Mar. 23, 2012, at 2–4 [RC00000304]; Barclays DIP Motion, at 10–17; Debtors' Omnibus Reply to Objections to DIP Financing and Cash Collateral Motions [Docket No. 372]
at 6–7.
                                                                                                                                                                                                                                                                           Appendix




                                                                                             Appendix III.J.1.c(1)(b)—1, Page 1 of 1
                                                                                Appendix III.J.1.c(1)(b)—2, Page 1 of 1


Residential Capital, LLC
Evolution of Citibank DIP Financing Proposals


                                                                   Citibank                                                                 Citibank
                   Term                                  February 21, 2012 Terms                                                   March 6, 2012 Terms (1)
                                                                                                                                                                                                                                     12-12020-mg




      Facility summary               Up to $1.8 billion DIP facility, comprised of:                          Up to $1.35 billion DIP facility, comprised of:
                                     - $TBD revolving tranche                                                - Up to $800 million Advance Facility (Barclays)
                                     - $TBD term loan tranche                                                - Up to $550 million Liquidity Facility (Citibank)

      Prepetition facilities         GSAP Facility                                                           GSAP Facility (Advance Facility)
      refinanced                     Citibank MSR Loan Agreement                                             BMMZ Repo Facility (Liquidity Facility)
                                     BMMZ Repo Facility
                                     FNMA EAF facility
                                                                                                                                                                                                                                     Doc 3698-36




      Pricing                        Approximately 9.50%                                                     Approximately 7.00%

      Maturity                       12 months                                                               12 months

      Upfront fees/OID               100 bps revolver facility                                               Liquidity Facility: 98 OID
                                     97 OID term loan facility

      Underwriting fee               TBD                                                                     250 bps

      Flex                           Not included                                                            200 bps as coupon or OID
                                                                                                                                                                                                                       Pg 54 of 385




(1)
  Terms are related only to the Citibank Liquidity Facility and do not include the Barclays Advance Facility.
Source: Citibank DIP Financing Considerations Presentation, dated Feb. 21, 2012, at RC40020349–50 [RC40020290]; Citibank DIP Financing Considerations Presentation, dated Mar. 6, 2012, at 1–3 [EXAM00074757].
                                                                                                                                                                                                                 Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                     Appendix




                                                                                 Appendix III.J.1.c(1)(b)—2, Page 1 of 1
                                                                                               Appendix IV.A—1, Page 1 of 14
                                                                                                                                                                                                                                                   12-12020-mg




                                                                                            ResCap Officer Chart

                                                                                                         2004 – 2012
                                                                                                                                                                                                                                                   Doc 3698-36




                                                                                                                              R     = ResCap

                                                                                                                              D     = Dual-Affiliated (1)
                                                                                                                                                                                                                                     Pg 55 of 385
                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
   Individuals denoted as Dual-Affiliated held ResCap officer positions at the same time they also held: (1) an AFI officer position; (2) an AFI director position; or (3) a Cerberus position, via consulting or secondment
  agreement or otherwise. An alphabetical listing of all ResCap officers who had Dual Affiliations at any time during their service is listed at the end of the chart.
Sources: Ally Employee Individual Profiles [ALLY_0004637]; interviews conducted by the Examiner’s Professionals; Minutes of ResCap, AFI and Ally Bank Board of Directors Meetings, from 2004 – 2012.
                                                                                                                                                                                                                                                   Appendix




                                                                                               Appendix IV.A—1, Page 1 of 14
                                                                       Appendix IV.A—1, Page 2 of 14

ResCap Officers
January 1, 2004 – December 31, 2004



                              Affiliation   Jan-04   Feb-04   Mar-04    Apr-04   May-04   Jun-04       Jul-04   Aug-04        Sep-04             Oct-04             Nov-04               Dec-04
                                                                                                                         Titles: Co-CEO
                                                                                                                         Relevant Dates: 9/2004 – 10/2005
David Applegate                   R
                                                                                                                                                                                                                      12-12020-mg




                                                                                                                         Titles: Treasurer
                                                                                                                         Relevant Dates: 9/2004 – 6/2007
Louise Herrle                     R

                                                                                                                         Titles: Vice-President
                                                                                                                         Relevant Dates: 9/2004 – 3/2005
Sanjiv Khattri                    D                                                                                      Dual Affiliate Positions: CFO (3/2004 – 12/2007); Exec. VP (3/2004 –
                                                                                                                         5/2008) at AFI
                                                                                                                         Titles: CFO
                                                                                                                         Relevant Dates: 9/2004 – 8/2006
Davee Olson                       R
                                                                                                                                                                                                                      Doc 3698-36




                                                                                                                         Titles: Co-CEO
                                                                                                                         Relevant Dates: 9/2004 – 10/2005
Bruce Paradis                     R

                                                                                                                         Titles: Secretary
                                                                                                                         Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                 D                                                                                      Dual Affiliate Positions: Secretary at AFI (8/1997 – present)

                                                                                                                         Titles: Vice-President
                                                                                                                         Relevant Dates: 9/2004 – 3/2005
Jerome Van Orman                  D                                                                                      Dual Affiliate Positions: CFO (10/1999 – 3/2007); Group VP at AFI
                                                                                                                                                                                                        Pg 56 of 385




                                                                                                                         Titles: Vice-President
                                                                                                                         Relevant Dates: 9/2004 – 3/2005
David Walker                      D                                                                                      Dual Affilliate Positions: CFO-Mortgage Operations (5/2002 – 11/2006);
                                                                                                                         Group VP (3/2004 – 8/2009)
                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                      Appendix




                                                                       Appendix IV.A—1, Page 2 of 14
                                                                                                            Appendix IV.A—1, Page 3 of 14

ResCap Officers
January 1, 2005 – December 31, 2005



                              Affiliation        Jan-05              Feb-05             Mar-05               Apr-05   May-05       Jun-05            Jul-05       Aug-05   Sep-05   Oct-05   Nov-05   Dec-05
                                            Titles: Co-CEO; COO
                                            Relevant Dates: 9/2004 – 10/2005; 10/2005 – 3/2007
David Applegate                   R


                                            Titles: Treasurer
                                                                                                                                                                                                                                   12-12020-mg




                                            Relevant Dates: 9/2004 – 6/2007
Louise Herrle                     R


                                            Titles: Vice-President
                                            Relevant Dates: 9/2004 – 3/2005
Sanjiv Khattri                    D         Dual Affiliate Positions: CFO (3/2004 – 12/2007); Exec.
                                            VP (3/2004 – 5/2008) at AFI
                                                                                                                               Titles: General Counsel
                                                                                                                               Relevant Dates: 6/2005 – 10/2007
David Marple                      R
                                                                                                                                                                                                                                   Doc 3698-36




                                            Titles: CFO
                                            Relevant Dates: 9/2004 – 8/2006
Davee Olson                       R


                                            Titles: Co-CEO; CEO
                                            Relevant Dates: 9/2004 – 10/2005; 10/2005 – 6/2007
Bruce Paradis                     R


                                            Titles: Secretary
                                            Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                 D         Dual Affiliate Positions: Secretary at AFI (8/1997 – present)
                                                                                                                                                                                                                     Pg 57 of 385




                                            Titles: Co-Chief Risk Officer
                                            Relevant Dates: 1/2005 – 9/2007 (est.)
Kenneth Spindel                   R


                                            Titles: Co-Chief Risk Officer
                                            Relevant Dates: 1/2005 – 9/2007
Thomas Stenger                    R
                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                   Appendix




                                                                                                            Appendix IV.A—1, Page 3 of 14
                                                                                                      Appendix IV.A—1, Page 4 of 14

ResCap Officers
January 1, 2005 – December 31, 2005



                              Affiliation        Jan-05            Feb-05             Mar-05            Apr-05        May-05   Jun-05   Jul-05   Aug-05   Sep-05   Oct-05   Nov-05   Dec-05
                                            Titles: Vice-President
                                            Relevant Dates: 9/2004 – 3/2005
Jerome Van Orman                  D         Dual Affiliate Positions: CFO (10/1999 – 3/2007), Group
                                            VP at AFI
                                                                                                                                                                                                                  12-12020-mg




                                            Titles: Vice-President
                                            Relevant Dates: 9/2004 – 3/2005
                                            Dual Affilliate Positions: CFO-Mortgage Operations
David Walker                      D         (5/2002 – 11/2006); Group VP (3/2004 – 8/2009) at AFI



                                                                                 Titles: CAO and Interim Controller
                                                                                 Relevant Dates: 3/2005 – 6/2007
James Young                       R
                                                                                                                                                                                                                  Doc 3698-36
                                                                                                                                                                                                    Pg 58 of 385
                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                  Appendix




                                                                                                      Appendix IV.A—1, Page 4 of 14
                                                                                                            Appendix IV.A—1, Page 5 of 14

ResCap Officers
January 1, 2006 – December 31, 2006



                              Affiliation        Jan-06              Feb-06              Mar-06              Apr-06   May-06   Jun-06       Jul-06   Aug-06   Sep-06       Oct-06            Nov-06       Dec-06
                                            Titles: COO
                                            Relevant Dates: 10/2005 – 3/2007
David Applegate                   R

                                                                                                                                                                       Titles: CFO
                                                                                                                                                                                                                                       12-12020-mg




                                                                                                                                                                       Relevant Dates: 10/2006 – 4/2007
James Giertz                      R


                                            Titles: Treasurer
                                            Relevant Dates: 9/2004 – 6/2007
Louis Herrle                      R


                                            Titles: General Counsel
                                            Relevant Dates: 6/2005 – 10/2007
David Marple                      R
                                                                                                                                                                                                                                       Doc 3698-36




                                            Titles: CFO
                                            Relevant Dates: 9/2004 – 8/2006
Davee Olson                       R


                                            Titles: CEO
                                            Relevant Dates: 10/2005 – 6/2007
Bruce Paradis                     R


                                            Titles: Secretary
                                            Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                 D         Dual Affiliate Positions: Secretary at AFI (8/1997 – present)
                                                                                                                                                                                                                         Pg 59 of 385




                                            Titles: Co-Chief Risk Officer
                                            Relevant Dates: 1/2005 – 9/2007 (est.)
Kenneth Spindel                   R


                                            Titles: Co-Chief Risk Officer
                                            Relevant Dates: 1/2005 – 9/2007
Thomas Stenger                    R


                                            Titles: CAO and Interim Controller; CFO
                                            Relevant Dates: 3/2005 – 6/2007; 8/2006 – 10/2006
James Young                       R
                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                       Appendix




                                                                                                            Appendix IV.A—1, Page 5 of 14
                                                                                                  Appendix IV.A—1, Page 6 of 14

ResCap Officers
January 1, 2007 – December 31, 2007



                              Affiliation        Jan-07            Feb-07          Mar-07            Apr-07            May-07             Jun-07             Jul-07            Aug-07   Sep-07       Oct-07            Nov-07        Dec-07
                                            Titles: COO
                                            Relevant Dates: 10/2005 – 3/2007
David Applegate                   R


                                                                                                                                     Titles: President
                                                                                                                                                                                                                                                                  12-12020-mg




                                                                                                                                     Relevant Dates:
                                                                                                                                     Appointed,
Craig Chapman                     R
                                                                                                                                     Resigned 6/2007


                                                                                                                                     Titles: Treasurer
                                                                                                                                     Relevant Dates: 6/2007 – 7/2008
William Casey                     R


                                            Titles: CFO
                                                                                                                                                                                                                                                                  Doc 3698-36




                                            Relevant Dates: 10/2006 – 4/2007
James Giertz                      R


                                            Titles: Treasurer
                                            Relevant Dates: 9/2004 – 6/2007
Louise Herrle                     R


                                                                                                                                                                                                 Titles: General Counsel
                                                                                                                                                                                                 Relevant Dates: 10/2007 – present
Tammy Hamzehpour                  R


                                                                               Titles: President and COO; President and CEO
                                                                               Relevant Dates: 3/2007 – 6/2007; 6/2007 – 7/2008
James Jones                       R
                                                                                                                                                                                                                                                    Pg 60 of 385




                                                                                                Titles: CFO
                                                                                                Relevant Dates: 4/2007 – 3/2008
Sanjiv Khattri                    D                                                             Dual Affiliate Positions: CFO (3/2004 – 12/2007); Exec. VP (3/2004 – 5/2008) at AFI

                                            Titles: General Counsel
                                            Relevant Dates: 6/2005 – 10/2007
David Marple                      R


                                            Titles: CEO
                                            Relevant Dates: 10/2005 – 6/2007
Bruce Paradis                     R
                                                                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                  Appendix




                                                                                                   Appendix IV.A—1, Page 6 of 14
                                                                                                            Appendix IV.A—1, Page 7 of 14

ResCap Officers
January 1, 2007 – December 31, 2007



                              Affiliation        Jan-07              Feb-07              Mar-07              Apr-07             May-07              Jun-07            Jul-07            Aug-07             Sep-07        Oct-07   Nov-07   Dec-07
                                            Titles: Secretary
                                            Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                 D         Dual Affiliate Positions: Secretary at AFI (8/1997 – present)

                                                                                                        Titles: Chief Risk Officer
                                                                                                                                                                                                                                                                        12-12020-mg




                                                                                                        Relevant Dates: 4/2007 – 8/2008
James Redmond                     D                                                                     Dual Affiliate Positions: Cerberus consultant pre-2007

                                            Titles: Co-Chief Risk Officer
                                            Relevant Dates: 1/2005 – 9/2007 (est.)
Kenneth Spindel                   R


                                            Titles: Co-Chief Risk Officer
                                            Relevant Dates: 1/2005 – 9/2007
Thomas Stenger                    R
                                                                                                                                                                                                                                                                        Doc 3698-36




                                            Titles: CAO and Interim Controller; Deputy CFO and Principal Accounting Officer
                                            Relevant Dates: 3/2005 – 6/2007; 11/2007 – 3/2008
James Young                       R


                                                                                                                                              Titles: Temporary CAO and Controller
                                                                                                                                              Relevant Dates: 6/2007 – 11/2007
Linda Zukauckas                   D                                                                                                           Dual Affiliate Positions: CAO and Corporate Controller (5/2002 – 9/2007)
                                                                                                                                                                                                                                                          Pg 61 of 385
                                                                                                                                                                                                                                                    Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                        Appendix




                                                                                                            Appendix IV.A—1, Page 7 of 14
                                                                                                            Appendix IV.A—1, Page 8 of 14

ResCap Officers
January 1, 2008 – December 31, 2008



                              Affiliation        Jan-08              Feb-08              Mar-08              Apr-08           May-08      Jun-08        Jul-08             Aug-08             Sep-08              Oct-08   Nov-08   Dec-08
                                            Titles: Treasurer
                                            Relevant Dates: 6/2007 – 7/2008
William Casey                     R


                                                                                                        Titles: Controller
                                                                                                                                                                                                                                                                 12-12020-mg




                                                                                                        Relevant Dates: 4/2008 – 1/2009
Catherine Dondzila                R


                                                                                                        Titles: CAO and Controller
                                                                                                        Relevant Dates: 4/2008 – 1/2009
Ralph Flees                       R


                                            Titles: General Counsel
                                            Relevant Dates: 10/2007 – present
Tammy Hamzehpour                  R
                                                                                                                                                                                                                                                                 Doc 3698-36




                                            Titles: President and CEO
                                            Relevant Dates: 6/2007 – 7/2008
James Jones                       R


                                            Titles: CFO
                                            Relevant Dates: 4/2007 – 3/2008
Sanjiv Khattri                    D         Dual Affiliate Positions: Exec. VP (3/2004 – 5/2008) at
                                            AFI
                                                                                                                                                   Titles: Treasury Executive
                                                                                                                                                   Relevant Dates: 7/2008 – 1/2009
Gerald Lombardo                   D                                                                                                                Dual Affiliate Positions: Cerberus consultant 2007 – 2008
                                                                                                                                                                                                                                                   Pg 62 of 385




                                                                                                                                                   Titles: Chairman; CEO
                                                                                                                                                   Relevant Dates: 4/2008 – present; 7/2008 – present
Thomas Marano                     D                                                                                                                Dual Affiliate Positions: Seconded from Cerberus 2008 – 2009

                                                                                                                                                   Titles: Chief Servicing Officer
                                                                                                                                                   Relevant Dates: 7/2008 – present
Joseph Pensabene                  R


                                            Titles: Secretary
                                            Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                 D         Dual Affiliate Positions: Secretary at AFI (8/1997 – present)

                                            Titles: Chief Risk Officer
                                            Relevant Dates: 4/2007 – 8/2008
James Redmond                     D         Dual Affiliate Positions: Cerberus consultant pre-2007
                                                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                 Appendix




                                                                                                            Appendix IV.A—1, Page 8 of 14
                                                                                                       Appendix IV.A—1, Page 9 of 14

ResCap Officers
January 1, 2008 – December 31, 2008



                              Affiliation        Jan-08             Feb-08            Mar-08            Apr-08   May-08   Jun-08        Jul-08           Aug-08      Sep-08   Oct-08   Nov-08   Dec-08
                                                                                                                                   Titles: COO
                                                                                                                                   Relevant Dates: 7/2008 – 3/2010
Anthony Renzi                     R


                                            Titles: Deputy CFO and Principal Accounting Officer; CFO
                                                                                                                                                                                                                             12-12020-mg




                                            Relevant Dates: 11/2007 – 3/2008; 3/2008 – 5/2011
James Young                       R
                                                                                                                                                                                                                             Doc 3698-36
                                                                                                                                                                                                               Pg 63 of 385
                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                             Appendix




                                                                                                       Appendix IV.A—1, Page 9 of 14
                                                                                                        Appendix IV.A—1, Page 10 of 14

ResCap Officers
January 1, 2009 – December 31, 2009



                              Affiliation        Jan-09              Feb-09              Mar-09              Apr-09         May-09             Jun-09               Jul-09   Aug-09   Sep-09   Oct-09   Nov-09   Dec-09
                                            Titles: CAO and Controller
                                            Relevant Dates: 1/2009 – present
Catherine Dondzila                R


                                            Titles: CAO and
                                                                                                                                                                                                                                              12-12020-mg




                                            Controller
                                            Relevant Dates:
Ralph Flees                       R         4/2008 – 1/2009




                                            Titles: General Counsel
                                            Relevant Dates: 10/2007 – present
Tammy Hamzehpour                  R
                                                                                                                                                                                                                                              Doc 3698-36




                                            Titles: Treasury
                                            Executive
                                            Relevant Dates:
                                            7/2008 – 1/2009
                                            Dual Affiliate
Gerald Lombardo                   D         Positions:
                                            Cerberus
                                            consultant 2007 –
                                            2008


                                            Titles: Chairman; CEO
Thomas Marano                     D         Relevant Dates: 4/2008 – present; 7/2008 – present
                                            Dual Affiliate Positions: Seconded from Cerberus 2008 – 2009; Chief Capital Markets Officer (3/2009 – present) at AFI
                                                                                                                                                                                                                                Pg 64 of 385




                                            Titles: Chief Servicing Officer
                                            Relevant Dates: 7/2008 – present
Joseph Pensabene                  R


                                            Titles: Secretary
                                            Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                 D         Dual Affiliate Positions: Secretary at AFI (8/1997 – present)

                                            Titles: COO
                                            Relevant Dates: 7/2008 – 3/2010
Anthony Renzi                     R


                                            Titles: CFO
                                            Relevant Dates: 3/2008 – 5/2011
James Young                       R
                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                              Appendix




                                                                                                            Appendix IV.A—1, Page 10 of 14
                                                                                                        Appendix IV.A—1, Page 11 of 14

ResCap Officers
January 1, 2010 – December 31, 2010



                              Affiliation        Jan-10              Feb-10              Mar-10              Apr-10             May-10   Jun-10   Jul-10   Aug-10   Sep-10   Oct-10   Nov-10   Dec-10
                                            Titles: President
                                            Relevant Dates: 1/2010 – present
Steven Abreu                      R


                                            Titles: CAO and Controller
                                                                                                                                                                                                                            12-12020-mg




                                            Relevant Dates: 1/2009 – present
Catherine Dondzila                R


                                            Titles: General Counsel
                                            Relevant Dates: 10/2007 – present
Tammy Hamzehpour                  R


                                            Titles: Chairman; CEO
                                            Relevant Dates: 4/2008 – present; 7/2008 – present
Thomas Marano                     D         Dual Affiliate Positions: Chief Capital Markets Officer (3/2009 – present) at AFI
                                                                                                                                                                                                                            Doc 3698-36




                                            Titles: Chief Servicing Officer
                                            Relevant Dates: 7/2008 – present
Joseph Pensabene                  R


                                            Titles: Secretary
                                            Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                 D         Dual Affiliate Positions: Secretary at AFI (8/1997 – present)

                                            Titles: COO
                                            Relevant Dates: 7/2008 – 3/2010
Anthony Renzi                     R
                                                                                                                                                                                                              Pg 65 of 385




                                            Titles: CFO
                                            Relevant Dates: 3/2008 – 5/2011
James Young                       R
                                                                                                                                                                                                        Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                            Appendix




                                                                                                            Appendix IV.A—1, Page 11 of 14
                                                                                                        Appendix IV.A—1, Page 12 of 14

ResCap Officers
January 1, 2011 – December 31, 2011



                              Affiliation        Jan-11              Feb-11              Mar-11              Apr-11             May-11           Jun-11       Jul-11   Aug-11   Sep-11   Oct-11   Nov-11   Dec-11
                                            Titles: President
                                            Relevant Dates: 1/2010 – present
Steven Abreu                      R


                                            Titles: CAO and Controller
                                                                                                                                                                                                                                        12-12020-mg




                                            Relevant Dates: 1/2009 – present
Catherine Dondzila                R


                                            Titles: General Counsel
                                            Relevant Dates: 10/2007 – present
Tammy Hamzehpour                  R


                                            Titles: Chairman; CEO
                                            Relevant Dates: 4/2008 – present; 7/2008 – present
Thomas Marano                     D         Dual Affiliate Positions: Chief Capital Markets Officer (3/2009 – present) at AFI
                                                                                                                                                                                                                                        Doc 3698-36




                                            Titles: Chief Servicing Officer
                                            Relevant Dates: 7/2008 – present
Joseph Pensabene                  R


                                            Titles: Secretary
                                            Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                 D         Dual Affiliate Positions: Secretary at AFI (8/1997 – present)

                                                                                                                           Titles: CFO
                                                                                                                           Relevant Dates: 5/2011 – present
James Whitlinger                  R
                                                                                                                                                                                                                          Pg 66 of 385




                                            Titles: CFO
                                            Relevant Dates: 3/2008 – 5/2011
James Young                       R
                                                                                                                                                                                                                    Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                        Appendix




                                                                                                            Appendix IV.A—1, Page 12 of 14
                                                                                                     Appendix IV.A—1, Page 13 of 14

ResCap Officers
January 1, 2012 – May 31, 2012



                             Affiliation                     Jan-12                                        Feb-12              Mar-12   Apr-12   May-12
                                           Titles: President
                                           Relevant Dates: 1/2010 – present
Steven Abreu                     R
                                                                                                                                                                              12-12020-mg




                                           Titles: CAO and Controller
                                           Relevant Dates: 1/2009 – present
Catherine Dondzila               R

                                           Titles: General Counsel
                                           Relevant Dates: 10/2007 – present
Tammy Hamzehpour                 R

                                           Titles: Chairman; CEO
                                           Relevant Dates: 4/2008 – present; 7/2008 – present
Thomas Marano                    D         Dual Affiliate Positions: Chief Capital Markets Officer (3/2009 – present) at AFI
                                                                                                                                                                              Doc 3698-36




                                           Titles: Chief Servicing Officer
                                           Relevant Dates: 7/2008 – present
Joseph Pensabene                 R

                                           Titles: Secretary
                                           Relevant Dates: 9/2004 – 5/2012
Cathy Quenneville                D         Dual Affiliate Positions: Secretary at AFI (8/1997 – present)

                                                                                        Titles: Treasury Executive
                                                                                        Relevant Dates: 2/2012 – present
Joseph Ruhlin                    R
                                                                                                                                                                Pg 67 of 385




                                           Titles: CFO
                                           Relevant Dates: 5/2011 – present
James Whitlinger                 R
                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                              Appendix




                                                                                                      Appendix IV.A—1, Page 13 of 14
                                                                                Appendix IV.A—1, Page 14 of 14


Dual-Affiliated ResCap Officers:

             Sanjiv Khattri:            CFO for ResCap from 2007 – 2008; various positions at AFI, last position CFO from 2004 – 2008

             Gerry Lombardo:            Treasurer for ResCap from 2008 – 2009; Cerberus consultant from 2007 – 2008

             Thomas Marano:             President and CEO for ResCap from 2008 – present; Chief Capital Markets Officer and Chief Mortgage Officer at AFI, 2009 – 2012; Cerberus secondee 2008 –
                                                                                                                                                                                                                       12-12020-mg




                                        2009

             James Redmond:             Chief Risk Officer for ResCap from 2007 – 2008; Cerberus consultant pre – 2007




ResCap Officers who left ResCap to work for AFI:

             Joe Cortese:               Accounting Director for ResCap, 2008 – 2009; Chief Accounting Officer for Ally Bank from 2009 – present
                                                                                                                                                                                                                       Doc 3698-36




             Gerry Lombardo:            Treasurer for ResCap from 2008 – 2009; various positions at AFI from 2009 – 2012, last position was Global Liquidity and Funding Executive

             James Young:               Various positions at ResCap from 2005 – 2011, last position CFO; CFO at Ally Bank from 2011 – present
                                                                                                                                                                                                         Pg 68 of 385
                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                       Appendix




                                                                                 Appendix IV.A—1, Page 14 of 14
                                                                                    Appendix IV.A—2, Page 1 of 1


Residential Capital, LLC
Summary of Board Composition
2004 – 2012
                                                                                                                                                                                                                                         12-12020-mg




                 (1)
                                                                                                                                                                                                                                         Doc 3698-36




                  Number of Directors
                                                                                                                                                                                                                           Pg 69 of 385




                                        2004      2005    2006                       2007                                      2008                                2009               2010        2011       2012
      Board Appointments:                 7         3       1                          5                                        7                                   2                   1           3         0
      Board Departures:                   0         1       1                          3                                        9                                   7                   0           1         0


      Affiliations:                            ResCap:                                              Dual-Affiliated (2):                                                           Independent:




(1)
   Each column represents the composition of the Board during part of that year. Change in columns represents change in Board affiliation make-up.
(2)
   Individuals denoted as Dual-Affiliated held ResCap director positions at the same time they also held: (1) an AFI officer position; (2) an AFI director position; or (3) a Cerberus position, via consulting or
secondment agreement or otherwise.
                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




Source: Ally Employee Individual Profiles [ALLY_0004637]; interviews conducted by the Examiner’s Professionals; Minutes of ResCap, AFI Board of Directors Meetings, from 2004 – 2012.
                                                                                                                                                                                                                                         Appendix




                                                                                    Appendix IV.A—2, Page 1 of 1
                                                                                             Appendix IV.A—3, Page 1 of 13
                                                                                                                                                                                                                                                   12-12020-mg




                                                                        ResCap Board of Directors Chart

                                                                                                    2004 – 2012
                                                                                                                                                                                                                                                   Doc 3698-36




                                                                                                                      R      = ResCap

                                                                                                                      D      = Dual-Affiliated (1)

                                                                                                                       I     = Independent
                                                                                                                                                                                                                                     Pg 70 of 385
                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
  Individuals denoted as Dual-Affiliated held ResCap director positions at the same time they also held: (1) an AFI officer position; (2) an AFI director position; or (3) a Cerberus position, via consulting or secondment
  agreement or otherwise. An alphabetical listing of all ResCap directors who had Dual Affiliations at any time during their service is listed at the end of the chart.
Source: Ally Employee Individual Profiles [ALLY_0004637 ]; interviews conducted by the Examiner’s Professionals; Minutes of ResCap, AFI and Ally Bank Board of Directors Meetings, from 2004 – 2012.
                                                                                                                                                                                                                                                   Appendix




                                                                                             Appendix IV.A—3, Page 1 of 13
                                                                      Appendix IV.A—3, Page 2 of 13

ResCap Board Membership
August 1, 2004 – December 31, 2004


                               Affiliate   Jan-04   Feb-04   Mar-04    Apr-04   May-04   Jun-04   Jul-04       Aug-04             Sep-04             Oct-04             Nov-04             Dec-04
                                                                                                           Relevant Dates: 8/2004 – 3/2007
                                                                                                           Board Roles: Board Member
David Applegate                      R                                                                     ResCap Officer Titles: Co-CEO (9/2004 – 10/2005)

                                                                                                           Relevant Dates: 8/2004 – 4/2008
                                                                                                                                                                                                                          12-12020-mg




                                                                                                           Board Roles: Board Member; Exec. Committee (9/2004 – 4/2008)
Eric Feldstein                       D                                                                     Dual Affiliate Positions: AFI Board Member (1/1996 – 11/2006); COB AFI (12/2002 –
                                                                                                           11/2006); President (2002 – 2004)


                                                                                                           Relevant Dates: 8/2004 – 4/2008
                                                                                                           Board Roles: Board Member; Exec. Committee
Sanjiv Khattri                       D                                                                     ResCap Officer Titles: Vice-President (9/2004 – 3/2005)
                                                                                                           Dual Affiliate Positions: CFO (3/2004 – 12/2007); Exec. VP (3/2004 – 5/2008) at AFI


                                                                                                           Relevant Dates: 8/2004 – 8/2006
                                                                                                                                                                                                                          Doc 3698-36




                                                                                                           Board Roles: Board Member
Davee Olson                          R                                                                     ResCap Officer Titles: CFO (9/2004 – 8/2006)

                                                                                                           Relevant Dates: 8/2004 – 6/2007
                                                                                                           Board Roles: Board Member
Bruce Paradis                        R                                                                     ResCap Officer Titles: Co-CEO (9/2004 – 10/2005)

                                                                                                           Relevant Dates: 8/2004 – 4/2005
                                                                                                           Board Roles: Board Member
Jerome Van Orman                     D                                                                     ResCap Officer Titles: Vice President (9/2004 – 3/2005)
                                                                                                           Dual Affiliate Positions: CFO (10/1999 – 3/2007); Group VP at AFI
                                                                                                           Relevant Dates: 8/2004 – 7/2009
                                                                                                           Board Roles: Board Member; Exec. Committee (9/2004 – 11/2007)
David Walker                         D                                                                     ResCap Officer Titles: Vice President (9/2004 – 3/2005)
                                                                                                                                                                                                            Pg 71 of 385




                                                                                                           Dual Affiliate Positions: CFO-Mortgage Operations (5/2002 – 11/2006); Group VP (3/2004 –
                                                                                                           8/2009) at AFI
                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                          Appendix




                                                                      Appendix IV.A—3, Page 2 of 13
                                                                                                      Appendix IV.A—3, Page 3 of 13

ResCap Board Membership
January 1, 2005 – December 31, 2005


                                Affiliate        Jan-05            Feb-05             Mar-05             Apr-05            May-05            Jun-05               Jul-05          Aug-05   Sep-05   Oct-05   Nov-05   Dec-05
                                            Relevant Dates: 8/2004 – 3/2007
                                            Board Roles: Board Member
David Applegate                       R     ResCap Officer Titles: Co-CEO (9/2004 – 10/2005); COO (10/2005 – 3/2007)

                                            Relevant Dates: 8/2004 – 4/2008
                                                                                                                                                                                                                                                   12-12020-mg




                                            Board Roles: Board Member; COB (6/2005 – 9/2007); Exec. Committee (9/2004 – 4/2008)
Eric Feldstein                        D     Dual Affiliate Positions: AFI Board Member (1/1996 – 11/2006); COB AFI (12/2002 – 11/2006); President (2002 – 2004)

                                                                                                    Relevant Dates: 4/2005 – 4/2008
                                                                                                    Board Roles: Independent Director; Chair of Audit Committee
Thomas Jacob                          I


                                            Relevant Dates: 8/2004 – 4/2008
                                            Board Roles: Board Member; Exec. Committee
Sanjiv Khattri                        D     ResCap Officer Titles: Vice-President (9/2004 – 3/2005); CFO (4/2007 – 3/2008)
                                                                                                                                                                                                                                                   Doc 3698-36




                                            Dual Affiliate Positions: CFO (3/2004 – 12/2007); Exec. VP (3/2004 – 5/2008) at AFI
                                                                                                    Relevant Dates: 4/2005 – 4/2008
                                                                                                    Board Roles: Independent Director; Audit Committee
Thomas Melzer                         I


                                            Relevant Dates: 8/2004 – 8/2006
                                            Board Roles: Board Member
Davee Olson                           R     ResCap Officer Titles: CFO (9/2004 – 8/2006)

                                            Relevant Dates: 8/2004 – 6/2007
                                            Board Roles: Board Member
Bruce Paradis                         R     ResCap Officer Titles: Co-CEO (9/2004 – 10/2005); CEO (10/2005 – 6/2007)

                                            Relevant Dates: 8/2004 – 4/2005
                                                                                                                                                                                                                                     Pg 72 of 385




                                            Board Roles: Board Member
Jerome Van Orman                      D     ResCap Officer Titles: Vice President (9/2004 – 3/2005)
                                            Dual Affiliate Positions: CFO (10/1999 – 3/2007); Group VP at AFI
                                            Relevant Dates: 8/2004 – 7/2009
                                            Board Roles: Board Member; Exec. Committee (9/2004 – 11/2007)
David Walker                          D     ResCap Officer Titles: Vice President (9/2004 – 3/2005)
                                            Dual Affiliate Positions: CFO-Mortgage Operations (5/2002 – 11/2006); Group VP (3/2004 – 8/2009) at AFI
                                                                                                    Relevant Dates: 4/2005 – 6/2008
                                                                                                    Board Roles: Board Member; Exec. (until 11/2007) and Audit (until 6/2007) Committees
Linda Zukauckas                       D                                                             Dual Affiliate Positions: CAO and Corporate Controller at AFI
                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                   Appendix




                                                                                                      Appendix IV.A—3, Page 3 of 13
                                                                                                      Appendix IV.A—3, Page 4 of 13

ResCap Board Membership
January 1, 2006 – December 31, 2006


                                Affiliate        Jan-06            Feb-06             Mar-06              Apr-06           May-06           Jun-06    Jul-06   Aug-06   Sep-06       Oct-06            Nov-06             Dec-06
                                            Relevant Dates: 8/2004 – 3/2007
                                            Board Roles: Board Member
David Applegate                       R     ResCap Officer Titles: COO (10/2005 – 3/2007)

                                            Relevant Dates: 8/2004 – 4/2008
                                                                                                                                                                                                                                                            12-12020-mg




                                            Board Roles: Board Member; COB (6/2005 – 9/2007); Exec. Committee (9/2004 – 4/2008)
Eric Feldstein                        D     Dual Affiliate Positions: AFI Board Member (1/1996 – 11/2006); COB AFI (12/2002 – 11/2006)

                                                                                                                                                                                 Relevant Dates: 10/2006 – 4/2007
                                                                                                                                                                                 Board Roles: Board Member
James Giertz                          R                                                                                                                                          ResCap Officer Title: CFO; ResCap (10/2006 – 4/2007)

                                            Relevant Dates: 4/20/05 – 4/20/08
                                            Board Roles: Independent Director; Chair of Audit Committee
Thomas Jacob                          I
                                                                                                                                                                                                                                                            Doc 3698-36




                                            Relevant Dates: 8/2004 – 4/2008
                                            Board Roles: Board Member; Exec. Committee
Sanjiv Khattri                        D     Dual Affiliate Positions: CFO (3/2004 – 12/2007); Exec. VP (3/2004 – 5/2008) at AFI

                                            Relevant Dates: 4/2005 – 4/2008
                                            Board Roles: Independent Director; Audit Committee
Thomas Melzer                         I


                                            Relevant Dates: 8/2004 – 8/2006
                                            Board Roles: Board Member
Davee Olson                           R     ResCap Officer Titles: CFO (9/2004 – 8/2006)

                                            Relevant Dates: 8/2004 – 6/2007
                                                                                                                                                                                                                                              Pg 73 of 385




                                            Board Roles: Board Member
Bruce Paradis                         R     ResCap Officer Titles: CEO (10/2005 – 6/2007)

                                            Relevant Dates: 8/2004 – 7/2009
                                            Board Roles: Board Member; Exec. Committee (9/2004 – 11/2007)
David Walker                          D     Dual Affiliate Positions: CFO-Mortgage Operations (5/2002 – 11/2006); Group VP (3/2004 – 8/2009) at AFI

                                            Relevant Dates: 4/2005 – 6/2008
                                            Board Roles: Board Member; Exec. (until 11/2007) and Audit (until 6/2007) Committees
Linda Zukauckas                       D     Dual Affiliate Positions: CAO and Corporate Controller at AFI
                                                                                                                                                                                                                                        Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                            Appendix




                                                                                                      Appendix IV.A—3, Page 4 of 13
                                                                                                     Appendix IV.A—3, Page 5 of 13

ResCap Board Membership
January 1, 2007 – December 31, 2007


                                Affiliate        Jan-07            Feb-07            Mar-07               Apr-07           May-07              Jun-07          Jul-07             Aug-07           Sep-07             Oct-07         Nov-07   Dec-07
                                            Relevant Dates: 8/2004 – 3/2007
                                            Board Roles: Board Member
David Applegate                       R     ResCap Officer Titles: COO (10/2005 – 3/2007)

                                                                                Relevant Dates: 3/2007 – 4/2008
                                                                                                                                                                                                                                                                           12-12020-mg




                                                                                Board Roles: Board Member
Paul Bossidy                          R


                                                                                                   Relevant Dates: 4/2007 – 6/2007
                                                                                                   Title: President (6/2007 – 6/2007)
Craig Chapman                         R                                                            Board Roles: Board Member

                                                                                                                                                                            Relevant Dates: 8/2007 – 3/2009
                                                                                                                                                                            Board Roles: Board Member
Alvaro de Molina                      D                                                                                                                                     Dual Affiliate Positions: COO (8/2007 – 4/2008) at AFI
                                                                                                                                                                                                                                                                           Doc 3698-36




                                            Relevant Dates: 8/2004 – 4/2008
                                            Board Roles: Board Member; COB (6/2005 – 9/2007); Exec. Committee (9/2004 – 4/2008)
Eric Feldstein                        D


                                            Relevant Dates: 10/2006 – 4/2007
                                            Board Roles: Board Member
James Giertz                          R     ResCap Officer Title: CFO (10/2006 – 4/2007)

                                            Relevant Dates: 4/2005 – 4/2008
                                            Board Roles: Independent Director; Chair of Audit Committee
Thomas Jacob                          I


                                                                                Relevant Dates: 3/2007 – 8/2008
                                                                                                                                                                                                                                                             Pg 74 of 385




                                                                                Board Roles: Board Member; Exec. Committee
James Jones                           R                                         ResCap Officer Titles: President and COO (3/2007 – 6/2007); President and CEO (6/2007 – 7/2008)


                                            Relevant Dates: 8/2004 – 4/2008
                                            Board Roles: Board Member; Exec. Committee
Sanjiv Khattri                        D     ResCap Officer Titles: CFO (4/2007 – 3/2008)
                                            Dual Affiliate Positions: CFO (3/2004 – 12/2007); Exec. VP (3/2004 – 5/2008) at AFI
                                                                                Relevant Dates: 3/2007 – 3/2009
                                                                                Board Roles: Board Member
Ronald Kravit                         D                                         Dual Affiliate Positions: Managing Principal, Cerberus Real Estate

                                            Relevant Dates: 4/2005 – 4/2008
                                            Board Roles: Independent Director; Audit Committee
Thomas Melzer                         I


                                            Relevant Dates: 8/2004 – 6/2007
                                                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




                                            Board Roles: Board Member
Bruce Paradis                         R     ResCap Officer Titles: CEO (10/2005 – 6/2007)
                                                                                                                                                                                                                                                                           Appendix




                                                                                                      Appendix IV.A—3, Page 5 of 13
                                                                                                      Appendix IV.A—3, Page 6 of 13

ResCap Board Membership
January 1, 2007 – December 31, 2007


                                Affiliate        Jan-07            Feb-07             Mar-07             Apr-07             May-07      Jun-07   Jul-07   Aug-07       Sep-07            Oct-07            Nov-07            Dec-07
                                                                                                                                                                   Relevant Dates: 9/2007 – 3/2008
                                                                                                                                                                   Board Roles: COB (9/2007 – 3/2008); Exec. Committee (11/2007 – 3/2008)
Michael Rossi                         R


                                            Relevant Dates: 8/2004 – 7/2009
                                                                                                                                                                                                                                                                12-12020-mg




                                            Board Roles: Board Member; Exec. Committee (9/2004 – 11/2007)
David Walker                          D     Dual Affiliate Positions: Group VP (3/2004 – 8/2009); Treasurer (12/2007 – 8/2009) at AFI

                                            Relevant Dates: 4/2005 – 6/2008
                                            Board Roles: Board Member; Exec. (until 11/2007) and Audit (until 6/2007) Committees
Linda Zukauckas                       D     ResCap Officer Titles: CAO and Temporary Controller (6/2007 – 11/2007)
                                            Dual Affiliate Positions: CAO and Corporate Controller at AFI
                                                                                                                                                                                                                                                                Doc 3698-36
                                                                                                                                                                                                                                                  Pg 75 of 385
                                                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                Appendix




                                                                                                       Appendix IV.A—3, Page 6 of 13
                                                                                                          Appendix IV.A—3, Page 7 of 13

ResCap Board Membership
January 1, 2008 – December 31, 2008


                                Affiliate        Jan-08             Feb-08             Mar-08              Apr-08           May-08            Jun-08             Jul-08           Aug-08             Sep-08            Oct-08             Nov-08      Dec-08
                                            Relevant Dates: 3/2007 – 4/2008
                                            Board Roles: Board Member
Paul Bossidy                          R


                                                                                                                                         Relevant Dates: 6/2008 – 7/2009 (originally appointed 4/2008 but recinded ab initio)
                                                                                                                                                                                                                                                                                   12-12020-mg




                                                                                                                                         Board Roles: Board Member and Audit Committee
David DeBrunner                       D                                                                                                  Dual Affiliate Positions: CAO; Controller; VP at AFI

                                            Relevant Dates: 8/2007 – 3/2009
                                            Board Roles: Board Member
Alvaro de Molina                      D     Dual Affiliate Positions: COO (8/2007 – 4/2008); Exec. Committee (8/2007 – 11/2009); CEO (4/2008 – 11/2009) at AFI

                                            Relevant Dates: 8/2004 – 4/2008
                                            Board Roles: Board Member; Exec. Committee (9/2004 – 4/2008)
Eric Feldstein                        D
                                                                                                                                                                                                                                                                                   Doc 3698-36




                                                                                                                                         Relevant Dates: 6/2008 – 6/2009
                                                                                                                                         Board Roles: Independent Director; Chair of Audit Committee (6/2008 – 6/2009); Special Oversight Committee
Karin Hirtler-Garvey                  I


                                            Relevant Dates: 4/2005 – 4/2008
                                            Board Roles: Independent Director; Chair of Audit Committee
Thomas Jacob                          I


                                            Relevant Dates: 3/2007 – 8/2008
                                            Board Roles: Board Member; Exec. Committee
James Jones                           R     ResCap Officer Title: President and CEO (6/2007 – 7/2008)
                                                                                                                                                                                                                                                                     Pg 76 of 385




                                            Relevant Dates: 8/2004 – 4/2008
                                            Board Roles: Board Member; Exec. Committee
                                            ResCap Officer Titles: CFO (4/2007 – 3/2008)
Sanjiv Khattri                        D     Dual Affiliate Positions: Exec. VP (3/2004 – 5/2008) at AFI



                                            Relevant Dates: 3/2007 – 3/2009
                                            Board Roles: Board Member
Ronald Kravit                         D     Dual Affiliate Positions: Managing Principal, Cerberus Real Estate

                                                                                                      Relevant Dates: 4/2008 – present
                                                                                                      Board Roles: Board Member; Audit and Exec. Committees; non-Exec. Chairman (as of 4/2008)
Thomas Marano                         D                                                               ResCap Officer Titles: CEO (as of 7/2008)
                                                                                                      Dual Affiliate Positions: Cerberus (4/2008 – 4/2009)
                                                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                   Appendix




                                                                                                          Appendix IV.A—3, Page 7 of 13
                                                                                                      Appendix IV.A—3, Page 8 of 13

ResCap Board Membership
January 1, 2008 – December 31, 2008


                                Affiliate        Jan-08             Feb-08            Mar-08                Apr-08          May-08              Jun-08           Jul-08            Aug-08             Sep-08              Oct-08   Nov-08   Dec-08
                                            Relevant Dates: 4/2005 – 4/2008
                                            Board Roles: Independent Director; Audit Committee
Thomas Melzer                         I


                                            Relevant Dates: 9/2007 – 3/2008
                                                                                                                                                                                                                                                                         12-12020-mg




                                            Board Roles: COB (9/2007 – 3/2008); Exec. Committee
Michael Rossi                         R     (11/2007 – 3/2008)

                                                                                                                       Relevant Dates: 5/2008 – present
                                                                                                                       Board Roles: Independent Director; Audit, Special Oversight, and Independent Director Committees
Edward Smith                          I


                                            Relevant Dates: 8/2004 – 7/2009
                                            Board Roles: Board Member
David Walker                          D     Dual Affiliate Positions: Group VP (3/2004 – 8/2009); Treasurer (12/2007 – 8/2009) at AFI
                                                                                                                                                                                                                                                                         Doc 3698-36




                                                                                                    Relevant Dates: 4/2008 – 3/2009
                                                                                                    Board Roles: Vice Chairman; Exec. Committee
Joshua Weintraub                      D                                                             Dual Affiliate Positions: Cerberus (4/2008 – present)

                                                                                                    Relevant Dates: 4/2008 – 5/2011
                                                                                                    Board Roles: Board Member
James Young                           R                                                             ResCap Officer Titles: Deputy CFO (11/2007 – 3/2008); CFO (3/2008 – 5/2011)

                                            Relevant Dates: 4/2005 – 6/2008
                                            Board Roles: Board Member
Linda Zukauckas                       D     Dual Affiliate Positions: CAO and Corporate Controller at AFI
                                                                                                                                                                                                                                                           Pg 77 of 385
                                                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                         Appendix




                                                                                                       Appendix IV.A—3, Page 8 of 13
                                                                                                        Appendix IV.A—3, Page 9 of 13

ResCap Board Membership
January 1, 2009 – December 31, 2009


                                Affiliate        Jan-09             Feb-09              Mar-09             Apr-09             May-09              Jun-09           Jul-09            Aug-09            Sep-09          Oct-09       Nov-09   Dec-09
                                            Relevant Dates: 6/2008 – 7/2009 (originally appointed 4/2008 but recinded ab initio)
                                            Board Roles: Board Member and Audit Committee
David DeBrunner                       D
                                            Dual Affiliate Positions: CAO; Controller; VP at Ally Bank & AFI

                                            Relevant Dates: 8/2007 – 3/2009
                                                                                                                                                                                                                                                                          12-12020-mg




                                            Board Roles: Board Member
Alvaro de Molina                      D     Dual Affiliate Positions: CEO; Various positions at AFI

                                            Relevant Dates: 6/2008 – 6/2009
                                            Board Roles: Independent Director; Audit Committee (6/2008 – 6/2009); Special Oversight Committee
                                      I     Dual Affiliate Positions: GMAC Mgmt Comm. at AFI; Chief Risk Exec. at Ally Bank
Karin Hirtler-Garvey
                                                                                                                         5/2009; Resigns as                  Chief Risk Officer; GMAC
                                                                                                                         Independent Director                Board Roles: Board Member; Audit and Independent Director Committees
                                            Relevant Dates: 3/2007 – 3/2009
                                                                                                                                                                                                                                                                          Doc 3698-36




                                            Board Roles: Board Member
Ronald Kravit                         D     Dual Affiliate Positions: Managing Principal, Cerberus
                                            Real Estate
                                            Relevant Dates: 4/2008 – present
                                            Board Roles: Board Member; Audit and Exec. Committees; non-Exec. Chairman (as of 4/2008)
Thomas Marano                         D     ResCap Officer Titles: CEO (as of 7/2008)
                                            Dual Affiliate Positions: Cerberus (4/2008 – 4/2009); Chief Capital Markets Officer (3/2009 – present) at AFI
                                                                                   Relevant Dates: 3/2009 – 9/2009
                                                                                   Board Roles: Board Member and Exec. Committee
Anthony Renzi                         R                                            ResCap Officer Titles: Exec. Vice President and COO

                                            Relevant Dates: 5/2008 – present
                                            Board Roles: Independent Director; Audit, Special Oversight, and Independent Director Committees
Edward Smith                          I
                                                                                                                                                                                                                                                            Pg 78 of 385




                                            Relevant Dates: 8/2004 – 7/2009
                                            Board Roles: Board Member
David Walker                          D     Dual Affiliate Positions: Group VP (3/2004 – 8/2009); Treasurer (12/2007 – 8/2009) at AFI



                                            Relevant Dates: 4/2008 – 3/2009
                                            Board Roles: Vice Chairman; Board Member; Exec.
Joshua Weintraub                      D     Committee
                                            Dual Affiliate Positions: Cerberus (4/2008 – present)

                                                                                                                         Relevant Dates: 5/2009 – present
                                                                                                                         Board Roles: Independent Director; Chair of Audit Committee; Special Oversight Committee
Pamela West                           I


                                            Relevant Dates: 4/2008 – 5/2011
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




                                            Board Roles: Board Member; Exec. Committee (3/2009 – 5/2011)
James Young                           R     ResCap Officer Titles: CFO (3/2008 – 5/2011)
                                                                                                                                                                                                                                                                          Appendix




                                                                                                        Appendix IV.A—3, Page 9 of 13
                                                                                                     Appendix IV.A—3, Page 10 of 13

ResCap Board Membership
January 1, 2010 – December 31, 2010


                                Affiliate        Jan-10            Feb-10            Mar-10              Apr-10             May-10             Jun-10   Jul-10   Aug-10   Sep-10   Oct-10   Nov-10   Dec-10
                                                                                 Relevant Dates: 3/2010 – present
                                                                                 Board Roles: Board Member; Exec. Committee
Steven Abreu                          R                                          ResCap Officer Titles: President (as of 1/2010)

                                            Relevant Dates: 4/2008 – present
                                                                                                                                                                                                                                  12-12020-mg




                                            Board Roles: Board Member; Audit and Exec. Committees; non-Exec. Chairman (as of 4/2008)
Thomas Marano                         D     ResCap Officer Titles: CEO (as of 7/2008)
                                            Dual Affiliate Positions: Chief Capital Markets Officer (3/2009 – present) at AFI
                                            Relevant Dates: 5/2008 – present
                                            Board Roles: Independent Director; Audit, Special Oversight, and Independent Director Committees
Edward Smith                          I


                                            Relevant Dates: 5/2009 – present
                                            Board Roles: Independent Director; Chair of Audit Committee; Special Oversight Committee
Pamela West                           I
                                                                                                                                                                                                                                  Doc 3698-36




                                            Relevant Dates: 4/2008 – 5/2011
                                            Board Roles: Board Member; Exec. Committee (3/2009 – 5/2011)
James Young                           R     ResCap Officer Titles: CFO (3/2008 – 5/2011)
                                                                                                                                                                                                                    Pg 79 of 385
                                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                  Appendix




                                                                                                     Appendix IV.A—3, Page 10 of 13
                                                                                                    Appendix IV.A—3, Page 11 of 13

ResCap Board Membership
January 1, 2011 – December 31, 2011


                                Affiliate        Jan-11             Feb-11             Mar-11           Apr-11             May-11              Jun-11           Jul-11    Aug-11   Sep-11   Oct-11       Nov-11             Dec-11
                                            Relevant Dates: 3/2010 – present
                                            Board Roles: Board Member; Exec. Committee
Steven Abreu                          R     ResCap Officer Titles: President (as of 1/2010)

                                                                                                                                                                                                     Relevant Dates: 11/2011 – present
                                                                                                                                                                                                                                                              12-12020-mg




                                                                                                                                                                                                     Board Roles: Independent Director;
Jonathan Ilany                        I                                                                                                                                                              Audit and Special Review
                                                                                                                                                                                                     Committees

                                                                                                                                                                                                     Relevant Dates: 11/2011 – present
                                                                                                                                                                                                     Board Roles: Independent Director;
John Mack                             I                                                                                                                                                              Audit and Special Review
                                                                                                                                                                                                     Committees

                                            Relevant Dates: 4/2008 – present
                                                                                                                                                                                                                                                              Doc 3698-36




                                            Board Roles: Board Member; Audit and Exec. Committee Member; non-Exec. Chairman (as of 4/2008)
Thomas Marano                         D     ResCap Officer Titles: CEO (as of 7/2008)
                                            Dual Affiliate Positions: Chief Capital Markets Officer (3/2009 – present) at AFI
                                            Relevant Dates: 5/2008 – present
                                            Board Roles: Independent Director; Audit, Special Oversight, and Independent Director Committees
Edward Smith                          I


                                            Relevant Dates: 5/2009 – present
                                            Board Roles: Independent Director; Chair of Audit; Special Oversight and Consent Order Compliance (as of 5/2011) Committees
Pamela West                           I


                                                                                                                      Relevant Dates: 5/2011 – present
                                                                                                                      Board Roles: Board Member; Exec. Committee
James Whitlinger                      R                                                                               ResCap Officer Titles: CFO (5/2011 – present)
                                                                                                                                                                                                                                                Pg 80 of 385




                                            Relevant Dates: 4/2008 – 5/2011
                                            Board Roles: Board Member; Exec. Committee (3/2009 – 5/2011)
James Young                           R     ResCap Officer Titles: CFO (3/2008 – 5/2011)
                                            Dual Affiliate Positions: CFO (as of 7/2011) at Ally Bank
                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                              Appendix




                                                                                                     Appendix IV.A—3, Page 11 of 13
                                                                                                     Appendix IV.A—3, Page 12 of 13

ResCap Board Membership
January 1, 2012 – May 31, 2012


                                 Affiliate                     Jan-12                                      Feb-12                                       Mar-12                                       Apr-12   May-12
                                             Relevant Dates: 3/2010 – present
                                             Board Roles: Board Member; Exec. Committee
Steven Abreu                        R        ResCap Officer Titles: President (as of 1/2010)

                                             Relevant Dates: 11/2011 – present
                                                                                                                                                                                                                                           12-12020-mg




                                             Board Roles: Independent Director; Audit and Special Review Committees
Jonathan Ilany                      I


                                             Relevant Dates: 11/2011 – present
                                             Board Roles: Independent Director; Audit; Chair of Compensation Committee (as of 3/2012); and Special Review Committee
John Mack                           I


                                             Relevant Dates: 4/2008 – present
                                             Board Roles: Board Member; Audit and Exec. Committees; non-Exec. Chairman (as of 4/2008)
                                             ResCap Officer Titles: CEO (as of 7/2008)
Thomas Marano                       D
                                                                                                                                                                                                                                           Doc 3698-36




                                             Dual Affiliate Positions: Chief Capital Markets Officer (3/2009 – present) at AFI



                                             Relevant Dates: 5/2008 – present
                                             Board Roles: Independent Director; Audit, Special Oversight, and Independent Director Committees
Edward Smith                        I


                                             Relevant Dates: 5/2009 – present
                                             Board Roles: Independent Director; Chair of Audit; Special Oversight, Consent Order Compliance (as of 5/2011), and Compensation (as of 3/2012) Committees
Pamela West                         I


                                             Relevant Dates: 5/2011 – present
                                                                                                                                                                                                                             Pg 81 of 385




                                             Board Roles: Board Member; Exec. Committee
James Whitlinger                    R        ResCap Officer Titles: CFO (5/2011 – present)
                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                           Appendix




                                                                                                      Appendix IV.A—3, Page 12 of 13
                                                                            Appendix IV.A—3, Page 13 of 13


Dual-Affiliated ResCap Directors:

            David DeBrunner:        Director on ResCap Board from 2008 – 2009; Chief Accounting Officer and Controller at AFI, 2007 – present

            Alvaro de Molina:       Director on ResCap Board from 2007 – 2009; Cerberus 2007 – 2008; various positions at AFI from 2008 – 2009, last position CEO

            Eric Feldstein:         Director on ResCap Board from 2004 – 2008; various positions at AFI from 1996 – 2008, last position CEO
                                                                                                                                                                                                                          12-12020-mg




            Ronald Kravit:          Director on ResCap Board from 2007 – 2009; at Cerberus, 1996 – present

            Jerome Van Orman:       Director on ResCap Board from 2004 – 2005; various positions at AFI from 1990 – 2007, last position Group Vice President and CFO for North American Operations;
                                    Director on Ally Bank Board, 2005 – 2007

            David Walker:           Director on ResCap Board from 2000 – 2009; various positions at AFI from 1985 – 2009, last position Treasurer and Group Vice President
                                                                                                                                                                                                                          Doc 3698-36




            Joshua Weintraub:       Director on ResCap Board from 2008 – 2009; at Cerberus from 2008 – present

            Linda Zukauckas:        Director on ResCap Board from 2005 – 2008; various positions at AFI from 2000 – 2011, last position Managing Director, Corporate Strategy
                                                                                                                                                                                                            Pg 82 of 385
                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                          Appendix




                                                                            Appendix IV.A—3, Page 13 of 13
                                                                                      Appendix IV.B.1.d—1, Page 1 of 1

Residential Capital, LLC
Independent Director Annual Compensation (By Type)
2005 – 2012

Compensation Arrangement                                  2005                    2006                  2007                  2008                  2009                   2010                 2011 (1)              2012 (2)
Base compensation                                        Not disclosed     $         100,000     $         110,000      $        110,000      $        110,000      $         110,000     $         120,000      $        180,000
Audit committee member                                   Not disclosed                10,000                10,000                10,000                10,000                 10,000                10,000                10,000
Audit committee chair                                    Not disclosed                30,000                30,000                30,000                30,000                 30,000                30,000                30,000
                                                                                                                                                                                                                                                         12-12020-mg




Compensation committee member                                     N/A                   N/A                   N/A                   N/A                   N/A                    N/A                     N/A               10,000
Compensation committee chair                                      N/A                   N/A                   N/A                   N/A                   N/A                    N/A                     N/A               20,000
Meeting fee (per meeting)                                         N/A                   N/A                   N/A                   N/A                   N/A                    N/A                   1,500                 1,500
2011 true-up for 2012 comp plan – base
                                                                   N/A                   N/A                   N/A                    N/A                   N/A                   N/A                   N/A                 60,000
compensation
2011 true-up for 2012 comp plan – meeting
                                                                   N/A                   N/A                   N/A                    N/A                   N/A                   N/A                   N/A                  1,500
fee (per meeting)
                             (3)
Supplemental compensation                                          N/A                   N/A                   N/A               100,000                100,000               100,000                   N/A                   N/A
                                                                                                                                                                                                                                                         Doc 3698-36




(1)
    2011 base compensation was increased from $120,000 to 180,000 due to retroactive application of 2012 compensation plan. This true-up was paid in 2012.
(2)
    2012 compensation plan also removed the $25,000 cap on meeting fees retroactively for 2011. This true-up for additional meeting fees was paid in 2012.
(3)
    Supplemental compensation of $100,000 was approved at the February 1, 2008 Board meeting.
Source: E-mail from W. Hasson (Jan. 8, 2007) at EXAM10164167 [EXAM10164165]; E-mail from D. Marple (Jan. 9, 2007) [EXAM10165583]; Minutes of a Special Meeting of the Board of Directors of Residential Capital Corporation, Oct.
19, 2006, at RC40006816 [RC40006748]; Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Feb. 1, 2008, at RC40005653–54 [RC40005652]; Karin Hirtler-Garvey—Independent Board Member payment
schedule [EXAM00294336]; Spreadsheet, PAYMENT INFO BY VEND Number, Edward F. Smith, III [EXAM00294352]; Spreadsheet reflecting payments to Pamela E. West [EXAM00294341]; E-mail from T. Hamzehpour to C. Kollenberg
(Dec. 3, 2010) [EXAM10357376]; E-mail from C. Kollenberg to T. Hamzehpour (Jan. 10, 2011) [EXAM20136494]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 27, 2011, at RC40018421–22 [RC40018411];
Unanimous Written Consent of the Management Members of the Board of Directors of Residential Capital, LLC, dated Dec. 9, 2011, at RC40018728 [RC40018411]; Unanimous Written Consent of the Management Members of the Board of
Directors of Residential Capital, LLC, May 4, 2012 at RC40019214–18 [RC40019179].
                                                                                                                                                                                                                                           Pg 83 of 385
                                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                         Appendix




                                                                                       Appendix IV.B.1.d—1, Page 1 of 1
                                                                             Appendix IV.B.1.d—2, Page 1 of 1


Residential Capital, LLC
Independent Director Annual Compensation (By Director) (1)
2005 – 2012

Independent Director                            2005 (2)            2006                2007               2008               2009               2010                2011               2012
                (2)
Thomas Jacob                                   Not disclosed   $      130,000     $       130,000     $       80,000                N/A                N/A                N/A                N/A
Thomas Melzer (2)                              Not disclosed          110,000             110,000             73,333                N/A                N/A                N/A                N/A
                                                                                                                                                                                                                         12-12020-mg




Edward Smith                                             N/A             N/A                 N/A             190,877     $       230,000    $       210,000    $       155,000     $      409,500
Karin Hirtler-Garvey                                     N/A             N/A                 N/A             225,184             146,667               N/A                N/A                N/A
Pamela West                                              N/A             N/A                 N/A                N/A               97,500            219,167            175,000            464,500
                (3)
Jonathan Ilany                                           N/A             N/A                 N/A                N/A                 N/A                N/A                   -            373,000
            (3)
John Mack                                                N/A             N/A                 N/A                N/A                 N/A                N/A                   -            409,000
Total                                                      -   $       240,000    $       240,000     $      569,394     $       474,167    $       429,167    $       330,000     $     1,656,000
                                                                                                                                                                                                                         Doc 3698-36




Average annual compensation per director (4)               -   $       120,000    $       120,000     $      230,000     $       230,000    $       214,583    $       165,000     $      414,000

(1)
    Compensation reported by year on cash basis.
(2)
    2005 compensation data was not disclosed; Jacob and Melzer 2006 –2008 compensation is extrapolated from cited sources.
(3)
    Note that Ilany and Mack each were paid $31,500 in January, 2012 for their 2011 partial-year service on the ResCap Board.
(4)
    Annual compensation averages exclude directors who served partial years; the 2008 “average” reflects the 2008 payment arrangement because no Independent Director served a full year.
Source: E-mail from W. Hasson (Jan. 8, 2007) at EXAM10164167 [EXAM10164165]; E-mail from D. Marple (Jan. 9, 2007) [EXAM10165583]; Minutes of a Special Meeting of the Board of Directors of
Residential Capital Corporation, Oct. 19, 2006, at RC40006816 [RC40006748]; Proposed 2008 Compensation Plan for ResCap Independent Directors, dated Jan. 31, 2008, at RC40007277 [RC40007261];
Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Feb. 1, 2008, at RC40005653–54 [RC40005652]; Minutes of a Meeting of the Special Committee of the Independent
Directors of the Board of Residential Capital, LLC, Mar. 25, 2008, at RC40006622 [RC40006611]; E-mail from T. Hamzehpour to R. Hull (Apr. 30, 2008) [EXAM20248306]; E-mail from C. Quenneville
(May 23, 2008) [EXAM11234420]; Spreadsheet, PAYMENT INFO BY VEND Number, Edward F. Smith, III [EXAM00294352]; Spreadsheet, PAYMENT INFO BY VEND Number, Karin Hirtler-Garvey,
                                                                                                                                                                                                           Pg 84 of 385




[EXAM00294334]; Spreadsheet reflecting payments to Pamela E. West [EXAM00294341]; Spreadsheet, PAYMENT INFO BY VEND Number, Jonathan Ilany [EXAM00294335]; Spreadsheet, PAYMENT
INFO BY VEND Number, John E. Mack [EXAM00294337].
                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                         Appendix




                                                                              Appendix IV.B.1.d—2, Page 1 of 1
                                                                              Appendix IV.B.1.d—3, Page 1 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
June 2008 – April 2009

                                                                                         Invoice       Check   Payment     GL                  Dept
 Unit    Remit Vndr        Name               Amount       Voucher         Invoice        Date        Number     Date      Unit      Acct       ID               Descr        Type
                      KARIN HIRTLER-
RFC2    2000020242                           111,666.67   20500855   060108               6/25/2008   725557    6/25/2008 10010   5050200002   1309   JUNE 2008 PAYMENT       CHK
                      GARVEY
                      KARIN HIRTLER-
                                                                                                                                                                                                         12-12020-mg




RFC2    2000020242                            11,666.67   20500856   070108               6/25/2008   725557    6/25/2008 10010   5050200002   1309   JULY 2008 PAYMENT       CHK
                      GARVEY
                      KARIN HIRTLER-
RFC2    2000020242                            11,666.67   20503046   072408               7/24/2008   726616    7/28/2008 10010   5050200002   1309   AUGUST 2008 PAYMENT     CHK
                      GARVEY
                      KARIN HIRTLER-
RFC2    2000020242                            11,666.67   20505412   090108               8/18/2008   727550    8/26/2008 10010   5050200002   1309   SEPTEMBER 08 PAYMENT    CHK
                      GARVEY
                      KARIN HIRTLER-                                                                                                                  BOARD MEMBER AUTO
RFC2    2000020242                            31,850.56   20505917   6240-258             8/30/2008   727778     9/5/2008 10010   5020600008   7000                           CHK
                      GARVEY                                                                                                                          ALLOWANCE
                      KARIN HIRTLER-
RFC2    2000020242                            11,666.67   20507208   100108               9/24/2008   728368    9/25/2008 10010   5050200002   1309   OCTOBER 2008 PAYMENT    CHK
                                                                                                                                                                                                         Doc 3698-36




                      GARVEY
                      KARIN HIRTLER-
RFC2    2000020242                            11,666.67   20508922   110108              10/20/2008   086738   10/24/2008 10010   5050200002   1309   NOV 2008 PAYMENT        EFT
                      GARVEY
                      KARIN HIRTLER-
RFC2    2000020242                            11,666.67   20511940   120108              11/24/2008   086930   11/26/2008 10010   5050200002   1309   DECEMBER 2008 PAYMENT   EFT
                      GARVEY
                      KARIN HIRTLER-                                 121808-HIRTLER-
RFC2    2000020242                            11,666.67   20513593                       12/18/2008   087105   12/29/2008 10010   5050200002   1309   DEC 2008 PAYMENT        EFT
                      GARVEY                                         GARVEY
                      KARIN HIRTLER-
RFC2    2000020242                            11,666.67   20516144   02012009              2/1/2009   087286     2/6/2009 10010   5050200002   1309   FEB 2009 PAYMENT        EFT
                      GARVEY
                      KARIN HIRTLER-
RFC2    2000020242                            11,666.67   20516978   030109               2/18/2009   087346    2/20/2009 10010   5050200002   1309   MARCH 2009 PAYMENT      EFT
                      GARVEY
                      KARIN HIRTLER-
RFC2    2000020242                           111,666.67   20518915   031809               3/18/2009   087494    3/27/2009 10010   5050200002   1309   APRIL 2009 PAYMENT      EFT
                                                                                                                                                                                           Pg 85 of 385




                      GARVEY
                      KARIN HIRTLER-
RFC2    2000020242                            11,666.67   20520424   04212009             4/21/2009   087657    4/24/2009 10010   5050200002   1309   May 2009 Payment        EFT
                      GARVEY

Source: Spreadsheet, PAYMENT INFO BY VEND Number, Karin Hirtler-Garvey [EXAM00294334].
                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                         Appendix




                                                                              Appendix IV.B.1.d—3, Page 1 of 11
                                                                             Appendix IV.B.1.d—3, Page 2 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
January 2012 – January 2013

                                                                                      Invoice      Check   Payment    GL                  Dept
 Unit   Remit Vndr           Name             Amount     Voucher        Invoice        Date       Number     Date     Unit       Acct      ID               Descr               Type

RFC2    2000029097    JONATHAN ILANY         22,500.00   20541944 01052012             1/5/2012   090013    1/13/2012 10010   5050700001 1309    2011 Dir Fee Pro Rata        EFT
                                                                                                                                                                                                               12-12020-mg




RFC2    2000029097    JONATHAN ILANY          9,000.00   20542025 01122012            1/12/2012   090024    1/20/2012 10010   586041001   1309   Dir Pmt - 2011 Mtg Adj       EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20542026 Jan 2012 Dir Pmt    1/12/2012   090024    1/20/2012 10010   586041001   1309   Jan 2012 Dir Payment         EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20542094 02012012             2/1/2012   090038     2/3/2012 10010   586041001   1309   Feb 2012Dir Payment Fee      EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20542360 03012012             3/1/2012   090063     3/2/2012 10010   586041001   1309   March Director Fee Payment   EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20542576 04032012             4/3/2012   090098     4/5/2012 10010   5050200002 1309    April Director Fee Payment   EFT
                                                                                                                                                                                                               Doc 3698-36




RFC2    2000029097    JONATHAN ILANY         18,000.00   20542667 Q1 Mtg Comp         3/28/2012   090113    4/19/2012 10010   5050200002 1309    Q1 Dir Mtg Compensation      EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20542768 May Dir Pmt          5/1/2012   090130     5/3/2012 10010   5050200002 1309    May Director Fee Payment     EFT

                                                                                                                                                                              Wired from
RFC2    2000029097    JONATHAN ILANY         36,000.00   20542835 05112012            5/11/2012   WIR0B     5/13/2012 10010   5050200002 1309    BD COMM MTG FEES             Treasury
                                                                                                                                                                              Cash Desk

RFC2    2000029097    JONATHAN ILANY         15,833.33   20542849 06012012             6/1/2012   090148    6/15/2012 10010   5050200002 1309    June Director Fee Payment    EFT
                                                                  7022012 JUL DIR
RFC2    2000029097    JONATHAN ILANY         15,833.33   20543009                      7/2/2012   090161     7/6/2012 10010   5050200002 1309    JULY DIRECTOR FEE PMT        EFT
                                                                                                                                                                                                 Pg 86 of 385




                                                                  PMT
                                                                                                                                                 Q2 Comp for Meetings
RFC2    2000029097    JONATHAN ILANY          7,500.00   20543057 07062012             7/6/2012   090172    7/19/2012 10010   5050200002 1309                                 EFT
                                                                                                                                                 Attended
RFC2    2000029097    JONATHAN ILANY         15,833.33   20543147 08012012             8/1/2012   090185     8/2/2012 10010   5050200002 1309    Aug Director Fee Payment     EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20543405 09012012             9/1/2012   090217     9/6/2012 10010   5050200002 1309    Sept Director Payment        EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20543710 10012012            10/1/2012   090242    10/4/2012 10010   5050200002 1309    October Dir Fee Pmt          EFT
                                                                                                                                                 Comp Pmt for 3Q Mtgs
RFC2    2000029097    JONATHAN ILANY         31,500.00   20543716 09282012            9/28/2012   090242    10/4/2012 10010   5050200002 1309                                 EFT
                                                                                                                                                 Attended
RFC2    2000029097    JONATHAN ILANY         15,833.33   20544172 11012012            11/1/2012   090279    11/8/2012 10010   5050200002 1309    November Dir Fee Payment     EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20544536 12012012            12/1/2012   090309    12/6/2012 10010   5050200002 1309    Dec Director Fee Payment     EFT
                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13




RFC2    2000029097    JONATHAN ILANY         58,500.00   20544934 12212012           12/21/2012   090337   12/27/2012 10010   5050200002 1309    4Q Mtg Compensation Pmt      EFT

RFC2    2000029097    JONATHAN ILANY         15,833.33   20545050 01092013             1/9/2013   090357    1/17/2013 10010   5050200002 1309    January Director Comp. Pmt   EFT


Source: Spreadsheet, PAYMENT INFO BY VEND Number, Jonathan Ilany [EXAM00294335].
                                                                                                                                                                                                               Appendix




                                                                             Appendix IV.B.1.d—3, Page 2 of 11
                                                                            Appendix IV.B.1.d—3, Page 3 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
January 2012 – January 2013

                                                                                    Invoice       Check   Payment       GL                  Dept
 Unit    Remit Vndr         Name           Amount     Voucher          Invoice       Date        Number     Date        Unit      Acct       ID                 Descr                  Type

RFC2    2000029098     JOHN E MACK        22,500.00   20541943   01052012             1/5/2012   090032    1/27/2012 10010     5050700001   1309   2011 Retainer pro-rata Dir Fee   EFT
RFC2    2000029098     JOHN E MACK         9,000.00   20542069   01122012            1/12/2012   090032    1/27/2012   10010   586041001    1309   Pay Adj for 2011 Comm Mtgs       EFT
                                                                                                                                                                                                                     12-12020-mg




RFC2    2000029098     JOHN E MACK        15,833.33   20542070   Jan 2012 Dir Fee    1/12/2012   090032    1/27/2012   10010   586041001    1309                                    EFT
RFC2    2000029098     JOHN E MACK        15,833.33   20542097   02012012             2/1/2012   090039     2/3/2012   10010   586041001    1309   Feb 2012 Dir Fee Pmt             EFT
RFC2    2000029098     JOHN E MACK        15,833.33   20542363   03012012             3/1/2012   090064     3/2/2012   10010   586041001    1309   March Director Fee Payment       EFT
RFC2    2000029098     JOHN E MACK        15,833.33   20542579   04032012             4/3/2012   090099     4/5/2012   10010   5050200002   1309   April Director Fee Payment       EFT
RFC2    2000029098     JOHN E MACK        18,000.00   20542666   Q1 Mtg Comp         3/28/2012   090114    4/19/2012   10010   5050200002   1309   Q1 Dir Mtg Comp                  EFT
                                                                 Q1 Mtg Comp
RFC2    2000029098     JOHN E MACK         7,500.00   20542676                       3/28/2012   090116    4/19/2012 10010     5050200002   1309   Q1 Mtg Comp Difference           EFT
                                                                 Difference
RFC2    2000029098     JOHN E MACK        15,833.33   20542772   May Dir Pmt          5/1/2012   090131     5/3/2012 10010     5050200002   1309   May Director Payment Fee         EFT
                                                                                                                                                                                    Wired from
                                                                                                                                                                                                                     Doc 3698-36




RFC2    2000029098     JOHN E MACK        34,500.00   20542832   05112012            5/11/2012   WIRMTG    5/13/2012 10010     5050200002   1309   BD MTG FEES                      Treasury
                                                                                                                                                                                    Cash Desk
RFC2    2000029098     JOHN E MACK        15,833.33   20542852   06012012A            6/1/2012   090149    6/15/2012 10010     5050200002   1309   June Director Fee Payment        EFT
                                                                 7022012 JUL DIR
RFC2    2000029098     JOHN E MACK        15,833.33   20543012                        7/2/2012   090162     7/6/2012 10010     5050200002   1309   JULY DIRECTOR FEE PMT            EFT
                                                                 PMT
RFC2    2000029098     JOHN E MACK         6,000.00   20543059   07062012             7/6/2012   090173    7/19/2012   10010   5050200002   1309   Q2 Comp for Mtgs Attended        EFT
RFC2    2000029098     JOHN E MACK        17,499.99   20543150   08012012             8/1/2012   090186     8/2/2012   10010   5050200002   1309   August Dir Fee Pmt               EFT
RFC2    2000029098     JOHN E MACK         4,316.92   20543156   CR070612MACK         7/6/2012   090191     8/9/2012   10010   5050200002   1309   CR070612MACK                     EFT
RFC2    2000029098     JOHN E MACK         2,349.72   20543158   PCR070612MAC         7/6/2012   090213    8/30/2012   10010   5050200002   1309                                    EFT
RFC2    2000029098     JOHN E MACK        17,499.99   20543408   09012012             9/1/2012   090218     9/6/2012   10010   5050200002   1309   Sept Director Pmt                EFT
RFC2    2000029098     JOHN E MACK        17,499.99   20543713   10012012            10/1/2012   090248    10/4/2012   10010   5050200002   1309   October Director Fee Pmt         EFT
                                                                                                                                                                                                       Pg 87 of 385




                                                                                                                                                   Comp Pmt for 3Q Mtgs
RFC2    2000029098     JOHN E MACK        37,500.00   20543714   09282012            9/28/2012   090248    10/4/2012 10010     5050200002   1309                                    EFT
                                                                                                                                                   Attended
RFC2    2000029098     JOHN E MACK        17,499.99   20544175   11012012            11/1/2012   090280    11/8/2012   10010   5050200002   1309   November Dir Fee Payment         EFT
RFC2    2000029098     JOHN E MACK        17,499.99   20544539   12012012            12/1/2012   090310    12/6/2012   10010   5050200002   1309   Dec Director Fee Payment         EFT
RFC2    2000029098     JOHN E MACK        69,000.00   20544933   12212012           12/21/2012   090338   12/27/2012   10010   5050200002   1309   4Q Mtg Compensation Pmt          EFT
RFC2    2000029098     JOHN E MACK        17,499.99   20545051   01092013             1/9/2013   090358    1/17/2013   10010   5050200002   1309   January Director Comp. Pmt       EFT

Source: Spreadsheet, PAYMENT INFO BY VEND Number, John E. Mack [EXAM00294337].
                                                                                                                                                                                                 Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                     Appendix




                                                                             Appendix IV.B.1.d—3, Page 3 of 11
                                                                                       Appendix IV.B.1.d—3, Page 4 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
May 2009 – January 2013

                                                                                                           Check   Payment      GL                   Dept
Unit   Remit Vndr          Name            Amount         Voucher            Invoice       Invoice Date   Number     Date       Unit      Acct        ID                 Descr
RFC2    2000020838 PAMELA E WEST           10,833.33      20522900   5082009                   5/8/2009   733811    6/12/2009   10010   5050200002   1309 MAY 09 DIRECTOR PAYMENT
                                                                                                                                                          JUNE 2009 DIRECTOR
RFC2    2000020838 PAMELA E WEST           10,833.33      20522901   6082009                   6/8/2009   733811    6/12/2009   10010   5050200002   1309
                                                                                                                                                          PAYMENT
                                                                                                                                                                                                                12-12020-mg




RFC2    2000020838 PAMELA E WEST           10,833.33      20523457   7012009                   7/1/2009   87942     6/26/2009   10010   5050200002   1309 7/1/2009
RFC2    2000020838 PAMELA E WEST           10,833.33      20524655   08082009-WEST             8/8/2009   88086     7/31/2009   10010   5050200002   1309 8/1/2009
RFC2    2000020838 PAMELA E WEST           10,833.33      20526182   09082009-WEST             9/8/2009   88201     8/31/2009   10010   5050200002   1309 SEPT 09 DIRECTOR PAYMENT
                                                                                                                                                            OCTOBER 2009 DIRECTOR
RFC2    2000020838 PAMELA E WEST           10,833.33      20527623   9252009                 9/25/2009    88339     9/30/2009   10010   5050200002   1309
                                                                                                                                                            PYMT
RFC2    2000020838 PAMELA E WEST           10,833.33      20529334   11082009                11/8/2009    88499     11/6/2009   10010   5050200002   1309 NOV 2009 DIRECTOR PAYMENT
RFC2    2000020838 PAMELA E WEST           10,833.33      20530134   12082009-WEST           12/8/2009    88629     12/3/2009   10010   5050200002   1309 DEC 2009 PAYMENT
RFC2    2000020838 PAMELA E WEST           10,833.33      20531374   1082010                  1/8/2010    88754    12/29/2009   10010   5050200002   1309 01/08/2010 PAYMENT
                                                                                                                                                                                                                Doc 3698-36




RFC2    2000020838 PAMELA E WEST           10,833.33      20532099   2082010                  2/8/2010    88819     1/25/2010   10010   5050200002   1309 FEBRUARY DIRECTOR FEE
                                                                                                                                                          MARCH DIRECTOR FEE
RFC2    2000020838 PAMELA E WEST           10,833.33      20533144   3012010                   3/1/2010   88906     2/26/2010   10010   5050200002   1309
                                                                                                                                                          PAYMENT
                                                                                                                                                          APRIL DIRECTOR FEE
RFC2    2000020838 PAMELA E WEST           10,833.33      20534143   4012010                   4/1/2010   89001     3/31/2010   10010   5050200002   1309
                                                                                                                                                          PAYMENT
RFC2    2000020838 PAMELA E WEST          100,000.00      20534713   41310                   4/13/2010    89056     4/16/2010   10010   5050200002   1309 Independent Board Member Fee
                                                                                                                                                          MAY 2010 DIRECTOR FEE
RFC2    2000020838 PAMELA E WEST           10,833.33      20534992   4262010                 4/26/2010    89089     4/30/2010   10010   5050200002   1309
                                                                                                                                                          PAYMENT
RFC2    2000020838 PAMELA E WEST           10,833.33      20535809   6012010                   6/1/2010   89163     5/28/2010   10010   5050200002   1309 June Director Fee Payment
RFC2    2000020838 PAMELA E WEST           10,833.33      20536361   7012010                   7/1/2010   89243     6/30/2010   10010   5050200002   1309 July Director Fee Payment
RFC2    2000020838 PAMELA E WEST           10,833.33      20536857   8012010                   8/1/2010   89307     7/30/2010   10010   5050200002   1309 August Director Fee Payment
RFC2    2000020838 PAMELA E WEST           10,833.33      20537331   9012010                   9/1/2010   89365     8/27/2010   10010   5050200002   1309 September Director Fee Payment
                                                                                                                                                            OCTOBER DIRECTOR FEE
                                                                                                                                                                                                  Pg 88 of 385




RFC2    2000020838 PAMELA E WEST           10,833.33      20537764   10012010                10/1/2010    89416     9/30/2010   10010   5050200002   1309
                                                                                                                                                            PAYMENT
RFC2    2000020838   PAMELA E WEST         10,833.33      20538184   11012010                11/1/2010    89477    10/29/2010   10010   5050200002   1309   November Director Fee Payment
RFC2    2000020838   PAMELA E WEST         10,833.33      20538599   12/1/2010               12/1/2010    89535    11/30/2010   10010   5050200002   1309   December Director Fee Payment
RFC2    2000020838   PAMELA E WEST         11,666.67      20539014   1012011                  1/1/2011    89599      1/7/2011   10010   5050200002   1309   January 2011 Director Payment
RFC2    2000020838   PAMELA E WEST         12,500.00      20539375   2012011                  2/1/2011    89646      2/4/2011   10010   5050200002   1309   February Director Fee Payment
RFC2    2000020838   PAMELA E WEST            833.33      20539412   20411                    2/4/2011    89654     2/11/2011   10010   5050700001   1309   INDEPENDENT DIRECTOR.
RFC2    2000020838   PAMELA E WEST         12,500.00      20539664   3012011                  3/1/2011    89687      3/4/2011   10010   5050200002   1309   March Director Fee Payment
RFC2    2000020838   PAMELA E WEST         12,500.00      20540044   4012011                  4/1/2011    89725      4/8/2011   10010   5050200002   1309   April Director Fee Payment
RFC2    2000020838   PAMELA E WEST          9,000.00      20540192   41411                   4/14/2011    89750     4/22/2011   10010   5050700001   1309   First Qtr 2011 Director Comp
RFC2    2000020838   PAMELA E WEST         12,500.00      20540300   5022011                  5/2/2011    89773      5/6/2011   10010   5050200002   1309   May Director Fee Payment
RFC2    2000020838   PAMELA E WEST         12,500.00      20540563   6012011                  6/1/2011    89808      6/3/2011   10010   5050200002   1309   June Director Payment
RFC2    2000020838   PAMELA E WEST         12,500.00      20540756   7012011                  7/1/2011    89843      7/8/2011   10010   5050200002   1309   July Director Fee Payment
RFC2    2000020838   PAMELA E WEST         12,500.00      20540921   8012011                  8/1/2011    89875      8/5/2011   10010   5050200002   1309   August Director Fee Payment
RFC2    2000020838   PAMELA E WEST          3,000.00      20540924   7272011                 7/27/2011    89875      8/5/2011   10010   5050200002   1309   ResCap Director Comp Q1
RFC2    2000020838 PAMELA E WEST           12,500.00      20541114   9012011                   9/1/2011   89915      9/2/2011   10010   5050200002   1309 September Director Fee Payment
                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




RFC2    2000020838 PAMELA E WEST           12,500.00      20541277   10012011                10/1/2011    89945     10/7/2011   10010   5050200002   1309 October Director Fee Payment
RFC2    2000020838 PAMELA E WEST           12,500.00      20541447   11012011                11/1/2011    89972     11/4/2011   10010   5050200002   1309 November Director Fee Payment
RFC2    2000020838 PAMELA E WEST           13,000.00      20541584   Q3 Dir Comp            11/22/2011    89986    11/25/2011   10010    586041001   1309 Rescap Dir Comp - Q3 2011
                                                                                                                                                                                                                Appendix




                                                                                       Appendix IV.B.1.d—3, Page 4 of 11
                                                                                           Appendix IV.B.1.d—3, Page 5 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
May 2009 – January 2013

                                                                                                                Check   Payment      GL                   Dept
Unit    Remit Vndr            Name              Amount          Voucher            Invoice      Invoice Date   Number     Date       Unit      Acct        ID                  Descr
                                                                            Dec 2011 Director
RFC2     2000020838 PAMELA E WEST                12,500.00      20541617                          12/1/2011     89990    12/2/2011   10010   5050200002   1309 December Director Fee Paymnet
                                                                            Fees
RFC2     2000020838   PAMELA E WEST              60,000.00      20541892    1052012                1/5/2012     90018    1/13/2012   10010   5050700001   1309   Pay Adj for base comp for 2011
RFC2     2000020838   PAMELA E WEST              51,500.00      20542024    1122012               1/12/2012     90027    1/20/2012   10010    586041001   1309   Dir Pmt - 2011 Mtg Adj
                                                                                                                                                                                                                      12-12020-mg




RFC2     2000020838   PAMELA E WEST              17,500.00      20542028    Jan 2012 Dir Pmt      1/12/2012     90027    1/20/2012   10010    586041001   1309   Jan 2012 Dir Payment
RFC2     2000020838   PAMELA E WEST              17,500.00      20542096    2012012                2/1/2012     90037     2/3/2012   10010    586041001   1309   Feb 2012 Dir Fee Pmt
RFC2     2000020838   PAMELA E WEST              17,500.00      20542362    3012012                3/1/2012     90062     3/2/2012   10010    586041001   1309   March Director Fee Payment
RFC2     2000020838   PAMELA E WEST              17,500.00      20542578    4032012                4/3/2012     90096     4/5/2012   10010   5050200002   1309   April Director Fee Payment
RFC2     2000020838   PAMELA E WEST              28,500.00      20542665    Q1 Meeting Comp       3/28/2012     90112    4/19/2012   10010   5050200002   1309   Q1 Dir Mtg Compensation
RFC2     2000020838   PAMELA E WEST              17,500.00      20542771    May Dir Payment        5/1/2012     90129     5/3/2012   10010   5050200002   1309   May Director Payment Fee
RFC2     2000020838   PAMELA E WEST              24,000.00      20542833    5112012               5/11/2012    WIR0MT    5/13/2012   10010   5050200002   1309
RFC2     2000020838   PAMELA E WEST              17,500.00      20542851    6012012                6/1/2012     90147    6/15/2012   10010   5050200002   1309   June Director Fee Payment
                                                                            7022012 JUL DIR
RFC2     2000020838 PAMELA E WEST                17,500.00      20543010                            7/2/2012    90160     7/6/2012   10010   5050200002   1309 JULY DIRECTOR FEE PMT
                                                                            PMT
                                                                                                                                                                                                                      Doc 3698-36




RFC2     2000020838 PAMELA E WEST                 4,500.00      20543056    7062012                 7/6/2012    90170    7/19/2012   10010   5050200002   1309 Q2 Comp for Mtgs Attended
RFC2     2000020838 PAMELA E WEST                18,833.33      20543149    8012012                 8/1/2012    90184     8/2/2012   10010   5050200002   1309 Aug Director Fee Payment
RFC2     2000020838 PAMELA E WEST                 2,158.46      20543157    CR070612WEST            7/6/2012    90190     8/9/2012   10010   5050200002   1309 CR070612WEST
                                                                                                                                                               ORDINARY VENDOR - DO NOT
RFC2     2000020838 PAMELA E WEST                 1,174.86      20543159    PCR070612WEST           7/6/2012    90212    8/30/2012   10010   5050200002   1309
                                                                                                                                                               PAY
RFC2     2000020838 PAMELA E WEST                18,333.33      20543407    9012012                9/1/2012     90216     9/6/2012   10010   5050200002   1309 Sept Director Payment
RFC2     2000020838 PAMELA E WEST                18,333.33      20543712    10012012              10/1/2012     90241    10/4/2012   10010   5050200002   1309 October Director Fee Pmt
RFC2     2000020838 PAMELA E WEST                24,000.00      20543715    9282012               9/28/2012     90241    10/4/2012   10010   5050200002   1309 Comp Pmt for 3Q Mtgs Attended
RFC2     2000020838 PAMELA E WEST                18,333.33      20544174    11012012              11/1/2012     90277    11/8/2012   10010   5050200002   1309 November Dir Fee Payment
RFC2     2000020838 PAMELA E WEST                18,333.33      20544538    12012012              12/1/2012     90306    12/6/2012   10010   5050200002   1309 Dec Director Fee Payment
RFC2     2000020838 PAMELA E WEST                54,000.00      20544931    12212012             12/21/2012     90336   12/27/2012   10010   5050200002   1309 4Q Mtgs Attended Comp

Source: Spreadsheet reflecting payments to Pamela E. West [EXAM00294341].
                                                                                                                                                                                                        Pg 89 of 385
                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                      Appendix




                                                                                            Appendix IV.B.1.d—3, Page 5 of 11
                                                                            Appendix IV.B.1.d—3, Page 6 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
May 2009 – January 2013

                                                                                   Invoice      Check   Payment       GL                  Dept
Unit   Remit Vndr       Name            Amount     Voucher        Invoice           Date       Number     Date       Unit       Acct       ID               Descr
RFC2   2000020838   PAMELA E WEST        501.40    20523458   6222009              6/22/2009    87942    6/26/2009   10010   5050200002   1309   EXPENSES
RFC2   2000020838   PAMELA E WEST        745.06    20527259   91009                9/10/2009    88280    9/18/2009   10010   5050200002   1309   PAM WEST EXPENSES
RFC2   2000020838   PAMELA E WEST        868.40    20527608   91809                9/18/2009    88312    9/25/2009   10010   5050200002   1309   PAM WEST EXPENSES
                                                                                                                                                                                                 12-12020-mg




RFC2   2000020838   PAMELA E WEST        582.54    20530136   11182009            11/18/2009    88598   11/30/2009   10010   5050200002   1309   EXPENSES
RFC2   2000020838   PAMELA E WEST        197.90    20534068   32510                3/25/2010    88988    3/26/2010   10010   5050700001   1118   P.WEST DIR.EXP-NJ
RFC2   2000020838   PAMELA E WEST         40.00    20534068   32510                3/25/2010    88988    3/26/2010   10010   5050700004   1118   P.WEST DIR.EXP-NJ
RFC2   2000020838   PAMELA E WEST         16.00    20534068   32510                3/25/2010    88988    3/26/2010   10010   5050700005   1118   P.WEST DIR.EXP-NJ
RFC2   2000020838   PAMELA E WEST         36.57    20534068   32510                3/25/2010    88988    3/26/2010   10010   5050700007   1118   P.WEST DIR.EXP-NJ
                                                                                                                                                 PAMELA WEST BOARD
RFC2   2000020838   PAMELA E WEST         337.90   20537433   6042010               6/4/2010   89377      9/3/2010   10010   5050700001   1309
                                                                                                                                                 MEETING.
                                                                                                                                                 PAMELA WEST BOARD
RFC2   2000020838   PAMELA E WEST          68.00   20537433   6042010               6/4/2010   89377      9/3/2010   10010   5050700004   1309
                                                                                                                                                                                                 Doc 3698-36




                                                                                                                                                 MEETING.
                                                                                                                                                 PAMELA WEST BOARD
RFC2   2000020838   PAMELA E WEST          27.00   20537433   6042010               6/4/2010   89377      9/3/2010   10010   5050700005   1309
                                                                                                                                                 MEETING.
                                                                                                                                                 PAMELA WEST BOARD
RFC2   2000020838   PAMELA E WEST         552.00   20537433   6042010               6/4/2010   89377      9/3/2010   10010   5050700006   1309
                                                                                                                                                 MEETING.
RFC2   2000020838   PAMELA E WEST         715.80   20540923   7292011              7/29/2011   89875      8/5/2011   10010   5050700001   1309   Travel Expenses for Mtg
                                                                                                                                                 BOARD MEETING
RFC2   2000020838   PAMELA E WEST       1,917.10   20541285   100311               10/3/2011   89945     10/7/2011   10010   5050700001   1309
                                                                                                                                                 EXPENCE 09-14 TO
                                                                                                                                                 EXPENSE PAYMENT FOR
RFC2   2000020838   PAMELA E WEST       1,236.14   20541824   121511              12/15/2011   90007    12/30/2011   10010   5050700001   1309
                                                                                                                                                 TRAVEL TO
                                                                                                                                                 TRAVEL TO BOARD
RFC2   2000020838   PAMELA E WEST         797.90   20541888   10312                 1/3/2012   90018     1/13/2012   10010   5050700001   1309
                                                                                                                                                 MEETING
                                                                                                                                                                                   Pg 90 of 385




                                                                                                                                                 TRAVEL TO BOARD
RFC2   2000020838   PAMELA E WEST          16.00   20541888   10312                 1/3/2012   90018     1/13/2012   10010   5050700005   1309
                                                                                                                                                 MEETING
RFC2   2000020838   PAMELA E WEST         178.10   20542066   11912                1/19/2012   740435    1/27/2012   10010   5050700001   1309
RFC2   2000020838   PAMELA E WEST          16.00   20542066   11912                1/19/2012   740435    1/27/2012   10010   5050700005   1309
RFC2   2000020838   PAMELA E WEST          21.60   20542066   11912                1/19/2012   740435    1/27/2012   10010   5050700007   1309
RFC2   2000020838   PAMELA E WEST          35.00   20542066   11912                1/19/2012   740435    1/27/2012   10010   5050700004   1309
                                                                                                                                                 CCOC COMMITTE
RFC2   2000020838   PAMELA E WEST         408.10   20542237   20912                 2/9/2012   90051     2/17/2012   10010   5050700001   1309
                                                                                                                                                 MEETING-1/25/12
                                                                                                                                                 CCOC COMMITTE
RFC2   2000020838   PAMELA E WEST          35.00   20542237   20912                 2/9/2012   90051     2/17/2012   10010   5050700005   1309
                                                                                                                                                 MEETING-1/25/12
                                                                                                                                                 CCOC COMMITTE
RFC2   2000020838   PAMELA E WEST         378.43   20542237   20912                 2/9/2012   90051     2/17/2012   10010   5050700006   1309
                                                                                                                                                 MEETING-1/25/12
                                                                                                                                                 CCOC COMMITTE
RFC2   2000020838   PAMELA E WEST          36.00   20542237   20912                 2/9/2012   90051     2/17/2012   10010   5050700004   1309
                                                                                                                                                 MEETING-1/25/12
                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




                                                              2-24-12 Travel
RFC2   2000020838   PAMELA E WEST         474.10   20542405                         3/1/2012   90067      3/9/2012   10010   5050700001   1309   NY Travel Expense 2-24-12
                                                              Expense
                                                              2-24-12 Travel
RFC2   2000020838   PAMELA E WEST          32.00   20542405                         3/1/2012   90067      3/9/2012   10010   5050700005   1309   NY Travel Expense 2-24-12
                                                              Expense
                                                              2-24-12 Travel
RFC2   2000020838   PAMELA E WEST         323.65   20542405                         3/1/2012   90067      3/9/2012   10010   5050700006   1309   NY Travel Expense 2-24-12
                                                              Expense
                                                              2-24-12 Travel
RFC2   2000020838   PAMELA E WEST          35.00   20542405                         3/1/2012   90067      3/9/2012   10010   5050700004   1309   NY Travel Expense 2-24-12
                                                                                                                                                                                                 Appendix




                                                              Expense
                                                              2-24-12 Travel
RFC2   2000020838   PAMELA E WEST          21.00   20542405                         3/1/2012   90067      3/9/2012   10010   5050700007   1309   NY Travel Expense 2-24-12
                                                              Expense


                                                                               Appendix IV.B.1.d—3, Page 6 of 11
                                                                           Appendix IV.B.1.d—3, Page 7 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
May 2009 – January 2013

                                                                                Invoice      Check   Payment      GL                   Dept
Unit   Remit Vndr         Name          Amount     Voucher         Invoice       Date       Number     Date       Unit      Acct        ID               Descr
                                                              3/8/12 Travel
RFC2   2000020838   PAMELA E WEST         828.86   20542501                     3/15/2012   90081     3/22/2012   10010   5050700001   1309   3/8/12 CCOC & Bd Mtg
                                                              Exp
                                                              Travel Exp-NY                                                                   Travel Exp - NY BD Mtg
                                                                                                                                                                                                12-12020-mg




RFC2   2000020838   PAMELA E WEST         358.10   20542550                     3/26/2012   90090     3/30/2012   10010   5050700001   1309
                                                              3/23/12                                                                         3/23
                                                              Travel Exp-NY                                                                   Travel Exp - NY BD Mtg
RFC2   2000020838   PAMELA E WEST          16.00   20542550                     3/26/2012   90090     3/30/2012   10010   5050700005   1309
                                                              3/23/12                                                                         3/23
                                                              Travel Exp-NY                                                                   Travel Exp - NY BD Mtg
RFC2   2000020838   PAMELA E WEST          72.00   20542550                     3/26/2012   90090     3/30/2012   10010   5050700004   1309
                                                              3/23/12                                                                         3/23
                                                              4/9/12 Travel
RFC2   2000020838   PAMELA E WEST         480.10   20542664                     4/12/2012   90112     4/19/2012   10010   5050700001   1309   4/9/12 Travel Expense
                                                              Exp
                                                              4/9/12 Travel
RFC2   2000020838   PAMELA E WEST          16.00   20542664                     4/12/2012   90112     4/19/2012   10010   5050700005   1309   4/9/12 Travel Expense
                                                                                                                                                                                                Doc 3698-36




                                                              Exp
                                                              4/9/12 Travel
RFC2   2000020838   PAMELA E WEST          74.00   20542664                     4/12/2012   90112     4/19/2012   10010   5050700004   1309   4/9/12 Travel Expense
                                                              Exp
                                                              05082012
RFC2   2000020838   PAMELA E WEST         735.75   20542816                      5/8/2012   90142      5/9/2012   10010   5050700001   1309   Estimated Travel Expenses
                                                              Expenses
RFC2   2000020838   PAMELA E WEST       1,055.20   20543369   8272012           8/27/2012   90212     8/30/2012   10010   5050700001   1309   Travel Expenses
RFC2   2000020838   PAMELA E WEST         144.00   20543369   8272012           8/27/2012   90212     8/30/2012   10010   5050700005   1309   Travel Expenses
RFC2   2000020838   PAMELA E WEST         461.35   20543369   8272012           8/27/2012   90212     8/30/2012   10010   5050700006   1309   Travel Expenses
RFC2   2000020838   PAMELA E WEST          53.36   20543369   8272012           8/27/2012   90212     8/30/2012   10010   5050700007   1309   Travel Expenses
                                                              Travel 10/22 -
RFC2   2000020838   PAMELA E WEST         165.09   20544279                     11/7/2012   90288    11/15/2012   10010   5050700001   1309   Travel Exp 10/22 - 10/26
                                                              10/26
                                                              Travel 10/22 -
RFC2   2000020838   PAMELA E WEST          85.00   20544279                     11/7/2012   90288    11/15/2012   10010   5050700005   1309   Travel Exp 10/22 - 10/26
                                                                                                                                                                                  Pg 91 of 385




                                                              10/26
                                                              Travel 10/22 -
RFC2   2000020838   PAMELA E WEST          70.00   20544279                     11/7/2012   90288    11/15/2012   10010   5050700004   1309   Travel Exp 10/22 - 10/26
                                                              10/26
                                                              Travel 10/22 -
RFC2   2000020838   PAMELA E WEST       2,330.83   20544279                     11/7/2012   90288    11/15/2012   10010   5050700006   1309   Travel Exp 10/22 - 10/26
                                                              10/26
                                                              Travel 10/22 -
RFC2   2000020838   PAMELA E WEST         100.67   20544279                     11/7/2012   90288    11/15/2012   10010    581010014   1309   Travel Exp 10/22 - 10/26
                                                              10/26
RFC2   2000020838   PAMELA E WEST         175.00   20544540   11/26/2012       11/26/2012   90306     12/6/2012   10010   5050700001   1309   Expenses for NYC trip 11/14

RFC2   2000020838   PAMELA E WEST          16.00   20544540   11/26/2012       11/26/2012   90306     12/6/2012   10010   5050700005   1309   Expenses for NYC trip 11/14

RFC2   2000020838   PAMELA E WEST         576.11   20544540   11/26/2012       11/26/2012   90306     12/6/2012   10010   5050700006   1309   Expenses for NYC trip 11/14

RFC2   2000020838   PAMELA E WEST          37.00   20544540   11/26/2012       11/26/2012   90306     12/6/2012   10010   5050700004   1309   Expenses for NYC trip 11/14
                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




RFC2   2000020838   PAMELA E WEST         356.10   20545016   1022013            1/2/2013   90350     1/10/2013   10010   5050700001   1309   Travel Exp 12/13 - 12/14/12

RFC2   2000020838   PAMELA E WEST          95.00   20545016   1022013            1/2/2013   90350     1/10/2013   10010   5050700004   1309   Travel Exp 12/13 - 12/14/12

RFC2   2000020838   PAMELA E WEST         576.11   20545016   1022013            1/2/2013   90350     1/10/2013   10010   5050700006   1309   Travel Exp 12/13 - 12/14/12
                                                                                                                                                                                                Appendix




RFC2   2000020838   PAMELA E WEST          19.00   20545016   1022013            1/2/2013   90350     1/10/2013   10010   5050700006   1309   Travel Exp 12/13 - 12/14/12




                                                                           Appendix IV.B.1.d—3, Page 7 of 11
                                                                                      Appendix IV.B.1.d—3, Page 8 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
May 2009 – January 2013

                                                                                          Invoice      Check   Payment      GL                   Dept
Unit    Remit Vndr           Name            Amount      Voucher            Invoice        Date       Number     Date       Unit      Acct        ID               Descr

RFC2    2000020838     PAMELA E WEST           313.10    20545017    01022013A             1/2/2013   90350     1/10/2013   10010   5050700001   1309   Travel Exp 12/17 - 12/18/12
                                                                                                                                                                                                          12-12020-mg




RFC2    2000020838     PAMELA E WEST            45.00    20545017    01022013A             1/2/2013   90350     1/10/2013   10010   5050700004   1309   Travel Exp 12/17 - 12/18/12

RFC2    2000020838     PAMELA E WEST           275.45    20545017    01022013A             1/2/2013   90350     1/10/2013   10010   5050700006   1309   Travel Exp 12/17 - 12/18/12

RFC2    2000020838     PAMELA E WEST            34.00    20545017    01022013A             1/2/2013   90350     1/10/2013   10010   5050700005   1309   Travel Exp 12/17 - 12/18/12


Source: Spreadsheet reflecting payments to Pamela E. West [EXAM00294341].
                                                                                                                                                                                                          Doc 3698-36
                                                                                                                                                                                            Pg 92 of 385
                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                          Appendix




                                                                                      Appendix IV.B.1.d—3, Page 8 of 11
                                                                                 Appendix IV.B.1.d—3, Page 9 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
June 2008 – January 2013
                                                                                   Invoice      Check   Payment    GL                   Dept
 Unit    Remit Vndr          Name             Amount      Voucher     Invoice       Date       Number     Date     Unit       Acct       ID                 Descr           Type

RFC2     2000020241   EDWARD F. SMITH III         35.00   20500853   060108        6/25/2008   085485    6/26/2008 10010   5050200002   1309   JUNE 2008 BANK FEE         EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20500854   070107        6/25/2008   085485    6/26/2008 10010   5050200002   1309   JULY 2008 PAYMENT          EFT
                                                                                                                                                                                                       12-12020-mg




RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20503044   072408        7/24/2008   086042    7/29/2008 10010   5050200002   1309   AUGUST 2008 PAYMENT        EFT
                                                                                                                                               BOARD MEMBER AUTO
RFC2     2000020241   EDWARD F. SMITH III     20,841.94   20504310   75716         7/31/2008   086268    8/15/2008 10010   5020600008   7000                              EFT
                                                                                                                                               ALLOWANCE
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20505676   090108        8/18/2008   086472     9/8/2008 10010   5050200002   1309   SEPTEMBER 2008 PAYMENT     EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20507210   100108        9/24/2008   086590    9/26/2008 10010   5050200002   1309   OCTOBER 2008 PAYMENT       EFT
                                                                                                                                                                                                       Doc 3698-36




RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20508920   110108       10/20/2008   086737   10/24/2008 10010   5050200002   1309   NOV 2008 PAYMENT           EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20511941   120108       11/24/2008   086929   11/26/2008 10010   5050200002   1309   DECEMBER 2008 PAYMENT      EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20513594   12182008-    12/18/2008   087104   12/29/2008 10010   5050200002   1309   DEC 2008 PAYMENT           EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20516145   01012009       1/1/2009   731664     2/5/2009 10010   5050200002   1309   JAN 2009 PAYMENT           CHK

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20516146   02012009       2/1/2009   731664     2/5/2009 10010   5050200002   1309   FEB 2009 PAYMENT           CHK

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20516976   030109        2/18/2009   087345    2/20/2009 10010   5050200002   1309   MARCH 2009 PAYMENT         EFT

RFC2     2000020241   EDWARD F. SMITH III    110,000.00   20518916   031809        3/18/2009   087493    3/27/2009 10010   5050200002   1309   APRIL 2009 PAYMENT         EFT
                                                                                                                                                                                         Pg 93 of 385




RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20520425   04212009      4/21/2009   087656    4/24/2009 10010   5050200002   1309   May 2009 Payment           EFT
                                                                     05272009-
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20522170                 5/27/2009   087813    5/29/2009 10010   5050200002   1309   JUNE 2009 PAYMENT          EFT
                                                                     SMITH
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20523456   0701209        7/1/2009   087939    6/26/2009 10010   5050200002   1309   JULY 2009                  EFT
                                                                     08012009-
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20524656                  8/1/2009   088084    7/31/2009 10010   5050200002   1309   AUGUST 2009                EFT
                                                                     SMITH
                                                                     09012009-
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20526183                  9/1/2009   088198    8/31/2009 10010   5050200002   1309   SEPT 09 DIRECTOR PAYMENT   EFT
                                                                     SMITH
                                                                                                                                               OCT 2009 DIRECTOR
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20527624   09252009      9/25/2009   088336    9/30/2009 10010   5050200002   1309                              EFT
                                                                                                                                               PAYMENT
                                                                                                                                               NOV 2009 DIRECTOR
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20529335   11012009      11/1/2009   088498    11/6/2009 10010   5050200002   1309                              EFT
                                                                                                                                               PAYMENT
                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                     12012009-
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20530133                 12/1/2009   088595   11/30/2009 10010   5050200002   1309   DEC 2009 PAYMENT           EFT
                                                                     SMITH
                                                                     01012010-
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20531373                  1/1/2010   088750   12/29/2009 10010   5050200002   1309   01/01/2010 Payment         EFT
                                                                     SMITH
                                                                                                                                               FEBRUARY DIRECTOR FEE
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20532100   02012010       2/1/2010   088817    1/25/2010 10010   5050200002   1309                              EFT
                                                                                                                                               PAYMENT
                                                                                                                                               MARCH DIRECTOR FEE
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20533142   03012010       3/1/2010   088904    2/26/2010 10010   5050200002   1309                              EFT
                                                                                                                                               PAYMENT
                                                                                                                                                                                                       Appendix




RFC2     2000020241   EDWARD F. SMITH III    110,000.00   20534142   04012010       4/1/2010   089002    3/31/2010 10010   5050200002   1309   APRIL DIRECTOR PAYMENT     EFT



                                                                                 Appendix IV.B.1.d—3, Page 9 of 11
                                                                                Appendix IV.B.1.d—3, Page 10 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
June 2008 – January 2013
                                                                                  Invoice      Check   Payment    GL                   Dept
 Unit    Remit Vndr          Name             Amount      Voucher     Invoice      Date       Number     Date     Unit       Acct       ID              Descr                    Type
                                                                                                                                              MAY DIRECTOR FEE
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20534993   04262010     4/26/2010   089088    4/30/2010 10010   5050200002   1309                                    EFT
                                                                                                                                              PAYMENT
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20535798   06012010      6/1/2010   089161    5/28/2010 10010   5050200002   1309   June Director Fee Payment        EFT
                                                                                                                                                                                                            12-12020-mg




RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20536362   07012010      7/1/2010   089242    6/30/2010 10010   5050200002   1309   July Director Fee Payment        EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20536870   08012010      8/1/2010   089305    7/30/2010 10010   5050200002   1309   August Director Fee Payment      EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20537330   09012010      9/1/2010   089363    8/27/2010 10010   5050200002   1309   September Director Fee Payment   EFT
                                                                                                                                              OCTOBER DIRECTOR FEE
RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20537765   10012010     10/1/2010   089415    9/30/2010 10010   5050200002   1309                                    EFT
                                                                                                                                              PAYMENT
                                                                                                                                                                                                            Doc 3698-36




RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20538185   11012010     11/1/2010   089475   10/29/2010 10010   5050200002   1309   November Director Fee Payment    EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20538600   12012010     12/1/2010   089534   11/30/2010 10010   5050200002   1309   December Director Fee Payment    EFT

RFC2     2000020241   EDWARD F. SMITH III     10,000.00   20539013   01012011      1/1/2011   089598     1/7/2011 10010   5050200002   1309   January 2011 Director Payment    EFT

RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20539374   02012011      2/1/2011   089645     2/4/2011 10010   5050200002   1309   February Director Fee Payment    EFT

RFC2     2000020241   EDWARD F. SMITH III        833.33   20539413   020411        2/4/2011   089653    2/11/2011 10010   5050700001   1309   INDEPENDENT DIRECTOR.            EFT

RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20539663   03012011      3/1/2011   089686     3/4/2011 10010   5050200002   1309   March Director Fee Payment       EFT
                                                                                                                                              APRIL DIRECTOR FEE
RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20540042   04012011      4/1/2011   089724     4/8/2011 10010   5050200002   1309                                    EFT
                                                                                                                                                                                              Pg 94 of 385




                                                                                                                                              PAYMENT
RFC2     2000020241   EDWARD F. SMITH III      9,000.00   20540191   041411       4/14/2011   089749    4/22/2011 10010   5050700001   1309   First Qtr 2011 Director Comp     EFT

RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20540299   05022011      5/2/2011   089771     5/6/2011 10010   5050200002   1309   May Director Fee Payment         EFT

RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20540562   06012011      6/1/2011   089807     6/3/2011 10010   5050200002   1309   June Director Payment            EFT

RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20540755   07012011      7/1/2011   089841     7/8/2011 10010   5050200002   1309   July Director Fee Payment        EFT

RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20540920   08012011      8/1/2011   089874     8/5/2011 10010   5050200002   1309   August Director Fee Payment      EFT

RFC2     2000020241   EDWARD F. SMITH III      3,000.00   20540922   07272011     7/27/2011   089874     8/5/2011 10010   5050200002   1309   ResCap Director Comp Q1          EFT

RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20541113   09012011      9/1/2011   089914     9/2/2011 10010   5050200002   1309   September Director Fee Payment   EFT
                                                                                                                                                                                        Filed 05/13/13 Entered 05/13/13 17:08:13




RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20541276   10012011     10/1/2011   089944    10/7/2011 10010   5050200002   1309   October Director Fee Payment     EFT

RFC2     2000020241   EDWARD F. SMITH III     10,833.33   20541448   11012011     11/1/2011   089971    11/4/2011 10010   5050200002   1309   November Director Fee Payment    EFT
                                                                                                                                                                                                            Appendix




                                                                                Appendix IV.B.1.d—3, Page 10 of 11
                                                                                  Appendix IV.B.1.d—3, Page 11 of 11

Residential Capital, LLC
Independent Director Payment Information by VEND Number
June 2008 – January 2013
                                                                                    Invoice      Check   Payment    GL                   Dept
 Unit    Remit Vndr            Name             Amount      Voucher     Invoice      Date       Number     Date     Unit       Acct       ID                  Descr                 Type

                                                                       3RD QTR
RFC2     2000020241   EDWARD F. SMITH III       13,000.00   20541583               11/22/2011   089984   11/25/2011 10010   586041001    1309   Rescap Dir Com - Q3 2011         EFT
                                                                       COMP
                                                                       Dec 2011
                                                                                                                                                                                                                  12-12020-mg




RFC2     2000020241   EDWARD F. SMITH III       10,833.33   20541618   Dir Fee      12/1/2011   089989    12/2/2011 10010   5050200002   1309   Dec 2011 Director Fee Payment    EFT
                                                                       Pmt
RFC2     2000020241   EDWARD F. SMITH III       60,000.00   20541891   01052012      1/5/2012   090017    1/13/2012 10010   5050700001   1309   Pay Adj for base comp for 2011   EFT

RFC2     2000020241   EDWARD F. SMITH III       53,000.00   20542023   01122012     1/12/2012   090026    1/20/2012 10010   586041001    1309   Dir Pmt - 2011 Mtg Pay Adj       EFT
                                                                       Jan 2012
RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20542027                1/12/2012   090026    1/20/2012 10010   586041001    1309   Jan 2012 Director Payment        EFT
                                                                       Dir Pmt
                                                                                                                                                                                                                  Doc 3698-36




RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20542095   02012012      2/1/2012   090036     2/3/2012 10010   586041001    1309   Feb 2012 Director Fee Pmt        EFT

RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20542361   03012012      3/1/2012   090061     3/2/2012 10010   586041001    1309   March Director Fee Payment       EFT

RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20542577   04032012      4/3/2012   090095     4/5/2012 10010   5050200002   1309   April Director Fee Payment       EFT
                                                                       Q1 Mtg
RFC2     2000020241   EDWARD F. SMITH III       27,000.00   20542668                3/28/2012   090111    4/19/2012 10010   5050200001   1309   Q1 Dir Mtg Compensation          EFT
                                                                       Comp
                                                                       May Dir
RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20542770                 5/1/2012   090128     5/3/2012 10010   5050200002   1309   May Director Payment Fee         EFT
                                                                       Pmt
                                                                                                                                                                                 Wired from
RFC2     2000020241   EDWARD F. SMITH III       18,000.00   20542834   05112012     5/11/2012   WIR05A    5/13/2012 10010   5050200002   1309   BD COMM FEES                     Treasury
                                                                                                                                                                                 Cash Desk
                                                                                                                                                                                                    Pg 95 of 385




RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20542850   06012012      6/1/2012   090146    6/15/2012 10010   5050200002   1309   June Director Fee Payment        EFT
                                                                       7022012
RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20543011   JUL DIR       7/2/2012   090159     7/6/2012 10010   5050200002   1309   JULY DIRECTOR FEE PMT            EFT
                                                                       PMT
RFC2     2000020241   EDWARD F. SMITH III        6,000.00   20543058   07062012      7/6/2012   090169    7/19/2012 10010   5050200002   1309   Q2 Comp for Mtgs Attended        EFT

RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20543148   08012012      8/1/2012   090183     8/2/2012 10010   5050200002   1309   Aug Director Fee Payment         EFT

RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20543406   09012012      9/1/2012   090215     9/6/2012 10010   5050200002   1309   Sept Director Payment            EFT

RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20543711   10012012     10/1/2012   090240    10/4/2012 10010   5050200002   1309   October Director Fee Pmt         EFT

RFC2     2000020241   EDWARD F. SMITH III       16,500.00   20543717   09282012     9/28/2012   090240    10/4/2012 10010   5050200002   1309   Comp Pmt for 3Q Mtgs Attended    EFT
                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20544173   11012012     11/1/2012   090276    11/8/2012 10010   5050200002   1309   November Dir Fee Payment         EFT

RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20544537   12012012     12/1/2012   090305    12/6/2012 10010   5050200002   1309   Dec Director Fee Payment         EFT

RFC2     2000020241   EDWARD F. SMITH III       39,000.00   20544932   12212012    12/21/2012   090329   12/27/2012 10010   5050200002   1309   4Q Mtg Compensation Pmt          EFT

RFC2     2000020241   EDWARD F. SMITH III       15,833.33   20545049   01092013      1/9/2013   090354    1/17/2013 10010   5050200002   1309   January Director Comp. Pmt       EFT
                                                                                                                                                                                                                  Appendix




Source: Spreadsheet, PAYMENT INFO BY VEND Number, Edward F. Smith, III [EXAM00294352].



                                                                                  Appendix IV.B.1.d—3, Page 11 of 11
                                                                                     Appendix IV.B.1.d(8)—1, Page 1 of 1


Summary of Comparable Board of Director Compensation (1)
2006 – 2011


                                                                              Cash                Stock Awards             Option Awards              Other Compensation                   Total
                                                                        (2)
      Company Name/Date of Bankruptcy Filing or Sale           BY - 1              BY (3)     BY - 1 (2)   BY (3)       BY - 1 (2)   BY (3)         BY - 1 (2)    BY (3)         BY - 1 (2)      BY (3)
      Accredited Home Lenders Holding Co. (May 2009)                 N/A         $   73,500          N/A $    89,619           N/A $     9,200              N/A $         -             N/A $ 172,319
      Ambac Financial Group, Inc. (Nov. 2010)                 $   117,549           138,334   $ 114,125      170,000   $           -         -      $     8,435     18,805       $ 240,110        327,138
                                                                                                                                                                                                                                12-12020-mg




      BankUnited Financial Corporation (May 2009)                    N/A             65,298          N/A      13,216           N/A           -              N/A           -             N/A        78,514
      Capitol Bancorp, Ltd. (Aug. 2012)                            29,183            31,753              -         -        14,063           -            4,844       5,533          48,089        37,287
      Capmark Financial Group Inc. (Oct. 2009)                     55,000            58,636              -         -               -         -                 -          -          55,000        58,636
      CIT Group Inc. (Nov. 2009)                                   60,000            60,000       27,208      44,329        43,322     59,936                  -          -        130,530        164,265
      Colonial Bancgroup Inc. (Aug. 2009)                          26,970            36,001       29,457      21,560               -         -                 -          -          56,427        57,561
      Corus Financial Corporation (June 2010)                      90,088           109,550              -         -               -         -                 -      3,400          90,088       112,950
      Countrywide Financial Corp. (July 2008)                     105,750           147,349     265,199      269,867               -     1,074           53,628     54,511         424,577        472,800
      Delta Financial Corp. (Dec. 2010)                              N/A             50,000          N/A           -           N/A       2,993              N/A         273             N/A        53,266
      Guaranty Financial Group Inc. (Aug. 2009)                      N/A             79,313          N/A           -           N/A           -              N/A       4,125             N/A        83,438
                                                                                                                                                                                                                                Doc 3698-36




      HomeBanc Corp. (Aug. 2007)                                     N/A             83,373          N/A      42,863           N/A           -              N/A           -             N/A       126,236
      IndyMac Bancorp Inc. (July 2008)                            123,186           109,922       29,213      44,821        82,417     60,476             2,397       1,110        237,212        216,329
      LandAmerica Financial Group, Inc. (Nov. 2009)               106,719           104,206       77,519      71,849               -         -              888         806        185,126        176,861
      Lehman Brothers Holdings, Inc. (Sep. 2008)                  111,056           112,611     196,297      217,812        56,936     28,265             6,222       6,389        370,511        365,077
      Majestic Capital, Ltd. (Apr. 2011)                           77,857            83,338       24,305      25,000               -         -                 -          -        102,163        108,338
      PMI Group Inc. (Nov. 2011)                                   93,402            97,812       13,725      16,000        36,275     34,000                  -          -        143,402        147,812
      Residential Capital, LLC (May 2012)                         214,583           165,000              -         -               -         -                 -          -        214,583        165,000
      The Bear Stearns Companies, LLC (May 2008)                   76,250            83,667       72,188      82,677        75,313     69,752             2,406       2,056        226,156        238,151
      WMI Holdings Corp. (Sep. 2008)                               93,682            97,896       60,168      55,203        26,820     29,733             4,688       3,901        185,359        186,732

(1)
    Data represents the average compensation for the board's independent directors. Data excludes board members who resigned or were newly appointed.
(2)
    "BY - 1" = 1 fiscal year prior to the BY data.
(3)
                                                                                                                                                                                                                  Pg 96 of 385




    "BY" = most recent data available just prior to bankruptcy/sale.
Source: Information for comparable companies provided by Capital IQ and verified with each companies' annual filings and proxy statements; Spreadsheet, PAYMENT INFO BY VEND Number, Edward F. Smith, III
[EXAM00294352]; Spreadsheet, PAYMENT INFO BY VEND Number, Karin Hirtler-Garvey [EXAM00294334]; Spreadsheet reflecting payments to Pamela E. West [EXAM00294341]; Spreadsheet, PAYMENT INFO BY
VEND Number, Jonathan Ilany [EXAM00294335]; Spreadsheet, PAYMENT INFO BY VEND Number, John E. Mack [EXAM00294337].
                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                Appendix




                                                                                     Appendix IV.B.1.d(8)—1, Page 1 of 1
                                                                                                    Appendix IV.B.1.d(8)—2, Page 1 of 1

Director Compensation Benchmarking
2011 – 2012

2011 U.S. Director Compensation and Board Practices Report (1), (2), (3)

                                               Assets               Assets                Assets                 Assets             Financial
                                             < $1 billion      $1 – $9.9 Billion     $10 – $99 Billion       > $100 Billion         Services        ResCap 2012 (4)
   Cash retainer                             $ 40,000          $         32,500      $        50,000         $      77,500         $ 45,000         $    180,000
   Meeting fees                                  10,500                   8,250                  N/A                   N/A              6,200               1,500
   Committee chair fees                          14,908                  13,571               13,750                28,500             20,153              20,000
                                                                                                                                                                                                                                                                                12-12020-mg




   Committee member fees                           2,254                  5,006                3,667                10,400              6,443              10,000
   Stock/equity                                  37,800                  25,000               70,000               150,000             63,896                N/A
   Total compensation                        $ 104,000         $         80,500       $        158,340       $      240,000        $ 146,000         $      409,250

   (1)
       Amounts shown for compensation by asset size are median numbers.
   (2)
       Meeting fees shown are total annual compensation. The report did not include a per meeting fee.
   (3)
       Committee chairman and member fees shown are for audit committee fees.
   (4)
       ResCap's numbers reflect ResCap's 2012 compensation plan. The total compensation number is the median of the total compensation (rather than the average) shown on preceding charts paid to the four Independent Directors in 2012 (which includes
   the retroactive payment to the directors paid in 2012).
                                                                                                                                                                                                                                                                                Doc 3698-36




   Source: The Conference Board's 2011 U.S. Director Compensation and Board Practices Report. The report summarizes results of survey of 334 publicly-traded companies.



2012 Director Compensation Report (1), (2), (3)

                                              Small Cap            Mid Cap                Large Cap                                 Financial
                                            (< $1 Billion)     ($1 – $5 Billion)        (> $5 Billion)                              Services        ResCap 2012 (4)
   Cash retainer                             $ 40,000          $        50,000        $         75,000                             $ 50,000         $    180,000
   Meeting fees                                    1,500                 2,000                   2,000                                  1,500               1,500
   Committee chair fees                           15,000                20,000                  20,000                                 15,000              20,000
   Committee member fees                            N/A                    N/A                     N/A                                    N/A              10,000
   Stock/equity                                   56,780               100,000                130,000                                  70,000                N/A
   Total compensation                        $ 118,000         $        178,000       $        204,000                             $ 134,000         $      409,250
                                                                                                                                                                                                                                                                  Pg 97 of 385




   (1)
       All amounts shown are median numbers.
   (2)
       Meeting fees shown are per meeting and not total annual numbers.
   (3)
       Committee chairman fees shown are for audit committee fees.
   (4)
       ResCap's numbers reflect ResCap's 2012 compensation plan. The total compensation number is the median of the total compensation (rather than the average) shown on preceding charts paid to the four Independent Directors in 2012 (which includes
   the retroactive payment to the directors paid in 2012).
   Source: Frederic W. Cook & Co., Inc.'s 2012 Director Compensation Report. The report summarizes information on 240 publicly-traded companies.



2012 Spencer Stuart Board Index (1), (2)

                                                                                         S&P 500                                    Financial
                                                                                        Companies                                   Services        ResCap 2012 (3)
   Cash retainer                                                                      $      75,000                                $ 75,000         $    180,000
   Meeting fees                                                                               2,224                                       N/A               1,500
   Committee chair fees                                                                      13,035                                       N/A              20,000
                                                                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




   Committee member fees                                                                      8,189                                       N/A              10,000
   Stock/equity                                                                             122,479                                       N/A                N/A
   Total compensation                                                                 $        233,247                             $ 213,500         $      409,250

   (1)
       Amounts shown for cash retainer and total compensation are median numbers; amounts shown for all other categories are averages.
   (2)
       Meeting fees shown are per meeting and not total annual numbers.
   (3)
       ResCap's numbers reflect ResCap's 2012 compensation plan. The total compensation number is the median of the total compensation (rather than the average) shown on preceding charts paid to the four Independent Directors in 2012 (which includes
   the retroactive payment to the directors paid in 2012).
                                                                                                                                                                                                                                                                                Appendix




   Source: Spencer Stuart's 2012 Board Index. The report summarizes information on 485 companies listed on the S&P 500 Index.




                                                                                                     Appendix IV.B.1.d(8)—2, Page 1 of 1
                                                                                          Appendix IV.B.1.d(8)—3, Page 1 of 1


AFI and ResCap Independent Director Compensation (Comparison of Total Aggregate)
2008 – 2012

AFI

                                                                                                   (2)                     (3)
      Compensation Type                                               2008                  2009                    2010                     2011                    2012 (4), (5)
                      (1)
      Annual retainer                                          $         360,000      $          832,500      $          960,165      $       1,348,548       $       1,547,758
      Committee fees                                                      60,000                 263,750                 345,195                556,682                 712,093
                                                                                                                                                                                                                                                             12-12020-mg




      Meeting fees                                                             -                 300,750                 219,000                168,750                 162,500
      Supplemental compensation                                                -                       -                       -                      -                 165,000
      Total                                                   $          420,000      $        1,397,000      $        1,524,360      $       2,073,980       $       2,587,351

      Average annual compensation per director                $          140,000      $          200,875      $          283,445      $          296,283      $          314,060

(1)
    Annual retainers are prorated based on non-employee directors actual service on board and committees.
(2)
    In 2009, Duggan, Hirsch and Scully served as non-employee directors for approximately six months.
                                                                                                                                                                                                                                                             Doc 3698-36




(3)
    In 2010, Magner served as a non-employee director for approximately seven months; Stack served as a non-employee director for approximately nine months.
(4)
    In 2012, Miller and Greenwald served as non-employee directors for approximately five months.
(5)
    Beginning January 1, 2012, Stack received additional compensation for being a member of the GMAC Bank Board.
Source: Ally Financial Inc., Annual Report (Form 10-K) (Feb. 27, 2009), at 217; Ally Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2010), at 232–33; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 270; Ally
Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 250–52; Ally Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2013), at 223–25.



ResCap

                                                                                                                                                  (1)
      Compensation Type                                               2008                   2009                    2010                   2011                   2012 (2)
      Annual retainer                                          $         210,833      $         238,333       $         201,667       $         240,000       $        720,000
                                                                                                                                                                                                                                               Pg 98 of 385




      Committee fees                                                      39,167                 35,833                  27,500                  40,000                 73,000
      Meeting fees                                                             -                      -                       -                  50,000                565,500
      2011 true-up for 2012 comp plan – base                                   -                      -                       -                       -                165,000
      2011 true-up for 2012 comp plan – meeting fee                            -                      -                       -                       -                122,500
      Supplemental compensation                                          266,667                200,000                 200,000                       -                 10,000
      Expenses                                                            52,728                      -                       -                       -                      -
      Total                                                   $          569,394      $         474,167       $         429,167       $         330,000       $      1,656,000

                                                  (3)
      Average annual compensation per director                 $         230,000      $          230,000      $          214,583      $          165,000      $          414,000

(1)
    2011 base compensation was increased from $120,000 to 180,000 due to retroactive application of 2012 compensation plan. This true-up was paid in 2012.
(2)
    2012 compensation plan also removed the $25,000 cap on meeting fees retroactively for 2011. This true-up for additional meeting fees was paid in 2012.
(3)
    Annual compensation averages exclude directors who served partial years; the 2008 “average” reflects the 2008 payment arrangement because no Independent Director served a full year.
                                                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13




Source: Spreadsheet, PAYMENT INFO BY VEND Number, Edward F. Smith, III [EXAM00294352]; Spreadsheet, PAYMENT INFO BY VEND Number, Karin Hirtler-Garvey, [EXAM00294334]; Spreadsheet reflecting payments to Pamela
E. West [EXAM00294341]; Spreadsheet, PAYMENT INFO BY VEND Number, Jonathan Ilany [EXAM00294335]; Spreadsheet, PAYMENT INFO BY VEND Number, John E. Mack [EXAM00294337].
                                                                                                                                                                                                                                                             Appendix




                                                                                          Appendix IV.B.1.d(8)—3, Page 1 of 1
                                                                                                      Appendix IV.B.1.d(8)—4, Page 1 of 1


AFI and ResCap Independent Director Compensation (Comparison By Director)
2008 – 2012

AFI

      Independent Director                                   2008               2009 (1)              2010 (2)              2011                2012 (3), (4)
      Robert Scully                                    $       120,000      $       60,000                    N/A                 N/A                   N/A
      Douglas Hirsch                                           140,000              70,000                    N/A                 N/A                   N/A
      T.K. Duggan                                              160,000              80,000                    N/A                 N/A                   N/A
                                                                                                                                                                                                                                                                             12-12020-mg




      Robert Blakely                                              N/A              233,750        $      281,812       $       281,500      $      309,000
      Michael Carpenter                                           N/A              180,750                    N/A                 N/A                   N/A
      Mayree Clark                                                N/A              236,250               287,480               299,508             304,750
      Kim Fennebresque                                            N/A              231,000               243,124               242,000             276,000
      Franklin Hobbs                                              N/A              305,250               364,192               495,353             505,000
      Marjorie Magner                                             N/A                   N/A              158,532               272,124             274,250
      John Stack                                                  N/A                   N/A              189,220               291,655             489,750
      John Durrett                                                N/A                   N/A                   N/A              191,840             257,750
      Henry Miller                                                N/A                   N/A                   N/A                 N/A               85,001
                                                                                                                                                                                                                                                                             Doc 3698-36




      Gerald Greenwald                                            N/A                   N/A                   N/A                 N/A               85,850
      Total                                           $        420,000      $    1,397,000       $     1,524,360      $      2,073,980      $    2,587,351
      Average annual compensation per director        $        140,000      $       200,875      $        283,445     $        296,283      $       314,060


(1)
    In 2009, Duggan, Hirsch, and Scully served as non-employee directors for approximately six months.
(2)
    In 2010, Magner served as a non-employee director for approximately seven months; Stack served as a non-employee director for approximately nine months.
(3)
    In 2012, Miller and Greenwald served as non-employee directors for approximately five months.
(4)
    Beginning January 1, 2012, Stack received additional compensation for being a member of the GMAC Bank Board.
Source: Ally Financial Inc., Annual Report (Form 10-K) (Feb. 27, 2009), at 217; Ally Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2010), at 232–33; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 270; Ally Financial Inc.,
Annual Report (Form 10-K) (Feb. 28, 2012), at 250–52; Ally Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2013), at 223–25.
                                                                                                                                                                                                                                                               Pg 99 of 385




ResCap (1)

      Independent Director                                   2008                 2009                 2010                 2011                  2012
      Thomas Jacob (2)                                 $        80,000                 N/A                   N/A                  N/A                  N/A
      Thomas Melzer (2)                                         73,333                 N/A                   N/A                  N/A                  N/A
      Edward Smith                                             190,877      $       230,000       $       210,000      $       155,000      $       409,500
      Karin Hirtler-Garvey                                     225,184              146,667                  N/A                  N/A                  N/A
      Pamela West                                                 N/A                97,500               219,167              175,000              464,500
      Jonathan Ilany (3)                                          N/A                  N/A                   N/A                     -              373,000
      John Mack (3)                                               N/A                  N/A                   N/A                     -              409,000
      Total                                            $       569,394      $       474,167      $        429,167     $        330,000      $     1,656,000

      Average annual compensation per director (4)     $       230,000      $       230,000       $       214,583      $       165,000      $       414,000
                                                                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Compensation reported by year on cash basis.
(2)
    Jacob and Melzer 2008 compensation is extrapolated from cited sources.
(3)
    Note that Ilany and Mack each were paid $31,500 in January 2012 for their 2011 partial-year service on the ResCap Board
(4)
    Annual compensation averages exclude directors who served partial years; the 2008 “average” reflects the 2008 payment arrangement because no Independent Director served a full year
Source: Proposed 2008 Compensation Plan for ResCap Independent Directors, dated Jan. 31, 2008, at RC40007277 [RC40007261]; Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Feb. 1, 2008, at
RC40005653–54 [RC40005652]; Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential Capital, LLC, Mar. 25, 2008, at RC40006622 [RC40006611]; E-mail from T. Hamzehpour to R. Hull (Apr. 30,
2008) [EXAM20248306]; E-mail from C. Quenneville (May 23, 2008) [EXAM11234420]; Spreadsheet, PAYMENT INFO BY VEND Number, Edward F. Smith, III [EXAM00294352]; Spreadsheet, PAYMENT INFO BY VEND Number, Karin Hirtler-
Garvey, [EXAM00294334]; Spreadsheet reflecting payments to Pamela E. West [EXAM00294341]; Spreadsheet, PAYMENT INFO BY VEND Number, Jonathan Ilany [EXAM00294335]; Spreadsheet, PAYMENT INFO BY VEND Number, John E.
                                                                                                                                                                                                                                                                             Appendix




Mack [EXAM00294337].




                                                                                                      Appendix IV.B.1.d(8)—4, Page 1 of 1
                                                                                 Appendix IV.B.1.d(8)—5, Page 1 of 1


AFI and ResCap Independent Director Compensation (Comparison By Type)
2008 – 2012

AFI (1)

                                                                                                                                          (3)
Compensation Arrangement                                                              2008                  2009 (2)                2010                    2011                    2012 (4), (5)
Base compensation                                                              $         120,000       $        180,000       $         180,000       $        180,000       $180,000 – $200,000
                                                                                                                                                                                                                                         12-12020-mg




Committee member (audit)                                                                  20,000                  20,000                  20,000                   N/A                        N/A
Committee member (other)                                                                    N/A                   10,000                  10,000                 20,000                   20,000
Committee chair (audit)                                                                   40,000                  45,000                  45,000                   N/A                        N/A
Committee chair (other)                                                                     N/A                   25,000                  25,000                 50,000                   50,000
Meeting fee (per meeting)                                                                   N/A              750 – 1,500             750 – 1,500            750 – 1,500                    2,000
Chairman of the Board                                                                       N/A                 120,000                 120,000                250,000                   250,000
Supplemental compensation                                                                   N/A                      N/A                    N/A                    N/A                        N/A

(1)
                                                                                                                                                                                                                                         Doc 3698-36




    Annual retainers are prorated based on non-employee directors actual service on board and committees.
(2)
    In 2009, Duggan, Hirsch and Scully served as non-employee directors for approximately six months.
(3)
    In 2010, Magner served as a non-employee director for approximately seven months; Stack served as a non-employee director for approximately nine months.
(4)
    In 2012, Miller and Greenwald served as non-employee directors for approximately five months.
(5)
    Beginning January 1, 2012, Stack received additional compensation for being a member of the GMAC Bank Board.
Source: Ally Financial Inc., Annual Report (Form 10-K) (Feb. 27, 2009), at 217; Ally Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2010), at 232–33; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25,
2011), at 270; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 250–52; Ally Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2013), at 223–25.



ResCap
                                                                                                                                                                                                                          Pg 100 of 385




Compensation Arrangement                                                              2008                    2009                   2010                  2011 (1)                 2012 (2)
Base compensation                                                              $         110,000       $         110,000      $         110,000       $        120,000       $            180,000
Committee member (audit)                                                                  10,000                  10,000                 10,000                 10,000                      10,000
Committee member (other)                                                                    N/A                     N/A                    N/A                      N/A                     10,000
Committee chair (audit)                                                                   30,000                  30,000                 30,000                 30,000                      30,000
Committee chair (other)                                                                     N/A                     N/A                    N/A                      N/A                     20,000
Meeting fee (per meeting)                                                                   N/A                     N/A                    N/A                    1,500                      1,500
2011 true-up for 2012 comp plan - base compensation                                         N/A                     N/A                    N/A                      N/A                     60,000
2011 true-up for 2012 comp plan - meeting fee (per meeting)                                 N/A                     N/A                    N/A                      N/A                      1,500
                               (3)
Supplemental compensation                                                                 100,000                100,000                 100,000                    N/A                        N/A

(1)
    2011 base compensation was increased from $120,000 to 180,000 due to retroactive application of 2012 compensation plan. This true-up was paid in 2012.
                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
    2012 compensation plan also removed the $25,000 cap on meeting fees retroactively for 2011. This true-up for additional meeting fees was paid in 2012.
(3)
    Supplemental compensation of $100,000 was approved at the February 1, 2008 Board meeting.
Source: Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Feb. 1, 2008, at RC40005653–54 [RC40005652]; Karin Hirtler-Garvey—Independent Board Member payment schedule
[EXAM00294336]; Spreadsheet, PAYMENT INFO BY VEND Number, Edward F. Smith, III [EXAM00294352]; Spreadsheet reflecting payments to Pamela E. West [EXAM00294341]; E-mail from T. Hamzehpour to C.
Kollenberg (Dec. 3, 2010) [EXAM10357376]; E-mail from C. Kollenberg to T. Hamzehpour (Jan. 10, 2011) [EXAM20136494]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 27, 2011, at
RC40018421–22 [RC40018411]; Unanimous Written Consent of the Management Members of the Board of Directors of Residential Capital, LLC, dated Dec. 9, 2011, at RC40018728 [RC40018411]; Unanimous
                                                                                                                                                                                                                                         Appendix




Written Consent of the Management Members of the Board of Directors of Residential Capital, LLC, May 4, 2012 at RC40019214–18 [RC40019179].




                                                                                   Appendix IV.B.1.d(8)—5, Page 1 of 1
                                                                                                    Appendix IV.B.1.d(12), Page 1 of 1

Residential Capital, LLC
Officers Receiving AFI Equity Compensation (1), (2), (3), (4)
2006 – 2012

                                                                                                                                                       Compensation Amounts Per Year
Name                       ResCap Title                     Compensation Type                             2006                   2007                   2008                 2009                          2010                    2011                2012
Thomas Marano              CEO (7/08 – Present)             Salary (Cash)                                                                                               $ 2,419,231                   $      500,000          $      600,000       $     600,000
                                                            Equity (DSU)                                                                                                      135,885                      4,437,500               4,735,633           1,821,397
                                                            Equity (IRSU)                                                                                                     402,681                      2,468,750               2,667,816
                                                            Equity (RSU)                                                                                                    2,684,542                              -                       -
                                                                                                                                                                                                                                                                                       12-12020-mg




                                                            Deferred Cash                                                                                                            -                             -                       -           5,582,052
                                                            Other comp.                                                                                                        51,994                         26,785                  31,450              27,099
                                                                                                     $            -          $            -          $         -        $ 5,694,333                   $    7,433,035          $    8,034,899       $   8,030,548
Sanjiv Khattri             CFO (4/07 – 3/08)                Salary (Cash)                            $     406,250          $      700,000
                                                            Bonus                                                                  450,000
                                                            Stock awards                                   183,080                 145,000
                                                            Option awards                                   47,877                 260,453
                                                            Non-equity incentive plan comp.                228,400
                                                            Non-qualified deferred comp.
                                                                                                            70,900
                                                            Expense/change in pension value
                                                                                                                                                                                                                                                                                       Doc 3698-36




                                                            Other comp. (inc. $500K retention
                                                                                                            57,512               1,670,210
                                                            payment in 2007)
                                                                                                     $     994,019           $   3,225,663           $             -          $            -          $             -         $                -   $           -
James Jones                President & CEO (5/07            Salary (Cash)                                                                            $      570,433
                           – 8/08)
                                                            Bonus                                                                                                 -
                                                            Stock awards                                                                                   (165,272)
                                                            Option awards                                                                                  (102,258)
                                                            Non-qualified deferred comp.
                                                                                                                                                                   -
                                                            Expense/change in pension value
                                                            Other comp. (incl. severance of
                                                                                                                                                          2,411,787
                                                            $2.11M)
                                                                                                     $            -          $            -          $    2,714,690           $            -          $             -         $                -   $           -
                                                                                                                                                                                                                                                                        Pg 101 of 385




Bruce Paradis              EVP, Chairman & CEO              Salary (Cash)                            $     353,846
                           (9/04 – 6/07)
                                                            Bonus                                                 -
                                                            Stock awards                                          -
                                                            Option awards                                         -
                                                            Non-qualified deferred comp.
                                                                                                            69,900
                                                            Expense/change in pension value
                                                            Other comp.                                     33,759
                                                                                                     $     457,505           $            -          $             -          $            -          $             -         $                -   $           -
Michael Rossi              Chairman (9/07 – 3/08)           Salary (Cash)                                                    $     392,308
                                                            Bonus                                                                  900,000
                                                            Stock awards                                                           516,476
                                                            Option awards                                                          194,016
                                                            Non-qualified deferred comp.
                                                                                                                                          -
                                                            Expense/change in pension value
                                                            Other comp. (incl. equity tax-
                                                                                                                                 2,872,601
                                                            related payments of $2.02M)
                                                                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                                     $            -          $   4,875,401           $             -          $            -          $             -         $                -   $           -

(1)
    DSU = Deferred Stock Units.
(2)
    IRSU = Incentive Restrictive Stock Units.
(3)
    RSU = Restricted Stock Units
(4)
    Other compensation includes 401K match, life insurance, perquisites, etc.
Source: Ally Financial Inc., Annual Report (Form 10-K) (Mar. 13, 2007) at 137; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 27, 2008) at 153–54; Ally Financial Inc., Annual Report (Form 10-K) (Mar. 26, 2009) at 209–10; Ally
Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2010) at 215–28; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011) at 259–67; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012) at 235–48; Ally Financial Inc.,
                                                                                                                                                                                                                                                                                       Appendix




Annual Report (Form 10-K) (Mar. 1, 2013) at 218–23.




                                                                                                    Appendix IV.B.1.d(12), Page 1 of 1
                                                                                                  Appendix V.A.2.a, Page 1 of 4


Ally Bank Transactions: Reasonably Equivalent Value Summaries
($ in Millions)

                                                                                                                                       Appendix                                      Fair Market Value
2006 Bank Restructuring                                                                                                                Reference                       Low                                           High

Transfers from ResCap:
                                                                                                                                                                                                                                                                      12-12020-mg




      a) Equity value of Old GMAC Bank (non-marketable, controlling)                                                                 V.A.2.b, at 1              $         1,615.0                              $         1,900.0
      b) Capital contribution to IB Finance                                                                                                                                 360.0                                          360.0
        Total property transferred                                                                                                   V.A.2.b, at 1                        1,975.0                                        2,260.0
Value received by ResCap:
      a) Equity value of IB Finance Class M Shares (non-marketable, non-controlling)                                                 V.A.2.b, at 1                        1,442.0                                        1,652.0
      b) Cost savings to ResCap as a result of de-linking AFI’s credit rating from GM                                                V.A.2.b, at 1                          142.7                                          142.7
        Total property received                                                                                                                                 $         1,584.7                              $         1,794.7
                                                                           (1)
                                                                                                                                                                                                                                                                      Doc 3698-36




Value received by ResCap less value transferred from ResCap                                                                                                     $          (390.3)              to             $          (465.3)


2008 Bank Transaction

Transfers from ResCap:
      a) ResCap Preferred Interests                                                                                                                             $              -                               $              -
      b) Right to exchange ResCap Preferred Interests for IB Finance Preferred Interests                                             V.A.2.c, at 1                          571.4                                          714.2
        Total property transferred                                                                                                                                          571.4                                          714.2
Value received by ResCap:
      a) Contribution of bonds                                                                                                       V.A.2.c, at 1                          841.3                                          841.3
                                                                                                                                                                                                                                                       Pg 102 of 385




      b) Right to redeem IB Finance Preferred Interests                                                                                                                        -                                              -
        Total property received                                                                                                                                 $           841.3                              $           841.3

Value received by ResCap less value transferred from ResCap                                                                                                      $          269.9               to              $          127.1


2009 Bank Transaction

Transfers from ResCap:
      a) Remaining 1.2 million IB Finance Class M Shares (non-marketable, non-controlling)                                           V.A.2.d, at 1              $           106.5                              $           217.5
      b) Forfeited right to redeem IB Finance Preferred Interests                                                                                                              -                                              -
        Total property transferred                                                                                                                                          106.5                                          217.5
Value received by ResCap:
                                                                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13




      a) Contribution of bonds                                                                                                       V.A.2.d, at 1                          600.2                                          600.2
        Total property received                                                                                                                                 $           600.2                              $           600.2

Value received by ResCap less value transferred from ResCap                                                                                                      $          493.7               to              $          382.7


(1)
                                                                                                                                                                                                                                                                      Appendix




   The low end of the range of value for property transferred is paired with the low end of the range of value for property received (with a similar pairing of the respective high ends) in order to maintain consistency between the economic
assumptions associated with the respective ranges.
Source: Appendix V.A.2.b, at 1; Appendix V.A.2.c, at 1; Appendix V.A.2.d, at 1.


                                                                                                  Appendix V.A.2.a, Page 1 of 4
                                                                                                                         Appendix V.A.2.a, Page 2 of 4


Ally Bank Transactions: Reasonably Equivalent Value
Historical Financial Statements
Balance Sheets
2003 – 2008
($ in Thousands)


                                                                                                                                                                    Mortgage Bank
                                                                                                           Old GMAC Bank                                                                                       Mortgage Division of Ally Bank
                                                                                                                                                                                                                                                                                                     12-12020-mg




                                                                                   (1)                         (2)                         (2)                        (3)                          (4)                     (5)                    (5)                     (6)
                                                                     12/31/2003                  12/31/2004                  12/31/2005                  9/30/2006                   12/31/2006               12/31/2007              3/31/2008              12/31/2008
Assets
  Cash and cash equivalents                                      $             48,892        $             63,314        $             43,102        $              58,946       $            913,574     $        1,411,317      $        1,882,194     $        2,825,381
  Investment securities                                                        59,616                       9,972                      15,380                       14,887                     22,028                 27,598                  26,988                 25,150
  Accounts receivable                                                           9,247                      12,626                      32,727                                                  70,145                    -                       -                      -
  HFS mortgage loans, net                                                   1,555,304                   2,041,520                   2,676,496                                               1,079,501              2,345,985               2,293,238                882,754
       Finance receivables and loans
        HFI mortgage loans                                                    788,140                   1,232,354                   6,347,891                                             11,504,026              15,004,490              15,433,268             15,375,957
                                                                                                                                                                                                                                                                                                     Doc 3698-36




        Consumer finance receivables                                              -                           -                           -                                                      -                       -                    85,006                 89,723
        Commercial loans                                                          -                        48,225                     169,396                                                335,938                     -                       -                      -
        Warehouse lending                                                     180,764                     376,409                     214,786                                              1,023,183               1,181,663               1,409,408              1,440,670
        Allowance for credit losses                                            (2,007)                     (2,971)                     (7,108)                                               (23,760)                (55,866)                (82,402)              (363,714)
       Finance receivables and loans, net                                     966,897                   1,654,017                   6,724,965                 13,493,236                  12,839,387              16,130,287              16,845,280             16,542,636
   MSR's                                                                           -                           -                           -                           -                           -                 119,545                297,449                 418,628
   Property & equipment                                                          2,101                       2,454                       2,767                       2,537                       2,566
   FHLB stock                                                                                                                                                                                                        495,542                 512,947                496,090
   Other assets                                                                 4,487                      89,819                     249,024                    527,046                     440,844                  62,390                 206,978                823,128
Total Assets                                                     $          2,646,544        $          3,873,722        $          9,744,461        $        14,096,652         $        15,368,045      $       20,592,664      $       22,065,074     $       22,013,768

Liabilities
                                                                                                                                                                                                                                                                                      Pg 103 of 385




   Deposits                                                      $          1,302,521        $          1,707,383        $          4,215,512        $         6,307,725         $         5,974,386      $        6,687,197      $        9,836,455     $       10,600,537
   FHLB borrowings                                                            822,000                   1,507,000                   4,448,000                  6,224,998                   7,279,000              11,349,000               9,815,000              9,303,000
   Accrued expenses and other liabilities                                     205,852                     199,199                     372,164                    425,129                     526,760                 571,395                 412,243                285,760
Total Liabilities                                                           2,330,373                   3,413,582                   9,035,676                 12,957,852                  13,780,146              18,607,592              20,063,698             20,189,297

Stockholder's equity
   Common stock and paid-in capital                                           217,237                     270,423                     391,320                     657,049                   1,560,155              1,760,155               1,760,155              1,760,155
   Retained earnings                                                           98,934                     189,717                     317,519                     481,751                      27,804                225,212                 241,775                 65,723
   Accumulated other
    comprehensive income                                                          -                           -                           (54)                        -                           (60)                  (294)                   (553)                (1,406)
Total stockholder's equity                                                    316,171                     460,140                     708,785                   1,138,800                   1,587,899              1,985,073               2,001,377              1,824,472

Total liabilities and stockholder's equity                       $          2,646,544        $          3,873,722        $          9,744,461        $        14,096,652         $        15,368,045      $       20,592,664      $       22,065,074     $       22,013,768
                                                                                                                                                                                                                                                                                 Filed 05/13/13 Entered 05/13/13 17:08:13




Memo Items:
Stockholder's equity to total assets                                             11.9%                       11.9%                         7.3%                        8.1%                      10.3%                     9.6%                   9.1%                    8.3%

(1)
      GMAC Bank Financial Statements for the Years Ended December 31, 2004 and 2003, at 2, 11–12 [RC00035600].
(2)
      GMAC Bank Financial Statements for the Years Ended December 31, 2005 and 2004, at 1, 11–12 [EXAM00125849].
(3)
      September 30, 2006 GMAC Bank call report. The call report provided less detail than sources utilized for other periods in this schedule. HFS loans are included in finance receivables and loans.
(4)
                                                                                                                                                                                                                                                                                                     Appendix




      GMAC Bank Consolidated Financial Review, dated Jan. 25, 2007, at ALLY_PEO_0006846 [ALLY_PEO_0006664].
(5)
      GMAC Bank 2008 Mid-Year Forecast Variance vs. Business Plan Review, dated Aug. 20, 2008, at ALLY_PEO_0007258 [ALLY_PEO_0007227].
(6)
      GMAC Bank 2009-2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007939 [ALLY_PEO_0007887].



                                                                                                                         Appendix V.A.2.a, Page 2 of 4
                                                                                              Appendix V.A.2.a, Page 3 of 4


Ally Bank Transactions: Reasonably Equivalent Value
Historical Financial Statements
Income Statements
2003 – 2008
($ in Thousands)


                                                                                                                                            Mortgage Bank
                                                                                                                                                                                                                                                                 12-12020-mg




                                                                                                Old GMAC Bank                                                                Mortgage Division of Ally Bank
                                                                      12 months            12 months     12 months                                          12 months         12 months                                      12 months
                                                                        ended                ended         ended                        LTM                   ended             ended             LTM                          ended
                                                                  12/31/2003 (1)        12/31/2004 (2)       12/31/2005 (2)         9/30/2006 (3)       12/31/2006 (4)        12/31/2007 (5)        3/31/2008 (6)        12/31/2008 (7)
Revenue
  Total interest income                                           $      117,996       $       171,221       $      366,100       $       717,284       $      800,132       $     1,075,721       $    1,128,312        $     1,148,570
  Interest and discount expense                                           18,357                34,003              163,761               425,698              509,575               715,861              758,104                861,471
                                                                                                                                                                                                                                                                 Doc 3698-36




  Net financing revenue before provision for credit
  losses                                                                   99,639              137,218              202,339               291,586              290,557               359,860               370,208              287,099
   Gain (loss) on sale of loans                                           41,137                65,748               63,671                                        -                  49,731                32,362               (2,581)
   Origination fees                                                       30,045                19,892               24,837                                        -                  42,391                39,497               33,563
   Other income                                                            1,593                 8,978               21,560                                    178,228                49,618                50,850               87,792
   Total non–interest income                                              72,775                94,618              110,068               169,197              178,228               141,740               122,709              118,774
Total net revenue before provision for credit losses                     172,414               231,836              312,407               460,783              468,785               501,600               492,917              405,873

Provision for credit losses                                                 1,806                   877                5,306               10,606                16,748               85,486               112,697              524,254

Expenses
                                                                                                                                                                                                                                                  Pg 104 of 385




  Compensation and benefits expense                                        37,217               45,472                55,798               64,239               62,266                56,342                57,341               58,834
  Other operating expense                                                  26,533               29,631                33,214               62,648               48,767                51,881                53,566               64,412
  Total non-interest expense                                               63,750               75,103                89,012              126,887              111,033               108,223               110,907              123,246
  Income before income tax expense                                       106,858               155,856              218,089               323,290              341,004               307,891              269,313               (241,627)
  Income tax expense / (benefit)                                          44,815                65,073               90,287               121,465              125,470               110,484               97,388                (90,754)
Net income (loss)                                                 $       62,043       $        90,783       $      127,802       $       201,825       $      215,534       $       197,407       $      171,925       $       (150,873)


(1)
    GMAC Bank Financial Statements for the Years Ended December 31, 2004 and 2003, at 3 [RC00035600].
(2)
    GMAC Bank Financial Statements for the Years Ended December 31, 2005 and 2004, at 2 [EXAM00125849].
(3)
    See National Motors Bank FSB, FDIC, Call Report (Mar. 31, 2005); National Motors Bank FSB, FDIC, Call Report (June 30, 2005); National Motors Bank FSB, FDIC, Call Report (Sep. 30, 2005); National Motors Bank FSB, FDIC, Call Report
(Dec. 31, 2005); National Motors Bank FSB, FDIC, Call Report (Mar. 31, 2006); National Motors Bank FSB, FDIC, Call Report (June 30, 2006); National Motors Bank FSB, FDIC, Call Report (Sep. 30, 2006),
                                                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




http://www2.fdic.gov/idasp/confirmation_outside.asp?inCert1=35054.
(4)
    GMAC Bank Consolidated Financial Review, dated Jan. 25, 2007, at ALLY_PEO_0006859 [ALLY_PEO_0006664].
(5)
    GMAC Bank 2008 Mid-Year Forecast Variance vs. Business Plan Review, dated Aug. 20, 2008, at ALLY_PEO_0007259 [ALLY_PEO_0007227].
(6)
    See GMAC Bank 2007 4th - Quarter Forecast Variance vs. Business Plan Review, dated Nov. 20, 2007, at ALLY_PEO_0006201 [ALLY_PEO_0006161]; GMAC Bank 2008 Mid-Year Forecast Variance vs. Business Plan Review, dated Aug. 20, 2008,
at ALLY_PEO_0007259 [ALLY_PEO_0007227].
(7)
    GMAC Bank 2009-2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007940 [ALLY_PEO_0007887].
                                                                                                                                                                                                                                                                 Appendix




                                                                                              Appendix V.A.2.a, Page 3 of 4
                                                                                                                                                                         Appendix V.A.2.a, Page 4 of 4


Ally Bank Transactions: Reasonably Equivalent Value
HFI Delinquency Trends
April 2006 – February 2009

                                                D30+                         Non-Performing Assets

                                          10%
                                                                                                                                                                                                                                                                                                                                                                                                     12-12020-mg




                                          9%



                                          8%



                                          7%
                                                                                                                                                                                                                                                                                                                                                                                                     Doc 3698-36




                                          6%



                                          5%



                                          4%




      % of HFI Unpaid Principal Balance
                                                                                                                                                                                                                                                                                                                                                                                      Pg 105 of 385




                                          3%



                                          2%



                                          1%



                                          0%




                                                                               Jul-06
                                                                                                                                                                                             Jul-07
                                                                                                                                                                                                                                                                                                         Jul-08




                                                                                                                                     Jan-07
                                                                                                                                                                                                                                                   Jan-08
                                                                                                                                                                                                                                                                                                                                                               Jan-09




                                                                    Jun-06
                                                                                                                                                                                    Jun-07
                                                                                                                                                                                                                                                                                                Jun-08




                                                                                                          Oct-06
                                                                                                                                                                                                                        Oct-07
                                                                                                                                                                                                                                                                                                                                    Oct-08




                                                                                                 Sep-06
                                                                                                                                              Feb-07
                                                                                                                                                                                                               Sep-07
                                                                                                                                                                                                                                                            Feb-08
                                                                                                                                                                                                                                                                                                                           Sep-08
                                                                                                                                                                                                                                                                                                                                                                        Feb-09




                                                 Apr-06
                                                                                                                                                                Apr-07
                                                                                                                                                                                                                                                                              Apr-08




                                                                                                                            Dec-06
                                                                                                                                                                                                                                          Dec-07
                                                                                                                                                                                                                                                                                                                                                      Dec-08




                                                                                                                                                       Mar-07
                                                                                                                                                                                                                                                                     Mar-08




                                                                                        Aug-06
                                                                                                                   Nov-06
                                                                                                                                                                                                      Aug-07
                                                                                                                                                                                                                                 Nov-07
                                                                                                                                                                                                                                                                                                                  Aug-08
                                                                                                                                                                                                                                                                                                                                             Nov-08




                                                          May-06
                                                                                                                                                                           May-07
                                                                                                                                                                                                                                                                                       May-08
                                                                                                                                                                                                                                                                                                                                                                                 Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                                   D30+                            –         Delinquent 30 or more days, foreclosures, and other real estate owned
                                                                   Non-Performing Assets                           –         Delinquent 90 or more days, foreclosures, and other real estate owned
(1)
   GMAC Bank Mortgage Operation Credit Review, dated Apr. 30, 2007, at EXAM11415755 [EXAM11415741]; GMAC Mortgage Division Credit Review, dated Oct. 31, 2007, at ALLY_PEO_0006249 [ALLY_PEO_0006161]; GMAC Bank Consolidated
Financial Review, dated Aug. 20, 2008, at ALLY_PEO_0007247 [ALLY_PEO_0007227]; GMAC Bank Consolidated Financial Review, dated Mar. 17, 2009, at ALLY_PEO_0007920 [ALLY_PEO_0007887].
                                                                                                                                                                                                                                                                                                                                                                                                     Appendix




                                                                                                                                                                         Appendix V.A.2.a, Page 4 of 4
                                                                                                      Appendix V.A.2.b, Page 1 of 15


Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Value Summary
As of November 22, 2006
($ in Millions)


                                                                                                                          Appendix                                       Fair Market Value
Value Transferred from ResCap                                                                                             Reference                               Low                             High                         Weighting
                                                                                                                                                                                                                                                                                  12-12020-mg




Market Approach: Guideline Publicly Traded Company Method                                                                V.A.2.b, at 2                    $            1,691.7            $            2,125.5                    50.0%

Market Approach: Guideline M&A Method                                                                                   V.A.2.b, at 11                                 2,689.9                         2,848.8                    0.0%

Income Approach: DCF Method                                                                                             V.A.2.b, at 13                                 1,667.8                         1,965.3                    50.0%
                                                                                                                                                                                                                                                                                  Doc 3698-36




Asset-Based Approach: Adjusted Book Value Method                                                                        V.A.2.b, at 15                                 1,192.2                         1,192.2                    0.0%

Equity value of Old GMAC Bank (marketable, controlling)                                                                                                                1,679.7                         2,045.4
Equity value of Old GMAC Bank (marketable, controlling), rounded                                                                                                       1,700.0                         2,000.0

Private company discount                                                                                                             5.0%                                (85.0)                         (100.0)
Equity value of Old GMAC Bank (non-marketable, controlling)                                                                                                            1,615.0                         1,900.0

Capital contribution to IB Finance                                                                                                                                       360.0                           360.0
Total property transferred                                                                                                                                $            1,975.0            $            2,260.0
                                                                                                                                                                                                                                                                   Pg 106 of 385




Value Received by ResCap

Equity value of Old GMAC Bank before capital contribution (marketable, controlling)                                                                       $            1,700.0            $            2,000.0
Capital contribution to IB Finance                                                                                                                                       360.0                           360.0
Value of IB Finance Class M Shares (marketable, controlling)                                                                                                           2,060.0                         2,360.0

Discount for attributes of shares                                                                                                  30.0%                                (618.0)                         (708.0)
Value of IB Finance Class M Shares (non-marketable, non-controlling)                                                                                                   1,442.0                         1,652.0

                                                                                             (1)
Cost savings to ResCap as a result of de-linking AFI’s credit rating from GM                                                                                             142.7                           142.7
Total property received                                                                                                                                   $            1,584.7            $            1,794.7

Value received by ResCap less value transferred from ResCap (2)                                                                                            $            (390.3)     to     $            (465.3)
                                                                                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




Memo Item:
Value of IB Finance Class M Shares (non-marketable, controlling) less equity value of
 Old GMAC Bank (non-marketable, controlling) less capital contribution to IB Finance                                                                      $             (533.0)           $             (608.0)
(1)
  The present value of management's estimated $250 million pre-tax annual cost savings discounted over one year (after-tax ) using mid-period convention (1 / (1 + discount rate) ^ 0.5).
(2)
                                                                                                                                                                                                                                                                                  Appendix




   The low end of the range of value for property transferred is paired with the low end of the range of value for property received (with a similar pairing of the respective high ends) in order to maintain consistency between the economic assumptions
associated with the respective ranges.
Source: Appendix V.A.2.b, at 2, 11, 13, 15.



                                                                                                       Appendix V.A.2.b, Page 1 of 15
                                                                                                     Appendix V.A.2.b, Page 2 of 15


Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Guideline Publicly Traded Company Method Summary
As of November 22, 2006
($ in Millions)


                                                                                             Old GMAC
                                                                                                                                                                                                                                                         12-12020-mg




                                                                                                Bank
                                                                                              Financial                                                              Range of Value
                                                                                                                                               (1)
                                                                                               Metric                    Multiple Range                           Low               High      Weighting

                                                                                                               (2)
Forward P/E                                                                                  $        238.6              8.0x               10.0x             $    1,908.8    $    2,386.0
 Less capital contribution to IB Finance                                                                                                                            (360.0)         (360.0)
 Value before capital contribution to IB Finance                                                                                                                   1,548.8         2,026.0     25.0%
                                                                                                                                                                                                                                                         Doc 3698-36




                                                                                                               (3)
LTM P/E                                                                                                201.8             9.0x               11.0x                  1,816.4         2,220.1     25.0%

                                                                                                               (4)
P/TBVE                                                                                               1,161.0             1.2x               1.5x                   1,393.2         1,741.5     50.0%

Equity value of Old GMAC Bank (marketable, minority)                                                                                                               1,537.9         1,932.3
Control premium                                                                                                                             10%                      153.8           193.2
Equity value of Old GMAC Bank (marketable, controlling)                                                                                                       $    1,691.7    $    2,125.5


(1)
                                                                                                                                                                                                                                          Pg 107 of 385




      Refer to Appendix V.A.2.b, at 3 for multiples of guideline public companies and Section V.A.2.b(1)(c) for a discussion of the selection of multiples.
(2)
      GMAC Bank Consolidated Financial Review, dated Jan. 25, 2007, at ALLY_PEO_0006859 [ALLY_PEO_0006664].
(3)
   See National Motors Bank FSB, FDIC, Call Report (Mar. 31, 2005); National Motors Bank FSB, FDIC, Call Report (June 30, 2005); National Motors Bank FSB, FDIC, Call Report (Sep. 30, 2005); National Motors Bank FSB, FDIC, Call
Report (Dec. 31, 2005); National Motors Bank FSB, FDIC, Call Report (Mar. 31, 2006); National Motors Bank FSB, FDIC, Call Report (June 30, 2006); National Motors Bank FSB, FDIC, Call Report (Sep. 30, 2006),
http://www2.fdic.gov/idasp/confirmation_outside.asp?inCert1=35054.
(4)
      Residential Capital Corporation, Current Report (Form 8-K) (Nov. 20, 2006), at 2.
                                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                         Appendix




                                                                                                      Appendix V.A.2.b, Page 2 of 15
                                                                                                              Appendix V.A.2.b, Page 3 of 15

Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Guideline Publicly Traded Company Method Multiples
As of November 22, 2006
($ in Millions)


                                                                         [A]                            [B]                             [C]                             [D]                      [E] = [A] / [B]                 [F] = [A] / [C]                 [G] = [A] / [D]
                                                                                                                                                                                                                                                                                                             12-12020-mg




                                                                                                                                     LTM
                                                                       MVE                            TBVE                          Earnings                  Forward Earnings                       P/TBVE                         LTM P/E                      Forward P/E
Old GMAC Bank                                                                  N/A            $               1,161.0         $                 201.8         $                 238.6                        N/A                             N/A                            N/A

Guideline Publicly Traded Companies
 Astoria Financial Corporation                                $                2,776.6        $               1,076.0         $                 195.5         $                 148.0                        2.6x                         14.2x                           18.8x
 BankUnited Financial Corporation                                                968.0                          725.3                            83.9                           106.4                        1.3x                         11.5x                            9.1x
 Capitol Federal Financial, Inc.                                               2,789.5                          863.2                            48.1                            47.0                        3.2x                         58.0x                           59.4x
 Downey Financial Corp.                                                        2,070.7                        1,352.2                           193.4                           208.9                        1.5x                         10.7x                            9.9x
                                                                                                                                                                                                                                                                                                             Doc 3698-36




 FirstFed Financial Corp.                                                      1,108.1                          667.7                           123.7                           133.1                        1.7x                          9.0x                            8.3x
 Flagstar Bancorp Inc.                                                           963.4                          815.0                            91.1                            79.9                        1.2x                         10.6x                           12.1x
 Franklin Bank Corp.                                                             462.0                          192.7                            24.3                            37.2                        2.4x                         19.1x                           12.4x
 Hudson City Bancorp, Inc.                                                     7,076.4                        4,841.7                           294.2                           325.8                        1.5x                         24.1x                           21.7x
 Investors Bancorp Inc.                                                        1,743.0                          915.1                            13.4                            17.0                        1.9x                        130.0x                          102.5x
 MAF Bancorp Inc.                                                              1,456.4                          650.9                           102.6                           101.4                        2.2x                         14.2x                           14.4x
 NewAlliance Bancshares, Inc.                                                  1,626.8                          848.4                            49.6                            71.3                        1.9x                         32.8x                           22.8x
 Northwest Bancorp, Inc.                                                       1,389.1                          446.2                            56.0                            52.4                        3.1x                         24.8x                           26.5x
 Washington Federal Inc.                                                       2,039.2                        1,206.5                           143.1                           152.8                        1.7x                         14.3x                           13.3x

                                                                                                                                                                              Mean (1)                       2.0x                          16.8x                           15.4x
                                                                                                                                                                           Median (1)                        1.9x                          14.2x                           13.3x
                                                                                                                                                                                                                                                                                              Pg 108 of 385




(1)
   LTM P/E and Forward P/E multiples greater than 50x were excluded from the mean and median.
Source: Bloomberg; Guideline company projections per Thomson Reuters SMIntelligence; Astoria Financial Corporation, Quarterly Report (Form 10-Q) (Nov. 7, 2006), at 2–3, 41; Astoria Financial Corporation, Annual Report (Form 10-K) (Mar. 10, 2006), at 81; Astoria Financial
Corporation, Quarterly Report (Form 10-Q) (Nov. 4, 2005), at 3; BankUnited Financial Corporation, Annual Report (Form 10-K) (Dec. 14, 2006), at 45, 67–68; Capitol Federal Financial, Inc., Annual Report (Form 10-K) (Dec. 14, 2006), at 16, 44–46; Downey Financial Corp.,
Quarterly Report (Form 10-Q) (Nov. 1, 2006), at 1–2, 45; Downey Financial Corp., Annual Report (Form 10-K) (Mar. 1, 2006), at 75; Downey Financial Corp., Quarterly Report (Form 10-Q) (Nov. 1, 2005), at 2; FirstFed Financial Corp., Quarterly Report (Form 10-Q) (Nov. 8, 2006),
at 1, 3–4, 23; FirstFed Financial Corp., Annual Report (Form 10-K) (Mar. 15, 2006), at 44; FirstFed Financial Corp., Quarterly Report (Form 10-Q) (Nov. 8, 2005), at 4; Flagstar Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 1, 2006), at 4 –5; Flagstar Bancorp Inc., Annual
Report (Form 10-K) (Mar. 16, 2006), at 55; Flagstar Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 10, 2005), at 4; Franklin Bank Corp., Quarterly Report (Form 10-Q) (Nov. 9, 2006), at 1–2, 5, 15; Franklin Bank Corp., Annual Report (Form 10-K) (Mar. 14, 2006), at 70; Franklin
Bank Corp., Quarterly Report (Form 10-Q) (Nov. 9, 2005), at 2; Hudson City Bancorp, Inc., Quarterly Report (Form 10-Q) (Nov. 8, 2006), at 4–5, 30; Hudson City Bancorp, Inc., Annual Report (Form 10-K) (Mar. 16, 2006), at 96, 119; Hudson City Bancorp, Inc., Quarterly Report
(Form 10-Q) (Nov. 9, 2005), at 5; Investors Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2006), at 1–2, 12; Investors Bancorp Inc., Annual Report (Form 10-K) (Sep. 15, 2006), at 56; Investors Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 14, 2005), at 2; MAF Bancorp
Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2006), at 1, 3–4, 9, 30; MAF Bancorp Inc., Annual Report (Form 10-K) (Mar. 15, 2006), at 58; MAF Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2005), at 4; NewAlliance Bancshares, Inc., Quarterly Report (Form 10-Q)
(Nov. 6, 2006), at 1, 3–4, 14, 17, 19, 35; NewAlliance Bancshares, Inc., Annual Report (Form 10-K) (Feb. 28, 2006), at 51; NewAlliance Bancshares, Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2005), at 4; Northwest Bancorp, Inc., Quarterly Report (Form 10-Q) Nov. 9, 2006), at 1,
3–4, 17; Northwest Bancorp, Inc., Annual Report (Form 10-K) (Mar. 15, 2006), at 54; Northwest Bancorp, Inc., Quarterly Report (Form 10-Q) (May 10, 2005), at 2; Washington Federal Inc., Annual Report (Form 10-K) (Nov. 22, 2006), at 1, 5, 10–11.
                                                                                                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                             Appendix




                                                                                                               Appendix V.A.2.b, Page 3 of 15
                                                                                                              Appendix V.A.2.b, Page 4 of 15

Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Guideline Publicly Traded Company Method Ratios and Financial Information
As of November 22, 2006
($ in Millions)


                                                                        [A]                             [B]                            [C]                            [D]                            [E]                      [F] = [C] / [E]             [G] = [D] / [E]
                                                                                                                                                                                                                                                                                                   12-12020-mg




                                                                                                                                                                                                                           Non-Performing
                                                                Barra Predicted                                                 Non-Performing                     LTM                         Book Value of             Assets/Book Value of
                                                                     Beta                         Total Assets                      Assets                        Earnings                        Equity                        Equity                         ROE
Old GMAC Bank                                                           N/A                  $             14,096.7         $                  29.7         $                201.8         $               1,161.0                 2.6%                         17.4%

Guideline Publicly Traded Companies
 Astoria Financial Corporation                                         0.70                  $             21,599.1         $                  55.5         $                195.5         $               1,261.2                4.4%                          15.5%
 BankUnited Financial Corporation                                      0.86                                13,570.9                            21.5                           83.9                           753.7                 2.8%                         11.1%
                                                                                                                                                                                                                                                                                                   Doc 3698-36




 Capitol Federal Financial, Inc.                                       0.54                                 8,199.1                             8.0                           48.1                           863.2                0.9%                           5.6%
 Downey Financial Corp.                                                0.88                                16,982.8                            66.5                          193.4                         1,352.2                 4.9%                         14.3%
 FirstFed Financial Corp.                                              0.87                                10,076.2                            11.1                          123.7                           667.7                 1.7%                         18.5%
 Flagstar Bancorp Inc.                                                 0.59                                15,120.0                           158.8                           91.1                           815.0                19.5%                         11.2%
 Franklin Bank Corp.                                                   0.57                                 5,173.2                            33.9                           24.3                           349.7                9.7%                           6.9%
 Hudson City Bancorp, Inc.                                             0.90                                33,638.0                            26.5                          294.2                         5,002.2                 0.5%                          5.9%
 Investors Bancorp Inc.                                                0.78                                 5,626.7                             3.7                           13.4                           915.1                0.4%                           1.5%
 MAF Bancorp Inc.                                                      0.50                                11,464.8                            52.3                          102.6                         1,059.2                 4.9%                          9.7%
 NewAlliance Bancshares, Inc.                                          0.82                                 7,198.6                            10.8                           49.6                         1,354.1                0.8%                           3.7%
 Northwest Bancorp, Inc.                                               0.73                                 6,543.2                            50.9                           56.0                           612.4                 8.3%                          9.1%
 Washington Federal Inc.                                               0.57                                 9,069.0                             7.7                          143.1                         1,262.7                0.6%                          11.3%
                                                                                                                                                                                                                                                                                    Pg 109 of 385




                                                                                                                                                                                                            Mean                   4.6%                          9.6%
                                                                                                                                                                                                           Median                  2.8%                          9.7%


Source: Bloomberg; MSCI Barra, National Motors Bank FSB, FDIC, Call Report (Mar. 31, 2005); National Motors Bank FSB, FDIC, Call Report (June 30, 2005); National Motors Bank FSB, FDIC, Call Report (Sep. 30, 2005); National Motors Bank FSB, FDIC, Call Report
(Dec. 31, 2005); National Motors Bank FSB, FDIC, Call Report (Mar. 31, 2006); National Motors Bank FSB, FDIC, Call Report (June 30, 2006); National Motors Bank FSB, FDIC, Call Report (Sep. 30, 2006), http://www2.fdic.gov/idasp/confirmation_outside.asp?inCert1=
35054; GMAC Consolidated Financial Review, dated Jan. 25, 2007, at ALLY_PEO_0006846, 59 [ALLY_PEO_0006664]; GMAC Bank Mortgage Operation Credit Review, dated Apr. 30, 2007, at EXAM11415755 [EXAM11415741]; Astoria Financial Corporation, Quarterly
Report (Form 10-Q) (Nov. 7, 2006), at 2–3, 41; Astoria Financial Corporation, Annual Report (Form 10-K) (Mar. 10, 2006), at 81; Astoria Financial Corporation, Quarterly Report (Form 10-Q) (Nov. 4, 2005), at 3; BankUnited Financial Corporation, Annual Report (Form 10-
K) (Dec. 14, 2006) at 45, 67–68; Capitol Federal Financial, Inc., Annual Report (Form 10-K) (Dec. 14, 2006), at 16, 44–46; Downey Financial Corp., Quarterly Report (Form 10-Q) (Nov. 1, 2006), at 1–2, 45; Downey Financial Corp., Annual Report (Form 10-K)
(Mar. 1, 2006), at 75; Downey Financial Corp., Quarterly Report (Form 10-Q) (Nov. 1, 2005), at 2; FirstFed Financial Corp., Quarterly Report (Form 10-Q) (Nov. 8, 2006), at 1, 3–4, 23; FirstFed Financial Corp., Annual Report (Form 10-K) (Mar. 15, 2006), at 44; FirstFed
Financial Corp., Quarterly Report (Form 10-Q) (Nov. 8, 2005), at 4; Flagstar Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 1, 2006), at 4–5 Flagstar Bancorp Inc., Annual Report (Form 10-K) (Mar. 16, 2006), at 55; Flagstar Bancorp Inc., Quarterly Report (Form 10-Q)
(Nov. 10, 2005), at 4; Franklin Bank Corp., Quarterly Report (Form 10-Q) (Nov. 9, 2006), at 1–2, 5, 15; Franklin Bank Corp., Annual Report (Form 10-K) (Mar. 14, 2006), at 70; Franklin Bank Corp., Quarterly Report (Form 10-Q) (Nov. 9, 2005), at 2; Hudson City Bancorp,
Inc., Quarterly Report (Form 10-Q) Nov. 8, 2006), at 4–5, 30; Hudson City Bancorp, Inc., Annual Report (Form 10-K) (Mar. 16, 2006), at 96, 119; Hudson City Bancorp, Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2005), at 5; Investors Bancorp Inc., Quarterly Report (Form
10-Q) (Nov. 9, 2006), at 1–2, 12; Investors Bancorp Inc., Annual Report (Form 10-K) (Sep. 15, 2006), at 56; Investors Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 14, 2005), at 2; MAF Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2006), at 1, 3–4, 9, 30; MAF
Bancorp Inc., Annual Report (Form 10-K) (Mar. 15, 2006), at 58; MAF Bancorp Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2005), at 4; NewAlliance Bancshares, Inc., Quarterly Report (Form 10-Q) (Nov. 6, 2006), at 1, 3–4, 14, 17, 19, 35; NewAlliance Bancshares, Inc.,
Annual Report (Form 10-K) (Feb. 28, 2006), at 51; NewAlliance Bancshares, Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2005), at 4; Northwest Bancorp, Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2006), at 1, 3–4, 17; Northwest Bancorp, Inc., Annual Report (Form 10-K)
                                                                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




(Mar. 15, 2006), at 54; Northwest Bancorp, Inc., Quarterly Report (Form 10-Q) (May 10, 2005), at 2; Washington Federal Inc., Annual Report (Form 10-K) (Nov. 22, 2006), at 1, 5, 10 –1.
                                                                                                                                                                                                                                                                                                   Appendix




                                                                                                              Appendix V.A.2.b, Page 4 of 15
                                                                                                                Appendix V.A.2.b, Page 5 of 15

Ally Bank Transactions: Reasonably Equivalent Value
Guideline Publicly Traded Company Business Descriptions

                                                    Ally Bank
                                                    Transactions
Company                                             Date (1)                 Business Description (2)

Astoria Financial Corporation                       2006 and 2009            Astoria Financial Corporation was headquartered in Lake Success, New York, and conducted operations primarily through its subsidiary Federal Savings and Loan Association. Its principle
                                                                             business was attracting retail deposits from the general public and investing those deposits, together with funds generated from operations, primarily in one-to-four-family mortgage loans,
                                                                                                                                                                                                                                                                                                                12-12020-mg




                                                                             multi-family mortgage loans, commercial real estate loans and mortgage-backed securities. It also invested in construction loans, consumer and other loans, securities and other investments.
                                                                             Its results of operations were dependent primarily on its net interest income, its loan and securities portfolios, and the interest paid on its deposits and borrowings. Non-interest income
                                                                             included customer service fees; other loan fees; net gain on sales of securities; mortgage banking income; and other noninterest income. Astoria's one-to-four-family mortgage portfolio was
                                                                             comprised mostly of interest-only ARMs, but did not include option ARMs or loans with negative amortization features. Most of its lending portfolio was originated with full
                                                                             documentation.



BankUnited Financial Corporation                    2006 and 2009            BankUnited Financial Corporation was headquartered in Florida, and conducted operations primarily through its subsidiary, BankUnited, FSB, which was founded in 1984 and was the
                                                                             largest banking institution headquartered in Florida based on assets. It offered a full spectrum of consumer and commercial banking products and services to consumers and businesses
                                                                                                                                                                                                                                                                                                                Doc 3698-36




                                                                             located primarily in Florida. Its revenues consisted mainly of interest earned on loans and investments and fees received for its financial services and products. Its expenses consist primarily
                                                                             of interest paid on deposits and borrowings and expenses incurred in providing services and products. It operated seventy-five full service branches in Florida, three loan production offices
                                                                             in Florida and five outside of Florida, and an extensive wholesale network for originating loans through mortgage broker relationships. Most of its mortgage loan portfolio was comprised of
                                                                             interest option ARM products.


Capitol Federal Financial, Inc.                     2006 and 2009            Capitol Federal Financial, Inc. was headquartered in Kansas, and was a federally chartered mid-tier mutual holding company incorporated in March 1999. It conducted operations primarily
                                                                             through its subsidiary Capital Federal Savings Bank. It operated through twenty-nine traditional and nine in-store banking offices located in Kansas. Its primary source of funds was deposits
                                                                             from the general public and it invested primarily in permanent loans secured by first mortgages on owner-occupied, one-to-four-family residences. It also originated consumer loans, loans
                                                                             secured by first mortgages on non-owner-occupied one-to-four-family residences, permanent and construction loans secured by one-to-four-family residences, commercial real estate loans
                                                                             and multi-family real estate loans. Its results of operations depended primarily on net interest income. Its mortgage portfolio was 100% fully documented, and consisted mostly of fixed-rate
                                                                             mortgages.
                                                                                                                                                                                                                                                                                                 Pg 110 of 385




Downey Financial Corp.                              2006                     Downey Financial Corporation was headquartered in California and conducted operations primarily through Downey Federal Savings Bank, a federally-chartered savings and loan
                                                                             association formed in 1957. Downey conducted its business primarily through 172 retail deposit branches, including 91 full-service, in-store branches. Its banking activities focused on:
                                                                             attracting funds from the general public and institutions and obtaining borrowings; originating and investing in loans, primarily residential real estate mortgage loans, investment securities
                                                                             and mortgage-backed securities; and originating and selling loans to investors in the secondary markets. Downey's loan portfolio was concentrated in California, and was comprised
                                                                             predominantly of loans subject to negative amortization, most of which had been originated without full documentation.



FirstFed Financial Corp.                            2006 and 2009            FirstFed Financial Corp. was headquartered in California, and conducted operations primarily through its subsidiary First Federal Bank of California. Its principle business was attracting
                                                                             deposits from the general public, and using such deposits, together with borrowings and other funds, to make real estate, business and consumer loans. Its revenue was derived principally
                                                                             from interest and fees on loans, interest on investments and gains on loan sales. Its major items of expense were interest on deposits and borrowings, and general and administrative expense.
                                                                             It operated thirty-two full-service banking branches, all located in Southern California. In also operated six lending offices located in both Southern and Northern California, a call center
                                                                             which conducted transactions with deposit and loan clients by telephone, and an internet website through which clients could open accounts, transfer funds or pay bills. It was a major
                                                                             provider of interest option ARM products. Most of its mortgage loans lacked full documentation.
                                                                                                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
      Ally Bank Transactions year in which the guideline company was considered in the Examiner's Financial Advisors' analyses.
(2)
   For the guideline companies considered in the 2006 Bank Restructuring and the 2009 Bank Transaction, the business description describes the companies as of 2006. For those companies only considered as of either 2006 or 2009, the description is reflective of the business at that
time. Sources: Astoria Financial Corporation, Annual Report, (Form 10-K) (June 1, 2007); BankUnited Financial Corporation, Annual Report, (Form 10-K) (Dec. 14, 2006); Capitol Federal Financial, Inc., Annual Report (Form 10-K) (Dec. 14, 2006); Downey Financial Corp.,
Annual Report (Form 10-K) (Mar. 1, 2007); FirstFed Financial Corp., Annual Report (Form 10-K) (Mar. 1, 2007).
                                                                                                                                                                                                                                                                                                                Appendix




                                                                                                                 Appendix V.A.2.b, Page 5 of 15
                                                                                                                Appendix V.A.2.b, Page 6 of 15

Ally Bank Transactions: Reasonably Equivalent Value
Guideline Publicly Traded Company Business Descriptions

                                                    Ally Bank
                                                    Transactions
Company                                             Date (1)               Business Description (2)

Flagstar Bancorp                                    2006 and 2009          Flagstar Bancorp was headquartered in Michigan, and conducted operations primarily through its subsidiary Flagstar Bank, FSB. It was the largest publicly held savings bank in the
                                                                           Midwest and the seventeenth largest savings bank in the United States. It operated 151 banking centers located in Michigan, Indiana and Georgia (of which 41 are located in retail stores
                                                                                                                                                                                                                                                                                                           12-12020-mg




                                                                           such as Wal-Mart) and 76 home loan centers located in twenty states. Its earnings were from its retail banking activities, which generate net interest income, and non-interest income from
                                                                           sales of residential mortgage loans to the secondary market, the servicing of loans for others, the sale of servicing rights related to mortgage loans serviced and fee-based services provided
                                                                           to its customers. Approximately 96% of its total loan production during 2006 represented mortgage loans and home equity lines of credit that were secured by first or second mortgages on
                                                                           single-family residences.


Franklin Bank Corp.                                 2006                   Franklin Bank Corp. was headquartered in Texas, and conducted operations primarily through its subsidiary Franklin Bank, S.S.B., a Texas state savings bank. It provided community
                                                                           banking products and services and commercial banking services to corporations and other business clients and originate single family residential mortgage loans. It conducted business at
                                                                           thirty-eight banking offices in Texas, seven regional commercial lending offices in Florida, Arizona, Michigan, Pennsylvania, Colorado, California, Washington D.C., and mortgage
                                                                           origination offices in nineteen states throughout the United States. Franklin Bank grew rapidly after 2001, and over 80% of its single family mortgage portfolio was originated after 2003.
                                                                           It relied on FHLB advances and brokered deposits for most of its funding.
                                                                                                                                                                                                                                                                                                           Doc 3698-36




Hudson City Bancorp                                 2006 and 2009          Hudson City Bancorp was headquartered in New Jersey and conducted operations primarily through its only subsidiary, Hudson City Savings Bank, a federally-chartered savings bank that
                                                                           began operations in 1868. In July 2006, it completed the acquisition of Sound Federal Bancorp, Inc., which operated banking branches in New York and Connecticut. It offered
                                                                           traditional thrift products such as conforming one-to-four-family residential mortgages, certificates of deposit, and passbook savings accounts. Its portfolio was comprised primarily of
                                                                           fixed rate mortgages, with no option ARMs or negative amortization products. A major product line was jumbo mortgage lending to higher-income customers. Its revenues were derived
                                                                           principally from interest on its mortgage loans and mortgage-backed securities and interest and dividends on its investment securities. Its primary sources of funds were customer deposits
                                                                           and other borrowings.


Investors Bancorp, Inc.                             2006 and 2009          Investors Bancorp, Inc. was headquartered in New Jersey, and conducted operations primarily through its subsidiary Investors Savings Bank, a New Jersey-chartered savings bank founded
                                                                           in 1926. It conducted business from its main office located in Short Hills, New Jersey, and its forty-six branch offices located in New Jersey. Its primary business was attracting deposits
                                                                           from the public through its branch network and borrowing funds in the wholesale markets to originate loans and to invest in securities. It originated mortgage loans secured by one-to-four-
                                                                                                                                                                                                                                                                                            Pg 111 of 385




                                                                           family residential real estate and consumer loans, the majority of which were home equity loans and home equity lines of credit. Its lending activities also included commercial real estate,
                                                                           construction and multi-family loans. A large portion of its assets were securities, primarily U.S. Government and Federal Agency obligations, mortgage-backed and other securities.



MAF Bancorp, Inc.                                   2006                   MAF Bancorp, Inc. was headquartered in Illinois, and conducted operations primarily through its subsidiary Mid America Bank, FSB. It had operated in the Chicago area since 1922. Over
                                                                           the five year period ending 2006, the Bank had grown from thirty-two branches to eighty-two branches. The Bank was one of the largest community-oriented financial institutions in the
                                                                           Chicago and Milwaukee metropolitan areas, serving both retail and business banking customers. It also engaged in residential real estate land development.




(1)
      Ally Bank Transactions year in which the guideline company was considered in the Examiner's Financial Advisors' analyses.
(2)
   For the guideline companies considered in the 2006 Bank Restructuring and the 2009 Bank Transaction, the business description describes the companies as of 2006. For those companies only considered as of either 2006 or 2009, the description is reflective of the business at
that time. Sources: Franklin Bank Corp., Annual Report (Form 10-K) (Mar.14, 2007); Flagstar Bancorp, Inc., Annual Report (Form 10-K) (Mar.1, 2007); Hudson City Bancorp, Annual Report (Form 10-K) (Mar.1, 2007); Investors Bancorp, Annual Report (Form 10-K)
 (Sep. 15, 2006); MAF Bancorp, Annual Report (Form 10-K) (Mar. 1, 2007).
                                                                                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                           Appendix




                                                                                                                 Appendix V.A.2.b, Page 6 of 15
                                                                                                                Appendix V.A.2.b, Page 7 of 15

Ally Bank Transactions: Reasonably Equivalent Value
Guideline Publicly Traded Company Business Descriptions

                                                    Ally Bank
                                                    Transactions
Company                                             Date (1)               Business Description (2)

NewAlliance Bancshares, Inc.                        2006 and 2009          NewAlliance Bancshares, Inc. was headquartered in Connecticut, and conducted operations primarily through its subsidiary NewAlliance Bank. It operated seventy-two banking offices
                                                                           providing a full range of banking services to customers located in Southwestern, Central, South Central, and Southeastern Connecticut. Its funding came primarily from deposits from the
                                                                                                                                                                                                                                                                                                          12-12020-mg




                                                                           general public and businesses in the communities and surrounding towns served by its branch network. It originated and purchased residential real estate loans, consumer loans (primarily
                                                                           home equity loans and lines of credit), commercial loans and commercial real estate loans. It retained in its portfolio loans that it originated and purchased except for fixed rate residential
                                                                           loans scheduled to amortize over more than fifteen years, which were generally sold in the secondary market with servicing rights retained. It also invested in mortgage-backed and debt
                                                                           securities and other permissible investments. Its results of operations depended primarily on net interest income.




Northwest Bancorp, Inc.                             2006                   Northwest Bancorp, Inc. was headquartered in Pennsylvania, and was the holding company of Northwest Savings Bank. As of December 31, 2006, it operated 160 community-banking
                                                                           offices throughout its market area in northwest, southwest and central Pennsylvania, western New York, eastern Ohio, Maryland, and Florida. It operated forty-nine consumer lending offices
                                                                           throughout Pennsylvania and two consumer lending offices in New York. Its primary lending activity was the origination of loans secured by first mortgages on owner-occupied, one-to-four-
                                                                                                                                                                                                                                                                                                          Doc 3698-36




                                                                           family residences. It also made consumer and commercial loans. Its primary source of funds was deposits. Its results of operations depended primarily on interest income.



TFS Financial Corporation                           2009                   TFS Financial Corporation was headquartered in Ohio, and was the holding company for Third Federal Savings and Loan Association of Cleveland a federally chartered savings and loan
                                                                           association organized in 1938. It completed its initial public stock offering in April of 2007. It conducted its operations from its main office in Cleveland, Ohio, and from thirty-seven
                                                                           additional, full-service branches and eight loan production offices located throughout the states of Ohio and Florida, including twenty-three full-service offices in Ohio and fifteen in Florida.
                                                                           Its principle business consisted of originating residential real estate mortgage loans and equity loans and lines of credit and attracting retail savings deposits. It also originated residential
                                                                           construction loans. It attracted retail deposits from the general public in the areas surrounding its main office and its branch offices. It retained in its portfolio the majority of the loans that it
                                                                           originated, and retained the servicing rights on all loans that it sold. Its primary source of funds was deposits and operating results depended primarily on net interest income.



Washington Federal, Inc.                            2006 and 2009          Washington Federal, Inc. was headquartered in Seattle, Washington, and was the holding company for Washington Federal Savings, a federally-chartered savings and loan association that
                                                                           began operations in 1917. It had 123 full service branches located in Washington, Oregon, Idaho, Arizona, Utah, Nevada, and Texas. Its business consisted primarily of attracting savings
                                                                                                                                                                                                                                                                                           Pg 112 of 385




                                                                           deposits from the general public and investing these funds in loans secured by first lien mortgages on single-family dwellings, including loans for the construction of such dwellings, and
                                                                           loans on multi-family dwellings. It also originated other types of loans for its portfolio and invested in United States government and agency obligations and other investments. It also
                                                                           engaged in real estate investment and insurance brokerage activities.




(1)
      Ally Bank Transactions year in which the guideline company was considered in the Examiner's Financial Advisors' analyses.
(2)
   For the guideline companies considered in the 2006 Bank Restructuring and the 2009 Bank Transaction, the business description describes the companies as of 2006 except for TFS Financial Corporation which is only used in the 2009 Bank Transaction. For those companies
only considered as of either 2006 or 2009, the description is reflective of the business at that time. Sources: NewAlliance Bancshares, Inc., Annual Report (Form 10-K) (Mar.1, 2007); Northwest Bancorp, Inc., Annual Report (Form 10-K) (Mar.14, 2007); TFS Financial
Corporation, Annual Report (Form 10-K) (Nov. 23, 2009); Washington Federal, Inc., Annual Report (Form 10-K) (Nov. 22, 2006).
                                                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                          Appendix




                                                                                                                 Appendix V.A.2.b, Page 7 of 15
                                                                                              Appendix V.A.2.b, Page 8 of 15


Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Tier 1 Leverage Ratio Analysis
2006 – 2008


                                                                                                                                                                                  Tier 1 Capital as a
                                                                                                                                                                                                             (1)
                                                                                                                                                                                                                                                           12-12020-mg




                                                                                                                                                                          % of Average Adjusted Total Assets

Company Name                                                                    Banking Subsidiary                                                                   9/30/2006              3/31/2008             12/31/2008

Astoria Financial Corporation                                                   Astoria Federal Savings and Loan Association                                                 6.8%                   6.7%                    6.4%
BankUnited Financial Corporation                                                BankUnited, FSB                                                                              7.2%                   7.7%                  (0.2%)
Capitol Federal Financial, Inc.                                                 Capitol Federal Savings Bank                                                                 9.5%                   9.8%                    9.9%
Downey Financial Corp.                                                          Downey Savings and Loan Association                                                          8.5%                   8.4%                     N/A
                                                                                                                                                                                                                                                           Doc 3698-36




FirstFed Financial Corp.                                                        First Federal Bank of California                                                             7.5%                  10.2%                    5.4%
Flagstar Bancorp Inc.                                                           Flagstar Bank, FSB                                                                           6.4%                   5.5%                    4.8%
Franklin Bank Corp.                                                             Franklin Bank, S.S.B                                                                         7.6%                    N/A                     N/A
Hudson City Bancorp, Inc.                                                       Hudson City Savings Bank                                                                    11.9%                   8.9%                    8.0%
Investors Bancorp Inc.                                                          Investors Savings Bank                                                                      11.9%                  12.0%                    9.0%
MAF Bancorp Inc.                                                                Mid America Bank, FSB                                                                        7.2%                    N/A                     N/A
NewAlliance Bancshares, Inc.                                                    NewAlliance Bank                                                                            10.1%                    N/A                    9.5%
Northwest Bancorp, Inc.                                                         Northwest Savings Bank                                                                       8.4%                    N/A                     N/A
TFS Financial Corp.                                                             Third Federal Savings and Loan Association of Cleveland                                       N/A                  13.2%                  12.1%
Washington Federal Inc.                                                         Washington Federal Savings and Loan Association                                             13.4%                  10.1%                  10.9%
                                                                                                                                                                                                                                            Pg 113 of 385




                                                                                                                                                     Mean                     9.0%                   9.3%                   7.6%
                                                                                                                                                    Median                    8.4%                   9.3%                   8.5%


(1)
  Tier 1 capital as a percent of average adjusted total assets from the FDIC call reports for September 30, 2006, March 31, 2008, and December 31, 2008 for the banking subsidiary of the guideline companies used for the Guideline
Publicly Traded Company Method. N/A means the company did not meet the selection criteria for guideline companies as described in Section V.A.2.b(1)(a)(i) of the Report on the indicated date.
Source: http://www2.fdic.gov/idasp/main.asp
                                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                           Appendix




                                                                                               Appendix V.A.2.b, Page 8 of 15
                                                                              Appendix V.A.2.b, Page 9 of 15


Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Control Premium Analysis
2006 – 2008


                                                                     2006    2007     2008
All industries (median)                                             20.6%   20.7%    31.4%
                                                                                                                                    12-12020-mg




Financial services (median)                                         19.6%   20.2%    29.3%
Banking & credit agencies (median)                                  25.0%   27.0%    30.3%


                 Savings Banks and Savings & Loans
                                            Closing
                Target                       Date                 Premium
Cavalry Bancorp, Inc.                      03/16/06                29.6%
                                                                                                                                    Doc 3698-36




Union Community Bancorp                          03/20/06           56.4%
Northern Savings & Loan Co.                      06/27/06           31.7%
Golden West Financial Corp.                      10/02/06           9.6%
NewMil Bancorp, Inc.                             10/06/06           42.1%
Harbor Florida Bancshares, Inc.                  12/01/06           17.3%
FLAG Financial Corp.                             12/08/06           0.7%
Median                                                              29.6%
                                                 Closing
                Target                             Date           Premium
Fidelity Bankshares, Inc.                        01/08/07           9.2%
                                                                                                                     Pg 114 of 385




Pocahontas Bancorp, Inc.                         02/02/07           31.7%
First Federal Banc of the Southwest, Inc.        02/13/07           42.1%
PSB Bancorp, Inc.                                04/02/07           51.0%
MAF Bancorp, Inc.                                09/04/07           33.6%
Synergy Financial Group, Inc                     10/01/07           7.9%
City Savings Financial Corp.                     10/12/07           60.0%
Median                                                              33.6%
                                                 Closing
              Target                               Date           Premium
KNBT Bancorp, Inc.                               02/01/08          24.1%
                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13




Great Lakes Bancorp, Inc.                        02/15/08           8.3%
MFB Corp.                                        07/18/08           7.0%
MASSBANK Corp.                                   09/03/08           4.7%
Willow Financial Bancorp, Inc                    12/05/08           14.6%
Median                                                              8.3%
                                                                                                                                    Appendix




Source: Mergerstat Control Premium Study, 4th Quarter 2006, 2007, 2008.


                                                                               Appendix V.A.2.b, Page 9 of 15
                                                                                                  Appendix V.A.2.b, Page 10 of 15


Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Restricted Stock Discount Analysis
1985 – 2009


                                                                                   Transaction             Transaction
  SIC                             Company                                             Date                  Discount
                                                                                                                                                                                                                   12-12020-mg




  6035       Freedom Savings & Loan Association                                     08/01/85                      23.9%
  6022       Commerce Union Corporation                                             03/01/86                       6.7%
  6022       First Colonial Bankshares Corp.                                        06/01/86                      13.4%
  6022       KeyCorp                                                                04/01/88                      38.0%
  6021       Mark Twain Bancshares, Inc.                                            07/01/88                       3.2%
  6022       First Regional Bancorp                                                 03/01/03                      35.9%
  6021       Community Bancorp Inc                                                  08/07/03                      11.4%
                                                                                                                                                                                                                   Doc 3698-36




  6022       First Regional Bancorp                                                 03/25/04                      84.6%
  6021       Center Bancorp Inc                                                     09/29/04                       5.5%
  6021       Commonwealth Bankshares, Inc.                                          10/14/04                       3.6%
  6022       Ameriserv Financial Inc                                                12/01/04                      11.4%
  6021       Commonwealth Bankshares, Inc.                                          06/27/05                       4.7%
  6021       Savannah Bancorp, Inc. (The)                                           08/26/05                       8.6%
  6022       Convera Corp                                                           02/28/06                       6.6%
  6035       Broadway Financial Corporation                                         05/22/06                      -8.7%
  6021       Commonwealth Bankshares, Inc.                                          10/26/06                       3.0%
  6022       State Bancorp, Inc.                                                    12/21/06                      10.0%
  6021       BNC Bancorp                                                            12/31/07                       7.7%
                                                                                                                                                                                                    Pg 115 of 385




  6035       Harrington West Financial Group Inc.                                   03/25/08                      -1.6%
  6022       Monarch Financial Holdings, Inc.                                       05/30/08                       7.0%
  6022       Western Alliance Bancorporation                                        06/27/08                       2.1%
  6021       Pinnacle Financial Partners Inc.                                       07/17/08                      12.1%
  6022       Texas Capital BancShares Inc.                                          09/08/08                      12.3%
  6022       Smithtown Bancorp Inc.                                                 09/26/08                      31.7%
  6022       Western Alliance Bancorporation                                        09/29/08                      25.8%
  6022       Washington Trust Bancorp Inc.                                          10/02/08                      23.8%
  6022       SCBT Financial Corp.                                                   10/27/08                       5.9%
  6021       Pacific Continental Corporation                                        01/07/09                       9.6%
                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                    Mean                                              14.2%
                                                                   Median                                              9.1%
                                                             First Quartile                                            5.3%
                                                            Third Quartile                                            16.0%


Source: Summary of 28 transactions (1985–Jan. 2009) for Standard Industrial Classification 6021, 6022, and 6035 reported by FMV Restricted Stock database, available at www.BVResources.com.
                                                                                                                                                                                                                   Appendix




                                                                                                   Appendix V.A.2.b, Page 10 of 15
                                                                                                    Appendix V.A.2.b, Page 11 of 15


Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Guideline M&A Method Summary
As of November 22, 2006
($ in Millions)

                                                                                             Old GMAC
                                                                                                                                                                                                                                          12-12020-mg




                                                                                                Bank
                                                                                              Financial                                                                        Range of Value             Weighting
                                                                                                                                                   (1)
                                                                                               Metric                         Multiple Range                                 Low            High

LTM P/E                                                                                      $        201.8 (2)           14.0x                   15.0x               $      2,825.6    $       3,027.4    50.0%

                                                                                                               (3)
P/TBVE                                                                                              1,161.0                2.2x                    2.3x                      2,554.2            2,670.3    50.0%
                                                                                                                                                                                                                                          Doc 3698-36




Equity value of Old GMAC Bank (marketable, controlling)                                                                                                               $      2,689.9    $       2,848.8


(1)
      Refer to Appendix V.A.2.b, at 12 for multiples of guideline target companies and Section V.A.2.b(2)(c) of the Report for a discussion of the selection of multiples.
(2)
   See National Motors Bank FSB, FDIC, Call Report (Mar. 31, 2005); National Motors Bank FSB, FDIC, Call Report (June 30, 2005); National Motors Bank FSB, FDIC, Call Report (Sep. 30, 2005); National Motors Bank
FSB, FDIC, Call Report (Dec. 31, 2005); National Motors Bank FSB, FDIC, Call Report (Mar. 31, 2006); National Motors Bank FSB, FDIC, Call Report (June 30, 2006); National Motors Bank FSB, FDIC, Call Report
(Sep. 30, 2006), http://www2.fdic.gov/idasp/confirmation_outside.asp?inCert1=35054.
(3)
      Residential Capital Corporation, Current Report (Form 8-K) (Nov. 20, 2006), at 2.
                                                                                                                                                                                                                           Pg 116 of 385
                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                          Appendix




                                                                                                     Appendix V.A.2.b, Page 11 of 15
                                                                                                     Appendix V.A.2.b, Page 12 of 15

Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Guideline M&A Valuation Multiples
As of November 22, 2006
($ in Millions)
                                                                                                                                                                                                                                                                                   12-12020-mg




                       Announced                                                                            Percent         Target Equity       Target LTM              Target          Control
                                                            (1)                                                                     (2)                                      (3)                (4)
      Closed Date         Date                     Target                           Acquirer                Acquired          Value              Earnings              TBVE            Premium               LTM P/E             P/TBVE

       10/1/2006         5/7/2006      Golden West Financial Corp. (5) Wachovia Corporation                  100.0%          $      25,017      $        1,529     $        9,043          10%                  16.4x              2.8x

                                       Commercial                          WMI Holdings Corp.
       10/1/2006        4/23/2006      Capital Bancorp, Inc. (6)                                             100.0%                     954                 65                326          13%                  14.7x              2.9x
                                                                                                                                                                                                                                                                                   Doc 3698-36




                                       Independence                        Santander
                                                            (7)            Holdings USA, Inc.
       6/1/2006        10/24/2005      Community Bank Corp.                                                  100.0%                   3,438                221                993          29%                  15.6x              3.5x

       3/1/2006         9/12/2005      Westcorp (8)                        Wachovia Corp.                    100.0%                   3,352                236              1,462          17%                  14.2x              2.3x



       12/2/2005        6/13/2005      Commercial Federal Corp. (9)        The Bank of the West              100.0%                   1,297                  5                594          33%                 247.9x              2.2x

                                                                                                                                                                                            Mean (10)           15.2x              2.7x
                                                                                                                                                                                                   (10)
                                                                                                                                                                                          Median                15.1x              2.8x
                                                                                                                                                                                                                                                                    Pg 117 of 385




(1)
    Transactions identified from Capital IQ. Capital IQ transaction screening criteria: transactions announced between Jan. 1, 2005 and Nov. 22, 2006, for companies operating in the savings institutions industry (Standard Industrial Classification 6035
and 6036) with total assets greater than $5 billion.
(2)
    Target equity value as of announced date.
(3)
    Target tangible book value of equity equals total common equity minus goodwill and other intangibles.
(4)
    Mergerstat, Control Premium Study: 3rd Quarter 2006, at 18; Mergerstat, Control Premium Study: 4th Quarter 2006, at 17 –18.
(5)
    Golden West Financial Corporation, Current Report (Form 8-K) (May. 8, 2006); Golden West Financial Corporation, Quarterly Report (Form 10-Q) (May 9, 2006), at 4 –5; Golden West Financial Corporation, Annual Report (Form 10-K)
( Mar. 8, 2006), at F-3; Golden West Financial Corporation, Quarterly Report (Form 10-Q) (May 9, 2005), at 5.
(6)
    Commercial Capital Bancorp, Inc., Current Report (Form 8-K) (Apr. 25, 2006); Commercial Capital Bancorp, Inc., Quarterly Report (Form 10-Q) (May 10, 2006), at 3 –4; Commercial Capital Bancorp, Inc., Annual Report (Form 10-K)
(Mar. 16, 2006), at 83; Commercial Capital Bancorp, Inc., Quarterly Report (Form 10-Q) (May 10, 2005), at 2.
(7)
  Independence Community Bank Corp., Current Report (Form 8-K) (Oct. 25, 2005); Independence Community Bank Corp., Quarterly Report (Form 10-Q) (Nov. 4, 2005), at 2 –3; Independence Community Bank Corp., Annual Report (Form 10-K)
(Mar. 11, 2005), at 81; Independence Community Bank Corp., Quarterly Report (Form 10-Q) (Nov. 8, 2004), at 3.
(8)
   Westcorp, Current Report (Form 8-K) (Sep. 12, 2005); Bloomberg; Westcorp, Quarterly Report (Form 10-Q) (Aug. 9, 2005), at 2 –3; Westcorp, Annual Report (Form 10-K) (Mar. 14, 2005), at F-6; Westcorp, Quarterly Report (Form 10-Q)
(Aug. 9, 2004), at 3.
                                                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




(9)
  Commercial Federal Corporation, Current Report (Form 8-K/A) (June 17, 2005); Commercial Federal Corporation, Quarterly Report (Form 10-Q) (May 6, 2005); Commercial Federal Corporation, Annual Report (Form 10-K)
(Mar. 1, 2005); Commercial Federal Corporation, Quarterly Report (Form 10-Q) (May 5, 2004).
(10)
       LTM P/E multiples greater than 50x have been excluded from summary statistic calculations.
                                                                                                                                                                                                                                                                                   Appendix




                                                                                                     Appendix V.A.2.b, Page 12 of 15
                                                                                                                         Appendix V.A.2.b, Page 13 of 15

Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
DCF Method
As of November 22, 2006
($ in Millions)


Assumptions:                                                                                                                Notes:
Discount rate (k)                                                                                                10.50%     See Appendix V.A.2.b, at 14
Residual period assumptions:
 Long-term growth rate (g)                                                                                        0.00%     Estimate by the Examiner's Financial Advisors
                                                                                                                                                                                                                                                                                                                                 12-12020-mg




 Net finance margin % of average loans plus securities                                                            2.50%     Based on management projection for 2007
 Normal provision % of HFI mortgage loans                                                                         0.33%     Based on management projection for 2007
 Income tax rate                                                                                                 40.00%     Estimated federal and state tax rate
 Normal equity to asset ratio                                                                                     9.00%     See Section V.A.2.b(3)(d) of the Report for a discussion of normalization of equity
 Years until normalization of equity (distribution of capital surplus)                                               2.0    See Section V.A.2.b(3)(d) of the Report for a discussion of normalization of equity
 Interest expense as % of deposits plus borrowings (after tax)                                                    3.18%     Based on management projection for 2007

                                                                                                         Projected (1)
                                                                                                          Year One                Residual
Balance Sheet Items
HFI mortgage loans                                                                                   $         10,608.3      $        10,608.3 (2)
                                                                                                                                                                                                                                                                                                                                 Doc 3698-36




Loans plus securities                                                                                          15,990.3               15,990.3 (2)
Total assets                                                                                                   16,909.3               16,909.3 (2)
Equity                                                                                                          2,055.2
Normalized equity (3)                                                                                           1,521.8                 1,521.8 (2)
Equity capital surplus                                                                                            533.4
Income Statement and Cash Flows
  Net financing revenue                                                                              $            373.9      $            399.5 (4)
  Other income                                                                                                    189.6                   189.6 (2)
Net revenue                                                                                                        563.5                   589.1
 Provision for credit losses                                                                                      (34.6)                  (35.0) (5)
 Non-interest expense                                                                                            (141.0)                 (141.0) (2)
 Income tax expense                                                                                              (149.4)                 (165.2)
Net income                                                                                                         238.6                   247.8
                                                                                                                                                                                                                                                                                                                  Pg 118 of 385




Less increase in equity                                                                                          (467.3)                     -
Cash flow                                                                                                        (228.7)                   247.8
Capitalization rate (k-g)                                                                                                                 10.5%
Cash flow value                                                                                                  (228.7)                2,360.3
Present value factor (6)                                                                                         0.9513                  0.9513
Present value of cash flow                                                                           $           (217.6)     $          2,245.4
Sum of present value of cash flow                                                                    $          2,027.8
Adjustment for November 22, 2006 capital contribution                                                            (360.0)
Equity value of Old GMAC Bank before adjustment for capital surplus                                  $          1,667.8
Adjustment for capital surplus                                                                                    297.6
Equity value of Old GMAC Bank after adjustment for capital surplus                                   $          1,965.3
Adjustment for Capital Surplus
  Present value of projected equity capital surplus (7)                                              $            436.8
  Capitalization of interest on equity capital surplus (8)                                                       (139.3)
                                                                                                                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




  Adjustment for capital surplus                                                                     $            297.6

(1)
    Projected balance sheet and income statement per GMAC Bank Consolidated Financial Review, dated Jan. 25, 2007, at ALLY_PEO_0006858 –59 [ALLY_PEO_0006664]. Assumes management's projections for 2007 were reasonably foreseeable for the first twelve months following the
transaction date.
(2)
    Assumed to grow at long term residual growth rate of zero percent beyond the first projected year.
(3)
    Normalized equity equals the assumed normal equity to asset ratio multiplied by projected total assets. For the normalized residual period, this balance is assumed to grow at the long-term growth rate.
(4)
    Residual net financing revenue equals the average of the beginning and ending balance of loans plus securities times net finance margin percentage.
(5)
    Provision for credit losses equals the average of the beginning and ending balance of HFI mortgage loans time the normal provision percentage.
                                                                                                                                                                                                                                                                                                                                 Appendix




(6)
    Present value factor employs mid-period convention.
(7)
    Present value discounted two years (the assumed number of years until the normalization of equity).
(8)
    Present value of interest expense as a percentage of deposits plus borrowings (after-tax) times projected equity capital surplus. This is discounted over the number of years until normalization of equity using mid-period discounting convention (assumes distribution is permitted by regulators).



                                                                                                                         Appendix V.A.2.b, Page 13 of 15
                                                                                             Appendix V.A.2.b, Page 14 of 15


Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Discount Rate Analysis
2006 – 2009


                                                                                                2006 Bank                               2009 Bank
                                                                                                                                                                                                                                         12-12020-mg




                                                                                               Restructuring                            Transaction
                                                                                                 11/22/06                                01/30/09
                                      (1)
         Calculation of MCAPM
                            (2)
           Risk-free rate                                                                           4.76%                                   3.86%             [A]
           Market risk premium                                                                      5.00%                                   6.50%             [B]
           Beta (3)                                                                                  0.86                                    1.58             [C]
           CAPM                                                                                     9.07%                                  14.12%             [D] = [A] + ( [B] × [C] )
                                                                                                                                                                                                                                         Doc 3698-36




                            (4)
           Size premium                                                                             1.49%                                   1.99%             [E]
           MCAPM                                                                                   10.56%                                  16.10%             [F] = [D] + [E]


         Equity discount rate used in DCF Method                                                   10.50%                                  16.00%

(1)
    See section V.A.2.b(3)(a) of the Report for a discussion of the calculation of MCAPM.
(2)
    20-year U.S. Treasury yield per Federal Reserve Board H.15 statistical release dated Nov. 29, 2006 and Feb. 2, 2009, for the 2006 Bank Restructuring and 2009 Bank Transaction, respectively.
(3)
    75th percentile of guideline companies was selected. For 2006: see Appendix V.A.2.b, at 4. For 2009: see Appendix V.A.2.d, at 4.
(4)
    For 2006: 5th decile, Ibbotson Associates, SBBI: Valuation Edition 2006 Yearbook (2006). For 2009: Average of the 7th decile and 8th decile, Morningstar, Inc., Ibbotson SBBI: 2009 Valuation Yearbook (2009).
                                                                                                                                                                                                                          Pg 119 of 385
                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                         Appendix




                                                                                              Appendix V.A.2.b, Page 14 of 15
                                                                                                   Appendix V.A.2.b, Page 15 of 15


Ally Bank Transactions: Reasonably Equivalent Value
2006 Bank Restructuring
Adjusted Book Value Method
As of November 22, 2006
($ in Thousands)
                                                                                                                                                                                                                                                                                12-12020-mg




                                                                                                                                           Fair
                                                                            Book Value (1)                Adjustments                   Market Value
Assets
       Cash and cash equivalents                                        $          913,574            $                   -         $          913,574 (2)
       Investment securities                                                         22,028                               -                      22,028 (2)
       Accounts receivable                                                           70,145                               -                      70,145 (2)
       HFS mortgage loans, net                                                   1,079,501                        (58,517)                   1,020,984 (4)
                                                                                                                                                                                                                                                                                Doc 3698-36




       Finance receivables and loans
        HFI mortgage loans                                                      11,504,026                        (22,031)                  11,481,995 (4)
        Commercial automotive                                                      335,938                          1,685                      337,623 (4)
        Warehouse lending                                                        1,023,183                         34,841                    1,058,024 (4)
        Allowance for credit losses                                                (23,760)                        23,760                            - (5)
       Finance receivables and loans, net                                       12,839,387                         38,255                   12,877,642

       Property & equipment                                                           2,566                               -                       2,566 (2)
   Other assets                                                                    440,844                              -                      440,844 (2)
Total assets                                                            $       15,368,045            $           (20,262)          $       15,347,783
                                                                                                                                                                                                                                                                 Pg 120 of 385




Liabilities
       Deposits                                                         $        5,974,386            $           (14,683)          $        5,959,703 (3)
       FHLB borrowings                                                           7,279,000                         30,094                    7,309,094 (4)
   Accrued expenses and other liabilities                                          526,760                              -                      526,760 (2)
Total liabilities                                                               13,780,146                         15,411                   13,795,557

Total stockholder's equity                                                       1,587,899                        (35,673)                   1,552,226
   Less: Capital contribution                                                     (360,000)                             -                     (360,000)
Equity value of Old GMAC Bank                                           $        1,227,899                        (35,673)          $        1,192,226

(1)
      Dec. 31, 2006 balance sheet used as a proxy for Nov. 22, 2006 balance sheet. GMAC Bank Consolidated Financial Review, dated Jan. 25, 2007, at ALLY_PEO_0006846 [ALLY_PEO_0006664].
(2)
    The Examiner's Financial Advisors assumed fair value equals book value.
(3)
                                                                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




    Fair value assumed equal to the Mortgage Bank’s book value as a percent of the consolidated Ally Bank book value times management's estimated fair value on a consolidated basis. See GMAC Bank Consolidated Financial Statements as of Dec. 31, 2006
and Independent Auditors’ Report, at 35 [RC00035095].
(4)
    Management's estimate of fair value. See GMAC Bank Consolidated Financial Statements as of December 31, 2006 and Independent Auditors’ Report, at 35 [RC00035095].
(5)
    Allowance for credit losses assumed to be accounted for in management's estimated fair value of HFI mortgage loans.
                                                                                                                                                                                                                                                                                Appendix




                                                                                                    Appendix V.A.2.b, Page 15 of 15
                                                                                  Appendix V.A.2.c, Page 1 of 4


Ally Bank Transactions: Reasonably Equivalent Value
2008 Bank Transaction
Value Summary
As of March 31, 2008 and June 3, 2008
($ in Millions)
                                                                                                                                                                                    12-12020-mg




                                                                                                                   Appendix             Fair Market Value
                                                                                                                   Reference          Low              High
Value Transferred from ResCap:

ResCap Preferred Interests                                                                                                        $       -         $      -
Right to exchange ResCap Preferred Interests for IB Finance Preferred Interests                                   V.A.2.c, at 2        571.4            714.2
Total property transferred                                                                                                             571.4            714.2
                                                                                                                                                                                    Doc 3698-36




Value Received by ResCap:

Contribution of bonds                                                                                             V.A.2.c, at 3        841.3            841.3
Right to redeem IB Finance Preferred Interests                                                                                            -                -
Total property received                                                                                                           $    841.3        $   841.3

Value received by ResCap less value transferred from ResCap                                                                       $    269.9   to   $   127.1
                                                                                                                                                                     Pg 121 of 385




Source: Appendix V.A.2.c, at 2 –3.
                                                                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                    Appendix




                                                                                  Appendix V.A.2.c, Page 1 of 4
                                                                                              Appendix V.A.2.c, Page 2 of 4


Ally Bank Transactions: Reasonably Equivalent Value
2008 Bank Transaction
Right to Exchange ResCap Preferred Interests for IB Finance Preferred Interests
As of March 31, 2008 and June 3, 2008
($ in Millions)
                                                                                                                                                                                                                                               12-12020-mg




                                                                                                                                                      March 31, 2008                             June 3, 2008
                                                                                                                                                Low                 High                  Low                   High

IB Finance Preferred Interests (number of units) (1)                                                                                             607,192                  607,192         199,152                199,152
Redemption value (2)                                                                                                                      $         607.2          $         607.2    $     199.2         $        199.2

Annual dividend @ 10% of redemption value (3)                                                                                             $           60.7         $          60.7    $         19.9      $         19.9
                                                                                                                                                                                                                                               Doc 3698-36




                                        (4)
Divided by: market dividend yield                                                                                                                     10%                       8%            10%                     8%
Capitalized value assuming exchange on January 1, 2009                                                                                    $         607.2          $         759.0    $     199.2         $        248.9

Present value factor                                                                                                                              0.6640                   0.6640          0.8449                 0.8449

Value of right to exchange ResCap Preferred Interests for IB Finance Preferred Interests                                                  $         403.1          $         503.9    $     168.3         $        210.3

Total value of right to exchange ResCap Preferred Interests for IB Finance Preferred Interests                                            $         571.4     to   $         714.2
                                                                                                                                                                                                                                Pg 122 of 385




Assumptions for the Present Value Factor
                                                        (5)
Discount rate for short-term ResCap obligations                                                                                                    71.9%                                    33.7%
Days until January 1, 2009                                                                                                                            276                                      212
Present value factor                                                                                                                              0.6640                                   0.8449


(1)
    Residential Capital, LLC, Current Report (Form 8-K) (Apr. 4, 2008); Residential Capital, LLC, Current Report (Form 8-K) (June 9, 2008).
(2)
    IB Finance 2008 LLC Agreement, § 2.1(b)(iii) [ALLY_0031313].
(3)
    Id. at § 2.5.
(4)
    Derived from analysis of preferred stock benchmarks as of transaction dates. See Appendix V.A.2.c, at 4.
(5)
    Average of yield-to-maturities on ResCap senior unsecured notes maturing Apr. 17, 2009 and Nov. 21, 2008, per Bloomberg; notes were selected to approximate a January maturity.
                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                               Appendix




                                                                                               Appendix V.A.2.c, Page 2 of 4
                                                                                                   Appendix V.A.2.c, Page 3 of 4


Ally Bank Transactions: Reasonably Equivalent Value
2008 Bank Transaction
Contribution of ResCap Bonds by AFI
As of March 31, 2008 and June 3, 2008
($ in Millions, except bond prices)
                                                                                                                                                                                                                                                        12-12020-mg




                                                                                         [A]                  [B]            [C] = [A] × [B]                 [D]                 [E] = [C] + [D]

                                                                                                                                                                                Observed Market
                                                                                                        Face Amount            Observed                   Accrued                 Value Plus
      Coupon                       Debt Rank (1)                 Maturity              Price (2)        Contributed (3)       Market Value               Interest (3)           Accrued Interest
March 31, 2008:
      Floating                     Sr unsecured                  11/21/08                      68.0     $         71.0       $           48.3        $              0.5         $           48.8
      Floating                     Sr unsecured                  04/17/09                      57.0               36.0                   20.5                       0.5                     21.0
                                                                                                                                                                                                                                                        Doc 3698-36




      Floating                     Sr unsecured                  05/22/09                      57.0               51.0                   29.1                       0.3                     29.4
       6.375                       Sr unsecured                  06/30/10                      50.3              206.9                  104.0                       4.2                    108.2
      Floating                     Sr unsecured                  09/27/10                      45.0               31.2                   14.0                        -                      14.0
       6.000                       Sr unsecured                  02/22/11                      49.0               60.0                   29.4                       0.5                     29.9
       5.125                       Sr unsecured                  05/17/12                      45.5              163.7                   74.5                       8.7                     83.2
       6.500                       Sr unsecured                  06/01/12                      49.0              135.0                   66.2                       3.7                     69.9
       6.500                       Sr unsecured                  04/17/13                      48.5               63.0                   30.6                       2.3                     32.9
       6.375                       Sr unsecured                  05/17/13                      44.5               20.0                    8.9                       1.3                     10.2
       7.875                       Sr unsecured                  07/01/14                      44.5               44.0                   19.6                       1.0                     20.6
       6.875                       Sr unsecured                  06/30/15                      48.5              113.0                   54.8                       2.4                     57.2
                                                                                                                                                                                                                                         Pg 123 of 385




      Floating                    Sr subordinated                04/17/09                      37.0              181.4                   67.1                       2.8                     69.9
Total                                                                                                   $      1,176.2       $          566.9        $             28.2         $          595.1      [F]

June 3, 2008:
                                                                                                                                                                          (4)
          Floating                  Sr unsecured                 06/09/08                      98.0     $           249.1    $          244.1        $              2.1         $          246.3      [G]


Contribution of bonds                                                                                                                                                           $          841.3      [F] + [G]


(1)
      Debt rank per Bloomberg.
(2)
      Pricing per Interactive Data Corporation, a vendor of securities pricing data.
(3)
                                                                                                                                                                                                                                    Filed 05/13/13 Entered 05/13/13 17:08:13




  Face amount contributed and accrued interest values obtained from Morgan Stanley Project Duvall Discussion Materials, dated Mar. 28, 2008, at RC40007499 [RC40007480]; for the June 3 contribution, face amount contributed per
Residential Capital, LLC, Current Report (Form 8-K) (June 9, 2008).
(4)
      Estimated by the Examiner's Financial Advisors.
                                                                                                                                                                                                                                                        Appendix




                                                                                                   Appendix V.A.2.c, Page 3 of 4
                                                                                                     Appendix V.A.2.c, Page 4 of 4


Ally Bank Transactions: Reasonably Equivalent Value
2008 Bank Transaction
Benchmark Preferred and Debt Yields
2008 – 2009
                                                                                               (2)
                                                                                     3/31/08                         6/03/08 (2)     1/30/09 (2)
                                               (1)
Instruments Cited by Morgan Stanley
                                                                                                                                                                       12-12020-mg




Colonial Bancgroup Inc.                                                                10.4%                           10.1%           34.7%
SunTrust Capital X                                                                     8.6%                            8.3%            14.9%
KeyCorp Capital X                                                                      11.3%                           13.3%           24.4%
PNC Financial Services                                                                 8.4%                            8.4%            12.0%
National City Corp                                                                     8.9%                            8.8%            9.3%
M&T Capital Trust IV                                                                   8.5%                            8.5%            8.8%
Susquehanna Capital I                                                                  9.2%                            8.6%            13.2%
                                                                                                                                                                       Doc 3698-36




Other Large Financial Institutions Preferred Yields
Bank of America Corp at 7.25%                                                           7.3%                           7.5%            15.6%
Bank of America Corp at 6.63%                                                           7.4%                           7.3%            16.1%
Bank of America Corp at 6.2%                                                            7.2%                           7.3%            14.8%
Bank of America Corp at 6.38%                                                           7.9%                           8.1%            17.1%
Bank of America Corp at 6.7%                                                            8.1%                           7.5%            17.0%
Bank of America Corp at 6.25%                                                           8.2%                           7.9%            16.1%

Merrill Lynch & Co., Inc. at 7.12%                                                      8.4%                           8.4%            14.6%
Merrill Lynch & Co., Inc. at 7.28%                                                      8.5%                           8.4%            14.1%
                                                                                                                                                        Pg 124 of 385




Wells Fargo & Co at 8%                                                                  8.2%                           8.3%            11.2%

Wachovia at 7.25%                                                                       7.7%                           8.1%            10.6%

Citigroup Inc at 8.13%                                                                  8.6%                           8.5%            23.6%

JPMorgan Chase & Co at 5.72%                                                           17.4%                           16.1%           24.8%
JPMorgan Chase & Co at 5.49%                                                           18.9%                           18.9%           16.6%


Selected Interest Rate Benchmarks
ML US High Yield Master II Index                                                       10.9%                           10.2%           18.1%
                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




ML US High Yield BB Rated                                                              8.8%                            8.2%            13.0%
ML US High Yield B Rated                                                               11.2%                           10.2%           16.4%
ML US High Yield CCC and Lower Rated                                                   15.4%                           14.8%           30.9%
ML US High Yield Banks & Thrifts                                                       13.6%                           12.4%           27.3%

(1)
                                                                                                                                                                       Appendix




      Morgan Stanley Project Duvall, dated Mar. 28, 2008, at RC40007501 [RC40007480].
(2)
      Preferred stock yields per Bloomberg as of the dates of the 2008 Bank Transaction and 2009 Bank Transaction.




                                                                                                     Appendix V.A.2.c, Page 4 of 4
                                                                              Appendix V.A.2.d, Page 1 of 9


Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
Value Summary
As of January 30, 2009
($ in Millions)

                                                                                                Appendix            Fair Market Value
                                                                                                                                                                              12-12020-mg




                                                                                                Reference          Low            High        Weighting
Value Transferred from ResCap:

Market Approach: Guideline Publicly Traded Company Method                                      V.A.2.d, at 2   $     602.1    $    1,003.5     50.0%

Market Approach: Guideline M&A Method                                                                                 N/A             N/A       0.0%

Income Approach: DCF Method                                                                    V.A.2.d, at 5         412.3          874.8      50.0%
                                                                                                                                                                              Doc 3698-36




Asset-Based Approach: Adjusted Book Value Method                                               V.A.2.d, at 6         363.8          363.8       0.0%

Equity value of the Mortgage Bank (marketable, controlling)                                                    $     507.2    $     939.1
Equity value of the Mortgage Bank (marketable, controlling), rounded                                                 500.0          900.0

IB Finance Preferred Interests                                                                 V.A.2.d, at 8         322.5          537.6
Remaining 1.2 million IB Finance Class M Shares (marketable, controlling)                                            177.5          362.4

Discount for attributes of shares                                                                      40.0%         (71.0)         (145.0)
                                                                                                                                                               Pg 125 of 385




Remaining 1.2 million IB Finance Class M Shares (non-marketable, non-controlling)                                    106.5           217.5
Forfeited right to redeem IB Finance Preferred Interests                                                                 -               -
Total property transferred                                                                                     $     106.5    $      217.5

Value Received by ResCap

Contribution of bonds                                                                          V.A.2.d, at 9         600.2          600.2
Total property received                                                                                        $     600.2    $     600.2

Value received by ResCap less value transferred from ResCap                                                    $     493.7 to $     382.7
                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




Source: Appendix V.A.2.d, at 2, 5–6, 8–9.
                                                                                                                                                                              Appendix




                                                                              Appendix V.A.2.d, Page 1 of 9
                                                                                                       Appendix V.A.2.d, Page 2 of 9


Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
Guideline Publicly Traded Company Method Summary
As of January 30, 2009
($ in Millions)
                                                                                                                                                                                                                                 12-12020-mg




                                                                                                  Mortgage
                                                                                                    Bank
                                                                                                  Financial                                                                       Range of Value
                                                                                                   Metric                      Multiple Range (1)                            Low                   High

P/TBVE                                                                                        $      1,824.5 (2)            0.3x                     0.5x               $        547.3     $        912.2

Equity value of the Mortgage Bank (marketable, minority)                                                                                                                         547.3               912.2
                                                                                                                                                                                                                                 Doc 3698-36




Control premium                                                                                                                                             10%                   54.7                91.2
Equity value of the Mortgage Bank (marketable, controlling)                                                                                                             $        602.1     $       1,003.5


(1)
      Refer to Appendix V.A.2.d, at 3 for multiples of guideline public companies and Section V.A.2.d(2)(a)(i)(B)(ii) of the Report for a discussion of the selection of multiples.
(2)
      GMAC Bank 2009 –2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007939 [ALLY_PEO_0007887].
                                                                                                                                                                                                                  Pg 126 of 385
                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                 Appendix




                                                                                                       Appendix V.A.2.d, Page 2 of 9
                                                                                                              Appendix V.A.2.d, Page 3 of 9

Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
Guideline Publicly Traded Company Method Multiples
As of January 30, 2009
($ in Millions)


                                                                        [A]                            [B]                             [C]                            [D]                      [E] = [A] / [B]                [F] = [A] / [C]                [G] = [A] / [D]
                                                                                                                                                                                                                                                                                                        12-12020-mg




                                                                                                                                    LTM
                                                                      MVE                            TBVE                          Earnings                 Forward Earnings                      P/TBVE                         LTM P/E                     Forward P/E
Mortgage Bank                                                                 N/A            $               1,824.5        $                (150.9)        $                (241.9)                      N/A                            N/A                           N/A

Guideline Publicly Traded Companies
 Astoria Financial Corporation                                $                 815.6        $                 996.6        $                  75.3         $                  90.0                       0.8x                          10.8x                         9.1x
 BankUnited Financial Corporation                                                 9.3                          547.8                         (202.6)                         (100.9)                      0.0x                           N/M                          N/M
 Capitol Federal Financial, Inc.                                              3,066.7                          897.4                           57.7                            69.7                       3.4x                          53.2x                        44.0x
                                                                                                                                                                                                                                                                                                        Doc 3698-36




 FirstFed Financial Corp.                                                        11.6                          258.7                         (401.7)                          (98.1)                      0.0x                           N/M                          N/M
 Flagstar Bancorp Inc.                                                           50.2                          472.3                         (275.4)                          (40.2)                      0.1x                           N/M                          N/M
 Hudson City Bancorp, Inc.                                                    5,673.9                        4,786.7                          445.6                           540.1                       1.2x                          12.7x                        10.5x
 Investors Bancorp Inc.                                                       1,164.7                          753.8                          (68.2)                           35.2                       1.5x                           N/M                         33.1x
 NewAlliance Bancshares, Inc.                                                 1,089.2                          810.2                           45.3                            37.3                       1.3x                          24.0x                        29.2x
 TFS Financial Corp                                                           4,006.1                        1,794.8                           47.2                            24.5                       2.2x                          84.9x                       163.3x
 Washington Federal Inc.                                                      1,079.6                        1,163.4                           50.8                            74.1                       0.9x                          21.3x                        14.6x

                                                                                                                                                                                   (1)
                                                                                                                                                                            Mean                         1.2x                          17.2x                         23.4x
                                                                                                                                                                        Median (1)                       1.1x                          17.0x                         21.9x
                                                                                                                                                                                                                                                                                         Pg 127 of 385




(1)
  LTM P/E and Forward P/E multiples greater than 50x were excluded from the mean and median.
Source: Bloomberg; Guideline company projections per Thomson Reuters SMIntelligence; Astoria Financial Corporation, Annual Report (Form 10-K) (Feb. 27, 2009), at 76, 95–96, 128; BankUnited Financial Corporation, Quarterly Report (Form 10-Q) (Aug. 25, 2008), at 3–4,
47; BankUnited Financial Corporation, Annual Report (Form 10-K) (Nov. 29, 2007), at 78; BankUnited Financial Corporation, Quarterly Report (Form 10-Q) (Aug. 9, 2007), at 4; Capitol Federal Financial, Inc., Quarterly Report (Form 10-Q) (Feb. 4, 2009), at 1, 3–4; Capitol
Federal Financial, Inc,. Annual Report (Form 10-K) (Dec. 1, 2008), at 15, 40; Capitol Federal Financial, Inc., Quarterly Report (Form 10-Q); (Feb. 4, 2008), at 4; FirstFed Financial Corp., Annual Report (Form 10-K) (Mar. 31, 2009), at 43, 62–63; Flagstar Bancorp Inc.,
Annual Report (Form 10-K) (Mar. 13, 2009), at 52, 72–73; Hudson City Bancorp, Inc., Annual Report (Form 10-K) (Feb. 27, 2009), at 19, 97–98, 123; Investors Bancorp Inc., Quarterly Report (Form 10-Q) (Feb. 9, 2009), at 1–2; Investors Bancorp Inc., Annual Report (Form
10-K) (Aug. 22, 2008), at 11, 66; Investors Bancorp Inc., Quarterly Report (Form 10-Q) (Feb. 11, 2008), at 2; NewAlliance Bancshares, Inc., Annual Report (Form 10-K) (Feb. 27, 2009), at 67–68, 86, 94, 96; TFS Financial Corp., Quarterly Report (Form 10-Q) (Feb. 6, 2009), at
3–4; TFS Financial Corp., Annual Report (Form 10-K) (Nov. 26, 2008), at 76, 14; TFS Financial Corp., Quarterly Report (Form 10-Q) (Feb. 14, 2008), at 4; Washington Federal Inc., Quarterly Report (Form 10-Q) (Feb. 9, 2009), at 3–4; Washington Federal Inc., Annual Report
(Form 10-K) (Nov. 28, 2008), at 7, 14; Washington Federal Inc., Quarterly Report (Form 10-Q) (Feb. 4, 2008), at 4.
                                                                                                                                                                                                                                                                                    Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                        Appendix




                                                                                                              Appendix V.A.2.d, Page 3 of 9
                                                                                                              Appendix V.A.2.d, Page 4 of 9

Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
Guideline Publicly Traded Company Method Ratios and Financial Information
As of January 30, 2009
($ in Millions)


                                                                        [A]                            [B]                             [C]                            [D]                             [E]                      [F] = [C] / [E]               [G] = [D] / [E]
                                                                                                                                                                                                                                                                                                        12-12020-mg




                                                                                                                                                                                                                            Non-Performing
                                                                Barra Predicted                                                  Non-Performing                     LTM                         Book Value of             Assets/Book Value of
                                                                     Beta                         Total Assets                       Assets                        Earnings                        Equity                        Equity                           ROE
Mortgage Bank                                                          N/A                   $             22,013.8          $                691.9         $                (150.9)        $               1,824.5                 37.9%                           -8.3%

Guideline Publicly Traded Companies
 Astoria Financial Corporation                                         1.22                  $             21,982.1          $                 264.1        $                  75.3         $               1,181.8                22.3%                             6.4%
 BankUnited Financial Corporation                                      2.16                                14,119.5                          1,099.6                         (202.6)                          576.2                190.9%                          -35.2%
                                                                                                                                                                                                                                                                                                        Doc 3698-36




 Capitol Federal Financial, Inc.                                       0.42                                 8,157.3                             18.8                           57.7                           897.4                 2.1%                             6.4%
 FirstFed Financial Corp.                                              2.02                                 7,450.6                            521.5                         (401.7)                          258.7                201.6%                         -155.2%
 Flagstar Bancorp Inc.                                                 1.70                                14,203.7                            755.2                         (275.4)                          472.3                159.9%                          -58.3%
 Hudson City Bancorp, Inc.                                             0.99                                54,145.3                            233.1                          445.6                         4,938.8                 4.7%                             9.0%
 Investors Bancorp Inc.                                                0.67                                 7,183.8                             19.4                          (68.2)                          753.8                 2.6%                            -9.1%
 NewAlliance Bancshares, Inc.                                          0.76                                 8,299.5                             40.4                           45.3                         1,381.2                 2.9%                             3.3%
 TFS Financial Corp                                                    0.36                                10,875.8                            187.0                           47.2                         1,794.8                 10.4%                            2.6%
 Washington Federal Inc.                                               0.93                                12,521.9                            164.2                           50.8                         1,383.8                11.9%                             3.7%

                                                                                                                                                                                                             Mean                   60.9%                          -22.6%
                                                                                                                                                                                                            Median                  11.1%                            3.0%
                                                                                                                                                                                                                                                                                         Pg 128 of 385




Source: Bloomberg; MSCI Barra, GMAC Bank 2009 –2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007939–40 [ALLY_PEO_0007887]; GMAC Bank 2009 –2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007939–40
[ALLY_PEO_0007920]; ALLY_PEO_0007949–50; [ALLY_PEO_0007887]; Astoria Financial Corporation, Annual Report (Form 10-K) (Feb. 27, 2009), at 76, 95–96, 128; BankUnited Financial Corporation, Quarterly Report (Form 10-Q) (Aug. 25, 2008), at 3–4, 47;
BankUnited Financial Corporation, Annual Report (Form 10-K) (Nov. 29, 2007), at 78; BankUnited Financial Corporation, Quarterly Report (Form 10-Q) (Aug. 9, 2007), at 4; Capitol Federal Financial, Inc., Quarterly Report (Form 10-Q) (Feb. 4, 2009), at 1, 3–4; Capitol
Federal Financial, Inc,. Annual Report (Form 10-K) (Dec. 1, 2008), at 15, 40; Capitol Federal Financial, Inc., Quarterly Report (Form 10-Q) (Feb. 4, 2008), at 4; FirstFed Financial Corp., Annual Report (Form 10-K) (Mar. 31, 2009), at 43, 62–63; Flagstar Bancorp Inc.,
Annual Report (Form 10-K) (Mar. 13, 2009), at 52, 72–73; Hudson City Bancorp, Inc., Annual Report (Form 10-K) (Feb. 27, 2009), at 19, 97–98, 123; Investors Bancorp Inc., Quarterly Report (Form 10-Q) (Feb. 9, 2009), at 1–2; Investors Bancorp Inc., Annual Report (Form
10-K) (Aug. 22, 2008), at 11, 66; Investors Bancorp Inc., Quarterly Report (Form 10-Q) (Feb. 11, 2008), at 2; NewAlliance Bancshares, Inc., Annual Report (Form 10-K) (Feb. 27, 2009), at 67–68, 86, 94, 96; TFS Financial Corp., Quarterly Report (Form 10-Q) (Feb. 6, 2009), at
3–4; TFS Financial Corp., Annual Report (Form 10-K) (Nov. 26, 2008), at 76; TFS Financial Corp., Quarterly Report (Form 10-Q) (Feb. 14, 2008), at 4; Washington Federal Inc., Quarterly Report (Form 10-Q) (Feb. 9, 2009), at 3–4; Washington Federal Inc., Annual Report
(Form 10-K) (Nov. 28, 2008), at 7, 14; Washington Federal Inc., Quarterly Report (Form 10-Q) (Feb. 4, 2008), at 4.
                                                                                                                                                                                                                                                                                    Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                        Appendix




                                                                                                               Appendix V.A.2.d, Page 4 of 9
                                                                                                           Appendix V.A.2.d, Page 5 of 9

Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
DCF Method
As of January 30, 2009
($ in Millions)

Assumptions:                                                                                               Notes:
Discount rate (k)                                                                           16.00%         See Appendix V.A.2.b, at 14
Residual period assumptions:
 Long-term growth rate (g)                                                                   0.00%         Estimate by the Examiner's Financial Advisors
                                                                                                                                                                                                                                                                                  12-12020-mg




 Net finance margin % of average loans plus securities                                       2.04%         Based on management projection for 2011
 Normal provision % of HFI mortgage loans                                                    0.33%         Projection used for 2006 Bank Restructuring DCF Method
 Income tax rate                                                                            40.00%         Estimated federal and state tax rate
 Normal equity to asset ratio                                                                9.00%         See Section V.A.2.d(2)(b)(iii) of the Report for a discussion of normalization of equity
 Years until normalization of equity (required capital contribution)                           3.0         See Section V.A.2.d(2)(b)(iii) of the Report for a discussion of normalization of equity
 Interest expense as % of deposits plus borrowings (after tax)                               2.38%         Based on management projection for 2009

                                                                                                                Projected (1)
                                                                                   Year One                      Year Two                      Year Three                         Residual
Balance Sheet Items
                                                                                                                                                                                                       (2)
HFI mortgage loans                                                           $             16,755.9        $              17,367.9        $           17,962.6            $                17,962.6
                                                                                                                                                                                                                                                                                  Doc 3698-36




Loans plus securities                                                                      23,697.6                       23,747.0                    24,602.0                             24,602.0 (2)
Total assets                                                                               26,868.5                       27,275.2                    28,479.1                             28,479.1 (2)
Equity                                                                                      1,584.0                        1,597.6                     1,703.4
                    (3)                                                                                                                                                                                (2)
Normalized equity                                                                           2,418.2                        2,454.8                     2,563.1                               2,563.1
Equity capital deficiency                                                                    (834.2)                        (857.2)                     (859.7)
Income Statement and Cash Flows
Net financing revenue                                                                         360.0                             577.8                    492.9                                 501.6 (4)
Gain (loss) on sale of loans                                                                  (42.7)                            (23.4)                   (25.2)                                   -
                                                                                                                                                                                                     (2)
Origination fees                                                                              227.6                             195.5                    212.5                                 212.5
Other income                                                                                   32.8                              33.2                     58.9                                  58.9 (2)
Net revenue                                                                                   577.7                             783.0                    739.1                                 773.1
                                                                                                                                                                                                       (5)
 Provision for credit losses                                                                 (583.4)                        (401.3)                      (200.6)                                (59.3)
                                                                                                                                                                                                       (2)
 Non-interest expense                                                                        (369.1)                        (360.8)                      (375.7)                              (375.7)
                                                                                                                                                                                                                                                                   Pg 129 of 385




 Income tax expense                                                                           132.9                           (7.3)                       (57.0)                              (135.2)
Net income                                                                                   (241.9)                          13.6                        105.8                                202.8
Less increase in equity                                                                       240.5                          (13.6)                      (105.8)                                   -
Other comprehensive income                                                                      1.4                            0.0                          0.0                                    -
Cash flow                                                                                       -                              -                            -                                  202.8
Capitalization rate (k-g)                                                                                                                                                                      16.0%
Cash flow value                                                                                 -                              -                           -                                 1,267.8
                      (6)
Present value factor                                                                         0.9285                         0.8004                      0.6900                                0.6900
Present value of cash flow                                                                      -                              -                           -                                   874.8
Equity value of Mortgage Bank before adjustment for capital deficiency       $                874.8
Adjustment for capital deficiency                                                            (462.4)
Equity value of Mortgage Bank after adjustment for capital deficiency        $                412.3
Adjustment for Capital Deficiency
                                                      (7)
Present value of projected equity capital deficiency                         $               (550.8)
                                                         (8)
Capitalization of interest on equity capital deficiency                                        88.4
                                                                                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




Adjustment for capital deficiency                                            $               (462.4)
(1)
    GMAC Bank 2009 –2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007939–40; ALLY_PEO_0007949–50; ALLY_PEO_0007958–59 [ALLY_PEO_0007887]. Assumes management's projections for 2009–2011 represent reasonably foreseeable
expectations for the first thirty-six months after the transaction date.
(2)
    Assumed to grow at long term residual growth rate of zero percent beyond the third year of the projection period.
(3)
    Normalized equity equals the assumed normal equity to asset ratio multiplied by projected total assets. For the normalized residual period, this balance is assumed to grow at the long-term growth rate of zero percent.
(4)
    Residual net financing revenue equals the average of the beginning and ending balance of loans plus securities times net finance margin percentage.
(5)
    Provision for credit losses equals the average of the beginning and ending balance of HFI mortgage loans time the normal provision percentage.
(6)
    Present value factor employs mid-period convention.
                                                                                                                                                                                                                                                                                  Appendix




(7)
    Present value discounted three years (the assumed number of years until the normalization of equity).
(8)
    Present value of interest expense as a percentage of deposits plus borrowings (after-tax) times projected equity capital deficiency. This is discounted over the number of years until normalization of equity using mid-period discounting convention.




                                                                                                           Appendix V.A.2.d, Page 5 of 9
                                                                                                Appendix V.A.2.d, Page 6 of 9


Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
Adjusted Book Value Method
As of January 30, 2009
($ in Thousands)


                                                                                                                                        Fair
                                                                                                                                                                                                                                                             12-12020-mg




                                                                             Book Value (1)             Adjustments                 Market Value
Assets
                                                                                                                                                       (2)
      Cash and cash equivalents                                          $         2,825,381        $                    -      $         2,825,381
      Investment securities                                                           25,150                             -                   25,150 (2)
      HFS mortgage loans, net                                                        882,754                             -                  882,754 (4)
      Finance receivables and loans
                                                                                                                                                                                                                                                             Doc 3698-36




                                                                                                                                                       (5)
       HFI mortgage loans                                                        15,375,957                  (1,188,817)                14,187,140
                                                                                                                                                       (2)
       Consumer finance receivables                                                   89,723                             -                   89,723
       Warehouse lending                                                           1,440,670                             -                1,440,670 (4)
       Allowance for credit losses                                                 (363,714)                    363,714                          - (6)
      Finance receivables and loans, net                                         16,542,636                    (825,103)                15,717,533

                                                                                                                                                       (8)
      MSRs                                                                           418,628                             -                  418,628
      FHLB stock                                                                     496,090                             -                  496,090 (8)
                                                                                                                                                       (2)
   Other assets                                                                     823,128                           -                    823,128
                                                                                                                                                                                                                                              Pg 130 of 385




Total assets                                                             $       22,013,768         $          (825,103)        $       21,188,665

Liabilities
                                                                                                                                                       (7)
      Deposits                                                           $       10,600,537         $             64,194        $       10,664,731
      FHLB borrowings                                                              9,303,000                    571,416                   9,874,416 (3)
   Accrued expenses and other liabilities                                            285,760                          -                    285,760 (2)
Total liabilities                                                                 20,189,297                    635,610                 20,824,907

Equity value of Mortgage Bank                                            $         1,824,472        $        (1,460,714)        $           363,758
                                                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    GMAC Bank 2009 –2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007939 [ALLY_PEO_0007887].
(2)
    The Examiner's Financial Advisors assumed fair value equals book value.
(3)
    Fair value of FHLB borrowings estimated by subtracting FRB borrowings of $10 million from management's estimated fair value of the combined FHLB and FRB borrowings. See GMAC Bank Consolidated Financial Statements as of
December 31, 2008 and 2007 and Independent Auditors’ Report, at 33, 50 [RC00034535].
(4)
    Management's estimate of fair value. See GMAC Bank Consolidated Financial Statements as of December 31, 2008 and 2007 and Independent Auditors’ Report, dated Mar. 17, 2009, at 50 [RC00034535].
(5)
    Estimated Fair Market Value of HFI mortgage loans. See Appendix V.A.2.d, at 7.
(6)
    Book allowance assumed to be reflected in management's estimate of fair value of loans.
                                                                                                                                                                                                                                                             Appendix




(7)
    Fair value of deposits assumed equal to Mortgage Bank's book value of deposits as a percent of consolidated GMAC deposits (approximately 54.9%) times estimated fair value of consolidated deposits (approximately $19.4 billion).
(8)
    Management's estimate of fair value. See GMAC Bank Consolidated Financial Statements as of December 31, 2008 and 2007 and Independent Auditors’ Report, dated Mar. 17, 2009, at 16 [RC00034535].



                                                                                                Appendix V.A.2.d, Page 6 of 9
                                                                                           Appendix V.A.2.d, Page 7 of 9


Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
Fair Market Value of HFI Mortgage Loans
As of January 30, 2009
($ in Thousands)

Fair Market Value of HFI Mortgage Loans
                                                                                                                                                                                                                           12-12020-mg




                                                                  (1)
Management's estimate of fair value of HFI mortgage loans                                                     $    15,008,726
Projected provisions in excess of current allowance                                                                  (821,586)
Fair Market Value of HFI mortgage loans                                                                       $    14,187,140


Projected Provisions in Excess of Current Allowance

Allowance for credit losses (12/31/08) (2)                                                                    $        363,714       [A]
                                                                                                                                                                                                                           Doc 3698-36




Projected provisions for credit losses (2009 to 2011) (3)                                                           1,185,300        [B]
Projected provisions in excess of current allowance                                                           $      (821,586)       [C] = [A] - [B]


(1)
    Management's estimate of fair value. See GMAC Bank Consolidated Financial Statements as of December 31, 2008 and 2007 and Independent Auditors’ Report, dated Mar. 17, 2009, at 50 [RC00034535].
(2)
    GMAC Bank 2009 –2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007939 [ALLY_PEO_0007887].
(3)
    GMAC Bank 2009 –2011 Business Plan Review, dated Mar. 17, 2009, at ALLY_PEO_0007940, ALLY_PEO_0007950, ALLY_PEO_0007959 [ALLY_PEO_0007887].
                                                                                                                                                                                                            Pg 131 of 385
                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                           Appendix




                                                                                            Appendix V.A.2.d, Page 7 of 9
                                                                                                   Appendix V.A.2.d, Page 8 of 9


Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
IB Finance Preferred Interests
As of January 30, 2009
($ in Millions)
                                                                                                                                                          12-12020-mg




                                                                                                 Range of Value
                                                                                      Low                            High

                                                           (1)
IB Finance Preferred Interests (number of units)                                            806,344                         806,344
                      (2)
Redemption value                                                           $                   806.3             $            806.3

Annual dividend @ 10% of redemption value (3)                              $                     80.6            $             80.6
                                                                                                                                                          Doc 3698-36




Divided by: Market dividend yield (4)                                                            25%                            15%
Value of IB Finance Preferred Interests                                    $                   322.5             $            537.6


(1)
    Residential Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009).
(2)
    IB Finance 2008 LLC Agreement, § 2.1(b)(iii) [ALLY_0031313].
(3)
    Id. at § 2.5.
(4)
    Analysis of contemporary yields on preferred shares of financial institutions. See Appendix V.A.2.c, at 4.
                                                                                                                                           Pg 132 of 385
                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                          Appendix




                                                                                                    Appendix V.A.2.d, Page 8 of 9
                                                                                           Appendix V.A.2.d, Page 9 of 9


Ally Bank Transactions: Reasonably Equivalent Value
2009 Bank Transaction
Contribution of ResCap Bonds by AFI
As of January 30, 2009
($ in Millions)
                                                                                                                                                                                                                      12-12020-mg




                                                                                     [A]                        [B]                [C] = [A] × [B]            [D]               [E] = [C] + [D]

                                                                                                                                                                            Observed Market
                                                                                                          Face Amount          Observed Market             Accrued            Value Plus
     Coupon                 Debt Rank (1)               Maturity                  Price (2)               Contributed (3)           Value                 Interest (4)      Accrued Interest
January 30, 2009
       8.5%                     2nd lien                 05/15/10                             70.5    $               830.5    $              585.5   $              14.7   $             600.2
                                                                                                                                                                                                                      Doc 3698-36




Contribution of bonds                                                                                                                                                       $             600.2


(1)
    Debt rank per Bloomberg.
(2)
    Pricing per Interactive Data Corporation.
(3)
    Jan. 30, 2009 face amount contributed per GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 113.
(4)
    Jan. 30, 2009 accrued interest per Memorandum, ResCap Significant Transaction Memo, dated Feb. 3, 2009, at EXAM00220313 [EXAM00220301].
                                                                                                                                                                                                       Pg 133 of 385
                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                      Appendix




                                                                                           Appendix V.A.2.d, Page 9 of 9
                                                                                                    Appendix V.C.1.c(4), Page 1 of 1

Residential Capital, LLC
Summary of Government Settlement Economics
($ in Millions)



                                                                                                                AFI                                                                       ResCap


                                                                                   Actual Costs            Go Forward                   AFI                    Actual Costs            Go Forward                 ResCap
                                                                                                                                                                                                                                                                              12-12020-mg




Item                                                                                Incurred                Estimate                  Subtotal                  Incurred                Estimate                  Subtotal                 Total
FRB/FDIC Consent Order Costs
       Incremental compliance costs (1)                                           $             -         $             -         $              -            $             -         $          80.0         $          80.0        $             80.0
      Foreclosure Review and remediation (2), (3)                                               -                       -                        -                       73.0                   364.0                   437.0                   437.0
Subtotal FRB/FDIC Consent Order Costs                                                           -                       -                        -                       73.0                   444.0                   517.0                   517.0

CMP ($207 – offset by borrower relief)                                                       N/A                      N/A                     N/A                        N/A                      N/A                     N/A                       N/A
                                           (4)
                                                                                                                                                                                                                                                                              Doc 3698-36




DOJ/AG Consent Judgment – hard costs
       Penalty/fine (5), (6)                                                                    -                       -                        -                      109.6                       -                   109.6                   109.6
       Ally Bank reimbursement – borrower relief (5), (7), (8), (9)                             -                       -                        -                       96.8                    37.7                   134.5                   134.5
       Accounting impact of ResCap loan modifications – borrower
       relief (5)                                                                               -                       -                        -                       12.2                      3.5                   15.7                      15.7
       Other costs associated with DOJ/AG
       Consent Judgment (5), (10)                                                               -                       -                        -                         4.0                      -                        4.0                    4.0
Subtotal DOJ/AG Consent Judgment – hard costs                                                   -                       -                        -                      222.6                    41.2                   263.8                   263.8

January 30 Letter Agreement – debt forgiveness (face amount) (11)                           196.5                       -                   196.5                      (196.5)                    -                    (196.5)                     -
Total costs incurred to date and estimated future costs                           $         196.5         $             -         $         196.5             $          99.1         $         485.2         $         584.3        $          780.8
                                                                                                                                                                                                                                                               Pg 134 of 385




(1)
  AFI estimates that incremental costs to the applicable mortgage companies for implementation and ongoing compliance related to the FRB/FDIC Consent Order to be approximately $40 million annually during 2012 and 2013, and then reducing
over time. The majority of these incremental annual costs are for additional servicing personnel, enhancements to information systems, vendor management, costs to comply with MERS requirements, and increased audit and compliance costs - Ally
Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 12.
(2)
  As of December 31, 2012, the Debtors had paid PwC approximately $73 million for services rendered by PwC professionals in connection with the FRB Foreclosure Review. - Declaration of Thomas Marano, Chief Executive Officer of Residential
Capital, LLC, in Support of Debtors' Motion Pursuant to Bankruptcy Rule 3013 and Bankruptcy Code Section 362(A) for a Determination that (I) GMAC Mortgage's FRB Foreclosure review Obligation is a General Unsecured Claim and (II) the
Automatic Stay Prevents Enforcement of the FRB Foreclosure Review Obligation [Docket No. 3055-3] at 4–5.
(3)
    Debtors believe that the cost of the Foreclosure Review (and remediation of any borrower harm) may balloon still further if nothing is done to stem the costs, perhaps reaching $415 to $459 million (total estimated at midpoint of $437M). - FRB
Unsecured Claim Motion [Docket No. 3055] at 7.
(4)
    In February 2012, AFI booked a payable of $18.5 million due to ResCap relating to the DOJ/AG Consent Judgment. - Analysis, Refreshed DOJ Settlement Liability Adjustments, dated Feb. 16, 2012, at 1 [EXAM00002678] (attached to E-mail from C.
Dondzila to J. Frucci, A. Beck, B. Westman, D. DeBrunner, and J. Whitlinger (Feb. 17, 2012) [EXAM00002677]). However, no record of an actual obligation from AFI to GMAC Mortgage has been identified in the accounting records or otherwise.
(5)
    Special Examiner Presentation, DOJ/AG Settlement, dated Dec. 11, 2012, at EXAM00220908 [EXAM00220897].
(6)
    This payment was made on March 14, 2012. - See E-mail from C. Dondzila to D. DeBrunner and J. Whitlinger (Mar. 15, 2012) [EXAM11004487].
(7)
                                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




    Actual costs incurred are as of January 31, 2013 per Monthly AG Activity Reimbursement invoices to ResCap, prepared by Ally Bank, dated May 9, 2012 [ALLY_0196290], May 10, 2012 [EXAM00061399], June 4, 2012 [ALLY_0402171], June 28,
2012 [ALLY_0402172], July 3, 2012 [ALLY_0402173], Aug. 3, 2012 [EXAM00221497], Sept. 7, 2012 [EXAM00221498], Oct. 2, 2012 [ALLY_0402174], Nov. 2, 2012 [EXAM00237710], Dec. 6, 2012 [ALLY_0402175], Jan. 3, 2013 [ALLY_0402176],
Feb. 4, 2013 [ALLY_0402177].
(8)
   Of the $90.3 million in reimbursement costs to Ally Bank incurred as of January 31, 2013, $48.4 million was paid pre-petition (May 10, 2012 and May 11, 2012). The remaining payments are currently held in escrow.
(9)
   The go forward estimates are as of February 1, 2013 forward. Given that actual reimbursement payments for the period November 1, 2012 – January 31, 2013 were $10.4 million per the Monthly AG Activity Schedules, we have assumed that
estimated reimbursement payments from February 1, 2013 through the end of the borrower relief program would be $37.7 million ($48.1 million - $10.4 million = $37.7 million).
(10)
     Includes attorney fees ($.9 million), MTF FC fines and penalty ($1.4 million) and Hope Portfolio ($1.7 million).
                                                                                                                                                                                                                                                                              Appendix




(11)
     Per the January 30 Letter Agreement between ResCap, GMACM and AFI. The amount of debt forgiveness was originally calculated based on an assumption that 11/15ths (73%) of the DOJ/AG settlement (estimated at $268 million) would be
allocated to ResCap and 4/15ths (27%) would be allocated to AFI. (268 × .73 = 196.5). - Accounting Presentation by C. Dondzila, dated Jan. 10, 2012, at RC40020152 [RC40020121].




                                                                                                    Appendix V.C.1.c(4), Page 1 of 1
    12-12020-mg              Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                            Appendix
                                                      Pg 135 of 385
                                                Appendix V.E.1, Page 1 of 3


                        1.      Resort Finance Facility1

                                a.        Principal Terms

        On February 21, 2008, the Resort Facility Borrower (RFC), entered into the Resort
Finance Facility with AFI, as lender and agent. The principal terms of the Resort Finance
Facility were as follows:

    TABLE V.E.1.a
    Resort Finance Facility - Principal Terms
    February 21, 2008


     Closing Date:                            February 21, 2008

     Borrower:                                RFC

     Guarantor:                               ResCap

     Lender/Agent:                            AFI

     Facility Type:                           Secured revolver

     Purpose:                                 General corporate purposes and supplements existing financing for resort finance
                                              business

     Committed Amount:                        $750 million

     Interest Rate:                           LIBOR + 3.00%

     Scheduled Termination Date:              182 days after the closing date; and unless termination was triggered pursuant to
                                              an insolvency event of default, payment of all obligations was required one year
                                              from the first anniversary of the Termination Date

     Fees:                                    Commitment fee of 0.20%
    Source: Resort Finance Agreement [ALLY_0116311].




                                b.        Borrowing Base/Collateral

        AFI initially committed to make Resort Facility Loans to the Resort Facility Borrower,
up to the lesser of $750 million and the then existing borrowing base. The borrowing base was
determined by calculating the aggregate “value” of the Resort Facility Collateral, which
consisted of the outstanding balances (subject to certain adjustments) of the following loan types
extended by RFC to certain eligible developers in connection with resort financing transactions
(1) timeshare backed loans (eligible developer loans pledged and permitted to be released under
the bank facility agreement);2 (2) construction loans (loans to acquire, develop, construct and



1
        Resort Finance Agreement [ALLY_0116311].
2
        Loan and Security Agreement (as amended, supplemented or otherwise modified), among RFC Resort Funding,
        LLC, as borrower, Residential Funding Corporation, as master servicer, the persons from time to time party
        thereto, as conduit lenders, the financial institutions from time to time parties thereto, as committed lenders, the

                                                                                                      (Cont'd on following page)



                                                Appendix V.E.1, Page 1 of 3
    12-12020-mg       Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                   Appendix
                                               Pg 136 of 385
                                         Appendix V.E.1, Page 2 of 3


complete resorts or resort amenities); and (3) pre-sale loans (loans to finance the sale of
timeshares pursuant to pre-sale agreements for which deeds had not yet been delivered). The
collateral “value” was determined by multiplying each of the items in (1), (2) and (3) above by a
discount factor (90% in the case of the timeshare backed loans, 75% in the case of construction
loans and 50% in the case of pre-sale loans). Developer eligibility requirements were
determined under the Bank Facility Agreement in the case of timeshare backed loans and under
the Resort Finance Facility in the case of construction loans and pre-sale loans.

                           c.       Interest and Maturity

        Interest accrued at a rate of LIBOR + 3.00% per annum. Resort Facility Loans were
made available to the Resort Facility Borrower during a commitment period that was scheduled
to terminate on the earlier of (1) the 182nd day after the closing date (February 21, 2008); and
(2) the termination of the facility pursuant to an event of default. Other than with respect to
certain indemnification obligations, all payment obligations under the Resort Finance Facility
were non-recourse to the Resort Facility Borrower and to be made solely from collections with
respect to the Resort Facility Collateral. If the Resort Finance Facility was terminated pursuant
to an insolvency event of default, the Resort Facility Loans were immediately due and payable;
however, unless the obligations were accelerated by AFI as a result of any other event of default,
the Resort Facility Borrower had until one year from the date of termination of the commitment
period to repay the Resort Facility Loans and obligations as and when amounts were collected
subject to a waterfall provision.

                           d.       ResCap Guarantee3

        ResCap guaranteed the obligations of the Resort Facility Borrower under the Resort
Finance Facility pursuant to a separate stand-alone unsecured unconditional performance
guarantee; however, the guarantee excluded obligations relating to (1) non-recourse obligations
of the Resort Facility Borrower relating to the payment of principal or interest on, any note(s)
evidencing Resort Facility Loans or related fees; (2) payments relating to the outstanding
principal balance of the Resort Facility Loans exceeding the borrowing base (however, ResCap
was obligated to make payment relating to required repayments in connection with the breach of
certain representations and covenants relating to the Resort Facility Collateral); and (3) certain
indemnifications relating to, among other things, illegality, increased costs, taxes or breakage fees.




(Cont'd from preceding page)

      financial institutions from time to time parties there to, as managing agents and Deutsche Bank AG, New York
      Branch, as administrative agent, dated Jan. 26, 2006 [ALLY_0104683] (the “Bank Facility Agreement”).
3
      Performance Guarantee of Residential Capital, LLC, in favor of GMAC LLC, dated Feb. 21, 2008
      [RC00036842].




                                         Appendix V.E.1, Page 2 of 3
    12-12020-mg    Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                         Pg 137 of 385
                                   Appendix V.E.1, Page 3 of 3


                       e.     Pledge Agreement

        Under a stand-alone pledge agreement,4 RFC pledged and granted to AFI a perfected
security interest in (1) all its membership or other ownership interests in RFC Resort Funding,
LLC; (2) certain scheduled loans; and (3) all collections relating to the aforementioned collateral.




4
      Pledge Agreement among Residential Funding Company, LLC and GMAC LLC, dated Feb. 21, 2008
      [RC00036826].




                                   Appendix V.E.1, Page 3 of 3
    12-12020-mg            Doc 3698-36          Filed 05/13/13 Entered 05/13/13 17:08:13   Appendix
                                                     Pg 138 of 385
                                               Appendix V.E.2, Page 1 of 6


                      2.        Secured MSR Facility5

                                a.       Principal Terms

       On April 18, 2008, the Secured MSR Facility Borrowers (RFC and GMAC Mortgage)
and ResCap, as guarantor, entered into the Secured MSR Facility with AFI, as sole lender. The
principal terms of the Secured MSR Facility, when initially entered into, were as follows:

    TABLE V.E.2.a
    Secured MSR Facility - Principal Terms
    April 18, 2008


     Closing Date:                           April 18, 2008

     Borrowers:                              RFC and GMAC Mortgage

     Guarantor:                              ResCap

     Lender:                                 AFI

     Facility Type:                          Secured revolver

     Purpose:                                General corporate purposes

     Committed Amount:                       $750 million

     Interest Rate:                          LIBOR + 2.00%

     Scheduled Maturity Date:                October 17, 2008

     Fees:                                   None

    Source: Secured MSR Loan Agreement [RC00024114].




                                b.       Borrowing Base/Collateral

        AFI initially committed to make the Secured MSR Facility Loans to the Secured MSR
Facility Borrowers, up to the lesser of $750 million and the then existing borrowing base. The
borrowing base was determined by calculating the aggregate “value” of the Secured MSR
Facility Collateral, which consisted of: (1) MSRs and the related specified Servicing Contracts
and collections accounts; (2) securities issued and/or guaranteed by Fannie Mae, Freddie Mac or
Ginnie Mae specifically pledged to AFI; and (3) U.S. Treasury securities specifically pledged to
AFI. The collateral “value” was determined by multiplying each of the items in (1), (2) and (3)
above by a discount factor (50% in the case of the MSRs, 85% in the case of GSE issued or
guaranteed securities, and 92-98% in the case of U.S. Treasury securities). Excluded from the
Secured MSR Facility Collateral (and therefore the borrowing base) were (1) MSRs and
Servicing Contracts with respect to the GSEs; and (2) Servicing Advances.




5
        Secured MSR Loan Agreement [RC00024114].




                                               Appendix V.E.2, Page 1 of 6
    12-12020-mg       Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                              Pg 139 of 385
                                         Appendix V.E.2, Page 2 of 6


                          c.       Interest and Maturity

       Interest accrued at a rate of LIBOR + 2.00% per annum. The initial maturity date was
scheduled to occur on the earlier of October 17, 2008 and the receipt of a commitment from a
third party lender for a replacement facility secured by the same Secured MSR Facility
Collateral.
                      d.      ResCap Guarantee

        ResCap guaranteed the obligations under the Secured MSR Facility pursuant to a separate
stand alone unsecured unconditional guarantee.6

                          e.       Amendments to Secured MSR Facility

          The Secured MSR Facility was amended on 14 different occasions.

                                   (1)     Amendment No. 1 (May 21, 2008)7

       This amendment eliminated the event of default relating to the maintenance of minimum
servicer and master servicer ratings.

                                   (2)     Amendment No. 2 (May 22, 2008)8

       This amendment expanded the list of Servicing Contracts excluded from the Secured
MSR Facility Collateral by including Servicing Contracts identifying mortgage loans or pools of
mortgage loans (1) owned by any Secured MSR Facility Borrower; and (2) transferred pursuant
to a master repurchase agreement pursuant to which a Secured MSR Facility Borrower is a party.

                                   (3)     Amendment No. 3 (June 2, 2008)9

       This amendment increased the collateral “value” for determining the borrowing base with
respect to MSRs, from 50% to 85% (which gave the Secured MSR Facility Borrowers more
borrowing capacity), and increased the lending commitment from $750 million to $1.2 billion.




6
      Guarantee of Residential Capital, LLC, dated Apr. 18, 2008 [RC00037568] (in favor of GMAC LLC as lender
      pursuant to the Secured MSR Facility).
7
      Amend. No. 1 to the Secured MSR Facility, dated May 21, 2008 [RC00024219].
8
      Amend. No. 2 to the Secured MSR Facility, dated May 22, 2008 [RC00024223].
9
      Amend. No. 3 to the Secured MSR Facility, dated June 2, 2008 [RC00037692].




                                         Appendix V.E.2, Page 2 of 6
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13        Appendix
                                             Pg 140 of 385
                                        Appendix V.E.2, Page 3 of 6


                                  (4)     Amendment No. 4 (July 25, 2008)10

        This amendment provided it would be ResCap’s responsibility (as opposed to the Secured
MSR Facility Borrowers’) to deliver the quarterly compliance certificate and changed the cross-
default event of default to refer to a failure to comply with the financial covenants in the Secured
Revolver Facility (rather than the JP Morgan 364-Day Facility).

                                  (5)     Amendment No. 5 (October 3, 2008)11

        This amendment modified the event of default regarding Servicing Contracts to provide
that the occurrence of an adverse servicing event no longer resulted in an immediate event of
default; instead, it was only upon notification by AFI (in its sole discretion) to the Secured MSR
Facility Borrowers that any such occurrence constituted an event of default, where an adverse
servicing event included: (1) the failure of a Secured MSR Facility Borrower to be an approved
servicer under any Servicing Contract to which any pledged MSRs relate; (2) a Secured MSR
Facility Borrower’s failure to service in accordance with any Servicing Contract in any material
respect; (3) a Secured MSR Facility Borrower’s termination as servicer with respect to any
pledged MSRs (subject to certain exceptions); and (4) receipt by a Secured MSR Facility
Borrower of a notice from any MBS trustee indicating material breach, default or material non-
compliance that AFI reasonably determined may entitle such MBS trustee to terminate such
Secured MSR Facility Borrower. AFI also consented to the modification of certain Servicing
Contracts as to which FGIC was a surety provider. As a condition to the effectiveness of this
amendment, a letter agreement regarding the Secured Revolver Facility was entered into,
pursuant to which a prepayment of $146.7 million was required to be made under that facility.12

                                  (6)     Amendment No. 6 (October 17, 2008)13

        Under this amendment, AFI agreed to defer until October 22, 2008, payment of an $84
million borrowing base deficiency (which deficiency had triggered a repayment requirement). In
addition: (1) the collateral “value” for determining the borrowing base with respect to MSRs
appears to have been raised to approximately 91% (from 85%), however, determination of the
borrowing base was changed to a formula whereby the collateral “value” for MSRs was reduced
as the lending commitment under the Secured MSR Facility was reduced (as a result of debt
forgiveness, among other things); (2) the maturity date was extended from October 17, 2008 to
May 1, 2009; (3) AFI was given the power to negotiate and arrange for the transfer of servicing
rights under any Servicing Contract to another asset manager, servicer, special servicer or sub-
servicer and to solicit, negotiate and contract with potential backup servicers to either or both of
the Secured MSR Facility Borrowers with respect to all or a portion of the Servicing Contracts,


10
     Amend. No. 4 to the Secured MSR Facility, dated July 25, 2008 [RC00037696].
11
     Amend. No. 5 to the Secured MSR Facility, dated Oct. 3, 2008 [ALLY_0238802].
12
     Id. § 3(b)
13
     Amend. No. 6 to the Secured MSR Facility, dated Oct. 17, 2008 [ALLY_0238920].




                                        Appendix V.E.2, Page 3 of 6
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                  Appendix
                                             Pg 141 of 385
                                        Appendix V.E.2, Page 4 of 6


and the Secured MSR Facility Borrowers agreed to resign as servicer following an event of
default and the request of AFI; and (4) the Secured MSR Facility Borrowers were required to
pledge, no later than November 30, 2008, additional Secured MSR Facility Collateral with a
market value of at least $250 million.

                                  (7)      Amendment No. 7 (December 10, 2008)14

        Pursuant to this amendment, $451.5 million of the Secured MSR Facility Loans was
forgiven as of November 30, 2008, reducing the outstanding principal balance of the Secured
MSR Facility to $231 million. This amendment also changed the collateral “value” for
determining the borrowing base with respect to MSRs by reducing the collateral “value”
percentage to 25.37% with the potential of further reduction as the lending commitment under
the Secured MSR Facility was reduced (as a result of debt forgiveness, among other things). In
addition, this amendment eliminated the covenant of the Secured MSR Facility Borrowers to
pledge, no later than November 30, 2008, additional Secured MSR Facility Collateral with a
market value of at least $250 million. This amendment explicitly relieved the Secured MSR
Facility Borrowers from making a representation as to their solvency (all previous amendments
had provided for a “bring down” of all representations and warranties contained in the Secured
MSR Facility, including the solvency representation).15

                                  (8)      Waiver and Guarantee Amendment (May 27, 2009)16

        In connection with the U.S Treasury’s investment in AFI and the related transactions with
GM (including the appointment or election of directors), AFI agreed that these transactions
would not constitute a change of control or an event of default under the ResCap guarantee
issued in connection with the Secured MSR Facility. This amendment changed the definition of
“Change of Control” in the ResCap guarantee to mean the acquisition of ownership, directly or
indirectly, beneficially or of record, by any person or group (within the meaning of the Exchange
Act) other than GM, Cerberus, the U.S. Treasury, the GM Trusts (trusts established to own stock
of AFI), or any purchaser of the beneficial interests in the GM Trusts of membership interests
representing a majority of the aggregate ordinary voting power represented by the outstanding
capital stock of ResCap, not otherwise approved by AFI.




14
     Amend. No. 7 to the Secured MSR Facility, dated Dec. 10, 2008 [ALLY_0239182].
15
     Id. § 3.
16
     Waiver and Amendment to Guarantee with respect to the Guarantee dated as of April 18, 2008, by Residential
     Capital, LLC, in favor of GMAC LLC as lender pursuant to the Secured MSR Facility, dated May 27, 2009
     [RC00033220].




                                        Appendix V.E.2, Page 4 of 6
 12-12020-mg         Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13      Appendix
                                              Pg 142 of 385
                                         Appendix V.E.2, Page 5 of 6


                                  (9)      Amendment No. 8 (March 18, 2009)17

        Under this amendment (1) the obligations secured by the Secured MSR Facility
Collateral were expanded to include (a) the obligations of the ResCap affiliated counterparties
under the Master Netting Agreement, (b) the obligations of the ResCap affiliated counterparties
under each derivative agreement governing derivative transactions with Ally Investment
Management, and (c) the obligations under the Initial Line of Credit Agreement; and (2) the
maturity date was extended from May 1, 2009 to June 30, 2009. The MSR Facility Borrowers
again “brought down” all of the representations and warranties contained in the Secured MSR
Facility, including the solvency representation (as would be the case with all future
amendments).

                                  (10)     Amendment No. 9 (June 1, 2009)18

       Under this amendment, the obligations secured by the Secured MSR Facility Collateral
were further expanded to include the obligations under the Second Line of Credit Agreement. In
addition, cross-default events of default to each derivative agreement, the Master Netting
Agreement, the Initial Line of Credit Agreement and the Second Line of Credit Agreement were
added; and, after an event of default, proceeds of the Secured MSR Facility Collateral were
required to be allocated as determined by the Omnibus Agent under the Omnibus Security
Agreement.

                                  (11)     Amendment No. 10 (June 12, 2009)19

        Under this amendment: (1) reports on the borrowing base were required to be delivered
weekly (as opposed to monthly) or more frequently if requested by AFI; (2) the interest rate
margin was increased from 2.50% to 6.00%; (3) the Secured MSR Facility Borrowers consented
to jurisdiction in the state courts of New York (as opposed to just the Southern District of New
York); (4) the lending commitment amount was changed and defined to be $400 million minus
the amount of Secured MSR Facility debt that was forgiven; and (5) the collateral “value” for
determining the borrowing base with respect to MSRs was changed by increasing the percentage
to 40%, and reducing the percentage as the lending commitment under the Secured MSR Facility
was reduced.

                                  (12)     Amendment No. 11 (June 30, 2009)20

         This amendment extended the maturity date from June 30, 2009 to July 31, 2009.



17
     Amend. No. 8 to the Secured MSR Facility, dated Mar. 18, 2009 [GOLDIN00003753].
18
     Amend. No. 9 to the Secured MSR Facility, dated June 1, 2009 [ALLY_0239904].
19
     Amend. No. 10 to the Secured MSR Facility, dated June 12, 2009 [ALLY_0240208].
20
     Amend. No. 11 to the Secured MSR Facility, dated June 30, 2009 [RC00033704].




                                         Appendix V.E.2, Page 5 of 6
 12-12020-mg        Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13         Appendix
                                             Pg 143 of 385
                                        Appendix V.E.2, Page 6 of 6


                                 (13)     Amendment No. 12 (July 31, 2009)21

         This amendment extended the maturity date from July 31, 2009 to September 30, 2009.

                                 (14)     Amendment No. 13 (September 22, 2009)22

         This amendment extended the maturity date from September 30, 2009 to November 30,
2009.
                                 (15)     Amendment No. 14 (November 30, 2009)23

         This amendment extended the maturity date from November 30, 2009 to December 31,
2009.




21
     Amend. No. 12 to the Secured MSR Facility, dated July 31, 2009 [GOLDIN00095982].
22
     Amend. No. 13 to the Secured MSR Facility, dated Sept. 22, 2009 [GOLDIN00044752].
23
     Amend. No. 14 to the Secured MSR Facility, dated Nov. 30, 2009 [GOLDIN00097683].




                                        Appendix V.E.2, Page 6 of 6
 12-12020-mg         Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13    Appendix
                                           Pg 144 of 385
                                    Appendix V.E.3, Page 1 of 12


                3.      Secured Revolver Facility ($3.5 Billion)24

                        a.      Principal Terms

       On June 4, 2008, the Secured Revolver Facility Borrowers (RFC and GMAC Mortgage)
and the Secured Revolver Facility Guarantors, entered into the Secured Revolver Facility with
AFI, as lender and lender agent, initially evidenced by the Secured Revolver Loan Agreement
and when amended and restated on December 30, 2009, evidenced by the A&R Secured
Revolver Loan Agreement. The principal terms of the Secured Revolver Facility, when initially
entered into, were as follows:




24
     Secured Revolver Loan Agreement [RC00024234].




                                    Appendix V.E.3, Page 1 of 12
12-12020-mg            Doc 3698-36            Filed 05/13/13 Entered 05/13/13 17:08:13                           Appendix
                                                   Pg 145 of 385
                                            Appendix V.E.3, Page 2 of 12


 TABLE V.E.3.a
 Secured Revolver Facility ($3.5 Billion) - Principal Terms
 June 4, 2008

  Closing Date:                            June 4, 2008

  Borrowers:                               RFC and GMAC Mortgage

  Guarantors:                              ResCap
                                           GMAC Residential Holding Company, LLC
                                           GMAC-RFC Holding Company, LLC
                                           Homecomings Financial, LLC
                                           Residential Mortgage Real Estate Holdings, LLC
                                           Residential Funding Real Estate Holdings, LLC
                                           Homecomings Financial Real Estate Holdings, LLC
                                           Equity Investment I, LLC
                                           Developers of Hidden Springs, LLC
                                           DOA Holding Properties, LLC
                                           RAHI
                                           PATI

  Lender/Lender Agent:                     AFI

  Facility Type:                           Secured revolver and term loan

  Purpose:                                 Repayment of ResCap debt existing at closing, asset acquisitions and other
                                           working capital purposes

  Committed Amount:                        $3.5 billion

  Interest Rate:                           LIBOR + 2.75%

  Scheduled Maturity Date:                 Revolver: May 1, 2010
                                           Term Loan: July 28, 2008

  Fees:                                    Upfront fee of $17.5 million paid to AFI at closing; no commitment fee payable

 Source: Secured Revolver Loan Agreement [RC00024234].




                             b.        Borrowing Base

       AFI initially committed to make the Secured Revolver Facility Loans to the Secured
Revolver Facility Borrowers up to the lesser of $3.5 billion and the then existing borrowing base.
The borrowing base was determined by calculating the aggregate “value” of the First Priority
Collateral, which as set forth in the chart below, was subject to a discount factor that varied
depending on the type of asset.




                                             Appendix V.E.3, Page 2 of 12
12-12020-mg             Doc 3698-36            Filed 05/13/13 Entered 05/13/13 17:08:13                           Appendix
                                                    Pg 146 of 385
                                             Appendix V.E.3, Page 3 of 12


 TABLE V.E.3.b
 Discount Factors Used to Determine Collateral Values

  Conforming loans (mortgage loans that conform to the applicable GSE guidelines)                                     90%

  Wet loans (mortgage loans where the related mortgage file has not been delivered to the custodian)                  85%

  Jumbo loans (mortgage loans that substantially conform to the applicable GSE guidelines)                            80%

  Servicing P&I advances (Servicing Advances relating to delinquent interest and/or principal)                        80%

  Servicing T&I advances (Servicing Advances relating to real estate taxes and/or hazard, flood or primary mortgage
  insurance premiums)                                                                                                 70%

  Servicing corporate advances (Servicing Advances relating to preservation of properties, expenses for foreclosure
  actions and other expenses to maximize collateral value)                                                            70%

  2nd Lien loans and home equity lines of credit held for sale                                                        50%

  HLTV Loans (where loan to value ratio > 100%) held for sale                                                         50%

  Scratch and dent loans (loans not saleable to the GSEs or in the whole loan and securitization markets in the
  ordinary course of business as newly originated and non-defective) held for sale                                    50%

  Financial asset-backed securities                                                                                   50%

  Other receivables (receivables due from the FHA or VHA that are more than 90 days delinquent or are in or have
  completed the foreclosure process)                                                                                  50%

  Assets of ResCap’s International Business Group                                                                     50%

  Assets of ResCap’s Business Capital Group                                                                           50%

  Residual rights (certain residual rights after taking into account senior claims)                                   50%

  2nd Lien loans and home equity lines of credit held for investment                                                  50%

  Scratch and dent Loans held for investment                                                                          50%

  Kick out loans (loans repurchased from a securitization)                                                            50%

  HLTV loans held for investment                                                                                      50%

  Real estate owned property acquired by certain ResCap affiliates through foreclosure or model homes owned by
  GMAC Model Home Finance, LLC                                                                                        50%
 Source: Secured Revolver Loan Agreement, Sched. 2.04 [RC00024234].




                              c.        Interest and Maturity

       Interest on all Secured Revolver Facility Loans accrued at a rate of LIBOR + 2.75% per
annum. The maturity date for the Secured Revolver Facility Term Loan occurred on July 28,
2008, and the maturity date for the Secured Revolver Facility Revolver Loans was initially
scheduled to occur on May 1, 2010 (but was subsequently extended).

                              d.        Mandatory Prepayment

        For a description of mandatory prepayment provisions under the Secured Revolver
Facility see Section V.E.3.




                                              Appendix V.E.3, Page 3 of 12
 12-12020-mg          Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                    Appendix
                                               Pg 147 of 385
                                        Appendix V.E.3, Page 4 of 12


                           e.       Financial Covenants

       There were two financial covenants that applied to ResCap and its Subsidiaries: (1) if
Consolidated Liquidity (cash and cash equivalents of ResCap on a consolidated basis, excluding
cash and cash equivalents of Ally Bank), on any business day, fell below $750 million, then
within one business day, ResCap had to cause Consolidated Liquidity to be raised above $750
million; provided that Consolidated Liquidity was never permitted to fall below $450 million;
and provided further that the aggregate amount of U.S. dollars and short term cash equivalents
could never fall below $250 million; and (2) Consolidated TNW (the line item consisting of
“equity” on the consolidated balance sheet of ResCap, but excluding the equity of Ally Bank)
could not, as of the last business day of any month, be less than $250 million.

                           f.       Guarantees

       ResCap and the other Secured Revolver Facility Guarantors guaranteed the obligations
under the Secured Revolver Facility pursuant to an unconditional guarantee.25

                           g.       Collateral and Intercreditor Agreements

       In connection with the Secured Revolver Facility, the Secured Revolver Facility
Borrowers, the Secured Revolver Facility Guarantors and certain Affiliates of the Secured
Revolver Facility Borrowers entered into the First Priority Security Agreement, which was
subsequently amended and restated on December 30, 2009.

        Pursuant to the First Priority Security Agreement,26 the Secured Revolver Facility
Borrowers, the Secured Revolver Facility Guarantors and certain Affiliates of the Secured
Revolver Facility Borrowers granted a security interest in favor of the First Priority Collateral
Agent, in (with respect to the Secured Revolver Facility Borrowers and the Secured Revolver
Facility Guarantors) substantially all of their personal property27 to secure the obligations owed
under the Secured Revolver Facility and related documents, including obligations under the AFI
Hedge Agreements. The First Priority Collateral included the following:

                                            (1)      financial asset-backed securities, certain Servicing
                                                     Advances and certain mortgage loans;

                                            (2)      accounts;



25
     Secured Revolver Loan Agreement, Art. XI [RC00024234].
26
     First Priority Security Agreement [RC00038119].
27
     Certain grantors under the First Priority Security Agreement (referred to therein as “Equity Pledgors,” “FASB
     Grantors” and “Additional Account Parties”) granted liens on a narrow group of assets, including certain
     deposit accounts and securities accounts, financial assets, certain pledged equity interest and certain pledged
     notes.




                                         Appendix V.E.3, Page 4 of 12
 12-12020-mg         Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13             Appendix
                                              Pg 148 of 385
                                        Appendix V.E.3, Page 5 of 12


                                            (3)     chattel paper;

                                            (4)     commercial tort claims;

                                            (5)     deposit accounts;

                                            (6)     documents;

                                            (7)     financial assets;

                                            (8)     general intangibles;

                                            (9)     goods and instruments;

                                          (10)      intellectual property;

                                          (11)      certain shares of capital stock and other equity
                                                    interests;

                                          (12)      certain pledged notes;

                                          (13)      letters of credit;

                                          (14)      money;

                                          (15)      Servicing Contracts;

                                          (16)      investment property;

                                          (17)      all other personal assets and property; and

                                          (18)      proceeds of the foregoing.

        The First Priority Collateral did not include certain Excluded Assets,28 including: (1)
more than 65% of the shares of foreign corporations; (2) any asset (including contracts) to the
extent that granting a security interest therein would violate applicable law, result in the
invalidation thereof or provide any party with a right of termination or default with respect
thereto or with respect to any Bilateral Facility to which such assets were subject; (3) certain
intellectual property applications; and (4) proceeds of the foregoing.




28
     First Priority Security Agreement, §1 [RC00038119] (definition of “Excluded Assets”).




                                        Appendix V.E.3, Page 5 of 12
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                  Appendix
                                             Pg 149 of 385
                                       Appendix V.E.3, Page 6 of 12


        Prior to being amended and restated, the First Priority Security Agreement was amended
(1) on August 14, 200829 to, among other things, reflect (a) certain exclusions from the First
Priority Collateral relating to obligations under the AFI Hedge Agreements, and (b) to limit the
amount of proceeds from First Priority Collateral applied to satisfy the secured obligations
(including amounts owed under the Secured Revolver Facility and the AFI Hedge Agreements);
(2) on January 14, 200930 to amend the collateral schedules to the First Priority Security
Agreement, including the list of pledged securities accounts and deposit accounts and the
pledged equity interests; and (3) on January 30, 200931 to reflect pledges of certain equity
interests by DOA Holding Properties, LLC.

        The First Priority Collateral securing the obligations owed under the Secured Revolver
Facility and the AFI Hedge Agreements also secured, on a second and third lien basis, the
obligations owed under the Senior Secured Notes and the Junior Secured Notes, respectively.
The lien priority arrangements were set forth in the Intercreditor Agreement.

        Under the terms of the Intercreditor Agreement,32 liens securing the Secured Revolver
Facility and the AFI Hedge Agreements were senior and prior to the liens securing the Senior
Secured Notes and the Junior Secured Notes. The Intercreditor Agreement provided that the
First Priority Collateral Agent controlled the exercise of remedies so long as amounts were
outstanding under the Secured Revolver Facility and the AFI Hedge Agreements. Proceeds from
the sale or other disposition of the First Priority Collateral were required to be applied to satisfy
obligations owing under the Secured Revolver Facility and the AFI Hedge Agreement prior to
satisfying amounts owed under the Senior Secured Notes and the Junior Secured Notes.

                          h.      Accounts

        Except for a designated exempted cash reserve account and except for accounts: (1) of
special purpose vehicles formed for financing purposes; (2) of independent third parties; (3)
established for Bilateral Facilities; and (4) holding funds held on account for, in trust for, or by
ResCap or a ResCap Subsidiary as a custodian for any third party, all material bank and
securities accounts were required to be subject to a perfected lien in favor of the Collateral
Control Agent (Wells Fargo Bank, N.A., acting in its capacity as the collateral agent for each of
the First Priority Collateral Agent, the Second Priority Collateral Agent and Third Priority
Collateral Agent under the Intercreditor Agreement). In addition, all liquidity reserves (other
than up to $250 million permitted to be held in the designated exempted cash reserve account) of



29
     First Amend. Agreement to the First Priority Security Agreement, dated Aug. 14, 2008 [ALLY_0051600]. The
     amendment also reflected numerous additional entities as grantors of liens.
30
     Second Amend. Agreement to the First Priority Security Agreement, dated Jan. 14, 2009 [ALLY_0051671].
     The amendment also reflected numerous additional entities as grantors of liens.
31
     Third Amend. Agreement to the First Priority Security Agreement, dated Jan. 30, 2009 [ALLY_0056791].
32
     Intercreditor Agreement [ALLY_0229287].




                                       Appendix V.E.3, Page 6 of 12
 12-12020-mg         Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                              Pg 150 of 385
                                        Appendix V.E.3, Page 7 of 12


ResCap and its Subsidiaries were required to be maintained in an account over which the
Collateral Control Agent had been granted a perfected lien.

                         i.       Amendments to Secured Revolver Facility

      The Secured Revolver Facility was amended on ten different occasions before it was
amended and restated in December 2009.

                                  (1)      First Amendment (July 29, 2008)33

        This amendment, among other things, provided: (1) that AFI’s commitment to make
Secured Revolver Facility Revolver Loans was permanently reduced to the extent that, within
120 days of the Secured Revolver Facility Borrowers’ receipt of cash proceeds from the sale of
First Priority Collateral, the Secured Revolver Facility Borrowers failed to reborrow the prepaid
amount and either (a) use the reborrowed proceeds to purchase assets qualifying as First Priority
Collateral for the Secured Revolver Facility; or (b) designate the sales proceeds as retained
proceeds up to the threshold amount of $450 million; and (2) for a broader definition of assets
that would qualify as First Priority Collateral that could be purchased with the proceeds of sold
First Priority Collateral.

                                  (2)      Second Amendment (August 14, 2008)34

        This amendment was entered into in connection with the effectuation of various hedging
arrangements between ResCap and AFI. The Secured Revolver Facility was amended to reflect
adjustments to the borrowing base (the borrowing base was reduced to the extent there was
hedging exposure in favor of AFI) and required additional prepayments arising from changes in
hedging exposure (a separate tranche of Secured Revolver Facility Revolver Loans, called
“MTM Revolving Loans”, was created that could be drawn by the Secured Revolver Facility
Borrowers to make these prepayments). A new security agreement was entered into for the
benefit of AFI as hedge counterparty, and an amendment fee in the amount of $1.056 million
was required to be paid by the Secured Revolver Facility Borrowers to AFI.

                                  (3)      Consent Agreement (October 17, 2008)35

      Among other things, this agreement provided for the release of First Priority Collateral
and guarantees relating to certain ResCap Subsidiaries that were inadvertently joined as parties




33
     Amend. No.1 to the Secured Revolver Loan Agreement, dated July 29, 2008 [RC00038626].
34
     Amend. No.2 to the Secured Revolver Loan Agreement, dated Aug. 14, 2008 [RC00038642].
35
     Consent Agreement among Residential Funding Company, LLC, as borrower, GMAC Mortgage, LLC, as
     borrower, Residential Capital, LLC and certain other affiliates of the borrowers, as guarantors, and GMAC
     LLC, as lender, initial lender and lender agent, dated Oct.17, 2008 [ALLY_0051462].




                                        Appendix V.E.3, Page 7 of 12
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                             Pg 151 of 385
                                       Appendix V.E.3, Page 8 of 12


to the security documents for the Secured Revolver Facility, and provided for a new requirement
for ResCap to deliver, on a weekly basis, a thirteen-week forecast of cash sources and uses.

                                 (4)      Third Amendment (November 25, 2008)36

       This amendment provided for a confirmation of the amount of sales made under the
Servicing Advance Factoring Agreement and allowed for a short extension of the time period
during which proceeds from sales under the Servicing Advance Factoring Agreement did not
need to be used to purchase assets that would constitute First Priority Collateral. For the first
time, a reservation of rights provision was included in this amendment, and an analogous
provision was included in amendments to the Secured Revolver Facility going forward.

                                 (5)      Fourth Amendment (December 12, 2008)37

        This amendment, among other things, (1) provided for a tightening of control on cash by
requiring that (a) funds on deposit in the Sales Proceeds Accounts (the accounts into which
proceeds from the sale of First Priority Collateral had to be deposited) must be used either to
repay Secured Revolver Facility Loans or reinvested in assets that qualified as First Priority
Collateral; and (b) certain Sales Proceeds Accounts be designated as “Servicing Advances
Accounts” into which proceeds from payments received in respect of Servicing Advances had to
be deposited; (2) added a requirement that the Secured Revolver Facility Borrowers track, on a
daily basis, the permanent reductions in AFI’s commitment to make Secured Revolver Facility
Revolver Loans (resulting from mandatory prepayments); and (3) confirmed the reduction of
AFI’s commitment to $3.1 billion. As a condition to this amendment, the Secured Revolver
Facility Borrowers were explicitly relieved from making a representation as to their solvency.38

                                 (6)      Fifth Amendment (December 31, 2008)39

        This amendment, among other things: (1) added provisions with respect to the treatment
of Reinvestment REO Property (residential property acquired as a result of a foreclosure of
residential mortgage assets that were not “Primary Collateral” for the Secured Revolver Facility);
(2) modified the definition of “Collateral Dispositions” to account for certain foreclosure
exceptions and to recognize the entering into of a new receivables financing agreement with
WestLB, AG, New York Branch; and (3) replaced the schedule of Bilateral Facilities (reflecting
a reduction in the aggregate number of such facilities). As a condition to this amendment, the
Secured Revolver Facility Borrowers were explicitly relieved from making a representation as to
their solvency.40


36
     Amend. No.3 to the Secured Revolver Loan Agreement, dated Nov. 25, 2008 [ALLY_0051495].
37
     Amend. No.4 to the Secured Revolver Loan Agreement, dated Dec. 12, 2008 [ALLY_0051551].
38
     Id. § 4.6(a).
39
     Amend. No.5 to the Secured Revolver Loan Agreement, dated Dec. 31, 2008 [ALLY_0051574].
40
     Id. § 5.5(a).




                                       Appendix V.E.3, Page 8 of 12
 12-12020-mg        Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                             Pg 152 of 385
                                       Appendix V.E.3, Page 9 of 12



                                 (7)      Sixth Amendment (March 31, 2009)41

       This amendment modified the affirmative covenant regarding GMAC Mortgage’s
maintenance of a Peak Score, to change it from only requiring a monthly Peak Score of
“Excellent” from Fannie Mae to maintaining either: (1) while Fannie Mae is using the Peak
Score system, a monthly Peak Score equating to “Excellent” or better, or after Fannie Mae has
implemented a replacement system, a rating reasonably equivalent to a monthly Peak Score of
“Excellent” or better (as agreed by AFI and GMAC Mortgage); or (2) an Investor Reporting and
Remitting rating from Freddie Mac equating to “Tier 2” or better. In connection with this
amendment, the Secured Revolver Facility Borrowers’ representation regarding their solvency
was made once again (and continued to be made going forward).

                                 (8)      Waiver and Seventh Amendment (May 27, 2009)42

       In connection with the U.S Treasury’s investment in AFI and the related transactions with
GM (including the appointment or election of directors), AFI agreed that these transactions
would not constitute a change of control. This amendment changes the definition of “Change of
Control” to mean the acquisition of ownership, directly or indirectly, beneficially or of record, by
any person or group (within the meaning of the 1934 Act) other than GM, Cerberus, the U.S.
Treasury, the GM Trusts (trusts established to own stock of GMAC), or any purchaser of the
beneficial interests in the GM Trusts, of capital stock representing a majority of the voting stock
of ResCap.
                              (9)     Eighth Amendment (May 29, 2009)43

        This amendment focused on the utilization of proceeds relating to Servicing Advances
and the related Servicing Advances Accounts. It provided that: (1) collections on, and net cash
proceeds from sales of, Servicing Advances had to be deposited solely into the Servicing
Advances Accounts (and no other amounts could be deposited into the Servicing Advances
Accounts); (2) collections on (other than net cash proceeds from sales of) Servicing Advances
could only be withdrawn from the Servicing Advances Accounts under certain circumstances;
and (3) after June 18, 2009, such amounts could only be withdrawn to make Servicing Advances
or prepayments of the Secured Revolver Facility. This amendment also: (1) added a consent by
the parties to the Secured Revolver Facility to the jurisdiction of the state courts of New York
located in Manhattan (there was already a consent to the federal courts located in New York);
and (2) acknowledged that June 17, 2009 would mark the end of sales of Servicing Advances
under the Servicing Advance Factoring Agreement.




41
     Amend. No.6 to the Secured Revolver Loan Agreement, dated Mar. 31, 2009 [ALLY_0056750].
42
     Waiver and Seventh Amend. to the Secured Revolver Loan Agreement, dated May 27, 2009 [ALLY_0056765].
43
     Amend. No.8 to the Secured Revolver Loan Agreement, dated May 29, 2009 [ALLY_0056769].




                                       Appendix V.E.3, Page 9 of 12
 12-12020-mg          Doc 3698-36           Filed 05/13/13 Entered 05/13/13 17:08:13                      Appendix
                                                 Pg 153 of 385
                                         Appendix V.E.3, Page 10 of 12


                                     (10)     Ninth Amendment (June 30, 2009)44

        This amendment also focused on the utilization of proceeds relating to Servicing
Advances and the related Servicing Advances Accounts. It provided the Secured Revolver
Facility Borrowers with a bit more cash flexibility in that it gave the Secured Revolver Facility
Borrowers the ability to use amounts on deposit in the Servicing Advances Accounts for general
corporate purposes prior to July 30, 2009 (subject to restrictions, including that the amount
withdrawn for general corporate purposes and not redeposited could not exceed $150 million).

                                     (11)     Tenth Amendment (July 31, 2009)45

        This amendment also focused on the utilization of proceeds relating to Servicing
Advances and the related Servicing Advances Accounts. It extended the period previously
established for utilizing proceeds for general corporate purposes from July 30, 2009 to
September 29, 2009. This amendment also added a replacement of the schedule of Bilateral
Facilities (reflecting a reduction in the aggregate number of such facilities).

                           j.        A&R Secured Revolver Loan Agreement46

        On December 30, 2009, the Secured Revolver Loan Agreement was amended and
restated, evidenced by the A&R Secured Revolver Loan Agreement. Outstanding Secured
Revolver Facility Revolving Loans in the principal amount of $1.55 billion were converted into
term loans (with no change to the May 2010 maturity date) thereby eliminating the Secured
Revolver Facility Borrowers’ ability to borrow further under the Secured Revolver Facility. The
discount factors used to determine the collateral “value” (for borrowing base purposes) were not
changed, but the amendment gave AFI the ability to modify the percentages in its reasonable
discretion taking into account estimated collections, market value, legal risks, cost of recovery



44
     Amend. No.9 to the Secured Revolver Loan Agreement, dated June 30, 2009 [RC00033614].
45
     Amend. No.10 to the Secured Revolver Loan Agreement, dated July 31, 2009 [ALLY_0060330].
46
     A&R Secured Revolver Loan Agreement [ALLY_0066146]. In connection with the A&R Secured Revolver
     Loan Agreement, (1) the First Priority Security Agreement was amended and restated on December 30, 2009
     (the “A&R First Priority Security Agreement”) [EXAM00110381]; and (2) certain Affiliates of ResCap entered
     into the Real Estate Subsidiary Pledge and Security Agreement and Irrevocable Proxy, dated Dec. 30, 2009 (the
     “Real Estate Subsidiary Security Agreement”) [ALLY_0066748], to provide additional collateral to secure
     obligations owed under the A&R Secured Revolver Loan Agreement and the obligations owed under the Senior
     Secured Notes and the Junior Secured Notes. The assets subject to liens under the A&R First Priority Security
     Agreement were substantially identical to the assets subject to the liens granted under the First Priority Security
     Agreement. The lien granted under the Real Estate Subsidiary Security Agreement was an “all assets” type of
     lien arrangement, covering similar types of assets subject to the lien granted under the A&R First Priority
     Security Agreement. The parties that granted liens under the Real Estate Subsidiary Security Agreement,
     included, without limitation, DOA Holding Properties, LLC, Equity Investment IV, LLC, GMAC Model Home
     Finance I, LLC, RFC Construction Funding, LLC, RC Properties I, LLC (and other entities named RC
     Properties with the roman number from II through XX), DOA Properties I, LLC (and other entities named DOA
     Properties with the roman number from II through IX).




                                         Appendix V.E.3, Page 10 of 12
 12-12020-mg        Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13             Appendix
                                             Pg 154 of 385
                                       Appendix V.E.3, Page 11 of 12


and other matters customarily considered by commercial lenders when determining advance
rates. The interest rate remained at 2.75% above LIBOR, and no upfront fees were charged to
the Secured Revolver Facility Borrowers in connection with the amendment and restatement.
The representation as to solvency was altered to provide that it would be made by ResCap on a
consolidated, rather than an entity by entity, basis. The covenants were modified to, among
other things, provide for: (1) a most-favored nations clause that prevented ResCap and its
Subsidiaries from entering into (or amending) provisions of other credit facilities relating to
solvency, change of control and financial covenants that were less favorable to ResCap (or such
Subsidiaries) than the analogous provisions of the Secured Revolver Facility (without causing
the Secured Revolver Facility to be amended accordingly); and (2) the delivery to AFI, on a
daily basis, of ResCap’s liquidity balance roll forward data (a forecast of cash sources and uses
for a thirteen-week period). At the time the Secured Revolver Facility was amended and
restated, no changes to the financial covenants were made. A specific cross-default to the A&R
Line of Credit Agreement was added as an event of default as part of the amendment and
restatement. In conjunction with the amendment and restatement of the Secured Revolver
Facility, the First Priority Security Agreement, the Second Priority Security Agreement and the
Third Priority Security Agreement were also amended and restated47 on substantially similar
terms as their respective predecessor agreements.

                         k.      Amendments to A&R Secured Revolver Loan Agreement

       After being amended and restated, the Secured Revolver Facility was then amended an
additional five times before the Petition Date.

                                 (1)      First Amendment (April 30, 2010)48

       This amendment extended the maturity date of the Secured Revolver Facility from
May 1, 2010 to April 29, 2011.

                                 (2)      Second Amendment (August 31, 2010)49

        This amendment, among other things: (1) provided for the covenant regarding the
maintenance of a minimum Peak Score to apply to both Secured Revolver Facility Borrowers (as
opposed to just GMAC Mortgage), but a failure to comply with this covenant would only be
breached if such failure could reasonably be expected to have a material adverse effect; (2)
eliminated the $750 million consolidated liquidity covenant, limiting it to just a $250 million
covenant regarding Unrestricted ResCap Liquidity (the unrestricted and unencumbered cash
(consisting of solely U.S. dollars) and cash equivalents held by ResCap on a consolidated basis)



47
     A&R First Priority Security Agreement [EXAM00110381]; A&R Second Priority Security Agreement
     [ALLY_0066445]; A&R Third Priority Security Agreement [ALLY_0066573].
48
     Amend. No. 1 to the A&R Secured Revolver Loan Agreement, dated Apr. 30, 2010 [ALLY_0069506].
49
     Amend. No. 2 to the A&R Secured Revolver Loan Agreement, dated Aug. 31, 2010 [ALLY_0074205].




                                       Appendix V.E.3, Page 11 of 12
 12-12020-mg          Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                               Pg 155 of 385
                                         Appendix V.E.3, Page 12 of 12


and provided for a most-favored nations clause (such that the Secured Revolver Facility would
incorporate any more restrictive financial covenant (or additional financial covenant) contained
in a Bilateral Facility; (3) added a similar most-favored nations clause with respect to the
consolidated TNW covenant; (4) increased the advance rates for Scratch and Dent Loans50 from
50% to 76.5%; (5) added an event of default if any Secured Revolver Facility Borrower, Secured
Revolver Facility Guarantor or any Subsidiary of either defaulted in the payment or performance
of any debt or other obligation that had been guaranteed by AFI for the benefit of a third party;
and (6) replaced the schedule of Bilateral Facilities to further reduce the aggregate number of
such facilities.

                                   (3)      Third Amendment (December 21, 2010)51

       This amendment provided that there could be more than one exempt cash reserve
account, but did not change the maximum of $250 million that could be held therein in the
aggregate.

                                   (4)      Fourth Amendment (April 18, 2011)52

        This amendment (1) modified the covenant regarding Peak Score to provide that the
satisfaction by the Secured Revolver Facility Borrowers of two of the following three ratings, as
a prime residential mortgage servicer, would satisfy the covenant: (a) ”average” by S&P; (b)
“RPS3-” by Fitch; and (c) “SQ3-” by Moody’s; and (2) extended the maturity date of the
Secured Revolver Facility from April 29, 2011 to April 13, 2012.

                                   (5)      Fifth Amendment (April 10, 2012)53

       This amendment extended the maturity date of the Secured Revolver Facility from
April 13, 2012 to May 14, 2012.




50
     See Table V.E.3.b for a description of Scratch and Dent Loans.
51
     Amend. No. 3 to the A&R Secured Revolver Loan Agreement, dated Dec. 21, 2010 [EXAM00110350].
52
     Amend. No. 4 to the A&R Secured Revolver Loan Agreement, dated Aug. 31, 2010 [ALLY_0074234].
53
     Amend. No. 5 to the A&R Secured Revolver Loan Agreement, dated Apr. 10, 2012 [EXAM00110372].




                                         Appendix V.E.3, Page 12 of 12
 12-12020-mg                Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13   Appendix
                                                   Pg 156 of 385
                                             Appendix V.E.4, Page 1 of 2


                       4.      Servicing Advance Factoring Facility54

                               a.      Principal Terms

       On June 17, 2008, the Servicing Advance Factoring Sellers (RFC and GMAC Mortgage),
and GMAC CF, as purchaser, entered into the Servicing Advance Factoring Facility. The
principal terms of the Servicing Advance Factoring Facility, when initially entered into, were as
follows:

 TABLE V.E.4.a
 Servicing Advance Factoring Facility - Principal Terms
 June 17, 2008


     Effective Date:                       June 17, 2008

     Sellers:                              RFC and GMAC Mortgage

     Purchaser:                            GMAC CF

     Facility Type:                        Receivable Sale Transaction

     Maximum Purchase Amount:              $600 million

     Term:                                 One year
 Source: Service Advance Factoring Agreement [ALLY_0041874].




                               b.      Purchase and Sale

        Subject to a $600 million cap, GMAC CF committed to purchase receivables arising from
Servicing Advances made by the Servicing Advance Factoring Sellers under certain designated
Servicing Contracts. Servicing Advances consisted of (1) P&I Advances (Servicing Advances
relating to delinquent interest and/or principal); (2) T&I Advances (Servicing Advances relating
to real estate taxes and/or hazard, flood or primary mortgage insurance premiums); and (3)
Corporate Advances (Servicing Advances relating to preservation of properties, expenses for
foreclosure actions and other expenses to maximize collateral value). On the initial purchase
date and on each subsequent date on which the sale and purchase of additional Servicing
Advances were settled, the purchase price was determined by multiplying the receivable balance
of each of the above-referenced types of Servicing Advances by a discount factor of 85%,
subject to certain adjustments. The purchase price of the Servicing Advances could be further
adjusted by mutual agreement to reflect fair market value. The obligations to sell and purchase
were suspended if the purchase of Servicing Advances would result in the cap amount being
exceeded or if GMAC CF and the Servicing Advance Factoring Sellers were not in agreement
with adjustments to the purchase price.




54
       Servicing Advance Factoring Agreement [ALLY_0041874].




                                              Appendix V.E.4, Page 1 of 2
 12-12020-mg         Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                            Pg 157 of 385
                                      Appendix V.E.4, Page 2 of 2


                         c.      Receivable Factoring Arrangements

      Upon the occurrence of any Termination Event (events of default under the Servicing
Advance Factoring Facility) or Stop Event (suspension, termination, removal or resignation of
RFC or GMAC Mortgage as a servicer under a designated Servicing Contract), GMAC CF could
immediately cease purchasing receivables.55

        The Servicing Advance Factoring Sellers continued to service and administer the
collection of the Servicing Advances, as agents of GMAC CF, and indemnified GMAC CF with
respect to any act or omission by the Servicing Advance Factoring Sellers in their capacity as
“Servicers” with respect to the Servicing Advances. With respect to Servicing Advances subject
to liens under the Secured Revolver Facility, the Servicing Advance Factoring Sellers were
required to deliver lien release documents from AFI, as “Lender Agent” under the Secured
Revolver Facility, and Wells Fargo Bank, as First Priority Collateral Agent, including
amendments to financing statements evidencing the release of liens for the benefit of the holders
of the Junior Secured Notes and the Senior Secured Notes.

                         d.      Amendment No. 1 to Servicing Advance Factoring Agreement56

       The Servicing Advance Factoring Agreement was amended on October 6, 2008. This
amendment (1) required the Servicing Advance Factoring Sellers to notify GMAC CF upon the
occurrence of any Stop Event; and (2) provided that the occurrence of one or more Stop Events
(whether matured or subject to notice of any cure period) under designated Servicing Contracts
representing 5% or more of the purchased Servicing Advances would no longer result in an
immediate event of termination under the Servicing Advance Factoring Agreement, unless
determined as such by GMAC CF in its sole discretion.




55
     Servicing Advance Factoring Agreement, § 8(b) [ALLY_0041874].
56
     Amend. No. 1 to the Servicing Advance Factoring Agreement, dated Oct. 6, 2008 [ALLY_0093099].




                                       Appendix V.E.4, Page 2 of 2
 12-12020-mg               Doc 3698-36           Filed 05/13/13 Entered 05/13/13 17:08:13                         Appendix
                                                      Pg 158 of 385
                                                Appendix V.E.5, Page 1 of 9


                      5.        Initial Line of Credit Facility57

                                a.       Principal Terms

        On November 20, 2008, the Initial Line of Credit Borrowers (PATI and RAHI), and the
Initial Line of Credit Guarantors, entered into the Initial Line of Credit Facility. The principal
terms of the Initial Line of Credit Facility, when initially entered into, were as follows:

 TABLE V.E.5.a
 Initial Line of Credit Facility - Principal Terms
 November 20, 2008


     Closing Date:                           November 20, 2008

     Borrowers:                              PATI and RAHI

     Guarantors:                             ResCap
                                             RFC
                                             GMAC Mortgage

     Lender/Lender Agent:                    AFI

     Facility Type:                          Secured revolver

     Purpose:                                Budgeted working capital and general corporate purposes in the ordinary course

     Committed Amount:                       $430 million

     Interest Rate:                          LIBOR + 3.50%

     Scheduled Maturity Date:                December 31, 2008

     Fees:                                   None
 Source: Initial Line of Credit Agreement [ALLY_0023145].




                                b.       Borrowing Base

        AFI initially committed to make Initial Line of Credit Loans to the Initial Line of Credit
Borrowers, up to the lesser of (1) the then existing borrowing base; and (2) $430 million minus
the value of collateral posted by AFI as replacement collateral for (a) certain collateral that
secured indemnification obligations relating to the purchase and sale of mortgage loans; and/or
(b) litigation bonds in connection with the Mitchell litigation. The borrowing base was
determined by calculating the aggregate “value” of the Initial Line of Credit Collateral, which, as
set forth in the chart below, was subject to a discount factor that varied depending on the type of
asset.




57
      Initial Line of Credit Agreement [ALLY_0023145].




                                                Appendix V.E.5, Page 1 of 9
 12-12020-mg             Doc 3698-36              Filed 05/13/13 Entered 05/13/13 17:08:13                       Appendix
                                                       Pg 159 of 385
                                                Appendix V.E.5, Page 2 of 9


 TABLE V.E.5.b
 Discount Factors Used to Determine Collateral Values

     Flume No. 8 Note (Secured Zero Coupon Discount Note of Flume (No. 8) Limited dated as of November 14,
     2008                                                                                                             50%

     GSAP Class A-1 Preference Shares (100 Class A-1 Preference Shares issued by GMAC Mortgage Servicer
     Advance Funding Company, Ltd.) and GSAP Class A-2 Preference Shares (100 Class A-2 Preference Shares
     issued by GMAC Mortgage Servicer Advance Funding Company, Ltd.)                                                  80%

     Warehouse loans (loans made by any Initial Line of Credit Guarantor pursuant to (i) the Warehousing Credit and
     Security Agreement dated as of April 1, 2005 between RFC and First Savings Mortgage Corporation and (ii) the
     Servicing Secured Facility Agreement (Syndicated) among Provident Funding Associates, L.P., U.S. Bank
     National Association, JPMorgan Chase Bank, N.A., J.P. Morgan Securities Inc., RFC and other lenders party
     thereto from time to time)                                                                                       50%
 Source: Initial Line of Credit Agreement, Sched. 2.04 [ALLY_0023241].




                               c.         Funding; Interest and Maturity

       The Initial Line of Credit Borrowers were permitted to request Initial Line of Credit
Loans only if either or both of the two following ResCap liquidity tests were met: (1) the
estimated Unrestricted ResCap Liquidity (unencumbered cash in dollars held in the U.S. by
ResCap and its Subsidiaries) on the proposed funding date was less than $250 million and, based
on such estimates, after giving effect to an Initial Line of Credit Loan, Unrestricted ResCap
Liquidity did not exceed $250 million plus a Draw Adjustment Amount (an amount equal to $25
million or a higher amount specified by AFI); or (2) the estimated Consolidated Liquidity (cash
and cash equivalents of ResCap on a consolidated basis, excluding cash and cash equivalents of
Ally Bank) on the proposed funding date was less than $750 million and, based on such
estimates, after giving effect to an Initial Line of Credit Loan, Consolidated Liquidity did not
exceed $750 million plus the Draw Adjustment Amount. Interest on the Initial Line of Credit
Loans accrued at a rate of LIBOR + 3.50% per annum. The maturity date for the Initial Line of
Credit Loans was initially scheduled to occur on December 31, 2008 (the facility was
subsequently extended numerous times).

                               d.         Mandatory Prepayment

        Initial Line of Credit Loans were required to be prepaid when (1) the outstanding
principal balance exceeded the borrowing base by an amount equal to or greater than $250,000;
or (2) the “Liquidity Excess Amount”58 was greater than or equal to $25 million. If the Liquidity
Excess Amount was equal to or in excess of $25 million, the Initial Line of Credit Borrowers
were required to prepay the Initial Line of Credit Loans to the extent Unrestricted ResCap
Liquidity and Consolidated Liquidity would be equal to or greater than the required threshold


58
      Id. § 2.08(c) (the Initial Line of Credit Borrowers were required to determine on a daily basis the amount by
      which the (1) estimated “Unrestricted ResCap Liquidity” exceeded $250 million; and (2) “Consolidated
      Liquidity” exceeded $750 million. The “Liquidity Excess Amount” was the greater of the two foregoing
      calculations).




                                                 Appendix V.E.5, Page 2 of 9
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13        Appendix
                                             Pg 160 of 385
                                       Appendix V.E.5, Page 3 of 9


amounts of $250 million and $750 million, respectively. The Initial Line of Credit Borrowers
were permitted to satisfy prepayment obligations by adding eligible assets consisting of whole
mortgage loans to the Initial Line of Credit Collateral.

                          e.      Financial Covenants

       There were two financial covenants that applied to ResCap and its Subsidiaries: (1)
Consolidated TNW (the line item consisting of equity on the consolidated balance sheet of
ResCap, but excluding the equity of Ally Bank) could not, as of the last Business Day of any
month, be less than $250 million; and (2) Unrestricted ResCap Liquidity had to be greater than
$250 million at all times; however, failure to maintain the required Unrestricted ResCap
Liquidity threshold was subject to a ten business day cure period.

                          f.      Guarantees

        ResCap and the other Initial Line of Credit Guarantors guaranteed the obligations under
the Initial Line of Credit Agreement pursuant to an unconditional guarantee.59

                          g.      Collateral Arrangements

       In connection with the Initial Line of Credit Agreement, the Initial Line of Credit
Borrowers and the Initial Line of Credit Guarantors entered into the Initial Line of Credit
Security Agreement.60

       Pursuant to the Initial Line of Credit Security Agreement, the Initial Line of Credit
Borrowers and the Initial Line of Credit Guarantors granted a security interest in favor of AFI, as
lender agent, in specific personal property to secure the obligations owed under the Initial Line
of Credit Agreement and the related documents. Initially, Initial Line of Credit Collateral
included the following:

                                          (1)      certain shares of capital stock and other equity
                                                   interests;

                                          (2)      certain pledged notes and all assets, rights and
                                                   property relating thereto;

                                          (3)      dividends and distributions relating to pledged
                                                   equity interests;

                                          (4)      certain deposit accounts and certain securities
                                                   accounts;


59
     Id. Art. XI.
60
     Initial Line of Credit Security Agreement [ALLY_0022482].




                                       Appendix V.E.5, Page 3 of 9
 12-12020-mg          Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                  Appendix
                                               Pg 161 of 385
                                         Appendix V.E.5, Page 4 of 9


                                            (5)     certain contribution agreements and all other
                                                    agreements relating to the pledged Initial Line of
                                                    Credit Collateral;

                                            (6)     accounts, chattel paper, commercial tort claims,
                                                    deposit accounts, documents, general intangibles,
                                                    goods, instruments, investment property, letters of
                                                    credit and all other personal property related to the
                                                    pledged Initial Line of Credit Collateral; and

                                            (7)     proceeds of the foregoing.

        Prior to the date on which the Initial Line of Credit Security Agreement was replaced
with the A&R Initial Line of Credit Security Agreement, the Initial Line of Credit Security
Agreement was amended (1) on March 18, 200961 to, among other things, (a) reflect the
existence of the Omnibus Security Agreement, which agreement also provided for liens securing
the obligations under the Initial Line of Credit Agreement, and (b) correspond to the expansion
of obligations secured by the Initial Line of Credit Collateral as provided in the fourth
amendment to the Initial Line of Credit Agreement;62 (2) on May 19, 200963 to add additional
Initial Line of Credit Collateral, particularly European collateral consisting of the GX II Note
and the related documents and certain mortgage loans; (3) on June 1, 200964 to expand the
obligations secured by the Initial Line of Credit Collateral to cover the obligations under the
Second Line of Credit Agreement; (4) on June 5, 200965 to modify certain defined terms relating
to the Initial Line of Credit Collateral, particularly with respect to the GX II Notes; and (5) on
June 30, 200966 to once again modify certain defined terms relating to the Initial Line of Credit
Collateral.

                          h.       Amendments to Initial Line of Credit Agreement

        The Initial Line of Credit Agreement was amended on seventeen different occasions
before it was amended and restated in December 2009.




61
     Amend. No. 1 to the Initial Line of Credit Security Agreement, dated Mar. 18, 2009 [ALLY_0024287].
62
     See Appendix V.E.5.h.(4) for more detail.
63
     Amend. No. 2 to the Initial Line of Credit Security Agreement, dated May 19, 2009 [ALLY_0024300].
64
     Amend. No. 3 to the Initial Line of Credit Security Agreement, dated June 1, 2009 [ALLY_0024317].
65
     Amend. No. 4 to the Initial Line of Credit Security Agreement, dated June 5, 2009 [ALLY_0024329].
66
     Amend. No. 5 to the Initial Line of Credit Security Agreement, dated June 30, 2009 [RC00033677].




                                         Appendix V.E.5, Page 4 of 9
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                             Pg 162 of 385
                                        Appendix V.E.5, Page 5 of 9


                                  (1)      First Amendment (December 22, 2008)67

        This amendment, among other things, permitted dissolution of: (1) an Initial Line of
Credit Borrower or Initial Line of Credit Guarantor if consented to by AFI; and (2) a Subsidiary
of an Initial Line of Credit Borrower or Initial Line of Credit Guarantor that was not an Initial
Line of Credit Borrower or Initial Line of Credit Guarantor and did not have material assets or
hold title to any Initial Line of Credit Collateral.

                                  (2)      Second Amendment (December 29, 2008)68

        This amendment, among other things: (1) extended the maturity date from December 31,
2008 to January 31, 2009; (2) in connection with funding requests, increased the Unrestricted
ResCap Liquidity threshold from $250 million to $300 million and the Consolidated Liquidity
threshold from $750 million to $800 million; and revised the related covenant such that
Unrestricted ResCap Liquidity had to be in excess of $300 million at all times; (3) lowered the
Liquidity Excess Amount, which triggered mandatory prepayment of the Initial Line of Credit
Loans, from $25 million to $0; and (4) required interest to accrue at the default rate upon the
failure to make mandatory prepayment of the Initial Line of Credit Loans in connection with a
Liquidity Excess Amount. The concept of the Draw Adjustment Amount, which could be
determined by AFI, was eliminated.

                                  (3)      Third Amendment (January 30, 2009)69

       This amendment, among other things, extended the maturity date from January 31, 2009
to March 31, 2009.

                                  (4)      Fourth Amendment (March 18, 2009)70

        Under this amendment: (1) the obligations secured by the Initial Line of Credit Collateral
were expanded to include (a) the obligations of the ResCap affiliated counterparties under the
Master Netting Agreement, (b) the obligations of the ResCap affiliated counterparties under each
derivative agreement governing derivative transactions with Ally Investment Management, and
(c) the obligations under the Secured MSR Facility; and (2) the maturity date was extended from
March 31, 2009 to June 30, 2009. Additionally, this amendment provided for reductions to the
borrowing base to the extent there was hedging exposure in favor of AFI. For the first time,
language relating to reservation of rights was included. This language appears in almost all of
the amendments going forward.



67
     Amend. No.1 to the Initial Line of Credit Agreement, dated Dec. 22, 2008 [ALLY_0023114].
68
     Amend. No.2 to the Initial Line of Credit Agreement, dated Dec. 29, 2008 [ALLY_0023126].
69
     Amend. No.3 to the Initial Line of Credit Agreement, dated Jan. 30, 2009 [ALLY_0058280].
70
     Amend. No.4 to the Initial Line of Credit Agreement, dated Mar. 18, 2009 [ALLY_0239662].




                                        Appendix V.E.5, Page 5 of 9
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                             Pg 163 of 385
                                        Appendix V.E.5, Page 6 of 9


                                  (5)     Fifth Amendment (March 31, 2009)71

       This amendment modified the affirmative covenant regarding GMAC Mortgage’s
maintenance of a Peak Score, to change it from only requiring a monthly Peak Score of
“Excellent” from Fannie Mae to maintaining either: (1) while Fannie Mae is using the Peak
Score system, a monthly Peak Score equating to “Excellent” or better, or after Fannie Mae has
implemented a replacement system, a rating reasonably equivalent to a monthly Peak Score of
“Excellent” or better (as agreed by AFI and GMAC Mortgage); or (2) an Investor Reporting and
Remitting rating from Freddie Mac equating to “Tier 2” or better.

                                  (6)     Sixth Amendment (May 19, 2009)72

         This amendment, among other things: (1) required the Initial Line of Credit Borrowers to
estimate the amount of U.S. mortgages loans included in the Initial Line of Credit Collateral that
had become REO Property (mortgaged properties acquired through foreclosure); (2) eliminated
the Initial Line of Credit Borrowers’ ability to add additional whole mortgage loans to the Initial
Line of Credit Collateral to satisfy mandatory prepayment obligations; (3) added additional
European collateral; (4) dropped the collateral “value” for borrowing base purposes to $0 with
respect to U.S. mortgage loans that had become REO Properties; (5) provided for the designation
of two groups of U.S. mortgage loans to be added to the Initial Line of Credit Collateral; (6)
expanded assets eligible for inclusion in the borrowing base to include defaulted assets or assets
consisting of financial asset-backed securities, whose ratings by a nationally recognized rating
agency had been reduced by more than two levels by such agency; and (7) in connection with
eligibility requirements, permitted exceptions relating to irregularities in documentation,
origination or underwriting of an asset so long as (a) the related contract was not materially
affected, (b) such factors were taken into consideration when determining the value of the asset,
and (c) any such exception was disclosed to AFI.

                                  (7)     Waiver and Seventh Amendment (May 27, 2009)73

       In connection with the U.S. Treasury’s investment in AFI and the related transactions
with GM (including the appointment or election of directors), AFI agreed that these transactions
would not constitute a change of control. This amendment changed the definition of “Change of
Control” to mean the acquisition of ownership, directly or indirectly, beneficially or of record, by
any person or group (within the meaning of the Exchange Act) other than GM, Cerberus, the
U.S. Treasury, the GM Trusts (trusts established to own stock of GMAC), or any purchaser of
the beneficial interests in the GM Trusts of capital stock representing a majority of the voting
stock of ResCap.




71
     Amend. No.5 to the Initial Line of Credit Agreement, dated Mar. 31, 2009 [ALLY_0024228].
72
     Amend. No.6 to the Initial Line of Credit Agreement, dated May 19, 2009 [ALLY_0024239].
73
     Waiver and Seventh Amend. to the Initial Line of Credit Agreement, dated May 27, 2009 [ALLY_0024269].




                                        Appendix V.E.5, Page 6 of 9
 12-12020-mg         Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                              Pg 164 of 385
                                         Appendix V.E.5, Page 7 of 9


                                  (8)      Eighth Amendment (June 1, 2009)74

        This amendment was entered into in connection with the Second Line of Credit
Agreement, the parallel line of credit facility AFI entered into with the Initial Line of Credit
Borrowers and the Initial Line of Credit Guarantors. The obligations secured by the Initial Line
of Credit Collateral were further expanded to include all obligations under the Second Line of
Credit Agreement. Borrowing requests and availability under the Line of Credit Facilities were
tied to compliance with the same ResCap liquidity thresholds. The Initial Line of Credit
Borrowers had to be in compliance with the ResCap liquidity threshold amounts at all times and
were required to make mandatory prepayments under both facilities whenever the Liquidity
Excess Amount was greater than $0. In addition, a cross-default event of default was added with
respect to each agreement governing derivative transactions with Ally Investment Management,
the Master Netting Agreement, the Secured MSR Facility and the Second Line of Credit
Agreement; and proceeds of the Initial Line of Credit Collateral were allocated after an event of
default as determined by AFI in its capacity as Omnibus Agent under the Omnibus Security
Agreement. This amendment also provided that Initial Line of Credit Loans could be made up to
the lesser of: (1) the aggregate commitment amount reduced to the extent there was hedging
exposure in favor of AFI; and (2) the excess, if any, of the then current borrowing base over
outstandings under the Second Line of Credit Agreement.

                                  (9)      Ninth Amendment (June 12, 2009)75

        This amendment provided the mechanics for adding additional groups of U.S. mortgage
loans to the Initial Line of Credit Collateral.

                                  (10)     Tenth Amendment (June 30, 2009)76

       This amendment: (1) extended the maturity date from June 30, 2009 to July 30, 2009; and
(2) required that funds permitted to be withdrawn from certain collection accounts had to be
included in the calculation of the ResCap liquidity threshold amounts. Additionally, in the event
ResCap did not have sufficient liquidity to fund its Servicing Advances, upon delivery of a
borrowing base report, AFI, in its sole discretion, could agree to provide funding.

                                  (11)     Eleventh Amendment (July 31, 2009)77

       This amendment: (1) extended the maturity date from July 31, 2009, to September 30,
2008; and (2) in connection with the determination of ResCap liquidity threshold amounts
necessary to be in effect prior to funding requests, required the inclusion of funds permitted to be


74
     Amend. No.8 to the Initial Line of Credit Agreement, dated June 1, 2009 [ALLY_0024273].
75
     Amend. No.9 to the Initial Line of Credit Agreement, dated June 12, 2009 [ALLY_0028077].
76
     Amend. No.10 to the Initial Line of Credit Agreement, dated June 30, 2009 [ALLY_0028091].
77
     Amend. No.11 to the Initial Line of Credit Agreement, dated July 31, 2009 [ALLY_0028108].




                                         Appendix V.E.5, Page 7 of 9
 12-12020-mg          Doc 3698-36          Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                                Pg 165 of 385
                                           Appendix V.E.5, Page 8 of 9


withdrawn from the collection and funding account relating to the GSAP Second Amended and
Restated Indenture, dated as of March 8, 2006, among GMAC Mortgage Servicer Advance
Funding Company, Ltd., as issuer, The Bank of New York, as indenture trustee and GMAC
Mortgage and RFC, as servicers. This amendment added an additional group of U.S. mortgage
loans to the Initial Line of Credit Collateral and assigned collateral “value” percentages to
supporting European assets related to the GX II Note.

                                    (12)     Twelfth Amendment (September 18, 2009)78

        This amendment evidenced AFI’s consent to add to the Initial Line of Credit Collateral
certain European assets consisting of German Class B Securities79 owned by GMAC-RFC
Investments B.V., an Initial Line of Credit Borrower or Initial Line of Credit Guarantor, HELOC
Draws80 and Dutch mortgage receivables in connection with the GX II Notes.81

                                    (13)     Thirteenth Amendment (September 22, 2009)82

         This amendment extended the maturity date from September 30, 2009 to November 30,
2009.
                                    (14)     Fourteenth Amendment (October 20, 2009)83

       This amendment provided that upon delivery of a certain deed of pledge, the collateral
“value” for the German Class B Securities would increase from 20% to 100% for borrowing base
purposes.

                                    (15)     Fifteenth Amendment (November 9, 2009)84

       This amendment acknowledged delivery of all required documents in connection with the
pledge of the German Class B Securities and provided that the German Class B Securities would
be valued at 100% for borrowing base purposes.




78
     Amend. No.12 to the Initial Line of Credit Agreement, dated Sept. 18, 2009 [ALLY_0028123].
79
     See Table V.E.8.b for a description of German Class B Securities.
80
     See Table V.E.8.b for a description of HELOC Draws.
81
     See Table V.E.8.b for a description of GX II Notes.
82
     Amend. No.13 to the Initial Line of Credit Agreement, dated Sept. 22, 2009 [ALLY_0028144].
83
     Amend. No.14 to the Initial Line of Credit Agreement, dated Oct. 20, 2009 [ALLY_0075363].
84
     Amend. No.15 to the Initial Line of Credit Agreement, dated Nov. 9, 2009 [ALLY_0075474].




                                           Appendix V.E.5, Page 8 of 9
 12-12020-mg         Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                              Pg 166 of 385
                                         Appendix V.E.5, Page 9 of 9


                                  (16)     Sixteenth Amendment (November 30, 2009)85

         This amendment extended the maturity date from November 30, 2009 to December 31,
2009.

                                  (17)     Seventeenth Amendment (December 16, 2009)86

       This amendment evidenced AFI’s consent to add to the Initial Line of Credit Collateral
(1) an additional group of U.S. mortgage loans; and (2) U.S. mortgage loans insured or
guaranteed by the FHA or VA.




85
     Amend. No.16 to the Initial Line of Credit Agreement, dated Nov. 30, 2009 [ALLY_0075482].
86
     Amend. No.17 to the Initial Line of Credit Agreement, dated Dec. 16, 2009 [ALLY_0075489].




                                         Appendix V.E.5, Page 9 of 9
 12-12020-mg               Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                            Appendix
                                                    Pg 167 of 385
                                               Appendix V.E.6, Page 1 of 2


                      6.        ResMor Loan Facility87

                                a.     Principal Terms

     On November 20, 2008, the ResMor Facility Borrower (GMAC Canada), entered into the
ResMor Facility. The principal terms of the ResMor Facility were as follows:

 TABLE V.E.6.a
 ResMor Loan Facility - Principal Terms
 November 20, 2008

     Closing Date:                        November 20, 2008

     Borrower:                            GMAC Canada

     Lender:                              AFI

     Facility Type:                       Secured term loan

     Purpose:                             To pay then existing debt due to ResCap or any of its subsidiaries

     Loan Amount:                         CND$82 million

     Interest Rate:                       Royal Bank of Canada’s Prime Rate plus 3.50%

     Scheduled Maturity Date:             Earlier of (i) the closing of the purchase by AFI from the ResMor Facility
                                          Borrower of the stock of 1020491 Alberta Ltd. and ResMor Capital Corporation
                                          and (ii) December 22, 2008

     Fees:                                None

     Recourse:                            AFI’s sole recourse was to the collateral consisting of the securities to be
                                          purchased by AFI from the ResMor Facility Borrower
 Source: ResMor Loan Agreement [RC00025269].




                                b.     Loan and Acquisition

        On November 20, 2008, AFI advanced the ResMor Loan in the amount of CND$82
million under the terms of the ResMor Facility. On the same date, the ResMor Facility
Borrower, as seller, and AFI, as purchaser, entered into the share purchase agreement evidencing
the ResMor Sale, pursuant to which AFI agreed to purchase the stock of 1020491 Alberta Ltd.
and ResMor. Upon consummation of the ResMor Sale, the principal amount of the ResMor
Loan was set off and applied against the purchase price for the shares in full satisfaction of AFI’s
purchase obligation, thereby resulting in the full satisfaction of the ResMor Facility Borrower’s
obligations under the ResMor Facility.




87
      ResMor Loan Agreement [RC00025269].




                                               Appendix V.E.6, Page 1 of 2
12-12020-mg       Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                        Pg 168 of 385
                                  Appendix V.E.6, Page 2 of 2


                      c.      Collateral

     The 1020491 Alberta Ltd. and ResMor shares were pledged in favor of AFI to secure the
ResMor Facility Borrower’s obligations under the ResMor Facility.

                      d.      General

        The ResMor Facility appeared to be designed to provide liquidity to GMAC Canada, a
ResCap Subsidiary, in advance of the ResMor Sale. If the ResMor Sale did not close and the
obligations under the ResMor Facility were not repaid by December 22, 2008, then AFI could
have foreclosed on the 1020491 Alberta Ltd. and ResMor shares held as collateral and become
the owner of those entities. In addition, a cross-default provision under the ResMor Facility was
structured such that an event of default under another credit facility or facilities (in excess of
$10 million), also constituted an event of default under the ResMor Facility and would have
given AFI the ability to foreclose on the shares.




                                   Appendix V.E.6, Page 2 of 2
 12-12020-mg               Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                          Appendix
                                                    Pg 169 of 385
                                              Appendix V.E.7, Page 1 of 6


                      7.        Second Line of Credit Facility88

                                a.      Principal Terms

        On June 1, 2009, the Second Line of Credit Borrowers (PATI and RAHI) and the Second
Line of Credit Guarantors, entered into the Second Line of Credit Facility with AFI, as lender,
credit agent and Omnibus Agent. The principal terms of the Second Line of Credit Facility,
when initially entered into, were as follows:

 TABLE V.E.7.a
 Second Line of Credit Agreement - Principal Terms
 June 1, 2009


     Closing Date:                          June 1, 2009

     Borrowers:                             PATI and RAHI

     Guarantors:                            ResCap
                                            RFC
                                            GMAC Mortgage

     Lender/Lender Agent                    AFI

     Facility Type:                         Secured revolver

     Purpose:                               Budgeted working capital and general corporate purposes in the ordinary course

     Committed Amount:                      $370 million

     Interest Rate:                         LIBOR + 3.50%

     Scheduled Maturity Date:               April 30, 2010

     Fees:                                  None

 Source: Second Line of Credit Agreement [ALLY_0023953].




                                b.      Borrowing Base

        AFI initially committed to make the Second Line of Credit Loans to the Second Line of
Credit Borrowers, up to the lesser of: (1) $370 million; and (2) the then existing borrowing base
reduced to the extent there was hedging exposure in favor of AFI. The borrowing base was
determined by calculating the aggregate “value” of the Second Line of Credit Collateral, which,
as set forth in the chart below, was subject to a discount factor that varied depending on the type
of asset.




88
      Second Line of Credit Agreement [ALLY_0023953].




                                              Appendix V.E.7, Page 1 of 6
12-12020-mg             Doc 3698-36             Filed 05/13/13 Entered 05/13/13 17:08:13                     Appendix
                                                     Pg 170 of 385
                                               Appendix V.E.7, Page 2 of 6


 TABLE V.E.7.b
 Discount Factors Used to Determine Collateral Values
  Flume No. 8 Note (secured zero coupon discount note of Flume (No. 8) Limited dated as of      50% for Group A Loans
  November 14, 2008)                                                                            and 36% for Group B
                                                                                                Loans

  GSAP class A-1 preference shares (100 class A-1 preference shares issues by GMAC              80%
  Mortgage Servicer Advance Funding Company, Ltd.) and GSAP class A-2 preference
  shares (100 class A-2 preference shares issued by GMAC Mortgage Servicer Advance
  Funding Company, Ltd.)

  Warehouse loans (loans made by any Second Line of Credit Guarantor pursuant to (i) the        50%
  Warehousing Credit and Security Agreement dated as of April 1, 2005 between RFC and
  First Savings Mortgage Corporation and (ii) the Servicing Secured Facility Agreement
  (Syndicated) among Provident Funding Associates, L.P., U.S. Bank National Association,
  JPMorgan Chase Bank, N.A., J.P. Morgan Securities Inc., RFC and other lenders party
  thereto from time to time)

  The equity of Equity Investment I, LLC                                                        15%

  US mortgage loans (first or second lien residential mortgage loan other than mortgage loans   40% of Group A Mortgage
  subject to the First Savings repurchase agreement)                                            Loans and 35% for Group
                                                                                                B Mortgage Loans
 Source: Second Line of Credit Agreement, Sched. 2.04 [ALLY_0023953].




                              c.         Funding; Interest and Maturity

        The Second Line of Credit Borrowers were permitted to request Second Line of Credit
Loans only if either or both of the two following ResCap liquidity tests were met: (1) estimated
Unrestricted ResCap Liquidity (unencumbered cash in dollars held in the U.S. by ResCap and its
Subsidiaries) on the proposed funding date was less than $300 million and, based on such
estimates, after giving effect to both the Second Line of Credit Loans and Initial Line of Credit
Loans, Unrestricted ResCap Liquidity did not exceed $300 million; or (2) estimated
Consolidated Liquidity (cash and cash equivalents of ResCap on a consolidated basis, excluding
cash and cash equivalents of Ally Bank) on the proposed funding date was less than $800 million
and, based on such estimates, after giving effect to both the Second Line of Credit Loans and
Initial Line of Credit Loans, Consolidated Liquidity did not exceed $800 million. Second Line
of Credit Loans could not be made unless the outstandings under the Initial Line of Credit
Agreement and the Second Line of Credit Agreement equaled the commitment amount (reduced
to the extent there was hedging exposure in favor of AFI) under the Initial Line of Credit.
Interest on the Second Line of Credit Loans accrued at a rate of LIBOR + 3.50% per annum.
The maturity date for the Second Line of Credit Loans was initially scheduled to occur on June
30, 2009 (the facility was subsequently extended), or earlier upon the disposition by the Second
Line of Credit Borrowers and/or Second Line of Credit Guarantors of the collateral pledged




                                               Appendix V.E.7, Page 2 of 6
 12-12020-mg         Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                   Appendix
                                              Pg 171 of 385
                                        Appendix V.E.7, Page 3 of 6


under an MSR facility with Citibank89 in connection with or following the termination of that
facility.90

                          d.       Mandatory Prepayment

         Second Line of Credit Loans were required to be prepaid when: (1) the outstanding
aggregate principal balance of the Line of Credit Facilities exceeded the borrowing base by an
amount equal to or greater than $250,000; or (2) the Liquidity Excess Amount91 was greater than
or equal to $25 million. If the Liquidity Excess Amount was in excess of $0, the Second Line of
Credit Borrowers were required to prepay the Second Line of Credit Loans to the extent
Unrestricted ResCap Liquidity and Consolidated Liquidity would be equal to or greater than the
required threshold amounts of $300 million and $800 million, respectively. The Second Line of
Credit Borrowers were required to repay the outstandings under the Second Line of Credit
Agreement prior to making any payments of principal under the Initial Line of Credit
Agreement, except in the event the outstandings under the Initial Line of Credit Agreement
exceeded the borrowing base thereunder. The Second Line of Credit Borrowers were permitted
to satisfy prepayment obligations by adding eligible assets consisting of whole mortgage loans to
the Second Line of Credit Collateral.

                          e.       Financial Covenants

       Under the Second Line of Credit Facility there was one financial covenant that applied to
ResCap and its Subsidiaries,92 which was identical to the financial covenant set forth in the Initial
Line of Credit Facility.93 For more detail see Appendix V.E.5.e.

                          f.       Guarantees

       ResCap and the other Second Line of Credit Guarantors guaranteed the obligations under
the Second Line of Credit Agreement pursuant to an unconditional guarantee.94




89
     Loan and Security Agreement between GMAC Mortgage, LLC and Citibank, N.A., dated Sept. 10, 2007
     [GOLDIN00044759].
90
     Second Line of Credit Agreement, Sched. 1.01 [ALLY_0023953] (definition of “Loan Repayment Date”).
91
     Second Line of Credit Agreement, § 2.08(c) [ALLY_0023953] (the Second Line of Credit Borrowers were
     required to determine on a daily basis the amount by which the (1) estimated “Unrestricted ResCap Liquidity”
     exceeded $300 million; and (2) “Consolidated Liquidity” exceeded $800 million. The “Liquidity Excess
     Amount” was the greater of the two foregoing calculations).
92
     Second Line of Credit Agreement, § 7.02(j) [ALLY_0023953].
93
     Initial Line of Credit Agreement, § 7.02(j) [ALLY_0023145].
94
     Second Line of Credit Agreement, Art. XI [ALLY_0023953].




                                        Appendix V.E.7, Page 3 of 6
 12-12020-mg        Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13           Appendix
                                            Pg 172 of 385
                                      Appendix V.E.7, Page 4 of 6


                         g.      Collateral Arrangements

       In connection with the Second Line of Credit Agreement, the Second Line of Credit
Borrowers and the Second Line of Credit Guarantors entered into the Second Line of Credit
Security Agreement,95 pursuant to which the Second Line of Credit Borrowers and the Second
Line of Credit Guarantors granted a security interest in favor of AFI, as lender under the Second
Line of Credit Agreement, in specific personal property to secure their obligations under the
Second Line of Credit Agreement and the related facility documents. The liens granted by the
Second Line of Credit Borrowers and the Second Line of Credit Guarantors under the Second
Line of Credit Security Agreement were on the following assets:

                                         (1)     certain mortgage loans;

                                         (2)     certain shares of capital stock and other equity
                                                 interests;

                                         (3)     certain pledged notes and all assets, rights and
                                                 property related thereto;

                                         (4)     dividends and distributions relating to pledged
                                                 equity interests and pledged notes;

                                         (5)     certain deposit accounts and certain securities
                                                 accounts;

                                         (6)     certain contribution agreements and all agreements
                                                 relating to the pledged collateral;

                                         (7)     accounts, chattel paper, commercial tort claims,
                                                 deposit accounts, documents, general intangibles,
                                                 goods, instruments, investment property, letters of
                                                 credit and all other personal property related to the
                                                 pledged collateral;

                                         (8)     collateral posted under any derivative agreements
                                                 with Ally Investment Management and all rights
                                                 under such agreements;

                                         (9)     servicing rights and collateral pledged to secure the
                                                 Secured MSR Facility, but excluding advances
                                                 under Servicing Contracts; and




95
     Second Line of Credit Security Agreement [ALLY_0024097].




                                      Appendix V.E.7, Page 4 of 6
 12-12020-mg          Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                              Pg 173 of 385
                                         Appendix V.E.7, Page 5 of 6


                                          (10)     proceeds of the foregoing.

        The Second Line of Credit Security Agreement was amended: (1) on June 5, 200996 to
add additional collateral consisting of GX II Notes and related documents; and (2) on June 30,
200997 to add additional collateral consisting of a pledged note and a pledged account.

        The Second Line of Credit Security Agreement was amended and restated on December
30, 2009 by the A&R Second Line of Credit Security Agreement98 on terms substantially similar
to those in the Second Line of Credit Security Agreement.

                          h.       Amendments to Second Line of Credit Agreement

       The Second Line of Credit Agreement was amended on ten different occasions before it
was amended and restated in December 2009. Each of the amendments to the Second Line of
Credit Agreement were entered into on the same dates as, and the provisions corresponded to,
the amendments to the Initial Line of Credit Facility; however, the First Amendment and Tenth
Amendment to the Second Line of Credit Agreement provided for an increase in the Second Line
of Credit Agreement commitment amount as indicated below.

                                   (1)     First Amendment (June 12, 2009)99

       This amendment: (1) increased the commitment amount from $370 million to $470
million and (2) provided the mechanics for adding additional groups of U.S. mortgage loans to
the Second Line of Credit Collateral.

                                   (2)     Second Amendment (June 30, 2009)100

       For a description of the amendments under the Second Amendment see Appendix
V.E.5.h.(10).

                                   (3)     Third Amendment (July 31, 2009)101

       For a description of the amendments under the Third Amendment see Appendix
V.E.5.h.(11).




96
      Amend. No. 1 to the Second Line of Credit Security Agreement, dated June 5, 2009 [ALLY_0024168].
97
      Amend. No. 2 to the Second Line of Credit Security Agreement, dated June 30, 2009 [ALLY_0026693].
98
      A&R Second Line of Credit Security Agreement [EXAM00110842].
99
      Amend. No.1 to the Second Line of Credit Agreement, dated June 12, 2009 [ALLY_0026615].
100
      Amend. No.2 to the Second Line of Credit Agreement, dated June 30, 2009 [ALLY_0026629].
101
      Amend. No.3 to the Second Line of Credit Agreement, dated July 31, 2009 [ALLY_0026646].




                                         Appendix V.E.7, Page 5 of 6
 12-12020-mg          Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                 Appendix
                                              Pg 174 of 385
                                         Appendix V.E.7, Page 6 of 6


                                  (4)      Fourth Amendment (September 18, 2009)102

       For a description of the amendments under the Fourth Amendment see Appendix
V.E.5.h.(12).

                                  (5)      Fifth Amendment (September 22, 2009)103

       For a description of the amendments under the Fifth Amendment see Appendix
V.E.5.h.(13).

                                  (6)      Sixth Amendment (October 20, 2009)104

       For a description of the amendments under the Sixth Amendment see Appendix
V.E.5.h.(14).

                                  (7)      Seventh Amendment (November 9, 2009)105

       For a description of the amendments under the Seventh Amendment see Appendix
V.E.5.h.(15).

                                  (8)      Eighth Amendment (November 30, 2009)106

       For a description of the amendments under the Eighth Amendment see Appendix
V.E.5.h.(16).
                           (9)   Ninth Amendment (December 16, 2009)107

       For a description of the amendments under the Ninth Amendment see Appendix
V.E.5.h.(17).

                                  (10)     Tenth Amendment (December 21, 2009)108

          This amendment increased the commitment amount from $470 million to $670 million.




102
      Amend. No.4 to the Second Line of Credit Agreement, dated Sept. 18, 2009 [ALLY_0026660].
103
      Amend. No.5 to the Second Line of Credit Agreement, dated Sept. 22, 2009 [ALLY_0026681].
104
      Amend. No.6 to the Second Line of Credit Agreement, dated Oct. 20, 2009 [GOLDIN00045301].
105
      Amend. No.7 to the Second Line of Credit Agreement, dated Nov. 9, 2009 [ALLY_0077219].
106
      Amend. No.8 to the Second Line of Credit Agreement, dated Nov. 30, 2009 [ALLY_0077227].
107
      Amend. No.9 to the Second Line of Credit Agreement, dated Dec. 16, 2009 [ALLY_0077234].
108
      Amend. No.10 to the Second Line of Credit Agreement, dated Dec. 21, 2009 [ALLY_0077250].




                                         Appendix V.E.7, Page 6 of 6
 12-12020-mg          Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13       Appendix
                                           Pg 175 of 385
                                     Appendix V.E.8, Page 1 of 9



                 8.      A&R Line of Credit Facility109

                         a.     Principal Terms

        On December 30, 2009, the Initial Line of Credit Facility and the Second Line of Credit
Facility were amended and restated and consolidated into the A&R Line of Credit Facility by
and among the A&R Line of Credit Borrowers (RFC and GMAC Mortgage), the A&R Line of
Credit Guarantors and AFI, as lender and lender agent. Under the A&R Line of Credit
Agreement, RAHI and PATI assigned all of their obligations as borrowers under the Initial Line
of Credit Agreement and Second Line of Credit Agreement to RFC and GMAC Mortgage,
previously, Initial Line of Credit Guarantors and Second Line of Credit Guarantors. The
principal terms of the A&R Line of Credit Facility, when initially entered into, were as follows:




109
      A&R Line of Credit Agreement [ALLY_0240633].




                                     Appendix V.E.8, Page 1 of 9
12-12020-mg            Doc 3698-36            Filed 05/13/13 Entered 05/13/13 17:08:13                          Appendix
                                                   Pg 176 of 385
                                             Appendix V.E.8, Page 2 of 9


 TABLE V.E.8.a
 A&R Line of Credit Facility - Principal Terms
 December 30, 2009


  Closing Date:                            December 30, 2009

  Borrowers:                               RFC and GMAC Mortgage


  Guarantors:                              ResCap
                                           RAHI
                                           PATI
                                           GMAC Holding
                                           RFC Holding
                                           Homecomings Financial
                                           Equity Investment I, LLC


  Lender/Lender Agent/Omnibus              AFI
  Agent:

  Facility Type:                           Secured revolver

  Purpose:                                 Budgeted working capital and general corporate purposes in the ordinary course

  Committed Amount:                        $1.1 billion

  Interest Rate:                           LIBOR + 2.75%

  Scheduled Maturity Date:                 April 30, 2010

  Fees:                                    None

 Source: A&R Line of Credit Agreement [ALLY_0240633].




                             b.        Borrowing Base

        AFI initially committed to make the A&R Line of Credit Loans to the A&R Line of
Credit Borrowers, up to the lesser of: (1) $1.1 billion; and (2) the then existing borrowing base
reduced to the extent there was hedging exposure in favor of AFI. At closing, the aggregate
principal amount of A&R Line of Credit Loans outstanding totaled $949,400,000. The
borrowing base was determined by calculating the aggregate “value” of the A&R Line of Credit
Collateral, which, as set forth in the chart below, was subject to a discount factor that varied
depending on the type of asset. The A&R Line of Credit Agreement gave AFI the ability to
modify a designated discount factor in its reasonable discretion taking into account estimated
collections, market value, legal risks, cost of recovery and other matters customarily considered
by commercial lenders when determining advance rates.




                                              Appendix V.E.8, Page 2 of 9
12-12020-mg                    Doc 3698-36                 Filed 05/13/13 Entered 05/13/13 17:08:13                                            Appendix
                                                                Pg 177 of 385
                                                          Appendix V.E.8, Page 3 of 9


TABLE V.E.8.b
Discount Factors Used to Determine Collateral Values

      Flume No. 8 Note (secured zero coupon discount note of Flume (No. 8) Limited dated as of                             50% for Group A1 Loans,
      November 14, 2008)                                                                                                   36% for Group B Loans,
                                                                                                                           32% for Group C Loans
                                                                                                                           and 40% for Group D
                                                                                                                           Loans

      Supporting assets related to the GX II Notes (the note(s) of GX CE Funding H B.V. issued                             60% for “securities”, 30%
      pursuant to the GX II VFLN Agreement by and among ResCap, GX CE Funding II B.V.,                                     for “Spanish
      Stichting Security Trustee GX CE Funding II, GMAC-RFC Investments B.V. and                                           Participations”, 45% for
      GMAC RFC Nederland B.V.)                                                                                             “German Sub
                                                                                                                           Participations” and 70.5%
                                                                                                                           for “Dutch Mortgages” (the
                                                                                                                           supporting assets for GX
                                                                                                                           Notes were defined in the
                                                                                                                           security documentation
                                                                                                                           relating to the GX II Notes)

      Warehouse loans (loans made by any A&R Line of Credit Guarantor pursuant to (i) the                                  50%
      Warehousing Credit and Security Agreement dated as of April 1, 2005 between RFC and
      First Savings Mortgage Corporation and (ii) the Servicing Secured Facility Agreement
      (Syndicated) among Provident Funding Associates, L.P., U.S. Bank National Association,
      JPMorgan Chase Bank, N.A., J.P. Morgan Securities Inc., RFC and other lenders party
      thereto from time to time)

      The equity of Equity Investment I, LLC                                                                               15%

      US mortgage loans (first or second lien residential mortgage loan other than mortgage loans                          40% for Group A Loans,
      subject to the Master Repurchase Agreement, dated as of July 1, 2009, between RFC and                                35% for Group B Loans,
      First Savings Mortgage Corporation)                                                                                  35% for Group C Loans,
                                                                                                                           54.5% for Group D Loans
                                                                                                                           and 51% for Group E
                                                                                                                           Loans

      German class B securities (the junior class B notes issued by E-MAC DE 2009-I B.V. to                                100%
      GMAC-RFC Investments B.V. under the German class 13 transaction documents)

      Eligible HELOC draws (with respect to certain HELOC securitizations, borrowings made to                              19%
      an obligor on a HELOC funded by GMAC Mortgage constituting an “excluded amount”, as
      determined pursuant to the underlying securitization documents, and meeting eligibility
      requirements under the A&R LOC Credit Agreement)

      Equity interests in PATI Real Estate Holding, LLC and RAHI Real Estate, LLC or any                                   50%
      other AFI approved special purpose vehicle with respect to LOC REO Property (residential
      property in the US acquired as a result of foreclosure of a US mortgage Loan and approved
      as collateral) in an amount not to exceed, at any time , the lesser of (A) 5% of the total
      collateral “value” of the borrowing base; and (B) $30 million)

(1)
       Groups of US Mortgage Loans were designated as being part of a particular “Loan Group” in a Collateral Addition Designation Notice and then identified in
       a related schedule.

Source: A&R Line of Credit Agreement, Sched. 2.04 [ALLY_0240633].




                                                          Appendix V.E.8, Page 3 of 9
 12-12020-mg             Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                                Pg 178 of 385
                                          Appendix V.E.8, Page 4 of 9


                                 c.   Funding; Interest and Maturity

        The A&R Line of Credit Borrowers were permitted to request A&R Line of Credit Loans
only if either or both of the two following ResCap liquidity tests were met: (1) estimated
Unrestricted ResCap Liquidity (unencumbered cash in dollars held in the U.S. by ResCap and its
Subsidiaries) on the proposed funding date was less than $300 million and, based on such
estimates, after giving effect to the A&R Line of Credit Loans, Unrestricted ResCap Liquidity
did not exceed $300 million; or (2) estimated Consolidated Liquidity (cash and cash equivalents
of ResCap on a consolidated basis, excluding cash and cash equivalents of Ally Bank) on the
proposed funding date was less than $800 million and, based on such estimates, after giving
effect to the A&R Line of Credit Loans, Consolidated Liquidity did not exceed $800 million.
Funds permitted to be withdrawn from certain collection accounts were required to be included
in the pre-funding calculations of the ResCap liquidity threshold amounts. Interest on the A&R
Line of Credit Loans accrued at a rate of LIBOR + 2.75% per annum. The maturity date for the
A&R Line of Credit Loans was initially scheduled to occur on April 30, 2010, but was extended
numerous times before the Petition Date.

                                 d.   Mandatory Prepayment

        A&R Line of Credit Loans were required to be prepaid when: (1) the outstanding
principal balance exceeded the borrowing base by an amount equal to or greater than $250,000;
or (2) the Liquidity Excess Amount110 was greater than or equal to $25 million. If the Liquidity
Excess Amount was in excess of $0, the A&R Line of Credit Borrowers were required to prepay
the A&R Line of Credit Loans to the extent Unrestricted ResCap Liquidity and Consolidated
Liquidity would be equal to or greater than the required threshold amounts of $300 million and
$800 million, respectively.

                                 e.   Financial Covenants

       There were two financial covenants under the A&R Line of Credit Facility that applied to
ResCap and its Subsidiaries,111 which were identical to the two financial covenants set forth in
the Secured Revolver Facility.112 For more detail see Appendix V.E.3.e.




110
      Id. § 2.08(c) (the A&R Line of Credit Borrowers were required to determine on a daily basis the amount by
      which the (1) estimated “Unrestricted ResCap Liquidity” exceeded $300 million; and (2) “Consolidated
      Liquidity” exceeded $800 million. The “Liquidity Excess Amount” was the greater amount of the foregoing
      calculations).
111
      Id. §§ 7.02(i), 7.02(j).
112
      Secured Revolver Loan Agreement, §§ 7.02(i), 7.02(j) [RC00024234]; A&R Secured Revolver Loan
      Agreement, §§ 7.02(i), 7.02(j) [ALLY_0066146].




                                          Appendix V.E.8, Page 4 of 9
 12-12020-mg           Doc 3698-36          Filed 05/13/13 Entered 05/13/13 17:08:13                      Appendix
                                                 Pg 179 of 385
                                           Appendix V.E.8, Page 5 of 9


                            f.       Guarantees

      ResCap and the other A&R Line of Credit Guarantors guaranteed the obligations under
the A&R Line of Credit Agreement pursuant to an unconditional guarantee.

                            g.       Collateral Arrangements

        In connection with the A&R Line of Credit Agreement, the A&R Line of Credit
Borrowers and the A&R Line of Credit Guarantors entered into the A&R Initial Line of Credit
Security Agreement.113 The A&R Initial Line of Credit Security Agreement amended and
restated under one agreement the Initial Line of Credit Security Agreement and the Omnibus
Security Agreement.

       Pursuant to the A&R Initial Line of Credit Security Agreement, the A&R Line of Credit
Borrowers and the A&R Line of Credit Guarantors granted a security interest in favor of AFI, as
lender agent, Ally Investment Management, and AFI as lender under the Secured MSR Facility,
in specific personal property to secure the obligations owed under the A&R Line of Credit
Agreement, the Secured MSR Facility and derivative agreements (including the Master Netting
Agreement) with Ally Investment Management and the related documents. The liens granted by
the A&R Line of Credit Borrowers and the A&R Line of Credit Guarantors (other than Equity
Investments I, LLC)114 under the A&R Initial Line of Credit Security Agreement were on the
following assets:

                                              (1)       certain mortgage loans;

                                              (2)       certain shares of capital stock and other equity
                                                        interests;

                                              (3)       certain pledged notes and all assets, rights and
                                                        property related thereto;

                                              (4)       dividends and distributions relating to pledged
                                                        equity interests and pledged notes;

                                              (5)       HELOC Excluded Draw Collateral                        (certain
                                                        mortgage loan purchase agreements);




113
      A&R Initial Line of Credit Security Agreement [EXAM00110733].
114
      Equity Investment 1, LLC, granted a broad lien (and “all assets” type lien) on its assets (including accounts,
      chattel paper, commercial tort claims, deposit accounts, financial assets general intangibles, goods, instruments,
      intellectual property letters of credit, money, etc.). A&R Initial Line of Credit Security Agreement, § 2A
      [EXAM00110733].




                                           Appendix V.E.8, Page 5 of 9
 12-12020-mg           Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                    Appendix
                                                Pg 180 of 385
                                           Appendix V.E.8, Page 6 of 9


                                             (6)      servicing rights and Servicing Contracts, but
                                                      excluding advances under Servicing Contracts;115

                                             (7)      certain deposit accounts and certain securities
                                                      accounts;

                                             (8)      certain contribution agreements and all agreements
                                                      relating to the pledged collateral;

                                             (9)      accounts, chattel paper, commercial tort claims,
                                                      deposit accounts, documents, general intangibles,
                                                      goods, instruments, investment property, letters of
                                                      credit and all other personal property related to the
                                                      pledged collateral;

                                            (10)      collateral posted under any derivative agreements
                                                      with Ally Investment Management and all rights
                                                      under such agreements; and

                                            (11)      proceeds of the foregoing.

       The A&R Initial Line of Credit Security Agreement was amended on May 14, 2010116 to:
(1) amend certain defined terms; and (2) to add servicing rights and Servicing Contracts as
additional collateral.

                            h.       Amendments to A&R Line of Credit Agreement

        The A&R Line of Credit Agreement was amended on seven different occasions before
the Petition Date. The eighth amendment to the A&R Line of Credit Agreement constituted the
AFI DIP Financing Agreement.

                                     (1)     First Amendment (April 30, 2010)117

          This amendment extended the maturity date from April 30, 2010 to April 29, 2011.




115
      Servicing rights were added as additional collateral pursuant to the First Amendment to the A&R Initial Line of
      Credit Security Agreement.
116
      Amend. No.1 to the A&R Initial Line of Credit Security Agreement, dated May 14, 2010 [RC00026191].
117
      Amend. No.1 to the A&R Line of Credit Agreement, dated Apr. 30, 2010 [ALLY_0071105].




                                           Appendix V.E.8, Page 6 of 9
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                             Pg 181 of 385
                                        Appendix V.E.8, Page 7 of 9


                                  (2)     Second Amendment (May 14, 2010)118

        This amendment, among other things: (1) evidenced AFI’s consent to the addition of
collateral consisting of certain FHA/VA Loans and REO Property (residential property acquired
as a result of a foreclosure); (2) added (a) new events of default relating to a failure by a A&R
Line of Credit Borrower to be an approved servicer or maintain rating scores under any
Servicing Contract (but, only if such failure could reasonably be expected to result in a material
adverse effect), and (b) a new cross-default, which could be triggered in the sole discretion of
AFI, as lender agent, relating to the failure of ResCap or its Subsidiaries to make payment of any
debt owed to a third party that had been guaranteed by AFI; (3) provided that if under any loan,
repurchase or other credit agreement, ResCap and the A&R Line of Credit Borrowers were
subject to a Consolidated Liquidity threshold lower than $750 million, then the required
Consolidated Liquidity threshold amount of $800 million under the A&R Line of Credit
Agreement would be replaced with such lower threshold amount plus $50 million; (4) added a
similar provision with respect to Unrestricted ResCap Liquidity, whereby the required
Unrestricted ResCap Liquidity threshold amount of $300 million under the A&R Line of Credit
Agreement would be replaced with a lower threshold amount under such other agreement plus
$50 million; and (5) divided U.S. Mortgage Loans into two groups (with and without FHA/VA
Loans) and increased the discount factor used to determine their collateral “value”.

                                  (3)     Third Amendment (August 31, 2010)119

         This amendment: (1) eliminated the $800 million Consolidated Liquidity covenant and
limited compliance to a $250 million covenant regarding Unrestricted ResCap Liquidity (defined
as the unrestricted and unencumbered cash (consisting of solely U.S. dollars) and, included for
the first time, cash equivalents held by ResCap on a consolidated basis) and provided for a most-
favored nations clause (such that the A&R Line of Credit Agreement would incorporate any
more restrictive financial covenant (or additional financial covenant) contained in any Bilateral
Facility); and (2) added a similar most-favored nations clause with respect to the consolidated
TNW covenant. Falling below the Unrestricted ResCap Liquidity threshold was the only
liquidity test necessary to request funding of A&R Line of Credit Loans.

                                  (4)     Fourth Amendment (December 23, 2010)120

        This amendment provided an unsecured $500 million swingline facility to GMAC
Mortgage. Swingline loans made under the swingline facility were to accrue interest at a rate of
LIBOR + 6.00% per annum. Payment obligations relating to the swingline loans were the
obligations of GMAC Mortgage only. Requests to fund swingline loans were subject to the same
ResCap liquidity tests as the A&R Line of Credit Loans. Upon the occurrence of a Liquidity


118
      Amend. No.2 to the A&R Line of Credit Agreement, dated May 14, 2010 [ALLY_0071112].
119
      Amend. No.3 to the A&R Line of Credit Agreement, dated Aug. 31, 2010 [RC00025455].
120
      Amend. No.4 to the A&R Line of Credit Agreement, dated Dec. 23, 2010 [RC00025467].




                                        Appendix V.E.8, Page 7 of 9
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                             Pg 182 of 385
                                        Appendix V.E.8, Page 8 of 9


Excess Amount, the swingline loans had to be prepaid prior to prepayment of outstanding A&R
Line of Credit Loans. A new mandatory prepayment was required if, on any day, the borrowing
base exceeded the principal amount of outstanding A&R Line of Credit Loans by $25 million or
more, whereupon prepayment of outstanding swingline loans was required in an amount equal
to the lesser of the amount of the swingline loans outstanding and the amount of such excess.

                                  (5)     Fifth Amendment (April 18, 2011)121

        This amendment: (1) extended the maturity date from April 29, 2011 to April 13, 2012;
and (2) provided for the covenant regarding the maintenance of a minimum Peak Score of
“Excellent” from Fannie Mae to apply to both A&R Line of Credit Borrowers (as opposed to just
GMAC Mortgage). However, failure to comply with this covenant was breached only if such
failure could reasonably be expected to have a material adverse effect.

                                  (6)     Sixth Amendment (May 27, 2011)122

        This amendment evidenced AFI’s consent to the addition of collateral consisting of: (1)
Freddie Advances (Servicing Advances related to real estate taxes or mortgage insurance
premiums and advances to inspect, protect, preserve or repair properties securing defaulted
Mortgage Loans or acquired through foreclosure and related to domestic Mortgage Loans or
REO Property, made by GMAC Mortgage pursuant to the Consent Agreement, dated May 9,
2011, between GMAC Mortgage and Freddie Mac); and (2) the GMAC Mortgage 2010-1
Certificate (certificate, dated as of June 1, 2010, representing 100% of beneficial interest in a
certain GMAC Mortgage Loan Trust).

                                  (7)     Seventh Amendments (September 29, 2011 and April 10,
                                          2012)123

        The “first” Seventh Amendment: (1) provided that obligations relating to the swingline
loans were secured by the A&R Line of Credit Collateral; (2) added a material adverse effect
representation and event of default; and (3) defined the term “Solvent” (although previously
used, the term “Solvent” had not been defined). The “second” Seventh Amendment:
(1) extended the maturity date from April 13, 2012 to May 14, 2012; and (2) eliminated the
swingline loan facility.




121
      Amend. No.5 to the A&R Line of Credit Agreement, dated Apr. 18, 2011 [RC00025644].
122
      Amend. No.6 to the A&R Line of Credit Agreement, dated May 27, 2011 [RC00025652].
123
      Amend. No.7 to the A&R Line of Credit Agreement, dated Sept. 29, 2011 [RC00025831]; Amend. No.7 to the
      A&R Line of Credit Agreement, dated Apr. 10, 2012 [RC00026655].




                                        Appendix V.E.8, Page 8 of 9
 12-12020-mg        Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                           Pg 183 of 385
                                     Appendix V.E.8, Page 9 of 9


                         i.     AFI DIP Financing Agreement124

        On May 25, 2012, the A&R Line of Credit Borrowers and A&R Line of Credit
Guarantors and AFI, as lender and lender agent, pursuant to an eighth amendment to the A&R
Line of Credit Agreement, entered into the AFI DIP Financing Agreement. Under the terms of
the AFI DIP Financing Agreement, AFI agreed to make post-petition loans to GMAC Mortgage
on a non-revolving basis of up to $150 million until the earliest of: (1) the maturity date of the
Barclays DIP Agreement; (2) forty-five days after the entry of the interim financing order (May
16, 2012) if a final financing order had not been entered into; (3) the substantial consummation
of a reorganization plan; and (4) acceleration of the post-petition loans. Interest on the post-
petition loans accrued at a rate of LIBOR + 4% per annum, with a LIBOR floor of 1.25%. Post-
petition loans were made solely for funding the repurchase of whole loans from Ginnie Mae
pools in order to: (1) avoid GMAC Mortgage being in violation of certain delinquency triggers
applicable to GMAC Mortgage under Ginnie Mae guidelines; (2) effect foreclosures of related
mortgaged properties in connection with HUD claims; and (3) allow for trial modifications under
programs implemented by the GMAC Debtors for which the related loans and borrowers were
qualified. GMAC Mortgage was required to establish and to grant a perfected security interest in
a specific collection account to hold and utilize the proceeds of the post-petition loans.
Repayment of the post-petition loans constituted a super-priority claim and AFI was granted a
priming lien in any of the repurchased loans and HUD claims funded with the post-petition
loans. Covenants included, among other things, compliance with the Orders as well as strict
adherence to the specified use of proceeds. New events of default relating to the post-petition
loans typically seen in DIP financing facilities were added, including, among other things, a
cross-default to the Barclays DIP Financing Agreement.




124
      Debtor-in-Possession Financing Amend. (Eighth Amend. to the A&R Line of Credit Agreement), dated
      May 25, 2012 [RC00003798].




                                     Appendix V.E.8, Page 9 of 9
 12-12020-mg                  Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                        Appendix
                                                      Pg 184 of 385
                                                Appendix V.E.9, Page 1 of 3


                         9.      BMMZ Repo Facility125

                                 a.       Principal Terms

       On December 21, 2011, the BMMZ Repo Sellers (RFC and GMAC Mortgage), and
ResCap, as guarantor, entered into a repo facility with BMMZ, as buyer, evidenced by the
BMMZ Master Repo Agreement. The principal terms of the BMMZ Repo Facility were as
follows:

 TABLE V.E.9.a
 BMMZ Repo Facility - Principal Terms
 December 21, 2011

      Closing Date:                           December 21, 2011

      Sellers:                                RFC and GMAC Mortgage

      Servicer:                               GMAC Mortgage

      Guarantor:                              ResCap

      Buyer:                                  BMMZ

      Facility Type:                          Mortgage Loan Repo Facility

      Committed Amount:                       $250 million

      Interest Rate:                          LIBOR + 4.75%

      Expiration Date:                        The earlier of (i) the “Commitment Termination Date” (as defined in the A&R
                                              Line of Credit Agreement) and (ii) December 19, 2012

 Source:         BMMZ Master Repo Agreement [ALLY_0005646].




                                 b.       Purchase and Sale

        Subject to a maximum facility amount of $250 million, BMMZ committed to purchase
from GMAC Mortgage and RFC certain mortgage loans. The mortgage loans consisted of first
lien and second lien loans (including adjustable rate mortgage loans and home equity loans)
which satisfied certain eligibility criteria (among others, the mortgage loan was secured by a lien
on a one to four family residential property, the accuracy of certain representations and
warranties regarding the mortgage loan, delivery of related mortgage documentation to the
custodian, the mortgage created a valid lien, and the absence of delinquent taxes). The purchase
price for the mortgage loans was determined by multiplying the applicable percentage for the
applicable mortgage loan by the lesser of: (1) the market value of such mortgage loan; and (2)




125
        BMMZ Master Repo Agreement [ALLY_0005646]; Pricing Side Letter among BMMZ Holdings LLC,
        Residential Funding Company, LLC, GMAC Mortgage, LLC and Residential Capital, LLC, dated Dec. 21,
        2011 [ALLY_0006236].




                                                Appendix V.E.9, Page 1 of 3
 12-12020-mg               Doc 3698-36            Filed 05/13/13 Entered 05/13/13 17:08:13                             Appendix
                                                       Pg 185 of 385
                                                 Appendix V.E.9, Page 2 of 3


the outstanding unpaid principal balance of such mortgage loan. The applicable percentages are
set forth below:

 TABLE V.E.9.b
 Applicable Percentages

      First Lien - Current Unmodified (a first lien mortgage loan where payments are not delinquent and the mortgage         70%
      loan (i) has not been modified at any time or (ii) has been modified pursuant to a modification agreement in
      existence for at least 12 months from the applicable date of determination and for which the mortgagor has not
      been delinquent in payments at any time in the six months preceding the applicable determination date)

      First Lien - Current Modified (a first lien mortgage loan where payments are not delinquent and the mortgage loan      60%
      (i) has been modified pursuant to a modification agreement executed on any applicable date of determination in the
      preceding 12 months or (ii) which has been modified pursuant to a modification agreement in existence for at least
      12 months as determined on any applicable determination date for which the mortgagor has not been delinquent in
      payments at any time in the six months preceding any determination date)

      First Lien - Delinquent (a first lien mortgage loan that is 30 days or more delinquent or with respect to which the    40%
      note related thereto has been permanently lost or destroyed and there exists a lost note affidavit)

      Second Lien - Current (a second lien mortgage loan where payments are not delinquent)                                  60%

      Second Lien - Delinquent (a second lien mortgage loan that is 30 days or more delinquent or with respect to which      0%
      the note related thereto has been permanently lost or destroyed and there exists a lost note affidavit)

      HELOC - Current (a home equity revolving line of credit secured by a mortgage or other instrument creating a           45%
      second lien on the related property and where payments are not delinquent)

      HELOC - Delinquent (a home equity revolving line of credit secured by a mortgage or other instrument creating a        0%
      second lien on the related property and where payments are 30 days or more delinquent or with respect to which
      the note related thereto has been permanently lost or destroyed and there exists a lost note affidavit)
 Source: Pricing Side Letter among BMMZ Holdings LLC, Residential Funding Company, LLC, GMAC Mortgage, LLC and Residential
 Capital, LLC, dated Dec. 21, 2011 [ALLY_0006236].


                                 c.        Repurchase of Mortgage Loans

        The BMMZ Repo Sellers were required to repurchase the purchased mortgage loans on
the earlier of: (1) the repurchase date set forth in the applicable request/confirmation relating to
the applicable mortgage loans; and (2) the termination date (the earlier of (a) the Expiration
Date,126 (b) a change of control, or (c) at BMMZ’s option, the occurrence of an event of default).
The repurchase price to be paid on the repurchase date was the sum of the purchase price paid by
BMMZ for the mortgage loans plus the accrued and unpaid interest thereon. In addition, if either
the market value or the unpaid principal balance of the purchased mortgage loans was less than
the Margin Amount (the amount obtained by the application of the applicable percentages to the
repurchase price of the purchased mortgage loans), then BMMZ could require the BMMZ Repo
Sellers to make a Shortfall Payment (a payment in an amount equal to such shortfall) to BMMZ.




126
       See Table V.E.9.a (defining “Expiration Date”).




                                                 Appendix V.E.9, Page 2 of 3
 12-12020-mg        Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                           Pg 186 of 385
                                     Appendix V.E.9, Page 3 of 3


                         d.     Servicing Arrangements; Mortgage Loan Payments into Collection
                                Account

        GMAC Mortgage continued to act as servicer of the purchased mortgage loans with
respect to which servicing rights were retained by the BMMZ Repo Sellers. All payments of
principal and interest and certain other payments relating to the purchased mortgage loans were
required to be paid into collection accounts, and, on a monthly basis, amounts therein were
released from such accounts and applied under a waterfall provision to pay: (1) unpaid expenses,
fees and amounts due BMMZ under the BMMZ Master Repo Agreement; (2) any Shortfall
Payment; (3) accrued interest; (4) a servicing fee to GMAC Mortgage; and (5) with the balance
paid, to the BMMZ Repo Sellers.

                         e.     Financial Covenants

       Two financial covenants were required to be maintained, which applied to ResCap and its
Subsidiaries: (1) Consolidated Liquidity (unrestricted and unencumbered cash and cash
equivalents of ResCap on a consolidated basis), on any business day could not be less than $250
million; and (2) Consolidated TNW (the line item consisting of “equity” on the consolidated
balance sheet of ResCap) could not, as of the last business day of any month, be less than $250
million.

                         f.     No AFI Setoff Rights

      Neither AFI nor any of its Affiliates that succeed to the rights of BMMZ under the
BMMZ Master Repo Agreement could exercise setoff rights granted under the BMMZ Master
Repo Agreement with respect to amounts owed them under the A&R Line of Credit Agreement.

                         g.     Guarantee

      ResCap guaranteed the obligations of the BMMZ Repo Sellers under the BMMZ Master
Repo Agreement pursuant to an unconditional guarantee.127




127
      Master Guarantee of Residential Capital, LLC, in favor of BMMZ Holdings LLC, dated Dec. 21, 2011
      [ALLY_0006241].




                                     Appendix V.E.9, Page 3 of 3
                                                                                           Appendix V.F.4.a(1), Page 1 of 2


Health Capital – Historical Financial Statements
Historical Balance Sheets (1)
December 31, 2003 – August 27, 2007
($ in Thousands, Unaudited)



                                                                                                                             As of December 31,                                                           As of
                                                                                                                                                                                                                                                            12-12020-mg




      Assets                                                                                  2003                       2004                 2005                              2006                    8/27/2007

         Cash and cash equivalents                                                     $           6,433          $           4,577          $            1,427          $          15,354          $            1,706
         Healthcare lending receivables, net                                                     331,633                    399,770                     593,230                    761,983                     885,775
         Allowance for credit loss                                                                (6,703)                    (9,526)                    (16,845)                   (16,339)                    (20,288)
         Accounts receivable                                                                       1,798                      3,142                       4,849                      5,201                       6,266
         Intangible assets                                                                         2,385                      2,385                       2,385                      2,385                       2,385
                                                                                                                                                                                                                                                            Doc 3698-36




         Other assets                                                                                 20                         19                          18                         11                       1,152
      Total assets                                                                     $         335,566          $         400,369          $          585,065          $         768,595          $          876,996


      Liabilities and Stockholders' Equity


         Debt (2)                                                                      $         287,436          $         343,057          $          514,876          $         678,804          $          759,321
         Other liabilities                                                                           145                         57                       1,857                      1,402                         233
      Total liabilities                                                                          287,581                    343,113                     516,734                    680,206                     759,553
                                                                                                                                                                                                                                             Pg 187 of 385




      Net stockholders' equity                                                                    47,985                      57,256                     68,331                      88,389                    117,443

      Total liabilities and stockholders' equity                                       $         335,566          $         400,369          $          585,065          $         768,595          $          876,996



(1)
  Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sep. 28, 2007 [ALLY_0031246]. ResCap reported the balance of Health Capital's total assets as of August 27, 2007 at $876.8 million. (See Residential Capital,
LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 20–21.)
(2)
    Debt was calculated as the difference between total assets and the sum of other liabilities and net stockholders’ equity. See Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sep. 28, 2007, at ALLY_0031302
[ALLY_0031246].
                                                                                                                                                                                                                                        Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                            Appendix




                                                                                            Appendix V.F.4.a(1), Page 1 of 2
                                                                                           Appendix V.F.4.a(1), Page 2 of 2


Health Capital – Historical Financial Statements
Historical Income Statements (1)
December 31, 2003 – August 27, 2007
($ in Thousands, Unaudited)



                                                                                                                     Fiscal year ended December 31,                                               LTM
                                                                                                                                                                                                                                    12-12020-mg




                                                                                             2003                      2004                 2005                           2006                 8/27/2007

       Revenues
          Interest income                                                             $          15,775         $          25,074         $           49,641         $          60,086      $         79,693
          Interest expense                                                                       (3,547)                   (7,280)                   (21,067)                  (34,713)              (44,864)
          Provision for losses                                                                   (5,738)                   (2,798)                    (7,310)                      506                (8,773)
           Other income (2)                                                                       3,590                     3,443                     2,361                         6,330             4,979
                                                                                                                                                                                                                                    Doc 3698-36




       Total revenue                                                                             10,080                    18,440                    23,625                        32,208            31,034



       Expenses
          Direct expenses                                                                           4,169                    5,495                     8,456                        6,189              6,073
          Direct transfers                                                                            661                    1,255                    1,143                         1,074              1,802
          Indirect transfers                                                                           64                      141                      224                           553                492
          Enterprise transfers                                                                        -                        664                      735                           768              1,370
       Total expenses                                                                               4,894                    7,556                   10,559                         8,583              9,736
                                                                                                                                                                                                                     Pg 188 of 385




       Pretax income                                                                  $             5,186       $          10,884         $          13,066          $             23,625   $        21,298



(1)
      Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sep. 28, 2007 [ALLY_0031246].
(2)
      Consists of loan fee income and investment income. See Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sep. 28, 2007, at ALLY_0031303 [ALLY_0031246].
                                                                                                                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                    Appendix




                                                                                           Appendix V.F.4.a(1), Page 2 of 2
                                                                                              Appendix V.F.4.a(3), Page 1 of 2


Health Capital – Summary of Houlihan Lokey's Valuation
Summary of Valuation Results
As of August 27, 2007
($ in Thousands, Unaudited)



Equity Value From Operations
                                                                                                                                                                                                                                                               12-12020-mg




             Market Approach                                                                                     Low                                          High
                       Guideline Publicly Traded Company Method                                            $       134,300                –              $       152,200
                       Guideline M&A Method                                                                        126,600                –                      143,800


             Income Approach
                                                                                                                                                                                                                                                               Doc 3698-36




                       DCF Method                                                                                  120,000                –                      160,000


Results Summary



               Equity value from operations (1)                                                            $       127,000                –              $       152,000

               Non-operating assets/Liabilities:

                       Add: Cash and cash equivalents balance as of 8/27/2007                                         1,706                                         1,706
                                                                                                                                                                                                                                                Pg 189 of 385




               Equity value                                                                                $       128,706                –              $       153,706


                       Plus: Total debt (2)                                                                        759,321                –                      759,321

               Enterprise value (rounded)                                                                  $       888,000                –              $       913,000


               Selected enterprise value (rounded)                                                                                $       900,500


               Implied ratio of enterprise value to adjusted total assets                                                                     1.03 x
                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13




               Adjusted total asset value as of August 27, 2007                                                                   $       876,996




(1)
      Selected as the average of the Guideline Publicly Traded Company Method, Guideline M&A Method, and DCF Method.
                                                                                                                                                                                                                                                               Appendix




(2)
   Debt was calculated as the difference between total assets and the sum of other liabilities and net stockholders’ equity as of July 31, 2007. See Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sep. 28, 2007,
at ALLY_0031286 [ALLY_0031246].
Source: Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sep. 28, 2007 [ALLY_0031246].


                                                                                              Appendix V.F.4.a(3), Page 1 of 2
                                                                                                   Appendix V.F.4.a(3), Page 2 of 2

Health Capital – Summary of Houlihan Lokey's Valuation
Summary of Key Valuation Assumptions
As of August 27, 2007
($ in Thousands, Unaudited)


                                                                                                                                                                       Range
Income Approach
      DCF Method                                                                                                                                   HLHZ Inputs                  HLHZ Range
                                                                                                                                                                                                                           12-12020-mg




                                                                                                                                                 Low         High
                 Number of years in projection period                      3 yr 4 mo
                 Discount rate                                                                                                                  12.0%         16.0%
                 Residual period perpetual growth rate                                                                                           N/A           N/A
                 Residual period exit multiple – P/E                                                                                             7.0x          11.0x

                 Indicated value                                                                                                                                          $     94,064   $   166,483
                                  (1)
                                                                                                                                                                                                                           Doc 3698-36




                 Selected value                                                                                                                                           $    120,000   $   160,000

Market Approach
      Guideline Publicly Traded Company Method
                 Number of public guideline companies                          6
                                        1 CapitalSource Inc.
                                        2 CIT Group Inc.
                                        3 Financial Federal Corp.
                                        4 Marlin Business Services Corp.
                                        5 NewStar Financial, Inc.
                                        6 Resource Capital Corp.
                                                                                                                                                    HLHZ Selected               HLHZ Range
                                                                                                                                                                                                            Pg 190 of 385




                 Based on 8/27/07 Stock Price                                              Metric            Mean            Median              Low           High
                 P/TBVE                                                                $    115,058          1.39x           1.36x               1.10x         1.25x      $    126,560   $   143,820

                 LTM P/E                                                               $       14,129        12.90x           12.10x            10.00x        11.00x      $    141,290   $   155,420

                 Forward P/E                                                           $       17,910        8.50x            7.60x              7.50x         8.50x      $    134,330   $   152,240

                 Indicated value                                                                                                                                          $    134,300   $   152,200

          Guideline M&A Method
                Number of guideline transactions                              13                                                                    HLHZ Selected               HLHZ Range
                                                                                           Metric           Median            Mean               Low           High
                 P/TBVE                                                                $    115,058         1.35x             1.41x              1.10x         1.25x      $    126,560   $   143,820
                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




                 P/E                                                                   $       14,129        21.20x           20.30x             NMF           NMF                N/A           N/A

                 Indicated value                                                                                                                                          $    126,600   $   143,800

Asset-Based Approach

                 Indicated value                                                                                                                                                  N/A           N/A
                                                                                                                                                                                                                           Appendix




(1)
      Houlihan did not explain how it selected the $120 million to $160 million range from the range of indicated values of $94 million to $166 million.


                                                                                                    Appendix V.F.4.a(3), Page 2 of 2
                                                                                           Appendix V.F.4.c(1), Page 1 of 2


Resort Finance – Historical Financial Statements
Historical Balance Sheets (1)
December 31, 2005 – June 30, 2008
($ in Thousands, Unaudited)



                                                                                                                      As of December 31,                                                     As of
                                                                                                                                                                                                                                                12-12020-mg




      Assets                                                                                   2005                            2006                           2007                         6/30/2008


          Cash and cash equivalents                                                   $                 (961)        $                       2       $                1,878          $                1,364
          HAccounts receivable                                                                         6,047                          23,791                         27,799                          26,007
          Intangible assets                                                                               -                              -                               -                              -
          Lending receivables, net                                                                  672,818                       1,114,825                      1,358,430                       1,457,893
          Other assets                                                                                     78                            221                          1,782                           3,640
                                                                                                                                                                                                                                                Doc 3698-36




      Total assets                                                                    $             677,981          $            1,138,838          $           1,389,889           $           1,488,904


      Liabilities and Stockholders' Equity


          Total borrowings                                                            $                   -          $              881,990          $             978,126           $           1,125,000
          Deposit liabilities                                                                             -                              -                               -                              -
          Other liabilities                                                                              474                          15,368                         15,194                          14,724
      Total liabilities                                                                                  474                        897,358                        993,320                       1,139,724
                                                                                                                                                                                                                                 Pg 191 of 385




      Net stockholders' equity (2)                                                                  677,508                         241,480                        396,569                         349,181


      Total liabilities and stockholders' equity                                      $             677,981          $            1,138,838          $           1,389,889           $           1,488,904



(1)
  Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008 [ALLY_0102229].
(2)
  Net stockholders' equity was calculated as the difference between total assets and total liabilities. See Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at ALLY_0102280
[ALLY_0102229].
                                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                Appendix




                                                                                            Appendix V.F.4.c(1), Page 1 of 2
                                                                                          Appendix V.F.4.c(1), Page 2 of 2


Resort Finance – Historical Financial Statements
Historical Income Statements (1)
December 31, 2005 – June 30, 2008
($ in Thousands, Unaudited)



                                                                                                              Fiscal year ended December 31,                                        LTM
                                                                                                                                                                                                                         12-12020-mg




                                                                                              2005                          2006                          2007                     6/30/2008



       Interest income                                                               $               56,805        $               88,941        $             129,528         $         124,793
       Interest expense                                                                              27,485                        51,136                        75,253                   85,288
       Net interest margin                                                                           29,320                        37,805                        54,275                   39,505
                                                                                                                                                                                                                         Doc 3698-36




            Provision for loan losses                                                                     9                         6,674                         5,948                    4,797


       Net interest income after provision                                                           29,311                        31,131                        48,327                   34,708


            Operating expenses                                                                        4,417                         4,779                         4,695                    3,700
            Non-interest income (expense)                                                             4,478                         2,332                         3,093                        948


       Pre-tax income (loss)                                                                         29,372                        28,684                        46,725                   31,956
                                                                                                                                                                                                          Pg 192 of 385




       Income taxes (credit)                                                                         11,402                        10,958                           (45)                  12,782


       Net income (loss)                                                             $               17,970        $               17,727        $               46,770        $          19,174




(1)
      Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008 [ALLY_0102229].
(2)
      Assumed 40% tax rate for LTM period. See Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at ALLY_0102281 [ALLY_0102229].
                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                         Appendix




                                                                                          Appendix V.F.4.c(1), Page 2 of 2
                                                                                        Appendix V.F.4.c(3), Page 1 of 2


Resort Finance – Summary of Houlihan Lokey's Valuation
Summary of Valuation Results
As of June 30, 2008
($ in Thousands, Unaudited)


Valuation Approach (1)                                               Metric             HLHZ Selected                      Low           High           Debt                  Range
                                                                                                                                                                                                                         12-12020-mg




      Market Approach
          Guideline Publicly Traded Company Method
              P/NBV                                              $    349,181         0.20x     -     0.30x            $    69,836 - $    104,754    $ 1,123,636   $ 1,193,470 - $ 1,228,390


              Annualized P/E                                           12,262         7.00x     -     8.00x                 85,834 -       98,096      1,123,636       1,209,470 -       1,221,730


              EV/TA                                                  1,487,540        0.65x     -     0.75x                966,900 -     1,115,660          N/A         966,900 -        1,115,660
                                                                                                                                                                                                                         Doc 3698-36




              Mean                                                                                                                                                     1,123,280 -       1,188,593



      Asset-Based Approach
          Adjusted Book Value Method                                                                                                                                   1,225,337 -       1,255,799



      Concluded range of enterprise value from operations (2)                                                                                                          1,174,309 -       1,222,196
                                                                                                                                                                                                          Pg 193 of 385




          Add: Cash & equivalents                                                                                                                                         1,364             1,364
          Less: Deutsche Bank facility                                                                                                                                 (375,000)         (375,000)
          Less: GMAC facility                                                                                                                                          (750,000)         (750,000)


      Indicated range of value                                                                                                                                     $     50,673 - $        98,561


      Concluded value                                                                                                                                                                $     74,617


      Implied P/NBV                                                                                                                                                                       0.2x
                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




      Resort Finance book value (6/30/08)                                                                                                                                            $    349,181



(1)
  DCF Method and Guideline M&A Method were not utilized to value Resort Finance.
(2)
                                                                                                                                                                                                                         Appendix




  Selected as the average of the Guideline Publicly Traded Company Method and the Adjusted Book Value Method.
Source: Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008 [ALLY_0102229].



                                                                                        Appendix V.F.4.c(3), Page 1 of 2
                                                                                        Appendix V.F.4.c(3), Page 2 of 2


Resort Finance – Summary of Houlihan Lokey's Valuation
Summary of Key Valuation Assumptions
As of June 30, 2008
($ in Thousands, Unaudited)



Market Approach                                                                                                                  Range
                                                                                                                                                                       12-12020-mg




      Guideline Publicly Traded Company Method
         Number of public guideline companies                                           4
           1 CIT Group, Inc.
           2 CapitalSource Inc.
           3 Financial Federal Corp.
           4 NewStar Financial, Inc.
                                                                                                                                                                       Doc 3698-36




         Based on 6/30/08 Stock Price                                                Median           Mean
         P/NBV (FYE)                                                                  0.79x           0.85x               N/A            N/A
         P/NBV (trailing)                                                             0.75x           0.83x               N/A            N/A
         P/E (FYE)                                                                    11.3x           11.3x               N/A            N/A
         LTM P/E                                                                      11.2x           11.4x               N/A            N/A
         Forward P/E                                                                  10.6x           11.6x               N/A            N/A
         EV/TA (FYE)                                                                  0.86x           0.86x               N/A            N/A
         EV/TA (LTM)                                                                  0.85x           0.87x               N/A            N/A
                                                                                                                                                        Pg 194 of 385




         Based on 30-Day Average Stock Price
         P/NBV                                                                        N/A              N/A                N/A            N/A
         P/TBVE                                                                       N/A              N/A                N/A            N/A
         LTM P/E                                                                      N/A              N/A                N/A            N/A
         Forward P/E                                                                  N/A              N/A                N/A            N/A


      Guideline M&A Method (1)
         Indicated value                                                              N/A              N/A                N/A            N/A
                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




Asset-Based Approach
         Indicated value                                                                                               $ 1,225,337   $ 1,255,799



(1)
  DCF Method and Guideline M&A Method were not utilized to value Resort Finance.
                                                                                                                                                                       Appendix




Source: Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008 [ALLY_0102229].




                                                                                        Appendix V.F.4.c(3), Page 2 of 2
                                                                               Appendix V.F.4.f(4)(a), Page 1 of 2

ResMor Trust Company – Summary of Goldin Associates' Fairness Opinion Valuation Analysis
ResMor Sale
As of November 20, 2008
(C$ in Thousands, Unaudited)



Subject Entity:           ResMor Trust Company ("ResMor")
Valuation Date:           11/20/2008
                                                                                                                                                                       12-12020-mg




Document Reviewed:        Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of
                          Residential Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2,
                          2008 [GOLDIN00127218].



Valuation Approach                                                                          Weight                              Range

            Income Approach
                                                                                                                                                                       Doc 3698-36




                          DCF Method                                                         40%                      $    75,700     $   85,800

            Market Approach
                          Guideline Publicly Traded Company Method
                                           P/NBV and P/TBVE                                  20%                      $    69,100     $   85,300

                                           LTM P/E                                           20%                      $    81,800     $   98,000

                          Guideline M&A Method                                               20%                      $    71,600     $   90,700
                                                                                                                                                        Pg 195 of 385




            Asset-Based Approach                                                              0%                      $    51,577     $   76,944

                          Concluded range of value                                           100%                     $    74,800     $   89,100

                          Proposed transaction price                                                    $    82,000

                                           Implied P/NBV                                                    1.2x

                          ResMor book value (10/31/08)                                                  $    71,095
                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                       Appendix




                                                                                Appendix V.F.4.f(4)(a), Page 1 of 2
                                                                                     Appendix V.F.4.f(4)(a), Page 2 of 2

ResMor Trust Company – Summary of Goldin Associates' Fairness Opinion Valuation Analysis
ResMor Sale
As of November 20, 2008
(C$ in Thousands, Unaudited)

Income Approach                                                                                                                                       Range
            DCF Method (1)
                         Discount rate                                                            12.24%
                                                                                                                                                                                                                                                12-12020-mg




                         Number of years in projection period                                        5
                         Residual period perpetual growth rate                                    4.90%                                                   $     85,817
                         Residual period exit multiple – P/E                                       8.4x
                         Residual period exit multiple – P/NBV                                     1.2x                                     $    75,683

Market Approach
            Guideline Publicly Traded Company Method
                                                                                                                                                                                                                                                Doc 3698-36




                           Number of public guideline companies                                      6
                                         1 Canada Western Bank (CWB)
                                         2 Laurentian Bank of Canada (LW)
                                         3 Home Capital Group, Inc. (HCG)
                                         4 Equitable Group, Inc. (ETC)
                                         5 Pacific and Western Credit Corp. (PWC)
                                         6 Xceed Mortgage Corp. (XMC)

                              Based on 11/19/08 Stock Price                                                       Mean         Median
                              P/NBV                                                                               1.0x          1.1x        $    71,095   $     78,204
                              P/TBVE                                                                              1.0x          1.1x        $    69,087   $     75,996
                                                                                                                                                                                                                                 Pg 196 of 385




                              LTM P/E                                                                             7.1x          7.4x        $    81,846   $     85,304
                              Forward P/E                                                                         6.0x          5.8x        $    18,497   $     17,881

                              Based on 30-Day Average Stock Price
                              P/NBV                                                                               1.2x           1.2x       $    85,314   $     85,314
                              P/TBVE                                                                              1.2x           1.3x       $    82,905   $     89,813
                              LTM P/E                                                                             8.5x           9.3x       $    97,984   $    107,206
                              Forward P/E                                                                         7.2x           7.2x       $    22,197   $     22,197

              Guideline M&A Method
                           Number of guideline transactions                                          8
                                                                                                                 Median         Mean
                                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




                              P/NBV                                                                               1.0x          1.3x
                              Indicated value                                                                                               $    71,628   $     90,726

Asset-Based Approach
                              Indicated value                                                                                               $    51,577   $     76,944
                                                                                                                                                                                                                                                Appendix




(1)
   DCF model utlized the same forecast and discount rate for low, mid and high cases. Three different residual period calculations form the basis for the range. DCF value using the P/E exit multiple is between the low
 and high value as indicated by the range.

                                                                                      Appendix V.F.4.f(4)(a), Page 2 of 2
                                                                                             Appendix V.F.4.g(1)(a), Page 1 of 2


Residential Financial Securities, LLC – Historical Financial Statements
Historical Balance Sheets
December 31, 2005 – February 28, 2009
($ in Thousands)


                                                                                                                                     As of December 31,                                                               As of
    Assets                                                                                      2005                          2006                          2007                         2008                       2/28/2009
                                                                                                                                                                                                                                                           12-12020-mg




         Cash and cash equivalents                                                      $                  72         $               2,337        $                2,874        $               9,424        $               12,735
         Cash segregated under federal regulations                                                      1,000                         1,000                         6,000                        1,000                         1,000
         Receivable from brokers and dealers                                                            5,101                      138,255                          3,452                          -                             -
         Receivable from customers                                                                      6,173                        36,332                        56,347                          -                             -
         Receivable from affiliates                                                                       -                        100,000                           399                           -                             -
         Trading securities owned, at estimated fair value                                           323,163                      953,276                       196,670                         70,305                        66,222
                                                                                                                                                                                                                                                           Doc 3698-36




         Trading securities purchased under agreements to resell                                     210,836                       201,649                         14,527                          -                             -
         Derivative financial instruments                                                                 -                           2,288                          (238)                         -                             -
         Accrued interest receivable                                                                    1,919                         5,966                         1,479                        1,007                          845
         Current taxes receivable                                                                       1,204                           -                             -                            -                             -
         Deposits with clearing entities                                                                1,396                          767                          4,436                       15,036                        15,036
    Total assets                                                                        $            550,864          $         1,441,869          $            285,946          $              96,773         $              95,838



    Liabilities and Stockholders' Equity
                                                                                                                                                                                                                                            Pg 197 of 385




         Payable to brokers and dealers                                                 $              37,766         $                924         $                 662         $                 -           $                 -
         Payable to customers                                                                             -                            454                         58,217                          -                             -
         Payable to affiliates                                                                          9,084                      106,847                           627                            16                           -
         Derivative financial instruments                                                                 -                             -                             -                           744                            -
         Trading securities sold, not yet purchased, at est. fair value                              209,591                      199,666                          14,471                          -                             -
         Trading securities sold under agreements to repurchase                                        94,675                      930,471                         43,156                          -                             -
         Current taxes payable                                                                            -                            719                            -                            -                             -
         Other liabilities (non-agency hedge)                                                           9,973                         6,647                          425                           -                            258
         Subordinated liabilities with affiliates                                                    100,000                      100,000                       100,000                         50,000                        51,416
    Total liabilities                                                                                461,089                    1,345,727                       217,558                         50,759                        51,674

    Equity
                                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




         Member's interest                                                                             32,000                        32,000                        34,501                       34,501                        34,501
         Retained earnings                                                                             57,775                        64,142                        33,887                       11,513                         9,664
    Net stockholders' equity                                                                           89,775                        96,142                        68,388                       46,014                        44,165

    Total liabilities and stockholders' equity                                          $            550,864          $         1,441,869          $            285,946          $              96,773         $              95,838
                                                                                                                                                                                                                                                           Appendix




Source: Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments
Limited by GMAC, LLC, dated Mar. 18, 2009, at 13 [GOLDIN00132386].


                                                                                             Appendix V.F.4.g(1)(a), Page 1 of 2
                                                                                  Appendix V.F.4.g(1)(a), Page 2 of 2


Residential Financial Securities, LLC – Historical Financial Statements
Historical Income Statements
December 31, 2005 – February 28, 2009
($ in Thousands)



                                                                                                              Fiscal Year Ended December 31,                                                 YTD
                                                                                     2005                      2006                   2007                         2008                    2/28/2009
                                                                                                                                                                                                                                  12-12020-mg




   Revenues
        Interest income                                                       $             32,108      $           21,701        $           63,148        $             12,311      $             1,495
        Interest expense                                                                    20,258                  18,367                    59,117                       6,646                      386
   Net interest income                                                                      11,850                   3,334                     4,031                       5,665                    1,109

   Other revenues
                                                                                                                                                                                                                                  Doc 3698-36




       Underwriting fee income                                                            23,517                    22,307                     9,319                         32                       -
       Trading gains and losses, net                                                     (17,865)                    1,820                   (31,842)                   (22,691)                   (1,943)
   Total other revenues                                                                    5,651                    24,127                   (22,523)                   (22,660)                   (1,943)

   Total revenues, net of interest expense                                                  17,502                  27,461                   (18,492)                   (16,995)                     (834)
       Operating expenses                                                                   12,158                  15,711                    11,869                      5,274                     1,015

   Benefit (loss) before income tax expense                                                  5,344                  11,750                   (30,361)                   (22,268)                   (1,849)

        Income tax expense (benefit)                                                         1,209                   5,282                      (106)                       106                        -
                                                                                                                                                                                                                   Pg 198 of 385




   Net income (loss)                                                          $              4,135      $            6,467        $          (30,255)       $           (22,374)      $            (1,849)



   Underwriting activities for ResCap and affiliates:                                $14.3 billion             $13.5 billion             $10.3 billion                      None                       None



Source: Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC
Investments Limited by GMAC, LLC, dated Mar. 18, 2009, at 14 [GOLDIN00132386].
                                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                  Appendix




                                                                                  Appendix V.F.4.g(1)(a), Page 2 of 2
                                                                                      Appendix V.F.4.g(1)(b), Page 1 of 2


RFC Investments Limited / RFSC International Limited – Historical Financial Statements
Historical Balance Sheets
December 31, 2005 – February 28, 2009
($ in Thousands)


                                                                                                                          As of December 31,                                                               As of
    Assets                                                                            2005                         2006                         2007                          2008                      2/28/2009
                                                                                                                                                                                                                                                         12-12020-mg




         Cash and short-term cash deposits                                    $              14,504        $              24,794        $              29,268         $              21,203        $               20,774
         Receivable from affiliates – U.S. subsidiaries                                         -                                42                           45                       111                            -
         Other accounts receivable                                                             510                               65                        18                               0                             0
         Prepaid expenses                                                                           16                           23                           26                            3                             5
         Fixed assets, net                                                                      13                            11                               6                            2                             2
                                                                                                                                                                                                                                                         Doc 3698-36




    Total assets                                                              $              15,043        $              24,935        $              29,364         $              21,319        $               20,781



    Liabilities and Stockholders' Equity

         Income taxes payable                                                 $                 -          $                 -          $               1,576         $               3,406        $                3,265
         Deferred tax liability – foreign                                                      988                         3,148                        3,056                           -                             -
         Payable to affiliates – U.S. subsidiaries                                              -                            -                            -                             -                             39
         Payable to affiliates – non-U.S. subsidiaries                                              38                      662                           244                          148                           114
         Accounts payable                                                                      307                           -                                19                            8                         32
                                                                                                                                                                                                                                          Pg 199 of 385




         Accrued compensation                                                                  862                         1,268                          466                          237                           308
         Other accrued expenses                                                                     24                           23                           71                            18                            38
         Other liabilities                                                                     130                          151                               (0)                           9                         14

    Total liabilities                                                                         2,348                        5,251                        5,433                         3,826                         3,811

    Equity
         Common stock                                                                         8,223                        8,223                        8,223                         8,223                         8,223
         Retained earnings – beginning balance                                                2,262                        3,913                        8,800                        12,569                        12,645
         Foreign currency translation – gain                                                  6,486                       12,590                       17,304                        15,164                          194
                                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




         Foreign currency translation – loss                                                 (5,927)                      (9,928)                    (14,165)                      (18,539)                        (3,897)
         Current period-to-date net income (loss)                                             1,651                        4,887                        3,769                               76                       (194)
    Net stockholders' equity                                                                 12,695                       19,685                       23,930                        17,493                        16,970


    Total liabilities and stockholders' equity                                $              15,043        $              24,935        $              29,364         $              21,319        $               20,781
                                                                                                                                                                                                                                                         Appendix




Source: Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments Limited by
GMAC, LLC, dated Mar. 18, 2009, at 26 [GOLDIN00132386].


                                                                                       Appendix V.F.4.g(1)(b), Page 1 of 2
                                                                                      Appendix V.F.4.g(1)(b), Page 2 of 2


RFC Investments Limited / RFSC International Limited – Historical Financial Statements
Historical Income Statements
December 31, 2005 – February 28, 2009
($ in Thousands)



                                                                                                                  Fiscal Year Ended December 31,                                                          YTD
                                                                                                                                                                                                                                                         12-12020-mg




                                                                                      2005                         2006                   2007                                2008                      2/28/2009

    Revenue
        Net interest income                                                   $                631         $                905         $               1,462         $              1,406         $                  54
        Broker fees                                                                          4,862                       10,046                           634                          484                           -
        Security underwriting fees                                                             -                            -                           5,413                          432                           -
        Gain (loss) on sale of mortgage loans, net                                               37                         126                           302                          -                             -
                                                                                                                                                                                                                                                         Doc 3698-36




        Securitization deal costs                                                              -                            (58)                          -                            -                             -

    Total net revenue                                                                        5,530                       11,019                         7,811                        2,322                            54

    Expenses
        Compensation and benefits                                                            1,798                        2,275                         1,359                        1,295                           173
        Professional fees                                                                      104                           90                           126                           97                            13
        Data process and telecommunications                                                     70                           74                            93                           61                             7
        Advertising                                                                             16                           26                            15                            2                             0
        Occupancy                                                                              188                          259                           278                          222                            26
                                                                                                                                                                                                                                          Pg 200 of 385




        Other operating expenses                                                               995                        1,281                           779                          528                           105
    Total expenses                                                                           3,171                        4,004                         2,650                        2,207                           325

    Income (loss) before income tax expense                                                  2,359                        7,014                         5,161                          115                          (271)
    Income tax expense (benefit)                                                               708                        2,127                         1,392                           39                           (77)

    Net income (loss)                                                         $              1,651         $              4,887         $               3,769         $                 76         $                (194)



Source: Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments Limited by
GMAC, LLC, dated Mar. 18, 2009, at 27 [GOLDIN00132386].
                                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                         Appendix




                                                                                       Appendix V.F.4.g(1)(b), Page 2 of 2
                                                                                          Appendix V.F.4.g(4)(a), Page 1 of 2


Residential Funding Securities, LLC – Summary of Goldin Associates' Fairness Opinion Valuation Analysis
US/UK Broker-Dealer Sale
As of March 18, 2009
($ in Thousands, Unaudited)


Valuation Approach                                                                                          Weight                                                     Range
                                                                                                                                                                                                                                                               12-12020-mg




                   Income Approach
                                     DCF Method (1)                                                            0%                                                    N/A                   N/A


                   Market Approach
                                     Guideline Publicly Traded Company Method
                                                        P/NBV and P/TBVE                                      25%                                     $           32,700    $           48,500
                                                                                                                                                                                                                                                               Doc 3698-36




                                                        LTM P/E                                                0%                                                    N/A                   N/A


                                     Guideline M&A Method                                                      5%                                     $           70,700    $           79,500


                   Asset-Based Approach (Adjusted Book Value Method)                                          70%                                     $           42,600    $           42,600


                                     Concluded range of value                                                 100%                                    $           41,600    $           45,900


                                     Proposed transaction price                                                               $              43,700
                                                                                                                                                                                                                                                Pg 201 of 385




                                                        Implied P/NBV                                                                 1.0x


                                     Ally Securities NBV (2/28/09)                                                            $              44,200
                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13




Source: Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments Limited by GMAC,
LLC, dated Mar. 18, 2009, [GOLDIN00132386].
(1)
      DCF methodology was not utilized to value Ally Securities.
                                                                                                                                                                                                                                                               Appendix




                                                                                           Appendix V.F.4.g(4)(a), Page 1 of 2
                                                                                          Appendix V.F.4.g(4)(a), Page 2 of 2


Residential Funding Securities, LLC – Summary of Goldin Associates' Fairness Opinion Valuation Analysis
US/UK Broker-Dealer Sale
As of March 18, 2009
($ in Thousands, Unaudited)

Market Approach                                                                                                                                                                               Range

               Guideline Publicly Traded Company Method
                                                                                                                                                                                                                                                               12-12020-mg




                                Number of public guideline companies                                           10
                                                  1 Broadpoint Securities Group (BPSG)
                                                  2 Cowen Group (COWN)
                                                  3 FBR Capital Markets (FBCM)
                                                  4 International Asset Holding (IAAC)
                                                  5 Jefferies Group (JEF)
                                                  6 JMP Group (JMP)
                                                                                                                                                                                                                                                               Doc 3698-36




                                                  7 KBW (KBW)
                                                  8 Oppenheimer Holdings (OPY)
                                                  9 Piper Jaffray Companies (PJC)
                                               10 Thomas Weisen Partners Group (TWPG)

                                Based on 3/17/09 Stock Price                                                                         Mean                  Median
                                P/NBV                                                                                                0.90x                  0.74x                          N/A     $           32,700
                                P/TBVE                                                                                               1.10x                  0.80x           $           48,500                    N/A
                                LTM P/E                                                                                                       N/A                     N/A                   N/A                    N/A
                                Forward P/E                                                                                                   N/A                     N/A                   N/A                    N/A
                                                                                                                                                                                                                                                Pg 202 of 385




                                Based on 30-Day Average Stock Price
                                P/NBV                                                                                                         N/A                     N/A                   N/A                    N/A
                                P/TBVE                                                                                                        N/A                     N/A                   N/A                    N/A
                                LTM P/E                                                                                                       N/A                     N/A                   N/A                    N/A
                                Forward P/E                                                                                                   N/A                     N/A                   N/A                    N/A

               Guideline M&A Method
                                Number of guideline transactions                                                8
                                                                                                                                    Median                  Mean
                                P/NBV                                                                                                 1.6x                   1.8x
                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13




                                Indicated value                                                                                                                             $           70,700     $           79,500

Asset-Based Approach
                                Indicated value                                                                                                                             $           42,600     $           42,600
                                                                                                                                                                                                                                                               Appendix




Source: Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments Limited by GMAC,
LLC, dated Mar. 18, 2009, [GOLDIN00132386].




                                                                                           Appendix V.F.4.g(4)(a), Page 2 of 2
                                                                                          Appendix V.F.4.g(4)(b), Page 1 of 2


RFC Investments Limited – Summary of Goldin Associates' Fairness Opinion Valuation Analysis
US/UK Broker-Dealer Sale
As of March 18, 2009
($ in Thousands, Unaudited)



Valuation Approach                                                                                           Weight                                              Range
                                                                                                                                                                                                                                                               12-12020-mg




                  Income Approach
                                    DCF Method (1)                                                              0%                                            N/A                    N/A


                  Market Approach
                                    Guideline Publicly Traded Company Method
                                                     P/NBV and P/TBVE                                          25%                             $            13,000    $           19,100
                                                                                                                                                                                                                                                               Doc 3698-36




                                                     LTM P/E                                                    0%                                            N/A                    N/A


                                    Guideline M&A Method                                                        5%                             $            39,700    $           40,600


                  Asset-Based Approach (Adjusted Book Value Method)                                            70%                             $            16,500    $           16,500


                                    Concluded range of value                                                  100%                             $            16,800    $           18,400


                                    Proposed transaction price                                                                $      17,000
                                                                                                                                                                                                                                                Pg 203 of 385




                                                     Implied P/NBV                                                                 1.0x


                                    RFCIL NBV (2/28/09)                                                                       $      17,000
                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13




Source: Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments Limited by GMAC,
LLC, dated Mar. 18, 2009, [GOLDIN00132386].
(1)
      DCF method was not utilized to value RFCIL.
                                                                                                                                                                                                                                                               Appendix




                                                                                           Appendix V.F.4.g(4)(b), Page 1 of 2
                                                                                          Appendix V.F.4.g(4)(b), Page 2 of 2


RFC Investments Limited – Summary of Goldin Associates' Fairness Opinion Valuation Analysis
US/UK Broker-Dealer Sale
As of March 18, 2009
($ in Thousands, Unaudited)


Market Approach                                                                                                                                                                        Range
               Guideline Publicly Traded Company Method
                                                                                                                                                                                                                                                               12-12020-mg




                                 Number of public guideline companies                                           11
                                                   1 Arden Partners plc (ARDN)
                                                   2 Blue Oar plc (BLUE)
                                                   3 Cenkos Securities plc (CNKS)
                                                   4 Charles Stanley Group plc (CAY)
                                                   5 Collins Stewart plc (CLST)
                                                   6 Evolution Group plc (EVG)
                                                                                                                                                                                                                                                               Doc 3698-36




                                                   7 Numis Corporation plc (NUM)
                                                   8 Panmure Gordon & Co. plc (PMR)
                                                   9 Shore Capital Group plc (SGR)
                                                10 Walker Crips Group plc (WCW)
                                                11 WH Ireland Group plc (WHI)

                                 Based on 3/17/09 Stock Price                                                                     Mean               Median
                                 P/NBV                                                                                                 0.77x                  0.92x $             13,000                    N/A
                                 P/TBVE                                                                                                1.03x                  1.12x                  N/A    $            19,100
                                 LTM P/E                                                                                                  N/A                  N/A                   N/A                    N/A
                                                                                                                                                                                                                                                Pg 204 of 385




                                 Forward P/E                                                                                              N/A                  N/A                   N/A                    N/A

                                 Based on 30-Day Average Stock Price
                                 P/NBV                                                                                                    N/A                  N/A                   N/A                    N/A
                                 P/TBVE                                                                                                   N/A                  N/A                   N/A                    N/A
                                 LTM P/E                                                                                                  N/A                  N/A                   N/A                    N/A
                                 Forward P/E                                                                                              N/A                  N/A                   N/A                    N/A

               Guideline M&A Method
                                 Number of guideline transactions                                                3
                                                                                                                                  Mean               Median
                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13




                                 P/NBV                                                                                            2.34x               2.39x


                                 Indicated value                                                                                                                      $           39,700    $            40,600

Asset-Based Approach
                                 Indicated value                                                                                                                      $           16,500    $            16,500
                                                                                                                                                                                                                                                               Appendix




Source: Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments Limited by GMAC,
LLC, dated Mar. 18, 2009, [GOLDIN00132386].


                                                                                           Appendix V.F.4.g(4)(b), Page 2 of 2
                                                                   Appendix VI.B.3, Page 1 of 1


Residential Capital, LLC – Quarterly Solvency Analysis
Balance Sheet Test
Summary
2005 – 2011
($ in Millions)
                                                                                                                                                                         12-12020-mg




                                         Market Approach (1)                  Asset-Based Approach (2)        Concluded
                             Fair Market Value                       Fair Market Value                    Fair Market Value     Balance Sheet Test
                             Surplus / (Deficit)          Weight     Surplus / (Deficit)         Weight   Surplus / (Deficit)      Conclusion
12/31/05                         $ 12,602.0               100%          $ 7,464.0                 0%         $ 12,602.0               Solvent
03/31/06                           13,126.1               100%            7,763.5                 0%           13,126.1               Solvent
06/30/06                           14,590.6               100%            8,404.3                 0%           14,590.6               Solvent
                                                                                                                                                                         Doc 3698-36




09/30/06                           13,199.7               100%            8,375.9                 0%           13,199.7               Solvent
12/31/06                           13,235.3               100%            7,622.1                 0%           13,235.3               Solvent
03/31/07                            9,706.6               100%            7,173.9                 0%             9,706.6              Solvent
06/30/07                           10,145.3               100%            7,507.4                 0%           10,145.3               Solvent
09/30/07                            2,429.6                50%            1,273.8                 50%            1,851.7              Solvent
12/31/07                           (3,760.5)               50%              111.8                 50%           (1,824.4)            Insolvent
03/31/08                           (5,921.7)               50%           (1,994.9)                50%           (3,958.3)            Insolvent
06/30/08                           (5,752.0)               50%           (3,742.1)                50%           (4,747.1)            Insolvent
                                                                                                                                                          Pg 205 of 385




09/30/08                          (10,066.3)               50%           (4,828.8)                50%           (7,447.6)            Insolvent
12/31/08                           (7,499.4)               50%           (4,397.3)                50%           (5,948.4)            Insolvent
03/31/09                           (4,575.5)               50%           (1,102.5)                50%           (2,839.0)            Insolvent
06/30/09                           (2,056.8)               50%           (1,164.7)                50%           (1,610.7)            Insolvent
09/30/09                           (1,715.4)               50%           (1,563.6)                50%           (1,639.5)            Insolvent
12/31/09                           (1,250.5)               50%             (687.7)                50%             (969.1)            Insolvent
03/31/10                              (34.8)               0%            (1,628.0)               100%           (1,628.0)            Insolvent
06/30/10                              230.7                0%            (1,617.5)               100%           (1,617.5)            Insolvent
09/30/10                              447.2                0%            (2,544.3)               100%           (2,544.3)            Insolvent
12/31/10                              599.6                0%            (2,457.7)               100%           (2,457.7)            Insolvent
03/31/11                              633.3                0%            (2,260.4)               100%           (2,260.4)            Insolvent
                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




06/30/11                              460.1                0%            (3,587.5)               100%           (3,587.5)            Insolvent
09/30/11                             (791.8)               0%            (4,572.3)               100%           (4,572.3)            Insolvent
12/31/11                           (1,465.1)               0%            (4,498.1)               100%           (4,498.1)            Insolvent
                                                                                                                                                                         Appendix




(1)
      See Appendix VI.B.4.a(4), at 1.
(2)
      See Appendix VI.B.4.b, at 1.

                                                                   Appendix VI.B.3, Page 1 of 1
                                                                        Appendix VI.B.4.a(4), Page 1 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Concluded Fair Market Value Surplus/(Deficit)
Summary
2005 – 2011
($ in Millions)
                                                                                                                                                                         12-12020-mg




                                            [A]                   [B]                   [C] = [A] + [B]           [D]            [E] = [C] - [D]

                                 Fair Market Value of
                                    ResCap Equity
                                  (Non-Marketable,        Fair Market Value of       Fair Market Value of    Face Value of     Fair Market Value
                                                                                                                         (2)
                                 Controlling Basis) (1)     ResCap Debt (2)            Invested Capital      ResCap Debt       Surplus / (Deficit)
12/31/05                                 $ 12,478.7            $ 43,173.3                 $ 55,652.0           $ 43,050.0          $ 12,602.0
03/31/06                                   13,070.6              41,672.8                   54,743.4             41,617.3            13,126.1
                                                                                                                                                                         Doc 3698-36




06/30/06                                   14,753.5              43,154.5                   57,908.0             43,317.4            14,590.6
09/30/06                                   13,068.6              49,402.0                   62,470.7             49,271.0            13,199.7
12/31/06                                   13,125.7              52,711.0                   65,836.7             52,601.4            13,235.3
03/31/07                                    9,843.3              46,872.9                   56,716.1             47,009.5             9,706.6
06/30/07                                   10,540.6              43,178.0                   53,718.6             43,573.3            10,145.3
09/30/07                                    5,788.9              36,284.8                   42,073.7             39,644.1             2,429.6
12/31/07                                    2,270.0              28,804.7                   31,074.7             34,835.2            (3,760.5)
03/31/08                                    1,995.5              23,702.0                   25,697.4             31,619.1            (5,921.7)
06/30/08                                    1,241.0              19,134.6                   20,375.6             26,127.6            (5,752.0)
                                                                                                                                                          Pg 206 of 385




09/30/08                                      713.4              10,992.6                   11,706.1             21,772.4           (10,066.3)
12/31/08                                      825.9               7,668.5                    8,494.4             15,993.9            (7,499.4)
03/31/09                                      614.5               8,591.3                    9,205.8             13,781.3            (4,575.5)
06/30/09                                      530.7               9,391.2                    9,921.9             11,978.7            (2,056.8)
09/30/09                                      220.2               8,566.6                    8,786.8             10,502.2            (1,715.4)
12/31/09                                      157.3               8,501.6                    8,658.9              9,909.4            (1,250.5)
03/31/10                                      271.7               8,863.5                    9,135.2              9,170.0               (34.8)
06/30/10                                      480.2               7,517.3                    7,997.5              7,766.8               230.7
09/30/10                                      508.1               6,952.5                    7,460.7              7,013.5               447.2
12/31/10                                      574.0               7,016.9                    7,590.8              6,991.2               599.6
                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




03/31/11                                      588.0               6,663.9                    7,251.9              6,618.6               633.3
06/30/11                                      498.0               6,359.3                    6,857.4              6,397.3               460.1
09/30/11                                      184.9               5,111.9                    5,296.9              6,088.7              (791.8)
12/31/11                                       55.9               4,373.8                    4,429.6              5,894.8            (1,465.1)
                                                                                                                                                                         Appendix




(1)
      See Appendix VI.B.4.a(4), at 2.
(2)
      See Appendix VI.B.4.a(4), at 11.


                                                                        Appendix VI.B.4.a(4), Page 1 of 61
                                                                                    Appendix VI.B.4.a(4), Page 2 of 61

Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
Summary
2005 – 2011
($ in Millions)

                                                                                                              (4)
                               [A]                      [B]               [C] = [A] × [B]               [D]                 [E] = [C] + [D]         [F] = [E] × -5%            [G] = [E] + [F]
                                                                                                                                                                                                                                    12-12020-mg




                                                                        Fair Market Value                                Fair Market Value                                 Fair Market Value of
                                                                        of ResCap Equity                                 of ResCap Equity                                  ResCap Equity (Non-
                          ResCap                   Selected                (Marketable,               Control               (Marketable,           Private Company             Marketable,
                       Book Equity (1)(3)      P/NBV Multiple (2)        Minority Basis)              Premium            Controlling Basis)         Discount of 5%         Controlling Basis) (3)
12/31/05                  $ 7,464.0                   1.60x                $ 11,941.3                $ 1,194.1              $ 13,135.4                   ($656.8)                 $ 12,478.7
03/31/06                    7,763.5                   1.61x                  12,507.7                  1,250.8                13,758.5                    (687.9)                   13,070.6
06/30/06                    8,404.3                   1.68x                  14,118.2                  1,411.8                15,530.0                    (776.5)                   14,753.5
                                                                                                                                                                                                                                    Doc 3698-36




09/30/06                    8,375.9                   1.49x                  12,505.8                  1,250.6                13,756.4                    (687.8)                   13,068.6
12/31/06                    7,622.1                   1.65x                  12,560.5                  1,256.0                13,816.5                    (690.8)                   13,125.7
03/31/07                    7,173.9                   1.31x                   9,419.4                    941.9                10,361.3                    (518.1)                    9,843.3
06/30/07                    7,507.4                   1.34x                  10,086.7                  1,008.7                11,095.4                    (554.8)                   10,540.6
09/30/07                    6,171.6                   0.99x                   6,093.6                      0.0                 6,093.6                    (304.7)                    5,788.9
12/31/07                    6,030.1                   0.40x                   2,389.5                      0.0                 2,389.5                    (119.5)                    2,270.0
03/31/08                    5,732.9                   0.37x                   2,100.5                      0.0                 2,100.5                    (105.0)                    1,995.5
06/30/08                    4,067.5                   0.32x                   1,306.3                      0.0                 1,306.3                     (65.3)                    1,241.0
09/30/08                    2,315.4                   0.32x                     751.0                      0.0                   751.0                     (37.5)                      713.4
                                                                                                                                                                                                                     Pg 207 of 385




12/31/08                    2,187.4                   0.40x                     869.4                      0.0                   869.4                     (43.5)                      825.9
03/31/09                    1,050.0                   0.62x                     646.8                      0.0                   646.8                     (32.3)                      614.5
06/30/09                    1,050.0                   0.53x                     558.6                      0.0                   558.6                     (27.9)                      530.7
09/30/09                      408.8                   0.57x                     231.8                      0.0                   231.8                     (11.6)                      220.2
12/31/09                      275.0                   0.60x                     165.6                      0.0                   165.6                      (8.3)                      157.3
03/31/10                      425.7                   0.67x                     286.0                      0.0                   286.0                     (14.3)                      271.7
06/30/10                      793.5                   0.64x                     505.4                      0.0                   505.4                     (25.3)                      480.2
09/30/10                      858.5                   0.62x                     534.8                      0.0                   534.8                     (26.7)                      508.1
12/31/10                      846.2                   0.71x                     604.2                      0.0                   604.2                     (30.2)                      574.0
03/31/11                      884.2                   0.70x                     619.0                      0.0                   619.0                     (30.9)                      588.0
06/30/11                      772.1                   0.68x                     524.2                      0.0                   524.2                     (26.2)                      498.0
                                                                                                                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13




09/30/11                      331.1                   0.59x                     194.7                      0.0                   194.7                      (9.7)                      184.9
12/31/11                       92.4                   0.64x                      58.8                      0.0                    58.8                      (2.9)                       55.9

(1)
    See Appendix VI.B.4.b, at 38 –40.
(2)
    See Appendix VI.B.4.a(4), at 3.
(3)
    As discussed in Section VI of the Report, neither the book value nor the Fair Market Value of ResCap's equity is indicative of solvency.
                                                                                                                                                                                                                                    Appendix




(4)
    A control premium of 10% was applied in the valuation of ResCap’s equity at each quarterly measurement date from Dec. 31, 2005 through June 30, 2007. A control premium was not warranted for ResCap from
Sep. 30, 2007 through the Petition Date for reasons described in Section VI of the Report.



                                                                                    Appendix VI.B.4.a(4), Page 2 of 61
                                                                                                    Appendix VI.B.4.a(4), Page 3 of 61

Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
Selected P/NBV Multiple
2005 – 2011
($ in Millions)


                                           [A]                                           [B]                              [C] = [A] / [B]                                [D] = [A]
                                   Guideline Company                                                               Guideline Company Multiple
                                                                                                                                                                                                                                                                               12-12020-mg




                                   P/NBV Multiple (1)                     Industry P/NBV Multiple (2)                  / Industry Multiple                    Concluded P/NBV Multiple
          12/31/05                          1.60x                                    1.88x                                      85.1%                                      1.60x
          03/31/06                          1.61x                                    1.83x                                      88.0%                                      1.61x
          06/30/06                          1.68x                                    1.78x                                      94.4%                                      1.68x
          09/30/06                          1.49x                                    1.85x                                      80.7%                                      1.49x
          12/31/06                          1.65x                                    1.71x                                      96.4%                                      1.65x
          03/31/07                          1.31x                                    1.71x                                      76.8%                                      1.31x
                                                                                                                                                                                                                                                                               Doc 3698-36




          06/30/07                          1.34x                                    1.63x                                      82.4%                                      1.34x
          09/30/07                          0.99x                                    1.52x                                      65.0%                                      0.99x
          12/31/07                          0.40x                                    1.68x                                      23.6%                                      0.40x
          03/31/08                          0.37x                                    1.36x                                      26.9%                                      0.37x
          06/30/08                          0.32x                                    1.01x                                      31.8%                                      0.32x
                                                                                    Average                                     68.3%
                                                                                    Median                                      80.7%
                                                                                  Conclusion (3)                                70.0%

                                           [A]                                           [B]                                      [C]                                [D] = [B] × [C]
                                   Guideline Company
                                                                                                                                                                                                                                                                Pg 208 of 385




                                   P/NBV Multiple (1)                     Industry P/NBV Multiple (2)                    Concluded Ratio (4)                  Concluded P/NBV Multiple
          09/30/08                           N/A                                       1.02x                                     31.8%                                     0.32x
          12/31/08                           N/A                                       1.25x                                     31.8%                                     0.40x
          03/31/09                           N/A                                       0.88x                                     70.0%                                     0.62x
          06/30/09                           N/A                                       0.76x                                     70.0%                                     0.53x
          09/30/09                           N/A                                       0.81x                                     70.0%                                     0.57x
          12/31/09                           N/A                                       0.86x                                     70.0%                                     0.60x
          03/31/10                           N/A                                       0.96x                                     70.0%                                     0.67x
          06/30/10                           N/A                                       0.91x                                     70.0%                                     0.64x
          09/30/10                           N/A                                       0.89x                                     70.0%                                     0.62x
          12/31/10                           N/A                                       1.02x                                     70.0%                                     0.71x
          03/31/11                           N/A                                       1.00x                                     70.0%                                     0.70x
                                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13




          06/30/11                           N/A                                       0.97x                                     70.0%                                     0.68x
          09/30/11                           N/A                                       0.84x                                     70.0%                                     0.59x
          12/31/11                           N/A                                       0.91x                                     70.0%                                     0.64x

(1)
      See Appendix VI.B.4.a(4), at 4.
(2)
                                                                                                                                                                                                                                                                               Appendix




      Median multiple selected from Ibbotson Associates Statistics for SIC Code 6: Finance, Insurance and Real Estate.
(3)
      Concluded ratio relies primarily on the average to appropriately capture the divergence in multiples observed in late 2007 and 2008. This divergence reflects the risk characteristics of the ResCap Guideline Companies relative to the industry.
(4)
      The relative multiple percentage of 31.8% as of June 30, 2008 was applied for the Sep. 30, 2008 and Dec. 31, 2008 measurement dates to reflect continuing deterioration in the mortgage industry during the second half of 2008.


                                                                                                     Appendix VI.B.4.a(4), Page 3 of 61
                                                                                          Appendix VI.B.4.a(4), Page 4 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
P/NBV Multiple of ResCap Guideline Companies
December 31, 2005 – June 30, 2008
($ in Millions)



                                           ResCap Guideline Companies
                                                                                                                                                                                                                      12-12020-mg




                                Countrywide
                                 Financial         IndyMac          Washington                                   Coefficient of             Median                 Average            Selected
                                           (1)                (1)              (1)
                               Corporation      Bancorp, Inc.     Mutual, Inc.                                    Variation                 P/NBV                  P/NBV              P/NBV (2)
12/31/05                           1.60x             1.64x            1.56x                                           2.7%                   1.60x                  1.60x               1.60x
03/31/06                           1.64x             1.64x            1.55x                                           3.2%                   1.64x                  1.61x               1.61x
06/30/06                           1.63x             1.74x            1.67x                                           3.5%                   1.67x                  1.68x               1.68x
09/30/06                           1.43x             1.51x            1.54x                                           3.8%                   1.51x                  1.49x               1.49x
                                                                                                                                                                                                                      Doc 3698-36




12/31/06                           1.73x             1.63x            1.58x                                           4.8%                   1.63x                  1.65x               1.65x
03/31/07                           1.34x             1.15x            1.45x                                           11.6%                  1.34x                  1.31x               1.31x
06/30/07                           1.45x             1.05x            1.53x                                           19.3%                  1.45x                  1.34x               1.34x
09/30/07                           0.72x             0.97x            1.27x                                           28.1%                  0.97x                  0.99x               0.99x
12/31/07                           0.35x             0.36x            0.48x                                           17.8%                  0.36x                  0.40x               0.40x
03/31/08                           0.24x             0.45x            0.40x                                           30.1%                  0.40x                  0.37x               0.37x
06/30/08                                                              0.32x                                            NM                    0.32x                  0.32x               0.32x
09/30/08
12/31/08
                                                                                                                                                                                                       Pg 209 of 385




03/31/09
06/30/09
09/30/09
12/31/09                       Purchased by
                                                      Filed Chapter 7
03/31/10                      Bank of America                    (4)           Filed Chapter 11
                                                       7/31/2008                           (5)
06/30/10                        7/1/2008 (3)                                     9/26/2008
09/30/10
12/31/10
03/31/11
06/30/11
09/30/11
                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13




12/31/11


(1)
      See Appendix VI.B.4.a(4), at 5–10.
(2)
      The average multiple was selected for Dec. 31, 2005 through June 30, 2008.
(3)
      Bank of America Corporation, Annual Report (Form 10-K) (Feb. 27, 2009), at 17.
                                                                                                                                                                                                                      Appendix




(4)
      IndyMac Bancorp, Inc. Current Report (Form 8-K) (July 31, 2008), at 2.
(5)
      Declaration of Stewart M. Landefeld in Support of the Debtors’ Chapter 11 Petitions and First Day Motions, In re Wash. Mutual, Inc., [Case No. 08-12229; Docket No. 13] at 2.



                                                                                           Appendix VI.B.4.a(4), Page 4 of 61
                                                                                           Appendix VI.B.4.a(4), Page 5 of 61

Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
Guideline Company Multiples
December 31, 2005
($ in Millions, except share prices)


                                                             [A]                      [B]         [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                    Shares
                                                                                                                                                                                     12-12020-mg




                                                                                 Outstanding     Market Value of            Value of
December 31, 2005                                     Share Price (1)            (in Millions)       Equity               Book Equity             P/NBV
Countrywide Financial Corporation (2)                   $ 34.19                      600.0       $ 20,515.0              $ 12,815.9                1.60x
IndyMac Bancorp, Inc. (3)                                 39.02                       64.2          2,506.9                 1,526.1                1.64x
Washington Mutual, Inc. (4)                               43.50                      987.9         42,974.3                27,616.0                1.56x
                                                                                                                                    Average        1.60x
                                                                                                                                     Median        1.60x
                                                                                                                                                                                     Doc 3698-36




                                                                                                                    Coefficient of Variation       2.7%


(1)
    Bloomberg.
(2)
    Countrywide Financial Corporation, Annual Report (Form 10-K) (Mar. 1, 2006), at F-4.
(3)
    IndyMac Bancorp, Inc., Annual Report (Form 10-K) (Mar. 1, 2006), at F-4.
(4)
    Washington Mutual, Inc., Annual Report (Form 10-K) (Mar. 15, 2006), at 94.
                                                                                                                                                                      Pg 210 of 385
                                                                                                                                                                 Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                     Appendix




                                                                                           Appendix VI.B.4.a(4), Page 5 of 61
                                                                                            Appendix VI.B.4.a(4), Page 6 of 61

Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
Guideline Company Multiples
March 31, 2006 and June 30, 2006
($ in Millions, except share prices)


                                                             [A]                      [B]          [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                    Shares
                                                                                                                                                                                      12-12020-mg




                                                                                 Outstanding      Market Value of            Value of
March 31, 2006                                        Share Price (1)            (in Millions)        Equity               Book Equity             P/NBV
Countrywide Financial Corporation (2)                   $ 36.70                      604.8        $ 22,195.7              $ 13,506.3                1.64x
IndyMac Bancorp, Inc. (3)                                 40.93                       65.7           2,691.1                 1,643.5                1.64x
Washington Mutual, Inc. (4)                               42.62                      952.8          40,609.2                26,156.0                1.55x
                                                                                                                                     Average        1.61x
                                                                                                                                      Median        1.64x
                                                                                                                                                                                      Doc 3698-36




                                                                                                                     Coefficient of Variation       3.2%




                                                             [A]                      [B]          [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                    Shares
                                                                                 Outstanding      Market Value of            Value of
June 30, 2006                                         Share Price (1)            (in Millions)        Equity               Book Equity             P/NBV
Countrywide Financial Corporation (5)                   $ 38.08                      610.7        $ 23,257.2              $ 14,297.0                1.63x
IndyMac Bancorp, Inc. (6)                                 45.85                       68.6           3,146.2                 1,804.2                1.74x
                                                                                                                                                                       Pg 211 of 385




Washington Mutual, Inc. (7)                               45.58                      956.9          43,614.6                26,131.0                1.67x
                                                                                                                                     Average        1.68x
                                                                                                                                      Median        1.67x
                                                                                                                     Coefficient of Variation       3.5%


(1)
    Bloomberg.
(2)
    Countrywide Financial Corporation, Quarterly Report (Form 10-Q) (May 10, 2006), at 1.
(3)
    IndyMac Bancorp, Inc., Quarterly Report (Form 10-Q) (Apr. 25, 2006), at 57 –58.
(4)
    Washington Mutual, Inc., Quarterly Report (Form 10-Q) (May 10, 2006), at 2.
(5)
    Countrywide Financial Corporation, Quarterly Report (Form 10-Q) (Aug. 7, 2006), at 1.
(6)
    IndyMac Bancorp, Inc., Quarterly Report (Form 10-Q) (July 27, 2006), at 55.
(7)
    Washington Mutual, Inc., Quarterly Report (Form 10-Q) (Aug. 9, 2006), at 2.
                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                      Appendix




                                                                                            Appendix VI.B.4.a(4), Page 6 of 61
                                                                                            Appendix VI.B.4.a(4), Page 7 of 61

Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
Guideline Company Multiples
September 30, 2006 and December 31, 2006
($ in Millions, except share prices)


                                                             [A]                       [B]         [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                     Shares
                                                                                                                                                                                      12-12020-mg




                                                                                  Outstanding     Market Value of            Value of
September 30, 2006                                     Share Price (1)            (in Millions)       Equity               Book Equity             P/NBV
Countrywide Financial Corporation (2)                    $ 35.04                      616.7       $ 21,610.9              $ 15,099.1                1.43x
IndyMac Bancorp, Inc. (3)                                  41.16                       70.9          2,916.5                 1,937.8                1.51x
Washington Mutual, Inc. (4)                                43.47                      939.1         40,822.6                26,458.0                1.54x
                                                                                                                                     Average        1.49x
                                                                                                                                      Median        1.51x
                                                                                                                                                                                      Doc 3698-36




                                                                                                                     Coefficient of Variation       3.8%




                                                             [A]                       [B]         [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                     Shares
                                                                                  Outstanding     Market Value of            Value of
December 31, 2006                                      Share Price (1)            (in Millions)       Equity               Book Equity             P/NBV
Countrywide Financial Corporation (5)                    $ 42.45                      585.2       $ 24,841.0              $ 14,317.8                1.73x
IndyMac Bancorp, Inc. (6)                                  45.16                       73.0          3,297.5                 2,028.3                1.63x
                                                                                                                                                                       Pg 212 of 385




Washington Mutual, Inc. (7)                                45.49                      938.5         42,691.4                26,969.0                1.58x
                                                                                                                                     Average        1.65x
                                                                                                                                      Median        1.63x
                                                                                                                     Coefficient of Variation       4.8%


(1)
    Bloomberg.
(2)
    Countrywide Financial Corporation, Quarterly Report (Form 10-Q) (Nov. 7, 2006), at 1.
(3)
    IndyMac Bancorp, Inc., Quarterly Report (Form 10-Q) (Nov. 2, 2006), at 62 –63.
(4)
    Washington Mutual, Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2006), at 2.
(5)
    Countrywide Financial Corporation, Annual Report (Form 10-K) (Mar. 1, 2007), at F-3.
(6)
    IndyMac Bancorp, Inc., Annual Report (Form 10-K) (Mar. 1, 2007), at F-4.
(7)
    Washington Mutual, Inc., Annual Report (Form 10-K) (Mar. 1, 2007), at 85.
                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                      Appendix




                                                                                            Appendix VI.B.4.a(4), Page 7 of 61
                                                                                            Appendix VI.B.4.a(4), Page 8 of 61

Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
Guideline Company Multiples
March 31, 2007 and June 30, 2007
($ in Millions, except share prices)


                                                             [A]                       [B]         [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                                                                                                                      12-12020-mg




                                                                                     Shares
                                                                                  Outstanding     Market Value of            Value of
March 31, 2007                                         Share Price (1)            (in Millions)       Equity               Book Equity             P/NBV
Countrywide Financial Corporation (2)                    $ 33.64                      591.2       $ 19,888.0              $ 14,818.4                1.34x
IndyMac Bancorp, Inc. (3)                                  32.05                       73.6          2,358.2                 2,054.8                1.15x
Washington Mutual, Inc. (4)                                40.38                      882.1         35,619.6                24,578.0                1.45x
                                                                                                                                     Average       1.31x
                                                                                                                                      Median       1.34x
                                                                                                                                                                                      Doc 3698-36




                                                                                                                     Coefficient of Variation      11.6%




                                                             [A]                       [B]         [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                     Shares
                                                                                  Outstanding     Market Value of            Value of
June 30, 2007                                          Share Price (1)            (in Millions)       Equity               Book Equity             P/NBV
Countrywide Financial Corporation (5)                    $ 36.35                      574.2       $ 20,872.8              $ 14,385.9                1.45x
IndyMac Bancorp, Inc. (6)                                  29.17                       73.7          2,148.8                 2,050.4                1.05x
                                                                                                                                                                       Pg 213 of 385




Washington Mutual, Inc. (7)                                42.64                      869.7         37,085.0                24,210.0                1.53x
                                                                                                                                     Average       1.34x
                                                                                                                                      Median       1.45x
                                                                                                                     Coefficient of Variation      19.3%


(1)
    Bloomberg.
(2)
    Countrywide Financial Corporation, Quarterly Report (Form 10-Q) (May 9, 2007), at 1.
(3)
    IndyMac Bancorp, Inc., Quarterly Report (Form 10-Q) (Apr. 26, 2007), at 59.
(4)
    Washington Mutual, Inc., Quarterly Report (Form 10-Q) (May 10, 2007), at 2.
(5)
    Countrywide Financial Corporation, Quarterly Report (Form 10-Q) (Aug. 9, 2007), at 1.
(6)
    IndyMac Bancorp, Inc., Quarterly Report (Form 10-Q) (July 31, 2007), at 70, 72.
(7)
    Washington Mutual, Inc., Quarterly Report (Form 10-Q) (Aug. 9, 2007), at 2.
                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                      Appendix




                                                                                            Appendix VI.B.4.a(4), Page 8 of 61
                                                                                            Appendix VI.B.4.a(4), Page 9 of 61

Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
Guideline Company Multiples
September 30, 2007 and December 31, 2007
($ in Millions, except share prices)


                                                             [A]                      [B]          [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                                                                                                                      12-12020-mg




                                                                                    Shares
                                                                                 Outstanding      Market Value of            Value of
September 30, 2007                                    Share Price (1)            (in Millions)        Equity               Book Equity             P/NBV
Countrywide Financial Corporation (2)                   $ 19.01                      576.4        $ 10,956.9              $ 15,252.2                0.72x
IndyMac Bancorp, Inc. (3)                                 23.61                       76.9           1,816.8                 1,870.6                0.97x
Washington Mutual, Inc. (4)                               35.31                      862.8          30,465.5                23,941.0                1.27x
                                                                                                                                     Average       0.99x
                                                                                                                                      Median       0.97x
                                                                                                                                                                                      Doc 3698-36




                                                                                                                     Coefficient of Variation      28.1%




                                                             [A]                      [B]          [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                    Shares
                                                                                 Outstanding      Market Value of            Value of
December 31, 2007                                     Share Price (1)            (in Millions)        Equity               Book Equity             P/NBV
Countrywide Financial Corporation (5)                    $ 8.94                      578.4         $ 5,171.2              $ 14,655.9                0.35x
IndyMac Bancorp, Inc. (6)                                  5.95                       80.9             481.3                 1,343.8                0.36x
                                                                                                                                                                       Pg 214 of 385




Washington Mutual, Inc. (7)                               13.61                      863.0          11,745.9                24,584.0                0.48x
                                                                                                                                     Average       0.40x
                                                                                                                                      Median       0.36x
                                                                                                                     Coefficient of Variation      17.8%


(1)
    Bloomberg.
(2)
    Countrywide Financial Corporation, Quarterly Report (Form 10-Q) (Nov. 9, 2007), at 1.
(3)
    IndyMac Bancorp, Inc., Quarterly Report (Form 10-Q) (Nov. 6, 2007), at 73, 75.
(4)
    Washington Mutual, Inc., Quarterly Report (Form 10-Q) (Nov. 9, 2007), at 2.
(5)
    Countrywide Financial Corporation, Annual Report (Form 10-K) (Feb. 29, 2008), at F-3.
(6)
    IndyMac Bancorp, Inc., Annual Report (Form 10-K) (Feb. 29, 2008), at F-4, F-6.
(7)
    Washington Mutual, Inc., Annual Report (Form 10-K) (Feb. 29, 2008), at 104.
                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                      Appendix




                                                                                            Appendix VI.B.4.a(4), Page 9 of 61
                                                                                            Appendix VI.B.4.a(4), Page 10 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Equity
Guideline Company Multiples
March 31, 2008 and June 30, 2008
($ in Millions, except share prices)


                                                             [A]                      [B]           [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                                                                                                                       12-12020-mg




                                                                                    Shares
                                                                                 Outstanding       Market Value of            Value of
March 31, 2008                                        Share Price (1)            (in Millions)         Equity               Book Equity             P/NBV
Countrywide Financial Corporation (2)                    $ 5.50                      580.6          $ 3,193.3              $ 13,155.1                0.24x
IndyMac Bancorp, Inc. (3)                                  4.96                       87.8              435.6                   959.0                0.45x
Washington Mutual, Inc. (4)                               10.30                      876.6            9,029.1                22,449.0                0.40x
                                                                                                                                      Average       0.37x
                                                                                                                                                                                       Doc 3698-36




                                                                                                                                       Median       0.40x
                                                                                                                      Coefficient of Variation      30.1%




                                                             [A]                      [B]           [C] = [A] × [B]               [D]            [E] = [C] / [D]
                                                                                    Shares
                                                                                 Outstanding       Market Value of            Value of
June 30, 2008                                         Share Price (1)            (in Millions)         Equity               Book Equity             P/NBV
Washington Mutual, Inc. (5)                              $ 4.93                    1,699.3          $ 8,377.8              $ 26,086.0                0.32x
                                                                                                                                                                        Pg 215 of 385




(1)
    Bloomberg.
(2)
    Countrywide Financial Corporation, Quarterly Report (Form 10-Q) (May 12, 2008), at 1.
(3)
    IndyMac Bancorp, Inc., Quarterly Report (Form 10-Q) (May 12, 2008), at 72, 74.
(4)
    Washington Mutual, Inc., Quarterly Report (Form 10-Q) (May 12, 2008), at 2.
(5)
    Washington Mutual, Inc., Quarterly Report (Form 10-Q) (Aug. 11, 2008), at 2.
                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                       Appendix




                                                                                            Appendix VI.B.4.a(4), Page 10 of 61
                                                                        Appendix VI.B.4.a(4), Page 11 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
Summary
2005 – 2011
($ in Millions)
                                                                                                                                                       12-12020-mg




                                     [A]                    [B]                    [C] = [B] - [A]              [D] = [B] / [A]
                                Face Value          Fair Market Value             Fair Market Value           Fair Market Value/
                                of Debt (1)              of Debt (1)              Surplus / (Deficit)             Face Value
12/31/05                         $ 43,050.0              $ 43,173.3                      $ 123.3                   100.3%
03/31/06                           41,617.3                41,672.8                         55.5                   100.1%
06/30/06                           43,317.4                43,154.5                       (162.9)                  99.6%
09/30/06                           49,271.0                49,402.0                        131.0                   100.3%
                                                                                                                                                       Doc 3698-36




12/31/06                           52,601.4                52,711.0                        109.6                   100.2%
03/31/07                           47,009.5                46,872.9                       (136.6)                  99.7%
06/30/07                           43,573.3                43,178.0                       (395.3)                  99.1%
09/30/07                           39,644.1                36,284.8                     (3,359.3)                  91.5%
12/31/07                           34,835.2                28,804.7                     (6,030.5)                  82.7%
03/31/08                           31,619.1                23,702.0                     (7,917.1)                  75.0%
06/30/08                           26,127.6                19,134.6                     (6,993.0)                  73.2%
09/30/08                           21,772.4                10,992.6                    (10,779.8)                  50.5%
12/31/08                           15,993.9                 7,668.5                     (8,325.4)                  47.9%
03/31/09                           13,781.3                 8,591.3                     (5,190.0)                  62.3%
                                                                                                                                        Pg 216 of 385




06/30/09                           11,978.7                 9,391.2                     (2,587.5)                  78.4%
09/30/09                           10,502.2                 8,566.6                     (1,935.6)                  81.6%
12/31/09                            9,909.4                 8,501.6                     (1,407.8)                  85.8%
03/31/10                            9,170.0                 8,863.5                       (306.5)                  96.7%
06/30/10                            7,766.8                 7,517.3                       (249.5)                  96.8%
09/30/10                            7,013.5                 6,952.5                        (61.0)                  99.1%
12/31/10                            6,991.2                 7,016.9                         25.6                   100.4%
03/31/11                            6,618.6                 6,663.9                         45.3                   100.7%
06/30/11                            6,397.3                 6,359.3                        (38.0)                  99.4%
09/30/11                            6,088.7                 5,111.9                       (976.7)                  84.0%
                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




12/30/11                            5,894.8                 4,373.8                     (1,521.0)                  74.2%


(1)
      See Appendix VI.B.4.a(4), at 12 –61.
                                                                                                                                                       Appendix




                                                                        Appendix VI.B.4.a(4), Page 11 of 61
                                                                       Appendix VI.B.4.a(4), Page 12 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2005 Summary
($ in Millions, except bond prices)
                                                                                                                                                                                                        12-12020-mg




                                                                                                                       Decimal
                                                                                          Face Value (1)                Price                  Market Value
Secured borrowings:
                                                                                                                                   (2)
  Borrowings from affiliate – short-term                                                     $ 1,047.5                   100.0                    $ 1,047.5
                                                                                                                                   (2)
  Borrowings from affiliate – long-term                                                        4,130.0                   100.0                      4,130.0
                                                                                                                                   (3)
  Collateralized borrowings in securitization trusts                                               N/A                    N/A                           N/A
                                                                                                                                                                                                        Doc 3698-36




                                                                                                                                   (4)
  Secured – short-term                                                                        24,674.0                   100.0                     24,674.0
                                                                                                                                   (4)
  Secured – long-term                                                                          4,738.6                   100.0                      4,738.6
                                                                                                                                   (3)
  FHLB – short-term                                                                                N/A                    N/A                           N/A
                                                                                                                                   (3)
  FHLB – long-term                                                                                 N/A                    N/A                           N/A
Subtotal secured borrowings                                                                   34,590.1                                             34,590.1

Unsecured borrowings:
                                                                                                                         101.5     (5)
  Senior unsecured notes – long-term                                                            5,150.5                                              5,225.6
                                                                                                                                                                                         Pg 217 of 385




                                                                                                                         101.5     (6)
  Term loans and revolvers – long-term                                                          1,750.0                                              1,775.5
                                                                                                                         101.5     (6)
  Bank lines – short-term                                                                       1,015.3                                              1,030.1
                                                                                                                         101.5     (6)
  Other – short-term                                                                              261.8                                                265.6
                                                                                                                         101.5     (6)
  Other – long-term                                                                               282.3                                                286.4
Subtotal unsecured borrowings                                                                   8,459.9                                              8,583.2

Total borrowings                                                                            $ 43,050.0                                           $ 43,173.3


(1)
                                                                                                                                                                                    Filed 05/13/13 Entered 05/13/13 17:08:13




    Face value per Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 81; Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 74.
(2)
    Fair value disclosure per Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006), at 135.
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Assumed at par.
(5)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(6)
                                                                                                                                                                                                        Appendix




    Assumed pricing equals the pricing of the senior unsecured notes –long-term.




                                                                        Appendix VI.B.4.a(4), Page 12 of 61
                                                                                 Appendix VI.B.4.a(4), Page 13 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2005 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                           12-12020-mg




                                                                                               [A]                  [B]            [C] = [A] × [B]

                                                                                                                 Relative
      Maturity                                                      Amount                                      Percent of          Weighted
       Date                Coupon             Debt Rank           Outstanding (1)            Price (2)          Debt Rank          Average Price

      06/29/07             Floating          Sr Unsecured             $ 1,000                 100.2                19.0%                 19.1
                                                                                                                                                                                                           Doc 3698-36




      11/21/08             Floating          Sr Unsecured                 500                 100.1                 9.5%                  9.5
      11/21/08             8.125%            Sr Unsecured                 750                 100.2                14.3%                 14.3
      06/30/10             6.375%            Sr Unsecured               2,500                 101.6                47.6%                 48.4
      06/30/15             6.875%            Sr Unsecured                 500                 106.3                 9.5%                 10.1
                                                                      $ 5,250                                     100.0%                101.5


(1)
      The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
(2)
      Pricing per Interactive Data Corporation.
                                                                                                                                                                                            Pg 218 of 385
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                           Appendix




                                                                                  Appendix VI.B.4.a(4), Page 13 of 61
                                                                        Appendix VI.B.4.a(4), Page 14 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2006 Summary
($ in Millions, except bond prices)
                                                                                                                                                                       12-12020-mg




                                                                                                                    Decimal
                                                                                           Face Value (1)            Price          Market Value
Secured borrowings:
                                                                                                                              (2)
  Borrowings from affiliate – short-term                                                      $ 1,085.4             100.0             $ 1,085.4
                                                                                                                              (2)
  Borrowings from affiliate – long-term                                                         3,630.0             100.0               3,630.0
                                                                                                                              (3)
  Collateralized borrowings in securitization trusts                                                N/A              N/A                    N/A
                                                                                                                              (4)
                                                                                                                                                                       Doc 3698-36




  Secured – short-term                                                                         22,759.8             100.0              22,759.8
                                                                                                                              (4)
  Secured – long-term                                                                           4,192.1             100.0               4,192.1
                                                                                                                     N/A      (3)
  FHLB advances – short-term                                                                        N/A                                     N/A
                                                                                                                     N/A      (3)
  FHLB advances – long-term                                                                         N/A                                     N/A
Subtotal secured borrowings                                                                    31,667.3                                31,667.3

Unsecured borrowings:
                                                                                                                              (5)
  Long-term unsecured non-affiliate borrowings                                                   7,101.4            100.8               7,155.1
                                                                                                                                                        Pg 219 of 385




                                                                                                                              (6)
  Short-term unsecured non-affiliate borrowings                                                  1,098.6            100.8               1,106.9
                                                                                                                              (7)
  Term loan                                                                                      1,750.0            99.6                1,743.4
Subtotal unsecured borrowings                                                                    9,950.0                               10,005.5

Total borrowings                                                                             $ 41,617.3                              $ 41,672.8


(1)
    Face value per Residential Capital Corporation, Quarterly Report (Form 10-Q) (May 5, 2006), at 15, 39.
(2)
    Fair value disclosure per Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 135.
(3)
    Debt related to assets not controlled by ResCap.
                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




(4)
    Assumed at par.
(5)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(6)
    Assumed pricing equals the pricing of the long-term unsecured non-affiliate borrowings.
(7)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                       Appendix




                                                                         Appendx VI.B.4.a(4), Page 14 of 61
                                                                               Appendix VI.B.4.a(4), Page 15 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2006 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                         12-12020-mg




                                                                                             [A]                  [B]           [C] = [A] × [B]

                                                                                                              Relative
      Maturity                                                    Amount                                     Percent of           Weighted
       Date             Coupon              Debt Rank           Outstanding (1)           Price (2)          Debt Rank           Average Price

      06/29/07          Floating           Sr Unsecured            $ 1,000                 100.7                 14.3%                 14.4
                                                                                                                                                                                                         Doc 3698-36




      11/21/08          Floating           Sr Unsecured                500                 101.2                  7.1%                  7.2
      11/21/08          8.125%             Sr Unsecured                750                 100.2                 10.7%                 10.7
      06/30/10          6.375%             Sr Unsecured              2,500                 100.7                 35.7%                 36.0
      02/22/11          6.000%             Sr Unsecured              1,500                  99.2                 21.4%                 21.3
      06/30/15          6.875%             Sr Unsecured                750                 104.3                 10.7%                 11.2
                                                                   $ 7,000                                      100.0%                100.8


Residential Capital, LLC Term Loan Pricing (3)
                                                                                                                                                                                          Pg 220 of 385




  07/28/10                         Unsecured                       $ 1,750                   99.6               100.0%                 99.6


(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                         Appendix




                                                                               Appendix VI.B.4.a(4), Page 15 of 61
                                                                        Appendix VI.B.4.a(4), Page 16 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2006 Summary
($ in Millions, except bond prices)
                                                                                                                                                                  12-12020-mg




                                                                                                               Decimal
                                                                                           Face Value (1)       Price          Market Value
Secured borrowings:
                                                                                                                         (2)
  Collateralized borrowings in securitization trusts                                                N/A         N/A                    N/A
                                                                                                                         (3)
  Secured – short-term                                                                       $ 22,506.8        100.0            $ 22,506.8
                                                                                                                         (3)
  Secured – long-term                                                                           5,730.0        100.0               5,730.0
                                                                                                                                                                  Doc 3698-36




                                                                                                                         (2)
  FHLB advances – short-term                                                                        N/A         N/A                    N/A
                                                                                                                N/A      (2)
  FHLB advances – long-term                                                                         N/A                                N/A
Subtotal secured borrowings                                                                    28,236.8                           28,236.8

Unsecured borrowings:
                                                                                                                         (4)
  Long-term unsecured non-affiliate borrowings                                                  12,361.9        98.9              12,228.1
                                                                                                                         (5)
  Short-term unsecured non-affiliate borrowings                                                    968.7        98.9                 958.2
                                                                                                                         (6)
  Term loan                                                                                      1,750.0        98.9               1,731.4
                                                                                                                                                   Pg 221 of 385




Subtotal unsecured borrowings                                                                   15,080.6                          14,917.7

Total borrowings                                                                             $ 43,317.4                         $ 43,154.5


(1)
    Face value per Residential Capital Corporation, Quarterly Report (Form 10-Q) (Aug. 8, 2006), at 17, 43.
(2)
    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(5)
    Assumed pricing equals the pricing of the long-term unsecured non-affiliate borrowings.
                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




(6)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                  Appendix




                                                                         Appendix VI.B.4.a(4), Page 16 of 61
                                                                               Appendix VI.B.4.a(4), Page 17 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2006 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                         12-12020-mg




                                                                                             [A]                  [B]           [C] = [A] × [B]

                                                                                                              Relative
      Maturity                                                    Amount                                     Percent of           Weighted
       Date             Coupon              Debt Rank           Outstanding (1)           Price (2)          Debt Rank           Average Price

      04/17/09          Floating         Sr Subordinated           $ 1,000                 100.0                  8.0%                  8.0
                                                                                                                                                                                                         Doc 3698-36




      06/29/07          Floating          Sr Unsecured               1,000                 100.3                  8.0%                  8.1
      05/12/08          Floating          Sr Unsecured                 224                 100.0                  1.8%                  1.8
      11/21/08          Floating          Sr Unsecured                 500                 100.4                  4.0%                  4.0
      11/21/08          8.125%            Sr Unsecured                 750                  98.8                  6.0%                  6.0
      04/17/09          Floating          Sr Unsecured                 750                  99.7                  6.0%                  6.0
      06/30/10          6.375%            Sr Unsecured               2,500                  98.6                 20.1%                 19.9
      02/22/11          6.000%            Sr Unsecured               1,500                  96.9                 12.1%                 11.7
      05/17/12          5.125%            Sr Unsecured                 959                  98.9                  7.7%                  7.6
      04/17/13          6.500%            Sr Unsecured               1,750                  98.1                 14.1%                 13.8
                                                                                                                                                                                          Pg 222 of 385




      05/17/13          6.375%            Sr Unsecured                 739                  99.4                  6.0%                  5.9
      06/30/15          6.875%            Sr Unsecured                 750                  99.9                  6.0%                  6.0
                                                                  $ 12,422                                      100.0%                 98.9
Residential Capital, LLC Term Loan Pricing (3)
  07/28/10                         Unsecured                       $ 1,750                   98.9               100.0%                 98.9


(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                         Appendix




                                                                               Appendix VI.B.4.a(4), Page 17 of 61
                                                                         Appendix VI.B.4.a(4), Page 18 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2006 Summary
($ in Millions, except bond prices)
                                                                                                                                                                  12-12020-mg




                                                                                                               Decimal
                                                                                            Face Value (1)      Price          Market Value
Secured borrowings:
                                                                                                                         (2)
  Collateralized borrowings in securitization trusts                                                 N/A        N/A                    N/A
                                                                                                                         (3)
  Secured – short-term                                                                        $ 29,224.0       100.0            $ 29,224.0
                                                                                                                         (3)
  Secured – long-term                                                                            4,547.3       100.0               4,547.3
                                                                                                                                                                  Doc 3698-36




                                                                                                                         (2)
  FHLB advances – long-term                                                                          N/A        N/A                    N/A
Subtotal secured borrowings                                                                     33,771.3                          33,771.3

Unsecured borrowings:
                                                                                                                         (4)
  Long-term unsecured non-affiliate borrowings                                                  12,764.4       101.0              12,894.2
                                                                                                                         (5)
  Short-term unsecured non-affiliate borrowings                                                    985.3       101.0                 995.3
                                                                                                                         (6)
  Term loan                                                                                      1,750.0       99.5                1,741.3
Subtotal unsecured borrowings                                                                   15,499.7                          15,630.7
                                                                                                                                                   Pg 223 of 385




Total borrowings                                                                              $ 49,271.0                        $ 49,402.0


(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 7, 2006), at 17, 45.
(2)
    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(5)
    Assumed pricing equals the pricing of the long-term unsecured non-affiliate borrowings.
(6)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                  Appendix




                                                                         Appendix VI.B.4.a(4), Page 18 of 61
                                                                               Appendix VI.B.4.a(4), Page 19 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Market Value of Debt
September 30, 2006 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                         12-12020-mg




                                                                                             [A]                  [B]           [C] = [A] × [B]

                                                                                                              Relative
      Maturity                                                    Amount                                     Percent of           Weighted
       Date             Coupon              Debt Rank           Outstanding (1)           Price (2)          Debt Rank           Average Price

      04/17/09          Floating         Sr Subordinated          $  1,000                 100.5                  8.0%                  8.1
      06/29/07          Floating          Sr Unsecured               1,000                 100.5                  8.0%                  8.1
                                                                                                                                                                                                         Doc 3698-36




      05/12/08          Floating          Sr Unsecured                 224                 100.0                  1.8%                  1.8
      11/21/08          Floating          Sr Unsecured                 500                 101.1                  4.0%                  4.1
      11/21/08          8.125%            Sr Unsecured                 750                 100.4                  6.0%                  6.1
      04/17/09          Floating          Sr Unsecured                 750                 100.7                  6.0%                  6.1
      06/30/10          6.375%            Sr Unsecured               2,500                 101.2                 20.1%                 20.4
      02/22/11          6.000%            Sr Unsecured               1,500                  99.9                 12.1%                 12.1
      05/17/12          5.125%            Sr Unsecured                 951                 101.0                  7.7%                  7.7
      04/17/13          6.500%            Sr Unsecured               1,750                 101.6                 14.1%                 14.3
                                                                                                                                                                                          Pg 224 of 385




      05/17/13          6.375%            Sr Unsecured                 749                 101.2                  6.0%                  6.1
      06/30/15          6.875%            Sr Unsecured                 750                 103.9                  6.0%                  6.3
                                                                  $ 12,423                                      100.0%                101.0
Residential Capital, LLC Term Loan Pricing (3)
  07/28/10                         Unsecured                      $   1,750                  99.5               100.0%                 99.5


(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                         Appendix




                                                                               Appendix VI.B.4.a(4), Page 19 of 61
                                                                        Appendix VI.B.4.a(4), Page 20 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2006 Summary
($ in Millions, except bond prices)
                                                                                                                                                                 12-12020-mg




                                                                                                              Decimal
                                                                                          Face Value (1)       Price          Market Value
Secured borrowings:
                                                                                                                        (2)
  Collateralized borrowings in securitization trusts                                               N/A         N/A                    N/A
                                                                                                                        (3)
  Secured – short-term                                                                      $ 29,065.9        100.0            $ 29,065.9
                                                                                                                        (3)
  Secured – long-term                                                                          6,562.6        100.0               6,562.6
                                                                                                                                                                 Doc 3698-36




                                                                                                               N/A      (2)
  FHLB advances – long-term                                                                        N/A                                N/A
Subtotal secured borrowings                                                                   35,628.5                           35,628.5

Unsecured borrowings:
                                                                                                                        (4)
  Senior unsecured notes – long-term                                                             12,408.8     100.8              12,507.4
                                                                                                                        (5)
  Subordinated unsecured note – long-term                                                         1,000.0     100.5               1,005.4
                                                                                                                        (6)
  Term loans and revolvers – long-term                                                            1,750.0     99.5                1,741.3
                                                                                                                        (7)
  Bank lines – short-term                                                                           756.0     100.8                 762.0
                                                                                                                                                  Pg 225 of 385




                                                                                                                        (7)
  Bank lines – long-term                                                                             21.8     100.8                  22.0
                                                                                                                        (7)
  Other – short-term                                                                                392.7     100.8                 395.8
                                                                                                                        (7)
  Other – long-term                                                                                 643.6     100.8                 648.7
Subtotal unsecured borrowings                                                                    16,972.9                        17,082.5

Total borrowings                                                                            $ 52,601.4                         $ 52,711.0


(1)
    Face value per Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 81.
(2)
                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Pricing per Thomson Reuters SMIntelligence.
(7)
                                                                                                                                                                 Appendix




    Assumed pricing equals the pricing of the senior unsecured notes –long-term.




                                                                        Appendix VI.B.4.a(4), Page 20 of 61
                                                                                  Appendix VI.B.4.a(4), Page 21 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2006 Pricing
($ in Millions, except bond prices)


Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                         12-12020-mg




                                                                                               [A]                  [B]           [C] = [A] × [B]
                                                                                                                Relative
      Maturity                                                      Amount                                     Percent of           Weighted
                                                                              (1)
       Date             Coupon               Debt Rank            Outstanding                Price (2)         Debt Rank           Average Price

      04/17/09          Floating          Sr Subordinated               $ 1,000              100.5                100.0%               100.5
                                                                                                                                                                                                         Doc 3698-36




      06/29/07          Floating            Sr Unsecured                $ 1,000              100.5                 7.9%                   7.9
      05/12/08          Floating            Sr Unsecured                   214               100.0                 1.7%                   1.7
      06/09/08          Floating            Sr Unsecured                  1,250                99.8                9.8%                   9.8
      11/21/08          Floating            Sr Unsecured                   500               101.2                 3.9%                   4.0
      11/21/08          8.125%              Sr Unsecured                   750               100.5                 5.9%                   5.9
      04/17/09          Floating            Sr Unsecured                   750               101.0                 5.9%                   5.9
      06/30/10          6.375%              Sr Unsecured                  2,500              101.2                19.6%                  19.9
      02/22/11          6.000%              Sr Unsecured                  1,500                99.8               11.8%                  11.8
                                                                                                                                                                                          Pg 226 of 385




      05/17/12          5.125%              Sr Unsecured                   990               100.3                 7.8%                   7.8
      04/17/13          6.500%              Sr Unsecured                  1,750              101.3                13.7%                  13.9
      05/17/13          6.375%              Sr Unsecured                   784               100.2                 6.2%                   6.2
      06/30/15          6.875%              Sr Unsecured                 750                 103.7                 5.9%                  6.1
                                                                    $ 12,738                                      100.0%               100.8


Residential Capital, LLC Term Loan Pricing (3)
      07/28/10                               Unsecured              $     1,750                99.5               100.0%                 99.5
                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                                                         Appendix




                                                                                  Appendix VI.B.4.a(4), Page 21 of 61
                                                                        Appendix VI.B.4.a(4), Page 22 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2007 Summary
($ in Millions, except bond prices)
                                                                                                                                                                  12-12020-mg




                                                                                                               Decimal
                                                                                                         (1)
                                                                                           Face Value           Price          Market Value
Secured borrowings:
                                                                                                                         (2)
  Collateralized borrowings in securitization trusts                                                N/A         N/A                    N/A
                                                                                                                         (3)
  Secured – short-term                                                                       $ 26,358.6        100.0            $ 26,358.6
                                                                                                                         (3)
  Secured – long-term                                                                           3,343.3        100.0               3,343.3
                                                                                                                                                                  Doc 3698-36




                                                                                                                         (2)
  FHLB advances – long-term                                                                         N/A         N/A                    N/A
Subtotal secured borrowings                                                                    29,701.9                           29,701.9

Unsecured borrowings:
                                                                                                                         (4)
  Senior unsecured notes – long-term                                                              12,441.6      99.2              12,341.6
                                                                                                                         (5)
  Subordinated unsecured note – long-term                                                          1,000.0      99.1                 991.3
                                                                                                                         (6)
  Term loans and revolvers – long-term                                                             1,750.0      99.4               1,739.1
                                                                                                                         (7)
  Bank lines – short-term                                                                          1,251.4      99.2               1,241.3
                                                                                                                                                   Pg 227 of 385




                                                                                                                         (7)
  Bank lines – long-term                                                                              23.5      99.2                  23.3
                                                                                                                         (7)
  Other – short-term                                                                                 338.4      99.2                 335.7
                                                                                                                         (7)
  Other – long-term                                                                                  502.7      99.2                 498.7
Subtotal unsecured borrowings                                                                     17,307.6                        17,171.0

Total borrowings                                                                             $ 47,009.5                         $ 46,872.9


(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2007), at 40.
                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Pricing per Thomson Reuters SMIntelligence.
(7)
                                                                                                                                                                  Appendix




    Assumed pricing equals the pricing of the senior unsecured notes –long-term.



                                                                        Appendix VI.B.4.a(4), Page 22 of 61
                                                                                Appendix VI.B.4.a(4), Page 23 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2007 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                         12-12020-mg




                                                                                               [A]                  [B]           [C] = [A] × [B]

                                                                                                                Relative
      Maturity                                                      Amount                                     Percent of           Weighted
                                                                              (1)
       Date             Coupon               Debt Rank            Outstanding                Price (2)         Debt Rank           Average Price
      04/17/09          Floating          Sr Subordinated           $   1,000                  99.1               100.0%                 99.1
                                                                                                                                                                                                         Doc 3698-36




      06/29/07          Floating            Sr Unsecured            $  1,000                 100.1                 7.8%                   7.8
      05/12/08          Floating            Sr Unsecured                 217                  99.3                 1.7%                   1.7
      6/9/2008          Floating            Sr Unsecured               1,250                  99.0                 9.8%                   9.7
      11/21/08          Floating            Sr Unsecured                 500                 100.2                 3.9%                   3.9
      11/21/08          8.125%              Sr Unsecured                 750                  99.9                 5.9%                   5.9
      04/17/09          Floating            Sr Unsecured                 750                  99.6                 5.9%                   5.9
      06/30/10          6.375%              Sr Unsecured               2,500                 100.0                19.6%                  19.6
      02/22/11          6.000%              Sr Unsecured               1,500                  98.6                11.8%                  11.6
                                                                                                                                                                                          Pg 228 of 385




      05/17/12          5.125%              Sr Unsecured               1,002                  97.0                 7.9%                   7.6
      04/17/13          6.500%              Sr Unsecured               1,750                  99.1                13.7%                  13.6
      05/17/13          6.375%              Sr Unsecured                 787                  96.7                 6.2%                   6.0
      06/30/15          6.875%              Sr Unsecured                 750                 100.9                 5.9%                   5.9
                                                                    $ 12,755                                      100.0%                 99.2


Residential Capital, LLC Term Loan Pricing (3)
  07/28/10                          Unsecured                       $   1,750                  99.4               100.0%                 99.4


(1)
                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                                                         Appendix




                                                                                Appendix VI.B.4.a(4), Page 23 of 61
                                                                        Appendix VI.B.4.a(4), Page 24 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2007 Summary
($ in Millions, except bond prices)
                                                                                                                                                                  12-12020-mg




                                                                                                               Decimal
                                                                                           Face Value (1)       Price          Market Value
Secured borrowings:
                                                                                                                         (2)
  Collateralized borrowings in securitization trusts                                                N/A         N/A                    N/A
                                                                                                                         (3)
  Secured – short-term                                                                       $ 22,065.4        100.0            $ 22,065.4
                                                                                                                         (3)
  Secured – long-term                                                                           1,758.6        100.0               1,758.6
                                                                                                                                                                  Doc 3698-36




                                                                                                                         (2)
  FHLB advances – long-term                                                                         N/A         N/A                    N/A
Subtotal secured borrowings                                                                    23,824.0                           23,824.0

Unsecured borrowings:
                                                                                                                         (4)
  Senior unsecured notes – long-term                                                               15,140.0     97.8              14,800.7
                                                                                                                         (5)
  Subordinated unsecured note – long-term                                                           1,000.0     99.6                 995.5
                                                                                                                         (6)
  Term loans and revolvers – long-term                                                              1,750.0     99.4               1,740.2
                                                                                                                         (7)
  Bank lines – short-term                                                                             822.2     97.8                 803.8
                                                                                                                                                   Pg 229 of 385




                                                                                                                         (7)
  Bank lines – long-term                                                                               25.8     97.8                  25.2
                                                                                                                         (7)
  Other – short-term                                                                                  315.4     97.8                 308.3
                                                                                                                         (7)
  Other – long-term                                                                                   695.9     97.8                 680.3
Subtotal unsecured borrowings                                                                      19,749.3                       19,354.0

Total borrowings                                                                             $ 43,573.3                         $ 43,178.0


(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2007), at 44.
(2)
                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Pricing per Thomson Reuters SMIntelligence.
(7)
                                                                                                                                                                  Appendix




    Assumed pricing equals the pricing of the senior unsecured notes–long-term.




                                                                         Appendix VI.B.4.a(4), Page 24 of 61
                                                                                Appendix VI.B.4.a(4), Page 25 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2007 Pricing
($ in Millions, except bond prices)


Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                         12-12020-mg




                                                                                               [A]                  [B]           [C] = [A] × [B]
                                                                                                                  Relative
      Maturity                                                      Amount                                       Percent of         Weighted
                                                                              (1)
       Date             Coupon               Debt Rank            Outstanding                Price (2)           Debt Rank         Average Price

      04/17/09          Floating          Sr Subordinated           $   1,000                  99.6               100.0%                 99.6
                                                                                                                                                                                                         Doc 3698-36




      05/12/08          Floating            Sr Unsecured            $     235                  99.4                1.5%                   1.5
      06/09/08          Floating            Sr Unsecured                1,250                  99.0                8.0%                   7.9
      11/21/08          Floating            Sr Unsecured                  500                100.3                 3.2%                   3.2
      11/21/08          8.125%              Sr Unsecured                  750                  99.1                4.8%                   4.7
      04/17/09          Floating            Sr Unsecured                  750                  99.8                4.8%                   4.8
      05/22/09          Floating            Sr Unsecured                1,000                  99.5                6.4%                   6.4
      06/30/10          6.375%              Sr Unsecured                2,500                  98.7                16.0%                 15.7
                                                                                                           (3)
      09/27/10          Floating            Sr Unsecured                  813                  99.5                5.2%                   5.2
                                                                                                                                                                                          Pg 230 of 385




      02/22/11          6.000%              Sr Unsecured                1,500                  96.8                9.6%                   9.3
      05/17/12          5.125%              Sr Unsecured                1,016                  94.9                6.5%                   6.1
      06/01/12          6.500%              Sr Unsecured                1,250                  97.6                8.0%                   7.8
      04/17/13          6.500%              Sr Unsecured                1,750                  96.7                11.2%                 10.8
      05/17/13          6.375%              Sr Unsecured                  804                  91.6                5.1%                   4.7
      07/01/14          7.875%              Sr Unsecured                  804                  98.8                5.1%                   5.1
      06/30/15          6.875%              Sr Unsecured                 750                   97.0                4.8%                   4.6
                                                                    $ 15,670                                      100.0%                 97.8


Residential Capital, LLC Term Loan Pricing (4)
                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




      07/28/10                               Unsecured              $   1,750                  99.4               100.0%                 99.4



(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
(2)
    Pricing per Interactive Data Corporation.
                                                                                                                                                                                                         Appendix




(3)
    Pricing per Advantage Data Inc.
(4)
    Pricing per Thomson Reuters SMIntelligence.


                                                                                Appendix VI.B.4.a(4), Page 25 of 61
                                                                        Appendix VI.B.4.a(4), Page 26 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2007 Summary
($ in Millions, except bond prices)
                                                                                                                                                                  12-12020-mg




                                                                                                               Decimal
                                                                                           Face Value (1)       Price          Market Value
Secured borrowings:
                                                                                                                         (2)
  Collateralized borrowings in securitization trusts                                                N/A         N/A                    N/A
                                                                                                                         (3)
  Secured – short-term                                                                       $ 17,475.8        100.0            $ 17,475.8
                                                                                                                         (3)
  Secured – long-term                                                                           2,091.1        100.0               2,091.1
                                                                                                                                                                  Doc 3698-36




                                                                                                                         (2)
  FHLB advances – long-term                                                                         N/A         N/A                    N/A
Subtotal secured borrowings                                                                    19,566.9                           19,566.9

Unsecured borrowings:
                                                                                                                         (4)
  Senior unsecured notes – long-term                                                               15,518.8     83.2              12,904.2
                                                                                                                         (5)
  Subordinated unsecured note – long-term                                                           1,000.0     70.0                 700.0
                                                                                                                         (6)
  Term loans and revolvers – long-term                                                              1,750.0     92.0               1,610.0
                                                                                                                         (7)
  Bank lines – short-term                                                                             696.2     83.2                 578.9
                                                                                                                                                   Pg 231 of 385




                                                                                                                         (7)
  Bank lines – long-term                                                                               32.0     83.2                  26.6
                                                                                                                         (7)
  Other – short-term                                                                                  370.0     83.2                 307.7
                                                                                                                         (7)
  Other – long-term                                                                                   710.2     83.2                 590.5
Subtotal unsecured borrowings                                                                      20,077.2                       16,717.9

Total borrowings                                                                             $ 39,644.1                         $ 36,284.8


(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 51.
(2)
                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Pricing per Thomson Reuters SMIntelligence.
(7)
                                                                                                                                                                  Appendix




    Assumed pricing equals the pricing of the senior unsecured notes–long-term.




                                                                         Appendix VI.B.4.a(4), Page 26 of 61
                                                                                 Appendix VI.B.4.a(4), Page 27 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2007 Pricing
($ in Millions, except bond prices)


Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                 12-12020-mg




                                                                                               [A]                  [B]            [C] = [A] × [B]
                                                                                                                 Relative
      Maturity                                                      Amount                                      Percent of          Weighted
                                                                              (1)
       Date             Coupon               Debt Rank            Outstanding                Price (2)          Debt Rank          Average Price

      04/17/09          Floating          Sr Subordinated           $   1,000                  70.0               100.0%                 70.0
                                                                                                                                                                                                                                 Doc 3698-36




      05/12/08          Floating            Sr Unsecured            $     235                  93.2                1.5%                   1.4
      06/09/08          Floating            Sr Unsecured                 1,250                 92.0                8.0%                   7.3
      11/21/08          Floating            Sr Unsecured                   500                 89.8                3.2%                   2.9
      11/21/08           8.125%             Sr Unsecured                   750                 89.5                4.8%                   4.3
      04/17/09          Floating            Sr Unsecured                   750                 85.0                4.8%                   4.1
      05/22/09          Floating            Sr Unsecured                 1,000                 85.0                6.4%                   5.4
      06/30/10           6.375%             Sr Unsecured                 2,500                 83.0               15.9%                  13.2
      09/27/10          Floating            Sr Unsecured                   821                 80.0                5.2%                   4.2
                                                                                                                                                                                                                  Pg 232 of 385




      02/22/11           6.000%             Sr Unsecured                 1,500                 81.5                9.6%                   7.8
      05/17/12           5.125%             Sr Unsecured                 1,026                 79.0                6.5%                   5.2
      06/01/12           6.500%             Sr Unsecured                 1,250                 81.0                8.0%                   6.4
      04/17/13           6.500%             Sr Unsecured                 1,750                 80.8               11.1%                   9.0
      05/17/13           6.375%             Sr Unsecured                   810                 78.0                5.2%                   4.0
      07/01/14           7.875%             Sr Unsecured                   810                 80.5                5.2%                   4.2
      06/30/15           6.875%             Sr Unsecured                 750                   80.8                4.8%                   3.9
                                                                    $ 15,702                                      100.0%                 83.2


Residential Capital, LLC Term Loan Pricing (3)
                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




      07/28/10                               Unsecured              $   1,750                  92.0               100.0%                 92.0



(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated Sep. 12, 2007 [CCM00005938].
                                                                                                                                                                                                                                 Appendix




(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Thomson Reuters SMIntelligence.


                                                                                 Appendix VI.B.4.a(4), Page 27 of 61
                                                                             Appendix VI.B.4.a(4), Page 28 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2007 Summary
($ in Millions, except bond prices)


                                                                                                                         Decimal
                                                                                                                                                                                                 12-12020-mg




                                                                                                        (1)
                                                                                           Face Value                     Price                 Market Value
Secured borrowings:
                                                                                                                                    (2)
  Collateralized borrowings in securitization trusts                                                N/A                    N/A                            N/A
                                                                                                                                    (3)
  Secured aggregation facilities                                                              $ 8,402.2                   100.0                     $ 8,402.2
                                                                                                                                    (3)
  Repurchase agreements                                                                         3,645.1                   100.0                       3,645.1
                                                                                                                                    (3)
  Mortgage servicing rights facilities                                                          1,444.0                   100.0                       1,444.0
                                                                                                                                    (3)
                                                                                                                                                                                                 Doc 3698-36




  Servicing advances                                                                              791.3                   100.0                         791.3
                                                                                                                                    (3)
  Debt collateralized by mortgage loans                                                         1,782.0                   100.0                       1,782.0
                                                                                                                                    (2)
  FHLB advances                                                                                     N/A                    N/A                            N/A
                                                                                                                                    (3)
  Other                                                                                           423.6                   100.0                         423.6
Subtotal secured borrowings                                                                    16,488.2                                              16,488.2

Unsecured borrowings:
                                                                                                                                    (4)
  Senior unsecured notes – long-term                                                            14,550.4                   65.8                       9,576.6
                                                                                                                                    (5)
  Subordinated unsecured note – long-term                                                          758.3                   49.3                         373.5
                                                                                                                                                                                  Pg 233 of 385




                                                                                                                                    (6)
  Term loans and revolvers – long-term                                                           1,750.0                   86.8                       1,518.6
                                                                                                                                    (7)
  Bank lines – short-term                                                                          278.3                   65.8                         183.2
                                                                                                                                    (7)
  Bank lines – long-term                                                                            33.2                   65.8                          21.9
                                                                                                                                    (7)
  Other – short-term                                                                               347.0                   65.8                         228.4
                                                                                                                                    (7)
  Other – long-term                                                                                629.8                   65.8                         414.5
Subtotal unsecured borrowings                                                                   18,347.0                                             12,316.5

Total borrowings                                                                             $ 34,835.2                                            $ 28,804.7
                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Face value per Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 81; Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 96.
(2)
    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                                                 Appendix




(7)
    Assumed pricing equals the pricing of the senior unsecured notes –long-term.



                                                                              Appendix VI.B.4.a(4), Page 28 of 61
                                                                                Appendix VI.B.4.a(4), Page 29 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2007 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                12-12020-mg




                                                                                               [A]                  [B]           [C] = [A] × [B]
                                                                                                                Relative             Weighted
      Maturity                                                      Amount                                     Percent of            Average
                                                                              (1)
       Date               Coupon             Debt Rank            Outstanding               Price (2)          Debt Rank              Price
      04/17/09            Floating         Sr Subordinated          $   1,000                 49.3               100.0%                 49.3
                                                                                                                                                                                                                                Doc 3698-36




      05/12/08            Floating          Sr Unsecured            $    251                  87.5                1.6%                   1.4
      06/09/08            Floating          Sr Unsecured               1,250                  85.5                7.9%                   6.7
      11/21/08            Floating          Sr Unsecured                 500                  79.5                3.1%                   2.5
      11/21/08            8.125%            Sr Unsecured                 750                  79.5                4.7%                   3.8
      04/17/09            Floating          Sr Unsecured                 750                  71.0                4.7%                   3.4
      05/22/09            Floating          Sr Unsecured               1,000                  71.0                6.3%                   4.5
      06/30/10            6.375%            Sr Unsecured               2,500                  64.0               15.7%                  10.1
      09/27/10            Floating          Sr Unsecured                 885                  58.5                5.6%                   3.3
      02/22/11            6.000%            Sr Unsecured               1,500                  62.3                9.4%                   5.9
                                                                                                                                                                                                                 Pg 234 of 385




      05/17/12            5.125%            Sr Unsecured               1,106                  57.5                7.0%                   4.0
      06/01/12            6.500%            Sr Unsecured               1,250                  61.5                7.9%                   4.8
      04/17/13            6.500%            Sr Unsecured               1,750                  61.5               11.0%                   6.8
      05/17/13            6.375%            Sr Unsecured                 825                  56.5                5.2%                   2.9
      07/01/14            7.875%            Sr Unsecured                 825                  58.5                5.2%                   3.0
      06/30/15            6.875%            Sr Unsecured                 750                  60.5                4.7%                   2.9
                                                                    $ 15,890                                     100.0%                 65.8


Residential Capital, LLC Term Loan Pricing (3)
  07/28/10                          Unsecured                       $   1,750                 86.8               100.0%                 86.8
                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
   The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated Jan. 7, 2008 [EXAM10055841].
(2)
      Pricing per Interactive Data Corporation.
                                                                                                                                                                                                                                Appendix




(3)
      Pricing per Thomson Reuters SMIntelligence.




                                                                                Appendix VI.B.4.a(4), Page 29 of 61
                                                                         Appendix VI.B.4.a(4), Page 30 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2008 Summary
($ in Millions, except bond prices)
                                                                                                                                                                12-12020-mg




                                                                                                             Decimal
                                                                                          Face Value (1)      Price          Market Value
Secured borrowings:
                                                                                                                       (3)
  Borrowings from parent                                                                          $ 655.0      100.0             $ 655.0
                                                                                                                       (2)
  Collateralized borrowings in securitization trusts                                                   N/A      N/A                  N/A
                                                                                                                       (3)
  Secured – short-term                                                                            12,844.1     100.0            12,844.1
                                                                                                                       (3)
                                                                                                                                                                Doc 3698-36




  Secured – long-term                                                                                593.3     100.0               593.3
                                                                                                                       (2)
  FHLB advances – short-term                                                                           N/A      N/A                  N/A
                                                                                                                       (2)
  FHLB advances – long-term                                                                            N/A      N/A                  N/A
Subtotal secured borrowings                                                                       14,092.4                      14,092.4

Unsecured borrowings:
                                                                                                                       (4)
  Senior unsecured notes – long-term                                                              13,874.1     53.3              7,396.5
                                                                                                                       (5)
  Subordinated unsecured note – long-term                                                            577.0     37.0                213.5
                                                                                                                       (6)
                                                                                                                                                 Pg 235 of 385




  Term loans and revolvers – long-term                                                             1,750.0     73.9              1,292.8
                                                                                                                       (7)
  Bank lines – short-term                                                                            233.3     53.3                124.4
                                                                                                                       (7)
  Bank lines – long-term                                                                              33.7     53.3                 18.0
                                                                                                                       (7)
  Other unsecured – short-term                                                                       432.3     53.3                230.5
                                                                                                                       (7)
  Other unsecured – long-term                                                                        626.3     53.3                333.9
Subtotal unsecured borrowings                                                                     17,526.7                       9,609.6

Total borrowings                                                                            $ 31,619.1                        $ 23,702.0
                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 7, 2008), at 65.
(2)
    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(5)
    Pricing per Interactive Data Corporation.
(6)
                                                                                                                                                                Appendix




    Pricing per Thomson Reuters SMIntelligence.
(7)
    Assumed pricing equals the pricing of the senior unsecured notes–long-term.


                                                                         Appendix VI.B.4.a(4), Page 30 of 61
                                                                                Appendix VI.B.4.a(4), Page 31 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2008 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                         12-12020-mg




                                                                                               [A]                  [B]           [C] = [A] × [B]

                                                                                                                Relative             Weighted
      Maturity                                                      Amount                                     Percent of            Average
                                                                              (1)
       Date             Coupon               Debt Rank            Outstanding                Price (2)         Debt Rank              Price
      04/17/09          Floating          Sr Subordinated           $     577                  37.0               100.0%                37.0
                                                                                                                                                                                                         Doc 3698-36




      05/12/08          Floating            Sr Unsecured            $    244                   76.0                1.6%                  1.2
      06/09/08          Floating            Sr Unsecured               1,199                   79.0                7.7%                  6.1
      11/21/08          Floating            Sr Unsecured                 470                   68.0                3.0%                  2.1
      11/21/08          8.125%              Sr Unsecured                 684                   69.0                4.4%                  3.0
      04/17/09          Floating            Sr Unsecured                 750                   57.0                4.8%                  2.8
      05/22/09          Floating            Sr Unsecured               1,000                   57.0                6.5%                  3.7
      06/30/10          6.375%              Sr Unsecured               2,500                   50.3               16.1%                  8.1
      09/27/10          Floating            Sr Unsecured                 947                   45.0                6.1%                  2.8
                                                                                                                                                                                          Pg 236 of 385




      02/22/11          6.000%              Sr Unsecured               1,500                   49.0                9.7%                  4.7
      05/17/12          5.125%              Sr Unsecured               1,184                   45.5                7.6%                  3.5
      06/01/12          6.500%              Sr Unsecured               1,250                   49.0                8.1%                  4.0
      04/17/13          6.500%              Sr Unsecured               1,605                   48.5               10.4%                  5.0
      05/17/13          6.375%              Sr Unsecured                 692                   44.5                4.5%                  2.0
      07/01/14          7.875%              Sr Unsecured                 720                   44.5                4.6%                  2.1
      06/30/15          6.875%              Sr Unsecured                 750                   48.5                4.8%                  2.3
                                                                    $ 15,494                                      100.0%                53.3


Residential Capital, LLC Term Loan Pricing (3)
                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13




  07/28/10                          Unsecured                       $   1,750                  73.9               100.0%                73.9


(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Thomson Reuters SMIntelligence.
                                                                                                                                                                                                         Appendix




                                                                                Appendix VI.B.4.a(4), Page 31 of 61
                                                                         Appendix VI.B.4.a(4), Page 32 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2008 Summary
($ in Millions, except bond prices)
                                                                                                                                                                 12-12020-mg




                                                                                          Face Value (1)        Price         Market Value
Secured borrowings:
                                                                                                                        (3)
  Borrowings from parent                                                                      $ 4,700.0         100.0           $ 4,700.0
                                                                                                                        (3)
  Borrowings from affiliate                                                                       971.7         100.0               971.7
                                                                                                                        (2)
  Collateralized borrowings in securitization trusts                                                N/A          N/A                  N/A
                                                                                                                        (4)
  Senior secured notes – long-term                                                              1,801.4          84.0             1,513.2
                                                                                                                                                                 Doc 3698-36




                                                                                                                        (4)
  Junior secured notes – long-term                                                              5,112.9          48.5             2,479.8
                                                                                                                        (5)
  Secured – short-term                                                                          8,168.8          84.0             6,861.8
                                                                                                                        (5)
  Secured – long-term                                                                              79.4          84.0                66.7
                                                                                                                        (2)
  FHLB advances- long-term                                                                          N/A          N/A                  N/A
Subtotal secured borrowings                                                                    20,834.2                          16,593.1

Unsecured borrowings:
                                                                                                                        (6)
  Senior unsecured notes – long-term                                                               4,113.3      47.1              1,939.2
                                                                                                                                                  Pg 237 of 385




                                                                                                                        (4)
  Subordinated unsecured note – long-term                                                            205.4      69.5                142.8
                                                                                                                        (7)
  Bank lines – short-term                                                                            227.4      47.1                107.2
                                                                                                                        (7)
  Bank lines – long-term                                                                              37.0      47.1                 17.4
                                                                                                                        (7)
  Other unsecured – short-term                                                                       312.9      47.1                147.5
                                                                                                                        (7)
  Other unsecured – long-term                                                                        397.4      47.1                187.4
Subtotal unsecured borrowings                                                                      5,293.4                        2,541.4

Total borrowings                                                                             $ 26,127.6                        $ 19,134.6
                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008), at 78.
(2)
    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Pricing per Interactive Data Corporation.
(5)
                                                                                                                                                                 Appendix




    Assumed pricing equals the pricing of the senior secured notes –long-term.
(6)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(7)
    Assumed pricing equals the pricing of the senior unsecured notes–long-term.

                                                                          Appendix VI.B.4.a(4), Page 32 of 61
                                                                               Appendix VI.B.4.a(4), Page 33 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2008 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                       12-12020-mg




                                                                                             [A]                  [B]            [C] = [A] × [B]

                                                                                                               Relative
      Maturity                                                    Amount                                      Percent of          Weighted
       Date             Coupon              Debt Rank           Outstanding (1)           Price (2)           Debt Rank          Average Price
      05/15/10           8.500%              2nd Lien              $ 1,670                   84.0               100.0%                 84.0
                                                                                                                                                                                                                                       Doc 3698-36




      05/15/15           9.625%              3rd Lien              $ 4,024                   48.5               100.0%                 48.5

      04/17/09          Floating         Sr Subordinated           $    205                  69.5               100.0%                 69.5

      11/21/08          Floating           Sr Unsecured            $   112                   87.5                 2.8%                  2.4
      11/21/08          8.125%             Sr Unsecured                163                   87.5                 4.1%                  3.6
      04/17/09          Floating           Sr Unsecured                 63                   72.0                 1.6%                  1.1
      05/22/09          Floating           Sr Unsecured                132                   72.0                 3.3%                  2.4
                                                                                                                                                                                                                        Pg 238 of 385




      06/30/10          6.375%             Sr Unsecured              1,253                   42.0                31.3%                 13.1
      09/27/10          Floating           Sr Unsecured                564                   51.5                14.1%                  7.3
      02/22/11          6.000%             Sr Unsecured                218                   39.0                 5.4%                  2.1
      05/17/12          5.125%             Sr Unsecured                173                   44.5                 4.3%                  1.9
      06/01/12          6.500%             Sr Unsecured                 95                   39.0                 2.4%                  0.9
      04/17/13          6.500%             Sr Unsecured                875                   39.0                21.8%                  8.5
      05/17/13          6.375%             Sr Unsecured                 80                   44.5                 2.0%                  0.9
      07/01/14          7.875%             Sr Unsecured                129                   44.5                 3.2%                  1.4
      06/30/15          6.875%             Sr Unsecured                151                   39.0                 3.8%                  1.5
                                                                   $ 4,007                                      100.0%                 47.1
                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report, dated
June 30, 2008 [EXAM10055944].
(2)
    Pricing per Interactive Data Corporation.
                                                                                                                                                                                                                                       Appendix




                                                                               Appendix VI.B.4.a(4), Page 33 of 61
                                                                             Appendix VI.B.4.a(4), Page 34 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2008 Summary
($ in Millions, except bond prices)


                                                                                                                Decimal
                                                                                                                                                                   12-12020-mg




                                                                                                          (1)
                                                                                           Face Value            Price          Market Value
Secured borrowings:
                                                                                                                          (3)
  Borrowings from parent                                                                       $ 3,270.6         100.0            $ 3,270.6
                                                                                                                          (3)
  Borrowings from affiliate                                                                        875.0         100.0                875.0
                                                                                                                          (2)
  Collateralized borrowings in securitization trusts                                                 N/A          N/A                   N/A
                                                                                                                          (4)
  Senior secured notes – long-term                                                               1,690.5          55.0                929.8
                                                                                                                          (4)
                                                                                                                                                                   Doc 3698-36




  Junior secured notes – long-term                                                               5,070.0          24.0              1,216.8
                                                                                                                          (5)
  Secured aggregation facilities                                                                 2,975.0          55.0              1,636.3
                                                                                                                          (5)
  Repurchase agreements                                                                            687.0          55.0                377.9
                                                                                                                          (5)
  Mortgage servicing rights facilities                                                           1,248.0          55.0                686.4
                                                                                                                          (5)
  Servicing advances                                                                               700.0          55.0                385.0
                                                                                                                          (5)
  Debt collateralized by mortgage loans                                                             16.9          55.0                  9.3
                                                                                                                          (2)
  FHLB advances                                                                                      N/A          N/A                   N/A
                                                                                                                          (5)
  Other                                                                                            335.7         55.0                 184.6
Subtotal secured borrowings                                                                     16,868.7                            9,571.6
                                                                                                                                                    Pg 239 of 385




Unsecured borrowings:
                                                                                                                          (6)
  Senior unsecured notes – long-term                                                                4,030.8      28.5               1,148.6
                                                                                                                          (4)
  Subordinated unsecured note – long-term                                                             205.5      40.0                  82.2
                                                                                                                          (7)
  Medium-term unsecured notes                                                                         367.1      28.5                 104.6
                                                                                                                          (7)
  Other                                                                                               300.3      28.5                  85.6
Subtotal unsecured borrowings                                                                       4,903.7                         1,421.0

Total borrowings                                                                             $ 21,772.4                          $ 10,992.6
                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 77.
(2)
    Debt related to assets not controlled by ResCap.
(3)
    Assumed at par.
(4)
    Pricing per Interactive Data Corporation.
(5)
                                                                                                                                                                   Appendix




    Assumed pricing equals the pricing of the senior secured notes–long-term.
(6)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(7)
    Assumed pricing equals the pricing of the senior unsecured notes–long-term.

                                                                              Appendix VI.B.4.a(4), Page 34 of 61
                                                                                 Appendix VI.B.4.a(4), Page 35 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2008 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                12-12020-mg




                                                                                               [A]                  [B]           [C] = [A] × [B]

                                                                                                                Relative             Weighted
      Maturity                                                      Amount                                     Percent of            Average
                                                                              (1)
       Date               Coupon                  Debt Rank       Outstanding               Price (2)          Debt Rank              Price

      05/15/10             8.500%                  2nd Lien          $ 1,670                  55.0               100.0%                 55.0
                                                                                                                                                                                                                                Doc 3698-36




      05/15/15             9.625%                  3rd Lien          $ 4,024                  24.0               100.0%                 24.0


      04/17/09             Floating         Sr Subordinated          $    205                 40.0               100.0%                 40.0


      11/21/08             Floating           Sr Unsecured           $    112                 85.0                 2.7%                  2.3
      11/21/08             8.125%             Sr Unsecured                163                 85.0                 4.0%                  3.4
      04/17/09             Floating           Sr Unsecured                  63                46.0                 1.5%                  0.7
                                                                                                                                                                                                                 Pg 240 of 385




      05/22/09             Floating           Sr Unsecured                132                 45.0                 3.2%                  1.4
      06/30/10             6.375%             Sr Unsecured               1,280                23.0                31.3%                  7.2
      09/27/10             Floating           Sr Unsecured                562                 28.0                13.8%                  3.9
      02/22/11             6.000%             Sr Unsecured                218                 20.0                 5.3%                  1.1
      05/17/12             5.125%             Sr Unsecured                167                 29.5                 4.1%                  1.2
      06/01/12             6.500%             Sr Unsecured                  95                20.0                 2.3%                  0.5
      04/17/13             6.500%             Sr Unsecured                934                 20.0                22.8%                  4.6
      05/17/13             6.375%             Sr Unsecured                  78                29.5                 1.9%                  0.6
      07/01/14             7.875%             Sr Unsecured                132                 29.5                 3.2%                  1.0
      06/30/15             6.875%             Sr Unsecured               151                  20.0                3.7%                   0.7
                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




                                                                     $ 4,087                                     100.0%                 28.5



(1)
   The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated Sep. 15, 2008 [EXAM10055954].
                                                                                                                                                                                                                                Appendix




(2)
      Pricing per Interactive Data Corporation.




                                                                                 Appendix VI.B.4.a(4), Page 35 of 61
                                                                                      Appendix VI.B.4.a(4), Page 36 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2008 Summary
($ in Millions, except bond prices)


                                                                                                                      Decimal
                                                                                                        (1)
                                                                                           Face Value                  Price                 Market Value
                                                                                                                                                                                                                                              12-12020-mg




Secured borrowings:
                                                                                                                                 (2)
  Borrowings from parent – short-term                                                            $ 307.4               100.0                       $ 307.4
                                                                                                                                 (2)
  Borrowings from parent – long-term                                                              2,356.0              100.0                       2,356.0
                                                                                                                                 (2)
  Borrowings from affiliates – long-term                                                              7.6              100.0                            7.6
                                                                                                                                 (3)
  Collateralized borrowings in securitization trusts                                                  N/A               N/A                             N/A
                                                                                                                                 (4)
  Senior secured notes – long-term                                                                1,672.7               55.0                          920.0
                                                                                                                                 (4)
  Junior secured notes – long-term                                                                5,027.1               29.0                       1,457.9
                                                                                                                                                                                                                                              Doc 3698-36




                                                                                                                                 (5)
  Secured aggregation facilities – short-term                                                     1,316.9               55.0                          724.3
                                                                                                                                 (5)
  Repurchase agreements – short-term                                                                429.2               55.0                          236.1
                                                                                                                                 (5)
  Mortgage servicing rights facilities                                                              528.0               55.0                          290.4
                                                                                                                                 (5)
  Servicing advances                                                                                700.0               55.0                          385.0
                                                                                                                                 (3)
  Federal Reserve Board Advances – short-term                                                         N/A               N/A                             N/A
                                                                                                                                 (3)
  FHLB advances – long-term                                                                           N/A               N/A                             N/A
                                                                                                                                 (5)
  Other                                                                                             299.8              55.0                           164.9
Subtotal secured borrowings                                                                     12,644.7                                            6,849.5
                                                                                                                                                                                                                               Pg 241 of 385




Unsecured borrowings:
                                                                                                                                 (6)
  Senior unsecured notes                                                                         2,732.4                23.7                         646.7
                                                                                                                                 (4)
  Subordinated unsecured note – long-term                                                          205.4                36.5                          75.0
                                                                                                                                 (7)
  Medium-term unsecured notes                                                                      296.2                23.7                          70.1
                                                                                                                                 (7)
  Other – short-term                                                                               112.9                23.7                          26.7
                                                                                                                                 (7)
  Other – long-term                                                                                  2.2                23.7                           0.5
Subtotal unsecured borrowings                                                                    3,349.2                                             819.0

Total borrowings                                                                             $ 15,993.9                                          $ 7,668.5


(1)
                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




    Face value per Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 96; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2009 and 2008,
dated Sep. 30, 2009, at 21 [EXAM00124278].
(2)
    Fair value disclosure per Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 179.
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Pricing per Interactive Data Corporation.
(5)
    Assumed pricing equals the pricing of the senior secured notes–long-term.
(6)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
                                                                                                                                                                                                                                              Appendix




(7)
    Assumed pricing equals the pricing of the senior unsecured notes–long-term.




                                                                                      Appendix VI.B.4.a(4), Page 36 of 61
                                                                                  Appendix VI.B.4.a(4), Page 37 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2008 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                 12-12020-mg




                                                                                               [A]                  [B]           [C] = [A] × [B]
                                                                                                                Relative             Weighted
      Maturity                                                      Amount                                     Percent of            Average
                                                                              (1)
       Date             Coupon               Debt Rank            Outstanding                Price (2)         Debt Rank              Price

      05/15/10           8.500%               2nd Lien                $ 1,574                  55.0               100.0%                55.0
                                                                                                                                                                                                                                 Doc 3698-36




      05/15/15           9.625%               3rd Lien                $ 4,024                  29.0               100.0%                29.0


      04/17/09          Floating          Sr Subordinated             $    205                 36.5               100.0%                36.5


      04/17/09          Floating            Sr Unsecured              $     63                 36.5                1.6%                   0.6
      05/22/09          Floating            Sr Unsecured                   132                 36.5                3.5%                   1.3
      06/30/10           6.375%             Sr Unsecured                  1,280                35.0               33.6%                 11.8
      09/27/10          Floating            Sr Unsecured                   562                 15.0               14.8%                   2.2
                                                                                                                                                                                                                  Pg 242 of 385




      02/22/11           6.000%             Sr Unsecured                   218                 17.0                5.7%                   1.0
      05/17/12           5.125%             Sr Unsecured                   167                 16.5                4.4%                   0.7
      06/01/12           6.500%             Sr Unsecured                    95                 16.0                2.5%                   0.4
      04/17/13           6.500%             Sr Unsecured                   934                 17.0               24.5%                   4.2
      05/17/13           6.375%             Sr Unsecured                    78                 16.5                2.1%                   0.3
      07/01/14           7.875%             Sr Unsecured                   132                 16.5                3.5%                   0.6
      06/30/15           6.875%             Sr Unsecured                  151                  17.0                4.0%                  0.7
                                                                      $ 3,812                                     100.0%                23.7
                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated Dec. 29, 2008 [EXAM10055973].
(2)
    Pricing per Interactive Data Corporation.
                                                                                                                                                                                                                                 Appendix




                                                                                  Appendix VI.B.4.a(4), Page 37 of 61
                                                                          Appendix VI.B.4.a(4), Page 38 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2009 Summary
($ in Millions, except bond prices)
                                                                                                                                                                 12-12020-mg




                                                                                                             Decimal
                                                                                           Face Value (1)     Price           Market Value
Secured borrowings:
                                                                                                                        (2)
  Borrowings from parent                                                                      $ 2,409.9         100.0           $ 2,409.9
                                                                                                                        (3)
  Collateralized borrowings in securitization trusts                                                N/A          N/A                  N/A
                                                                                                                        (4)
  Senior secured notes                                                                            781.6          74.5               582.3
                                                                                                                        (4)
                                                                                                                                                                 Doc 3698-36




  Junior secured notes                                                                          4,389.3          44.0             1,931.3
                                                                                                                        (5)
  Secured aggregation facilities                                                                  849.1          74.5               632.6
                                                                                                                        (5)
  Repurchase agreements                                                                           335.9          74.5               250.2
                                                                                                                        (5)
  Mortgage servicing rights facilities                                                            844.0          74.5               628.8
                                                                                                                        (5)
  Servicing advances                                                                              700.0          74.5               521.5
                                                                                                                        (5)
  Other                                                                                           282.5         74.5                210.5
Subtotal secured borrowings                                                                    10,592.3                           7,167.1
                                                                                                                                                  Pg 243 of 385




Unsecured borrowings:
                                                                                                                        (6)
  Senior unsecured notes                                                                         2,667.5        41.5              1,107.8
                                                                                                                        (4)
  Subordinated unsecured note – long-term                                                          190.4        94.0                179.0
                                                                                                                        (7)
  Medium-term unsecured notes                                                                      283.5        41.5                117.7
                                                                                                                        (7)
  Other                                                                                             47.6        41.5                 19.8
Subtotal unsecured borrowings                                                                    3,189.0                          1,424.2

Total borrowings                                                                             $ 13,781.3                         $ 8,591.3
                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 86.
(2)
    Fair value disclosure per Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 179.
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Pricing per Interactive Data Corporation.
(5)
    Assumed pricing equals the pricing of the senior secured notes.
                                                                                                                                                                 Appendix




(6)
    Weighted average pricing for unsecured notes per Interactive Data Corporation.
(7)
    Assumed pricing equals the pricing of the senior unsecured notes.


                                                                          Appendix VI.B.4.a(4), Page 38 of 61
                                                                                   Appendix VI.B.4.a(4), Page 39 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2009 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                           12-12020-mg




                                                                                                  [A]                 [B]            [C] = [A] × [B]
                                                                                                                   Relative            Weighted
      Maturity                                                         Amount                                     Percent of           Average
                                                                                 (1)
       Date                Coupon              Debt Rank             Outstanding               Price (2)          Debt Rank             Price
      05/15/10             8.500%                2nd Lien               $    782                 74.5               100.0%                 74.5
                                                                                                                                                                                                           Doc 3698-36




      05/15/15             9.625%                3rd Lien               $ 4,389                  44.0               100.0%                 44.0

      04/17/09             Floating          Sr Subordinated            $    190                 94.0               100.0%                 94.0

      04/17/09             Floating           Sr Unsecured              $    56                  94.0                2.1%                   2.0
      05/22/09             Floating           Sr Unsecured                  119                  88.0                4.5%                   4.0
      06/30/10             6.375%             Sr Unsecured                  824                  46.0               31.4%                  14.4
      09/27/10             Floating           Sr Unsecured                  478                  30.0               18.2%                   5.5
      02/22/11             6.000%             Sr Unsecured                  208                  37.0                7.9%                   2.9
                                                                                                                                                                                            Pg 244 of 385




      05/17/12             5.125%             Sr Unsecured                  131                  31.5                5.0%                   1.6
      06/01/12             6.500%             Sr Unsecured                   80                  37.0                3.0%                   1.1
      04/17/13             6.500%             Sr Unsecured                  473                  37.0               18.0%                   6.7
      05/17/13             6.375%             Sr Unsecured                   53                  31.5                2.0%                   0.6
      07/01/14             7.875%             Sr Unsecured                   92                  32.4                3.5%                   1.1
      06/30/15             6.875%             Sr Unsecured                  112                  37.0                4.3%                   1.6
                                                                        $ 2,626                                     100.0%                 41.5



(1)
      The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Bloomberg.
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
      Pricing per Interactive Data Corporation.
                                                                                                                                                                                                           Appendix




                                                                                   Appendix VI.B.4.a(4), Page 39 of 61
                                                                         Appendix VI.B.4.a(4), Page 40 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2009 Summary
($ in Millions, except bond prices)
                                                                                                                                                                12-12020-mg




                                                                                                             Decimal
                                                                                          Face Value (1)      Price          Market Value
Secured borrowings:
                                                                                                                       (2)
  Borrowings from parent                                                                     $ 2,931.2         100.0           $ 2,931.2
                                                                                                                       (3)
  Collateralized borrowings in securitization trusts                                               N/A          N/A                  N/A
                                                                                                                       (4)
  Senior secured notes                                                                           773.2          87.0               672.7
                                                                                                                       (5)
                                                                                                                                                                Doc 3698-36




  Junior secured notes                                                                         2,653.9          63.6             1,688.5
                                                                                                                       (6)
  Secured aggregation facilities                                                                 683.9          87.0               595.0
                                                                                                                       (6)
  Repurchase agreements                                                                           61.9          87.0                53.9
                                                                                                                       (6)
  Mortgage servicing rights facilities                                                         1,043.0          87.0               907.4
                                                                                                                       (6)
  Servicing advances                                                                             700.0          87.0               609.0
                                                                                                                       (6)
  Other                                                                                          262.6         87.0                228.5
Subtotal secured borrowings                                                                    9,109.7                           7,686.1

Unsecured borrowings:
                                                                                                                                                 Pg 245 of 385




                                                                                                                       (7)
  Senior unsecured notes                                                                        2,546.8        59.4              1,513.6
                                                                                                                       (8)
  Medium-term unsecured notes                                                                     307.2        59.4                182.6
                                                                                                                       (8)
  Outstanding under unsecured facilities                                                           15.0        59.4                  8.9
Subtotal unsecured borrowings                                                                   2,869.0                          1,705.1

Total borrowings                                                                            $ 11,978.7                         $ 9,391.2


(1)
    Face value per Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 97.
                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
    Fair value disclosure per Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 179.
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Pricing per Interactive Data Corporation.
(5)
    Pricing per Advantage Data Inc.
(6)
    Assumed pricing equals the pricing of the senior secured notes.
(7)
                                                                                                                                                                Appendix




    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
(8)
    Assumed pricing equals the pricing of the senior unsecured notes.


                                                                         Appendix VI.B.4.a(4), Page 40 of 61
                                                                                Appendix VI.B.4.a(4), Page 41 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2009 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                               12-12020-mg




                                                                                            [A]                    [B]           [C] = [A] × [B]

                                                                                                               Relative             Weighted
      Maturity                                                   Amount                                       Percent of            Average
                                                                           (1)
       Date             Coupon             Debt Rank           Outstanding                 Price              Debt Rank              Price
                                                                                                        (2)
      05/15/10           8.500%              2nd Lien              $   743                  87.0                100.0%                 87.0
                                                                                                                                                                                                                               Doc 3698-36




                                                                                                        (3)
      05/15/15           9.625%              3rd Lien              $ 2,120                  63.6                100.0%                 63.6

                                                                                                        (2)
      06/30/10           6.375%           Sr Unsecured             $   824                  73.0                 33.1%                 24.2
                                                                                                        (3)
      09/27/10          Floating          Sr Unsecured                 482                  52.8                 19.4%                 10.2
                                                                                                        (2)
      02/22/11           6.000%           Sr Unsecured                 208                  61.5                  8.4%                   5.2
                                                                                                        (3)
      05/17/12           5.125%           Sr Unsecured                 140                  45.3                  5.6%                   2.5
                                                                                                        (2)
      06/01/12           6.500%           Sr Unsecured                   80                 60.5                  3.2%                   1.9
                                                                                                        (2)
      04/17/13           6.500%           Sr Unsecured                 473                  60.5                 19.0%                 11.5
                                                                                                                                                                                                                Pg 246 of 385




                                                                                                        (3)
      05/17/13           6.375%           Sr Unsecured                   61                 29.0                  2.5%                   0.7
                                                                                                        (3)
      07/01/14           7.875%           Sr Unsecured                 105                   9.6                  4.2%                   0.4
                                                                                                        (2)
      06/30/15           6.875%           Sr Unsecured                 112                  60.5                  4.5%                   2.7
                                                                   $ 2,486                                      100.0%                 59.4



(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Draft ResCap Executive Liquidity
Report, dated June 29, 2009 [EXAM10056051].
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Advantage Data Inc.
                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                               Appendix




                                                                                Appendix VI.B.4.a(4), Page 41 of 61
                                                                        Appendix VI.B.4.a(4), Page 42 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2009 Summary
($ in Millions, except bond prices)


                                                                                                                      Decimal
                                                                                                                                                                                                             12-12020-mg




                                                                                        Face Value (1)                 Price                Market Value
Secured borrowings:
                                                                                                                                 (2)
  Borrowings from parent – short-term                                                         $ 613.2                  100.0                      $ 613.2
                                                                                                                                 (2)
  Borrowings from parent – long-term                                                           1,689.2                 100.0                       1,689.2
                                                                                                                                 (3)
  Collateralized borrowings in securitization trusts                                               N/A                  N/A                            N/A
                                                                                                                                 (4)
  Senior secured notes – long-term                                                               764.7                  89.0                         680.6
                                                                                                                                                                                                             Doc 3698-36




                                                                                                                                 (4)
  Junior secured notes – long-term                                                             2,630.1                  76.5                       2,012.0
                                                                                                                                 (5)
  Secured aggregation facilities – short-term                                                    283.8                  89.0                         252.6
                                                                                                                                 (5)
  Repurchase agreements – short-term                                                              30.5                  89.0                          27.2
                                                                                                                                 (5)
  Mortgage servicing rights facilities – long-term                                               835.0                  89.0                         743.2
                                                                                                                                 (5)
  Servicing advances                                                                             700.0                  89.0                         623.0
                                                                                                                                 (5)
  Other – long-term                                                                              246.7                  89.0                         219.5
Subtotal secured borrowings                                                                    7,793.1                                             6,860.4
                                                                                                                                                                                              Pg 247 of 385




Unsecured borrowings:
                                                                                                                                 (6)
  Senior unsecured notes – long-term                                                           2,561.5                 63.0                        1,613.2
                                                                                                                                 (7)
  Medium-term unsecured notes – long-term                                                        133.0                 63.0                           83.7
                                                                                                                                 (7)
  Other – short-term                                                                              13.5                 63.0                            8.5
                                                                                                                                 (7)
  Other – long-term                                                                                1.1                 63.0                            0.7
Subtotal unsecured borrowings                                                                  2,709.0                                             1,706.2

Total borrowings                                                                           $ 10,502.2                                           $ 8,566.6
                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Face value per Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2009 and 2008, dated Sep. 30, 2009, at 21 [EXAM00124278].
(2)
    Fair value disclosure per Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 179.
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Pricing per Interactive Data Corporation.
(5)
    Assumed pricing equals the pricing of the senior secured notes.
                                                                                                                                                                                                             Appendix




(6)
    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
(7)
    Assumed pricing equals the pricing of the senior unsecured notes.

                                                                        Appendix VI.B.4.a(4), Page 42 of 61
                                                                               Appendix VI.B.4.a(4), Page 43 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2009 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                             12-12020-mg




                                                                                           [A]                    [B]           [C] = [A] × [B]

                                                                                                              Relative            Weighted
      Maturity                                                  Amount                                       Percent of           Average
                                                                          (1)
       Date                Coupon            Debt Rank        Outstanding                 Price              Debt Rank             Price
                                                                                                       (2)
      05/15/10             8.500%                 2nd Lien        $    743                 89.0                100.0%                 89.0
                                                                                                                                                                                                                             Doc 3698-36




                                                                                                       (2)
      05/15/15             9.625%                 3rd Lien        $ 2,120                  76.5                100.0%                 76.5

                                                                                                       (2)
      06/30/10             6.375%           Sr Unsecured          $    824                 74.5                 33.0%                 24.6
                                                                                                       (3)
      09/27/10             Floating         Sr Unsecured               490                 52.8                 19.7%                 10.4
                                                                                                       (2)
      02/22/11             6.000%           Sr Unsecured               208                 69.5                  8.4%                  5.8
                                                                                                       (3)
      05/17/12             5.125%           Sr Unsecured               141                 48.1                  5.7%                  2.7
                                                                                                       (2)
      06/01/12             6.500%           Sr Unsecured                80                 64.5                  3.2%                  2.1
                                                                                                       (2)
      04/17/13             6.500%           Sr Unsecured               473                 64.5                 19.0%                 12.2
                                                                                                                                                                                                              Pg 248 of 385




                                                                                                       (3)
      05/17/13             6.375%           Sr Unsecured                60                 40.3                  2.4%                  1.0
                                                                                                       (3)
      07/01/14             7.875%           Sr Unsecured               105                 30.6                  4.2%                  1.3
                                                                                                       (2)
      06/30/15             6.875%           Sr Unsecured              112                  64.5                 4.5%                   2.9
                                                                  $ 2,493                                      100.0%                 63.0



(1)
  The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Draft ResCap Executive Liquidity
Report, dated Sep. 28, 2009 [EXAM10056078].
(2)
      Pricing per Interactive Data Corporation.
(3)
      Pricing per Advantage Data Inc.
                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                             Appendix




                                                                                Appendix VI.B.4.a(4), Page 43 of 61
                                                                       Appendix VI.B.4.a(4), Page 44 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2009 Summary
($ in Millions, except bond prices)
                                                                                                                                                                                                12-12020-mg




                                                                                                                    Decimal
                                                                                       Face Value (1)                Price                Market Value
Secured borrowings:
                                                                                                                               (2)
  Borrowings from parent – short-term                                                        $ 343.5                 100.0                      $ 343.5
                                                                                                                               (2)
  Borrowings from parent – long-term                                                          1,545.3                100.0                      1,545.3
                                                                                                                               (3)
  Collateralized borrowings in securitization trusts                                              N/A                 N/A                            N/A
                                                                                                                               (4)
                                                                                                                                                                                                Doc 3698-36




  Senior secured notes – long-term                                                              756.2                 95.0                         718.4
                                                                                                                               (4)
  Junior secured notes – long-term                                                            2,564.8                 85.0                      2,180.1
                                                                                                                               (5)
  Secured aggregation facilities – short-term                                                   242.5                 95.0                         230.4
                                                                                                                               (5)
  Repurchase agreements – short-term                                                             25.7                 95.0                          24.4
                                                                                                                               (5)
  Mortgage servicing rights facilities – long-term                                              811.0                 95.0                         770.5
                                                                                                                               (5)
  Servicing advances – short-term                                                               700.0                 95.0                         665.0
                                                                                                                               (5)
  Other – long-term                                                                             221.9                95.0                          210.8
Subtotal secured borrowings                                                                  7,210.9                                             6,688.3
                                                                                                                                                                                 Pg 249 of 385




Unsecured borrowings:
                                                                                                                               (6)
  Senior unsecured notes – long-term                                                         2,547.3                  67.2                       1,711.7
                                                                                                                               (7)
  Medium-term unsecured notes – long-term                                                      137.6                  67.2                          92.5
                                                                                                                               (7)
  Other – short-term                                                                            13.5                  67.2                           9.1
Subtotal unsecured borrowings                                                                2,698.5                                             1,813.3

Total borrowings                                                                           $ 9,909.4                                          $ 8,501.6
                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




(1)
    Face value per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 38 [EXAM00124455].
(2)
    Fair value disclosure per id. at 70.
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Pricing per Interactive Data Corporation.
(5)
    Assumed pricing equals the pricing of the senior secured notes.
                                                                                                                                                                                                Appendix




(6)
    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
(7)
    Assumed pricing equals the pricing of the senior unsecured notes.


                                                                       Appendix VI.B.4.a(4), Page 44 of 61
                                                                                Appendix VI.B.4.a(4), Page 45 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2009 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                               12-12020-mg




                                                                                            [A]                    [B]           [C] = [A] × [B]

                                                                                                               Relative             Weighted
      Maturity                                                   Amount                                       Percent of            Average
                                                                           (1)
       Date             Coupon             Debt Rank           Outstanding                 Price              Debt Rank              Price
                                                                                                        (2)
      05/15/10           8.500%              2nd Lien              $   743                  95.0                100.0%                 95.0
                                                                                                                                                                                                                               Doc 3698-36




                                                                                                        (2)
      05/15/15           9.625%              3rd Lien              $ 2,120                  85.0                100.0%                 85.0

                                                                                                        (2)
      06/30/10           6.375%           Sr Unsecured             $   824                  85.0                 32.6%                 27.7
                                                                                                        (3)
      09/27/10          Floating          Sr Unsecured                 514                  46.6                 20.3%                   9.5
                                                                                                        (2)
      02/22/11           6.000%           Sr Unsecured                 208                  80.0                  8.3%                   6.6
                                                                                                        (3)
      05/17/12           5.125%           Sr Unsecured                 148                  46.8                  5.9%                   2.7
                                                                                                        (2)
      06/01/12           6.500%           Sr Unsecured                   80                 70.0                  3.2%                   2.2
                                                                                                        (2)
      04/17/13           6.500%           Sr Unsecured                 473                  70.0                 18.7%                 13.1
                                                                                                                                                                                                                Pg 250 of 385




                                                                                                        (3)
      05/17/13           6.375%           Sr Unsecured                   61                 38.8                  2.4%                   0.9
                                                                                                        (3)
      07/01/14           7.875%           Sr Unsecured                 106                  30.6                  4.2%                   1.3
                                                                                                        (2)
      06/30/15           6.875%           Sr Unsecured                 112                  70.0                 4.4%                   3.1
                                                                   $ 2,526                                      100.0%                 67.2


(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Draft ResCap Executive Liquidity
Report, dated Dec. 28, 2009 [EXAM10056100].
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Advantage Data Inc.
                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                               Appendix




                                                                                Appendix VI.B.4.a(4), Page 45 of 61
                                                                       Appendix VI.B.4.a(4), Page 46 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2010 Summary
($ in Millions, except bond prices)
                                                                                                                                                                                                           12-12020-mg




                                                                                                                     Decimal
                                                                                        Face Value (1)                Price                Market Value
Secured borrowings:
                                                                                                                                (2)
  Borrowings from parent – short-term                                                          $ 48.4                 100.0                        $ 48.4
                                                                                                                                (2)
  Borrowings from parent – long-term                                                          1,411.8                 100.0                       1,411.8
                                                                                                                                (3)
  Collateralized borrowings in securitization trusts                                              N/A                  N/A                            N/A
                                                                                                                                (4)
                                                                                                                                                                                                           Doc 3698-36




  Senior secured notes – long-term                                                              747.6                  98.8                         738.3
                                                                                                                                (4)
  Junior secured notes – long-term                                                            2,540.9                  98.5                       2,502.8
                                                                                                                                (5)
  Secured aggregation facilities – short-term                                                    66.6                  98.8                          65.7
                                                                                                                                (5)
  Mortgage servicing rights facilities – long-term                                              796.0                  98.8                         786.1
                                                                                                                                (5)
  Servicing advances – short-term                                                               700.0                  98.8                         691.3
                                                                                                                                (5)
  Other – long-term                                                                             212.0                 98.8                          209.3
Subtotal secured borrowings                                                                   6,523.3                                             6,453.7

Unsecured borrowings:
                                                                                                                                                                                            Pg 251 of 385




                                                                                                                                (6)
  Senior unsecured notes – long-term                                                          2,488.3                  91.1                       2,265.6
                                                                                                                                (7)
  Medium-term unsecured notes – long-term                                                       145.0                  91.1                         132.0
                                                                                                                                (7)
  Other – short-term                                                                             13.4                  91.1                          12.2
Subtotal unsecured borrowings                                                                 2,646.7                                             2,409.8

Total borrowings                                                                           $ 9,170.0                                           $ 8,863.5


(1)
    Face value per Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2010 and 2009 (Unaudited) dated Mar. 31, 2010, at 21
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




[EXAM00122870].
(2)
    Fair value disclosure per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 70 [EXAM00124455].
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Pricing per Interactive Data Corporation.
(5)
    Assumed pricing equals the pricing of the senior secured notes.
(6)
                                                                                                                                                                                                           Appendix




    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
(7)
    Assumed pricing equals the pricing of the senior unsecured notes.


                                                                        Appendix VI.B.4.a(4), Page 46 of 61
                                                                               Appendix VI.B.4.a(4), Page 47 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2010 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                             12-12020-mg




                                                                                           [A]                    [B]           [C] = [A] × [B]

                                                                                                              Relative
      Maturity                                                  Amount                                       Percent of          Weighted
                                                                          (1)
       Date                Coupon            Debt Rank        Outstanding                 Price              Debt Rank          Average Price
                                                                                                       (2)
      05/15/10             8.500%                 2nd Lien        $    743                 98.8                100.0%                 98.8
                                                                                                                                                                                                                             Doc 3698-36




                                                                                                       (2)
      05/15/15             9.625%                 3rd Lien        $ 2,120                  98.5                100.0%                 98.5

                                                                                                       (2)
      06/30/10             6.375%           Sr Unsecured          $    824                 96.5                 33.6%                 32.5
                                                                                                       (3)
      09/27/10             Floating         Sr Unsecured               464                 91.6                 18.9%                 17.4
                                                                                                       (2)
      02/22/11             6.000%           Sr Unsecured               208                 95.8                  8.5%                   8.1
                                                                                                       (3)
      05/17/12             5.125%           Sr Unsecured               133                 87.1                  5.4%                   4.7
                                                                                                       (2)
      06/01/12             6.500%           Sr Unsecured                80                 96.8                  3.3%                   3.2
                                                                                                       (2)
      04/17/13             6.500%           Sr Unsecured               473                 96.8                 19.3%                 18.7
                                                                                                                                                                                                              Pg 252 of 385




                                                                                                       (3)
      05/17/13             6.375%           Sr Unsecured                56                 47.5                  2.3%                   1.1
                                                                                                       (3)
      07/01/14             7.875%           Sr Unsecured                98                 30.6                  4.0%                   1.2
                                                                                                       (2)
      06/30/15             6.875%           Sr Unsecured              112                  91.0                 4.6%                   4.2
                                                                  $ 2,449                                      100.0%                 91.1



(1)
  The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Draft ResCap Executive Liquidity
Report, dated Mar. 22, 2010 [EXAM10056125].
(2)
      Pricing per Interactive Data Corporation.
(3)
      Pricing per Advantage Data Inc.
                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                             Appendix




                                                                                Appendix VI.B.4.a(4), Page 47 of 61
                                                                           Appendix VI.B.4.a(4), Page 48 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2010 Summary
($ in Millions, except bond prices)


                                                                                                                     Decimal
                                                                                                                                                                                                                   12-12020-mg




                                                                                        Face Value (1)                Price                 Market Value
Secured borrowings:
                                                                                                                                (2)
  Borrowings from parent – short-term                                                        $ 305.0                  100.0                      $ 305.0
                                                                                                                                (2)
  Borrowings from parent – long-term                                                          1,059.3                 100.0                       1,059.3
                                                                                                                                (3)
  Collateralized borrowings in securitization trusts                                              N/A                  N/A                            N/A
                                                                                                                                (4)
  Other short-term borrowings                                                                   753.7                  98.5                         742.4
                                                                                                                                (5)
                                                                                                                                                                                                                   Doc 3698-36




  Other long-term borrowings                                                                  3,888.9                  98.5                       3,830.6
Subtotal secured borrowings                                                                   6,006.9                                             5,937.3

Unsecured borrowings:
                                                                                                                                (6)
  Other short-term borrowings                                                                    13.4                  89.8                          12.0
                                                                                                                                (7)
  Other long-term borrowings                                                                  1,746.5                  89.8                       1,568.0
Subtotal unsecured borrowings                                                                 1,759.9                                             1,580.0

Total borrowings                                                                            $ 7,766.8                                          $ 7,517.3
                                                                                                                                                                                                    Pg 253 of 385




(1)
    Face value per Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2010 and 2009 (Unaudited) dated June 30, 2010, at 21 [EXAM00122936].
(2)
    Fair value disclosure per Residential Capital, LLC, Consolidated Financial Statements for Years Ended December 31, 2009 and 2008, dated Dec. 31, 2009, at 70 [EXAM00124455].
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Assumed pricing equals the pricing of the secured other long-term borrowings.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Assumed pricing equals the pricing of the unsecured other long-term borrowings.
(7)
    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                   Appendix




                                                                           Appendix VI.B.4.a(4), Page 48 of 61
                                                                                Appendix VI.B.4.a(4), Page 49 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2010 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                 12-12020-mg




                                                                                            [A]                    [B]           [C] = [A] × [B]

                                                                                                               Relative
      Maturity                                                   Amount                                       Percent of          Weighted
                                                                           (1)
       Date             Coupon             Debt Rank           Outstanding                 Price              Debt Rank          Average Price
                                                                                                        (2)
      05/15/15           9.625%              3rd Lien              $ 2,120                  98.5                100.0%                  98.5
                                                                                                                                                                                                                                 Doc 3698-36




                                                                                                        (3)
      06/30/10           6.375%           Sr Unsecured            $       0                 99.6                  0.0%                   0.0
                                                                                                        (3)
      09/27/10          Floating          Sr Unsecured                 419                  96.6                 26.7%                  25.8
                                                                                                        (2)
      02/22/11           6.000%           Sr Unsecured                 208                  97.8                 13.3%                  13.0
                                                                                                        (3)
      05/17/12           5.125%           Sr Unsecured                 120                  83.4                  7.7%                   6.4
                                                                                                        (2)
      06/01/12           6.500%           Sr Unsecured                   80                 94.0                  5.1%                   4.8
                                                                                                        (2)
      04/17/13           6.500%           Sr Unsecured                 473                  94.0                 30.2%                  28.4
                                                                                                        (3)
      05/17/13           6.375%           Sr Unsecured                   56                 79.0                  3.5%                   2.8
                                                                                                        (3)
      07/01/14           7.875%           Sr Unsecured                   97                 30.6                  6.2%                   1.9
                                                                                                                                                                                                                  Pg 254 of 385




                                                                                                        (2)
      06/30/15           6.875%           Sr Unsecured                 112                  92.0                 7.2%                    6.6
                                                                   $ 1,566                                      100.0%                  89.8



(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated July 5, 2010 [ALLY_PEO_0084328].
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Advantage Data Inc.
                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                 Appendix




                                                                                Appendix VI.B.4.a(4), Page 49 of 61
                                                                       Appendix VI.B.4.a(4), Page 50 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2010 Summary
($ in Millions, except bond prices)


                                                                                                                     Decimal
                                                                                                                                                                                                           12-12020-mg




                                                                                        Face Value (1)                Price                Market Value
Secured borrowings:
                                                                                                                                (2)
      Borrowings from parent – short-term                                                    $ 332.0                  100.0                      $ 332.0
                                                                                                                                (2)
      Borrowings from parent – long-term                                                        986.8                 100.0                         986.8
                                                                                                                                (3)
      Collateralized borrowings in securitization trusts                                          N/A                  N/A                            N/A
                                                                                                                                (4)
                                                                                                                                                                                                           Doc 3698-36




      Other short-term borrowings                                                             1,139.6                 100.8                       1,148.2
                                                                                                                                (5)
      Other long-term borrowings                                                              3,190.9                 100.8                       3,214.8
Subtotal secured borrowings                                                                   5,649.3                                             5,681.8

Unsecured borrowings:
                                                                                                                                (6)
      Other short-term borrowings                                                                13.4                  93.2                          12.4
                                                                                                                                (7)
      Other long-term borrowings                                                              1,350.8                  93.2                       1,258.3
Subtotal unsecured borrowings                                                                 1,364.2                                             1,270.7
                                                                                                                                                                                            Pg 255 of 385




Total borrowings                                                                           $ 7,013.5                                           $ 6,952.5


(1)
    Face value per Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2010 and 2009 (Unaudited) dated Sep. 30, 2010, at 16
[EXAM00122999].
(2)
    Fair value disclosure per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Dec. 31, 2009, at 70 [EXAM00124455].
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Assumed pricing equals the pricing of the secured other long-term borrowings.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Assumed pricing equals the pricing of the unsecured other long-term borrowings.
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




(7)
    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
                                                                                                                                                                                                           Appendix




                                                                        Appendix VI.B.4.a(4), Page 50 of 61
                                                                                Appendix VI.B.4.a(4), Page 51 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2010 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                 12-12020-mg




                                                                                            [A]                    [B]           [C] = [A] × [B]

                                                                                                               Relative
      Maturity                                                   Amount                                       Percent of          Weighted
                                                                           (1)
       Date             Coupon             Debt Rank           Outstanding                 Price              Debt Rank          Average Price
                                                                                                        (2)
      05/15/15           9.625%              3rd Lien              $ 2,120                100.8                 100.0%                100.8
                                                                                                                                                                                                                                 Doc 3698-36




                                                                                                        (2)
      02/22/11           6.000%           Sr Unsecured             $   208                100.0                  18.0%                  18.0
                                                                                                        (3)
      05/17/12           5.125%           Sr Unsecured                 125                  93.9                 10.8%                  10.2
                                                                                                        (2)
      06/01/12           6.500%           Sr Unsecured                   80               100.0                   6.9%                   6.9
                                                                                                        (2)
      04/17/13           6.500%           Sr Unsecured                 473                100.0                  41.0%                  41.0
                                                                                                        (3)
      05/17/13           6.375%           Sr Unsecured                   57                 93.6                  4.9%                   4.6
                                                                                                        (3)
      07/01/14           7.875%           Sr Unsecured                   99                 30.6                  8.6%                   2.6
                                                                                                        (2)
      06/30/15           6.875%           Sr Unsecured                 112                101.0                  9.7%                    9.8
                                                                   $ 1,155                                      100.0%                  93.2
                                                                                                                                                                                                                  Pg 256 of 385




(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated Sep. 13, 2010 [ALLY_0383598].
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Advantage Data Inc.
                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                 Appendix




                                                                                Appendix VI.B.4.a(4), Page 51 of 61
                                                                       Appendix VI.B.4.a(4), Page 52 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2010 Summary
($ in Millions, except bond prices)
                                                                                                                                                                                                           12-12020-mg




                                                                                                                     Decimal
                                                                                        Face Value (1)                Price                Market Value
Secured borrowings:
                                                                                                                                (2)
      Borrowings from parent – short-term                                                    $ 681.0                  100.0                      $ 681.0
                                                                                                                                (2)
      Borrowings from parent – long-term                                                        845.8                 100.0                         845.8
                                                                                                                                (3)
      Collateralized borrowings in securitization trusts                                          N/A                  N/A                            N/A
                                                                                                                                (4)
                                                                                                                                                                                                           Doc 3698-36




      Other short-term borrowings                                                               955.8                 101.0                         965.4
                                                                                                                                (5)
      Other long-term borrowings                                                              3,153.1                 101.0                       3,184.6
Subtotal secured borrowings                                                                   5,635.7                                             5,676.8

Unsecured borrowings:
                                                                                                                                (6)
      Other short-term borrowings                                                                13.4                  98.9                          13.2
                                                                                                                                (7)
      Other long-term borrowings                                                              1,342.2                  98.9                       1,326.9
Subtotal unsecured borrowings                                                                 1,355.5                                             1,340.1
                                                                                                                                                                                            Pg 257 of 385




Total borrowings                                                                           $ 6,991.2                                           $ 7,016.9


(1)
    Face value per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Dec. 31, 2010, at 38 [EXAM00123128].
(2)
    Fair value disclosure per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Dec. 31, 2010, at 57 [EXAM00123128].
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Assumed pricing equals the pricing of the secured other long-term borrowings.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Assumed pricing equals the pricing of the unsecured other long-term borrowings.
(7)
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
                                                                                                                                                                                                           Appendix




                                                                        Appendix VI.B.4.a(4), Page 52 of 61
                                                                                Appendix VI.B.4.a(4), Page 53 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2010 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                 12-12020-mg




                                                                                            [A]                    [B]           [C] = [A] × [B]

                                                                                                               Relative
      Maturity                                                   Amount                                       Percent of          Weighted
                                                                           (1)
       Date             Coupon             Debt Rank           Outstanding                 Price              Debt Rank          Average Price
                                                                                                        (2)
      05/15/15           9.625%              3rd Lien              $ 2,120                101.0                  100.0%               101.0
                                                                                                                                                                                                                                 Doc 3698-36




                                                                                                        (2)
      02/22/11           6.000%           Sr Unsecured             $   208                  99.5                 19.7%                  19.6
                                                                                                        (3)
      05/17/12           5.125%           Sr Unsecured                  125                 97.8                 11.8%                  11.6
                                                                                                        (2)
      06/01/12           6.500%           Sr Unsecured                   80               101.0                   7.6%                   7.6
                                                                                                        (2)
      04/17/13           6.500%           Sr Unsecured                  473                 99.0                 44.8%                  44.4
                                                                                                        (2)
      05/17/13           6.375%           Sr Unsecured                   57                 96.0                  5.4%                   5.2
      07/01/14           7.875%           Sr Unsecured                   99                  N/A                  N/A                    N/A
                                                                                                        (2)
      06/30/15           6.875%           Sr Unsecured                 112                  98.3                 10.6%                  10.4
                                                                   $ 1,155                                       100.0%                 98.9
                                                                                                                                                                                                                  Pg 258 of 385




(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated Jan. 17, 2011 [ALLY_0193518].
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Advantage Data Inc.
                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                 Appendix




                                                                                Appendix VI.B.4.a(4), Page 53 of 61
                                                                       Appendix VI.B.4.a(4), Page 54 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2011 Summary
($ in Millions, except bond prices)
                                                                                                                                                                                                           12-12020-mg




                                                                                                                     Decimal
                                                                                        Face Value (1)                Price                Market Value
Secured borrowings:
                                                                                                                                (2)
      Borrowings from parent – short-term                                                    $ 547.0                  100.0                      $ 547.0
                                                                                                                                (2)
      Borrowings from parent – long-term                                                        792.6                 100.0                         792.6
                                                                                                                                (3)
      Collateralized borrowings in securitization trusts                                          N/A                  N/A                            N/A
                                                                                                                                (4)
                                                                                                                                                                                                           Doc 3698-36




      Other short-term borrowings                                                               787.4                 100.9                         794.3
                                                                                                                                (5)
      Other long-term borrowings                                                              3,331.1                 100.9                       3,360.2
Subtotal secured borrowings                                                                   5,458.1                                             5,494.1


Unsecured borrowings:
                                                                                                                                (6)
      Other short-term borrowings                                                                13.4                 100.8                          13.5
                                                                                                                                (7)
      Other long-term borrowings                                                              1,147.1                 100.8                       1,156.3
Subtotal unsecured borrowings                                                                 1,160.5                                             1,169.8
                                                                                                                                                                                            Pg 259 of 385




Total borrowings                                                                           $ 6,618.6                                           $ 6,663.9


(1)
    Face value per Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2011 and 2010 (Unaudited) dated Mar. 31, 2011, at 21
[EXAM00122339].
(2)
    Fair value disclosure per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Dec. 31, 2010, at 57 [EXAM00123128].
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Assumed pricing equals the pricing of the secured other long-term borrowings.
(5)
    Pricing per Interactive Data Corporation.
(6)
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




    Assumed pricing equals the pricing of the unsecured other long-term borrowings.
(7)
    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
                                                                                                                                                                                                           Appendix




                                                                        Appendix VI.B.4.a(4), Page 54 of 61
                                                                                Appendix VI.B.4.a(4), Page 55 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
March 31, 2011 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                               12-12020-mg




                                                                                            [A]                    [B]           [C] = [A] × [B]

                                                                                                               Relative             Weighted
      Maturity                                                   Amount                                       Percent of            Average
                                                                           (1)
       Date             Coupon             Debt Rank           Outstanding                 Price              Debt Rank              Price
                                                                                                        (2)
      05/15/15           9.625%              3rd Lien              $ 2,120                100.9                 100.0%                100.9
                                                                                                                                                                                                                               Doc 3698-36




                                                                                                        (3)
      05/17/12           5.125%           Sr Unsecured             $   136                  94.6                 15.8%                 14.9
                                                                                                        (2)
      06/01/12           6.500%           Sr Unsecured                   80               102.0                   9.3%                   9.5
                                                                                                        (2)
      04/17/13           6.500%           Sr Unsecured                 473                103.3                  55.0%                 56.8
                                                                                                        (3)
      05/17/13           6.375%           Sr Unsecured                   59                 93.4                  6.9%                   6.4
      07/01/14           7.875%           Sr Unsecured                 103                   N/A                  N/A                   N/A
                                                                                                        (2)
      06/30/15           6.875%           Sr Unsecured                 112                101.0                 13.0%                  13.2
                                                                   $   964                                      100.0%                100.8
                                                                                                                                                                                                                Pg 260 of 385




(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Draft ResCap Executive Liquidity
Report, dated Mar. 21, 2011 [ALLY_0193580].
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Advantage Data Inc.
                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                               Appendix




                                                                                Appendix VI.B.4.a(4), Page 55 of 61
                                                                       Appendix VI.B.4.a(4), Page 56 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2011 Summary
($ in Millions, except bond prices)
                                                                                                                                                                                                           12-12020-mg




                                                                                                                     Decimal
                                                                                        Face Value (1)                Price                Market Value
Secured borrowings:
                                                                                                                                (2)
      Borrowings from parent – short-term                                                    $ 487.0                  100.0                      $ 487.0
                                                                                                                                (2)
      Borrowings from parent – long-term                                                        774.2                 100.0                         774.2
                                                                                                                                (3)
      Collateralized borrowings in securitization trusts                                          N/A                  N/A                            N/A
                                                                                                                                (4)
                                                                                                                                                                                                           Doc 3698-36




      Other short-term borrowings                                                               668.6                  99.3                         663.6
                                                                                                                                (5)
      Other long-term borrowings                                                              3,305.8                  99.3                       3,281.0
Subtotal secured borrowings                                                                   5,235.6                                             5,205.8


Unsecured borrowings:
                                                                                                                                (6)
      Other short-term borrowings                                                                13.4                  99.3                          13.3
                                                                                                                                (7)
      Other long-term borrowings                                                              1,148.3                  99.3                       1,140.2
Subtotal unsecured borrowings                                                                 1,161.7                                             1,153.5
                                                                                                                                                                                            Pg 261 of 385




Total borrowings                                                                           $ 6,397.3                                           $ 6,359.3



(1)
  Face value per Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2011 and 2010 (Unaudited) dated June 30, 2011, at 22
[EXAM00122389].
(2)
    Fair value disclosure per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Dec. 31, 2010, at 57 [EXAM00123128].
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Assumed pricing equals the pricing of the secured other long-term borrowings.
(5)
    Pricing per Interactive Data Corporation.
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




(6)
    Assumed pricing equals the pricing of the unsecured other long-term borrowings.
(7)
    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
                                                                                                                                                                                                           Appendix




                                                                        Appendix VI.B.4.a(4), Page 56 of 61
                                                                                Appendix VI.B.4.a(4), Page 57 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
June 30, 2011 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                 12-12020-mg




                                                                                            [A]                    [B]           [C] = [A] × [B]

                                                                                                               Relative
      Maturity                                                   Amount                                       Percent of          Weighted
                                                                           (1)
       Date             Coupon             Debt Rank           Outstanding                 Price              Debt Rank          Average Price
                                                                                                        (2)
      05/15/15           9.625%              3rd Lien              $ 2,120                  99.3                 100.0%                 99.3
                                                                                                                                                                                                                                 Doc 3698-36




                                                                                                        (2)
      05/17/12           5.125%           Sr Unsecured             $   141                  96.0                 16.2%                  15.6
                                                                                                        (2)
      06/01/12           6.500%           Sr Unsecured                   80                 99.9                  9.2%                   9.2
                                                                                                        (2)
      04/17/13           6.500%           Sr Unsecured                  473               100.8                  54.6%                  55.0
                                                                                                        (3)
      05/17/13           6.375%           Sr Unsecured                   61                 95.6                  7.0%                   6.7
      07/01/14           7.875%           Sr Unsecured                  106                   NA                  N/A                    N/A
                                                                                                        (2)
      06/30/15           6.875%           Sr Unsecured                 112                  98.9                 12.9%                  12.8
                                                                   $   973                                       100.0%                 99.3
                                                                                                                                                                                                                  Pg 262 of 385




(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated June 20, 2011 [ALLY_0193670].
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Advantage Data Inc.
                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                 Appendix




                                                                                Appendix VI.B.4.a(4), Page 57 of 61
                                                                       Appendix VI.B.4.a(4), Page 58 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2011 Summary
($ in Millions, except bond prices)
                                                                                                                                                                                                           12-12020-mg




                                                                                                                     Decimal
                                                                                        Face Value (1)                Price                Market Value
Secured borrowings:
                                                                                                                                (2)
      Borrowings from parent – short-term                                                    $ 417.0                  100.0                      $ 417.0
                                                                                                                                (2)
      Borrowings from parent – long-term                                                        766.1                 100.0                         766.1
                                                                                                                                (3)
      Collateralized borrowings in securitization trusts                                          N/A                  N/A                            N/A
                                                                                                                                (4)
                                                                                                                                                                                                           Doc 3698-36




      Other short-term borrowings                                                               509.0                  77.5                         394.5
                                                                                                                                (5)
      Other long-term borrowings                                                              3,285.1                  77.5                       2,545.9
Subtotal secured borrowings                                                                   4,977.2                                             4,123.5

Unsecured borrowings:
                                                                                                                                (6)
      Other long-term borrowings                                                              1,111.5                  88.9                         988.5
Subtotal unsecured borrowings                                                                 1,111.5                                               988.5
                                                                                                                                                                                            Pg 263 of 385




Total borrowings                                                                           $ 6,088.7                                           $ 5,111.9



(1)
  Face value per Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2011 and 2010 (Unaudited) dated Sep. 30, 2011, at 24
[EXAM00122480].
(2)
    Fair value disclosure per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Dec. 31, 2010, at 57 [EXAM00123128].
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Assumed pricing equals the pricing of the secured other long-term borrowings.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                           Appendix




                                                                        Appendix VI.B.4.a(4), Page 58 of 61
                                                                                 Appendix VI.B.4.a(4), Page 59 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
September 30, 2011 Pricing
($ in Millions, except bond prices)



Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                      12-12020-mg




                                                                                             [A]                    [B]           [C] = [A] × [B]

                                                                                                                Relative
      Maturity                                                   Amount                                        Percent of          Weighted
                                                                           (1)
       Date             Coupon              Debt Rank          Outstanding                  Price              Debt Rank          Average Price
                                                                                                        (2)
      05/15/15           9.625%              3rd Lien              $ 2,120                  77.5                 100.0%                 77.5
                                                                                                                                                                                                                                      Doc 3698-36




                                                                                                        (2)
      05/17/12           5.125%           Sr Unsecured             $    142                 85.0                  16.4%                 13.9
                                                                                                        (3)
      06/01/12           6.500%           Sr Unsecured                   80                 98.3                   9.2%                   9.0
                                                                                                        (3)
      04/17/13           6.500%           Sr Unsecured                  473                 89.6                  54.6%                 48.9
                                                                                                        (3)
      05/17/13           6.375%           Sr Unsecured                   60                 94.0                   6.9%                   6.5
      07/01/14           7.875%           Sr Unsecured                  105                  N/A                   N/A                   N/A
                                                                                                        (3)
      06/30/15           6.875%           Sr Unsecured                  112                 81.6                 12.9%                  10.6
                                                                   $    972                                      100.0%                 88.9
                                                                                                                                                                                                                       Pg 264 of 385




(1)
    The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: Draft Executive Liquidity Report, dated
Sep. 12, 2011 [ALLY_0194061].
(2)
    Pricing per Interactive Data Corporation.
(3)
    Pricing per Advantage Data Inc.
                                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                      Appendix




                                                                                 Appendix VI.B.4.a(4), Page 59 of 61
                                                                       Appendix VI.B.4.a(4), Page 60 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2011 Summary
($ in Millions, except bond prices)


                                                                                                                     Decimal
                                                                                                                                                                                                           12-12020-mg




                                                                                        Face Value (1)                Price                Market Value
Secured borrowings:
                                                                                                                                (2)
      Borrowings from parent – short-term                                                    $ 183.6                  100.0                      $ 183.6
                                                                                                                                (2)
      Borrowings from parent – long-term                                                        755.8                 100.0                         755.8
                                                                                                                                (2)
      Borrowings from affiliates – short-term                                                   250.0                 100.0                         250.0
                                                                                                                                (3)
                                                                                                                                                                                                           Doc 3698-36




      Collateralized borrowings in securitization trusts                                          N/A                  N/A                            N/A
                                                                                                                                (4)
      Other short-term borrowings                                                               323.0                  70.0                         226.1
                                                                                                                                (5)
      Other long-term borrowings                                                              3,285.6                  70.0                       2,299.9
Subtotal secured borrowings                                                                   4,798.0                                             3,715.4

Unsecured borrowings:
                                                                                                                                (6)
      Other long-term borrowings                                                              1,096.8                  60.0                         658.4
Subtotal unsecured borrowings                                                                 1,096.8                                               658.4
                                                                                                                                                                                            Pg 265 of 385




Total borrowings                                                                           $ 5,894.8                                           $ 4,373.8


(1)
    Face value per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Dec. 31, 2011, at 37 [EXAM00122651].
(2)
    Fair value disclosure per Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Dec. 31, 2011, at 57 [EXAM00122651].
(3)
    Debt related to assets not controlled by ResCap.
(4)
    Assumed pricing equals the pricing of the secured other long-term borrowings.
(5)
    Pricing per Interactive Data Corporation.
(6)
    Weighted average pricing for unsecured notes per Interactive Data Corporation and Advantage Data Inc.
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                           Appendix




                                                                        Appendix VI.B.4.a(4), Page 60 of 61
                                                                                Appendix VI.B.4.a(4), Page 61 of 61


Residential Capital, LLC – Quarterly Solvency Analysis
Market Approach: Fair Market Value of Debt
December 31, 2011 Pricing
($ in Millions, except bond prices)


Residential Capital, LLC Bond Pricing
                                                                                                                                                                                                                                12-12020-mg




                                                                                            [A]                   [B]            [C] = [A] × [B]

                                                                                                               Relative
      Maturity                                                   Amount                                       Percent of          Weighted
                                                                           (1)
       Date                Coupon            Debt Rank         Outstanding                Price               Debt Rank          Average Price
                                                                                                       (2)
      05/15/15             9.625%                 3rd Lien        $ 2,120                  70.0                 100.0%                 70.0
                                                                                                                                                                                                                                Doc 3698-36




                                                                                                       (2)
      05/17/12             5.125%           Sr Unsecured          $    131                 50.0                 15.4%                   7.7
                                                                                                       (3)
      06/01/12             6.500%           Sr Unsecured                80                 69.6                  9.3%                   6.5
                                                                                                       (3)
      04/17/13             6.500%           Sr Unsecured               473                 60.3                 55.4%                  33.4
                                                                                                       (2)
      05/17/13             6.375%           Sr Unsecured                57                 50.0                  6.7%                   3.4
      07/01/14             7.875%           Sr Unsecured               100                  N/A                   N/A                   N/A
                                                                                                       (3)
      06/30/15             6.875%           Sr Unsecured               112                 69.1                 13.1%                   9.1
                                                                  $    955                                      100.0%                 60.0
                                                                                                                                                                                                                 Pg 266 of 385




(1)
   The Examiner's Financial Advisors recognize that the amount outstanding may differ slightly from the face value due to the timing and availability of data. Source: ResCap Executive Liquidity Report,
dated Dec. 12, 2011 [ALLY_0194152].
(2)
      Pricing per Interactive Data Corporation.
(3)
      Pricing per Advantage Data Inc.
                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                Appendix




                                                                                Appendix VI.B.4.a(4), Page 61 of 61
                                                                           Appendix VI.B.4.b, Page 1 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
Summary of ResCap Fair Market Value Surplus/(Deficit)
2005 – 2011
($ in Millions)

                                                 Fair Market Value Surplus / (Deficit)
                                                                                                                                  12-12020-mg




                                         (1)
                                   High                       Low (1)                    Concluded Value
12/31/05                            $ 7,464.0                  $ 7,464.0                      $ 7,464.0
03/31/06                              7,763.5                     7,763.5                       7,763.5
06/30/06                              8,404.3                     8,404.3                       8,404.3
09/30/06                              8,375.9                     8,375.9                       8,375.9
12/31/06                              7,622.1                     7,622.1                       7,622.1
                                                                                                                                  Doc 3698-36




03/31/07                              7,173.9                     7,173.9                       7,173.9
06/30/07                              7,507.4                     7,507.4                       7,507.4
09/30/07                              3,932.6                    (1,385.0)                      1,273.8
12/31/07                              2,854.6                    (2,631.1)                        111.8
03/31/08                                793.4                    (4,783.1)                     (1,994.9)
06/30/08                             (1,180.6)                   (6,303.6)                     (3,742.1)
09/30/08                             (2,371.7)                   (7,286.0)                     (4,828.8)
12/31/08                             (2,110.3)                   (6,684.2)                     (4,397.3)
                                                                                                                   Pg 267 of 385




03/31/09                               (226.9)                   (1,978.2)                     (1,102.5)
06/30/09                               (350.2)                   (1,979.2)                     (1,164.7)
09/30/09                               (866.8)                   (2,260.5)                     (1,563.6)
12/31/09                               (183.9)                   (1,191.5)                       (687.7)
03/31/10                               (592.2)                   (2,663.9)                     (1,628.0)
06/30/10                               (498.2)                   (2,736.8)                     (1,617.5)
09/30/10                             (1,403.6)                   (3,685.1)                     (2,544.3)
12/31/10                             (1,385.5)                   (3,529.9)                     (2,457.7)
03/31/11                             (1,243.6)                   (3,277.2)                     (2,260.4)
06/30/11                             (2,539.0)                   (4,635.9)                     (3,587.5)
                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




09/30/11                             (3,361.3)                   (5,783.2)                     (4,572.3)
12/31/11                             (3,386.0)                   (5,610.3)                     (4,498.1)


(1)
      See Appendix VI.B.4.b, at 5 –29.
                                                                                                                                  Appendix




                                                                            Appendix VI.B.4.b, Page 1 of 46
                                                                           Appendix VI.B.4.b, Page 2 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
ResCap Asset Value Adjustments
2005 – 2011
($ in Millions)
                                                                                                                                 12-12020-mg




                                      Total Asset Value Adjustment % (1)
                                     High                          Low
12/31/05                             0.0%                          0.0%
03/31/06                             0.0%                          0.0%
06/30/06                             0.0%                          0.0%
09/30/06                             0.0%                          0.0%
                                                                                                                                 Doc 3698-36




12/31/06                             0.0%                          0.0%
03/31/07                             0.0%                          0.0%
06/30/07                             0.0%                          0.0%
09/30/07                             -5.5%                        -12.3%
12/31/07                             -6.1%                        -13.6%
03/31/08                             -8.0%                        -15.7%
06/30/08                             -9.7%                        -17.5%
09/30/08                            -10.2%                        -18.3%
12/31/08                            -10.8%                        -19.0%
                                                                                                                  Pg 268 of 385




03/31/09                            -13.0%                        -21.2%
06/30/09                            -12.1%                        -20.6%
09/30/09                            -11.6%                        -19.8%
12/31/09                             -3.9%                        -10.1%
03/31/10                             -3.8%                        -10.1%
06/30/10                             -5.1%                        -11.9%
09/30/10                             -5.0%                        -11.7%
12/31/10                             -4.4%                        -11.0%
03/31/11                             -4.0%                        -10.4%
                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




06/30/11                             -4.4%                        -11.0%
09/30/11                             -5.6%                        -12.8%
12/31/11                             -5.2%                        -12.1%
                                                                                                                                 Appendix




(1)
      See Appendix VI.B.4.b, at 5 –29.



                                                                           Appendix VI.B.4.b, Page 2 of 46
                                                                 Appendix VI.B.4.b, Page 3 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
ResCap Asset Value Summary – High
2005 – 2011
($ in Millions)

                            Book Value of
                                                                                                                                                          12-12020-mg




                          Total Assets net of      (High)
                            Collateralized       Net Market         Fair Market Value            Total          Fair Market Value
                            Borrowings (1)      Adjustment (1)          of Assets (1)         Liabilities (1)   Surplus / (Deficit)
12/31/05                     $ 62,787.3                $ 0.0            $ 62,787.3             ($55,323.3)           $ 7,464.0
03/31/06                        63,137.5                 0.0               63,137.5             (55,374.0)             7,763.5
06/30/06                        66,955.1                 0.0               66,955.1             (58,550.8)             8,404.3
                                                                                                                                                          Doc 3698-36




09/30/06                        75,394.0                 0.0               75,394.0             (67,018.1)             8,375.9
12/31/06                        82,287.3                 0.0               82,287.3             (74,665.2)             7,622.1
03/31/07                        77,212.1                 0.0               77,212.1             (70,038.2)             7,173.9
06/30/07                        76,723.7                 0.0               76,723.7             (69,216.3)             7,507.4
09/30/07                        78,329.7            (4,299.1)              74,030.6             (70,097.9)             3,932.6
12/31/07                        73,362.4            (4,493.0)              68,869.4             (66,014.8)             2,854.6
03/31/08                        72,863.1            (5,829.6)              67,033.5             (66,240.1)               793.4
06/30/08                        65,826.8            (6,371.1)              59,455.7             (60,636.3)            (1,180.6)
09/30/08                        61,048.7            (6,229.2)              54,819.5             (57,191.2)            (2,371.7)
                                                                                                                                           Pg 269 of 385




12/31/08                        55,952.3            (6,041.9)              49,910.4             (52,020.8)            (2,110.3)
03/31/09                        21,146.0            (2,740.2)              18,405.8             (18,632.7)              (226.9)
06/30/09                        19,299.8            (2,343.5)              16,956.3             (17,306.5)              (350.2)
09/30/09                        16,898.5            (1,954.8)              14,943.7             (15,810.5)              (866.8)
12/31/09                        16,249.8              (631.3)              15,618.6             (15,802.5)              (183.9)
03/31/10                        15,627.4              (599.8)              15,027.5             (15,619.7)              (592.2)
06/30/10                        16,567.7              (846.1)              15,721.6             (16,219.8)              (498.2)
09/30/10                        17,505.9              (876.9)              16,629.0             (18,032.6)            (1,403.6)
12/31/10                        15,817.7              (694.5)              15,123.2             (16,508.7)            (1,385.5)
03/31/11                        14,565.5              (582.3)              13,983.2             (15,226.9)            (1,243.6)
                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




06/30/11                        14,986.2              (654.9)              14,331.3             (16,870.3)            (2,539.0)
09/30/11                        18,322.3            (1,032.1)              17,290.2             (20,651.5)            (3,361.3)
12/31/11                        16,011.8              (826.9)              15,184.8             (18,570.8)            (3,386.0)
                                                                                                                                                          Appendix




(1)
      See Appendix VI.B.4.b, at 5 –29.




                                                                 Appendix VI.B.4.b, Page 3 of 46
                                                                 Appendix VI.B.4.b, Page 4 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
ResCap Asset Value Summary – Low
2005 – 2011
($ in Millions)

                            Book Value of
                                                                                                                                                          12-12020-mg




                          Total Assets net of      (Low)
                            Collateralized       Net Market         Fair Market Value            Total          Fair Market Value
                            Borrowings(1)       Adjustment (1)          of Assets (1)         Liabilities (1)   Surplus / (Deficit)
12/31/05                     $ 62,787.3                $ 0.0            $ 62,787.3             ($55,323.3)           $ 7,464.0
03/31/06                        63,137.5                 0.0               63,137.5             (55,374.0)             7,763.5
06/30/06                        66,955.1                 0.0               66,955.1             (58,550.8)             8,404.3
                                                                                                                                                          Doc 3698-36




09/30/06                        75,394.0                 0.0               75,394.0             (67,018.1)             8,375.9
12/31/06                        82,287.3                 0.0               82,287.3             (74,665.2)             7,622.1
03/31/07                        77,212.1                 0.0               77,212.1             (70,038.2)             7,173.9
06/30/07                        76,723.7                 0.0               76,723.7             (69,216.3)             7,507.4
09/30/07                        78,329.7            (9,616.7)              68,713.0             (70,097.9)            (1,385.0)
12/31/07                        73,362.4            (9,978.7)              63,383.7             (66,014.8)            (2,631.1)
03/31/08                        72,863.1          (11,406.1)               61,457.0             (66,240.1)            (4,783.1)
06/30/08                        65,826.8          (11,494.1)               54,332.7             (60,636.3)            (6,303.6)
09/30/08                        61,048.7          (11,143.5)               49,905.2             (57,191.2)            (7,286.0)
                                                                                                                                           Pg 270 of 385




12/31/08                        55,952.3          (10,615.8)               45,336.5             (52,020.8)            (6,684.2)
03/31/09                        21,146.0            (4,491.5)              16,654.5             (18,632.7)            (1,978.2)
06/30/09                        19,299.8            (3,972.4)              15,327.4             (17,306.5)            (1,979.2)
09/30/09                        16,898.5            (3,348.5)              13,550.0             (15,810.5)            (2,260.5)
12/31/09                        16,249.8            (1,638.9)              14,610.9             (15,802.5)            (1,191.5)
03/31/10                        15,627.4            (1,571.6)              14,055.8             (16,719.7)            (2,663.9)
06/30/10                        16,567.7            (1,974.7)              14,592.9             (17,329.8)            (2,736.8)
09/30/10                        17,505.9            (2,048.4)              15,457.5             (19,142.6)            (3,685.1)
12/31/10                        15,817.7            (1,738.9)              14,078.8             (17,608.7)            (3,529.9)
03/31/11                        14,565.5            (1,515.9)              13,049.6             (16,326.9)            (3,277.2)
                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




06/30/11                        14,986.2            (1,641.8)              13,344.4             (17,980.3)            (4,635.9)
09/30/11                        18,322.3            (2,344.1)              15,978.2             (21,761.5)            (5,783.2)
12/31/11                        16,011.8            (1,941.3)              14,070.5             (19,680.8)            (5,610.3)
                                                                                                                                                          Appendix




(1)
      See Appendix VI.B.4.b, at 5 –29.




                                                                 Appendix VI.B.4.b, Page 4 of 46
                                                                                                  Appendix VI.B.4.b, Page 5 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
December 31, 2005
($ in Millions)



                                                                                                      Collateralized                          Assets Less                         Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                      Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High         Low                      High              Low
 Cash and cash equivalents                                                      $ 2,267                          $ 0                              $ 2,267                       0%           0%                     $ 2,267           $ 2,267
 Mortgage loans held for sale                                                    19,522                            0                               19,522                       0%           0%                      19,522            19,522
 Trading securities                                                               3,896                            0                                3,896                       0%           0%                       3,896             3,896
 Available for sale securities                                                    1,069                            0                                1,069                       0%           0%                       1,069             1,069
                                      (3)
 Mortgage loans held for investment                                              67,893                       56,098                               11,795                       0%           0%                      11,795            11,795
                                                                                                                                                                                                                                                                          Doc 3698-36




                      (3)
 Lending receivables                                                             13,401                            0                               13,401                       0%           0%                      13,401            13,401
 Mortgage servicing rights                                                        4,015                            0                                4,015                       0%           0%                       4,015             4,015
 Accounts receivable                                                              1,951                            0                                1,951                       0%           0%                       1,951             1,951
 Investments in real estate and other                                             1,855                            0                                1,855                       0%           0%                       1,855             1,855
 Goodwill                                                                           460                            0                                  460                       0%           0%                         460               460
 Other assets                                                                     2,557                            0                                2,557                       0%           0%                       2,557             2,557
Total assets                                                                  $ 118,885                    $ 56,098                              $ 62,787                       0%           0%                    $ 62,787         $ 62,787

                                                                                                                                                                                                         (1)
                                                                                                                                                                               Affiliate borrowings                  (5,177)                (5,177)
                                                                                                                                                                                                      (1)
                                                                                                                                                                                                                                                           Pg 271 of 385




                                                                                                                                                                                 Other borrowings                   (42,301)               (42,301)
                                                                                                                                                                                                      (1)
                                                                                                                                                                                           Deposits                  (4,123)                (4,123)
                                                                                                                                                                                                      (1)
                                                                                                                                                                                    Other liabilities                (3,722)                (3,722)
                                                                                                                                                                                                      (1)
                                                                                                                                                                                  Minority interest                       0                      0
                                                                                                                                                                                                      (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                     Surplus / (deficit)            $ 7,464                $ 7,464


(1)
    Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 94. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are net of allowances. No asset value adjustments were applied as of this date, thus the net amount was deemed to be an appropriate estimation of Fair Market Value.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                   Appendix VI.B.4.b, Page 5 of 46
                                                                                                  Appendix VI.B.4.b, Page 6 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
March 31, 2006
($ in Millions)



                                                                                                      Collateralized                          Assets Less                         Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                      Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High         Low                      High              Low
 Cash and cash equivalents                                                      $ 2,234                          $ 0                              $ 2,234                       0%           0%                     $ 2,234           $ 2,234
 Mortgage loans held for sale                                                    18,125                            0                               18,125                       0%           0%                      18,125            18,125
 Trading securities                                                               4,262                            0                                4,262                       0%           0%                       4,262             4,262
 Available for sale securities                                                      143                            0                                  143                       0%           0%                         143               143
                                      (3)
 Mortgage loans held for investment                                              72,673                       58,801                               13,872                       0%           0%                      13,872            13,872
                                                                                                                                                                                                                                                                          Doc 3698-36




                      (3)
 Lending receivables                                                             12,410                            0                               12,410                       0%           0%                      12,410            12,410
 Mortgage servicing rights                                                        4,526                            0                                4,526                       0%           0%                       4,526             4,526
 Accounts receivable                                                              1,929                            0                                1,929                       0%           0%                       1,929             1,929
 Investments in real estate and other                                             2,155                            0                                2,155                       0%           0%                       2,155             2,155
 Goodwill                                                                           459                            0                                  459                       0%           0%                         459               459
 Other assets                                                                     3,023                            0                                3,023                       0%           0%                       3,023             3,023
Total assets                                                                  $ 121,938                    $ 58,801                              $ 63,137                       0%           0%                    $ 63,137         $ 63,137

                                                                                                                                                                                                         (1)
                                                                                                                                                                               Affiliate borrowings                  (4,715)                (4,715)
                                                                                                                                                                                                      (1)
                                                                                                                                                                                                                                                           Pg 272 of 385




                                                                                                                                                                                 Other borrowings                   (41,270)               (41,270)
                                                                                                                                                                                                      (1)
                                                                                                                                                                                           Deposits                  (5,596)                (5,596)
                                                                                                                                                                                                      (1)
                                                                                                                                                                                    Other liabilities                (3,793)                (3,793)
                                                                                                                                                                                                      (1)
                                                                                                                                                                                  Minority interest                       0                      0
                                                                                                                                                                                                      (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                     Surplus / (deficit)            $ 7,763                $ 7,763


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 5, 2006), at 3. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are net of allowances. No asset value adjustments were applied as of this date, thus the net amount was deemed to be an appropriate estimation of Fair Market Value.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                   Appendix VI.B.4.b, Page 6 of 46
                                                                                                  Appendix VI.B.4.b, Page 7 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
June 30, 2006
($ in Millions)



                                                                                                      Collateralized                          Assets Less                         Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                      Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High         Low                      High              Low
 Cash and cash equivalents                                                      $ 1,886                          $ 0                              $ 1,886                       0%           0%                     $ 1,886           $ 1,886
 Mortgage loans held for sale                                                    20,439                            0                               20,439                       0%           0%                      20,439            20,439
 Trading securities                                                               4,246                            0                                4,246                       0%           0%                       4,246             4,246
 Available for sale securities                                                      163                            0                                  163                       0%           0%                         163               163
                                      (3)
 Mortgage loans held for investment                                              71,392                       57,597                               13,794                       0%           0%                      13,794            13,794
                                                                                                                                                                                                                                                                          Doc 3698-36




                      (3)
 Lending receivables                                                             14,069                            0                               14,069                       0%           0%                      14,069            14,069
 Mortgage servicing rights                                                        5,094                            0                                5,094                       0%           0%                       5,094             5,094
 Accounts receivable                                                              2,045                            0                                2,045                       0%           0%                       2,045             2,045
 Investments in real estate and other                                             2,128                            0                                2,128                       0%           0%                       2,128             2,128
 Goodwill                                                                           464                            0                                  464                       0%           0%                         464               464
 Other assets                                                                     2,628                            0                                2,628                       0%           0%                       2,628             2,628
Total assets                                                                  $ 124,552                    $ 57,597                              $ 66,955                       0%           0%                    $ 66,955         $ 66,955

                                                                                                                                                                                                         (1)
                                                                                                                                                                                       Borrowings                   (48,120)               (48,120)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                                                                                           Pg 273 of 385




                                                                                                                                                                                          Deposits                   (6,309)                (6,309)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                   Other liabilities                 (4,122)                (4,122)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                  Minority interest                       0                      0
                                                                                                                                                                                                     (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                   Surplus / (deficit)              $ 8,404                $ 8,404


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2006), at 3. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are net of allowances. No asset value adjustments were applied as of this date, thus the net amount was deemed to be an appropriate estimation of Fair Market Value.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                   Appendix VI.B.4.b, Page 7 of 46
                                                                                                  Appendix VI.B.4.b, Page 8 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
September 30, 2006
($ in Millions)



                                                                                                      Collateralized                          Assets Less                         Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                      Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High         Low                      High              Low
 Cash and cash equivalents                                                      $ 1,978                          $ 0                              $ 1,978                       0%           0%                     $ 1,978           $ 1,978
 Mortgage loans held for sale                                                    24,787                            0                               24,787                       0%           0%                      24,787            24,787
 Trading securities                                                               5,034                            0                                5,034                       0%           0%                       5,034             5,034
 Available for sale securities                                                      169                            0                                  169                       0%           0%                         169               169
                                      (3)
 Mortgage loans held for investment                                              73,070                       57,184                               15,886                       0%           0%                      15,886            15,886
                                                                                                                                                                                                                                                                          Doc 3698-36




                      (3)
 Lending receivables                                                             14,189                            0                               14,189                       0%           0%                      14,189            14,189
 Mortgage servicing rights                                                        4,828                            0                                4,828                       0%           0%                       4,828             4,828
 Accounts receivable                                                              2,317                            0                                2,317                       0%           0%                       2,317             2,317
 Investments in real estate and other                                             2,594                            0                                2,594                       0%           0%                       2,594             2,594
 Goodwill                                                                           466                            0                                  466                       0%           0%                         466               466
 Other assets                                                                     3,146                            0                                3,146                       0%           0%                       3,146             3,146
Total assets                                                                  $ 132,578                    $ 57,184                              $ 75,394                       0%           0%                    $ 75,394         $ 75,394

                                                                                                                                                                                                         (1)
                                                                                                                                                                                       Borrowings                   (55,474)               (55,474)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                                                                                           Pg 274 of 385




                                                                                                                                                                                          Deposits                   (6,258)                (6,258)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                   Other liabilities                 (5,286)                (5,286)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                  Minority interest                       0                      0
                                                                                                                                                                                                     (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                   Surplus / (deficit)              $ 8,376                $ 8,376


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 7, 2006), at 3. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are net of allowances. No asset value adjustments were applied as of this date, thus the net amount was deemed to be an appropriate estimation of Fair Market Value.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                   Appendix VI.B.4.b, Page 8 of 46
                                                                                                  Appendix VI.B.4.b, Page 9 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
December 31, 2006
($ in Millions)



                                                                                                      Collateralized                          Assets Less                         Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                      Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High         Low                      High              Low
 Cash and cash equivalents                                                      $ 2,019                          $ 0                              $ 2,019                       0%           0%                     $ 2,019           $ 2,019
 Mortgage loans held for sale                                                    27,007                            0                               27,007                       0%           0%                      27,007            27,007
 Trading securities                                                               4,562                            0                                4,562                       0%           0%                       4,562             4,562
 Available for sale securities                                                      229                            0                                  229                       0%           0%                         229               229
                                      (3)
 Mortgage loans held for investment                                              67,928                       53,300                               14,628                       0%           0%                      14,628            14,628
                                                                                                                                                                                                                                                                          Doc 3698-36




                      (3)
 Lending receivables                                                             14,530                            0                               14,530                       0%           0%                      14,530            14,530
 Mortgage servicing rights                                                        4,930                            0                                4,930                       0%           0%                       4,930             4,930
 Accounts receivable                                                              2,561                            0                                2,561                       0%           0%                       2,561             2,561
 Investments in real estate and other                                             2,622                            0                                2,622                       0%           0%                       2,622             2,622
 Goodwill                                                                           471                            0                                  471                       0%           0%                         471               471
 Other assets                                                                     8,726                            0                                8,726                       0%           0%                       8,726             8,726
Total assets                                                                  $ 135,587                    $ 53,300                              $ 82,287                       0%           0%                    $ 82,287         $ 82,287

                                                                                                                                                                                                         (1)
                                                                                                                                                                                       Borrowings                   (59,880)               (59,880)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                                                                                           Pg 275 of 385




                                                                                                                                                                                          Deposits                   (9,851)                (9,851)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                   Other liabilities                 (4,374)                (4,374)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                  Minority interest                    (560)                  (560)
                                                                                                                                                                                                     (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                   Surplus / (deficit)              $ 7,622                $ 7,622


(1)
    Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 100. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are net of allowances. No asset value adjustments were applied as of this date, thus the net amount was deemed to be an appropriate estimation of Fair Market Value.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                   Appendix VI.B.4.b, Page 9 of 46
                                                                                                 Appendix VI.B.4.b, Page 10 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
March 31, 2007
($ in Millions)



                                                                                                      Collateralized                          Assets Less                         Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                      Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High         Low                      High              Low
 Cash and cash equivalents                                                      $ 2,602                          $ 0                              $ 2,602                       0%           0%                     $ 2,602           $ 2,602
 Mortgage loans held for sale                                                    22,014                            0                               22,014                       0%           0%                      22,014            22,014
 Trading securities                                                               5,660                            0                                5,660                       0%           0%                       5,660             5,660
                                      (3)
 Mortgage loans held for investment                                              63,590                       48,790                               14,800                       0%           0%                      14,800            14,800
                      (3)
 Lending receivables                                                             12,423                            0                               12,423                       0%           0%                      12,423            12,423
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        5,108                            0                                5,108                       0%           0%                       5,108             5,108
 Accounts receivable                                                              2,747                            0                                2,747                       0%           0%                       2,747             2,747
 Investments in real estate and other                                             2,509                            0                                2,509                       0%           0%                       2,509             2,509
 Goodwill                                                                           472                            0                                  472                       0%           0%                         472               472
 Other assets                                                                     8,877                            0                                8,877                       0%           0%                       8,877             8,877
Total assets                                                                  $ 126,003                    $ 48,790                              $ 77,212                       0%           0%                    $ 77,212         $ 77,212

                                                                                                                                                                                                         (1)
                                                                                                                                                                                       Borrowings                   (55,323)               (55,323)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                          Deposits                   (9,366)                (9,366)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                                                                                           Pg 276 of 385




                                                                                                                                                                                   Other liabilities                 (4,713)                (4,713)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                  Minority interest                    (637)                  (637)
                                                                                                                                                                                                     (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                   Surplus / (deficit)              $ 7,174                $ 7,174


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2007), at 3. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are net of allowances. No asset value adjustments were applied as of this date, thus the net amount was deemed to be an appropriate estimation of Fair Market Value.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 10 of 46
                                                                                                 Appendix VI.B.4.b, Page 11 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
June 30, 2007
($ in Millions)



                                                                                                      Collateralized                          Assets Less                         Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                      Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High         Low                      High              Low
 Cash and cash equivalents                                                      $ 3,715                          $ 0                              $ 3,715                       0%           0%                     $ 3,715           $ 3,715
 Mortgage loans held for sale                                                    19,334                            0                               19,334                       0%           0%                      19,334            19,334
 Trading securities                                                               5,511                            0                                5,511                       0%           0%                       5,511             5,511
                                      (3)
 Mortgage loans held for investment                                              60,969                       45,122                               15,847                       0%           0%                      15,847            15,847
                      (3)
 Lending receivables                                                             10,810                            0                               10,810                       0%           0%                      10,810            10,810
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        6,041                            0                                6,041                       0%           0%                       6,041             6,041
 Accounts receivable                                                              2,524                            0                                2,524                       0%           0%                       2,524             2,524
 Investments in real estate and other                                             2,370                            0                                2,370                       0%           0%                       2,370             2,370
 Goodwill                                                                           474                            0                                  474                       0%           0%                         474               474
 Other assets                                                                    10,099                            0                               10,099                       0%           0%                      10,099            10,099
Total assets                                                                  $ 121,846                    $ 45,122                              $ 76,724                       0%           0%                    $ 76,724         $ 76,724

                                                                                                                                                                                                         (1)
                                                                                                                                                                                       Borrowings                   (52,987)               (52,987)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                          Deposits                  (10,653)               (10,653)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                                                                                           Pg 277 of 385




                                                                                                                                                                                   Other liabilities                 (4,806)                (4,806)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                  Minority interest                    (770)                  (770)
                                                                                                                                                                                                     (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                   Surplus / (deficit)              $ 7,507                $ 7,507


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2007), at 3. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are net of allowances. No asset value adjustments were applied as of this date, thus the net amount was deemed to be an appropriate estimation of Fair Market Value.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 11 of 46
                                                                                                 Appendix VI.B.4.b, Page 12 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
September 30, 2007
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                         Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                            of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                      $ 6,519                          $ 0                              $ 6,519                        0%           0%                    $ 6,519           $ 6,519
 Mortgage loans held for sale                                                    14,980                            0                               14,980                        0%           0%                     14,980            14,980
 Trading securities                                                               3,655                            0                                3,655                        0%           0%                      3,655             3,655
                                      (3)
 Mortgage loans held for investment                                              60,772                       38,224                               22,548                      -10%          -20%                    20,293            18,038
                      (3)
 Lending receivables                                                              8,762                            0                                8,762                       -5%          -15%                     8,324             7,448
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        5,547                            0                                5,547                        0%          -10%                     5,547             4,992
 Accounts receivable                                                              2,583                            0                                2,583                       -5%          -15%                     2,453             2,195
 Investments in real estate and other                                             2,069                            0                                2,069                      -15%          -25%                     1,759             1,552
 Goodwill                                                                               0                          0                                     0                       0%           0%                          0                 0
 Other assets                                                                    11,667                            0                               11,667                      -10%          -20%                    10,500             9,333
Total assets                                                                  $ 116,554                    $ 38,224                              $ 78,330                       -5%          -12%                  $ 74,031         $ 68,713

                                                                                                                                                                                                         (1)
                                                                                                                                                                                       Borrowings                   (49,657)               (49,657)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                          Deposits                  (14,488)               (14,488)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                                                                                           Pg 278 of 385




                                                                                                                                                                                   Other liabilities                 (4,794)                (4,794)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                  Minority interest                  (1,159)                (1,159)
                                                                                                                                                                                                     (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                   Surplus / (deficit)              $ 3,933                ($1,385)


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 3, 11 –12. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 12 of 46
                                                                                                 Appendix VI.B.4.b, Page 13 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
December 31, 2007
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                         Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                            of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                      $ 4,416                          $ 0                              $ 4,416                        0%           0%                    $ 4,416           $ 4,416
 Mortgage loans held for sale                                                    11,998                            0                               11,998                        0%           0%                     11,998            11,998
 Trading securities                                                               2,091                            0                                2,091                        0%           0%                      2,091             2,091
                                      (3)
 Mortgage loans held for investment                                              42,163                       16,146                               26,017                      -10%          -20%                    23,415            20,813
                      (3)
 Lending receivables                                                              8,892                            0                                8,892                       -5%          -15%                     8,447             7,558
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        4,703                            0                                4,703                        0%          -10%                     4,703             4,233
 Accounts receivable                                                              3,188                            0                                3,188                       -5%          -15%                     3,029             2,710
 Investments in real estate and other                                             1,630                            0                                1,630                      -15%          -25%                     1,385             1,222
 Goodwill                                                                               0                          0                                     0                       0%           0%                          0                 0
 Other assets                                                                    10,429                            0                               10,429                      -10%          -20%                     9,386             8,343
Total assets                                                                   $ 89,508                    $ 16,146                              $ 73,362                       -6%          -14%                  $ 68,869         $ 63,384

                                                                                                                                                                                                         (1)
                                                                                                                                                                                       Borrowings                   (46,184)               (46,184)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                          Deposits                  (13,350)               (13,350)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                                                                                           Pg 279 of 385




                                                                                                                                                                                   Other liabilities                 (5,141)                (5,141)
                                                                                                                                                                                                     (1)
                                                                                                                                                                                  Minority interest                  (1,340)                (1,340)
                                                                                                                                                                                                     (4)
                                                                                                                                                                                Contingent liability                      0                      0
                                                                                                                                                                                   Surplus / (deficit)              $ 2,855                ($2,631)


(1)
    Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 100, 119, 121. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 13 of 46
                                                                                                 Appendix VI.B.4.b, Page 14 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
March 31, 2008
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                         Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                            of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                      $ 4,155                          $ 0                              $ 4,155                        0%           0%                    $ 4,155           $ 4,155
 Mortgage loans held for sale                                                    11,798                            0                               11,798                        0%           0%                     11,798            11,798
 Trading securities                                                               1,145                            0                                1,145                        0%           0%                      1,145             1,145
                                      (3)
 Mortgage loans held for investment                                              34,486                        9,369                               25,117                      -15%          -25%                    21,350            18,838
                      (3)
 Lending receivables                                                              9,214                            0                                9,214                       -5%          -15%                     8,754             7,832
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        4,278                            0                                4,278                        0%          -10%                     4,278             3,850
 Accounts receivable                                                              3,512                            0                                3,512                       -5%          -15%                     3,336             2,985
 Investments in real estate and other                                             1,227                            0                                1,227                      -15%          -25%                     1,043               920
 Goodwill                                                                               0                          0                                     0                       0%           0%                          0                 0
 Other assets                                                                    12,417                            0                               12,417                      -10%          -20%                    11,176             9,934
Total assets                                                                   $ 82,232                     $ 9,369                              $ 72,863                       -8%          -16%                  $ 67,034         $ 61,457

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                        (655)                 (655)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                      (41,729)              (41,729)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 280 of 385




                                                                                                                                                                                        Deposits                     (15,950)              (15,950)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                    (6,493)               (6,493)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                Minority interest                     (1,414)               (1,414)
                                                                                                                                                                                                   (4)
                                                                                                                                                                              Contingent liability                         0                     0
                                                                                                                                                                                  Surplus / (deficit)                 $ 793                ($4,783)


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 7, 2008), at 3, 12 –13. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 14 of 46
                                                                                                 Appendix VI.B.4.b, Page 15 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
June 30, 2008
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                         Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                            of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                      $ 6,578                          $ 0                              $ 6,578                        0%           0%                    $ 6,578           $ 6,578
 Mortgage loans held for sale                                                     7,036                            0                                7,036                        0%           0%                      7,036             7,036
 Trading securities                                                                 983                            0                                  983                        0%           0%                        983               983
                                      (3)
 Mortgage loans held for investment                                              30,962                        7,900                               23,062                      -20%          -30%                    18,450            16,144
                      (3)
 Lending receivables                                                              8,555                            0                                8,555                       -5%          -15%                     8,127             7,271
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        5,417                            0                                5,417                        0%          -10%                     5,417             4,876
 Accounts receivable                                                              2,765                            0                                2,765                       -5%          -15%                     2,627             2,351
 Investments in real estate and other                                               991                            0                                  991                      -15%          -25%                       842               743
 Goodwill                                                                               0                          0                                     0                       0%           0%                          0                 0
 Other assets                                                                    10,440                            0                               10,440                      -10%          -20%                     9,396             8,352
Total assets                                                                   $ 73,727                     $ 7,900                              $ 65,827                      -10%          -17%                  $ 59,456         $ 54,333

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (4,700)               (4,700)
                                                                                                                                                                                                    (1)
                                                                                                                                                                             Affiliate borrowings                       (972)                 (972)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                                                                                           Pg 281 of 385




                                                                                                                                                                               Other borrowings                      (31,149)              (31,149)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                         Deposits                    (17,537)              (17,537)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                  Other liabilities                   (4,803)               (4,803)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                Minority interest                     (1,475)               (1,475)
                                                                                                                                                                                                    (4)
                                                                                                                                                                              Contingent liability                         0                     0
                                                                                                                                                                                   Surplus / (deficit)               ($1,181)              ($6,304)


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008), at 3, 13 –14. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 15 of 46
                                                                                                 Appendix VI.B.4.b, Page 16 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
September 30, 2008
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                         Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                            of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                      $ 6,885                          $ 0                              $ 6,885                        0%           0%                    $ 6,885           $ 6,885
 Mortgage loans held for sale                                                     4,153                            0                                4,153                        0%           0%                      4,153             4,153
 Trading securities                                                                 868                            0                                  868                        0%           0%                        868               868
                                      (3)
 Mortgage loans held for investment                                              29,818                        7,009                               22,809                      -20%          -30%                    18,247            15,966
                      (3)
 Lending receivables                                                              7,108                            0                                7,108                       -5%          -15%                     6,753             6,042
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        4,725                            0                                4,725                        0%          -10%                     4,725             4,252
 Accounts receivable                                                              3,446                            0                                3,446                       -5%          -15%                     3,273             2,929
 Investments in real estate and other                                               681                            0                                  681                      -15%          -25%                       579               511
 Goodwill                                                                               0                          0                                     0                       0%           0%                          0                 0
 Other assets                                                                    10,374                            0                               10,374                      -10%          -20%                     9,337             8,300
Total assets                                                                   $ 68,057                     $ 7,009                              $ 61,049                      -10%          -18%                  $ 54,820         $ 49,905

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (3,271)               (3,271)
                                                                                                                                                                                                    (1)
                                                                                                                                                                             Affiliate borrowings                       (875)                 (875)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                                                                                           Pg 282 of 385




                                                                                                                                                                               Other borrowings                      (28,144)              (28,144)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                         Deposits                    (18,235)              (18,235)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                  Other liabilities                   (4,713)               (4,713)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                Minority interest                     (1,954)               (1,954)
                                                                                                                                                                                                    (4)
                                                                                                                                                                              Contingent liability                         0                     0
                                                                                                                                                                                   Surplus / (deficit)               ($2,372)              ($7,286)


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 3, 14 –15. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                 Appendix VI.B.4.b, Page 16 of 46
                                                                                                 Appendix VI.B.4.b, Page 17 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
December 31, 2008
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                         Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                            of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                      $ 6,983                          $ 0                              $ 6,983                        0%           0%                    $ 6,983           $ 6,983
 Mortgage loans held for sale                                                     2,629                            0                                2,629                        0%           0%                      2,629             2,629
 Trading securities                                                                 601                            0                                  601                        0%           0%                        601               601
                                      (3)
 Mortgage loans held for investment                                              25,887                        3,752                               22,135                      -20%          -30%                    17,708            15,494
                      (3)
 Lending receivables                                                              6,608                            0                                6,608                       -5%          -15%                     6,277             5,617
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        2,848                            0                                2,848                        0%          -10%                     2,848             2,563
 Accounts receivable                                                              3,143                            0                                3,143                       -5%          -15%                     2,986             2,672
 Investments in real estate and other                                               536                            0                                  536                      -15%          -25%                       456               402
 Goodwill                                                                               0                          0                                     0                       0%           0%                          0                 0
 Other assets                                                                    10,469                            0                               10,469                      -10%          -20%                     9,423             8,376
Total assets                                                                   $ 59,705                     $ 3,752                              $ 55,952                      -11%          -19%                  $ 49,910         $ 45,337

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (2,663)               (2,663)
                                                                                                                                                                                                    (1)
                                                                                                                                                                             Affiliate borrowings                         (8)                   (8)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                                                                                           Pg 283 of 385




                                                                                                                                                                               Other borrowings                      (22,636)              (22,636)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                         Deposits                    (19,862)              (19,862)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                  Other liabilities                   (4,951)               (4,951)
                                                                                                                                                                                                    (1)
                                                                                                                                                                                Minority interest                     (1,901)               (1,901)
                                                                                                                                                                                                    (4)
                                                                                                                                                                              Contingent liability                         0                     0
                                                                                                                                                                                   Surplus / (deficit)               ($2,110)              ($6,684)


(1)
    Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 118, 141, 144. As discussed in Section VI.B.4.b of the Report, the assets and liabilities of Ally Bank were not deconsolidated.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 17 of 46
                                                                                                 Appendix VI.B.4.b, Page 18 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
March 31, 2009
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                         Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                            of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                      $ 1,706                          $ 0                              $ 1,706                        0%           0%                    $ 1,706           $ 1,706
 Mortgage loans held for sale                                                     1,416                            0                                1,416                        0%           0%                      1,416             1,416
 Trading securities                                                                 510                            0                                  510                        0%           0%                        510               510
                                      (3)
 Mortgage loans held for investment                                              10,428                        3,415                                7,014                      -30%          -40%                     4,910             4,208
                      (3)
 Lending receivables                                                              1,928                            0                                1,928                       -5%          -15%                     1,831             1,638
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        2,159                            0                                2,159                        0%          -10%                     2,159             1,943
 Accounts receivable                                                              2,497                            0                                2,497                       -5%          -15%                     2,372             2,123
 Investments in real estate and other                                               466                            0                                  466                      -15%          -25%                       396               349
 Goodwill                                                                               0                          0                                     0                       0%           0%                          0                 0
 Other assets                                                                     3,450                            0                                3,450                      -10%          -20%                     3,105             2,760
Total assets                                                                   $ 24,561                     $ 3,415                              $ 21,146                      -13%          -21%                  $ 18,406         $ 16,655

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (2,410)               (2,410)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                      (11,371)              (11,371)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 284 of 385




                                                                                                                                                                                 Other liabilities                    (4,851)               (4,851)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (4)
                                                                                                                                                                              Contingent liability                         0                     0
                                                                                                                                                                                  Surplus / (deficit)                  ($227)              ($1,978)


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 3, 15 –16.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 18 of 46
                                                                                                 Appendix VI.B.4.b, Page 19 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
June 30, 2009
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                         Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                            of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                      $ 1,189                          $ 0                              $ 1,189                        0%           0%                    $ 1,189           $ 1,189
 Mortgage loans held for sale                                                     1,666                            0                                1,666                        0%           0%                      1,666             1,666
 Trading securities                                                                 156                            0                                  156                        0%           0%                        156               156
                                      (3)
 Mortgage loans held for investment                                               9,503                        3,641                                5,863                      -30%          -40%                     4,104             3,518
                      (3)
 Lending receivables                                                              1,446                            0                                1,446                       -5%          -15%                     1,374             1,229
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                        2,752                            0                                2,752                        0%          -10%                     2,752             2,477
 Accounts receivable                                                              2,417                            0                                2,417                       -5%          -15%                     2,297             2,055
 Investments in real estate and other                                               208                            0                                  208                      -15%          -25%                       177               156
 Goodwill                                                                               0                          0                                     0                       0%           0%                          0                 0
 Other assets                                                                     3,603                            0                                3,603                      -10%          -20%                     3,243             2,883
Total assets                                                                   $ 22,940                     $ 3,641                              $ 19,300                      -12%          -21%                  $ 16,956         $ 15,327

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (2,931)               (2,931)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (9,048)               (9,048)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 285 of 385




                                                                                                                                                                                 Other liabilities                    (5,328)               (5,328)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (4)
                                                                                                                                                                              Contingent liability                         0                     0
                                                                                                                                                                                  Surplus / (deficit)                  ($350)              ($1,979)


(1)
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 3, 16 –17.
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 19 of 46
                                                                                                 Appendix VI.B.4.b, Page 20 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
September 30, 2009
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                        $ 919                          $ 0                                $ 919                        0%           0%                      $ 919             $ 919
 Mortgage loans held for sale                                                      1,903                           0                                 1,903                       0%           0%                       1,903             1,903
 Trading securities                                                                  141                           0                                   141                       0%           0%                         141               141
                                      (3)
 Mortgage loans held for investment                                                8,301                       3,530                                 4,771                     -30%          -40%                      3,340             2,863
                      (3)
 Lending receivables                                                                 688                           0                                   688                      -5%          -15%                        654               585
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                         2,428                           0                                 2,428                       0%          -10%                      2,428             2,185
 Accounts receivable                                                               2,475                           0                                 2,475                      -5%          -15%                      2,351             2,104
 Investments in real estate and other                                                158                           0                                   158                     -15%          -25%                        135               119
 Goodwill                                                                               0                          0                                     0                       0%           0%                           0                 0
 Other assets                                                                      3,416                           0                                 3,416                     -10%          -20%                      3,075             2,733
Total assets                                                                   $ 20,429                     $ 3,530                              $ 16,899                      -12%          -20%                  $ 14,944          $ 13,550

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (2,302)               (2,302)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (8,200)               (8,200)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 286 of 385




                                                                                                                                                                                 Other liabilities                    (5,308)               (5,308)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (4)
                                                                                                                                                                              Contingent liability                         0                     0
                                                                                                                                                                                  Surplus / (deficit)                  ($867)              ($2,260)


(1)
    Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2009 and 2008, dated Sep. 30, 2009, at 1, 12, 14 [EXAM00124278].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(4)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 20 of 46
                                                                                                     Appendix VI.B.4.b, Page 21 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
December 31, 2009
($ in Millions)



                                                                                                          Collateralized                          Assets Less                          Asset Value                      Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                    Borrowings in                          Collateralized                       Adjustment (2)                         of Assets
Balance Sheet                                                               of Assets (1)             Securitization Trusts (1)                   Borrowings                       High          Low                 High              Low
 Cash and cash equivalents                                                        $ 765                              $ 0                                $ 765                        0%           0%                  $ 765             $ 765
                              (3)
 Mortgage loans held for sale                                                      5,310                               0                                 5,310                       0%           0%                   5,310             5,310
 Trading securities                                                                   99                               0                                    99                       0%           0%                      99                99
                                       (4)
 Mortgage loans held for investment                                                1,873                           1,484                                   389                      -5%          -15%                    370               331
                      (4)
 Lending receivables                                                                 438                               0                                   438                      -5%          -15%                    416               372
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                         2,540                               0                                 2,540                       0%          -10%                  2,540             2,286
 Accounts receivable                                                               2,547                               0                                 2,547                      -5%          -15%                  2,420             2,165
 Investments in real estate and other                                                114                               0                                   114                     -15%          -25%                     97                86
 Goodwill                                                                               0                              0                                     0                       0%           0%                       0                 0
 Other assets                                                                      3,235                               0                                 3,235                     -10%          -20%                  2,912             2,588
                                    (5)
 Assets of operations held-for-sale                                                2,549                           1,737                                   812                     -15%          -25%                    691               609
Total assets                                                                   $ 19,471                         $ 3,221                              $ 16,250                       -4%          -10%              $ 15,619          $ 14,611

                                                                                                                                                                                                         (1)
                                                                                                                                                                             Borrowings from parent                   (1,889)               (1,889)
                                                                                                                                                                                                        (1)
                                                                                                                                                                                                                                                           Pg 287 of 385




                                                                                                                                                                                    Other borrowings                  (8,021)               (8,021)
                                                                                                                                                                                                        (5)
                                                                                                                                                                Liabilities of operations held for sale                 (445)                 (445)
                                                                                                                                                                                                        (1)
                                                                                                                                                                                      Other liabilities               (5,448)               (5,448)
                                                                                                                                                                                                        (1)
                                                                                                                                                                                     Minority interest                     0                     0
                                                                                                                                                                                                        (6)
                                                                                                                                                                                  Contingent liability                     0                     0
                                                                                                                                                                                       Surplus / (deficit)             ($184)              ($1,192)


(1)
    Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 4, 28 –29 [EXAM00124455].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    At December 31, 2009, ResCap reclassified a significant portion of HFI loans to HFS and made significant mark-to-market adjustments. Thus, no asset value adjustment was applied.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




(4)
      Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(5)
      Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 24 [EXAM00124455].
(6)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                      Appendix VI.B.4.b, Page 21 of 46
                                                                                                 Appendix VI.B.4.b, Page 22 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
March 31, 2010
($ in Millions)



                                                                                                      Collateralized                          Assets Less                          Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                Borrowings in                          Collateralized                       Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)         Securitization Trusts (1)                   Borrowings                       High          Low                     High              Low
 Cash and cash equivalents                                                        $ 725                          $ 0                                $ 725                        0%           0%                      $ 725             $ 725
                              (3)
 Mortgage loans held for sale                                                      5,131                           0                                 5,131                       0%           0%                       5,131             5,131
 Trading securities                                                                   54                           0                                    54                       0%           0%                          54                54
                                       (4)
 Mortgage loans held for investment                                                3,038                       2,585                                   453                      -5%          -15%                        431               385
                      (4)
 Lending receivables                                                                 326                           0                                   326                      -5%          -15%                        309               277
                                                                                                                                                                                                                                                                          Doc 3698-36




 Mortgage servicing rights                                                         2,413                           0                                 2,413                       0%          -10%                      2,413             2,172
 Accounts receivable                                                               2,778                           0                                 2,778                      -5%          -15%                      2,640             2,362
 Investments in real estate and other                                                   0                          0                                     0                     -15%          -25%                          0                 0
 Goodwill                                                                               0                          0                                     0                       0%           0%                           0                 0
 Other assets                                                                      2,802                           0                                 2,802                     -10%          -20%                      2,521             2,241
                                    (5)
 Assets of operations held-for-sale                                              11,288                       10,342                                   945                     -15%          -25%                        804               709
Total assets                                                                   $ 28,554                    $ 12,927                              $ 15,627                       -4%          -10%                  $ 15,028          $ 14,056

                                                                                                                                                                                                         (1)
                                                                                                                                                                        Borrowings from parent                        (1,460)               (1,460)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 288 of 385




                                                                                                                                                                               Other borrowings                       (7,710)               (7,710)
                                                                                                                                                                                                   (5)
                                                                                                                                                           Liabilities of operations held for sale                      (806)                 (806)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                    (5,113)               (5,113)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (6)
                                                                                                                                                                             Contingent liability                       (530)               (1,630)
                                                                                                                                                                                  Surplus / (deficit)                  ($592)              ($2,664)


(1)
     Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2010 and 2009 (Unaudited) dated Mar. 31, 2010, at 1, 15 –16 [EXAM00122870].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Given the prior market adjustments by ResCap and the state of the mortgage industry, no asset value adjustment was applied to HFS loans.
(4)
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




    Mortgage loans held for investment and lending receivables are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(5)
    Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2010 and 2009 (Unaudited) dated Mar. 31, 2010, at 11 [EXAM00122870].
(6)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                  Appendix VI.B.4.b, Page 22 of 46
                                                                                                     Appendix VI.B.4.b, Page 23 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
June 30, 2010
($ in Millions)



                                                                                                          Collateralized                          Assets Less                      Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                    Borrowings in                          Collateralized                   Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)             Securitization Trusts (1)                   Borrowings                   High          Low                     High              Low
 Cash and cash equivalents                                                        $ 621                              $ 0                                $ 621                    0%           0%                      $ 621             $ 621
                              (3)
 Mortgage loans held for sale                                                      4,613                               0                                 4,613                   0%           0%                       4,613             4,613
 Trading securities                                                                   47                               0                                    47                   0%           0%                          47                47
                                (4)
 Finance receivables and loans                                                     3,008                           2,536                                   472                  -5%          -15%                        449               401
 Mortgage servicing rights                                                         1,950                               0                                 1,950                   0%          -10%                      1,950             1,755
                                                                                                                                                                                                                                                                          Doc 3698-36




 Accounts receivable                                                               2,595                               0                                 2,595                  -5%          -15%                      2,465             2,205
 Investments in real estate and other                                                   0                              0                                     0                 -15%          -25%                          0                 0
 Goodwill                                                                               0                              0                                     0                   0%           0%                           0                 0
 Other assets                                                                      4,954                               0                                 4,954                 -10%          -20%                      4,459             3,963
                                    (5)
 Assets of operations held-for-sale                                              10,870                            9,555                                 1,316                 -15%          -25%                      1,118               987
Total assets                                                                   $ 28,658                        $ 12,091                              $ 16,568                   -5%          -12%                  $ 15,722          $ 14,593

                                                                                                                                                                                                         (1)
                                                                                                                                                                        Borrowings from parent                        (1,364)               (1,364)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (6,402)               (6,402)
                                                                                                                                                                                                   (5)
                                                                                                                                                                                                                                                           Pg 289 of 385




                                                                                                                                                           Liabilities of operations held for sale                      (985)                 (985)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                    (6,918)               (6,918)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (6)
                                                                                                                                                                             Contingent liability                       (550)               (1,660)
                                                                                                                                                                                  Surplus / (deficit)                  ($498)              ($2,737)


(1)
      Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2010 and 2009 (Unaudited) dated June 30, 2010, at 1 [EXAM00122936].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Given the prior market adjustments by ResCap and the state of the mortgage industry, no asset value adjustment was applied to HFS loans.
(4)
      Finance receivables and loans are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




(5)
      Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2010 and 2009 (Unaudited) dated June 30, 2010, at 11 [EXAM00122936].
(6)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                      Appendix VI.B.4.b, Page 23 of 46
                                                                                                     Appendix VI.B.4.b, Page 24 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
September 30, 2010
($ in Millions)



                                                                                                          Collateralized                          Assets Less                      Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                    Borrowings in                          Collateralized                   Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)             Securitization Trusts (1)                   Borrowings                   High          Low                     High              Low
 Cash and cash equivalents                                                        $ 618                              $ 0                                $ 618                    0%           0%                      $ 618             $ 618
                              (3)
 Mortgage loans held for sale                                                      5,127                               0                                 5,127                   0%           0%                       5,127             5,127
 Trading securities                                                                   46                               0                                    46                   0%           0%                          46                46
                                (4)
 Finance receivables and loans                                                     3,574                           3,096                                   478                  -5%          -15%                        454               406
 Mortgage servicing rights                                                         1,680                               0                                 1,680                   0%          -10%                      1,680             1,512
                                                                                                                                                                                                                                                                          Doc 3698-36




 Accounts receivable                                                               2,526                               0                                 2,526                  -5%          -15%                      2,399             2,147
 Investments in real estate and other                                                   0                              0                                     0                 -15%          -25%                          0                 0
 Goodwill                                                                               0                              0                                     0                   0%           0%                           0                 0
 Other assets                                                                      6,560                               0                                 6,560                 -10%          -20%                      5,904             5,248
                                    (5)
 Assets of operations held-for-sale                                                  471                               0                                   471                 -15%          -25%                        401               354
Total assets                                                                   $ 20,602                         $ 3,096                              $ 17,506                   -5%          -12%                  $ 16,629          $ 15,457

                                                                                                                                                                                                         (1)
                                                                                                                                                                        Borrowings from parent                        (1,319)               (1,319)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (5,695)               (5,695)
                                                                                                                                                                                                   (5)
                                                                                                                                                                                                                                                           Pg 290 of 385




                                                                                                                                                           Liabilities of operations held for sale                        (8)                   (8)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                    (9,531)               (9,531)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (6)
                                                                                                                                                                             Contingent liability                     (1,480)               (2,590)
                                                                                                                                                                                  Surplus / (deficit)                ($1,404)              ($3,685)


(1)
    Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2010 and 2009 (Unaudited) dated Sep. 30, 2010, at 1 [EXAM00122999].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Given the prior market adjustments by ResCap and the state of the mortgage industry, no asset value adjustment was applied to HFS loans.
(4)
      Finance receivables and loans are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(5)
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13




      Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2010 and 2009 (Unaudited) dated Sep. 30, 2010, at 10 [EXAM00122999].
(6)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                                          Appendix




                                                                                                      Appendix VI.B.4.b, Page 24 of 46
                                                                                                     Appendix VI.B.4.b, Page 25 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
December 31, 2010
($ in Millions)



                                                                                                          Collateralized                          Assets Less                      Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                    Borrowings in                          Collateralized                   Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)             Securitization Trusts (1)                   Borrowings                   High          Low                     High              Low
 Cash and cash equivalents                                                        $ 672                              $ 0                                $ 672                    0%           0%                      $ 672             $ 672
                              (3)
 Mortgage loans held for sale                                                      4,655                               0                                 4,655                   0%           0%                       4,655             4,655
 Trading securities                                                                   47                               0                                    47                   0%           0%                          47                47
                                (4)
 Finance receivables and loans                                                     1,431                           1,057                                   374                  -5%          -15%                        355               318
 Mortgage servicing rights                                                         1,992                               0                                 1,992                   0%          -10%                      1,992             1,792
                                                                                                                                                                                                                                                                          Doc 3698-36




 Accounts receivable                                                               2,640                               0                                 2,640                  -5%          -15%                      2,508             2,244
 Investments in real estate and other                                                   0                              0                                     0                 -15%          -25%                          0                 0
 Goodwill                                                                               0                              0                                     0                   0%           0%                           0                 0
 Other assets                                                                      5,438                               0                                 5,438                 -10%          -20%                      4,894             4,351
Total assets                                                                   $ 16,875                         $ 1,057                              $ 15,818                   -4%          -11%                  $ 15,123          $ 14,079

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (1,527)               (1,527)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (5,464)               (5,464)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                    (7,937)               (7,937)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 291 of 385




                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (5)
                                                                                                                                                                              Contingent liability                    (1,580)               (2,680)
                                                                                                                                                                                  Surplus / (deficit)                ($1,386)              ($3,530)


(1)
    Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Dec. 31, 2010, at 4 [EXAM00123128].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Given the prior market adjustments by ResCap and the state of the mortgage industry, no asset value adjustment was applied to HFS loans.
(4)
      Finance receivables and loans are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(5)
      Refer to Section VI.B.5 of the Report for discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                      Appendix VI.B.4.b, Page 25 of 46
                                                                                                     Appendix VI.B.4.b, Page 26 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
March 31, 2011
($ in Millions)



                                                                                                          Collateralized                          Assets Less                      Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                    Borrowings in                          Collateralized                   Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)             Securitization Trusts (1)                   Borrowings                   High          Low                     High              Low
 Cash and cash equivalents                                                        $ 719                             $ 0                                 $ 719                    0%           0%                      $ 719             $ 719
                              (3)
 Mortgage loans held for sale                                                      4,511                              0                                  4,511                   0%           0%                       4,511             4,511
 Trading securities                                                                     0                             0                                      0                   0%           0%                           0                 0
                                (4)
 Finance receivables and loans                                                     1,303                            972                                    331                  -5%          -15%                        315               282
 Mortgage servicing rights                                                         2,046                              0                                  2,046                   0%          -10%                      2,046             1,842
                                                                                                                                                                                                                                                                          Doc 3698-36




 Accounts receivable                                                               2,602                              0                                  2,602                  -5%          -15%                      2,472             2,212
 Investments in real estate and other                                                   0                             0                                      0                 -15%          -25%                          0                 0
 Goodwill                                                                               0                             0                                      0                   0%           0%                           0                 0
 Other assets                                                                      4,356                              0                                  4,356                 -10%          -20%                      3,920             3,485
Total assets                                                                   $ 15,538                           $ 972                              $ 14,565                   -4%          -10%                  $ 13,983          $ 13,050

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (1,340)               (1,340)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (5,279)               (5,279)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                    (7,028)               (7,028)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 292 of 385




                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (5)
                                                                                                                                                                              Contingent liability                    (1,580)               (2,680)
                                                                                                                                                                                  Surplus / (deficit)                ($1,244)              ($3,277)


(1)
    Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2011 and 2010 (Unaudited) dated Mar. 31, 2011, at 2 [EXAM00122339].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Given the prior market adjustments by ResCap and the state of the mortgage industry, no asset value adjustment was applied to HFS loans.
(4)
      Finance receivables and loans are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(5)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                      Appendix VI.B.4.b, Page 26 of 46
                                                                                                     Appendix VI.B.4.b, Page 27 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
June 30, 2011
($ in Millions)



                                                                                                          Collateralized                          Assets Less                      Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                    Borrowings in                          Collateralized                   Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)             Securitization Trusts (1)                   Borrowings                   High          Low                     High              Low
 Cash and cash equivalents                                                        $ 664                             $ 0                                 $ 664                    0%           0%                      $ 664             $ 664
                              (3)
 Mortgage loans held for sale                                                      4,453                              0                                  4,453                   0%           0%                       4,453             4,453
 Trading securities                                                                     0                             0                                      0                   0%           0%                           0                 0
                                (4)
 Finance receivables and loans                                                     1,222                            921                                    302                  -5%          -15%                        286               256
 Mortgage servicing rights                                                         1,926                              0                                  1,926                   0%          -10%                      1,926             1,734
                                                                                                                                                                                                                                                                          Doc 3698-36




 Accounts receivable                                                               2,484                              0                                  2,484                  -5%          -15%                      2,360             2,111
 Investments in real estate and other                                                   0                             0                                      0                 -15%          -25%                          0                 0
 Goodwill                                                                               0                             0                                      0                   0%           0%                           0                 0
 Other assets                                                                      5,157                              0                                  5,157                 -10%          -20%                      4,641             4,125
Total assets                                                                   $ 15,907                           $ 921                              $ 14,986                   -4%          -11%                  $ 14,331          $ 13,344

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (1,261)               (1,261)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (5,136)               (5,136)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                    (7,793)               (7,793)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 293 of 385




                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (5)
                                                                                                                                                                              Contingent liability                    (2,680)               (3,790)
                                                                                                                                                                                  Surplus / (deficit)                ($2,539)              ($4,636)


(1)
    Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2011 and 2010 (Unaudited), dated June 30, 2011, at 2 [EXAM00122389].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Given the prior market adjustments by ResCap and the state of the mortgage industry, no asset value adjustment was applied to HFS loans.
(4)
      Finance receivables and loans are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(5)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                      Appendix VI.B.4.b, Page 27 of 46
                                                                                                     Appendix VI.B.4.b, Page 28 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
September 30, 2011
($ in Millions)



                                                                                                          Collateralized                          Assets Less                      Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                    Borrowings in                          Collateralized                   Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)             Securitization Trusts (1)                   Borrowings                   High          Low                     High              Low
 Cash and cash equivalents                                                        $ 623                             $ 0                                 $ 623                    0%           0%                      $ 623             $ 623
                              (3)
 Mortgage loans held for sale                                                      4,580                              0                                  4,580                   0%           0%                       4,580             4,580
 Trading securities                                                                     0                             0                                      0                   0%           0%                           0                 0
                                (4)
 Finance receivables and loans                                                     1,088                            836                                    252                  -5%          -15%                        239               214
 Mortgage servicing rights                                                         1,330                              0                                  1,330                   0%          -10%                      1,330             1,197
                                                                                                                                                                                                                                                                          Doc 3698-36




 Accounts receivable                                                               2,685                              0                                  2,685                  -5%          -15%                      2,551             2,283
 Investments in real estate and other                                                   0                             0                                      0                 -15%          -25%                          0                 0
 Goodwill                                                                               0                             0                                      0                   0%           0%                           0                 0
 Other assets                                                                      8,853                              0                                  8,853                 -10%          -20%                      7,967             7,082
Total assets                                                                   $ 19,159                           $ 836                              $ 18,322                   -6%          -13%                  $ 17,290          $ 15,978

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (1,183)               (1,183)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (4,906)               (4,906)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                   (11,883)              (11,883)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 294 of 385




                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (5)
                                                                                                                                                                              Contingent liability                    (2,680)               (3,790)
                                                                                                                                                                                  Surplus / (deficit)                ($3,361)              ($5,783)


(1)
    Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2011 and 2010 (Unaudited) dated Sep. 30, 2011, at 2 [EXAM00122480].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Given the prior market adjustments by ResCap and the state of the mortgage industry, no asset value adjustment was applied to HFS loans.
(4)
      Finance receivables and loans are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(5)
      Refer to Section VI.B.5 of the Report for discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                      Appendix VI.B.4.b, Page 28 of 46
                                                                                                     Appendix VI.B.4.b, Page 29 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Adjusted Book Value Method
December 31, 2011
($ in Millions)



                                                                                                          Collateralized                          Assets Less                      Asset Value                          Fair Market Value
                                                                                                                                                                                                                                                                          12-12020-mg




                                                                            Book Value                    Borrowings in                          Collateralized                   Adjustment (2)                             of Assets
Balance Sheet                                                               of Assets (1)             Securitization Trusts (1)                   Borrowings                   High          Low                     High              Low
 Cash and cash equivalents                                                        $ 619                             $ 0                                 $ 619                    0%           0%                      $ 619             $ 619
                              (3)
 Mortgage loans held for sale                                                      4,250                              0                                  4,250                   0%           0%                       4,250             4,250
 Trading securities                                                                     0                             0                                      0                   0%           0%                           0                 0
                                (4)
 Finance receivables and loans                                                     1,061                            830                                    230                  -5%          -15%                        219               196
 Mortgage servicing rights                                                         1,233                              0                                  1,233                   0%          -10%                      1,233             1,110
                                                                                                                                                                                                                                                                          Doc 3698-36




 Accounts receivable                                                               3,052                              0                                  3,052                  -5%          -15%                      2,899             2,594
 Investments in real estate and other                                                   0                             0                                      0                 -15%          -25%                          0                 0
 Goodwill                                                                               0                             0                                      0                   0%           0%                           0                 0
 Other assets                                                                      6,628                              0                                  6,628                 -10%          -20%                      5,965             5,303
Total assets                                                                   $ 16,842                           $ 830                              $ 16,012                   -5%          -12%                  $ 15,185          $ 14,070

                                                                                                                                                                                                         (1)
                                                                                                                                                                          Borrowings from parent                      (1,189)               (1,189)
                                                                                                                                                                                                   (1)
                                                                                                                                                                               Other borrowings                       (4,705)               (4,705)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                 Other liabilities                    (9,996)               (9,996)
                                                                                                                                                                                                   (1)
                                                                                                                                                                                                                                                           Pg 295 of 385




                                                                                                                                                                                Minority interest                          0                     0
                                                                                                                                                                                                   (5)
                                                                                                                                                                              Contingent liability                    (2,680)               (3,790)
                                                                                                                                                                                  Surplus / (deficit)                ($3,386)              ($5,610)


(1)
    Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Dec. 31, 2011, at 4 [EXAM00122651].
(2)
    Estimated market adjustments consider contemporaneous third-party analyses, industry benchmarks (ABX Index, interest rates, etc.) and ResCap fair value disclosures as discussed in Section VI.B.4.b of the Report. The estimated market
adjustments reflect that Ally Bank's assets were generally of higher quality than ResCap's assets. If Ally Bank were deconsolidated, the asset value adjustments may differ significantly.
(3)
    Given the prior market adjustments by ResCap and the state of the mortgage industry, no asset value adjustment was applied to HFS loans.
(4)
      Finance receivables and loans are gross of allowances. The use of the gross amounts is consistent with asset analyses performed by third parties.
(5)
      Refer to Section VI.B.5 of the Report for a discussion of contingent liabilities.
                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                          Appendix




                                                                                                      Appendix VI.B.4.b, Page 29 of 46
                                                                                           Appendix VI.B.4.b, Page 30 of 46


Residential Capital, LLC – Quarterly Solvency Analysis
Asset-Based Approach: Estimated Contingent and/or Unliquidated Liabilities Related to PLS Claims
2010 – 2011
($ in Millions)

                                                                                        03/31/10                              06/30/10                              09/30/10                             12/31/10
                                                                                   Low           High                    Low           High                    Low           High                   Low           High
ResCap PLS securitizations (2004 – 2007) (1)
                                                                                                                                                                                                                                                        12-12020-mg




                                                                                 $ 220,988    $ 220,988                $ 220,988    $ 220,988                $ 220,988    $ 220,988               $ 220,988    $ 220,988
    Times: Estimated put-back percentage(2)                                          0.50%         1.00%                   0.50%         1.00%                   1.00%         1.50%                  1.00%         1.50%
Estimated total contingent and/or unliquidated liability                             1,105         2,210                   1,105         2,210                   2,210         3,315                  2,210         3,315
    Less: Balance sheet non-Agency reserves(3)                                        (575)         (575)                   (553)         (553)                   (729)         (729)                  (633)         (633)
Incremental contingent and/or unliquidated liability                                   530         1,635                     552         1,657                   1,481         2,586                  1,577         2,682
Incremental contingent and/or
 unliquidated liability, rounded                                                 $        530       $     1,630        $       550        $     1,660        $     1,480       $      2,590       $      1,580       $      2,680
                                                                                                                                                                                                                                                        Doc 3698-36




                                                                                        03/31/11                              06/30/11                              09/30/11                             12/31/11
                                                                                   Low           High                    Low           High                    Low           High                   Low           High
ResCap PLS securitizations (2004 – 2007) (1)                                     $ 220,988    $ 220,988                $ 220,988    $ 220,988                $ 220,988    $ 220,988               $ 220,988    $ 220,988
    Times: Estimated put-back percentage(2)                                          1.00%         1.50%                   1.50%         2.00%                   1.50%         2.00%                  1.50%         2.00%
Estimated total contingent and/or unliquidated liability                             2,210         3,315                   3,315         4,420                   3,315         4,420                  3,315         4,420
    Less: Balance sheet non-Agency reserves(4)                                        (633)         (633)                   (633)         (633)                   (633)         (633)                  (633)         (633)
Incremental contingent and/or unliquidated liability                                 1,577         2,682                   2,682         3,787                   2,682         3,787                  2,682         3,787
Incremental contingent and/or
                                                                                                                                                                                                                                         Pg 296 of 385




 unliquidated liability, rounded                                                 $     1,580        $     2,680        $     2,680        $     3,790        $     2,680       $      3,790       $      2,680       $      3,790


(1)
      This included 392 securitizations. See PLS Trust Spreadsheet [EXAM00339947].
(2)
    The Examiner's Financial Advisors judgmentally estimated and applied a range of put-back percentages as adjusted for probability of realization.
(3)
    Non-Agency reserves include reserves for potential claims related to PLS, monolines and whole loan purchasers. For purposes of this analysis, the Examiner’s Financial Advisors assumed that the entirety of the non-Agency
reserves related to potential PLS claims. This assumption results in a conservative estimate of ResCap’s potential incremental off-balance sheet liability for PLS representation and warranty-related claims. See Domestic Rep &
Warranty Expense Presentation, undated [EXAM00338625].
(4)
    ResCap’s total reserves (Agency and non-Agency) did not materially change from Dec. 31, 2010 through Dec. 31, 2011. Therefore, the Examiner’s Financial Advisors held the non-Agency reserves constant at the Dec. 31,
2010 levels throughout fiscal year 2011. Source: Originating & Servicing and Legacy Portfolio & Other Q3 2011 Preliminary Earnings Presentation, dated Oct. 14, 2011, at 5 [EXAM12242367]; Residential Capital, LLC,
Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Dec. 31, 2011, at 66 [EXAM00122651].
                                                                                                                                                                                                                                    Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                        Appendix




                                                                                            Appendix VI.B.4.b, Page 30 of 46
                                                                                                                         Appendix VI.B.4.b, Page 31 of 46

Residential Capital, LLC
Income Statement
Years Ended 2005 – 2011
($ in Thousands)

                                                                                            12 months                    12 months                       12 months                      12 months                       12 months                       12 months                      12 months
                                                                                              ended                        ended                           ended                          ended                           ended                           ended                          ended
                                                                                             12/31/05                     12/31/06                        12/31/07                       12/31/08                        12/31/09                        12/31/10                       12/31/11
Revenue
   Interest income                                                                     $          5,797,097         $          8,169,034            $          7,567,883            $          4,140,163           $            968,392            $            918,920           $            390,840
   Automotive operating lease income                                                                      -                            -                               -                         573,440                              -                               -                              -
   Interest expense                                                                               3,872,102                    6,460,220                       6,560,846                       3,894,384                        988,463                         750,163                        433,492
                                                                                                                                                                                                                                                                                                                              12-12020-mg




   Depreciation expense on automotive operating lease income                                              -                            -                               -                         355,628                              -                               -                              -
   Impairment of investment in automotive operating leases                                                -                            -                               -                         166,535                              -                               -                              -
 Net interest income/financing revenue                                                            1,924,995                    1,708,814                       1,007,037                         297,056                        (20,071)                        168,757                        (42,652)
   Provision for loan losses                                                                        651,796                    1,334,084                       2,595,143                               -                              -                               -                              -
 Net interest income after provision for loan losses                                              1,273,199                      374,730                      (1,588,106)                        297,056                        (20,071)                        168,757                        (42,652)
 Gain (loss) on sale of mortgage loans, net                                                       1,036,669                      890,216                        (331,731)                     (2,003,919)                       264,588                         650,490                        222,159

    Servicing fees                                                                                1,416,280                    1,583,674                       1,790,403                      1,487,769                       1,143,509                       1,035,152                        839,640
    Amortization and impairment of servicing rights                                                (761,988)                           -                               -                              -                               -                               -                              -
    Servicing asset valuation and hedge gain, net                                                    17,186                   (1,100,232)                       (543,651)                      (284,435)                       (762,393)                        222,571                       (355,715)
  Net servicing fees                                                                                671,478                      483,442                       1,246,752                      1,203,334                         381,116                       1,257,723                        483,925
                                                                                                                                                                                                                                                                                                                              Doc 3698-36




  Gain (loss) on investment securities, net                                                         236,362                       68,665                        (747,830)                      (655,780)                        (87,625)                         11,499                              -
  Real estate related revenues                                                                      712,174                      593,040                         218,434                        (41,257)                       (267,236)                          8,832                         15,254
  Gain (loss) on extinguishment of debt                                                                   -                            -                         521,088                      1,925,368                       1,735,040                               -                              -
  Gain (loss) on foreclosed real estate                                                                   -                            -                        (401,672)                      (299,206)                        (59,354)                         32,764                        (15,803)
  Gain (loss) on sale of equity investments                                                               -                      414,508                            (542)                       (40,257)                              -                               -                              -
  Automotive operating lease income                                                                       -                            -                         510,927                              -                               -                               -                              -
  Other income                                                                                      305,378                      197,908                         203,764                       (477,308)                        (85,524)                        (79,033)                       (30,324)
Total net revenue                                                                                 4,235,260                    3,022,509                        (368,916)                       (91,969)                      1,860,934                       2,051,032                        632,559
Provision for loan losses                                                                                 -                            -                               -                      2,255,409                       2,005,542                          (7,289)                        24,021
Expenses
  Representation and warranty expense, net                                                                -                            -                               -                               -                              -                         670,452                        324,070
  Compensation and benefits                                                                       1,406,930                    1,206,339                       1,224,580                         884,039                        344,017                         261,785                        319,602
  Mortgage fines and penalties                                                                            -                            -                               -                               -                              -                               -                        204,000
  Professional fees                                                                                 212,410                      273,056                         254,071                         390,256                        152,520                          73,234                        118,549
  Data processing and telecommunications                                                            199,849                      189,152                         202,246                         152,865                        131,237                         113,966                         79,682
  Advertising                                                                                       158,688                      152,792                         120,241                          69,372                         10,610                             369                         18,162
                                                                                                                                                                                                                                                                                                               Pg 297 of 385




  Occupancy                                                                                         121,301                      137,687                         146,282                         103,587                         42,070                          20,125                         24,829
  Restructuring                                                                                           -                            -                         126,646                         144,547                              -                               -                              -
  Goodwill impairment                                                                                     -                            -                         454,828                               -                              -                               -                              -
  Loss (gain) on foreign currency                                                                         -                            -                               -                         445,951                              -                               -                              -
  Depreciation expense on automotive lease income                                                         -                            -                         307,984                               -                              -                               -                              -
  Other                                                                                             509,156                      637,909                       1,026,726                       1,045,133                      2,450,742                         386,617                        349,236
Total expenses                                                                                    2,608,334                    2,596,935                       3,863,604                       3,235,750                      3,131,196                       1,526,548                      1,438,130
  Income before income tax expense                                                                1,626,926                      425,574                      (4,232,520)                     (5,583,128)                    (3,275,804)                        531,773                       (829,592)
  Income tax expense (benefit)                                                                      606,300                     (289,173)                         19,790                         (10,171)                        11,976                           6,914                         15,471
Net income before minority interest                                                               1,020,626                      714,747                      (4,252,310)                     (5,572,957)                    (3,287,780)                        524,859                       (845,063)
  Minority interest                                                                                       -                        9,654                          94,028                          38,473                              -                               -                              -
Net income                                                                                        1,020,626                      705,093                      (4,346,338)                     (5,611,430)                    (3,287,780)                        524,859                       (845,063)
Discontinued operations
  Income (loss) from discontinued operations before taxes
  and noncontrolling interest                                                                             -                            -                               -                               -                     (1,283,689)                         47,067                              -
  Income tax (benefit) expense                                                                            -                            -                               -                               -                        (31,068)                         (3,149)                             -
Income (loss) from discontinued operations                                                                -                            -                               -                               -                     (1,252,621)                         50,216                              -
Net income (loss)                                                                                 1,020,626                      705,093                      (4,346,338)                     (5,611,430)                    (4,540,401)                        575,075                       (845,063)
                                                                                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




  Less: Net income from discontinued operations attributable to
  noncontrolling interest                                                                                 -                            -                               -                               -                          3,430                               -                              -
Net income (loss) attributable to Residential Capital, LLC                             $          1,020,626         $            705,093            $         (4,346,338)           $         (5,611,430)          $         (4,543,831)           $            575,075           $           (845,063)


Source: Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006); Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009); Residential
Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010 [EXAM00124455]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011 [EXAM00123128]; Residential
Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00122651].
                                                                                                                                                                                                                                                                                                                              Appendix




                                                                                                                           Appendix VI.B.4.b, Page 31 of 46
                                                                                                              Appendix VI.B.4.b, Page 32 of 46

Residential Capital, LLC
Balance Sheet
Years Ended 2005 – 2011
($ in Thousands)

                                                                              12/31/05                        12/31/06                       12/31/07                        12/31/08                       12/31/09                        12/31/10                       12/31/11
 Cash and cash equivalents                                               $       2,266,753               $       2,018,847              $       4,415,913               $       6,982,761              $         765,261               $         672,204              $         618,699
 Mortgage loans held for sale                                                   19,521,566                      27,007,382                     11,998,236                       2,628,907                      5,309,529                       4,654,907                      4,249,625
 Trading securities                                                              3,896,008                       4,562,073                      2,090,690                         601,489                         98,583                          46,914                            -
 Available for sale securities                                                   1,068,937                         229,469                            -                               -                              -                               -                              -
                                                                                                                                                                                                                                                                                                               12-12020-mg




 Mortgage loans held for investment, net                                        67,892,660                      67,927,951                     41,330,322                      24,745,575                      1,834,827                             -                              -
 Lending receivables, net                                                       13,401,047                      14,530,104                      8,406,495                       6,005,308                        304,387                             -                              -
 Consumer receivables and loans                                                        -                               -                              -                               -                              -                         1,313,702                      1,022,730
 Commercial receivables and loans                                                      -                               -                              -                               -                              -                           117,316                         38,017
 Allowance for loan losses                                                             -                               -                              -                               -                              -                           (42,810)                       (28,616)
 Mortgage servicing rights, net                                                  4,015,015                       4,930,061                      4,702,862                       2,847,850                      2,539,588                       1,991,586                      1,233,107
 Accounts receivable                                                             1,951,210                       2,561,200                      3,187,913                       3,143,198                      2,547,390                       2,640,059                      3,051,748
 Investments in real estate and other                                            1,855,298                       2,622,149                      1,629,717                         536,019                        114,255                             -                              -
 Goodwill                                                                          459,768                         471,463                            -                               -                              -                               -                              -
 Other assets                                                                    2,556,830                       8,726,120                     10,428,516                      10,469,464                      3,235,363                       5,438,287                      6,628,152
 Assets of operations held-for-sale                                                    -                               -                              -                               -                        2,549,427                             -                              -
                                                                                                                                                                                                                                                                                                               Doc 3698-36




Total assets                                                             $     118,885,092               $     135,586,819              $      88,190,664               $      57,960,571              $      19,298,610               $      16,832,165              $      16,813,462
Borrowings:
  Borrowings from parent                                                 $             -                 $            -                 $             -                 $       2,663,321              $       1,888,792               $       1,526,775              $       1,189,364
  Affiliate borrowings                                                           5,177,462                            -                               -                             7,583                            -                               -                              -
  Collateralized borrowings in securitization trusts                            56,097,801                     53,299,518                      16,145,741                       3,752,457                      1,484,197                       1,057,287                        830,318
  Other borrowings                                                              42,300,507                     59,880,378                      46,184,150                      22,635,976                      8,020,571                       5,464,454                      4,705,404
Total borrowings                                                               103,575,770                    113,179,896                      62,329,891                      29,059,337                     11,393,560                       8,048,516                      6,725,086
  Deposit liabilities                                                            4,123,304                      9,851,026                      13,349,844                      19,861,515                            -                               -                              -
  Other liabilities                                                              3,722,048                      4,374,006                       5,141,052                       4,951,065                      5,447,802                       7,937,485                      9,996,026
  Liabilities of operations held-for-sale                                              -                              -                               -                               -                        2,182,248                             -                              -
Total liabilities                                                              111,421,122                    127,404,928                      80,820,787                      53,871,917                     19,023,610                      15,986,001                     16,721,112
Minority interest                                                                      -                          559,778                       1,339,760                       1,901,301                            -                               -                              -
Common stock                                                                     3,367,677                            -                               -                               -                              -                               -                              -
Member's interest                                                                      -                        3,837,943                       6,624,344                       7,872,794                     11,324,371                      11,324,371                     11,433,776
Preferred membership interests                                                         -                              -                               -                           806,344                            -                               -                              -
                                                                                                                                                                                                                                                                                                Pg 298 of 385




Retained earnings                                                                3,980,587                      3,651,935                        (694,756)                            -                              -                               -                              -
Accumulated deficit                                                                    -                              -                               -                        (6,461,472)                   (11,005,303)                    (10,434,497)                   (11,279,560)
Accumulated other comprehensive income                                             115,706                        132,235                         100,529                         (30,313)                       (44,068)                        (43,710)                       (61,866)
Total stockholder’s equity                                                       7,463,970                      7,622,113                       6,030,117                       2,187,353                        275,000                         846,164                         92,350
Total liabilities and stockholder’s equity                               $     118,885,092               $    135,586,819               $      88,190,664               $      57,960,571              $      19,298,610               $      16,832,165              $      16,813,462


Source: Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006); Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27,
2009); Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010 [EXAM00124455]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated
Feb. 28, 2011 [EXAM00123128]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00122651].
                                                                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                               Appendix




                                                                                                                Appendix VI.B.4.b, Page 32 of 46
                                                                                                             Appendix VI.B.4.b, Page 33 of 46

Residential Capital, LLC
Cash Flow Statement
Years Ended 2005 – 2011
($ in Thousands)



                                                                                                  12 months ended          12 months ended          12 months ended          12 months ended          12 months ended          12 months ended           12 months ended
                                                                                                      12/31/05                 12/31/06                 12/31/07                 12/31/08                 12/31/09                 12/31/10                  12/31/11
Cash flow from operating activities:
Net income                                                                                        $       1,020,626        $         705,093        $      (4,346,338)       $       (5,611,430)      $       (4,540,401)      $          575,075        $        (845,063)
                                                                                                                                                                                                                                                                                                   12-12020-mg




Reconciliation of net income to net cash provided by (used in) operating activities:
  Amortization and impairment of mortgage servicing rights                                                  761,988                      -                        -                        -                        -                         -                        -
  Depreciation and amortization                                                                             605,579                  665,774                1,151,147                  456,394                   64,731                    32,975                   27,245
  Accretion of deferred concession on secured notes                                                             -                        -                        -                        -                   (165,743)                 (110,009)                (101,113)
  Provision for loan losses                                                                                 651,796                1,334,084                2,595,143                2,255,409                2,229,150                    14,618                   24,021
  Gain on sale of mortgage loans, net                                                                    (1,036,669)                (890,216)                 331,731                2,003,919                   50,140                  (482,187)                (222,159)
  Gain on sale of equity investments                                                                            -                   (414,508)                     542                   40,257                      -                         -                        -
  Net gain on sale of other assets                                                                          (41,559)                  17,262                  275,859                  597,593                  327,207                   (24,886)                  16,134
  Pension curtailment gain                                                                                      -                    (42,630)                     -                        -                        -                         -                        -
  Goodwill impairment                                                                                           -                        -                    454,828                      -                        -                         -                        -
                                                                                                                                                                                                                                                                                                   Doc 3698-36




  Gain on extinguishment of debt                                                                                -                        -                   (521,088)              (1,925,368)              (1,735,040)                      -                        -
  Minority interest                                                                                             -                      9,654                   94,028                   38,473                      -                         -                        -
  Impairment of held-for-sale businesses                                                                        -                        -                        -                        -                    903,276                   (54,649)                     -
(Gain) loss on valuation of derivatives                                                                    (148,550)                     -                        -                        -                        -                         -                        -
(Gain) loss on investment securities                                                                       (236,362)                 (68,665)                 747,830                  655,780                   86,613                   (11,499)                     -
Equity in earnings of investees in excess of cash received                                                 (137,671)                 (85,445)                  79,252                   (3,881)                   6,543                      (973)                     -
(Gain) loss on valuation (amortization) of mortgage servicing rights                                        (86,328)                 819,353                1,259,529                2,250,127                  249,210                   725,351                  812,435
Originations and purchases of mortgage loans held for sale                                             (159,280,861)            (176,541,708)            (115,234,401)             (57,421,291)             (56,700,492)              (70,295,821)             (60,675,667)
Proceeds from sales and repayments of mortgage loans held for sale                                      133,222,847              156,424,705              115,457,868               64,587,058               56,970,771                70,342,416               59,613,292
Deferred income tax                                                                                         226,526                 (345,444)                 175,738                  (25,142)                 (65,645)                      -                     (4,636)
Net change in:
  Trading securities                                                                                       (952,969)                 298,856                1,500,310                   868,267                   19,759                   17,596                      -
  Accounts receivable                                                                                       152,081                 (647,150)                (696,016)                  (19,647)                 326,246                  393,032                  752,588
  Other assets                                                                                              955,492               (1,356,070)                (286,171)                  490,310                 (102,787)              (3,755,492)              (1,438,938)
  Other liabilities                                                                                      (1,823,082)                  13,383                  540,630                (1,486,706)               1,317,033                3,068,161                2,470,237
                                                                                                                                                                                                                                                                                    Pg 299 of 385




Net cash provided by (used in) operating activities                                                     (26,147,116)             (20,103,672)               3,580,421                 7,750,122                 (759,429)                 433,708                  428,376
Cash flow from investing activities:
Net increase in (commercial) lending receivables                                                         (3,974,763)              (1,200,420)               5,188,500                   441,482                  374,626                  214,989                   46,432
Net decrease in consumer mortgage finance receivables and loans                                                 -                        -                        -                         -                        -                  2,493,434                  546,135
Originations and purchases of (consumer) mortgage loans held for investment                             (20,081,860)             (15,318,790)              (8,590,547)               (3,961,372)                (805,987)                     -                        -

Proceeds from sales and repayments of (consumer) mortgage loans held for investment                      27,528,658               25,186,643               16,931,905                5,734,840                 1,888,134                      -                         -
Purchases of available for sale securities                                                                 (598,613)                 (54,273)                 (72,018)                     -                         -                        -                         -
Proceeds from sales and repayments of available for sale securities                                         747,215                   24,328                   28,605                      -                         -                        -                         -
Originations and purchases of mortgage servicing rights, net of sales                                           -                        -                        -                        -                         -                        -                         -
Additions to mortgage servicing rights                                                                     (266,589)                 (11,780)                  (3,192)                     -                         -                        -                         -
Sale of mortgage servicing rights                                                                           207,591                      -                    563,709                  796,865                    19,337                      -
Net decrease in investments in real estate and other                                                            -                        -                        -                        -                         -                    107,187                    4,543
Purchase of and advances to investments in real estate and other                                         (1,249,253)              (1,695,102)                (210,792)                  (3,301)                   (4,364)                     -                        -
Proceeds from sales of and returns of investments in real estate and other                                  923,924                1,378,210                  849,548                  445,677                   138,627                      -                        -
Proceeds from sales of repossessed, foreclosed and owned real estate                                            -                        -                        -                        -                     875,202                  404,019                  108,349
Consolidation of IB Finance Holding Company, LLC                                                                -                    251,347                      -                        -                         -                        -                        -
                                                                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




Acquisitions, net of cash required                                                                           (3,988)                  (2,551)                 103,743                      -                         -                        -                        -
Sale of business unit, net                                                                                      -                        -                        -                        -                         -                   (122,782)                     -
Other, net                                                                                                  724,699                  981,459                1,176,654                1,852,197                   298,493                  906,662                  173,110
Net cash provided by (used in) investing activities                                               $       3,957,021        $       9,539,071        $      15,966,115        $       5,306,388        $        2,784,068       $        4,003,509        $         878,569


Source: Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006); Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008); Residential Capital, LLC, Annual Report (Form 10-K)
(Feb. 27, 2009); Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010 [EXAM00124455]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009,
                                                                                                                                                                                                                                                                                                   Appendix




dated Feb. 28, 2011 [EXAM00123128]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00122651].




                                                                                                               Appendix VI.B.4.b, Page 33 of 46
                                                                                                         Appendix VI.B.4.b, Page 34 of 46

Residential Capital, LLC
Cash Flow Statement
Years Ended 2005 – 2011
($ in Thousands)

                                                                                              12 months ended           12 months ended           12 months ended           12 months ended           12 months ended           12 months ended            12 months ended
                                                                                                  12/31/05                  12/31/06                  12/31/07                  12/31/08                  12/31/09                  12/31/10                   12/31/11
Cash flows from financing activities:
Net decrease in borrowings from parent and affiliates                                        $              -          $              -           $             -           $             -           $              -          $         (362,017)       $         (228,007)
Net increase in borrowings from parent                                                                      -                         -                         -                   4,205,229                   (342,135)                      -                         -
                                                                                                                                                                                                                                                                                                    12-12020-mg




Net decrease in affiliate borrowings                                                                 (2,828,433)               (5,177,462)                      -                       7,583                     (7,583)                      -                         -
Net increase in other short-term borrowings                                                           4,242,935                 2,730,803               (13,009,476)              (13,519,025)                (1,742,940)                 (830,446)                 (386,639)
Proceeds from issuance of collateralized borrowings in securitization trusts                         28,361,997                19,317,561                 5,634,817                       -                      229,933                   232,754                       -
Repayments of collateralized borrowings in securitization trusts                                    (22,682,856)              (22,605,088)              (15,929,834)               (2,892,132)                (1,501,397)               (2,178,383)                 (466,636)
Proceeds from secured aggregation facilities, long-term                                               7,896,054                29,071,067                12,358,635                   160,000                        -                         -                         -
Repayments from secured aggregation facilities, long-term                                            (3,157,448)              (27,942,989)              (17,411,381)                 (465,114)                       -                         -                         -
Proceeds from other long-term borrowings                                                              9,625,279                14,298,047                10,197,770                 2,993,000                  1,511,000                   471,395                   787,325
Repayments from other long-term borrowings                                                             (210,000)                 (568,430)               (5,192,486)               (6,504,710)                (1,709,624)               (2,083,745)               (1,052,703)
Extinguishment of long-term borrowing                                                                       -                         -                         -                  (2,060,829)                       -                         -                         -
Payments of debt issuance costs                                                                        (121,413)                 (109,680)                  (43,370)                  (52,999)                   (27,278)                      -                         -
                                                                                                                                                                                                                                                                                                    Doc 3698-36




Dividends paid                                                                                              -                    (580,752)                      -                         -                          -                         -                         -
Capital contributions (to noncontrolling interest entity)                                                   -                         -                   2,256,000                    24,254                    150,000                       -                         -
Proceeds from capital contributions                                                                         -                         -                         -                         -                      600,494                       -                         -
Disposal of healthcare (subsidiary/businesses) business, net                                                -                         -                     898,794                   284,413                     23,759                       -                         -
Increase in deposit liabilities                                                                       2,458,334                 1,742,878                 3,130,793                 6,663,121                  1,629,258                       -                         -
Net cash provided by financing activities                                                            23,584,449                10,175,955               (17,109,738)              (11,157,209)                (1,186,513)               (4,750,442)               (1,346,660)
Cash and cash equivalents of GMAC (Ally) Bank and ResMor Trust upon sale                                    -                         -                         -                         -                   (6,678,339)                      -                         -
Effect of foreign exchange rates on cash and cash equivalents                                           (26,684)                  140,740                   (39,732)                  667,547                   (221,814)                   64,695                   (13,790)
Net Increase (decrease) in cash and cash equivalents                                                  1,367,670                  (247,906)                2,397,066                 2,566,848                 (6,062,027)                 (248,530)                  (53,505)
Cash and cash equivalents reclassified to assets of held-for sale                                           -                         -                         -                         -                     (155,473)                  155,473                       -
Cash and cash equivalents at the beginning of year                                                      899,083                 2,266,753                 2,018,847                 4,415,913                  6,982,761                   765,261                   672,204
Cash and cash equivalents at the end of year                                                 $        2,266,753        $        2,018,847         $       4,415,913         $       6,982,761         $          765,261        $          672,204        $          618,699
                                                                                                                                                                                                                                                                                     Pg 300 of 385




Source: Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006); Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008); Residential Capital, LLC, Annual Report (Form 10-K)
(Feb. 27, 2009); Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010 [EXAM00124455]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and
2009, dated Feb. 28, 2011 [EXAM00123128]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00122651].
                                                                                                                                                                                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                    Appendix




                                                                                                           Appendix VI.B.4.b, Page 34 of 46
                                                                                                                        Appendix VI.B.4.b, Page 35 of 46

Residential Capital, LLC
Income Statement
Quarters Ended 2005 – 2007
($ in Thousands)


                                                                                          3 months ended           3 months ended            3 months ended           3 months ended           3 months ended           3 months ended           3 months ended            3 months ended           3 months ended
                                                                                             12/31/05                 03/31/06                  06/30/06                 09/30/06                 12/31/06                 03/31/07                 06/30/07                  09/30/07                 12/31/07
Revenue
    Interest income                                                                      $        1,646,002        $       1,863,365        $        2,009,922       $        2,085,558       $        2,210,189       $        2,134,712        $       1,968,730        $        1,886,006       $        1,578,435
    Automotive operating lease income                                                                   -                        -                         -                        -                        -                        -                        -                         -                        -
    Interest expense                                                                              1,218,709                1,435,369                 1,557,894                1,703,606                1,763,351                1,745,184                1,656,377                 1,680,746                1,478,539
                                                                                                                                                                                                                                                                                                                                             12-12020-mg




    Depreciation expense on automotive operating lease income                                           -                        -                         -                        -         $              -                        -                        -                         -                        -
    Impairment of investment in automotive operating leases                                             -                        -                         -                        -                        -                        -                        -                         -                        -
  Net interest income/net financing revenue                                                         427,293                  427,996                   452,028                  381,952                  446,838                  389,528                  312,353                   205,260                   99,896
    Provision for loan losses                                                                       190,000                  122,733                   122,604                  238,723                  850,024                  545,009                  330,418                   884,213                  835,503
  Net interest income after provision for loan losses                                               237,293                  305,263                   329,424                  143,229                 (403,186)                (155,481)                 (18,065)                 (678,953)                (735,607)
  Gain (loss) on sale of mortgage loans, net                                                        249,604                  267,064                   374,969                  236,755                   11,428                 (234,637)                 173,514                  (569,589)                 298,981
    Servicing fees                                                                                  369,302                  374,684                   386,484                  401,095                  421,411                  447,177                  452,144                   451,420                  439,662
    Amortization and impairment of servicing rights                                                (246,324)                     -                         -                        -                        -                        -                        -                         -                        -
    Servicing asset valuation and hedge gain, net                                                   (30,805)                (185,513)                 (170,760)                (331,338)                (412,621)                (302,354)                (151,533)                 (123,439)                  33,675
  Net servicing fees                                                                                 92,173                  189,171                   215,724                   69,757                    8,790                  144,823                  300,611                   327,981                  473,337
  Gain (loss) on investment securities, net                                                          (6,685)                 (18,429)                    1,468                  141,729                  (56,103)                  39,934                  (56,474)                 (332,511)                (398,779)
                                                                                                                                                                                                                                                                                                                                             Doc 3698-36




  Real estate related revenues                                                                      185,280                  144,195                                            162,228                   99,582                  131,282                  137,606                    23,505                  (73,959)
  Gain (loss) on extinguishment of debt                                                                 -                        -                         -                        -                        -                        -                        -                         -                    521,088
  Gain (loss) on foreclosed real estate                                                                 -                        -                         -                        -                        -                        -                        -                         -                   (401,672)
  Gain (loss) on sale of equity investments                                                             -                        -                     414,508                      -                        -                        -                       (542)                      -                        -
  Automotive operating lease income                                                                     -                        -                         -                        -                        -                        -                        -                         -                    510,927
  Other income                                                                                       77,991                   54,612                    50,704                   38,943                   53,649                  145,764                  109,461                    46,667                  (98,128)
Total net revenue                                                                                   835,656                  941,876                 1,573,832                  792,641                 (285,840)                  71,685                  646,111                (1,182,900)                  96,188
Provision for loan losses                                                                               -                        -                         -                        -                        -                        -                        -                         -                        -
Expenses
  Representation and warranty expense, net                                                              -                        -                         -                        -                        -                        -                         -                        -                        -
  Compensation and benefits                                                                         335,104                  306,804                   375,657                  298,949                  224,929                  333,911                   350,880                  306,034                  233,755
  Mortgage fines and penalties                                                                          -                        -                         -                        -                        -                        -                         -                        -                        -
  Professional fees                                                                                  68,697                   56,800                    62,011                   74,752                   79,493                   57,986                    57,516                   57,119                   81,450
  Data processing and telecommunications                                                             51,718                   44,919                    47,571                   48,140                   48,522                   47,874                    45,492                   64,126                   44,754
  Advertising                                                                                        34,619                   41,748                    43,404                   34,396                   33,244                   30,420                    35,097                   29,700                   25,024
  Occupancy                                                                                          28,822                   32,825                    33,854                   33,962                   37,046                   34,751                    39,224                   34,345                   37,962
                                                                                                                                                                                                                                                                                                                              Pg 301 of 385




  Restructuring                                                                                         -                        -                         -                        -                        -                        -                         -                        -                    126,646
  Goodwill impairment                                                                                   -                        -                         -                        -                        -                        -                         -                    454,828                      -
  Loss (gain) on foreign currency                                                                       -                        -                         -                        -                        -                        -                         -                        -                        -
  Depreciation expense on automotive lease income                                                       -                        -                         -                        -                        -                        -                         -                        -                    307,984
  Other                                                                                             148,969                  119,313                   132,569                  153,471                  232,556                  387,489                   282,509                  226,756                  129,972
Total expenses                                                                                      667,929                  602,409                   695,066                  643,670                  655,790                  892,431                   810,718                1,172,908                  987,547
  Income before income tax expense                                                                  167,727                  339,467                   878,766                  148,971                 (941,630)                (820,746)                 (164,607)              (2,355,808)                (891,359)
  Income tax expense (benefit)                                                                       49,427                  137,973                   330,618                   65,538                 (823,302)                  70,641                    64,988                 (119,442)                   3,603
Net income before minority interest                                                                 118,300                  201,494                   548,148                   83,433                 (118,328)                (891,387)                 (229,595)              (2,236,366)                (894,962)
  Minority interest                                                                                     -                        -                         -                        -                      9,654                   19,089                    24,401                   24,561                   25,977
Net income                                                                                          118,300                  201,494                   548,148                   83,433                 (127,982)                (910,476)                 (253,996)              (2,260,927)                (920,939)
Discontinued operations:
  Income (loss) from discontinued operations before taxes and noncontrolling
  interest                                                                                              -                        -                         -                        -                        -                        -                         -                        -                        -
  Income tax (benefit) expense                                                                          -                        -                         -                        -                        -                        -                         -                        -                        -
Income (loss) from discontinued operations                                                              -                        -                         -                        -                        -                        -                         -                        -                        -
Net income (loss)                                                                                   118,300                  201,494                   548,148                   83,433                 (127,982)                (910,476)                 (253,996)              (2,260,927)                (920,939)
  Less: Net income from discontinued operations attributable to noncontrolling
                                                                                                                                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13




  interest                                                                                              -                        -                         -                        -                        -                        -                         -                        -                        -
Net income (loss) attributable to Residential Capital, LLC                               $          118,300        $         201,494        $          548,148       $           83,433       $         (127,982)      $         (910,476)       $         (253,996)      $       (2,260,927)      $         (920,939)


Note: Income statements for three months ended December 31 were prepared by calculating the difference between ResCap’s full year results and year-to-date results through September 30.
Source: Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 5, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 7, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2007); Residential Capital,
LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2007);Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007); Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006); Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007); Residential Capital, LLC, Annual Report
 (Form 10-K) (Feb. 27, 2008).
                                                                                                                                                                                                                                                                                                                                             Appendix




                                                                                                                         Appendix VI.B.4.b, Page 35 of 46
                                                                                                                         Appendix VI.B.4.b, Page 36 of 46

Residential Capital, LLC
Income Statement
Quarters Ended 2008 – 2009
($ in Thousands)


                                                                                       3 months ended               3 months ended              3 months ended              3 months ended              3 months ended              3 months ended              3 months ended              3 months ended
                                                                                          03/31/08                     06/30/08                    09/30/08                    12/31/08                    03/31/09                    06/30/09                    09/30/09                    12/31/09
Revenue
    Interest income                                                                    $       1,216,024           $       1,145,683           $         954,091           $         824,365           $         316,419           $          291,006          $         261,558            $          99,409
    Automotive operating lease income                                                            147,274                     148,522                     144,949                     132,695                         -                            -                          -                            -
    Interest expense                                                                           1,170,396                     977,027                     894,505                     852,456                     308,666                      282,041                    268,256                      129,500
                                                                                                                                                                                                                                                                                                                                     12-12020-mg




    Depreciation expense on automotive operating lease income                                     87,287                      85,374                      86,485                      96,482                         -                            -                          -                            -
    Impairment of investment in automotive operating leases                                          -                        92,035                         -                        74,500                         -                            -                          -                            -
  Net interest income/net financing revenue                                                      105,615                     139,769                     118,050                     (66,378)                      7,753                        8,965                     (6,698)                     (30,091)
    Provision for loan losses                                                                        -                           -                           -                           -                           -                            -                          -                            -
  Net interest income after provision for loan losses                                            105,615                     139,769                     118,050                     (66,378)                      7,753                        8,965                     (6,698)                     (30,091)
  Gain (loss) on sale of mortgage loans, net                                                    (747,996)                 (1,061,505)                   (138,177)                    (56,241)                    189,380                     (487,414)                   151,339                      411,283
    Servicing fees                                                                               392,072                     392,055                     369,444                     334,198                     304,077                      301,626                    278,218                      259,588
    Amortization and impairment of servicing rights                                                  -                           -                           -                           -                           -                            -                          -                            -
    Servicing asset valuation and hedge gain, net                                                409,503                    (184,850)                   (260,822)                   (248,266)                   (322,083)                    (134,301)                   (25,289)                    (280,720)
  Net servicing fees                                                                             801,575                     207,205                     108,622                      85,932                     (18,006)                     167,325                    252,929                      (21,132)
  Gain (loss) on investment securities, net                                                     (443,820)                    (90,064)                    (41,898)                    (79,998)                    (12,200)                     (48,810)                    (3,430)                     (23,185)
                                                                                                                                                                                                                                                                                                                                     Doc 3698-36




  Real estate related revenues                                                                   (27,944)                     18,656                     (24,970)                     (6,999)                    (34,037)                    (224,121)                    (4,670)                      (4,408)
  Gain (loss) on extinguishment of debt                                                          479,544                     647,075                      42,199                     756,550                     900,324                      816,904                        -                         17,812
  Gain (loss) on foreclosed real estate                                                          (85,369)                    (74,950)                    (49,381)                    (89,506)                    (44,186)                     (34,914)                     6,449                       13,297
  Gain (loss) on sale of equity investments                                                          -                           -                           -                       (40,257)                        -                            -                          -                            -
  Automotive operating lease income                                                                  -                           -                           -                           -                           -                            -                          -                            -
  Other income                                                                                   (20,285)                   (340,489)                    (64,655)                    (51,879)                     (8,019)                     (22,906)                   (23,367)                     (31,232)
Total net revenue                                                                                 61,320                    (554,303)                    (50,210)                    451,224                     981,009                      175,029                    372,552                      332,344
Provision for loan losses                                                                        302,021                     467,300                     660,882                     825,206                     374,046                      502,656                     79,876                    1,048,964
Expenses
  Representation and warranty expense, net                                                           -                           -                           -                           -                           -                            -                           -                           -
  Compensation and benefits                                                                      261,456                     250,136                     228,510                     143,937                      78,677                       96,107                      94,791                      74,442
  Mortgage fines and penalties                                                                       -                           -                           -                           -                           -                            -                           -                           -
  Professional fees                                                                               60,833                     164,735                      84,709                      79,979                      25,658                       37,696                      46,265                      42,901
  Data processing and telecommunications                                                          40,496                      40,682                      36,598                      35,089                      32,683                       36,907                      31,930                      29,717
  Advertising                                                                                     18,188                      18,810                      19,992                      12,382                       2,003                        5,119                       3,459                           29
  Occupancy                                                                                       28,193                      29,017                      28,204                      18,173                      11,633                        8,666                      11,345                      10,426
                                                                                                                                                                                                                                                                                                                      Pg 302 of 385




  Restructuring                                                                                   20,214                      17,681                      72,729                      33,923                         -                            -                           -                           -
  Goodwill impairment                                                                                -                           -                           -                           -                           -                            -                           -                           -
  Loss (gain) on foreign currency                                                                    -                           -                           -                       445,951                         -                            -                           -                           -
  Depreciation expense on automotive lease income                                                    -                           -                           -                           -                           -                            -                           -                           -
  Other                                                                                          178,910                     233,635                     688,270                     (55,682)                    418,531                      330,071                     728,671                     973,469
Total expenses                                                                                   608,290                     754,696                   1,159,012                     713,752                     569,185                      514,566                     916,461                   1,130,984
  Income before income tax expense                                                              (848,991)                 (1,776,299)                 (1,870,104)                 (1,087,734)                     37,778                     (842,193)                   (623,785)                 (1,847,604)
  Income tax expense (benefit)                                                                   (28,182)                    111,339                       4,932                     (98,260)                    (18,671)                      (1,048)                     24,737                       6,958
Net income before minority interest                                                             (820,809)                 (1,887,638)                 (1,875,036)                   (989,474)                     56,449                     (841,145)                   (648,522)                 (1,854,562)
  Minority interest                                                                               38,281                     (28,119)                     37,135                      (8,824)                        -                            -                           -                           -
Net income                                                                                      (859,090)                 (1,859,519)                 (1,912,171)                   (980,650)                     56,449                     (841,145)                   (648,522)                 (1,854,562)
Discontinued operations:
  Income (loss) from discontinued operations before taxes and noncontrolling
  interest                                                                                           -                           -                           -                           -                        (85,592)                        -                           -                    (1,198,097)
  Income tax (benefit) expense                                                                       -                           -                           -                           -                        (32,802)                        -                           -                         1,734
Income (loss) from discontinued operations                                                           -                           -                           -                           -                        (52,790)                        -                           -                    (1,199,831)
Net income (loss)                                                                               (859,090)                 (1,859,519)                 (1,912,171)                   (980,650)                       3,659                    (841,145)                   (648,522)                 (3,054,393)
  Less: Net income from discontinued operations attributable to noncontrolling
                                                                                                                                                                                                                                                                                                                 Filed 05/13/13 Entered 05/13/13 17:08:13




  interest                                                                                           -                           -                           -                           -                          3,430                         -                           -                           -
Net income (loss) attributable to Residential Capital, LLC                             $        (859,090)          $      (1,859,519)          $      (1,912,171)          $        (980,650)          $              229          $         (841,145)         $         (648,522)          $      (3,054,393)


Note: Income statements for three months ended December 31 were prepared by calculating the difference between ResCap’s full year results and year-to-date results through September 30.
Source: Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 7, 2008); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009); Residential
Capital, LLC, Quarterly Report (Form 10-Q) (May. 11, 2009); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009); Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2009 and 2008, dated Sept. 30, 2009 [EXAM00124278];
Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010 [EXAM00124455].
                                                                                                                                                                                                                                                                                                                                     Appendix




                                                                                                                           Appendix VI.B.4.b, Page 36 of 46
                                                                                                                      Appendix VI.B.4.b, Page 37 of 46

Residential Capital, LLC
Income Statement
Quarters Ended 2010 – 2011
($ in Thousands)


                                                                                       3 months ended              3 months ended              3 months ended              3 months ended              3 months ended              3 months ended              3 months ended              3 months ended
                                                                                          3/31/2010                   06/30/10                    09/30/10                    12/31/10                    03/31/11                    06/30/11                    09/30/11                    12/31/11
Revenue
    Interest income                                                                    $         294,220           $         251,373           $         226,728           $         146,599           $         131,652           $         119,478           $         119,981          $          19,729
    Automotive operating lease income                                                                -                           -                           -                           -                           -                           -                           -                          -
                                                                                                                                                                                                                                                                                                                                    12-12020-mg




    Interest expense                                                                             240,990                     199,259                     185,786                     124,128                     150,717                     126,871                     139,991                     15,913
    Depreciation expense on automotive operating lease income                                        -                           -                           -                           -                           -                           -                           -                          -
    Impairment of investment in automotive operating leases                                          -                           -                           -                           -                           -                           -                           -                          -
  Net interest income/net financing revenue                                                       53,230                      52,114                      40,942                      22,471                     (19,065)                     (7,393)                    (20,010)                     3,816
    Provision for loan losses                                                                        -                           -                           -                           -                           -                           -                           -                          -
  Net interest income after provision for loan losses                                             53,230                      52,114                      40,942                      22,471                     (19,065)                     (7,393)                    (20,010)                     3,816
  Gain (loss) on sale of mortgage loans, net                                                     142,480                     140,916                     217,873                     149,221                      35,200                      65,926                      30,823                     90,210
    Servicing fees                                                                               265,302                     261,783                     264,575                     243,492                     229,978                     222,391                     215,222                    172,049
    Amortization and impairment of servicing rights                                                  -                           -                           -                           -                           -                           -                           -                          -
    Servicing asset valuation and hedge gain, net                                                (16,746)                     95,564                     122,232                      21,521                      48,911                         743                    (365,587)                   (39,782)
  Net servicing fees                                                                             248,556                     357,347                     386,807                     265,013                     278,889                     223,134                    (150,365)                   132,267
                                                                                                                                                                                                                                                                                                                                    Doc 3698-36




  Gain (loss) on investment securities, net                                                        8,234                      (2,737)                      2,965                       3,037                         -                           -                           -                          -
  Real estate related revenues                                                                     6,431                       2,482                        (424)                        343                         243                         160                      14,851                        -
  Gain (loss) on extinguishment of debt                                                              -                           -                           -                           -                           -                           -                           -                          -
  Gain (loss) on foreclosed real estate                                                           10,820                      19,343                       3,396                        (795)                     (2,702)                        105                      (3,811)                    (9,395)
  Gain (loss) on sale of equity investments                                                          -                           -                           -                           -                           -                           -                           -                          -
  Automotive operating lease income                                                                  -                           -                           -                           -                           -                           -                           -                          -
  Other income                                                                                   (33,439)                    (25,777)                    (13,562)                     (6,255)                      5,788                      (4,545)                    (35,592)                     4,025
Total net revenue                                                                                436,312                     543,688                     637,997                     433,035                     298,353                     277,387                    (164,104)                   220,923
Provision for loan losses                                                                         (8,267)                      4,300                      (3,749)                        427                       5,632                       1,055                       1,356                     15,978
Expenses
  Representation and warranty expense, net                                                           -                           -                       344,465                     325,987                      26,000                     184,133                      69,626                      44,311
  Compensation and benefits                                                                       79,112                      64,592                      59,342                      58,739                      81,676                      79,962                      69,206                      88,758
  Mortgage fines and penalties                                                                       -                           -                           -                           -                                                       -                           -                       204,000
  Professional fees                                                                               10,418                       8,956                      17,468                      36,392                      18,962                      18,870                      25,548                      55,169
  Data processing and telecommunications                                                          29,535                      30,316                      27,149                      26,966                      20,203                      21,434                      18,677                      19,368
  Advertising                                                                                        670                          50                         101                        (452)                      8,747                       3,938                       2,398                       3,079
                                                                                                                                                                                                                                                                                                                     Pg 303 of 385




  Occupancy                                                                                          165                       8,923                       5,566                       5,471                       5,633                       4,491                       5,809                       8,896
  Restructuring                                                                                      -                           -                           -                           -                           -                           -                           -                           -
  Goodwill impairment                                                                                -                           -                           -                           -                           -                           -                           -                           -
  Loss (gain) on foreign currency                                                                    -                           -                           -                           -                           -                           -                           -                           -
  Depreciation expense on automotive lease income                                                    -                           -                           -                           -                           -                           -                           -                           -
  Other                                                                                          202,039                     163,859                      92,015                     (71,296)                     82,101                      75,732                      81,477                     109,926
Total expenses                                                                                   321,939                     276,696                     546,106                     381,807                     243,322                     388,560                     272,741                     533,507
  Income before income tax expense                                                               122,640                     262,692                      95,640                      50,801                      49,399                    (112,228)                   (438,201)                   (328,562)
  Income tax expense (benefit)                                                                     6,599                      (3,810)                      6,909                      (2,784)                      8,946                         408                       3,440                       2,677
Net income before minority interest                                                              116,041                     266,502                      88,731                      53,585                      40,453                    (112,636)                   (441,641)                   (331,239)
  Minority interest                                                                                  -                           -                           -                           -                           -                           -                           -                           -
Net income                                                                                       116,041                     266,502                      88,731                      53,585                      40,453                    (112,636)                   (441,641)                   (331,239)
Discontinued operations:
  Income (loss) from discontinued operations before taxes and noncontrolling
  interest                                                                                        (6,123)                     88,942                     (45,571)                      9,819                         -                           -                           -                           -
  Income tax (benefit) expense                                                                         1                      (8,698)                      5,376                         172                         -                           -                           -                           -
Income (loss) from discontinued operations                                                        (6,124)                     97,640                     (50,947)                      9,647                         -                           -                           -                           -
                                                                                                                                                                                                                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13




Net income (loss)                                                                                109,917                     364,142                      37,784                      63,232                      40,453                    (112,636)                   (441,641)                   (331,239)
  Less: Net income from discontinued operations attributable to
  noncontrolling interest                                                                            -                           -                           -                           -                           -                           -                           -                           -
Net income (loss) attributable to Residential Capital, LLC                             $         109,917           $         364,142           $          37,784           $          63,232           $          40,453           $        (112,636)          $        (441,641)         $         (331,239)


Note: Income statements for three months ended December 31 were prepared by calculating the difference between ResCap’s full year results and year-to-date results through September 30.
Source: Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2010 and 2009, dated Mar. 31, 2010 [EXAM00122870]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2010 and 2009, dated June 30, 2010
[EXAM00122936]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2010 and 2009, dated Sept. 30, 2010 [EXAM00122999]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011
                                                                                                                                                                                                                                                                                                                                    Appendix




[EXAM00123128]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2011 and 2010, dated Mar. 31, 2011 [EXAM00122339]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2011 and 2010, dated June 30,
2011 [EXAM00122389]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2011 and 2010, dated Sept. 30, 2011 [EXAM00122480]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28,
2012 [EXAM00122651].




                                                                                                                       Appendix VI.B.4.b, Page 37 of 46
                                                                                                          Appendix VI.B.4.b, Page 38 of 46

Residential Capital, LLC
Balance Sheet
Quarters Ended 2005 – 2007
($ in Thousands)

                                                                    12/31/05               03/31/06                06/30/06               09/30/06               12/31/06                03/31/07               06/30/07               09/30/07               12/31/07
 Cash and cash equivalents                                     $       2,266,753       $      2,233,577       $       1,885,504      $       1,977,842       $      2,018,847       $       2,602,494      $       3,714,646      $       6,519,488       $      4,415,913
 Mortgage loans held for sale                                         19,521,566             18,124,746              20,438,913             24,786,757             27,007,382              22,013,665             19,333,920             14,979,699             11,998,236
 Trading securities                                                    3,896,008              4,261,711               4,245,623              5,033,680              4,562,073               5,659,922              5,510,621              3,654,506              2,090,690
 Available for sale securities                                         1,068,937                143,166                 163,080                168,605                229,469                     -                      -                      -                      -
                                                                                                                                                                                                                                                                                                  12-12020-mg




 Mortgage loans held for investment, net                              67,892,660             72,673,116              71,391,876             73,070,182             67,927,951              63,590,182             60,969,454             59,037,772             41,330,322
 Lending receivables, net                                             13,401,047             12,410,206              14,069,392             14,189,249             14,530,104              12,423,337             10,810,071              8,436,517              8,406,495
 Consumer receivables and loans                                              -                      -                       -                      -                      -                       -                      -                      -                      -
 Commercial receivables and loans                                            -                      -                       -                      -                      -                       -                      -                      -                      -
 Allowance for loan losses                                                   -                      -                       -                      -                      -                       -                      -                      -                      -
 Mortgage servicing rights, net                                        4,015,015              4,526,471               5,093,603              4,828,025              4,930,061               5,107,781              6,040,774              5,547,034              4,702,862
 Accounts receivable                                                   1,951,210              1,928,680               2,044,985              2,317,443              2,561,200               2,747,259              2,523,666              2,582,505              3,187,913
 Investments in real estate and other                                  1,855,298              2,155,077               2,127,769              2,593,682              2,622,149               2,509,058              2,369,639              2,069,176              1,629,717
 Goodwill                                                                459,768                459,172                 464,194                466,482                471,463                 471,914                474,128                    -                      -
 Other assets                                                          2,556,830              3,022,564               2,627,545              3,146,426              8,726,120               8,876,974             10,098,999             11,666,696             10,428,516
                                                                                                                                                                                                                                                                                                  Doc 3698-36




 Assets of operations held-for-sale                                          -                      -                       -                      -                      -                       -                      -                      -                      -
Total assets                                                   $     118,885,092       $    121,938,486       $     124,552,484      $     132,578,373       $    135,586,819       $     126,002,586      $     121,845,918      $     114,493,393       $     88,190,664
Borrowings:
  Borrowings from parent                                       $             -         $            -         $            -         $             -         $            -         $            -         $             -        $             -         $            -
  Affiliate borrowings                                                 5,177,462              4,715,364                    -                       -                      -                      -                       -                      -                      -
  Collateralized borrowings in securitization trusts                  56,097,801             58,801,030             57,597,386              57,184,409             53,299,518             48,790,485              45,122,216             38,223,889             16,145,741
  Other borrowings                                                    42,300,507             41,269,836             48,120,450              55,473,999             59,880,378             55,322,542              52,987,276             49,657,090             46,184,150
Total borrowings                                                     103,575,770            104,786,230            105,717,836             112,658,408            113,179,896            104,113,027              98,109,492             87,880,979             62,329,891
  Deposit liabilities                                                  4,123,304              5,595,645              6,308,574               6,257,663              9,851,026              9,366,116              10,652,603             14,488,261             13,349,844
  Other liabilities                                                    3,722,048              3,793,132              4,121,813               5,286,429              4,374,006              4,712,744               4,806,427              4,793,722              5,141,052
  Liabilities of operations held-for-sale                                    -                      -                      -                       -                      -                      -                       -                      -                      -
Total liabilities                                                    111,421,122            114,175,007            116,148,223             124,202,500            127,404,928            118,191,887             113,568,522            107,162,962             80,820,787
Minority interest                                                            -                      -                      -                       -                  559,778                636,794                 769,991              1,158,876              1,339,760
Common stock                                                           3,367,677              3,392,958              3,412,220               3,457,405                    -                      -                       -                      -                      -
                                                                                                                                                                                                                                                                                   Pg 304 of 385




Member's interest                                                            -                      -                      -                       -                3,837,943              4,337,943               4,837,943              5,861,684              6,624,344
Preferred membership interests                                               -                      -                      -                       -                      -                      -                       -                      -                      -
Retained earnings                                                      3,980,587              4,169,214              4,717,362               4,800,795              3,651,935              2,739,338               2,487,110                226,183               (694,756)
Accumulated deficit                                                          -                      -                      -                       -                      -                      -                       -                      -                      -
Accumulated other comprehensive income                                   115,706                201,307                274,679                 117,673                132,235                 96,624                 182,352                 83,688                100,529
Total stockholder’s equity                                             7,463,970              7,763,479              8,404,261               8,375,873              7,622,113              7,173,905               7,507,405              6,171,555              6,030,117
Total liabilities and stockholder’s equity                     $     118,885,092       $    121,938,486       $    124,552,484       $     132,578,373       $    135,586,819       $    126,002,586       $     121,845,918      $     114,493,393       $     88,190,664


Source: Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 5, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2006); Residential Capital, LLC, Quarterly Report (Form
10-Q) (Nov. 7, 2006); Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2007); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2007); Residential Capital, LLC, Quarterly
Report (Form 10-Q) (Nov. 8, 2007); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008).
                                                                                                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                  Appendix




                                                                                                            Appendix VI.B.4.b, Page 38 of 46
                                                                                                   Appendix VI.B.4.b, Page 39 of 46

Residential Capital, LLC
Balance Sheet
Quarters Ended 2008 – 2009
($ in Thousands)

                                                                    03/31/08                06/30/08                09/30/08                12/31/08               03/31/09                06/30/09                09/30/09                12/31/09
 Cash and cash equivalents                                      $      4,154,724       $       6,577,853       $       6,884,843       $       6,982,761       $      1,706,499       $       1,188,722       $         918,503       $         765,261
 Mortgage loans held for sale                                        11,798,322                7,035,841               4,153,005               2,628,907              1,415,908               1,665,602               1,902,541               5,309,529
 Trading securities                                                    1,144,917                 982,668                 867,590                 601,489                510,285                 156,050                 140,767                  98,583
                                                                                                                                                                                                                                                                               12-12020-mg




 Available for sale securities                                               -                       -                       -                       -                      -                       -                       -                       -
 Mortgage loans held for investment, net                             34,000,965              30,324,389              28,842,249              24,745,575               9,549,696               9,093,211               7,874,736               1,834,827
 Lending receivables, net                                              8,809,368               8,069,488               6,541,539               6,005,308              1,342,896                 912,841                 435,116                 304,387
 Consumer receivables and loans                                              -                       -                       -                       -                      -                       -                       -                       -
 Commercial receivables and loans                                            -                       -                       -                       -                      -                       -                       -                       -
 Allowance for loan losses                                                   -                       -                       -                       -                      -                       -                       -                       -
 Mortgage servicing rights, net                                        4,277,979               5,417,361               4,724,561               2,847,850              2,159,085               2,751,996               2,427,895               2,539,588
 Accounts receivable                                                   3,511,615               2,765,428               3,445,542               3,143,198              2,497,344               2,417,374               2,474,892               2,547,390
 Investments in real estate and other                                  1,226,513                 990,671                 681,487                 536,019                465,651                 207,940                 158,403                 114,255
 Goodwill                                                                    -                       -                       -                       -                      -                       -                       -                       -
                                                                                                                                                                                                                                                                               Doc 3698-36




 Other assets                                                        12,417,243              10,440,134              10,374,471              10,469,464               3,450,062               3,603,338               3,416,470               3,235,363
 Assets of operations held-for-sale                                          -                       -                       -                       -                      -                       -                       -                 2,549,427
Total assets                                                    $    81,341,646        $     72,603,833        $     66,515,287        $     57,960,571        $    23,097,426        $     21,997,074        $     19,749,323        $     19,298,610
Borrowings:
  Borrowings from parent                                        $        655,000       $       4,700,000       $       3,270,583       $       2,663,321       $      2,409,925       $       2,931,169       $       2,302,363       $       1,888,792
  Affiliate borrowings                                                       -                   971,677                 874,979                   7,583                    -                       -                       -                       -
  Collateralized borrowings in securitization trusts                   9,368,625               7,900,050               7,008,655               3,752,457              3,414,706               3,640,532               3,530,007               1,484,197
  Other borrowings                                                    41,729,093              31,148,980              28,143,826              22,635,976             11,371,395               9,047,515               8,199,796               8,020,571
Total borrowings                                                      51,752,718              44,720,707              39,298,043              29,059,337             17,196,026              15,619,216              14,032,166              11,393,560
  Deposit liabilities                                                 15,949,764              17,536,939              18,234,788              19,861,515                    -                       -                       -                       -
  Other liabilities                                                    6,492,546               4,803,306               4,712,526               4,951,065              4,851,400               5,327,858               5,308,323               5,447,802
  Liabilities of operations held-for-sale                                    -                       -                       -                       -                      -                       -                       -                 2,182,248
Total liabilities                                                     74,195,028              67,060,952              62,245,357              53,871,917             22,047,426              20,947,074              19,340,489              19,023,610
                                                                                                                                                                                                                                                                Pg 305 of 385




Minority interest                                                      1,413,736               1,475,410               1,954,495               1,901,301                    -                       -                       -                       -
Common stock                                                                 -                       -                       -                       -                      -                       -                       -                       -
Member's interest                                                      6,767,003               6,788,348               6,962,487               7,872,794              7,540,236               8,438,844               8,438,844              11,324,371
Preferred membership interests                                           607,192                 806,344                 806,344                 806,344                    -                       -                       -                       -
Retained earnings                                                            -                       -                       -                       -                      -                       -                       -                       -
Accumulated deficit                                                   (1,709,132)             (3,568,651)             (5,480,822)             (6,461,472)            (6,461,243)             (7,302,388)             (7,950,910)            (11,005,303)
Accumulated other comprehensive income                                    67,819                  41,430                  27,426                 (30,313)               (28,993)                (86,456)                (79,100)                (44,068)
Total stockholder’s equity                                             5,732,882               4,067,471               2,315,435               2,187,353              1,050,000               1,050,000                 408,834                 275,000
Total liabilities and stockholder’s equity                      $     81,341,646       $      72,603,833       $      66,515,287       $      57,960,571       $     23,097,426       $      21,997,074       $      19,749,323       $      19,298,610


Source: Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 7, 2008); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008); Residential Capital, LLC,
Annual Report (Form 10-K) (Feb. 27, 2009); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009); Residential Capital, LLC, Condensed Consolidated Financial
Statements for the Periods Ended September 30, 2009 and 2008, dated Sep. 30, 2009 [EXAM00124278]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010
[EXAM00124455].
                                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                               Appendix




                                                                                                     Appendix VI.B.4.b, Page 39 of 46
                                                                                                Appendix VI.B.4.b, Page 40 of 46

Residential Capital, LLC
Balance Sheet
Quarters Ended 2010 – 2011
($ in Thousands)

                                                                  3/31/2010              06/30/10               09/30/10               12/31/10               03/31/11               06/30/11               09/30/11               12/31/11
 Cash and cash equivalents                                    $        725,055       $        621,415       $        617,808      $         672,204      $         718,710      $         664,466      $         622,516      $         618,699
 Mortgage loans held for sale                                        5,130,658              4,612,792              5,126,729              4,654,907              4,510,873              4,453,227              4,580,125              4,249,625
 Trading securities                                                     54,071                 46,799                 46,039                 46,914                    -                      -                      -                      -
                                                                                                                                                                                                                                                                        12-12020-mg




 Available for sale securities                                              -                     -                      -                      -                      -                      -                      -                      -
 Mortgage loans held for investment, net                             3,007,526                    -                      -                      -                      -                      -                      -                      -
 Lending receivables, net                                              244,054                    -                      -                      -                      -                      -                      -                      -
 Consumer receivables and loans                                             -               2,793,592              3,391,655              1,313,702              1,211,198              1,154,048              1,037,319              1,022,730
 Commercial receivables and loans                                           -                 214,658                181,986                117,316                 92,251                 68,307                 50,524                 38,017
 Allowance for loan losses                                                  -                (104,422)               (94,820)               (42,810)               (34,414)               (23,816)               (19,780)               (28,616)
 Mortgage servicing rights, net                                      2,413,218              1,950,323              1,680,479              1,991,586              2,046,305              1,926,460              1,329,874              1,233,107
 Accounts receivable                                                 2,778,451              2,594,566              2,525,647              2,640,059              2,602,338              2,483,894              2,685,498              3,051,748
 Investments in real estate and other                                       -                     -                      -                      -                      -                      -                      -                      -
 Goodwill                                                                   -                     -                      -                      -                      -                      -                      -                      -
                                                                                                                                                                                                                                                                        Doc 3698-36




 Other assets                                                        2,801,597              4,954,096              6,560,103              5,438,287              4,356,026              5,156,673              8,852,708              6,628,152
 Assets of operations held-for-sale                                 11,287,651            10,870,055                 471,479                    -                      -                      -                                             -
Total assets                                                  $     28,442,281       $    28,553,874        $    20,507,105       $     16,832,165       $     15,503,287       $     15,883,259       $      19,138,784      $     16,813,462
Borrowings:
  Borrowings from parent                                             1,460,215       $      1,364,334       $      1,318,794      $       1,526,775      $       1,339,629      $       1,261,203      $       1,183,100      $       1,189,364
  Affiliate borrowings                                                     -                      -                      -                      -                      -                      -                      -                      -
  Collateralized borrowings in securitization trusts                 2,584,746              2,536,105              3,096,026              1,057,287                972,206                920,845                836,222                830,318
  Other borrowings                                                   7,709,777              6,402,443              5,694,705              5,464,454              5,278,965              5,136,093              4,905,568              4,705,404
Total borrowings                                                    11,754,738             10,302,882             10,109,525              8,048,516              7,590,800              7,318,141              6,924,890              6,725,086
  Deposit liabilities                                                      -                      -                      -                      -                      -                      -                      -                      -
  Other liabilities                                                  5,113,218              6,918,269              9,531,012              7,937,485              7,028,267              7,793,027             11,882,814              9,996,026
  Liabilities of operations held-for-sale                           11,148,660             10,539,251                  8,061                    -                      -                                                                    -
Total liabilities                                                   28,016,616             27,760,402             19,648,598             15,986,001             14,619,067             15,111,168             18,807,704             16,721,112
                                                                                                                                                                                                                                                         Pg 306 of 385




Minority interest                                                          -                      -                      -                      -                      -                      -                      -                      -
Common stock                                                               -                      -                      -                      -                      -                      -                      -                      -
Member's interest                                                   11,324,371             11,324,371             11,324,371             11,324,371             11,324,371             11,324,371             11,324,371             11,433,776
Preferred membership interests                                             -                      -                      -                      -                      -                      -                      -                      -
Retained earnings                                                          -                      -                      -                      -                      -                      -                      -                      -
Accumulated deficit                                                (10,899,655)           (10,535,513)           (10,497,729)           (10,434,497)           (10,394,044)           (10,506,680)           (10,948,321)           (11,279,560)
Accumulated other comprehensive income                                     949                  4,614                 31,865                (43,710)               (46,107)               (45,600)               (44,970)               (61,866)
Total stockholder’s equity                                             425,665                793,472                858,507                846,164                884,220                772,091                331,080                 92,350
Total liabilities and stockholder’s equity                    $     28,442,281       $     28,553,874       $     20,507,105      $      16,832,165      $      15,503,287      $      15,883,259      $      19,138,784      $      16,813,462


Source: Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2010 and 2009, dated Mar. 31, 2010 [EXAM00122870]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the
Periods Ended June 30, 2010 and 2009, dated June 30, 2010 [EXAM00122936]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2010 and 2009, dated Sept. 30, 2010 [EXAM00122999];
Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011 [EXAM00123128]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March
31, 2011 and 2010, dated Mar. 31, 2011 [EXAM00122339]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2011 and 2010, dated June 30, 2011 [EXAM00122389]; Residential Capital, LLC,
                                                                                                                                                                                                                                                    Filed 05/13/13 Entered 05/13/13 17:08:13




Condensed Consolidated Financial Statements for the Periods Ended September 30, 2011 and 2010, dated Sept. 30, 2011 [EXAM00122480]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010,
dated Mar. 28, 2012 [EXAM00122651].
                                                                                                                                                                                                                                                                        Appendix




                                                                                                 Appendix VI.B.4.b, Page 40 of 46
                                                                                                                Appendix VI.B.4.b, Page 41 of 46

Residential Capital, LLC
Cash Flow Statement
Quarters Ended 2005 – 2007
($ in Thousands)


                                                                                       3 months ended        3 months ended        3 months ended       3 months ended        3 months ended       3 months ended        3 months ended        3 months ended        3 months ended
                                                                                          12/31/05              03/31/06              06/30/06             09/30/06              12/31/06             03/31/07              06/30/07              09/30/07              12/31/07
Cash flow from operating activities:
Net income                                                                             $       118,300       $       201,494       $       548,148       $        83,433      $      (127,982)      $      (910,476)     $      (253,996)      $    (2,260,927)      $       (920,939)
                                                                                                                                                                                                                                                                                                             12-12020-mg




Reconciliation of net income to net cash provided by (used in) operating
activities:
  Amortization and impairment of mortgage servicing rights                                     246,324                     -                     -                     -                    -                     -                    -                     -                     -
  Depreciation and amortization                                                                157,345                90,666                66,123               361,150              147,835               191,553                8,379               504,219               446,996
  Accretion of deferred concession on secured notes                                                  -                     -                     -                     -                    -                     -                    -                     -                     -
  Provision for loan losses                                                                    190,000               122,733               122,604               238,723              850,024               545,009              330,418               884,213               835,503
  Gain on sale of mortgage loans, net                                                         (249,604)             (267,064)             (374,969)             (236,755)             (11,428)              234,637             (173,514)              569,589              (298,981)
  Gain on sale of equity investments                                                                 -                     -              (414,508)                    -                    -                     -                  542                     -                     -
  Net gain on sale of other assets                                                               4,378               (12,444)              (11,596)              (13,794)              55,096                18,634               56,556               148,377                52,292
  Pension curtailment gain                                                                           -                     -                     -               (42,630)                   -                     -                    -                     -                     -
  Goodwill impairment                                                                                -                     -                     -                     -                    -                     -                    -               454,828                     -
                                                                                                                                                                                                                                                                                                             Doc 3698-36




  Gain on extinguishment of debt                                                                     -                     -                     -                     -                    -                     -                    -                     -              (521,088)
  Minority interest                                                                                  -                     -                     -                     -                9,654                19,089               24,401                24,561                25,977
  Impairment of held-for-sale businesses                                                             -                     -                     -                     -                    -                     -                    -                     -                     -
(Gain) loss on valuation of derivatives                                                       (140,810)              464,733               201,739              (435,893)            (230,579)                    -                    -                     -                     -
(Gain) loss on investment securities                                                             6,685                18,429                (1,468)             (141,729)              56,103               (39,934)              56,474               332,511               398,779
Equity in earnings of investees in excess of cash received                                     (44,377)              (32,213)              (33,127)              (10,943)              (9,162)              (17,226)              (5,954)               13,355                89,077
(Gain) loss on valuation of mortgage servicing rights                                         (103,927)             (194,536)             (104,733)              768,570              350,052               261,982             (445,458)              705,259               737,746
Originations and purchases of mortgage loans held for sale                                 (41,424,190)          (35,539,837)          (44,587,067)          (48,435,361)         (47,979,443)          (36,227,342)         (33,244,099)          (27,251,484)          (18,511,476)
Proceeds from sales and repayments of mortgage loans held for sale                          18,803,098            32,344,307            39,650,288            38,525,028           45,905,082            40,181,401           34,645,313            24,431,254            16,199,900
Deferred income tax                                                                            195,684               238,705               119,994                37,204             (741,347)               (8,323)              (3,336)              (69,331)              256,728
Net change in:
  Trading securities                                                                          (779,204)               608,865               62,006              (160,466)            (211,549)           (1,260,252)             (54,223)            1,616,389              1,198,396
  Accounts receivable                                                                          (62,381)                (5,089)            (123,552)             (281,993)            (236,516)             (206,474)             200,262               (90,266)              (599,538)
  Other assets                                                                                 231,622               (159,919)             464,915              (250,014)          (1,411,052)              661,966             (841,899)           (2,160,407)             2,054,169
  Other liabilities                                                                           (853,240)              (645,827)             (38,327)              888,866             (191,329)              332,175               (9,263)              (18,253)               235,971
                                                                                                                                                                                                                                                                                              Pg 307 of 385




Net cash provided by (used in) operating activities                                        (23,704,297)            (2,766,997)          (4,453,530)           (9,106,604)          (3,776,541)            3,776,419              290,603            (2,166,113)             1,679,512
Cash flow from investing activities:
Net increase in lending receivables                                                         (2,080,540)             1,021,803           (1,689,434)              (43,447)            (489,342)            1,940,742            1,718,540             1,523,955                  5,263
Net decrease in consumer mortgage finance receivables and loans                                      -                      -                    -                     -                    -                     -                    -                     -                      -
Originations and purchases of mortgage loans held for investment                              (553,835)            (6,452,537)          (3,234,839)           (3,629,079)          (2,002,335)           (1,814,457)          (2,187,923)           (2,730,908)            (1,857,259)

Proceeds from sales and repayments of mortgage loans held for investment                    10,226,281              5,852,269            6,766,718             6,344,119            6,223,537             5,491,524            4,994,758             3,650,312              2,795,311
Purchases of available for sale securities                                                     (27,710)                (6,575)             (26,383)              (10,083)             (11,232)                    -                    -                     -                (72,018)
Proceeds from sales and repayments of available for sale securities                            295,244                  4,937                6,176                 6,929                6,286                     -                    -                     -                 28,605
Originations and purchases of mortgage servicing rights, net of sales                          929,912                      -                    -                     -                    -                     -                    -                     -                      -
Additions to mortgage servicing rights                                                        (266,589)                     -               (5,520)               (6,252)                  (8)                    -                    -                (3,192)                     -
Sale of mortgage servicing rights                                                              207,591                      -                    -                     -                    -                     -                    -               165,557                398,152
Net decrease in investments in real estate and other                                                 -                      -                    -                     -                    -                     -                    -                     -                      -
Purchase of and advances to investments in real estate and other                              (563,820)              (457,688)            (310,860)             (684,839)            (241,715)             (103,754)             (71,428)              (22,587)               (13,023)
Proceeds from sales of and returns of investments in real estate and other                     262,438                194,456              768,162               232,233              183,359               222,676              196,417               200,012                230,443
Proceeds from sales of repossessed, foreclosed and owned real estate                                 -                      -                    -                     -                    -                     -                    -                     -                      -
Consolidation of IB Finance Holding Company, LLC                                                     -                      -                    -                     -              251,347                     -                    -                     -                      -
                                                                                                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13




Acquisitions, net of cash required                                                              (3,988)                     -               (2,219)                    -                 (332)                    -                    -                     -                103,743
Sale of business unit, net                                                                           -                      -                    -                     -                    -                     -                    -                     -                      -
Other, net                                                                                     308,148                 55,042              268,725               334,321              323,371               142,153              339,487             1,368,922               (673,908)
Net cash provided by (used in) investing activities                                    $     8,733,132       $        211,707      $     2,540,526       $     2,543,902      $     4,242,936       $     5,878,884      $     4,989,851       $     4,152,071       $        945,309


Note: Quarterly cash flows statements were prepared by calculating the difference between ResCap’s year-to-date results.
Source: Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 5, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q)
                                                                                                                                                                                                                                                                                                             Appendix




(Nov. 7, 2006); Residential Capital, LLC Annual Report (Form 10-K) (Mar. 13, 2007); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2007); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2007); Residential Capital, LLC, Quarterly Report (Form 10-
Q) (Nov. 8, 2007); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008).




                                                                                                                 Appendix VI.B.4.b, Page 41 of 46
                                                                                                          Appendix VI.B.4.b, Page 42 of 46

Residential Capital, LLC
Cash Flow Statement
Quarters Ended 2005 – 2007
($ in Thousands)

                                                                                      3 months ended       3 months ended      3 months ended       3 months ended      3 months ended       3 months ended       3 months ended      3 months ended       3 months ended
                                                                                         12/31/05             03/31/06            06/30/06             09/30/06            12/31/06             03/31/07             06/30/07            09/30/07             12/31/07
Cash flows from financing activities:
Net decrease in borrowings from parent and affiliates                                  $            -      $             -      $             -     $             -      $              -    $              -     $             -     $              -     $             -
Net increase in borrowings from parent                                                              -                    -                    -                   -                                         -                   -                    -                   -
                                                                                                                                                                                                                                                                                                  12-12020-mg




Net decrease in affiliate borrowings                                                       (1,477,549)            (486,342)          (4,691,120)                  -                    -                    -                   -                    -                   -
Net increase in other short-term borrowings                                                 1,854,718           (3,280,545)            (799,764)          6,842,826              (31,714)          (2,242,891)         (4,743,248)          (4,676,912)         (1,346,425)
Proceeds from issuance of collateralized borrowings in securitization trusts               12,215,042            7,726,261            4,446,868           5,508,875            1,635,557              261,531             961,573            2,713,951           1,697,762
Repayments of collateralized borrowings in securitization trusts                           (5,739,415)          (5,131,505)          (5,858,425)         (5,957,308)          (5,657,850)          (4,795,865)         (4,620,540)          (4,051,356)         (2,462,073)
Proceeds from secured aggregation facilities, long-term                                     7,896,054            4,513,759            6,416,406           8,026,228           10,114,674            4,016,419           3,304,378            4,837,838             200,000
Repayments from secured aggregation facilities, long-term                                  (3,157,448)          (5,141,761)          (5,619,414)         (9,201,607)          (7,980,207)          (7,024,998)         (4,854,876)          (4,330,872)         (1,200,635)
Proceeds from other long-term borrowings                                                    2,413,429            3,039,925            7,107,287           1,687,898            2,462,937            1,191,744           5,369,986            1,299,040           2,337,000
Repayments from other long-term borrowings                                                     58,178             (149,668)            (124,027)           (133,021)            (161,714)            (499,248)         (1,289,033)            (865,983)         (2,538,222)
Extinguishment of long-term borrowing                                                               -                    -                    -                   -                    -                    -                   -                    -                   -
Payments of debt issuance costs                                                              (121,413)             (35,119)             (47,273)            (19,422)              (7,866)              (6,297)            (20,659)               5,648             (22,062)
                                                                                                                                                                                                                                                                                                  Doc 3698-36




Dividends paid                                                                                      -                    -                    -                   -             (580,752)             500,000            (500,000)                   -                   -
Capital contributions (to noncontrolling interest entity)                                           -                    -                    -                   -                    -                    -           1,000,000            1,256,000                   -
Proceeds from capital contributions                                                                 -                    -                    -                   -                    -                    -                   -                    -                   -
Disposal of healthcare (subsidiary/businesses) business, net                                        -                    -                    -                   -                    -                    -                   -              898,794                   -
Increase in deposit liabilities                                                               487,742            1,472,341              712,929             (50,911)            (391,481)            (484,910)          1,286,487            3,835,658          (1,506,442)
Net cash provided by financing activities                                                  14,429,338            2,527,346            1,543,467           6,703,558             (598,416)          (9,084,515)         (4,105,932)             921,806          (4,841,097)
Cash and cash equivalents of GMAC Bank and ResMor Trust upon sale                                   -                    -                    -                   -                    -                    -                   -                    -                   -
Effect of foreign exchange rates on cash and cash equivalents                                  (5,091)              (5,232)              21,464             (48,518)             173,026               12,859             (62,370)            (102,922)            112,701
Net increase (decrease) in cash and cash equivalents                                         (546,918)             (33,176)            (348,073)             92,338               41,005              583,647           1,112,152            2,804,842          (2,103,575)
Cash and cash equivalents reclassified to assets of held-for sale                                   -                    -                    -                   -                    -                    -                   -                    -                   -
Cash and cash equivalents at beginning of year                                              2,813,671            2,266,753            2,233,577           1,885,504            1,977,842            2,018,847           2,602,494            3,714,646           6,519,488
Cash and cash equivalents at end of year                                               $    2,266,753      $     2,233,577      $     1,885,504     $     1,977,842      $     2,018,847     $      2,602,494     $     3,714,646     $      6,519,488     $     4,415,913
                                                                                                                                                                                                                                                                                   Pg 308 of 385




Note: Quarterly cash flows statements were prepared by calculating the difference between ResCap’s year-to-date results.
Source: Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 5, 2006); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2006); Residential Capital, LLC, Quarterly Report (Form
10-Q) (Nov. 7, 2006); Residential Capital, LLC Annual Report (Form 10-K) (Mar. 13, 2007); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2007); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2007); Residential Capital, LLC, Quarterly
Report (Form 10-Q) (Nov. 8, 2007); Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008).
                                                                                                                                                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                  Appendix




                                                                                                            Appendix VI.B.4.b, Page 42 of 46
                                                                                                                      Appendix VI.B.4.b, Page 43 of 46

Residential Capital, LLC
Cash Flow Statement
Quarters Ended 2008 – 2009
($ in Thousands)

                                                                                           3 months ended          3 months ended          3 months ended           3 months ended          3 months ended          3 months ended           3 months ended          3 months ended
                                                                                              03/31/08                06/30/08                09/30/08                 12/31/08                03/31/09                06/30/09                 09/30/09                12/31/09
Cash flow from operating activities:
Net income                                                                                $        (859,090)       $     (1,859,519)       $      (1,912,171)      $        (980,650)       $           3,659       $        (841,145)      $        (648,522)       $     (3,054,393)
Reconciliation of net income to net cash provided by (used in) operating
activities:
                                                                                                                                                                                                                                                                                                              12-12020-mg




  Amortization and impairment of mortgage servicing rights                                                -                       -                       -                        -                       -                       -                        -                       -
  Depreciation and amortization                                                                     340,808                 (23,763)                 65,085                   74,264                  (5,716)                 48,467                   18,290                   3,690
  Accretion of deferred concession on secured notes                                                       -                       -                       -                        -                       -                (100,982)                 (32,301)                (32,460)
  Provision for loan losses                                                                         302,021                 467,300                 660,882                  825,206                 471,766                 502,656                   79,876               1,174,852
  Gain on sale of mortgage loans, net                                                               747,996               1,061,505                 138,177                   56,241                (190,633)                488,667                 (152,592)                (95,302)
  Gain on sale of equity investments                                                                      -                       -                       -                   40,257                       -                       -                        -                       -
  Net gain on sale of other assets                                                                  (45,416)                577,713                  (5,868)                  71,164                  37,462                 260,624                     (890)                 30,011
  Pension curtailment gain                                                                                -                       -                       -                        -                       -                       -                        -                       -
  Goodwill impairment                                                                                     -                       -                       -                        -                       -                       -                        -                       -
  Gain on extinguishment of debt                                                                   (479,544)               (647,075)                (42,199)                (756,550)               (900,324)               (816,904)                       -                 (17,812)
  Minority interest                                                                                  38,281                 (28,119)                 37,135                   (8,824)                      -                       -                        -                       -
                                                                                                                                                                                                                                                                                                              Doc 3698-36




  Impairment of held-for-sale businesses                                                                  -                       -                       -                        -                       -                       -                        -                 903,276
(Gain) loss on valuation of derivatives                                                                   -                       -                       -                        -                       -                       -                        -                       -
(Gain) loss on investment securities                                                                443,820                  90,064                  41,898                   79,998                  12,200                  52,275                    3,430                  18,708
Equity in earnings of investees in excess of cash received                                           (1,548)                 (3,092)                    311                      448                   6,543                       -                        -                       -
(Gain) loss on valuation of mortgage servicing rights                                               629,584                (687,373)                587,162                1,720,754                 286,496                (481,056)                 444,619                    (849)
Originations and purchases of mortgage loans held for sale                                      (19,598,307)            (17,335,354)            (11,847,416)              (8,640,214)             (9,656,702)            (16,294,484)             (14,970,611)            (15,778,695)
Proceeds from sales and repayments of mortgage loans held for sale                               19,357,813              22,373,401              13,210,882                9,644,962               9,632,542              16,623,646               14,737,858              15,976,725
Deferred income tax                                                                                 (67,591)                257,093                  (9,112)                (205,532)                (67,153)                   (417)                  (1,040)                  2,965
Net change in:
  Trading securities                                                                                551,770                 118,265                  176,615                  21,617                   4,314                   16,565                  13,363                 (14,483)
  Accounts receivable                                                                              (283,799)                721,006                 (675,416)                218,562                 188,426                  112,537                 (30,588)                 55,871
  Other assets                                                                                      (35,489)              1,617,710                  119,373              (1,211,284)                133,984                 (155,659)                153,980                (235,092)
  Other liabilities                                                                                  84,555              (1,993,088)                 224,750                 197,077                  71,117                  107,733                 664,952                 473,231
Net cash provided by (used in) operating activities                                               1,125,864               4,706,674                  770,088               1,147,496                  27,981                 (477,477)                279,824                (589,757)
Cash flow from investing activities:
                                                                                                                                                                                                                                                                                               Pg 309 of 385




Net increase in lending receivables                                                                (416,304)                412,833                  447,333                  (2,380)               (371,511)                 142,563                 483,653                 119,921
Net decrease in consumer mortgage finance receivables and loans                                           -                       -                        -                       -                       -                        -                       -                       -
Originations and purchases of mortgage loans held for investment                                 (1,642,308)             (1,331,064)                (662,371)               (325,629)               (224,092)                (214,569)               (204,301)               (163,025)
Proceeds from sales and repayments of mortgage loans held for investment                          1,737,721               1,780,996                1,261,770                 954,353                 510,191                  422,416                 570,440                 385,087
Purchases of available for sale securities                                                                -                       -                        -                       -                       -                        -                       -                       -
Proceeds from sales and repayments of available for sale securities                                       -                       -                        -                       -                       -                        -                       -                       -
Originations and purchases of mortgage servicing rights, net of sales                                     -                       -                        -                       -                       -                        -                       -                       -
Additions to mortgage servicing rights                                                                    -                       -                        -                       -                       -                        -                       -                       -
Sale of mortgage servicing rights                                                                   174,112                       -                  310,179                 312,574                       -                   19,337                       -                       -
Net decrease in investments in real estate and other                                                      -                       -                        -                       -                       -                        -                       -                       -
Purchase of and advances to investments in real estate and other                                    (12,320)                 (3,382)                  (1,150)                 13,551                  (4,100)                    (264)                      -                       -
Proceeds from sales of and returns of investments in real estate and other                          112,883                 143,992                  103,028                  85,774                  42,534                   18,526                  44,614                  32,953
Proceeds from sales of repossessed, foreclosed and owned real estate                                      -                       -                        -                       -                       -                  516,820                 197,425                 160,957
Consolidation of IB Finance Holding Company, LLC                                                          -                       -                        -                       -                       -                        -                       -                       -
Acquisitions, net of cash required                                                                        -                       -                        -                       -                       -                        -                       -                       -
Sale of business unit, net                                                                                -                       -                        -                       -                       -                        -                       -                       -
Other, net                                                                                          156,682                 391,573                  359,134                 944,808                 426,219                 (310,361)                181,394                   1,241
Net cash provided by (used in) investing activities                                       $         110,466        $      1,394,948        $       1,817,923       $       1,983,051        $        379,241        $         594,468       $       1,273,225        $        537,134
                                                                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




Note: Quarterly cash flows statements were prepared by calculating the difference between ResCap’s year-to-date results.
Source: Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 7, 2008); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008); Residential Capital, LLC, Annual Report (Form 10-K)
(Feb. 27, 2009); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009); Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2009 and 2008,
dated Sept. 30, 2009 [EXAM00124278]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010 [EXAM00124455].
                                                                                                                                                                                                                                                                                                              Appendix




                                                                                                                       Appendix VI.B.4.b, Page 43 of 46
                                                                                                              Appendix VI.B.4.b, Page 44 of 46

Residential Capital, LLC
Cash Flow Statement
Quarters Ended 2008 – 2009
($ in Thousands)



                                                                                       3 months ended           3 months ended          3 months ended          3 months ended          3 months ended          3 months ended          3 months ended          3 months ended
                                                                                          03/31/08                 06/30/08                09/30/08                12/31/08                03/31/09                06/30/09                09/30/09                12/31/09
Cash flows from financing activities:
Net decrease in borrowings from parent and affiliates                                  $               -       $               -       $               -       $               -        $              -        $              -        $               -       $               -
                                                                                                                                                                                                                                                                                                         12-12020-mg




Net increase in borrowings from parent                                                           655,000               4,045,000                (577,876)                 83,105                (186,116)                571,243                 (628,805)                (98,457)
Net decrease in affiliate borrowings                                                                   -                 971,677                 (96,698)               (867,396)                 (7,583)                      -                        -                       -
Net increase in other short-term borrowings                                                   (3,275,241)             (5,780,654)             (1,862,611)             (2,600,519)               (725,195)               (544,490)                (425,116)                (48,139)
Proceeds from issuance of collateralized borrowings in securitization trusts                           -                       -                       -                       -                       -                 229,933                        -                       -
Repayments of collateralized borrowings in securitization trusts                                (994,499)               (756,387)               (656,721)               (484,525)               (348,822)               (416,389)                (402,034)               (334,152)
Proceeds from secured aggregation facilities, long-term                                          160,000                       -                       -                       -                       -                       -                        -                       -
Repayments from secured aggregation facilities, long-term                                       (465,114)                      -                       -                       -                       -                       -                        -                       -
Proceeds from other long-term borrowings                                                       1,325,000               1,080,000                 570,000                  18,000                 711,000                 521,000                  157,000                 122,000
Repayments from other long-term borrowings                                                    (1,342,106)             (2,803,541)               (818,563)             (1,540,500)               (287,404)               (709,939)                (550,933)               (161,348)
Extinguishment of long-term borrowing                                                                  -              (2,060,829)                      -                       -                       -                       -                        -                       -
Payments of debt issuance costs                                                                   (9,620)                (27,722)                 (8,910)                 (6,747)                 (6,936)                (18,254)                  (1,264)                   (824)
                                                                                                                                                                                                                                                                                                         Doc 3698-36




Dividends paid                                                                                         -                       -                       -                       -                       -                       -                        -                       -
Capital contributions (to noncontrolling interest entity)                                              -                  14,264                     (10)                 10,000                 150,000                     494                        -                    (494)
Proceeds from capital contributions                                                                    -                       -                       -                       -                       -                       -                        -                 600,494
Disposal of healthcare (subsidiary/businesses) business, net                                           -                       -                 163,310                 121,103                       -                  23,759                        -                       -
Increase in deposit liabilities                                                                2,604,119               1,584,300                 696,525               1,778,177               1,629,258                       -                        -                       -
Net cash provided by financing activities                                                     (1,342,461)             (3,733,892)             (2,591,554)             (3,489,302)                928,202                (342,643)              (1,851,152)                 79,080
Cash and cash equivalents of GMAC Bank and ResMor Trust upon sale                                      -                       -                       -                       -              (6,678,339)                      -                        -                       -
Effect of foreign exchange rates on cash and cash equivalents                                   (155,058)                 55,399                 310,533                 456,673                  66,653                (292,125)                  27,884                 (24,226)
Net increase (decrease) in cash and cash equivalents                                            (261,189)              2,423,129                 306,990                  97,918              (5,276,262)               (517,777)                (270,219)                  2,231
Cash and cash equivalents reclassified to assets of held-for sale                                      -                       -                       -                       -                       -                       -                        -                (155,473)
Cash and cash equivalents at beginning of year                                                 4,415,913               4,154,724               6,577,853               6,884,843               6,982,761               1,706,499                1,188,722                 918,503
Cash and cash equivalents at end of year                                               $       4,154,724       $       6,577,853       $       6,884,843       $       6,982,761        $      1,706,499        $      1,188,722        $         918,503       $         765,261


Note: Quarterly cash flows statements were prepared by calculating the difference between ResCap’s year-to-date results.
                                                                                                                                                                                                                                                                                          Pg 310 of 385




Source: Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 7, 2008); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008); Residential Capital, LLC, Annual Report (Form 10-K)
(Feb. 27, 2009); Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009); Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2009 and
2008, dated Sept. 30, 2009 [EXAM00124278]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010 [EXAM00124455].
                                                                                                                                                                                                                                                                                     Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                         Appendix




                                                                                                                Appendix VI.B.4.b, Page 44 of 46
                                                                                                            Appendix VI.B.4.b, Page 45 of 46

Residential Capital, LLC
Cash Flow Statement
Quarters Ended 2010 – 2011
($ in Thousands)

                                                                                        3 months ended         3 months ended         3 months ended           3 months ended          3 months ended         3 months ended          3 months ended          3 months ended
                                                                                           03/31/10                06/30/10               09/30/10                12/31/10                03/31/11               06/30/11                09/30/11                12/31/11
Cash flow from operating activities:
Net income                                                                              $        109,917       $         364,142       $          37,784       $          63,232      $          40,453       $        (112,636)      $       (441,641)      $        (331,239)
Reconciliation of net income to net cash provided by (used in) operating
                                                                                                                                                                                                                                                                                                      12-12020-mg




activities:
  Amortization and impairment of mortgage servicing rights                                             -                       -                       -                      -                       -                       -                      -                       -
  Depreciation and amortization                                                                   17,195                  (3,225)                 13,159                  5,846                   7,004                   6,798                  7,369                   6,074
  Accretion of deferred concession on secured notes                                              (32,489)                (28,468)                (24,403)               (24,649)                (24,898)                (25,150)               (25,404)                (25,661)
  Provision for loan losses                                                                       (2,452)                 13,697                   3,639                   (266)                  5,632                   1,055                  1,356                  15,978
  Gain on sale of mortgage loans, net                                                           (139,829)               (230,167)               (142,960)                30,769                 (35,200)                (65,926)               (30,823)                (90,210)
  Gain on sale of equity investments                                                                   -                       -                       -                      -                       -                       -                      -                       -
  Net gain on sale of other assets                                                                (2,030)                (21,375)                   (440)                (1,041)                  3,345                    (605)                 5,747                   7,647
  Pension curtailment gain                                                                             -                       -                       -                      -                       -                       -                      -                       -
  Goodwill impairment                                                                                  -                       -                       -                      -                       -                       -                      -                       -
  Gain on extinguishment of debt                                                                       -                       -                       -                      -                       -                       -                      -                       -
                                                                                                                                                                                                                                                                                                      Doc 3698-36




  Minority interest                                                                                    -                       -                       -                      -                       -                       -                      -                       -
  Impairment of held-for-sale businesses                                                          (3,800)                (94,845)                 43,996                      -                       -                       -                      -                       -
(Gain) loss on valuation of derivatives                                                                -                       -                       -                      -                       -                       -                      -                       -
(Gain) loss on investment securities                                                              (8,234)                  3,231                  (2,965)                (3,531)                      -                       -                      -                       -
Equity in earnings of investees in excess of cash received                                          (973)                      -                       -                      -                       -                       -                      -                       -
(Gain) loss on valuation of mortgage servicing rights                                            162,684                 504,065                 324,340               (265,738)                (36,488)                130,944                608,589                 109,390
Originations and purchases of mortgage loans held for sale                                   (14,928,615)            (12,830,183)            (18,244,166)           (24,292,857)            (15,483,820)            (13,254,685)           (15,514,873)            (16,422,289)
Proceeds from sales and repayments of mortgage loans held for sale                            14,698,898              13,164,978              18,122,800             24,355,740              15,204,714              13,170,121             15,188,251              16,050,206
Deferred income tax                                                                                    -                       -                       -                      -                  (2,004)                 (4,548)                 1,690                     226
Net change in:
  Trading securities                                                                               7,198                     244                   5,499                  4,655                       -                       -                      -                       -
  Accounts receivable                                                                             67,645                 209,207                 200,369                (84,189)                250,806                 246,419                 13,678                 241,685
  Other assets                                                                                   448,658              (2,136,439)             (1,773,355)              (294,356)              1,170,188                (866,836)            (3,743,608)              2,001,318
  Other liabilities                                                                             (183,922)              1,839,900               2,154,018               (741,835)               (787,829)                864,624              4,062,536              (1,669,094)
Net cash provided by (used in) operating activities                                              209,851                 754,762                 717,315             (1,248,220)                311,903                  89,575                132,867                (105,969)
                                                                                                                                                                                                                                                                                       Pg 311 of 385




Cash flow from investing activities:
Net increase in lending receivables                                                               58,179                 109,471                  21,108                 26,231                  11,412                  10,230                 17,342                   7,448
Net decrease in consumer mortgage finance receivables and loans                                        -                       -                       -              2,493,434                 187,378                 152,195                119,872                  86,690
Originations and purchases of mortgage loans held for investment                                  (5,853)                 (3,136)                 (2,872)                11,861                       -                       -                      -                       -
Proceeds from sales and repayments of mortgage loans held for investment                         846,239                 691,640                 724,167             (2,262,046)                      -                       -                      -                       -
Purchases of available for sale securities                                                             -                       -                       -                      -                       -                       -                      -                       -
Proceeds from sales and repayments of available for sale securities                                    -                       -                       -                      -                       -                       -                      -                       -
Originations and purchases of mortgage servicing rights, net of sales                                  -                       -                       -                      -                       -                       -                      -                       -
Additions to mortgage servicing rights                                                                 -                       -                       -                      -                       -                       -                      -                       -
Sale of mortgage servicing rights                                                                      -                       -                       -                      -                       -                       -                      -                       -
Net decrease in investments in real estate and other                                                   -                       -                       -                107,187                   3,085                     935                    435                      88
Purchase of and advances to investments in real estate and other                                       -                       -                       -                      -                       -                       -                      -                       -
Proceeds from sales of and returns of investments in real estate and other                        78,620                  10,423                  13,328               (102,371)                      -                       -                      -                       -
Proceeds from sales of repossessed, foreclosed and owned real estate                             154,022                 139,784                  84,062                 26,151                  44,363                  30,431                 18,576                  14,979
Consolidation of IB Finance Holding Company, LLC                                                       -                       -                       -                      -                       -                       -                      -                       -
Acquisitions, net of cash required                                                                     -                       -                       -                      -                       -                       -                      -                       -
Sale of business unit, net                                                                             -                       -                (341,797)               219,015                       -                       -                      -                       -
                                                                                                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13




Other, net                                                                                       (40,341)                   (822)                (40,115)               987,940                  (9,072)                 (8,756)                43,431                 147,507
Net cash provided by (used in) investing activities                                     $      1,090,866       $         947,360       $         457,881       $      1,507,402       $         237,166       $         185,035       $        199,656       $         256,712


Note: Quarterly cash flows statements were prepared by calculating the difference between ResCap’s year-to-date results.
Source: Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2010 and 2009, dated Mar. 31, 2010 [EXAM00122870]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2010 and
2009, dated June 30, 2010 [EXAM00122936]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2010 and 2009, dated Sept. 30, 2010 [EXAM00122999]; Residential Capital, LLC, Consolidated Financial Statements for the
Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011 [EXAM00123128]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2011 and 2010, dated Mar. 31, 2011 [EXAM00122339]; Residential Capital, LLC, Condensed
Consolidated Financial Statements for the Periods Ended June 30, 2011 and 2010, dated June 30, 2011 [EXAM00122389]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2011 and 2010, dated Sept. 30, 2011
                                                                                                                                                                                                                                                                                                      Appendix




[EXAM00122480]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00122651].




                                                                                                              Appendix VI.B.4.b, Page 45 of 46
                                                                                                            Appendix VI.B.4.b, Page 46 of 46

Residential Capital, LLC
Cash Flow Statement
Quarters Ended 2010 – 2011
($ in Thousands)

                                                                                     3 months ended          3 months ended          3 months ended         3 months ended          3 months ended         3 months ended          3 months ended          3 months ended
                                                                                        03/31/10                06/30/10                09/30/10               12/31/10                03/31/11               06/30/11                09/30/11                12/31/11
Cash flows from financing activities:
Net decrease in borrowings from parent and affiliates                                $               -       $              -       $               -       $        (362,017)      $              -       $               -       $              -       $        (228,007)
Net increase in borrowings from parent                                                        (428,576)               (95,881)                (45,541)                569,998               (187,146)                (78,426)               (78,103)                343,675
                                                                                                                                                                                                                                                                                                   12-12020-mg




Net decrease in affiliate borrowings                                                                 -                      -                       -                       -                      -                       -                      -                       -
Net increase in other short-term borrowings                                                   (195,229)              (164,405)                 72,609                (543,421)                91,776                (118,918)              (173,236)               (186,261)
Proceeds from issuance of collateralized borrowings in securitization trusts                    19,741                213,013                       -                       -                      -                       -                      -                       -
Repayments of collateralized borrowings in securitization trusts                              (755,848)              (513,575)               (658,357)               (250,603)              (140,203)               (127,247)              (104,203)                (94,983)
Proceeds from secured aggregation facilities, long-term                                              -                      -                       -                       -                      -                       -                      -                       -
Repayments from secured aggregation facilities, long-term                                            -                      -                       -                       -                      -                       -                      -                       -
Proceeds from other long-term borrowings                                                        64,000                444,000                 107,000                (143,605)               519,362                  77,127                134,242                  56,594
Repayments from other long-term borrowings                                                     (92,443)            (1,498,973)               (934,225)                441,896               (796,606)                (85,345)              (135,916)                (34,836)
Extinguishment of long-term borrowing                                                                -                      -                       -                       -                      -                       -                      -                       -
Payments of debt issuance costs                                                                      -                      -                       -                       -                      -                       -                      -                       -
Dividends paid                                                                                       -                      -                       -                       -                      -                       -                      -                       -
                                                                                                                                                                                                                                                                                                   Doc 3698-36




Capital contributions (to noncontrolling interest entity)                                            -                      -                       -                       -                      -                       -                      -                       -
Proceeds from capital contributions                                                                  -                      -                       -                       -                      -                       -                      -                       -
Disposal of healthcare (subsidiary/businesses) business, net                                         -                      -                       -                       -                      -                       -                      -                       -
Increase in deposit liabilities                                                                      -                      -                       -                       -                      -                       -                      -                       -
Net cash provided by financing activities                                                   (1,388,355)            (1,615,821)             (1,458,514)               (287,752)              (512,817)               (332,809)              (357,216)               (143,818)
Cash and cash equivalents of GMAC Bank and ResMor Trust upon sale                                    -                      -                       -                       -                      -                       -                      -                       -
Effect of foreign exchange rates on cash and cash equivalents                                   83,783                 20,527                 (12,238)                (27,377)                10,254                   3,955                (17,257)                (10,742)
Net increase (decrease) in cash and cash equivalents                                            (3,855)               106,828                (295,556)                (55,947)                46,506                 (54,244)               (41,950)                 (3,817)
Cash and cash equivalents reclassified to assets of held-for sale                              (36,351)              (210,468)                291,949                 110,343                      -                       -                      -                       -
Cash and cash equivalents at beginning of year                                                 765,261                725,055                 621,415                 617,808                672,204                 718,710                664,466                 622,516
Cash and cash equivalents at end of year                                             $         725,055       $        621,415       $         617,808       $         672,204       $        718,710       $         664,466       $        622,516       $         618,699



Note: Quarterly cash flows statements were prepared by calculating the difference between ResCap’s year-to-date results.
Source: Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2010 and 2009, dated Mar. 31, 2010 [EXAM00122870]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended June 30, 2010
                                                                                                                                                                                                                                                                                    Pg 312 of 385




and 2009, dated June 30, 2010 [EXAM00122936]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2010 and 2009, dated Sept. 30, 2010 [EXAM00122999]; Residential Capital, LLC, Consolidated Financial Statements for
the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011 [EXAM00123128]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended March 31, 2011 and 2010, dated Mar. 31, 2011 [EXAM00122339]; Residential Capital, LLC,
Condensed Consolidated Financial Statements for the Periods Ended June 30, 2011 and 2010, dated June 30, 2011 [EXAM00122389]; Residential Capital, LLC, Condensed Consolidated Financial Statements for the Periods Ended September 30, 2011 and 2010, dated Sept. 30, 2011
[EXAM00122480]; Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00122651].
                                                                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                   Appendix




                                                                                                              Appendix VI.B.4.b, Page 46 of 46
                                                                                                  Appendix VI.E—1, Page 1 of 5


GMAC Mortgage, LLC
Consolidated Income Statements
Years Ended December 2003 – 2011
($ in Thousands)


                                                                                 2003              2004             2005             2006              2007             2008              2009             2010              2011
Revenue
      Interest income                                                       $     599,195     $     418,737     $    583,799     $     618,598    $     622,449     $     338,614    $     274,608     $     220,647    $      72,248
                                                                                                                                                                                                                                                                       12-12020-mg




      Interest expense                                                            341,394           260,370          504,404           763,091          776,288           506,105          305,060           173,307          115,548
  Net financing revenue                                                           257,801           158,367           79,395          (144,493)        (153,839)         (167,491)         (30,452)           47,340          (43,300)

Other revenue
       Servicing fees                                                             835,789            869,486          969,262        1,051,398        1,137,956           996,966          926,635           848,755          730,876
       Amortization and impairment of mortgage servicing rights                         -           (775,564)        (539,412)               -                -                 -                -                 -                -
       Servicing asset valuation and hedge activities, net                              -            211,222           93,610         (718,073)        (320,946)          237,483         (587,273)          340,249         (293,416)
  Total servicing income, net                                                     835,789            305,144          523,460          333,325          817,010         1,234,449          339,362         1,189,004          437,460
  Gain on mortgage loans, net                                                   1,057,167            438,129          313,727          246,518           38,598           231,354          517,329           298,672          163,330
                                                                                                                                                                                                                                                                       Doc 3698-36




  Gain (loss) on investments, net                                                  58,199             68,863          130,045          119,316         (369,540)         (257,341)         (44,426)                -           (8,282)
  Loss on foreclosed real estate                                                        -                  -                -                -                -            (6,907)         (11,600)           (5,502)
  Other revenue, net                                                               58,423             59,142           77,870           96,208           97,625           (84,209)         161,637           102,793           91,071
       Total other revenue                                                      2,009,578            871,278        1,045,102          795,367          583,693         1,117,346          962,302         1,584,967          683,579
  Total net revenue                                                             2,267,379          1,029,645        1,124,497          650,874          429,854           949,855          931,850         1,632,307          640,279
  Provision for loan losses                                                        89,137             (5,298)          (1,130)           1,195           24,986           134,806          745,670             5,586           (2,697)
  Hedge and asset valuation (gain), net                                          (401,748)                 -                -                -                -                 -                -                 -                -
  Amortization and impairment of mortgage servicing rights                      1,555,275                  -                -                -                -                 -                -                 -                -
  Noninterest expense
       Compensation and benefits                                                  290,879           215,118          329,689           292,973          310,324          312,253            279,772          238,109          304,516
       Mortgage fines and penalties                                                     -                 -                -                 -                -                -                  -                -          204,000
       Representation and warranty expense, net                                         -                 -                -                 -                -                -          1,024,294          703,719           98,614
       Professional fees                                                           39,097            41,106           55,787            62,215           41,434           37,570             38,422           54,542           94,136
       Data processing and telecommunications                                      96,160            97,867           88,478            81,484           97,842           67,131            112,366          111,030           77,955
                                                                                                                                                                                                                                                        Pg 313 of 385




       Occupancy                                                                   38,062            37,578           41,565            48,078           47,563           36,341             27,849           22,228           26,461
       Goodwill impairment                                                              -                 -                -                 -          176,726                -                  -                -                -
       Restructuring                                                                    -                 -                -                 -           46,760                -                  -                -
       Supplies and equipment                                                      39,495                 -                -                 -                -                -                  -                -
       Advertising                                                                104,113           126,271          126,628           110,632           79,624           46,437             10,049              360           18,160
       Other noninterest expense, net                                              95,394           209,815          191,461           184,598          277,809          393,984          1,024,343          410,438          341,198
  Total noninterest expense                                                       703,200           727,755          833,608           779,980        1,078,082          893,716          2,517,095        1,540,426        1,165,040
  Income(loss) before income taxes                                                321,515           307,188          292,019          (130,301)        (673,214)         (78,667)        (2,330,915)          86,295         (522,064)
  Income tax provision (benefit)                                                  110,133           144,547          125,763          (780,424)          16,662          (21,723)            (7,057)           9,346            5,466

  Net income (loss)                                                         $     211,382     $     162,641     $    166,256     $    650,123     $    (689,876)    $     (56,944)   $ (2,323,858)     $      76,949    $    (527,530)


Source: GMAC Mortgage Corporation, Consolidated Financial Statements as of and for the Years Ended December 31, 2004 and 2003 (Restated), dated Mar. 25, 2005 [EXAM00126060]; GMAC Mortgage Corporation, Consolidated Financial Statements as of
and for the Years Ended December 31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231553];GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007
                                                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




[EXAM00231760]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2007 and 2006, dated Mar. 25, 2008 [EXAM00232043]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years
Ended December 31, 2008 and 2007, dated Mar. 25, 2009 [EXAM00126182]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124578]; GMAC Mortgage, LLC
Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Mar. 10, 2011 [EXAM00123214]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012
[EXAM00232252].
                                                                                                                                                                                                                                                                       Appendix




                                                                                                  Appendix VI.E—1, Page 1 of 5
                                                                                                Appendix VI.E—1, Page 2 of 5


GMAC Mortgage, LLC
Consolidated Balance Sheets
Years Ended December 2003 – 2011
($ in Thousands)


                                                              2003             2004              2005             2006             2007              2008             2009              2010             2011
Assets
                                                                                                                                                                                                                                                                       12-12020-mg




Current assets
  Cash and cash equivalents                              $     237,833    $     166,498     $     147,829    $      84,591    $     126,779     $     206,558    $     125,130     $     194,340    $     117,303
  Investments, trading                                         276,018          482,187         2,098,233        1,772,604          595,962                 -                -                 -                -
  Investments, available for sale                               88,607        1,237,290         1,057,361          151,492          150,194                 -                -                 -                -
  Accounts receivable                                          749,694          757,374         1,088,035          986,005        1,349,013         2,537,805        2,409,026         2,466,377        2,850,059
  Mortgage loans held for sale, net                          5,468,819        4,498,742         4,746,127        4,387,668        2,382,949           604,370        2,729,973         3,384,115        3,105,352
  Mortgage loans held for investment, net                       93,756           89,932            68,973           53,907        1,323,347         1,710,968                -                 -                -
                                                                                                                                                                                                                                                                       Doc 3698-36




  Mortgage servicing rights, net                             2,590,622        2,682,557         3,056,446        3,752,733        3,395,126         1,977,973        2,254,269         1,827,529        1,131,518
  Certificated trading securities                                    -                -                 -                -                -            84,773           75,012                 -                -
  Finance receivables and loans, net
       Consumer                                                     -                -                 -                -                -                -           239,099           241,730          205,917
       Allowance for loan losses                                    -                -                 -                -                -                -           (13,481)          (16,676)         (10,126)
       Total finance receivables and loan, net                      -                -                 -                -                -                -           225,618           225,054          195,791
  Lending receivables                                         513,067          630,497           847,223            1,333              182                -                 -                 -                -
  Goodwill                                                    161,107          171,996           176,726          176,726                -                -                 -                 -                -
  Other assets                                                379,011          807,594           691,526          487,613        1,287,129        2,380,887         2,730,572         5,172,331        6,579,084
  Intercompany income taxes receivable                        373,508                -                 -                -                -                -                 -                 -                -
Total assets                                             $ 10,932,042     $ 11,524,667      $ 13,978,479     $ 11,854,672     $ 10,610,681      $ 9,503,334      $ 10,549,600      $ 13,269,746     $ 13,979,107
                                                                                                                                                                                                                                                        Pg 314 of 385




Source: GMAC Mortgage Corporation, Consolidated Financial Statements as of and for the Years Ended December 31, 2004 and 2003 (Restated), dated Mar. 25, 2005 [EXAM00126060]; GMAC Mortgage Corporation, Consolidated Financial Statements as of
and for the Years Ended December 31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231553]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007
[EXAM00231760]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2007 and 2006, dated Mar. 25, 2008 [EXAM00232043]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years
Ended December 31, 2008 and 2007, dated Mar. 25, 2009 [EXAM00126182]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124578]; GMAC Mortgage, LLC
Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Mar. 10, 2011 [EXAM00123214]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012
[EXAM00232252].
                                                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                       Appendix




                                                                                                Appendix VI.E—1, Page 2 of 5
                                                                                                  Appendix VI.E—1, Page 3 of 5


GMAC Mortgage, LLC
Consolidated Balance Sheets
Years Ended December 2003 – 2011
($ in Thousands)


                                                                2003              2004             2005             2006            2007             2008             2009               2010              2011
Liabilities and equity
                                                                                                                                                                                                                                                                       12-12020-mg




Liabilities
   Borrowings
        Borrowings                                           $ 9,115,730    $            -   $            -   $            -   $           -    $           -    $           -     $            -    $            -
        Affiliate borrowings                                           -         1,690,545        3,682,655        4,114,680       4,078,398        3,705,601                -                  -                 -
        Borrowings from Ally Inc.                                      -                 -                -                -               -                -        1,047,199          1,047,009           749,163
        Borrowings from parent                                         -                 -                -                -               -                -          358,709            515,891            17,614
        Collateralized borrowings in securitization trusts             -                 -                -                -               -                -                -            112,342            39,201
                                                                                                                                                                                                                                                                       Doc 3698-36




        Other borrowings                                               -         7,803,068        7,778,349        5,213,427       3,434,309        1,532,625        1,708,899          1,405,020         1,243,055
   Total borrowings                                            9,115,730         9,493,613       11,461,004        9,328,107       7,512,707        5,238,226        3,114,807          3,080,262         2,049,033
   Other liabilities                                           1,353,185         1,397,887        1,742,725        1,241,935       1,991,336        2,580,559        4,428,035          7,123,490         9,337,828
   Total liabilities                                          10,468,915        10,891,500       13,203,729       10,570,042       9,504,043        7,818,785        7,542,842         10,203,752        11,386,861

Equity
  Common stock, $250 par value, (1000 shares
       authorized, issued and outstanding)                           250              250                 -                -               -                -                 -                 -                 -
  Captial paid in excess of par value                            570,700          570,700                 -                -               -                -                 -                 -                 -
  Common stock, $250 par value, (1000 shares
       authorized, issued and outstanding) and paid in
                                                                        -                -         570,950                 -               -                -                 -                 -                 -
       capital
                                                                                                                                                                                                                                                        Pg 315 of 385




  Member's interest                                                    -                -          220,312          571,250        1,081,049        1,753,841        5,378,291          5,378,291         5,444,219
  Retained earnings                                             (108,585)          54,056                -          711,587           21,711                -                -                  -                 -
  Accumulated other comprehensive income:
       Unrealized gain on investments, net of tax                    762            8,161          (16,512)            1,793           3,878                -                 -                 -                 -
  Accumulated deficit                                                  -                -                -                 -               -          (14,381)       (2,338,239)       (2,265,559)       (2,793,089)
  Accumulated other comprehensive loss                                 -                -                -                 -               -          (54,911)          (33,294)          (46,738)          (58,884)
  Total equity                                                   463,127          633,167          774,750         1,284,630       1,106,638        1,684,549         3,006,758         3,065,994         2,592,246

Total liabilities and equity                                 $ 10,932,042   $ 11,524,667     $ 13,978,479     $ 11,854,672     $ 10,610,681     $ 9,503,334      $ 10,549,600      $ 13,269,746      $ 13,979,107



Source: GMAC Mortgage Corporation, Consolidated Financial Statements as of and for the Years Ended December 31, 2004 and 2003 (Restated), dated Mar. 25, 2005 [EXAM00126060]; GMAC Mortgage Corporation, Consolidated Financial Statements as of
and for the Years Ended December 31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231553]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007
                                                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




[EXAM00231760]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2007 and 2006, dated Mar. 25, 2008 [EXAM00232043]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years
Ended December 31, 2008 and 2007, dated Mar. 25, 2009 [EXAM00126182]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124578]; GMAC Mortgage, LLC
Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Mar. 10, 2011 [EXAM00123214]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012
[EXAM00232252].
                                                                                                                                                                                                                                                                       Appendix




                                                                                                  Appendix VI.E—1, Page 3 of 5
                                                                                                              Appendix VI.E—1, Page 4 of 5

GMAC Mortgage, LLC
Consolidated Cash Flow Statements
Years Ended December 2003 – 2011
($ in Thousands)


                                                                                           2003              2004               2005               2006               2007               2008               2009               2010               2011

Operating activities
                                                                                                                                                                                                                                                                                               12-12020-mg




Net (loss) income                                                                     $      211,382    $      162,641     $      166,256     $      650,123     $     (689,876)    $       (56,944)   $    (2,323,858)   $       76,949     $     (527,530)
Reconciliation of net income to net cash provided by (used in) operating activities
Amortization and impairment of mortgage servicing rights                                           -            775,564            539,412                  -                  -                  -                  -                  -                  -
Depreciation, amortization and impairment                                                  1,593,642             27,455             25,355             24,758             (2,796)             3,847            (18,080)             6,378             17,062
Provision for loan losses                                                                     89,137             (5,298)            (1,130)             1,195             24,986            134,806            745,670              5,586             (2,697)
Gain on mortgage loans, net                                                               (1,057,167)          (438,129)          (313,727)          (246,518)           (38,598)          (231,354)          (517,329)          (298,672)          (163,329)
Net loss on sale of other assets                                                                   -                442                437                232                455              6,613             11,604              3,031             13,568
Loss (gain) on investments, available for sale                                               (55,723)                 -                  -                  -                  -                  -                  -                  -                  -
Goodwill impairment                                                                                -               (306)            (4,730)                 -            176,726                  -                  -                  -                  -
Change in fair value of mortgage servicing rights                                           (422,706)           261,370            (86,328)           468,221            910,095          1,485,352             87,399            606,073            750,136
(Gain) loss on valuation derivatives                                                         466,562           (301,864)           229,343             90,318           (581,083)            77,656                  -                  -                  -
                                                                                                                                                                                                                                                                                               Doc 3698-36




(Gain) loss on investment securities                                                               -              3,049            (12,473)          (119,316)           369,540            257,341             44,426                  -                  -
Loss on disposal of capital assets                                                             8,409                  -                  -                  -                  -                  -                  -                  -                  -
Originations and purchases of mortgage loans held for sale                              (115,274,630)       (88,846,443)       (90,908,803)       (71,127,965)       (69,418,845)       (54,494,507)       (56,027,797)       (70,106,524)       (60,562,503)
Proceeds from sales and repayments of mortgage funds held for sale                       115,843,528         89,109,291         89,929,710         70,563,911         69,077,585         55,079,308         56,033,922         69,307,147         59,499,770
Deferred income tax                                                                                -            558,513            286,737           (514,218)            (1,313)            (6,863)            (2,147)                 -                  -
Net change in                                                                                 89,137                  -                  -                  -                  -                  -                  -                  -                  -
      Investments, trading                                                                    64,630           (199,254)        (1,612,204)         1,374,926            797,868            255,036             10,844                  -                  -
      Amortization and impairment of mortgage servicing rights                                     -                  -                  -                  -                  -                  -                  -                  -                  -
      Accounts receivable                                                                    (47,127)            (5,909)          (338,255)            85,722           (329,006)        (1,106,979)           975,681            562,934            779,769
      Other assets                                                                           742,126            895,482          1,089,135            853,760            612,427          2,371,709            (82,061)        (2,697,605)        (1,225,671)
      Income taxes receivable                                                               (203,109)                 -                  -                  -                  -                  -                  -                  -                  -
      Income taxes payable                                                                         -                  -                  -                  -                  -                  -                  -                  -                  -
      Other liabilities                                                                     (785,466)        (1,171,004)        (1,128,654)          (864,897)           (41,110)        (2,211,003)           764,771          2,235,537          2,354,055
Net cash provided by operating activities                                             $    1,173,488    $       825,600    $    (2,139,919)   $     1,240,252    $       867,055    $     1,564,018    $      (296,955)   $      (299,166)   $       932,630
                                                                                                                                                                                                                                                                                Pg 316 of 385




Source: GMAC Mortgage Corporation, Consolidated Financial Statements as of and for the Years Ended December 31, 2004 and 2003 (Restated), dated Mar. 25, 2005 [EXAM00126060]; GMAC Mortgage Corporation, Consolidated Financial Statements as of and for the Years Ended
December 31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231553]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007 [EXAM00231760]; GMAC Mortgage, LLC Consolidated Financial
Statements as of and for the Years Ended December 31, 2007 and 2006, dated Mar. 25, 2008 [EXAM00232043]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2008 and 2007, dated Mar. 25, 2009 [EXAM00126182]; GMAC
Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124578]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Mar. 10, 2011
[EXAM00123214]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00232252].
                                                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                               Appendix




                                                                                                              Appendix VI.E—1, Page 4 of 5
                                                                                                     Appendix VI.E—1, Page 5 of 5

GMAC Mortgage, LLC
Consolidated Cash Flow Statements
Years Ended December 2003 – 2011
($ in Thousands)


                                                                                   2003                2004              2005                2006               2007               2008               2009                2010               2011
Investing activities

Decrease (increase) in lending receivables                                    $     (113,379)    $       (117,508)   $     (217,172)   $       847,713    $         1,169     $           182    $             -    $             -    $              -
                                                                                                                                                                                                                                                                               12-12020-mg




Net decrease (increase) in consumer mortgage finance receivables and loans                 -                    -                 -                  -                  -                   -           (378,850)           272,832              93,699
Originations and purchases of mortgage loans held for investment                     (60,826)             (18,232)           (5,817)        (1,352,448)          (192,373)         (1,728,327)                 -                  -                   -
Proceeds from sales and repayments of mortgage loans held for investment                   -               26,909            26,403          1,364,496            123,469           1,574,933                  -                  -                   -
Purchases of investments, available for sale                                      (2,089,289)          (1,164,172)         (592,554)           (42,907)           (23,382)                  -                  -                  -                   -
Amortization and impairment of mortgage servicing rights                                   -                    -                 -                  -                  -                   -                  -                  -                   -
Principal paydowns of investments, available for sale                                 62,210                    -                 -                  -                  -                   -                  -                  -                   -
Proceeds from sales and repayments of investments, available for sale              4,277,426               23,822           747,000             24,034             27,232              31,176             29,317                  -
Net purchases of property and equipment                                              (25,646)                   -                 -                  -                  -                   -                  -                  -                   -
Purchases of mortgage servicing rights                                            (1,751,672)             (13,875)          (11,592)           (11,780)            (9,291)                  -                  -                  -                   -
Sales of mortgage servicing rights                                                         -                    -           207,591                  -            563,709             516,816                  -                  -
                                                                                                                                                                                                                                                                               Doc 3698-36




Proceeds from sales of repossessed, foreclosed and owned real estate                       -                    -                 -                  -                  -              29,681             47,078             44,343             34,014
Acquisitions, net of cash required                                                         -              (11,764)                -                  -                  -                   -                  -                  -                  -
Other, net                                                                                 -                    -                 -                  -                  -              21,647             22,928            263,334             63,383
Net cash used in investing activities                                                298,824           (1,274,820)          153,859            829,108            490,533             446,108           (279,527)           580,509            191,096

Financing activities

Net increase (decrease) in borrowings from affiliates                                       -           (208,179)         1,992,110            432,025             463,718            (23,409)                 -                  -                   -
Net decrease in borrowings from Ally Inc. and affiliates                                    -                  -                  -                  -                   -                  -             68,387               (190)           (231,919)
Net (decrease) increase in borrowings from parent                                           -                  -                  -                  -                   -                  -            250,393            157,182            (498,277)
Net decrease in other borrowings                                                            -                  -                  -                  -                   -                  -           (173,850)                 -                   -
Proceeds from issuance of collateralized borowings in securitization trusts                 -                  -                  -                  -                   -                  -                  -            165,936                   -
Repayments of collateralized borrowings in securitization trusts                            -                  -                  -                  -                   -                  -                  -           (267,348)           (105,258)
Repayments of other long-term borrowings                                                    -                  -                  -                  -                   -            (62,601)        (1,160,876)                 -                   -
                                                                                                                                                                                                                                                                Pg 317 of 385




Proceeds from other long-term borrowings                                                    -                  -                  -                  -                   -                  -          1,511,000            508,000             662,932
Proceeds from capital contributions received in cash                                        -                  -                  -                300                   -                  -                  -            (47,072)           (840,502)
Net increase (decrease) in other short-term borrowings                             (1,337,883)           586,062            (24,719)        (2,564,923)         (1,779,118)        (1,844,337)                 -           (728,641)           (187,739)
Net cash used in financing activities                                              (1,337,883)           377,883          1,967,391         (2,132,598)         (1,315,400)        (1,930,347)           495,054           (212,133)         (1,200,763)
Net (decrease) increase in cash and cash equivalents                                  134,429            (71,334)           (18,669)           (63,238)             42,188             79,779            (81,428)            69,210             (77,037)
Cash and cash equivalents at beginning of year                                        103,404            237,832            166,498            147,829              84,591            126,779            206,558            125,130             194,340
Cash and cash equivalents, end of year                                        $       237,833    $       166,498     $      147,829    $        84,591    $        126,779    $       206,558    $       125,130    $       194,340    $        117,303


Source: GMAC Mortgage Corporation, Consolidated Financial Statements as of and for the Years Ended December 31, 2004 and 2003 (Restated), dated Mar. 25, 2005 [EXAM00126060]; GMAC Mortgage Corporation, Consolidated Financial Statements as of and for
the Years Ended December 31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231553]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007 [EXAM00231760]; GMAC
Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2007 and 2006, dated Mar. 25, 2008 [EXAM00232043]; GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2008 and
2007, dated Mar. 25, 2009 [EXAM00126182]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124578]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years
Ended December 31, 2010 and 2009, dated Mar. 10, 2011 [EXAM00123214]; GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00232252].
                                                                                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                               Appendix




                                                                                                     Appendix VI.E—1, Page 5 of 5
                                                                                                               Appendix VI.E—2, Page 1 of 6

Residential Funding Company, LLC
Consolidated Income Statements
Years Ended December 2003 – 2011
($ in Thousands)

                                                                            2003                2004                2005               2006                2007                2008                2009                2010                2011
Revenue
      Interest income                                                  $ 2,707,144         $ 4,314,906         $ 4,812,697         $ 6,651,273         $ 5,476,412         $ 1,919,237        $     633,105       $     695,588       $     322,664
      Interest expense                                                   1,064,117           2,133,424           3,185,432           5,152,983           4,776,414           1,876,752              362,420             348,515             167,113
  Net financing revenue                                                  1,643,027           2,181,482           1,627,265           1,498,290             699,998              42,485              270,685             347,073             155,551
                                                                                                                                                                                                                                                                                                              12-12020-mg




Other revenue
  Servicing fees                                                             351,089             428,616             445,397             523,543             640,633            388,476              207,818            123,929             108,912
  Amortization and impairment of servicing rights                                  -            (227,701)           (222,576)                  -                   -                  -                    -                  -                   -
  Servicing asset valuation                                                        -               3,689             (76,424)           (382,159)           (218,146)          (410,432)            (175,120)          (117,679)            (62,299)
       Total servicing income, net                                           351,089             204,604             146,397             141,384             422,487            (21,956)              32,698              6,250              46,613
  (Loss) gain on mortgage loans, net                                         507,309             197,820             587,917             494,410            (484,489)        (1,352,127)             (40,588)           353,864              60,419
  Loss (gain) on investment securities, net                                 (293,592)             (4,421)            108,469             (50,915)           (378,068)          (178,116)             (43,886)                 -                   -
  Real estate related revenues, net                                                -             185,484             248,989             215,315            (152,898)          (336,182)            (267,241)             8,832              15,254
  (Loss) gain on foreclosed real estate                                            -                   -                   -             (56,966)           (402,966)          (279,946)             (42,500)            39,017              (7,521)
                                                                                                                                                                                                                                                                                                              Doc 3698-36




  Gain on extinguishment of debt                                                   -                   -                   -                   -                   -                  -                    -            663,897               4,594
  (Loss) gain on sale of equity investments                                        -                   -               4,213             414,508                (542)                 -                    -                  -                   -
  Management fees                                                            188,988                   -                   -                   -                   -                  -                    -                  -                   -
  Other revenue, net                                                         297,187             411,224             204,193              92,680              67,753           (264,423)            (237,810)          (170,350)           (107,889)
       Total other revenue                                                 1,050,981             994,711           1,300,178           1,250,416            (928,723)        (2,432,750)            (599,327)           901,510              11,470
  Total net revenue                                                        2,694,008           3,176,193           2,927,443           2,748,706            (228,725)        (2,390,265)            (328,642)         1,248,583             167,021
  Provision for credit losses                                                488,531                   -                   -                   -                   -                  -                    -                  -                   -
  Provision for loan losses                                                        -             940,247             648,762           1,315,215           2,473,795          1,330,500              829,727            (12,875)             26,718
  Noninterest expense                                                              -                   -                   -                   -                   -                  -                    -                  -                   -
       Representation and warranty expense, net                                    -                   -                   -                   -                   -                  -                    -           (132,785)            218,303
       Salaries, commissions and benefits                                    522,153                   -                   -                   -                   -                  -                    -                  -                   -
       Compensation and benefits                                                                 581,623             636,443             522,515             520,393            244,026               46,198             24,142              14,966
       Data processing and communications                                     80,567              69,830              85,970              78,593              78,226             65,003               10,279                  -                   -
       Advertising                                                                                                    12,779              21,599              17,559              3,623                   10                  -                   -
       Representation and warranty expense, net                                    -                   -                   -                   -                   -                  -              566,814                  -                   -
                                                                                                                                                                                                                                                                                               Pg 318 of 385




       Occupancy and equipment                                                49,420                   -                   -                   -                   -                  -                    -                  -                   -
       Occupancy                                                                   -              43,709              49,237              56,274              64,825             35,247                3,206                  -                   -
       Goodwill impairment                                                         -                   -                   -                   -             111,627                  -                    -                  -                   -
       Loss (gain) on foreign currency                                             -                   -                   -                   -             (16,871)                 -                    -                  -                   -
       Restructuring                                                               -                   -                   -                   -              79,886                  -                    -                  -                   -
       Amortization and valuation adjustments related to                           -                   -                   -                   -                   -                  -                    -                  -                   -
         capitalized servicing rights                                        363,852                   -                   -                   -                   -                  -                    -                  -                   -
       Professional fees                                                           -             171,662             142,577             193,137             195,322            235,225              104,498             16,009              19,762
       Other noninterest expense, net                                        386,947             268,720             256,026             374,190             642,098            978,127              372,551             32,770              12,103
  Total noninterest expense                                                1,402,939           1,135,544           1,183,032           1,246,308           1,693,065          1,561,251            1,103,556            (59,864)            265,134
  (Loss) income before income taxes                                          802,538           1,100,402           1,095,649             187,183          (4,395,585)        (5,282,016)          (2,261,925)         1,321,322            (124,831)
  Income tax (benefit) expense                                               302,543             411,245             380,719             356,969            (162,904)            61,572              115,148            188,160             (15,136)
  Net (loss) income from continuing operations, net of tax                   499,995             689,157             714,930            (169,786)         (4,232,681)        (5,343,588)          (2,377,073)         1,133,162            (109,695)
  Discontinued operations

       Loss from discontinued operations before income taxes                        -                   -                   -                   -                   -        (1,554,777)                   -                   -                   -

       Income tax expense                                                          -                   -                   -                   -                  -              31,618                  -                  -                     -
                                                                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




  Loss from discontinued operations, net of tax                                    -                   -                   -                   -                  -          (1,586,395)        (2,234,034)            (2,772)                    -
Net income (loss)                                                      $     499,995       $     689,157       $     714,930       $    (169,786)      $ (4,232,681)       $ (6,929,983)      $ (4,611,107)       $ 1,130,390         $    (109,695)


Source: Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2004 (Restated) and 2003 (Restated), dated Mar. 2, 2005 [EXAM00231149]; Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31,
2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231446]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007 [EXAM00231642]; Residential Funding Company, LLC Consolidated Financial
Statements for the Years Ended December 31, 2007 and 2006, dated Mar. 26, 2008 [EXAM00231913]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2008 and 2007, dated Mar. 25, 2009 [EXAM00124988]; Residential Funding
Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124670]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Mar. 10, 2011
                                                                                                                                                                                                                                                                                                              Appendix




[EXAM00123277]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00232321].




                                                                                                                Appendix VI.E—2, Page 1 of 6
                                                                                                                Appendix VI.E—2, Page 2 of 6

Residential Funding Company, LLC
Consolidated Balance Sheets
Years Ended December 2003 – 2011
($ in Thousands)



                                                                        2003                    2004                    2005                    2006                    2007                    2008                    2009                    2010                    2011
Assets
Cash and cash equivalents                                        $         648,026       $         699,506       $         488,085       $         762,726       $         897,834       $         768,129       $         217,825       $         253,146       $         391,884
                                                                                                                                                                                                                                                                                                          12-12020-mg




Mortgage loans held-for-sale                                             4,547,276               7,495,755              12,135,082              21,621,205               7,374,152               1,115,326               2,575,921               1,269,203               1,144,273
Trading securities                                                       3,093,170               2,227,600               1,782,090               2,786,008               1,494,843                 203,573                  48,518                       -                       -
Finance receivables and loans, net
  Consumer ($792,592 and $971,320 fair value
                                                                                    -                       -                       -                       -                       -                       -            1,634,330               1,071,972                 816,812
  elected)
  Commerical                                                                     -                       -                       -                       -                      -                        -                 438,166                 117,316                  38,017
  Allowances for loan losses                                                     -                       -                       -                       -                      -                        -                (158,900)                (26,135)                (18,490)
  Total finance receivables and loans, net                                       -                       -                       -                       -                      -                        -               1,913,596               1,163,153                 836,339
                                                                                                                                                                                                                                                                                                          Doc 3698-36




Mortgage loans held-for-investment, net                                 44,873,613              55,472,116              61,483,729              56,402,547             25,061,474                8,038,077                       -                       -                       -
Lending receivables, net                                                 7,540,483               8,306,534              12,169,600              13,137,610              5,429,150                1,735,274                       -                       -                       -
Mortgage servicing rights, net                                             593,685                 683,435                 958,569               1,177,328              1,188,191                  451,249                 285,319                 164,057                 101,589
Accounts receivable                                                        819,431               1,425,171               1,208,407               1,506,119              1,604,698                  436,961                 184,826                 184,477                 206,664
Investments in real estate and other                                             -               1,397,246               1,855,298               2,622,149              1,629,717                  536,019                                               -                       -
Other investments                                                          339,666                       -                       -                       -                      -                        -                       -                       -                       -
Residential real estate, net                                               788,276                       -                       -                       -                      -                        -                       -                       -                       -
Deferred tax asset, net                                                    373,476                       -                       -                       -                      -                        -                       -                       -                       -
Goodwill                                                                   111,024                 116,790                 117,185                 128,284                      -                        -                       -                       -                       -
Receivable from parent                                                           -                       -                       -                       -                      -                        -                 523,361               2,302,250               1,844,929
Other assets                                                               642,094                 917,103               1,645,494               2,351,482              3,398,605                1,744,920                 442,444                 196,547                 195,798
Assets of operations held-for-sale                                               -                       -                       -                       -                      -                        -               2,549,427                       -                       -
                                                                                                                                                                                                                                                                                           Pg 319 of 385




Total assets                                                     $      64,370,220       $      78,741,256       $      93,843,539       $    102,495,458        $      48,078,664       $     15,029,528        $       8,741,237       $       5,532,833       $       4,721,476


Source: Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2004 (Restated) and 2003 (Restated), dated Mar. 2, 2005 [EXAM00231149]; Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December
31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231446]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007 [EXAM00231642]; Residential Funding Company, LLC Consolidated
Financial Statements for the Years Ended December 31, 2007 and 2006, dated Mar. 26, 2008 [EXAM00231913]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2008 and 2007, dated Mar. 25, 2009 [EXAM00124988]; Residential
Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124670]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated
Mar. 10, 2011 [EXAM00123277]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00232321].
                                                                                                                                                                                                                                                                                      Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                          Appendix




                                                                                                                Appendix VI.E—2, Page 2 of 6
                                                                                                               Appendix VI.E—2, Page 3 of 6

Residential Funding Company, LLC
Consolidated Balance Sheets
Years Ended December 2003 – 2011
($ in Thousands)



                                                                        2003                    2004                    2005                    2006                    2007                    2008                    2009                    2010                    2011
Liabilities and equity
Liabilities
                                                                                                                                                                                                                                                                                                              12-12020-mg




  Borrowings:
      Borrowings from Ally, Inc. and subsidiaries                $               -       $               -       $               -       $               -       $               -       $       1,586,035       $         841,602       $         479,766       $         440,230
      Borrowings from parent                                                     -                       -                       -                       -                       -               1,201,775                       -                       -                       -
      Borrowings from affiliates                                         9,672,792               8,998,242               8,073,433              10,532,326               9,981,971               1,664,930                       -                 211,151                 281,590
      Borrowings from parent and affiliates                                      -                       -                       -                       -                       -                       -               1,814,702                       -                       -
      Collateralized borrowings                                         50,404,694                       -                       -                       -                       -                       -                       -                       -                       -
      Collateralized borrowings in securitization
                                                                                    -           50,708,476              56,097,801              53,299,518              16,145,741               3,752,457               1,484,197                 944,945                 791,117
      trusts
                                                                                                                                                                                                                                                                                                              Doc 3698-36




      Other borrowings                                                     517,326              13,881,890              23,199,754              32,174,891              14,359,258              2,159,716                  451,573                 400,920                 131,674
  Total borrowings                                                      60,594,812              73,588,608              87,370,988              96,006,735              40,486,970             10,364,913                4,592,074               2,036,782               1,644,611
  Deposit liabilities                                                            -                       -                       -                       -                 521,705                639,412                                                -                       -
  Other liabilities                                                      1,749,715               2,359,100               1,982,792               2,128,018               3,258,454              2,055,682                1,361,565               1,152,075                 797,400
  Liabilities of operations held-for-sale                                        -                       -                       -                       -                       -                      -                2,207,195                       -                       -
  Deferred tax liability, net                                                    -                       -                       -                       -                       -                      -                        -                       -                       -
  Reserve for assets sold with recourse                                     71,143                       -                       -                       -                       -                      -                        -                       -                       -
  Total liabilities                                                     62,415,670              75,947,708              89,353,780              98,134,753              44,267,129             13,060,007                8,160,834               3,188,857               2,442,011


Equity

  Common stock, $1 par; (1,000 shares authorized,
                                                                                                                                                                                                                                                                                               Pg 320 of 385




                                                                            446,812                446,812               1,446,812                          -                       -                       -                       -                       -                         -
  issued and outstanding) and paid-in capital

  Member's interest                                                      1,506,873                       -                       -               1,777,151               5,515,679             10,828,896              14,089,278              14,704,121              14,752,930
  (Accumulated deficit) retained earnings                                      865               2,196,030               2,910,960               2,453,777              (1,779,257)            (8,885,378)            (13,496,485)            (12,366,095)            (12,475,790)
  Accumulated other comprehensive income                                         -                 150,706                 131,987                 129,777                  75,113                 26,003                 (12,390)                  5,950                   2,325
  Total equity                                                           1,954,550               2,793,548               4,489,759               4,360,705               3,811,535              1,969,521                 580,403               2,343,976               2,279,465

Total liabilities and equity                                     $      64,370,220       $      78,741,256       $      93,843,539       $    102,495,458        $      48,078,664       $     15,029,528        $       8,741,237       $       5,532,833       $       4,721,476


Source: Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2004 (Restated) and 2003 (Restated), dated Mar. 2, 2005 [EXAM00231149]; Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December
31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231446]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007 [EXAM00231642]; Residential Funding Company, LLC Consolidated
Financial Statements for the Years Ended December 31, 2007 and 2006, dated Mar. 26, 2008 [EXAM00231913]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2008 and 2007, dated Mar. 25, 2009 [EXAM00124988]; Residential
Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124670]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated
Mar. 10, 2011 [EXAM00123277]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00232321].
                                                                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                              Appendix




                                                                                                                Appendix VI.E—2, Page 3 of 6
                                                                                                        Appendix VI.E—2, Page 4 of 6

Residential Funding Company, LLC
Consolidated Cash Flow Statements
Years Ended December 2003 – 2011
($ in Thousands)


                                                                                                 2003               2004               2005              2006               2007               2008               2009               2010               2011
Operating activities
Net (loss) income
                                                                                                                                                                                                                                                                                           12-12020-mg




Reconciliation of net income (loss) to net cash provided by (used in) operating
                                                                                           $      499,995     $      689,157     $      714,930     $    (169,786)     $ (4,232,681)      $ (6,929,983)      $ (4,611,107)      $ 1,130,390        $    (109,695)
activities
     Depreciation and amortization and valuation adjustments                                       299,768            492,084            668,460         593,338             465,292             86,746             62,390             18,965              4,044
     Amortization and valuation adjustments of mortgage servicing rights                           441,773            227,701            222,576               -                   -                  -                  -                  -                  -
     Provision for loan losses                                                                     488,531            940,247            648,762       1,315,215           2,473,795          1,577,008          1,385,760              9,032             26,718
     (Gain) loss on mortgage loans, net                                                           (507,309)          (197,820)          (587,917)       (494,410)            484,489          2,308,148            571,525           (185,561)           (60,419)
     (Gain) loss on sale of equity investments                                                           -                  -             (4,213)       (414,508)                542                  -                  -                  -                  -
     Other investment income                                                                       (40,245)                 -                  -               -                   -                  -                  -                  -                  -
                                                                                                                                                                                                                                                                                           Doc 3698-36




     Gain on sale of investments and residential real estate                                       (27,388)                 -                  -               -                   -                  -                  -                  -                  -
     Originations and purchases of mortgage loans held-for-sale                                (45,877,403)       (34,514,166)       (78,706,145)   (119,574,222)        (67,718,570)        (9,704,900)          (176,839)          (189,297)          (289,713)
     Net loss (gain) on other assets                                                                     -            (40,143)           (42,511)         16,911             372,218            782,690            346,506            (39,417)             2,566
     Gain on extinguishment of debt                                                                      -                  -                  -               -                   -                  -                  -           (663,897)            (4,594)
     Goodwill impairment                                                                                 -                  -                  -               -             111,627                  -                  -                  -                  -
     Recovery of held-for-sale platforms                                                                 -                  -                  -               -                   -                  -            701,650            (54,649)                 -
(Gain) loss on valuation of derivatives                                                                  -             15,202                  -               -                   -                  -                  -                  -                  -
(Gain) loss on investment securities                                                                     -             32,274           (108,469)         50,915             378,068            366,567             43,227                  -                  -
Pension curtailment gain                                                                                 -                  -                  -         (21,970)                  -                  -                  -                  -                  -
Equity in earnings of investees in excess of cash received                                               -           (141,574)          (137,673)        (85,445)             79,252             (3,881)             6,543               (973)                 -
Loss on valuation of mortgage servicing rights for hedge accounting                                      -             10,299                  -               -                   -                  -                  -                  -                  -
Change in fair value of mortgage servicing rights                                                        -                  -                  -         351,133             348,794            531,674            207,040            119,278             62,299
                                                                                                                                                                                                                                                                            Pg 321 of 385




Proceeds from sales and repayments of mortgage loans held-for-sale                              40,065,330         32,286,106         54,677,854      98,231,360          70,196,954         15,493,030            887,862          1,035,269            290,070
Net change in
     Deferred income taxes                                                                     (253,704)             295,941           (50,928)           204,000           (31,724)           128,595              98,081           53,620              (68,987)
     Accounts receivable                                                                       (188,781)            (606,462)          174,906           (326,985)         (203,845)         1,141,054             210,933         (169,472)             (21,363)
     Investment securities, trading                                                             633,822              836,711           553,979           (995,274)          699,266            645,218              28,699                -                    -
     Receivable from parent                                                                           -                    -                 -                  -                 -                  -             (42,354)      (1,778,889)             457,321
     Other assets                                                                              (105,735)              (2,260)         (352,373)          (563,403)        3,736,252          1,597,321             226,399         (450,723)            (183,815)
     Other liabilities                                                                          784,542              639,661          (727,775)          (573,928)       (4,103,395)        (1,468,678)            559,910          799,842              (12,144)
     Reserve for assets sold with recourse, net of provision                                     (7,627)                   -                 -                  -                 -                  -                   -                -                    -
Net cash provided by operating activities                                                  $ (3,794,431)      $      962,958     $ (23,056,537)     $ (22,457,059)     $ 3,056,334        $ 6,550,609        $     506,225      $ (366,482)        $      92,288


Source: Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2004 (Restated) and 2003 (Restated), dated Mar. 2, 2005 [EXAM00231149]; Residential Funding Corporation, Consolidated Financial Statements for the Years
Ended December 31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231446]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007 [EXAM00231642]; Residential Funding
                                                                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2007 and 2006, dated Mar. 26, 2008 [EXAM00231913]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2008 and 2007, dated
Mar. 25, 2009 [EXAM00124988]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124670]; Residential Funding Company, LLC Consolidated Financial Statements for
the Years Ended December 31, 2010 and 2009, dated Mar. 10, 2011 [EXAM00123277]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00232321].
                                                                                                                                                                                                                                                                                           Appendix




                                                                                                        Appendix VI.E—2, Page 4 of 6
                                                                                                           Appendix VI.E—2, Page 5 of 6

Residential Funding Company, LLC
Consolidated Cash Flow Statements
Years Ended December 2003 – 2011
($ in Thousands)


                                                                                  2003                  2004                  2005                2006                 2007                  2008                 2009                 2010                 2011

Investing activities
                                                                                                                                                                                                                                                                                                 12-12020-mg




Net (increase) decrease in commercial finance receivables and
                                                                  $ (1,741,343)                   $     (796,754)       $ (3,915,076)        $ (1,180,018)        $    6,359,714       $    1,408,833        $     935,242        $      214,989       $       46,432
loans
Net decrease in consumer mortgage finance receivables and loans               -                                  -                     -                    -                    -                    -          1,301,785            2,218,622               452,436
Net decrease in investments in real estate and other                          -                                  -                     -                    -                    -                    -            134,263              107,187                 4,543
Originations and purchases of mortgage loans held for
                                                                    (37,168,081)                      (37,965,618)          (14,883,776)        (8,285,839)           (3,076,258)          (1,480,483)                      -                    -                    -
investment
Proceeds from sales and repayments of mortgage loans held for
                                                                     10,045,120                       25,030,805            26,836,000          23,294,308            14,509,194            3,783,289                       -                    -                    -
investment
                                                                                                                                                                                                                                                                                                 Doc 3698-36




Additions to mortgage servicing rights                                 (387,657)                        (213,765)              (243,405)                 -                     -                    -                       -                    -                    -
Sales of mortgage servicing rights                                            -                                -                      -                  -                     -              216,728                       -                    -                    -
Purchases of equity investments                                        (209,275)                               -                      -                  -                     -                    -                       -                    -                    -
Purchase of and advances to investments in real estate and other              -                         (883,840)            (1,249,253)        (1,695,102)             (210,792)              (3,301)                      -                    -                    -
Proceeds from sales of and returns of investments in real estate
                                                                              -                          773,377               923,924           1,378,210               849,548              445,677                       -                    -                    -
and other
Proceeds from sale of and returns of equity investments                  72,909                                  -                     -                    -                    -                    -                     -                    -                    -
Proceeds from sale of investments securities, available for sale,
                                                                         12,591                                  -                     -                    -                    -                    -                     -                    -                    -
net
Repayments of investment securities, held to maturity                    34,710                                  -                     -                    -                    -                    -                     -                    -                    -
Payments for residential real estate                                   (651,048)                                 -                     -                    -                    -                    -                     -                    -                    -
Proceeds from sales of residential real estate                          355,982                                  -                     -                    -                    -                    -                     -                    -                    -
Proceeds from sales of repossessed, foreclosed and owned real
                                                                                                                                                                                                                                                                                  Pg 322 of 385




                                                                              -                                  -                     -                    -                    -          1,708,646              822,075               359,676               74,335
estate
Proceeds from sale of business units, net                                     -                               -                      -                  -                    -                      -                    -             (122,741)                    -
Acquisitions, net of cash acquired                                       (1,599)                              -                      -             (1,811)             103,743                      -                    -                    -                     -
Other, net                                                              228,791                         251,333                718,393          1,053,484            2,768,207               (251,432)              98,389              571,717                14,436
Net cash provided by investing activities                         $ (29,408,900)                  $ (13,804,462)        $    8,186,807       $ 14,563,232         $ 21,303,356         $    5,827,957        $   3,291,754        $   3,349,450        $      592,182


Source: Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2004 (Restated) and 2003 (Restated), dated Mar. 2, 2005 [EXAM00231149]; Residential Funding Corporation, Consolidated Financial Statements for the Years Ended
December 31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231446]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007 [EXAM00231642]; Residential Funding Company, LLC
Consolidated Financial Statements for the Years Ended December 31, 2007 and 2006, dated Mar. 26, 2008 [EXAM00231913]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2008 and 2007, dated Mar. 25, 2009
[EXAM00124988]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124670]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended
December 31, 2010 and 2009, dated Mar. 10, 2011 [EXAM00123277]; Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012 [EXAM00232321].
                                                                                                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                 Appendix




                                                                                                           Appendix VI.E—2, Page 5 of 6
                                                                                                        Appendix VI.E—2, Page 6 of 6

Residential Funding Company, LLC
Consolidated Cash Flow Statements
Years Ended December 2003 – 2011
($ in Thousands)


                                                                                2003                 2004                 2005                2006                 2007                2008                2009                2010                 2011

Financing activities
                                                                                                                                                                                                                                                                                           12-12020-mg




Net (decrease) increase in borrowings from Ally Inc. and
                                                                          $              -     $              -     $             -     $              -     $             -     $    2,778,555       $    (410,513)      $     (361,836)      $        3,941
subsidiaries
Net decrease in borrowings from parent                                                 -                     -                    -                  -                     -          (3,924,050)           (167,401)         (1,603,551)             70,439
Net decrease in borrowings from other affiliates                                       -                     -                    -                  -                     -           1,679,481                   -                   -                   -
Net increase (decrease) in affiliate borrowings                                        -              (683,477)              75,539          2,426,578             3,066,564                   -                   -                   -                   -
Net increase (decrease) in other short term borrowings                                 -             2,357,138            4,132,424          6,764,411           (12,178,357)        (10,609,054)         (1,541,615)            (48,545)           (197,946)
Net increase in other collateralized borrowings                                6,818,943                     -                    -                  -                     -                   -                   -                   -                   -
Net increase in other borrowings                                                 184,041                     -                    -                  -                     -                   -                   -                   -                   -
                                                                                                                                                                                                                                                                                           Doc 3698-36




Cash paid for debt issuance costs                                               (103,836)                    -                    -                  -                     -                   -                   -                   -                   -
Net decrease in notes payable to affiliates                                     (396,448)                    -                    -                  -                     -                   -                   -                   -                   -
Proceeds from issuance of bonds payable to investors                          33,785,488                     -                    -                  -                     -                   -                   -                   -                   -
Repayments of bonds payable to investors                                      (6,741,881)                    -                    -                  -                     -                   -                   -                   -                   -
Proceeds fro issuance of collateralized borrowings in
                                                                                         -         28,804,811           28,361,997          19,317,561             5,634,817                    -           229,933               66,818                     -
securitization trusts
Repayments of collateralized borrowings in securitization trusts                       -           (17,498,926)         (22,682,856)        (22,605,088)         (15,929,834)         (2,892,132)         (1,501,397)         (1,911,035)           (361,378)
Proceeds from secured aggregation facilities, long-term                                -                     -            7,896,054          29,071,067           12,358,635             160,000                   -                   -                   -
Repayments from secured aggregation facilities, long-term                              -                     -           (3,157,448)        (27,942,989)         (17,411,381)           (465,114)                  -                   -                   -
Proceeds from other long-term borrowings                                               -                     -              144,226           1,298,382              214,575                   -                   -             (13,441)              1,909
Repayments of other long-term borrowings                                               -                     -                    -            (218,430)            (841,719)           (332,510)           (183,320)            655,513             (53,534)
Proceeds from disposal of business, net                                                -                     -                    -                   -              898,794             163,309                   -                   -                   -
                                                                                                                                                                                                                                                                            Pg 323 of 385




Capital contributions                                                                  -                     -                    -                   -                2,595                   -                 494                   -                   -
Increase in deposit liabilities                                                        -                     -                    -                   -              153,680             269,157                   -                   -                   -
Payments of debt issuance costs                                                        -              (102,618)             (85,232)            (63,498)             (31,225)            (44,593)            (30,688)                  -                   -
Proceeds from sale of business, net                                                    -                     -                    -                   -                    -                   -            (341,001)                  -                   -
Net cash provided by financing activities                                     33,546,307            12,876,928           14,684,704           8,047,994          (24,062,856)        (13,216,951)         (3,945,508)         (3,216,077)           (536,569)
Effect of changes in foreign exchange rates on cash and cash
                                                                                    7,317              16,056               (26,395)           120,474             (161,726)            708,680            (247,302)             112,957               (9,163)
equivalents

Net increase (decrease) in cash and cash equivalents                             350,293               51,480             (211,421)            274,641              135,108            (129,705)           (394,831)            (120,152)            138,738
Change in cash and cash equivalents of operations held-for-sale                        -                    -                    -                   -                    -                   -            (155,473)             155,473                   -
Cash and cash equivalents, beginning of year                                     297,733              648,026              699,506             488,085              762,726             897,834             768,129              217,825             253,146
Cash and cash equivalents, end of year                                    $      648,026       $      699,506       $      488,085      $      762,726       $      897,834      $      768,129       $     217,825       $      253,146       $     391,884
                                                                                                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




Source: Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2004 (Restated) and 2003 (Restated), dated Mar. 2, 2005 [EXAM00231149]; Residential Funding Corporation, Consolidated Financial Statements for the Years
Ended December 31, 2005 and 2004 (Restated), dated Mar. 30, 2006 [EXAM00231446]; Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2006 and 2005, dated Mar. 29, 2007 [EXAM00231642]; Residential Funding
Corporation, Consolidated Financial Statements for the Years Ended December 31, 2007 and 2006, dated Mar. 26, 2008 [EXAM00231913]; Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2008 and 2007, dated Mar.
25, 2009 [EXAM00124988]; Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Mar. 19, 2010 [EXAM00124670]; Residential Funding Corporation, Consolidated Financial Statements for the Years
Ended December 31, 2010 and 2009, dated Mar. 10, 2011 [EXAM00123277]; Residential Funding Corporation, Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010 (Restated), dated Mar. 28, 2012 [EXAM00232321].
                                                                                                                                                                                                                                                                                           Appendix




                                                                                                        Appendix VI.E—2, Page 6 of 6
12-12020-mg        Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                           Pg 324 of 385
                                Appendix VIII.A––1, Page 1 of 2

                                        List of RMBS Actions

An “(AFI)” designation indicates that the lawsuit names at least one AFI Released Party as a defendant.

    1. Allstate Ins. Co. v. GMAC Mortg. LLC, Case No. 27-cv-11-3480 (Minn. D. Ct.) (AFI)

    2. Assured Guarantee Mun. Corp. v. GMAC Mortg., LLC, Case No. 12-3776 (S.D.N.Y.) (AFI)

    3. Cambridge Place Inv. Mgmt., Inc. v. Morgan Stanley & Co., Case No. 10-2741-BLS2 (Mass.
       Super. Ct.) (AFI)

    4. Cambridge Place Inv. Mgmt., Inc. v. Morgan Stanley & Co., Case No. 11-0555-BLS2 (Mass.
       Super. Ct.) (AFI)

    5. Charles Schwab Corp. v. BNP Paribas Sec. Corp., Case No. CGC-10-501610 (Cal. Super. Ct.)

    6. FDIC v. Ally Sec. LLC, Case No. D-1-GN-12-002522 (Tex. Dist. Ct.) (AFI)

    7. FDIC v. Bear Stearns Asset Backed Sec. I, LLC, Case No. 12-4000 (S.D.N.Y.) (AFI)

    8. FDIC v. CitiGroup Mortg. Loan Trust Inc., Case No. CV-2012-901036.00 (Ala. Cir. Ct.) (AFI)

    9. FDIC v. Chase Mortg. Fin. Co., Case No. 12-6166 (S.D.N.Y.) (AFI)

    10. Fed. Home Loan Bank of Indianapolis v. Banc of Am. Mortg. Sec., Inc., Case No. 49D05-1010-
        PL045071 (Ind. Super. Ct.) (AFI)

    11. Fed. Home Loan Bank of Boston v. Ally Fin. Inc., Case No. 11-10952 (D. Mass.) (AFI)

    12. Fed. Home Loan Bank of Chicago v. Banc of Am. Funding Corp., Case No. 10-CH-45033 (Ill.
        Cir. Ct.) (AFI)

    13. FGIC v. Ally Fin. Inc., Case No. 12-338 (S.D.N.Y.) (AFI)

    14. FGIC v. Ally Fin. Inc., Case No. 12-339 (S.D.N.Y.) (AFI)

    15. FGIC v. Ally Fin. Inc., Case No. 12-340 (S.D.N.Y.) (AFI)

    16. FGIC v. Ally Fin. Inc., Case No. 12-341 (S.D.N.Y.) (AFI)

    17. FGIC v. Ally Fin. Inc., Case No. 12-780 (S.D.N.Y.) (AFI)

    18. FGIC v. Ally Fin. Inc., Case No. 12-1601 (S.D.N.Y.) (AFI)

    19. FGIC v. Ally Fin. Inc., Case No. 12-1658 (S.D.N.Y.) (AFI)

    20. FGIC v. Ally Fin. Inc., Case No. 12-1818 (S.D.N.Y.) (AFI)

    21. FGIC v. Ally Fin. Inc., Case No. 12-1860 (S.D.N.Y.) (AFI)

    22. FGIC v. GMAC Mortg. LLC, Case No. 11-9729 (S.D.N.Y) (AFI)



                                 Appendix VIII.A––1, Page 1 of 2
12-12020-mg      Doc 3698-36       Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                        Pg 325 of 385
                              Appendix VIII.A––1, Page 2 of 2

  23. FGIC v. Residential Funding Co., Case No. 11-9736 (S.D.N.Y)

  24. FGIC v. Residential Funding Co., Case No. 11-9737 (S.D.N.Y)

  25. FHFA v. Ally Fin. Inc., Case No. 11-7010 (S.D.N.Y.) (AFI)

  26. John Hancock Life Ins. Co. (U.S.A.) v. Ally Fin. Inc., Case No. 12-1841 (D. Minn.) (AFI)

  27. Mass. Mutual Life Ins. Co. v. Residential Funding Co., LLC, Case No. 11-30035 (D. Mass.)

  28. MBIA Ins. Corp. v. Residential Funding Co., Case No. 603552/2008 (N.Y. Sup. Ct.)

  29. MBIA Ins. Corp. v. GMAC Mortg., LLC, Case No. 600837/2010 (N.Y. Sup. Ct.)

  30. MBIA Ins. Corp. v. Ally Fin. Inc., Case No. 27-cv-12-18889 (Minn. D. Ct.) (AFI)

  31. Nat’l Credit Union Admin. Bd. v. Goldman, Sachs & Co., Case No. 11-6521 (C.D. Cal.)

  32. Nat’l Credit Union Admin. Bd. v. RBS Sec. Inc., Case No. 11-2340 (D. Kan.)

  33. N.J. Carpenters Health Fund v. Residential Capital, LLC, Case No. 08-8781 (S.D.N.Y.) (AFI)

  34. Stichting Pensioenfonds ABP v. Ally Fin. Inc., Case No. 27-cv-11-20426 (Minn. Dist. Ct.) (AFI)

  35. Union Cent. Life Ins. Co. v. Credit Suisse First Boston Mortg. Sec. Corp., Case No. 11-2890
      (S.D.N.Y.) (AFI)

  36. Watertown Sav. Bank v. Bank of Am. Corp., Case No. 651399-2012 (N.Y. Super. Ct.) (AFI)

  37. W. Va. Inv. Mgmt. Bd. v. Residential Accredit Loans, Inc., Case No. 10-461 (S.D.W.V.)

  38. W. & S. Life Ins. Co. v. Residential Funding Co., LLC, Case No. A1105042 (Ohio Ct. C.P.) (AFI)




                              Appendix VIII.A––1, Page 2 of 2
12-12020-mg      Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                         Pg 326 of 385
                              Appendix VIII.A––2, Page 1 of 1

                                   List of Non-RMBS Actions

  1. Abraham v. Am. Home Mortg. Serv. Inc., Case No. 12-4686 (E.D.N.Y) (AFI)

  2. Abucay v. GMAC Mortg. Corp., Case No. 11-5523 (D.N.J.) (AFI)

  3. Adams v. US Bank NA, Case No. 12-04640 (E.D.N.Y.) (AFI)

  4. Barker v. GMAC Mortg., LLC, Case No. 11-579 (D.C. Or.) (AFI)

  5. Bollinger v. Residential Capital, LLC, Case No. 10-01123 (W.D.Wash.) (AFI)

  6. Chatman Marcus v. GMAC Mortg., LLC, Case No. 69-2008-90015.11 (Ala. Ct. App.) (AFI)

  7. Chao v. Wells Fargo Bank, Case No. RG12633544 (Cal. Super. Ct.) (AFI)

  8. Dennis v. Homecomings Fin., LLC, Case No. 11-00066 (D. Wyo.) (AFI)

  9. Donaldson v. GMAC Mortgage, Inc., Case No. 9-3359D (Ga. Super. Ct.) (AFI)

  10. Drennen v. Cmty. Bank of N. Va. (In re Cmty. Bank of N. Va. Second Mortg. Lending Practices
      Litig.), Case No. 02-1201, 03-425, 05-688, 05-1386 (W.D. Pa)

  11. Kelly v. American Home Mortgage Holdings, Inc., Case No. 12-6240 (E.D.N.Y.)

  12. Kral v. GMAC Mortg., LLC, Case No. 12-1023 (C.D. Cal.)

  13. Lafitte v. Ally Fin. Inc., Case No. 10-2820 (D.S.C.) (AFI)

  14. Mitchell v. Residential Funding Corp., Case No. WD70210, WD70227, WD70244, WD70263
      (W.D. Miss.)

  15. Moore v. GMAC Mortg. LLC, Case No. 07-04296 (E.D. Pa.) (AFI)

  16. Robinson v. Homecomings Fin., LLC, Case No. 2008-9000007 (Ala. Ct. App.) (AFI)

  17. Rothstein. v. GMAC Mortg., LLC, et al., Case No. 12-03412 (S.D.N.Y.) (AFI)

  18. White v. GMAC Mortg., LLC, Case No. 2809-CV-2011 (Pa. Ct. Com. Pl.) (AFI)

  19. Kalugin v. Geithner, Case No. 12-1792 (D.D.C.) (AFI)

  20. Kanagacki v. Ally Financial Inc., Case No. 12-03955 (C.D. Cal.) (AFI)

  21. In re Community Bank of N. Va., Case Nos. 02-1201, 03-425, 05-688, 05-1386 (W.D. Pa)




                               Appendix VIII.A––2, Page 1 of 1
12-12020-mg     Doc 3698-36          Filed 05/13/13 Entered 05/13/13 17:08:13                    Appendix
                                          Pg 327 of 385
                                              < +z



                                 Arthur J. Gonzalez, Examiner
                              In re Residential Capital, LLC, et al.
                                c/o New York University School of Law
                                    40 Washington Square South
                                      New York, NY 10012-1099



                                                            


               
            

                  In re Residential Capital, LLC, et al  !    "#$% &
                     '* + * << != >?

     @ >*?

                * +  ?   ? * +   +
        H =  + ? >? >  
     ++?  "??K?=  Q@U% **   WX*= >*Y
     Z @<   +   **              ["% + 
     WX*= > " Q ZU% \@  [][^   Z K<
      + _K< + * ` $j?j  " Q 
     ZU% \@  z ]^ _ *?  '* ?  < "+%"K% +
        Z H K +  K< +  +??H<

           Q\^??   +? ?H ?  * +   @ 
            ?    ?   +  ? ?*<    "K% ?
           ? =        ++? +  @
           < *  +   ++ +  @  <
           {_    ?*< *  +  ++ 
           ?    U "??K?=  Q != >?U%

               **    +    Z _ H?? Q"% K<
       + * ? "W% ?=j  *++= +    
     K + *  = ?  ">% ?  Y KH < 
      + * ?   ? * + < < + * ?
     *    H??    ?= '*+= * <U

             |  <?   _ '*  +??H<

               ? +*   *< = *?     <? + + 
     ?<? + "  Q* U% < + = <* ?= }
     *< *  =* ?K =  <+*??= *  +*? 
     ?<? *~  + = K< +  != >? ?*< =*
     KH <  ? * + < < + * ? _ ?
     '*  =* +=     + + =   =*
     ?K _ *? KH  = ? + '*=  =* ?K _ *? ** 




                                  ___ < +z
12-12020-mg        Doc 3698-36           Filed 05/13/13 Entered 05/13/13 17:08:13                             Appendix
                                              Pg 328 of 385
                                                   < +z



                                                                            Arthur J. Gonzalez, Examiner
                                                                      c/o New York University School of Law
                                                                              40 Washington Square South
                                                                                 New York, NY 10012-1099


                               ! !                     


      H = K< +  != >? ?   
     *  *? ?= +* *   =* ?K =  ?? +
       != >?  *?  ?* = * +  *
     ?   ? ?*K?= <  @   * * _
     '*  ?? *    "=    ? %
      = *? >*  X  } K K  X+?? ?j
     H X             "K*%

                _ '*  ?? *   ?   *
      = *?   +          !
        *  *?  ???=   *?  ?<?
      +*? * X   =??=    *=
     ~*<   !? + * *  *?  ??
     ?  * +   =* ?= ?K *?   = =* H
        != >? + =* ?K   +   ?X?=  
      H   = * ?"% =* *? *  
     + ?*< H= =* ?K =   =  !*                 
      * H  *  *? ?* "% K
     *  H  +*?    *    
     "%  + = *   

                 *  *?   ] < "H < ?
       ?* ? +  ? + *    + 
     %

             [      *  H??   +? _    
     *    +   @   <  ?
     K +     ?  *K  "
     QU%   ? != >? =* +=   K =
     ?=    + _ *< =*  * =* ?   < 
     ?  =* *  "~*  =* H*?   ?<  + 
     *%   K H?< = ?K +  <* | H??
     ??=  H =*    =* * 



           _+ =* +?  =* ?*?=   =* <*   *  H*
           ?<   + =* *   *< ? + ?* 
           ? K ?  = *? @K #=          ![ !]      H H??
               ? ?* + ?




                                      ___ < +z
12-12020-mg     Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                          Appendix
                                         Pg 329 of 385
                                            <+z



                                                                   Arthur J. Gonzalez, Examiner
                                                              c/o New York University School of Law
                                                                      40 Washington Square South
                                                                         New York, NY 10012-1099


                        !!                    


            ] ? *  = K  _  +? H  <?
     X<* +  @Y * *??=   ?  K * 
     << ? <  *j _ *< =*  +*  ?<?
     ?=  +  *    =* *?  H  
      != >?

              _     = *?   Y   ?<
     H    ? != >? *  = *? =
     +  < =*   ??= *  ?=   
     *<< ~ *  | H?? *< ~ * HK 
       *  + Y ? != >?  ?  *
     K +   ??= <  ? K ++ KH <
       ?* +  ? ` * H?? K *?
      ++=  H?? <?=  = KH HK + + +< 
     < + H *?      =  ??= * =* 
     *?  * ~?= H  _ H??  K*? * ??=
         =* ?K    H ? != >? + 
     *   =   ?     ? + =
     *? +  = +     = + ?  =* ?K =
     = ?

              _ K  <  '*  } ?= * + 
      H _ +?  *? *    '*?=   H*?
     + + < *? _ H?? +=   << < ? ?
      =  '* + ?  } ? H  ?
      +  ? *

             _ K  <      *  +  
     H += =<    ?

             z @? + +  *     
     +   W  ?   * +  *  =
     *? *?     =  ? +   +*??=  
      W




                                 ___ <+z
12-12020-mg     Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                           Appendix
                                        Pg 330 of 385
                                            <[+z



                                                                   Arthur J. Gonzalez, Examiner
                                                              c/o New York University School of Law
                                                                      40 Washington Square South
                                                                         New York, NY 10012-1099


                        ![!                    


              X =*  K + =*    H   
      _+ =* K = '* <<   +  ? ? 
     H + "    ![ !] %  @K #= "       ![ !] %

                                                          * *?=


                                                          }} * ` $j?j
                                                          "# $ %&'& 

     `$}




                                 ___ <[+z
12-12020-mg     Doc 3698-36            Filed 05/13/13 Entered 05/13/13 17:08:13            Appendix
                                            Pg 331 of 385
                                           <]+z




                                           *+ - ! 

    >*? +   $* + `*             >*? + {? $*=
    * ?                            _* >=
    <" = > ??@                               $ E
    ` >                            `= | 
      @                              ` 
       ]] K* +                     H { 
    H X H X        !                     [  
                                                   H X           
    B'C
    $ jj
     > # ?j
    H X        ]

    >*? + |?< *                >*? + * $*=
                                                   #*? >
    >' %' F = +' ??@
      ZY?                                 F# %G ??@
      ` #?=                              ` | W*?
    Z = ?j                              * *
    H X         ! [                       ] < K ] {?
                                                   H X 

    >*? + H  @                  >*? + {? *< { <=
    <' - F"" = #H" @>          JK& - ! =  ??@
    @K # X                                #  Hj
    ` #? *<                               
     {X |?                           >  `
         #                                     WH=
     ] >= > '*                          H X          z
     >= #Z [ ]




                                 ___ <]+z
12-12020-mg     Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                  Appendix
                                         Pg 332 of 385
                                           <+z




    >*? + #W_ _* >                >*? +  >? + _* >
    >K' <C" = !G ??@               P %'' P# = EK ??@
    $<= # X                              ` ` 
    #X > ??<                               K | 
    Z |? {? >                      ]] | WH= * z
    H X                                      @< > z
    L# #' MN#" = F#''O ??@          *?  *
      >?                               ] * K  *
    ] # K     {?                      #?K??  [
    H X 
                                                    > # |
                                                     #<= >
                                                    Z #<=  * 
                                                     { > z[ [

    >*? + @* WX ? *         >*? + ?? _* >=
    >=  @* WX * >=           _$
    
                                                    L# #' MN#" = F#''O ??@
    BH ?K = -C# ??@                     *? ?
    `  $= `                            @?  WX
    ` > $? ___                           ] # K      {?
        X K*                                 H X 
    H X         ! 

    >*? +  WX + H X #??          >*? + WX H= _
     * >= 
                                                    B#H !'' = ' ??@
    E" ??@                                       |?
    $?  <?                                  $?
    ><  @*?                                 ]] * $ K ] {?
      z] K* +                        <? > z  ! ]
    H X        !z
    >*? + |?? {< WX                >*? +   
    ' = - ??@                               B'' = <#' @>
    # $ W*                                 ` $ #
    ` > |*                               >?  ` ___
    z X K*                                   >?  *
    H X                                     ] < K
                                                    H X 




                                  ___ <+z
12-12020-mg      Doc 3698-36          Filed 05/13/13 Entered 05/13/13 17:08:13                  Appendix
                                           Pg 333 of 385
                                             <+z




    >*? +  WX ?         >*? + ` X + _*
    FK = J' ??@                               % = "G @
    ?  >                                   `= | +
    ?  ?K                                   $++= > `K
    Z W= X ?j                            @  ?
    H X          [                             [] < K z {?
                                                      H X         
    >*? +  #W < >           >*? +  {?   WX
    % = -# ??@                                 J'' P"C ??@
    = @ X                                  = ? X
     ` #                                  @X | 
         * * ]                           = |??!@=
    *                                                K * 
                                                      ? |< z
    P = % ??@
    @  #
                                                      $=  $
      |++
                                                           >? K * [
         K* +  
                                                       j ]
    H X        ! [

    >*? +  ? {X? $*             >*? + *?* >? #<
    !' C' @>                               C %# F# +# = ' ??@
     ? ` {X?                               {  
        #X  *                       `
    @??  ]                                    > | >=
                                                      Z W= X
    B'' $" F'' = >#C @?>
                                                      H X        ![]
       
     |?+
    >? ?j W*?<
     ] # K* | * 
    $  #_ [z] ! ]
    > ? = B'# ??@
      >
     K<
     |?? 
    H X H X      ]




                                    ___ <+z
12-12020-mg     Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                        Pg 334 of 385
                                           <+z




                                         *+ - ! -

                     H G F# @  

     %' 

        x   ?? *    *?  *    
             ?  = +

        x   ? K  ? + +  *    Q@{U
             #+ | + H  H   =

        x   <?  *? +   ? K +  W?*X 
            + = + >

        x    +  *    *?  ?K 
             Y *?  +??H

                o       >*  X   K K 
                    X+?? ?j H X         

                o Z =  #H {? >*?<  ` {? 
                    K*     {? H X         

     BH  ! 

        x      < +  < ??   ?      ?? 

        x    *  *?   ? +   ? +
            *

        x     *?   ??  ! = H   + +
            H =   ??  ! =

        x     *  ??  *?! H   + +
             ?X '* + ] H  

     PG  O   +'CH

        x      *  ??  +   *= K
             *  +*?      +  
               K H  * 




                                ___ <+z
12-12020-mg    Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                   Appendix
                                        Pg 335 of 385
                                            <z+z




        x     K= +    @{ K +  *
             ??  ???= =?X   ?K <   ?
            

        x      +  =?X< ??    *? <  < +
             *  *  +*?  ?*<   *?
               * +     =  
              H  + ?  | +? <?<<
            +  + <   *  '*

        x     ??   ? +  H =?X   +
            < +  *    

        x   +  = ?< +?    *? ?*    
            X *   =?X   = +  ?<    +  
            

        x      @{ K +  *  =  =?X< 
             + ?<? & H +? H??  *  = 
            &*   '*




                                ___ <z+z
12-12020-mg     Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                   Appendix
                                         Pg 336 of 385


                                           Q < + 




                                                                    @


       ? ? + !=
         >? " + ?H%


             In re Residential Capital, LLC, et al  !  "#$% "WX
                @% & '* + != >? @< *+

     @ >*?

            _ H  ?+ + * ` $j?j *!  "
     QU% + ? >? >   ++?  "??K?= 
     Q@U%  =* =  H  @ +? K?*=  + >
        X*= ?+  #= [               WX*= >* + 
     * @ + H X " Q>*U% ">            !     %    >*
     *'*?=     K< <  < "% ??
     ?   H  @   !+?< 
      ??= {? _ "Q{_U% "%  < +  ? *
      ? < H {_  "%  *++= +   
     K +  != ?  +K + {_  ! *
      *  + ++   + {_   @ See Z
     K<  + _K< + * ` $j?j  " Q
      ZU% \@  z ]^ "    %

               * +  ?   ? +   H 
     Y K<      K +   !
     = ? _ *?  '* ?  <        "+%"K% + 
       Z H K +  K< +  +??H<

            Q\^??   +? ?H ?  * +   @ 
             ?    ?   +  ? ?*<    "K% ?
            ? =        ++? +  @
            < *  +   ++ +  @ 
            < \??= {? _^    ?*< *  +
             ++  ?    U "??K?=  Q !=
            >?U%

            *  K<  ? * =*  =  < ?< 
     K ??< ? ? <  @  ??= {? _  
      ?K = <K   != >?             
     K K KH  ?<   K?= K<< * ?




                                ___[ < + 
12-12020-mg        Doc 3698-36      Filed 05/13/13 Entered 05/13/13 17:08:13                      Appendix
                                         Pg 337 of 385


                                           Q < + 




        ? ? + !=
         >? " + ?H%                 ! !                    E  


     _ =  HK  * + <  =  + =* ??< 
     ?  != >?   ?= K + ?< ?<
     <?=   '*  +??H<

               ? +*   Y *?  ? +    GO
     H'S H < + =* '*+ +  < < +
     =* <  ? ?<  * + != >? " 
     Q@< U% _  ? K * + = ?  + ??=
      +  =* K ?< + =

               ? * ?? @<    +  $# Q 
         T !U ?? @<  *?   =
     ?    "K*%  #? @+
     "+*%

                    @<  H??     +?              
      K  <    @<    + H
           X*= <  H??   <  ?=  
     +    @<   **<  K< 
     +<  

             [ ? *      K  +? H 
     <? X<* +  @Y * *??=   ?  K
     *  << ? <  *j  H??   ?<? 
     *?=< =* ? | *< =*  +*   '*+ " <% +
     =* ??< <  +?=   = H =* K   * 
       =* < ?*? K= < *  ? + *?
     ?<?  ? ?  K {* ? ? =* '*+ +
     ??< <  ? 

            ]       K  <  '* ? + +
       H  +?  *? *    '*?=  
     H*? + + ? +




     ># ] zz z[



                                 ___[ < + 
12-12020-mg        Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13                     Appendix
                                        Pg 338 of 385


                                          Q <+ 




        ? ? + !=
         >? " + ?H%                !!                   E  


              X =*  K + =*    H   
      _+ =* K = '* <<   +  ? ? +? +
           ![ !]] z

                                                                 ?= *


                                                                 }} K K

                                                                 K K




     ># ] zz z[



                                ___[ <+ 
12-12020-mg   Doc 3698-36   Filed 05/13/13 Entered 05/13/13 17:08:13   Appendix
                                 Pg 339 of 385


                                Q <[+ 




                                *+ - ! 




                        ___[ <[+ 
12-12020-mg          Doc 3698-36Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 340 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                                 Q <]+ 

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x

 In re:                                                      :    Chapter 11

                                                             :

 Residential Capital, LLC, et al.,                           :    Case No. 12-12020 (MG)

                                                             :

                           Debtors.                          :    Jointly Administered

 ------------------------------------------------------------ x

                            ORDER APPROVING SCOPE OF
                  INVESTIGATION OF ARTHUR J. GONZALEZ, EXAMINER

              The Court having reviewed the Preliminary Statement of Arthur J. Gonzalez,

 Examiner, Regarding the Scope and Timing of his Investigation attached hereto as Exhibit "A"

 (the “Preliminary Statement”); the Court having heard and considered the parties’ statements

 with respect to any disagreements regarding the scope of and timing for the Examiner's

 investigation (the “Investigation”); the Court being satisfied based on the statements made by the

 parties at the Chambers conference held on July 24, 2012 that the Preliminary Statement sets

 forth a reasonable scope of the Investigation; and after due deliberation and sufficient cause

 appearing therefor; it is hereby

              ORDERED that the scope of the Investigation as set forth in the Preliminary

 Statement is approved; and it is further

              ORDERED that within ten (10) days of the entry of this Order, the Examiner shall

 file a formal work plan that will include, among other information, (i) the Examiner's estimate of

 fees and expenses to be incurred in connection with the Investigation and (ii) such other matters




                                                    1
                                     ___[ <]+ 
12-12020-mg        Doc 3698-36  Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 341 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                         Q <+ 

 or information as are customarily included in work plans submitted by examiners appointed in

 other chapter 11 cases; and it is further

            ORDERED that this order is without prejudice to the Examiner’s right to seek

 modifications of the scope of the Investigation.


 Dated:   July 27, 2012
          New York, New York


                                              _____/s/Martin Glenn_______
                                                     MARTIN GLENN
                                              United States Bankruptcy Judge




                                                2
                                 ___[ <+ 
12-12020-mg        Doc 3698-36  Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 342 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                         Q <+ 


                                           EXHIBIT A

 CHADBOURNE & PARKE LLP
 Howard Seife
 David M. LeMay
 N. Theodore Zink, Jr.
 30 Rockefeller Plaza
 New York, New York 10112
 Telephone: (212) 408-5100
 Facsimile: (212) 541-5369

 Proposed Counsel to the Examiner

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                         x
                                                         :
 In re:                                                    Chapter 11
                                                         :
 Residential Capital, LLC et al.,                        : Case No. 12-12020 (MG)
                                                         :
                                                         : Jointly Administered
                                                         :
                                                         :
 Debtors.                                                x


          PRELIMINARY STATEMENT OF ARTHUR J. GONZALEZ, EXAMINER,
            REGARDING THE SCOPE AND TIMING OF HIS INVESTIGATION

 TO THE HONORABLE MARTIN GLENN,
 UNITED STATES BANKRUPTCY JUDGE:

          Arthur J. Gonzalez, the Court-appointed Examiner for Residential Capital, LLC and its

 affiliated debtors (collectively, the "Debtors") in the above-captioned cases (the "Chapter 11

 Cases"), by his proposed undersigned counsel, hereby submits his preliminary statement

 regarding the scope and timing of his investigation.




                                               1
                                ___[ <+ 
12-12020-mg              Doc 3698-36
                                Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 343 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                                  Q <+ 

                                                INTRODUCTION

                    1.       On June 28, 2012, the Court entered an Order Directing the Appointment

 of an Examiner Pursuant to Section 1104(c) of the Bankruptcy Code (the “Examiner Order”)

 directing the United States Trustee (the “U.S. Trustee”) to appoint an examiner (the “Examiner”)

 in the Chapter 11 Cases.

                    2.       The Examiner Order directs the Examiner to conduct an investigation (the

 “Investigation”).

                    3.       On July 3, 2012, the U.S. Trustee appointed Arthur J. Gonzalez, Esq. as

 Examiner in the Chapter 11 Cases and filed (i) a notice of such appointment and (ii) an

 application for an Order approving such appointment.

                    4.       On July 3, 2012, the Court entered an Order approving the appointment of

 the Examiner.

                    5.       In its Memorandum Opinion and Order Granting Berkshire Hathaway's

 Motion to Appoint an Examiner Under 11 U.S.C. §1104(c) dated June 20, 2012, the Court noted

 that

                    The scope, timing and budget for the examiner’s investigation will
                    be set by the Court after the examiner is appointed and confers
                    with other parties in interest. In the first instance, the scope of the
                    investigation established by the 2004 Order sets the appropriate
                    scope parameter for the investigation, subject to later adjustment if
                    necessary.1




 1
        As used herein, the "2004 Order" shall refer to the Order Authorizing the Official Committee of Unsecured
        Creditors to Issue Subpoenas Compelling the Production of Documents and Provision of Testimony by the
        Debtors and Others Pursuant to Federal Rule of Bankruptcy Procedure 2004 entered in the Chapter 11 Cases on
        June 5, 2012.




                                                     2
                                      ___[ <+ 
12-12020-mg          Doc 3698-36Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 344 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                            Q <z+ 

                6.       On July 11, 2012, the Examiner selected Chadbourne & Parke LLP

 ("Chadbourne") as his proposed counsel. Chadbourne filed its Application for Retention as

 Examiner's Counsel on July 16, 2012, following discussion with and review by the U.S. Trustee.

                7.       On July 24, 2012, a Chambers conference was conducted by Judge Martin

 Glenn at which the Examiner and his counsel and counsel for various parties in interest presented

 their respective views regarding the appropriate scope of the Investigation and estimates of the

 time necessary to complete the Investigation and prepare a report.


                            THE EXAMINER'S ACTIVITIES TO DATE

                8.       Beginning on July 18, 2012, the Examiner conducted a series of meetings

 and/or telephonic calls with representatives of the Debtors, the Official Committee of Unsecured

 Creditors, Berkshire Hathaway, Ally Financial Inc., and certain holders of the Debtors'

 unsecured notes. The principal purpose of these meetings was to learn more about the cases and

 to ascertain each party's preliminary views regarding the scope and timing of the Investigation.

 The Examiner invited the parties to share their views on these matters, as well as on the legal and

 factual issues implicated by the Investigation.

                9.       In addition, the Examiner and his proposed professionals have begun the

 Investigation by undertaking various activities including reviewing the various pleadings,

 documents and materials relevant to the issues to be investigated.


                                    SCOPE OF EXAMINATION

                10.      As previously noted, the scope of the Investigation in the first instance is

 established by the 2004 Order. Accordingly, after review of the 2004 Order and discussions with

 various parties in interest, the Examiner has determined that, at a minimum, he will examine the

 following in his report:


                                                3
                                 ___[ <z+ 
12-12020-mg         Doc 3698-36 Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 345 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                                Q <        + 

     a. all material prepetition transactions and all material verbal or written agreements or
        contracts between or among the Debtors on the one hand and any one or more of Ally
        Financial Inc., f/k/a GMAC LLC, and any of its current and former, direct and indirect
        affiliates and subsidiaries (collectively, "AFI"), Cerberus Capital Management, L.P. and
        any of its current and former direct and indirect affiliates and subsidiaries including
        Cerberus FIM, LLC, Cerberus FIM Investors LLC, and FIM Holdings LLC. (collectively,
        "Cerberus") and/or Ally Bank, a commercial state non-member bank chartered under the
        laws of the State of Utah (f/k/a GMAC Bank) ("Ally Bank") on the other hand including
        (i) material agreements concerning transfers of cash, assets, property, stock, contracts, or
        other items of value including any servicing agreements, repurchase transactions,
        exchange offers, hedging arrangements, derivative agreements or contracts, swap
        agreements or contracts, or foreign exchange agreements or contracts, (ii) any payments,
        dividends or capital contributions, (iii) any extension of loans or lines of credit including
        any factoring arrangements, (iv) any debt, or liens related thereto, or the transfer,
        assignment, repayment or forgiveness of such debt, (v) any claims and all payments made
        on account of such claims, and (vi) any transfers of cash, assets, property, stock,
        contracts, or other items of value (collectively, the "Prepetition Transactions and
        Agreements");2


     b. the negotiation and entry into any plan sponsor, plan support, or settlement agreement,
        the debtor-in-possession financing with AFI, and the stalking horse asset purchase
        agreement with AFI, and any servicing agreement with Ally Bank (collectively, the
        "Postpetition Transactions and Agreements");


     c. (i) the activities of the Debtors' officers and board of directors (including any
        subcommittee thereof) concerning (A) the Prepetition Transactions and Agreements, (B)
        the Postpetition Transactions and Agreements, and (C) the investigation of the validity of
        claims against AFI, and (ii) the recruitment, compensation and indemnification of the
        Debtors' officers and the members of the Debtors' board of directors (including any
        subcommittee thereof);


     d. the corporate relationships between or among the Debtors, AFI, Cerberus and/or Ally
        Bank and the conduct of each of these entities in connection with the Debtors' decisions
        (i) to file (or to refrain from filing, or delaying the filing of) voluntary petitions under



 2
     The Examiner's Investigation of certain of the Debtors' entry into and performance under the "Consent Order,"
     "DOJ/AG Settlement" and "CMP," each as defined and described in paragraphs 86 through 90 of the of the
     "Affidavit of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Support of Chapter 11
     Petition and First Day Pleadings," dated May 14, 2012 will be limited to the propriety of the allocation of
     obligations as among the Debtors and AFI under the "Consent Order," "DOJ/AG Settlement" and "CMP."




                                                    4
                                    ___[ <          + 
12-12020-mg       Doc 3698-36   Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 346 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                           Q <      + 

        Chapter 11 of the United States Bankruptcy Code, (ii) to pursue (or refrain from
        pursuing) a sale of substantially all of their assets, and (iii) to enter into the Prepetition
        Transactions and Agreements and the Postpetition Transactions and Agreements;


    e. all state and federal law claims or causes of action of the Debtors against current or
       former directors and officers of the Debtors, and against AFI and/or its insiders including
       current and former directors, officers, and shareholders;


    f. all state and federal law claims or causes of action the Debtors propose to release or to be
       released as part of their plan including (i) preference and fraudulent transfer claims, (ii)
       equitable subordination claims, (iii) alter ego and veil piercing claims, (iv) debt
       recharacterization claims, (v) constructive trust and unjust enrichment claims, (vi) breach
       of fiduciary duty and aiding and abetting breach of fiduciary duty claims, (vii) securities
       law claims, and (viii) claims held by third parties, i.e., parties that are not affiliates of the
       Debtors, against current and former directors and officers of the Debtors and against AFI
       and its insiders including current and former directors, officers, and shareholders; and in
       respect of the claims identified in subclause (viii) of this paragraph f, the Examiner will
       (A) investigate the merits of such claims, (B) analyze the sufficiency of the consideration
       to be provided for such third party releases, and (C) solicit the parties' views concerning
       the merits of such claims and the potential amount of damages arising from such claims,
       but the Examiner will not attempt to independently quantify such damages;


    g. the value of the releases contemplated by the Debtors including the releases by the
       Debtors' estates of all claims against current or former directors and officers of the
       Debtors, and against AFI and its insiders including current and former directors, officers,
       and shareholders, and the proposed releases by third parties of claims against AFI; and


    h. other matters affecting the Debtors' assets, liabilities, and financial condition including all
       intercompany claims and the Debtors' solvency, capital adequacy and ability to pay debts
       as such debts become due at various dates prior to the Petition Date.


               TIMING OF THE SUBMISSION OF THE EXAMINER'S REPORT

                11.     At this juncture, the Examiner anticipates that a substantial amount of time

 will be expended by his professionals to prepare a report containing the Examiner's findings

 regarding the Investigation. Based upon his discussion with his counsel and the parties, the

 Examiner believes that a realistic time frame for the preparation of such a report is six (6)




                                                5
                                ___[ <        + 
12-12020-mg          Doc 3698-36Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 347 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                          Q <     + 

 months, subject to adjustment if after meaningful due diligence a different time period appears to

 be more reasonable.


                                   INFORMATION GATHERING

                 12.     In furtherance of the Investigation, the Examiner will request documents

 and other information from various parties including, the Debtors, AFI, Ally Bank and Cerberus

 and their respective current and former officers, directors and professionals. To ensure

 compliance with the Examiner's information requests, the Examiner may need to serve

 subpoenas on entities that refuse to produce information. Accordingly, the Examiner intends to

 promptly file a motion under rule 2004 of the Federal Rules of Bankruptcy Procedure and seek

 authority to serve rule 2004 subpoenas on any entity that may be in possession of information

 relevant to the Investigation. In connection therewith, the Examiner intends to ask the Court to

 approve a protocol, including a form confidentiality agreement, that would govern production

 from all parties.


                               ESTIMATED FEES AND EXPENSES

                 13.     This statement does not address budget issues for the Investigation.

 Subject to the Court's further direction, the Examiner will file a formal work plan that will

 include, among other information, the Examiner's estimate of fees and expenses to be incurred in

 connection with the Investigation.

                                      [Signature page to follow]




                                                6
                                ___[ <      + 
12-12020-mg     Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13 Appendix
                                     Pg 348 of 385
PJ'RF)LOHG(QWHUHG0DLQ'RFXPHQW
                                       3JRI
                                   Q < + 

 Dated:   July 27, 2012
          New York, New York

                                         Respectfully submitted,
                                         Arthur J. Gonzalez, Examiner


                                         By: /s/ Howard Seife
                                                  Chadbourne & Parke LLP
                                                  Howard Seife
                                                  David M. LeMay
                                                  N. Theodore Zink, Jr.
                                                  30 Rockefeller Plaza
                                                  New York, New York 10112
                                                  Telephone:    (212) 408-5100
                                                  Facsimile:    (212) 541-5369
                                                  E-mail: hseife@chadbourne.com

                                                 Proposed Counsel to the Examiner




                                           7
                           ___[ < + 
                                                                                                                       Appendix VIII.B—1, Page 1 of 8

Residential Capital, LLC
392 PLS Deal Details
2004 – 2007


                                                                            Sponsor/
                                                   (1)
            Deal Name        Orig. Principal Bal.          Depositor      Master Servicer                  Lead Underwriter                      Joint Lead Underwriter              Co-Underwriter (2)            Custodian        Monoline Insurer               Affiliate Originator(s) (3)
1.       2004-AR1           $           630,153,200      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                           Ally Securities              Escrow Bank USA                           Old GMAC Bank
2.       2004-AR2                       506,018,100      RAMP          GMAC Mortgage         RBS Greenwich Capital                                                                                           Old GMAC Bank                             Old GMAC Bank
3.       2004-GH1                       224,099,000      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                           Ally Securities              Old GMAC Bank                             Old GMAC Bank
4.       2004-HE1                     1,259,311,000      RAMP          GMAC Mortgage         Banc One Capital Markets, Inc                                                      Ally Securities              Escrow Bank USA        FGIC               Old GMAC Bank
                                                                                                                                                                                                                                                                                                                     12-12020-mg




5.       2004-HE2                       711,548,000      RAMP          GMAC Mortgage         Lehman Brothers                                                                    Ally Securities              Escrow Bank USA        Old Republic       Old GMAC Bank
6.       2004-HE3                       952,320,000      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                           Ally Securities              Escrow Bank USA        FSA                Old GMAC Bank
7.       2004-HE4                       992,000,000      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                           Ally Securities              Old GMAC Bank          MBIA               Old GMAC Bank
8.       2004-HE5                       700,000,000      RAMP          GMAC Mortgage         RBS Greenwich Capital                                                              Ally Securities              Old GMAC Bank          FGIC               Old GMAC Bank
9.       2004-HLTV1                     175,000,000      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                           Ally Securities              Old GMAC Bank          FGIC
10.      2004-J1                        398,964,694      RAMP          GMAC Mortgage         Banc of America Securities LLC                                                                                  Escrow Bank            MBIA               Old GMAC Bank
11.      2004-J2                        398,597,431      RAMP          GMAC Mortgage         UBS Investment Bank                                                                                             Escrow Bank            MBIA               Old GMAC Bank
12.      2004-J3                        348,287,499      RAMP          GMAC Mortgage         Merrill Lynch & Co.                                                                                             Escrow Bank                               Old GMAC Bank
13.      2004-J4                        597,117,562      RAMP          GMAC Mortgage         Citigroup                                                                          Ally Securities              Old GMAC Bank                             Old GMAC Bank
14.      2004-J5                        549,141,999      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                                                        Old GMAC Bank                             Old GMAC Bank
15.      2004-J6                        406,384,031      RAMP          GMAC Mortgage         Credit Suisse First Boston                                                                                      Old GMAC Bank                             Old GMAC Bank
16.      2004-VFT                       390,956,146      GMACR         GMAC Mortgage         Bear, Stearns & Co. Inc.                                                                                        Old GMAC Bank          MBIA               GMAC Mortgage & Old GMAC Bank
                                                                                                                                                                                                                                                                                                                     Doc 3698-36




17.      2004-SP1                       233,667,000      RAMP          RFC                   Merrill Lynch & Co.                                                                Ally Securities              Wells Fargo Bank
18.      2004-SP2                       144,545,669      RAMP          RFC                   Merrill Lynch & Co.                                                                Ally Securities              Wells Fargo Bank
19.      2004-SP3                       306,933,000      RAMP          RFC                   Merrill Lynch & Co.                                                                Ally Securities              Wells Fargo Bank
20.      2004-QA1                       201,272,500      RALI          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
21.      2004-QA2                       365,138,000      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
22.      2004-QA3                       315,254,200      RALI          RFC                   Credit Suisse First Boston                                                                                      Wells Fargo Bank
23.      2004-QA4                       285,865,200      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
24.      2004-QA5                       320,188,200      RALI          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
25.      2004-QA6                       708,773,800      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
26.      2004-QS1                       316,357,744      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
27.      2004-QS10                      214,339,915      RALI          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
28.      2004-QS11                      215,336,840      RALI          RFC                   Credit Suisse First Boston                                                                                      Wells Fargo Bank
29.      2004-QS12                      419,799,756      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
30.      2004-QS13                      128,649,847      RALI          RFC                   Citigroup                                                                                                       Wells Fargo Bank
31.      2004-QS14                      210,562,606      RALI          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
32.      2004-QS15                      211,030,708      RALI          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
33.      2004-QS16                      528,907,333      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
                                                                                                                                                                                                                                                                                                      Pg 349 of 385




34.      2004-QS2                       289,122,549      RALI          RFC                   Citigroup                                                                                                       Wells Fargo Bank
35.      2004-QS3                       206,985,957      RALI          RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank
36.      2004-QS4                       316,910,541      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
37.      2004-QS5                       290,284,743      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
38.      2004-QS6                       155,855,277      RALI          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
39.      2004-QS7                       445,133,845      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
40.      2004-QS8                       268,719,101      RALI          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
41.      2004-QS9                       104,695,398      RALI          RFC                   Goldman Sachs & Co.                                                                Ally Securities              Wells Fargo Bank
42.      2004-KR1                     2,000,000,000      RAMP          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
43.      2004-KR2                     1,250,000,000      RAMP          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
44.      2004-RS1                     1,400,000,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank       AMBAC
45.      2004-RS10                    1,250,000,000      RAMP          RFC                   Credit Suisse First Boston                                                         Ally Securities              Wells Fargo Bank
46.      2004-RS11                      925,000,000      RAMP          RFC                   JPMorgan                                                                           Ally Securities              Wells Fargo Bank
47.      2004-RS12                      975,000,000      RAMP          RFC                   JPMorgan                                   Ally Securities                                                      Wells Fargo Bank
48.      2004-RS2                       875,000,000      RAMP          RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank
49.      2004-RS3                       600,000,000      RAMP          RFC                   JPMorgan                                                                           Ally Securities              Wells Fargo Bank
50.      2004-RS4                     1,100,000,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
51.      2004-RS5                     1,050,000,000      RAMP          RFC                   Credit Suisse First Boston                                                         Ally Securities              Wells Fargo Bank       AMBAC
(1)
      Principal balance of offered certificates.
                                                                                                                                                                                                                                                                                                 Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
      For the purpose of this Appendix, Ally Securities is the only disclosed co-underwriter but, in most cases, securitizations had multiple non-affiliated co-underwriters. Ally Securities participated as a co-underwriter in 131 of ResCap's 392 securitizations.
(3)
  For the purpose of this Appendix, ResCap and AFI affiliates are disclosed when they originated more than 10% of the loan pool (per Regulation AB § 229.1110, which became effective Jan. 1, 2006.) Non-affiliate originators are not disclosed.
Note:
(A) Blank spaces refer to details that are not applicable or undisclosed.
(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
(C) At the time of the securitizations listed above, Ally Bank was doing business as and disclosed in the prospectus supplement as "GMAC Bank."
(D) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
                                                                                                                                                                                                                                                                                                                     Appendix




Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.




                                                                                                                        Appendix VIII.B—1, Page 1 of 8
                                                                                                                       Appendix VIII.B—1, Page 2 of 8

Residential Capital, LLC
392 PLS Deal Details
2004 – 2007


                                                                            Sponsor/
                                                   (1)
            Deal Name        Orig. Principal Bal.          Depositor      Master Servicer                  Lead Underwriter                      Joint Lead Underwriter              Co-Underwriter (2)            Custodian        Monoline Insurer                 Affiliate Originator(s) (3)
52.      2004-RS6                     1,000,000,000      RAMP          RFC                   JPMorgan                                                                                                        Wells Fargo Bank
53.      2004-RS7                     1,183,656,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank       FGIC
54.      2004-RS8                       900,000,000      RAMP          RFC                   Credit Suisse First Boston                                                         Ally Securities              Wells Fargo Bank
55.      2004-RS9                       950,000,000      RAMP          RFC                   JPMorgan                                                                           Ally Securities              Wells Fargo Bank       AMBAC
                                                                                                                                                                                                                                                                                                                       12-12020-mg




56.      2004-RZ1                       485,000,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
57.      2004-RZ2                       475,000,000      RAMP          RFC                   Banc of America Securities LLC                                                     Ally Securities              Wells Fargo Bank       FGIC
58.      2004-RZ3                       360,000,000      RAMP          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
59.      2004-RZ4                       273,840,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
60.      2004-SL1                       631,374,607      RAMP          RFC                   Citigroup                                                                                                       Wells Fargo Bank
61.      2004-SL2                       494,754,406      RAMP          RFC                   Credit Suisse First Boston                                                                                      Wells Fargo Bank
62.      2004-SL3                       221,964,111      RAMP          RFC                   Citigroup                                                                                                       Wells Fargo Bank
63.      2004-SL4                       205,963,987      RAMP          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
64.      2004-KS1                       950,000,000      RASC          RFC                   JPMorgan                                   Deutsche Bank Securities                Ally Securities              Wells Fargo Bank
65.      2004-KS10                      976,000,000      RASC          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
66.      2004-KS11                      685,650,000      RASC          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank
67.      2004-KS12                      536,250,000      RASC          RFC                   Banc of America Securities LLC                                                     Ally Securities              Wells Fargo Bank
                                                                                                                                                                                                                                                                                                                       Doc 3698-36




68.      2004-KS2                       990,000,000      RASC          RFC                   Banc of America Securities LLC             Bear, Stearns & Co. Inc.                Ally Securities              Wells Fargo Bank
69.      2004-KS3                       675,000,000      RASC          RFC                   Citigroup                                  Credit Suisse First Boston              Ally Securities              Wells Fargo Bank
70.      2004-KS4                     1,000,000,000      RASC          RFC                   Credit Suisse First Boston                 Banc of America Securities LLC          Ally Securities              Wells Fargo Bank       AMBAC
71.      2004-KS5                     1,175,000,000      RASC          RFC                   Citigroup                                  JPMorgan                                Ally Securities              Wells Fargo Bank
72.      2004-KS6                     1,000,000,000      RASC          RFC                   Bear, Stearns & Co. Inc.                   Banc of America Securities LLC          Ally Securities              Wells Fargo Bank
73.      2004-KS7                       850,000,000      RASC          RFC                   Credit Suisse First Boston                 JPMorgan                                Ally Securities              Wells Fargo Bank       FGIC
74.      2004-KS8                       600,000,000      RASC          RFC                   Banc of America Securities LLC             Bear, Stearns & Co. Inc.                Ally Securities              Wells Fargo Bank
75.      2004-KS9                       600,000,000      RASC          RFC                   Citigroup                                  RBS Greenwich Capital                   Ally Securities              Wells Fargo Bank       FGIC
76.      2004-HI1                       227,950,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
77.      2004-HI2                       275,000,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank       FGIC
78.      2004-HI3                       220,000,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank       FGIC
79.      2004-HS1                       477,125,000      RFMSII        RFC                   Banc of America Securities LLC                                                     Ally Securities              Wells Fargo Bank       FGIC
80.      2004-HS2                       604,050,000      RFMSII        RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank       MBIA
81.      2004-HS3                       284,000,000      RFMSII        RFC                   Ally Securities                                                                                                 Wells Fargo Bank       FGIC
82.      2004-PS1                       100,065,033      RFMSI         RFC                   Ally Securities
83.      2004-S1                        306,312,991      RFMSI         RFC                   Citigroup                                                                                                       Wells Fargo Bank
84.      2004-S2                        360,357,143      RFMSI         RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank       Radian
                                                                                                                                                                                                                                                                                                        Pg 350 of 385




85.      2004-S3                        227,700,188      RFMSI         RFC                   Citigroup                                                                                                       Wells Fargo Bank
86.      2004-S4                        458,663,279      RFMSI         RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank       MBIA
87.      2004-S5                        421,986,295      RFMSI         RFC                   JPMorgan                                                                           Ally Securities              Wells Fargo Bank
88.      2004-S6                        525,118,648      RFMSI         RFC                   Merrill Lynch & Co.                                                                Ally Securities              Wells Fargo Bank
89.      2004-S7                        105,013,545      RFMSI         RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank
90.      2004-S8                        309,294,901      RFMSI         RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
91.      2004-S9                        642,878,450      RFMSI         RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank
92.      2004-SA1                       248,427,200      RFMSI         RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
93.      2004-RP1A                      199,473,000      RAMP          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
94.      2005-AA1                       260,774,100      RAMP          GMAC Mortgage         UBS Investment Bank                                                                                             Old GMAC Bank                             Old GMAC Bank
95.      2005-AF1                       231,466,322      RAMP          GMAC Mortgage         Deutsche Bank Securities                                                                                        Old GMAC Bank                             Old GMAC Bank
96.      2005-AF2                       292,121,700      RAMP          GMAC Mortgage         Credit Suisse First Boston                                                                                      Old GMAC Bank                             Old GMAC Bank
97.      2005-AR1                       395,770,100      RAMP          GMAC Mortgage         UBS Investment Bank                                                                                             Old GMAC Bank                             Old GMAC Bank
98.      2005-AR2                       453,859,100      RAMP          GMAC Mortgage         RBS Greenwich Capital                                                                                           Old GMAC Bank                             Old GMAC Bank
99.      2005-AR3                       518,480,100      RAMP          GMAC Mortgage         Morgan Stanley                                                                                                  Old GMAC Bank                             Old GMAC Bank
100.     2005-AR4                       381,630,100      RAMP          GMAC Mortgage         Morgan Stanley                                                                                                  Old GMAC Bank                             Old GMAC Bank
101.     2005-AR5                       592,093,100      RAMP          GMAC Mortgage         Credit Suisse First Boston                                                                                      Old GMAC Bank                             Old GMAC Bank
102.     2005-AR6                       585,769,100      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                                                        Old GMAC Bank                             Old GMAC Bank
(1)
      Principal balance of offered certificates.
                                                                                                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
      For the purpose of this Appendix, Ally Securities is the only disclosed co-underwriter but, in most cases, securitizations had multiple non-affiliated co-underwriters. Ally Securities participated as a co-underwriter in 131 of ResCap's 392 securitizations.
(3)
  For the purpose of this Appendix, ResCap and AFI affiliates are disclosed when they originated more than 10% of the loan pool (per Regulation AB § 229.1110, which became effective Jan. 1, 2006.) Non-affiliate originators are not disclosed.
Note:
(A) Blank spaces refer to details that are not applicable or undisclosed.
(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
(C) At the time of the securitizations listed above, Ally Bank was doing business as and disclosed in the prospectus supplement as "GMAC Bank."
(D) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
                                                                                                                                                                                                                                                                                                                       Appendix




Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.




                                                                                                                        Appendix VIII.B—1, Page 2 of 8
                                                                                                                       Appendix VIII.B—1, Page 3 of 8

Residential Capital, LLC
392 PLS Deal Details
2004 – 2007


                                                                            Sponsor/
                                                   (1)
            Deal Name        Orig. Principal Bal.          Depositor      Master Servicer                  Lead Underwriter                      Joint Lead Underwriter              Co-Underwriter (2)            Custodian        Monoline Insurer             Affiliate Originator(s) (3)
103.     2005-HE1                       962,325,000      RAMP          GMAC Mortgage         JPMorgan                                                                           Ally Securities              Old GMAC Bank          FGIC             Old GMAC Bank
104.     2005-HE2                     1,113,522,000      RAMP          GMAC Mortgage         RBS Greenwich Capital                                                              Ally Securities              Old GMAC Bank          FGIC             Old GMAC Bank
105.     2005-HE3                       963,680,000      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                           Ally Securities              Old GMAC Bank          AMBAC            Old GMAC Bank
106.     2005-J1                        522,873,155      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                                                        Old GMAC Bank                           Old GMAC Bank
                                                                                                                                                                                                                                                                                                                   12-12020-mg




107.     2005-RP1                       343,073,000      RAMP          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank
108.     2005-RP2                       301,114,000      RAMP          RFC                   Credit Suisse First Boston                                                         Ally Securities              Wells Fargo Bank
109.     2005-RP3                       282,542,000      RAMP          RFC                   Deutsche Bank Securities                                                           Ally Securities              Wells Fargo Bank
110.     2005-SP1                       828,081,356      RAMP          RFC                   JPMorgan                                                                                                        Wells Fargo Bank
111.     2005-SP2                       485,004,100      RAMP          RFC                   Merrill Lynch & Co.                                                                Ally Securities              Wells Fargo Bank
112.     2005-SP3                       284,215,000      RAMP          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
113.     2005-QA1                       296,716,000      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
114.     2005-QA10                      609,941,000      RALI          RFC                   Merrill Lynch & Co.                                                                                             Wells Fargo Bank
115.     2005-QA11                      515,146,300      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
116.     2005-QA12                      279,811,100      RALI          RFC                   Citigroup                                                                                                       Wells Fargo Bank
117.     2005-QA13                      549,541,100      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
118.     2005-QA2                       492,468,900      RALI          RFC                   Citigroup                                                                                                       Wells Fargo Bank
                                                                                                                                                                                                                                                                                                                   Doc 3698-36




119.     2005-QA3                       491,297,300      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
120.     2005-QA4                       515,241,000      RALI          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
121.     2005-QA5                       236,761,800      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
122.     2005-QA6                       565,100,300      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
123.     2005-QA7                       564,692,000      RALI          RFC                   Merrill Lynch & Co.                                                                                             Wells Fargo Bank
124.     2005-QA8                       510,425,700      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
125.     2005-QA9                       638,123,100      RALI          RFC                   UBS Investment Bank                                                                                             Wells Fargo Bank
126.     2005-QO1                       696,206,100      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
127.     2005-QO2                       414,647,100      RALI          RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank
128.     2005-QO3                       488,324,200      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
129.     2005-QO4                       776,257,300      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
130.     2005-QO5                     1,245,790,100      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
131.     2005-QS1                       212,022,179      RALI          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
132.     2005-QS10                      262,689,997      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
133.     2005-QS11                      211,400,802      RALI          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
134.     2005-QS12                      522,818,706      RALI          RFC                   Deutsche Bank Securities                                                           Ally Securities              Wells Fargo Bank
135.     2005-QS13                      631,179,926      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank
                                                                                                                                                                                                                                                                                                    Pg 351 of 385




136.     2005-QS14                      608,508,123      RALI          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
137.     2005-QS15                      426,106,530      RALI          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
138.     2005-QS16                      422,630,173      RALI          RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank
139.     2005-QS17                      533,090,754      RALI          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
140.     2005-QS2                       210,219,776      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
141.     2005-QS3                       470,520,302      RALI          RFC                   Deutsche Bank Securities                                                           Ally Securities              Wells Fargo Bank
142.     2005-QS4                       209,041,140      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
143.     2005-QS5                       211,356,834      RALI          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank       Radian
144.     2005-QS6                       261,829,909      RALI          RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank
145.     2005-QS7                       365,353,615      RALI          RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank
146.     2005-QS8                       103,654,895      RALI          RFC                   UBS Investment Bank                                                                Ally Securities              Wells Fargo Bank
147.     2005-QS9                       366,341,064      RALI          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
148.     2005-EFC1                    1,074,195,000      RAMP          RFC                   Ally Securities                            RBS Greenwich Capital                                                Wells Fargo Bank
149.     2005-EFC2                      679,331,000      RAMP          RFC                   Ally Securities                            Credit Suisse First Boston                                           Wells Fargo Bank
150.     2005-EFC3                      731,914,000      RAMP          RFC                   Ally Securities                            Credit Suisse First Boston                                           Wells Fargo Bank
151.     2005-EFC4                      707,796,000      RAMP          RFC                   Ally Securities                            JPMorgan                                                             Wells Fargo Bank
152.     2005-EFC5                      693,318,000      RAMP          RFC                   Ally Securities                            Citigroup                                                            Wells Fargo Bank
153.     2005-EFC6                      672,696,000      RAMP          RFC                   JPMorgan                                   Ally Securities                                                      Wells Fargo Bank
(1)
      Principal balance of offered certificates.
                                                                                                                                                                                                                                                                                               Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
      For the purpose of this Appendix, Ally Securities is the only disclosed co-underwriter but, in most cases, securitizations had multiple non-affiliated co-underwriters. Ally Securities participated as a co-underwriter in 131 of ResCap's 392 securitizations.
(3)
  For the purpose of this Appendix, ResCap and AFI affiliates are disclosed when they originated more than 10% of the loan pool (per Regulation AB § 229.1110, which became effective Jan. 1, 2006.) Non-affiliate originators are not disclosed.
Note:
(A) Blank spaces refer to details that are not applicable or undisclosed.
(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
(C) At the time of the securitizations listed above, Ally Bank was doing business as and disclosed in the prospectus supplement as "GMAC Bank."
(D) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
                                                                                                                                                                                                                                                                                                                   Appendix




Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.




                                                                                                                        Appendix VIII.B—1, Page 3 of 8
                                                                                                                       Appendix VIII.B—1, Page 4 of 8

Residential Capital, LLC
392 PLS Deal Details
2004 – 2007


                                                                            Sponsor/
                                                   (1)
            Deal Name        Orig. Principal Bal.          Depositor      Master Servicer                  Lead Underwriter                      Joint Lead Underwriter              Co-Underwriter (2)            Custodian        Monoline Insurer                 Affiliate Originator(s) (3)
154.     2005-EFC7                      698,175,000      RAMP          RFC                   Ally Securities                            Barclays Capital                                                     Wells Fargo Bank       FGIC
155.     2005-NC1                       870,750,000      RAMP          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank       FGIC
156.     2005-RS1                       975,000,000      RAMP          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
157.     2005-RS2                       725,000,000      RAMP          RFC                   RBS Greenwich Capital                      Credit Suisse First Boston              Ally Securities              Wells Fargo Bank
                                                                                                                                                                                                                                                                                                                       12-12020-mg




158.     2005-RS3                       724,513,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
159.     2005-RS4                       510,037,000      RAMP          RFC                   RBS Greenwich Capital                      Credit Suisse First Boston              Ally Securities              Wells Fargo Bank
160.     2005-RS5                       490,000,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
161.     2005-RS6                     1,178,400,000      RAMP          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank
162.     2005-RS7                       488,500,000      RAMP          RFC                   Banc of America Securities LLC                                                     Ally Securities              Wells Fargo Bank
163.     2005-RS8                       651,368,000      RAMP          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
164.     2005-RS9                     1,179,000,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                   Credit Suisse First Boston              Ally Securities              Wells Fargo Bank       FGIC
165.     2005-RZ1                       199,874,000      RAMP          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
166.     2005-RZ2                       323,670,000      RAMP          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
167.     2005-RZ3                       340,025,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
168.     2005-RZ4                       407,363,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
169.     2005-SL1                       365,173,500      RAMP          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
                                                                                                                                                                                                                                                                                                                       Doc 3698-36




170.     2005-SL2                       163,118,406      RAMP          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
171.     2005-AHL1                      463,670,000      RASC          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
172.     2005-AHL2                      434,239,000      RASC          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
173.     2005-AHL3                      488,750,000      RASC          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
174.     2005-EMX1                      783,200,000      RASC          RFC                   Ally Securities                            Banc of America Securities LLC                                       Wells Fargo Bank
175.     2005-EMX2                      614,026,000      RASC          RFC                   Ally Securities                            Banc of America Securities LLC                                       Wells Fargo Bank
176.     2005-EMX3                      674,450,000      RASC          RFC                   Ally Securities                            Credit Suisse First Boston                                           Wells Fargo Bank
177.     2005-EMX4                      492,597,000      RASC          RFC                   Ally Securities                            Barclays Capital                                                     Wells Fargo Bank
178.     2005-EMX5                      380,000,000      RASC          RFC                   Ally Securities                                                                                                 Wells Fargo Bank       FGIC
179.     2005-KS1                       708,840,000      RASC          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank
180.     2005-KS10                    1,285,956,000      RASC          RFC                   JPMorgan                                   Ally Securities                                                      Wells Fargo Bank
181.     2005-KS11                    1,339,290,000      RASC          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank
182.     2005-KS12                    1,117,225,000      RASC          RFC                   Banc of America Securities LLC             RBS Greenwich Capital                   Ally Securities              Wells Fargo Bank
183.     2005-KS2                       543,400,000      RASC          RFC                   Credit Suisse First Boston                 RBS Greenwich Capital                                                Wells Fargo Bank
184.     2005-KS3                       401,455,000      RASC          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
185.     2005-KS4                       399,883,000      RASC          RFC                   Credit Suisse First Boston                                                                                      Wells Fargo Bank
186.     2005-KS5                       392,606,000      RASC          RFC                   JPMorgan                                                                                                        Wells Fargo Bank
                                                                                                                                                                                                                                                                                                        Pg 352 of 385




187.     2005-KS6                       587,158,000      RASC          RFC                   Citigroup                                                                                                       Wells Fargo Bank
188.     2005-KS7                       387,600,000      RASC          RFC                   JPMorgan                                                                                                        Wells Fargo Bank
189.     2005-KS8                     1,165,800,000      RASC          RFC                   JPMorgan                                   Ally Securities                                                      Wells Fargo Bank
190.     2005-KS9                       477,750,000      RASC          RFC                   JPMorgan                                                                                                        Wells Fargo Bank
191.     2005-S1                        461,189,645      RFMSI         RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
192.     2005-S2                        259,555,195      RFMSI         RFC                   Goldman Sachs & Co.                                                                Ally Securities              Wells Fargo Bank       FGIC
193.     2005-S3                        182,545,268      RFMSI         RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank
194.     2005-S4                        257,539,881      RFMSI         RFC                   Ally Securities                                                                                                 Wells Fargo Bank
195.     2005-S5                        256,944,473      RFMSI         RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank       Assured
196.     2005-S6                        410,795,358      RFMSI         RFC                   Citigroup                                                                                                       Wells Fargo Bank
197.     2005-S7                        309,385,434      RFMSI         RFC                   Credit Suisse First Boston                                                                                      Wells Fargo Bank       FGIC
198.     2005-S8                        309,843,505      RFMSI         RFC                   Ally Securities                                                                                                 Wells Fargo Bank
199.     2005-S9                        364,215,996      RFMSI         RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
200.     2005-SA1                       292,853,100      RFMSI         RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank
201.     2005-SA2                       497,260,200      RFMSI         RFC                   Credit Suisse First Boston                                                                                      Wells Fargo Bank
202.     2005-SA3                       668,808,300      RFMSI         RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank
203.     2005-SA4                       841,547,200      RFMSI         RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
204.     2005-SA5                       351,366,300      RFMSI         RFC                   Ally Securities                                                                                                 Wells Fargo Bank
(1)
      Principal balance of offered certificates.
                                                                                                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
      For the purpose of this Appendix, Ally Securities is the only disclosed co-underwriter but, in most cases, securitizations had multiple non-affiliated co-underwriters. Ally Securities participated as a co-underwriter in 131 of ResCap's 392 securitizations.
(3)
  For the purpose of this Appendix, ResCap and AFI affiliates are disclosed when they originated more than 10% of the loan pool (per Regulation AB § 229.1110, which became effective Jan. 1, 2006.) Non-affiliate originators are not disclosed.
Note:
(A) Blank spaces refer to details that are not applicable or undisclosed.
(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
(C) At the time of the securitizations listed above, Ally Bank was doing business as and disclosed in the prospectus supplement as "GMAC Bank."
(D) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
                                                                                                                                                                                                                                                                                                                       Appendix




Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.




                                                                                                                        Appendix VIII.B—1, Page 4 of 8
                                                                                                                        Appendix VIII.B—1, Page 5 of 8

Residential Capital, LLC
392 PLS Deal Details
2004 – 2007


                                                                            Sponsor/
                                                   (1)
            Deal Name        Orig. Principal Bal.          Depositor      Master Servicer                  Lead Underwriter                      Joint Lead Underwriter              Co-Underwriter (2)            Custodian        Monoline Insurer                 Affiliate Originator(s) (3)
205.     2005-HI1                       240,000,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank       FGIC
206.     2005-HI2                       240,000,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank
207.     2005-HI3                       224,887,200      RFMSII        RFC                   Ally Securities                                                                                                 Wells Fargo Bank
208.     2005-HS1                       853,750,000      RFMSII        RFC                   Credit Suisse First Boston                                                         Ally Securities              Wells Fargo Bank       FGIC
                                                                                                                                                                                                                                                                                                                       12-12020-mg




209.     2005-HS2                       577,462,500      RFMSII        RFC                   Banc of America Securities LLC             Bear, Stearns & Co. Inc.                Ally Securities              Wells Fargo Bank       FGIC
210.     2005-HSA1                      278,847,000      RFMSII        RFC                   Ally Securities                            Banc of America Securities LLC                                       Wells Fargo Bank       FGIC
211.     2006-AR1                       502,050,100      RAMP          GMAC Mortgage         Goldman Sachs & Co.                                                                                             Old GMAC Bank                             GMAC Mortgage & Old GMAC Bank
212.     2006-AR2                       368,146,200      RAMP          GMAC Mortgage         Ally Securities                                                                                                 Old GMAC Bank                             GMAC Mortgage & Old GMAC Bank
213.     2006-HE1                     1,274,156,000      RAMP          GMAC Mortgage         JPMorgan                                                                           Ally Securities              Old GMAC Bank          FGIC               GMAC Mortgage & Old GMAC Bank
214.     2006-HE2                       626,240,000      RAMP          GMAC Mortgage         RBS Greenwich Capital                                                              Ally Securities              Old GMAC Bank          FGIC               GMAC Mortgage & Old GMAC Bank
215.     2006-HE3                     1,142,334,000      RAMP          GMAC Mortgage         JPMorgan                                                                           Ally Securities              Old GMAC Bank          FGIC               GMAC Mortgage & Old GMAC Bank
216.     2006-HE4                     1,136,222,000      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                           Ally Securities              Old GMAC Bank          MBIA               GMAC Mortgage & Old GMAC Bank
217.     2006-HE5                     1,244,459,000      RAMP          GMAC Mortgage         RBS Greenwich Capital                                                              Ally Securities              Ally Bank              FGIC               GMAC Mortgage & Ally Bank
218.     2006-HLTV1                     229,865,170      RAMP          GMAC Mortgage         Bear, Stearns & Co. Inc.                                                           Ally Securities              Ally Bank              FGIC
219.     2006-J1                        546,153,384      RAMP          GMAC Mortgage         Citigroup                                                                                                       Ally Bank                                 GMAC Mortgage & Ally Bank
220.     2006-RP1                       292,950,000      RAMP          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
                                                                                                                                                                                                                                                                                                                       Doc 3698-36




221.     2006-RP2                       316,981,000      RAMP          RFC                   Credit Suisse                                                                      Ally Securities              Wells Fargo Bank
222.     2006-RP3                       290,391,000      RAMP          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank
223.     2006-RP4                       357,367,000      RAMP          RFC                   Ally Securities                            Deutsche Bank Securities                                             Wells Fargo Bank
224.     2006-SP1                       275,925,000      RAMP          RFC                   Merrill Lynch & Co.                                                                Ally Securities              Wells Fargo Bank
225.     2006-SP2                       348,115,000      RAMP          RFC                   Merrill Lynch & Co.                                                                Ally Securities              Wells Fargo Bank
226.     2006-SP3                       291,892,000      RAMP          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank
227.     2006-SP4                       303,913,000      RAMP          RFC                   Lehman Brothers                            Ally Securities                                                      Wells Fargo Bank
228.     2006-QA1                       593,355,000      RALI          RFC                   Merrill Lynch & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
229.     2006-QA10                      375,502,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
230.     2006-QA11                      372,431,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
231.     2006-QA2                       386,927,100      RALI          RFC                   Citigroup                                                                                                       Wells Fargo Bank                          Homecomings Financial
232.     2006-QA3                       398,490,000      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank                          Homecomings Financial
233.     2006-QA4                       304,442,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          Homecomings Financial
234.     2006-QA5                       694,084,100      RALI          RFC                   Morgan Stanley                                                                                                  Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
235.     2006-QA6                       622,965,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
236.     2006-QA7                       588,151,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
237.     2006-QA8                       795,053,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
                                                                                                                                                                                                                                                                                                        Pg 353 of 385




238.     2006-QA9                       369,193,000      RALI          RFC                   Credit Suisse First Boston                                                                                      Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
239.     2006-QH1                       337,933,000      RALI          RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank       AMBAC
240.     2006-QO1                       881,346,100      RALI          RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
241.     2006-QO10                      889,857,000      RALI          RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
242.     2006-QO2                       665,486,000      RALI          RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
243.     2006-QO3                       644,812,000      RALI          RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
244.     2006-QO4                       843,226,000      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank       XL Capital         Homecomings Financial
245.     2006-QO5                     1,071,587,000      RALI          RFC                   UBS Investment Bank                                                                                             Wells Fargo Bank                          Homecomings Financial
246.     2006-QO6                     1,290,297,000      RALI          RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
247.     2006-QO7                     1,542,440,000      RALI          RFC                   UBS Investment Bank                                                                                             Wells Fargo Bank                          Homecomings Financial
248.     2006-QO8                     1,288,119,000      RALI          RFC                   Lehman Brothers                                                                                                 Wells Fargo Bank                          Homecomings Financial
249.     2006-QO9                       890,657,000      RALI          RFC                   Lehman Brothers                                                                                                 Wells Fargo Bank                          Homecomings Financial
250.     2006-QS1                       319,795,465      RALI          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank                          Homecomings Financial
251.     2006-QS10                      527,197,330      RALI          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank                          Homecomings Financial
252.     2006-QS11                      742,487,542      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank                          Homecomings Financial
253.     2006-QS12                      534,254,761      RALI          RFC                   Credit Suisse Securities (USA) LLC                                                 Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
254.     2006-QS13                      633,546,697      RALI          RFC                   Merrill Lynch & Co.                                                                Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
255.     2006-QS14                      743,878,961      RALI          RFC                   Barclays Capital                                                                                                Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
(1)
      Principal balance of offered certificates.
                                                                                                                                                                                                                                                                                                   Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
      For the purpose of this Appendix, Ally Securities is the only disclosed co-underwriter but, in most cases, securitizations had multiple non-affiliated co-underwriters. Ally Securities participated as a co-underwriter in 131 of ResCap's 392 securitizations.
(3)
  For the purpose of this Appendix, ResCap and AFI affiliates are disclosed when they originated more than 10% of the loan pool (per Regulation AB § 229.1110, which became effective Jan. 1, 2006.) Non-affiliate originators are not disclosed.
Note:
(A) Blank spaces refer to details that are not applicable or undisclosed.
(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
(C) At the time of the securitizations listed above, Ally Bank was doing business as and disclosed in the prospectus supplement as "GMAC Bank."
(D) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
                                                                                                                                                                                                                                                                                                                       Appendix




Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.




                                                                                                                         Appendix VIII.B—1, Page 5 of 8
                                                                                                                       Appendix VIII.B—1, Page 6 of 8

Residential Capital, LLC
392 PLS Deal Details
2004 – 2007


                                                                            Sponsor/
                                                   (1)
            Deal Name        Orig. Principal Bal.          Depositor      Master Servicer                  Lead Underwriter                      Joint Lead Underwriter              Co-Underwriter (2)            Custodian        Monoline Insurer                Affiliate Originator(s) (3)
256.     2006-QS15                      531,038,675      RALI          RFC                   UBS Investment Bank                                                                                             Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
257.     2006-QS16                      741,550,739      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
258.     2006-QS17                      530,024,465      RALI          RFC                   Merrill Lynch & Co.                                                                                             Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
259.     2006-QS18                    1,164,635,393      RALI          RFC                   Deutsche Bank Securities                                                           Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
                                                                                                                                                                                                                                                                                                                      12-12020-mg




260.     2006-QS2                       871,269,169      RALI          RFC                   Deutsche Bank Securities                                                           Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
261.     2006-QS3                       958,193,146      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank                          Homecomings Financial
262.     2006-QS4                       742,857,344      RALI          RFC                   Citigroup                                                                                                       Wells Fargo Bank                          Homecomings Financial
263.     2006-QS5                       688,897,295      RALI          RFC                   Merrill Lynch & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
264.     2006-QS6                       848,500,819      RALI          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
265.     2006-QS7                       530,520,315      RALI          RFC                   Citigroup                                                                                                       Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
266.     2006-QS8                       953,783,554      RALI          RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank                          Homecomings Financial
267.     2006-QS9                       533,095,899      RALI          RFC                   Deutsche Bank Securities                                                           Ally Securities              Wells Fargo Bank                          Homecomings Financial
268.     2006-EFC1                      593,225,000      RAMP          RFC                   Ally Securities                            Banc of America Securities LLC                                       Wells Fargo Bank
269.     2006-EFC2                      383,200,000      RAMP          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
270.     2006-NC1                       536,800,000      RAMP          RFC                   Ally Securities                                                                                                 Wells Fargo Bank
271.     2006-NC2                       737,580,000      RAMP          RFC                   JPMorgan                                                                           Ally Securities              Wells Fargo Bank
                                                                                                                                                                                                                                                                                                                      Doc 3698-36




272.     2006-NC3                       504,920,000      RAMP          RFC                   Ally Securities                            Deutsche Bank Securities                                             Wells Fargo Bank
273.     2006-RS1                     1,173,600,000      RAMP          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank
274.     2006-RS2                       785,601,000      RAMP          RFC                   Banc of America Securities LLC             Ally Securities                                                      Wells Fargo Bank
275.     2006-RS3                       741,604,000      RAMP          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank
276.     2006-RS4                       887,538,000      RAMP          RFC                   RBS Greenwich Capital                      Ally Securities                                                      Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
277.     2006-RS5                       382,590,000      RAMP          RFC                   RBS Greenwich Capital                      Ally Securities                                                      Wells Fargo Bank                          GMAC Mortgage
278.     2006-RS6                       368,997,000      RAMP          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
279.     2006-RZ1                       483,750,000      RAMP          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank                          Homecomings Financial
280.     2006-RZ2                       368,625,000      RAMP          RFC                   Bear, Stearns & Co. Inc.                   Barclays Capital                        Ally Securities              Wells Fargo Bank                          Homecomings Financial
281.     2006-RZ3                       688,345,000      RAMP          RFC                   Banc of America Securities LLC             Ally Securities                                                      Wells Fargo Bank                          Homecomings Financial
282.     2006-RZ4                       851,840,000      RAMP          RFC                   Credit Suisse First Boston                 Ally Securities                                                      Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
283.     2006-RZ5                       505,080,000      RAMP          RFC                   Credit Suisse                                                                                                   Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
284.     2006-EMX1                      424,600,000      RASC          RFC                   Ally Securities                            Citigroup                                                            Wells Fargo Bank
285.     2006-EMX2                      550,050,000      RASC          RFC                   Ally Securities                            Barclays Capital                                                     Wells Fargo Bank
286.     2006-EMX3                      773,600,000      RASC          RFC                   Ally Securities                            Citigroup                                                            Wells Fargo Bank
287.     2006-EMX4                      661,710,000      RASC          RFC                   Ally Securities                            RBS Greenwich Capital                                                Wells Fargo Bank
288.     2006-EMX5                      580,200,000      RASC          RFC                   Ally Securities                            Barclays Capital                                                     Wells Fargo Bank
                                                                                                                                                                                                                                                                                                       Pg 354 of 385




289.     2006-EMX6                      620,490,000      RASC          RFC                   Ally Securities                            JPMorgan                                                             Wells Fargo Bank
290.     2006-EMX7                      495,300,000      RASC          RFC                   Ally Securities                            JPMorgan                                                             Wells Fargo Bank
291.     2006-EMX8                      698,610,000      RASC          RFC                   Ally Securities                            Barclays Capital                                                     Wells Fargo Bank
292.     2006-EMX9                      728,840,000      RASC          RFC                   Ally Securities                            Barclays Capital                                                     Wells Fargo Bank
293.     2006-KS1                       840,115,000      RASC          RFC                   RBS Greenwich Capital                      JPMorgan                                Ally Securities              Wells Fargo Bank                          Homecomings Financial
294.     2006-KS2                       977,500,000      RASC          RFC                   Ally Securities                            RBS Greenwich Capital                                                Wells Fargo Bank                          Homecomings Financial
295.     2006-KS3                     1,125,850,000      RASC          RFC                   Citigroup                                                                                                       Wells Fargo Bank                          Homecomings Financial
296.     2006-KS4                       680,761,000      RASC          RFC                   Citigroup                                                                                                       Wells Fargo Bank                          Homecomings Financial
297.     2006-KS5                       679,700,000      RASC          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          Homecomings Financial
298.     2006-KS6                       523,655,000      RASC          RFC                   JPMorgan                                                                                                        Wells Fargo Bank                          Homecomings Financial
299.     2006-KS7                       532,675,000      RASC          RFC                   JPMorgan                                                                                                        Wells Fargo Bank                          Homecomings Financial
300.     2006-KS8                       535,851,000      RASC          RFC                   Barclays Capital                                                                                                Wells Fargo Bank                          Homecomings Financial
301.     2006-KS9                     1,197,119,000      RASC          RFC                   Barclays Capital                                                                                                Wells Fargo Bank                          Homecomings Financial
302.     2006-S1                        363,784,732      RFMSI         RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank                          Homecomings Financial
303.     2006-S10                     1,082,079,770      RFMSI         RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
304.     2006-S11                       619,488,659      RFMSI         RFC                   Citigroup                                                                                                       Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
305.     2006-S12                     1,197,400,378      RFMSI         RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
306.     2006-S2                        259,004,012      RFMSI         RFC                   UBS Investment Bank                                                                                             Wells Fargo Bank                          Homecomings Financial
(1)
      Principal balance of offered certificates.
                                                                                                                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
      For the purpose of this Appendix, Ally Securities is the only disclosed co-underwriter but, in most cases, securitizations had multiple non-affiliated co-underwriters. Ally Securities participated as a co-underwriter in 131 of ResCap's 392 securitizations.
(3)
  For the purpose of this Appendix, ResCap and AFI affiliates are disclosed when they originated more than 10% of the loan pool (per Regulation AB § 229.1110, which became effective Jan. 1, 2006.) Non-affiliate originators are not disclosed.
Note:
(A) Blank spaces refer to details that are not applicable or undisclosed.
(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
(C) At the time of the securitizations listed above, Ally Bank was doing business as and disclosed in the prospectus supplement as "GMAC Bank."
(D) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
                                                                                                                                                                                                                                                                                                                      Appendix




Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.




                                                                                                                        Appendix VIII.B—1, Page 6 of 8
                                                                                                                        Appendix VIII.B—1, Page 7 of 8

Residential Capital, LLC
392 PLS Deal Details
2004 – 2007


                                                                            Sponsor/
                                                   (1)
            Deal Name        Orig. Principal Bal.          Depositor      Master Servicer                  Lead Underwriter                      Joint Lead Underwriter              Co-Underwriter (2)            Custodian        Monoline Insurer                Affiliate Originator(s) (3)
307.     2006-S3                        335,748,997      RFMSI         RFC                   Citigroup                                                                                                       Wells Fargo Bank                          Homecomings Financial
308.     2006-S4                        312,034,000      RFMSI         RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          Homecomings Financial
309.     2006-S5                        674,010,134      RFMSI         RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
310.     2006-S6                        595,956,340      RFMSI         RFC                   Morgan Stanley                                                                                                  Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
                                                                                                                                                                                                                                                                                                                      12-12020-mg




311.     2006-S7                        466,833,246      RFMSI         RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
312.     2006-S8                        413,772,647      RFMSI         RFC                   BNP Paribas Securities Corp.                                                                                    Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
313.     2006-S9                        439,663,894      RFMSI         RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
314.     2006-SA1                       272,304,100      RFMSI         RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          Homecomings Financial
315.     2006-SA2                       784,980,150      RFMSI         RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
316.     2006-SA3                       348,770,100      RFMSI         RFC                   Banc of America Securities LLC                                                                                  Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
317.     2006-SA4                       278,888,100      RFMSI         RFC                   Credit Suisse                                                                                                   Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
318.     2006-HI1                       214,186,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank                          Homecomings Financial
319.     2006-HI2                       237,391,000      RFMSII        RFC                   Banc of America Securities LLC                                                     Ally Securities              Wells Fargo Bank       FGIC               Homecomings Financial
320.     2006-HI3                       223,158,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank       FGIC               GMAC Mortgage & Homecomings Financial
321.     2006-HI4                       272,693,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank       FGIC               GMAC Mortgage & Homecomings Financial
322.     2006-HI5                       247,469,000      RFMSII        RFC                   Ally Securities                                                                                                 Wells Fargo Bank       FGIC               GMAC Mortgage & Homecomings Financial
                                                                                                                                                                                                                                                                                                                      Doc 3698-36




323.     2006-HSA1                      461,444,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                   Ally Securities                                                      Wells Fargo Bank       FGIC               Homecomings Financial
324.     2006-HSA2                      447,900,000      RFMSII        RFC                   Credit Suisse                              Ally Securities                                                      Wells Fargo Bank       FGIC               Homecomings Financial
325.     2006-HSA3                      201,014,000      RFMSII        RFC                   RBS Greenwich Capital                      Ally Securities                                                      Wells Fargo Bank       FSA                Homecomings Financial
326.     2006-HSA4                      402,118,000      RFMSII        RFC                   Citigroup                                  Ally Securities                                                      Wells Fargo Bank       MBIA               Homecomings Financial
327.     2006-HSA5                      295,648,000      RFMSII        RFC                   Goldman Sachs & Co.                        Ally Securities                                                      Wells Fargo Bank       MBIA               Homecomings Financial
328.     2007-HE1                     1,185,871,000      RAMP          GMAC Mortgage         JPMorgan                                                                           Ally Securities              Ally Bank              MBIA               GMAC Mortgage & Ally Bank
329.     2007-HE2                     1,240,884,000      RAMP          GMAC Mortgage         Ally Securities                            RBS Greenwich Capital                                                Ally Bank              FGIC               GMAC Mortgage & Ally Bank
330.     2007-HE3                       350,580,000      RAMP          GMAC Mortgage         Ally Securities                                                                                                 Ally Bank                                 GMAC Mortgage & Ally Bank
331.     2007-RP1                       334,361,000      RAMP          RFC                   RBS Greenwich Capital                      Ally Securities                                                      Wells Fargo Bank
332.     2007-RP2                       263,289,000      RAMP          RFC                   Credit Suisse                              Ally Securities                                                      Wells Fargo Bank
333.     2007-RP3                       346,640,000      RAMP          RFC                   Barclays Capital                           Ally Securities                                                      Wells Fargo Bank
334.     2007-RP4                       239,164,000      RAMP          RFC                   Lehman Brothers                            Ally Securities                                                      Wells Fargo Bank
335.     2007-SP1                       346,555,000      RAMP          RFC                   Deutsche Bank Securities                   Ally Securities                                                      Wells Fargo Bank
336.     2007-SP2                       279,284,000      RAMP          RFC                   RBS Greenwich Capital                      Ally Securities                                                      Wells Fargo Bank
337.     2007-SP3                       298,114,000      RAMP          RFC                   Credit Suisse                              Ally Securities                                                      Wells Fargo Bank
338.     2007-QA1                       410,069,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
339.     2007-QA2                       366,984,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
                                                                                                                                                                                                                                                                                                       Pg 355 of 385




340.     2007-QA3                       882,356,800      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
341.     2007-QA4                       243,450,000      RALI          RFC                   Credit Suisse                                                                                                   Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
342.     2007-QA5                       491,200,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
343.     2007-QH1                       522,264,000      RALI          RFC                   Goldman Sachs & Co.                                                                                             Wells Fargo Bank
344.     2007-QH2                       348,425,000      RALI          RFC                   Goldman Sachs & Co.                                                                Ally Securities              Wells Fargo Bank                          Homecomings Financial
345.     2007-QH3                       349,476,000      RALI          RFC                   Goldman Sachs & Co.                                                                Ally Securities              Wells Fargo Bank                          Homecomings Financial
346.     2007-QH4                       397,963,000      RALI          RFC                   Goldman Sachs & Co.                                                                Ally Securities              Wells Fargo Bank                          Homecomings Financial
347.     2007-QH5                       497,503,000      RALI          RFC                   Goldman Sachs & Co.                                                                Ally Securities              Wells Fargo Bank                          Homecomings Financial
348.     2007-QH6                       595,208,000      RALI          RFC                   Goldman Sachs & Co.                                                                Ally Securities              Wells Fargo Bank                          Homecomings Financial
349.     2007-QH7                       346,958,000      RALI          RFC                   Merrill Lynch & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
350.     2007-QH8                       540,449,900      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          Homecomings Financial
351.     2007-QH9                       573,585,400      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          Homecomings Financial
352.     2007-QO1                       621,930,000      RALI          RFC                   Credit Suisse Securities (USA) LLC                                                                              Wells Fargo Bank                          Homecomings Financial
353.     2007-QO2                       527,132,000      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank                          Homecomings Financial
354.     2007-QO3                       296,295,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          Homecomings Financial
355.     2007-QO4                       502,837,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          Homecomings Financial
356.     2007-QO5                       231,187,000      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          Homecomings Financial
357.     2007-QS1                     1,280,501,451      RALI          RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
(1)
      Principal balance of offered certificates.
                                                                                                                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13




(2)
      For the purpose of this Appendix, Ally Securities is the only disclosed co-underwriter but, in most cases, securitizations had multiple non-affiliated co-underwriters. Ally Securities participated as a co-underwriter in 131 of ResCap's 392 securitizations.
(3)
  For the purpose of this Appendix, ResCap and AFI affiliates are disclosed when they originated more than 10% of the loan pool (per Regulation AB § 229.1110, which became effective Jan. 1, 2006.) Non-affiliate originators are not disclosed.
Note:
(A) Blank spaces refer to details that are not applicable or undisclosed.
(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
(C) At the time of the securitizations listed above, Ally Bank was doing business as and disclosed in the prospectus supplement as "GMAC Bank."
(D) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
                                                                                                                                                                                                                                                                                                                      Appendix




Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.




                                                                                                                         Appendix VIII.B—1, Page 7 of 8
                                                                                                                       Appendix VIII.B—1, Page 8 of 8

Residential Capital, LLC
392 PLS Deal Details
2004 – 2007


                                                                            Sponsor/
                                                   (1)
            Deal Name        Orig. Principal Bal.          Depositor      Master Servicer                  Lead Underwriter                     Joint Lead Underwriter               Co-Underwriter (2)            Custodian        Monoline Insurer               Affiliate Originator(s) (3)
358.     2007-QS10                      426,607,453      RALI          RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
359.     2007-QS11                      300,636,797      RALI          RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
360.     2007-QS2                       529,765,806      RALI          RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
361.     2007-QS3                       957,523,112      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
                                                                                                                                                                                                                                                                                                                     12-12020-mg




362.     2007-QS4                       736,484,029      RALI          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
363.     2007-QS5                       426,647,013      RALI          RFC                   Citigroup                                                                                                       Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
364.     2007-QS6                       796,984,867      RALI          RFC                   Barclays Capital                                                                   Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
365.     2007-QS7                       792,849,258      RALI          RFC                   Deutsche Bank Securities                                                           Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
366.     2007-QS8                       642,305,940      RALI          RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
367.     2007-QS9                       696,428,029      RALI          RFC                   RBS Greenwich Capital                                                              Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
368.     2007-RS1                       478,271,000      RAMP          RFC                   Deutsche Bank Securities                                                                                        Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
369.     2007-RS2                       376,776,000      RAMP          RFC                   Banc of America Securities LLC             Citigroup                               Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
370.     2007-RZ1                       324,339,000      RAMP          RFC                   Banc of America Securities LLC                                                                                  Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
371.     2007-EMX1                      692,852,000      RASC          RFC                   Ally Securities                            Credit Suisse                                                        Wells Fargo Bank       FGIC
372.     2007-KS1                       409,699,000      RASC          RFC                   Merrill Lynch & Co.                                                                                             Wells Fargo Bank                          Homecomings Financial
373.     2007-KS2                       961,500,000      RASC          RFC                   JPMorgan                                                                                                        Wells Fargo Bank                          Homecomings Financial
                                                                                                                                                                                                                                                                                                                     Doc 3698-36




374.     2007-KS3                     1,270,253,000      RASC          RFC                   JPMorgan                                   Banc of America Securities LLC          Ally Securities              Wells Fargo Bank                          Homecomings Financial
375.     2007-KS4                       235,875,000      RASC          RFC                   JPMorgan                                                                           Ally Securities              Wells Fargo Bank                          Homecomings Financial
376.     2007-S1                        519,391,385      RFMSI         RFC                   Credit Suisse                                                                                                   Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
377.     2007-S2                        469,355,159      RFMSI         RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
378.     2007-S3                        571,834,504      RFMSI         RFC                   Bear, Stearns & Co. Inc.                                                                                        Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
379.     2007-S4                        312,586,452      RFMSI         RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
380.     2007-S5                        521,695,689      RFMSI         RFC                   RBS Greenwich Capital                                                                                           Wells Fargo Bank                          Homecomings Financial
381.     2007-S6                        702,029,084      RFMSI         RFC                   Citigroup                                                                          Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
382.     2007-S7                        415,755,302      RFMSI         RFC                   Morgan Stanley                                                                     Ally Securities              Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
383.     2007-S8                        484,161,989      RFMSI         RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
384.     2007-S9                        170,566,348      RFMSI         RFC                   Credit Suisse First Boston                                                                                      Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
385.     2007-SA1                       307,349,600      RFMSI         RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
386.     2007-SA2                       380,461,300      RFMSI         RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
387.     2007-SA3                       360,201,900      RFMSI         RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
388.     2007-SA4                       410,157,100      RFMSI         RFC                   Ally Securities                                                                                                 Wells Fargo Bank                          GMAC Mortgage & Homecomings Financial
389.     2007-HI1                       254,956,000      RFMSII        RFC                   Bear, Stearns & Co. Inc.                                                           Ally Securities              Wells Fargo Bank       FGIC               GMAC Mortgage & Homecomings Financial
390.     2007-HSA1                      546,774,000      RFMSII        RFC                   Ally Securities                            Deutsche Bank Securities                                             Wells Fargo Bank       MBIA               Homecomings Financial
                                                                                                                                                                                                                                                                                                      Pg 356 of 385




391.     2007-HSA2                    1,231,394,000      RFMSII        RFC                   Ally Securities                            RBS Greenwich Capital                                                Wells Fargo Bank       MBIA               Homecomings Financial
392.     2007-HSA3                      796,432,000      RFMSII        RFC                   Ally Securities                            Credit Suisse                                                        Wells Fargo Bank       MBIA               Homecomings Financial
(1)
      Principal balance of offered certificates.
(2)
      For the purpose of this Appendix, Ally Securities is the only disclosed co-underwriter but, in most cases, securitizations had multiple non-affiliated co-underwriters. Ally Securities participated as a co-underwriter in 131 of ResCap's 392 securitizations.
(3)
  For the purpose of this Appendix, ResCap and AFI affiliates are disclosed when they originated more than 10% of the loan pool (per Regulation AB § 229.1110, which became effective Jan. 1, 2006.) Non-affiliate originators are not disclosed.
Note:
(A) Blank spaces refer to details that are not applicable or undisclosed.
(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
(C) At the time of the securitizations listed above, Ally Bank was doing business as and disclosed in the prospectus supplement as "GMAC Bank."
(D) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.
                                                                                                                                                                                                                                                                                                 Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                                     Appendix




                                                                                                                        Appendix VIII.B—1, Page 8 of 8
                                                                                                        Appendix VIII.B—2, Page 1 of 3

Residential Capital, LLC
Ally Securities as Lead and Joint Lead Underwriter on ResCap's PLS Deals
2004 – 2007


                                                       Sponsor/
             Deal Name               Depositor       Master Servicer         Orig. Principal Bal. (1)            Lead Underwriter                     Joint Lead Underwriter                Monoline Insurer
   1.   2004-QA4                       RALI               RFC                $         285,865,200                 Ally Securities
   2.   2004-QA6                       RALI               RFC                          708,773,800                 Ally Securities
                                                                                                                                                                                                                                                                              12-12020-mg




   3.   2004-SL4                      RAMP                RFC                          205,963,987                 Ally Securities
   4.   2004-HS3                      RFMSII              RFC                          284,000,000                 Ally Securities                                                                 FGIC
   5.   2004-PS1                      RFMSI               RFC                          100,065,033                 Ally Securities
   6.   2005-QA3                       RALI               RFC                          491,297,300                 Ally Securities
   7.   2005-QA5                       RALI               RFC                          236,761,800                 Ally Securities
   8.   2005-QA6                       RALI               RFC                          565,100,300                 Ally Securities
   9.   2005-QA8                       RALI               RFC                          510,425,700                 Ally Securities
  10.   2005-QO3                       RALI               RFC                          488,324,200                 Ally Securities
  11.   2005-EFC1                     RAMP                RFC                        1,074,195,000                 Ally Securities                     RBS Greenwich Capital
                                                                                                                                                                                                                                                                              Doc 3698-36




  12.   2005-EFC2                     RAMP                RFC                          679,331,000                 Ally Securities                    Credit Suisse First Boston
  13.   2005-EFC3                     RAMP                RFC                          731,914,000                 Ally Securities                    Credit Suisse First Boston
  14.   2005-EFC4                     RAMP                RFC                          707,796,000                 Ally Securities                            JPMorgan
  15.   2005-EFC5                     RAMP                RFC                          693,318,000                 Ally Securities                            Citigroup
  16.   2005-EFC7                     RAMP                RFC                          698,175,000                 Ally Securities                        Barclays Capital                         FGIC
  17.   2005-SL1                      RAMP                RFC                          365,173,500                 Ally Securities
  18.   2005-SL2                      RAMP                RFC                          163,118,406                 Ally Securities
  19.   2005-AHL1                      RASC               RFC                          463,670,000                 Ally Securities
  20.   2005-AHL2                      RASC               RFC                          434,239,000                 Ally Securities
  21.   2005-AHL3                      RASC               RFC                          488,750,000                 Ally Securities
  22.   2005-EMX1                      RASC               RFC                          783,200,000                 Ally Securities                Banc of America Securities LLC
  23.   2005-EMX2                      RASC               RFC                          614,026,000                 Ally Securities                Banc of America Securities LLC
  24.   2005-EMX3                      RASC               RFC                          674,450,000                 Ally Securities                  Credit Suisse First Boston
                                                                                                                                                                                                                                                               Pg 357 of 385




  25.   2005-EMX4                      RASC               RFC                          492,597,000                 Ally Securities                        Barclays Capital
  26.   2005-EMX5                      RASC               RFC                          380,000,000                 Ally Securities                                                                 FGIC
  27.   2005-S4                       RFMSI               RFC                          257,539,881                 Ally Securities
  28.   2005-S8                       RFMSI               RFC                          309,843,505                 Ally Securities
  29.   2005-SA5                      RFMSI               RFC                          351,366,300                 Ally Securities
  30.   2005-HI3                      RFMSII              RFC                          224,887,200                 Ally Securities
  31.   2005-HSA1                     RFMSII              RFC                          278,847,000                 Ally Securities                Banc of America Securities LLC                   FGIC
  32.   2006-AR2                      RAMP           GMAC Mortgage                     368,146,200                 Ally Securities
  33.   2006-RP4                      RAMP                RFC                          357,367,000                 Ally Securities                    Deutsche Bank Securities
  34.   2006-QA10                      RALI               RFC                          375,502,000                 Ally Securities
  35.   2006-QA11                      RALI               RFC                          372,431,000                 Ally Securities
  36.   2006-QA4                       RALI               RFC                          304,442,000                 Ally Securities
  37.   2006-QA6                       RALI               RFC                          622,965,000                 Ally Securities
  38.   2006-QA7                       RALI               RFC                          588,151,000                 Ally Securities
  39.   2006-QA8                       RALI               RFC                          795,053,000                 Ally Securities
                                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




  40.   2006-EFC1                     RAMP                RFC                          593,225,000                 Ally Securities                Banc of America Securities LLC
  41.   2006-EFC2                     RAMP                RFC                          383,200,000                 Ally Securities
  42.   2006-NC1                      RAMP                RFC                          536,800,000                 Ally Securities
  43.   2006-NC3                      RAMP                RFC                          504,920,000                 Ally Securities                    Deutsche Bank Securities
  44.   2006-EMX1                      RASC               RFC                          424,600,000                 Ally Securities                           Citigroup
(1)
   Principal balance of offered certificates.
Note:
(A) Includes instances when Ally Securities was the lead and joint lead underwriter.
                                                                                                                                                                                                                                                                              Appendix




(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary
section of each prospectus supplement.


                                                                                                        Appendix VIII.B—2, Page 1 of 3
                                                                                                        Appendix VIII.B—2, Page 2 of 3

Residential Capital, LLC
Ally Securities as Lead and Joint Lead Underwriter on ResCap's PLS Deals
2004 – 2007


                                                       Sponsor/
             Deal Name               Depositor       Master Servicer         Orig. Principal Bal. (1)            Lead Underwriter                     Joint Lead Underwriter                Monoline Insurer
  45.   2006-EMX2                      RASC               RFC                          550,050,000                 Ally Securities                        Barclays Capital
  46.   2006-EMX3                      RASC               RFC                          773,600,000                 Ally Securities                           Citigroup
                                                                                                                                                                                                                                                                              12-12020-mg




  47.   2006-EMX4                      RASC               RFC                          661,710,000                 Ally Securities                     RBS Greenwich Capital
  48.   2006-EMX5                      RASC               RFC                          580,200,000                 Ally Securities                        Barclays Capital
  49.   2006-EMX6                      RASC               RFC                          620,490,000                 Ally Securities                           JPMorgan
  50.   2006-EMX7                      RASC               RFC                          495,300,000                 Ally Securities                           JPMorgan
  51.   2006-EMX8                      RASC               RFC                          698,610,000                 Ally Securities                        Barclays Capital
  52.   2006-EMX9                      RASC               RFC                          728,840,000                 Ally Securities                        Barclays Capital
  53.   2006-KS2                       RASC               RFC                          977,500,000                 Ally Securities                     RBS Greenwich Capital
  54.   2006-HI5                      RFMSII              RFC                          247,469,000                 Ally Securities                                                                 FGIC
  55.   2007-HE2                      RAMP           GMAC Mortgage                   1,240,884,000                 Ally Securities                     RBS Greenwich Capital                       FGIC
                                                                                                                                                                                                                                                                              Doc 3698-36




  56.   2007-HE3                      RAMP           GMAC Mortgage                     350,580,000                 Ally Securities
  57.   2007-QA1                       RALI               RFC                          410,069,000                 Ally Securities
  58.   2007-QA2                       RALI               RFC                          366,984,000                 Ally Securities
  59.   2007-QA3                       RALI               RFC                          882,356,800                 Ally Securities
  60.   2007-QA5                       RALI               RFC                          491,200,000                 Ally Securities
  61.   2007-QH8                       RALI               RFC                          540,449,900                 Ally Securities
  62.   2007-QH9                       RALI               RFC                          573,585,400                 Ally Securities
  63.   2007-QO3                       RALI               RFC                          296,295,000                 Ally Securities
  64.   2007-QO4                       RALI               RFC                          502,837,000                 Ally Securities
  65.   2007-QO5                       RALI               RFC                          231,187,000                 Ally Securities
  66.   2007-QS11                      RALI               RFC                          300,636,797                 Ally Securities
  67.   2007-EMX1                      RASC               RFC                          692,852,000                 Ally Securities                           Credit Suisse                         FGIC
  68.   2007-S8                       RFMSI               RFC                          484,161,989                 Ally Securities
                                                                                                                                                                                                                                                               Pg 358 of 385




  69.   2007-SA1                      RFMSI               RFC                          307,349,600                 Ally Securities
  70.   2007-SA2                      RFMSI               RFC                          380,461,300                 Ally Securities
  71.   2007-SA3                      RFMSI               RFC                          360,201,900                 Ally Securities
  72.   2007-SA4                      RFMSI               RFC                          410,157,100                 Ally Securities
  73.   2007-HSA1                     RFMSII              RFC                          546,774,000                 Ally Securities                    Deutsche Bank Securities                     MBIA
  74.   2007-HSA2                     RFMSII              RFC                        1,231,394,000                 Ally Securities                    RBS Greenwich Capital                        MBIA
  75.   2007-HSA3                     RFMSII              RFC                          796,432,000                 Ally Securities                         Credit Suisse                           MBIA
  76.   2004-RS12                     RAMP                RFC                          975,000,000                    JPMorgan                             Ally Securities
  77.   2004-KS11                      RASC               RFC                          685,650,000            Credit Suisse First Boston                   Ally Securities
  78.   2005-RP1                      RAMP                RFC                          343,073,000            Credit Suisse First Boston                   Ally Securities
  79.   2005-EFC6                     RAMP                RFC                          672,696,000                    JPMorgan                             Ally Securities
  80.   2005-NC1                      RAMP                RFC                          870,750,000            Credit Suisse First Boston                   Ally Securities                         FGIC
  81.   2005-RS6                      RAMP                RFC                        1,178,400,000            Credit Suisse First Boston                   Ally Securities
  82.   2005-KS1                       RASC               RFC                          708,840,000            Credit Suisse First Boston                   Ally Securities
  83.   2005-KS10                      RASC               RFC                        1,285,956,000                    JPMorgan                             Ally Securities
                                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




  84.   2005-KS11                      RASC               RFC                        1,339,290,000            Credit Suisse First Boston                   Ally Securities
  85.   2005-KS8                      RAMP                RFC                        1,165,800,000                    JPMorgan                             Ally Securities
  86.   2006-SP3                      RAMP                RFC                          291,892,000            Credit Suisse First Boston                   Ally Securities
  87.   2006-SP4                      RAMP                RFC                          303,913,000                Lehman Brothers                          Ally Securities
  88.   2006-RS1                      RAMP                RFC                        1,173,600,000            Credit Suisse First Boston                   Ally Securities
(1)
   Principal balance of offered certificates.
Note:
(A) Includes instances when Ally Securities was the lead and joint lead underwriter.
                                                                                                                                                                                                                                                                              Appendix




(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary
section of each prospectus supplement.


                                                                                                        Appendix VIII.B—2, Page 2 of 3
                                                                                                        Appendix VIII.B—2, Page 3 of 3

Residential Capital, LLC
Ally Securities as Lead and Joint Lead Underwriter on ResCap's PLS Deals
2004 – 2007


                                                       Sponsor/
           Deal Name                 Depositor       Master Servicer         Orig. Principal Bal. (1)           Lead Underwriter                      Joint Lead Underwriter                Monoline Insurer
  89. 2006-RS2                        RAMP                RFC                          785,601,000        Banc of America Securities LLC                   Ally Securities
  90. 2006-RS4                        RAMP                RFC                          887,538,000           RBS Greenwich Capital                         Ally Securities
                                                                                                                                                                                                                                                                              12-12020-mg




  91. 2006-RS5                        RAMP                RFC                          382,590,000           RBS Greenwich Capital                         Ally Securities
  92. 2006-RZ3                        RAMP                RFC                          688,345,000        Banc of America Securities LLC                   Ally Securities
  93. 2006-RZ4                        RAMP                RFC                          851,840,000          Credit Suisse First Boston                     Ally Securities
  94. 2006-HSA1                       RFMSII              RFC                          461,444,000           Bear, Stearns & Co. Inc.                      Ally Securities                         FGIC
  95. 2006-HSA2                       RFMSII              RFC                          447,900,000                 Credit Suisse                           Ally Securities                         FGIC
  96. 2006-HSA3                       RFMSII              RFC                          201,014,000           RBS Greenwich Capital                         Ally Securities                         FSA
  97. 2006-HSA4                       RFMSII              RFC                          402,118,000                   Citigroup                             Ally Securities                         MBIA
  98. 2006-HSA5                       RFMSII              RFC                          295,648,000            Goldman Sachs & Co.                          Ally Securities                         MBIA
  99. 2007-RP1                        RAMP                RFC                          334,361,000           RBS Greenwich Capital                         Ally Securities
                                                                                                                                                                                                                                                                              Doc 3698-36




 100. 2007-RP2                        RAMP                RFC                          263,289,000                 Credit Suisse                           Ally Securities
 101. 2007-RP3                        RAMP                RFC                          346,640,000                Barclays Capital                         Ally Securities
 102. 2007-RP4                        RAMP                RFC                          239,164,000               Lehman Brothers                           Ally Securities
 103. 2007-SP1                        RAMP                RFC                          346,555,000           Deutsche Bank Securities                      Ally Securities
 104. 2007-SP2                        RAMP                RFC                          279,284,000           RBS Greenwich Capital                         Ally Securities
 105. 2007-SP3                        RAMP                RFC                          298,114,000                 Credit Suisse                           Ally Securities
                                                                             $      57,206,739,098



(1)
   Principal balance of offered certificates.
Note:
(A) Includes instances when Ally Securities was the lead and joint lead underwriter.
                                                                                                                                                                                                                                                               Pg 359 of 385




(B) At the time of the securitizations listed above, Ally Securities was doing business as and disclosed in the prospectus supplement as "GMAC-RFC Securities."
Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary
section of each prospectus supplement.
                                                                                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                              Appendix




                                                                                                        Appendix VIII.B—2, Page 3 of 3
                                                                                                                             Appendix VIII.B—3, Page 1 of 1

Residential Capital, LLC
Old GMAC Bank and Ally Bank as Custodian on ResCap's PLS Deals
2004 – 2007


                                                                           Sponsor/
              Deal Name                    Depositor                     Master Servicer                      Custodian                Orig. Principal Bal. (1)            Monoline Insurer
      1.   2004-AR1                          RAMP                        GMAC Mortgage                   Escrow Bank USA                $          630,153,200
      2.   2004-AR2                          RAMP                        GMAC Mortgage                    Old GMAC Bank                            506,018,100
      3.   2004-GH1                          RAMP                        GMAC Mortgage                    Old GMAC Bank                            224,099,000
                                                                                                                                                                                                                                                                                      12-12020-mg




      4.   2004-HE1                          RAMP                        GMAC Mortgage                   Escrow Bank USA                        1,259,311,000                     FGIC
      5.   2004-HE2                          RAMP                        GMAC Mortgage                   Escrow Bank USA                           711,548,000                Old Republic
      6.   2004-HE3                          RAMP                        GMAC Mortgage                   Escrow Bank USA                           952,320,000                     FSA
      7.   2004-HE4                          RAMP                        GMAC Mortgage                    Old GMAC Bank                            992,000,000                    MBIA
      8.   2004-HE5                          RAMP                        GMAC Mortgage                    Old GMAC Bank                            700,000,000                    FGIC
      9.   2004-HLTV1                        RAMP                        GMAC Mortgage                    Old GMAC Bank                            175,000,000                    FGIC
  10. 2004-J1                                RAMP                        GMAC Mortgage                       Escrow Bank                           398,964,694                    MBIA
  11. 2004-J2                                RAMP                        GMAC Mortgage                       Escrow Bank                           398,597,431                    MBIA
  12. 2004-J3                                RAMP                        GMAC Mortgage                       Escrow Bank                           348,287,499
                                                                                                                                                                                                                                                                                      Doc 3698-36




  13. 2004-J4                                RAMP                        GMAC Mortgage                    Old GMAC Bank                            597,117,562
  14. 2004-J5                                RAMP                        GMAC Mortgage                    Old GMAC Bank                            549,141,999
  15. 2004-J6                                RAMP                        GMAC Mortgage                    Old GMAC Bank                            406,384,031
  16. 2004-VFT                              GMACR                        GMAC Mortgage                    Old GMAC Bank                            390,956,146                    MBIA
  17. 2005-AA1                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            260,774,100
  18. 2005-AF1                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            231,466,322
  19. 2005-AF2                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            292,121,700
  20. 2005-AR1                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            395,770,100
  21. 2005-AR2                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            453,859,100
  22. 2005-AR3                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            518,480,100
  23. 2005-AR4                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            381,630,100
  24. 2005-AR5                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            592,093,100
  25. 2005-AR6                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            585,769,100
                                                                                                                                                                                                                                                                       Pg 360 of 385




  26. 2005-HE1                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            962,325,000                    FGIC
  27. 2005-HE2                               RAMP                        GMAC Mortgage                    Old GMAC Bank                         1,113,522,000                     FGIC
  28. 2005-HE3                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            963,680,000                  AMBAC
  29. 2005-J1                                RAMP                        GMAC Mortgage                    Old GMAC Bank                            522,873,155
  30. 2006-AR1                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            502,050,100
  31. 2006-AR2                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            368,146,200
  32. 2006-HE1                               RAMP                        GMAC Mortgage                    Old GMAC Bank                         1,274,156,000                     FGIC
  33. 2006-HE2                               RAMP                        GMAC Mortgage                    Old GMAC Bank                            626,240,000                    FGIC
  34. 2006-HE3                               RAMP                        GMAC Mortgage                    Old GMAC Bank                         1,142,334,000                     FGIC
  35. 2006-HE4                               RAMP                        GMAC Mortgage                    Old GMAC Bank                         1,136,222,000                     MBIA
  36. 2006-HE5                               RAMP                        GMAC Mortgage                        Ally Bank                          1,244,459,000                    FGIC
  37. 2006-HLTV1                             RAMP                        GMAC Mortgage                        Ally Bank                            229,865,170                    FGIC
  38. 2006-J1                                RAMP                        GMAC Mortgage                        Ally Bank                            546,153,384
  39. 2007-HE1                               RAMP                        GMAC Mortgage                        Ally Bank                          1,185,871,000                    MBIA
                                                                                                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13




  40. 2007-HE2                               RAMP                        GMAC Mortgage                        Ally Bank                          1,240,884,000                    FGIC
  41. 2007-HE3                               RAMP                        GMAC Mortgage                        Ally Bank                            350,580,000
                                                                                                                                        $      26,361,223,393

(1)
   Principal balance of offered certificates.
Note:
(A) At the time of the securitizations listed above, both Old GMAC Bank and Ally Bank were doing business as and disclosed in the prospectus supplement as "GMAC Bank."
                                                                                                                                                                                                                                                                                      Appendix




(B) Escrow Bank and Escrow Bank USA are identified, in the prospectus supplements, as an affiliate of GMAC Mortgage. Effective July 1, 2004, Old GMAC Bank assumed the custodial activities from these two entities.
Source: All of the information contained in this Appendix was extracted from the relevant securitization prospectus supplements using either Bloomberg or Intex. Generally, the relevant information is located on the cover page and/or in the summary section
of each prospectus supplement, except for custodial information, which can be found in the pooling and servicing section.




                                                                                                                              Appendix VIII.B—3, Page 1 of 1
    12-12020-mg             Doc 3698-36   Filed 05/13/13 Entered 05/13/13 17:08:13                    Appendix
                                               Pg 361 of 385
                                    Appendix VIII.B.1.b(1), Page 1 of 3

                       1.      Loan Origination

        The RMBS securitization process begins with an originator marketing a loan product to a
borrower.1 Based on the originator’s criteria for the specific loan product, the originator requires
the borrower to provide specific financial information, such as copies of bank statements and
income verification.2 The originator reviews the financial information, as well as appraisals and
other information about the property securing the mortgage, and compares this information to the
originator’s guidelines for the particular loan product.3 This process, applied by the originator, is
known as loan underwriting.

        Loan underwriting is critical in assessing a borrower’s ability to repay a loan as well as
the mortgage note holder’s ability to recover from the underlying collateral in the event that the
borrower defaults.4 Accordingly, the originator assesses several metrics that reflect the
borrower’s repayment ability, such as the value of the mortgaged property, the amount of the
loan, and the borrower’s credit score and income.5 Two ratios typically reviewed as part of the
loan-underwriting process are loan-to-value (“LTV”) and debt-to-income (“DTI”) ratios.6 The
LTV ratio reflects the relationship between the outstanding principal balance of a mortgage and
the value of the mortgaged property.7 Lenders use LTV ratios as an indication of the likelihood
that they will be repaid in the event of borrower default and foreclosure.8 DTI ratios compare a
borrower’s monthly mortgage obligation combined with other debt (credit cards, insurance,
taxes, etc.) to their gross monthly income.9 Lenders use this metric to estimate borrowers’ ability
to repay the underlying mortgages.10




1
      MOODY’S INVESTORS SERVICE, DEAL SPONSOR AND CREDIT RISK OF U.S. ABS AND MBS SECURITIES (Dec.
      2006), at 9, http://www.moodys.com/sites/products/DefaultResearch/2006200000426039.pdf.
2
      See Daniel J. McDonald & Daniel L. Thornton, A Primer on the Mortgage Market and Mortgage Finance, FED.
      RES. BANK ST. LOUIS REV., Jan./Feb. 2008, at 36, http://research.stlouisfed.org/publications/review/08/01/McD
      onald.pdf.
3
      See id.
4
      See FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 17 (McGraw-Hill, 6th ed. 2005).
5
      See id. at 17–20.
6
      See id. at 18–19.
7
      See id. at 18.
8
      See id.
9
      Daniel J. McDonald & Daniel L. Thornton, A Primer on the Mortgage Market and Mortgage Finance, FED.
      RES. BANK ST. LOUIS REV., Jan./Feb. 2008, at 36, http://research.stlouisfed.org/publications/review/08/01 /Mc
      Donald.pdf.
10
      See FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 19 (McGraw-Hill, 6th ed. 2005).




                                    Appendix VIII.B.1.b(1), Page 1 of 3
 12-12020-mg               Doc 3698-36    Filed 05/13/13 Entered 05/13/13 17:08:13                     Appendix
                                               Pg 362 of 385
                                   Appendix VIII.B.1.b(1), Page 2 of 3

                      2.      Loan Acquisition

        Originators that do not securitize or hold loans on their balance sheet typically act as a
broker or correspondent for a sponsor.11 Brokers perform the initial borrower review based upon
the sponsor’s underwriting guidelines but do not make an underwriting decision nor fund the
loans.12 The broker provides the sponsor with a loan package that has already been underwritten
in exchange for a brokerage fee.13 The sponsor funds the loan upon review of adherence to
guidelines and acceptance.

        Unlike brokers, correspondents both underwrite and fund their loans, and then sell the
loans to sponsors through a bidding process.14 With both broker and correspondent lending, in
certain circumstances a loan may be underwritten with an exception to the sponsor’s standard
underwriting guidelines.15 The approval of a loan containing exceptions to the underwriting
guidelines is generally based upon factors that are deemed to compensate for the exception.16
For example, a high FICO score or low DTI ratio may offset the risk of a loan exceeding LTV
guidelines.

       Sponsors may utilize “warehouse” lending to finance the purchase of mortgage loans.17
Warehouse lending typically takes the form of a short-term revolving line of credit that is drawn
upon at the time of the loan purchase and repaid once the loan is sold to the end investor.18
Warehouse lenders’ practice of funding loans at the time of loan closing is referred to as “wet



11
     See THE FINANCIAL CRISIS INQUIRY COMMITTEE, FINAL REPORT OF THE NATIONAL COMMISSION ON THE
     CAUSES OF THE FINANCIAL AND ECONOMIC CRISIS IN THE UNITED STATES (Jan. 2011), at 88–89,
     http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf.
12
     CONSUMER FINANCIAL PROTECTION BUREAU, EXAMINATION PROCEDURES MORTGAGE ORIGINATION (Jan. 11,
     2012), at 5, http://files.consumerfinance.gov/f/2012/01/Mortgage-Origination-Examination-Procedures.pdf.
13
     See FINANCIAL CRISIS INQUIRY COMMISSION, THE FINANCIAL CRISIS INQUIRY REPORT: FINAL REPORT OF THE
     NATIONAL COMMISSION ON THE CAUSES OF THE FINANCIAL AND ECONOMIC CRISIS IN THE UNITED STATES (Jan.
     2011), at 90, http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf.
14
     CONSUMER FINANCIAL PROTECTION BUREAU, EXAMINATION PROCEDURES MORTGAGE ORIGINATION (Jan. 11,
     2012), at 5, http://files.consumerfinance.gov/f/2012/01/Mortgage-Origination-Examination-Procedures.pdf.
15
     FINANCIAL CRISIS INQUIRY COMMISSION, THE FINANCIAL CRISIS INQUIRY REPORT: FINAL REPORT OF THE
     NATIONAL COMMISSION ON THE CAUSES OF THE FINANCIAL AND ECONOMIC CRISIS IN THE UNITED STATES (Jan.
     2011), at 169, http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf.
16
     See id. at 67.
17
     Warehouse funding may also be utilized by originators (e.g. correspondent lenders, etc.) for purposes of funding
     loans. See Mortgage Bankers Association, Federal Regulatory Changes Needed to Help Keep Mortgage Capital
     Flowing through Warehouse Lines of Credit (Jan. 6, 2010), at 1, http://www.mortgagebankers.org/files/IssueBr
     iefs /2010WarehouseIssueBrief.pdf.
18
     Mortgage Bankers Association, Federal Regulatory Changes Needed to Help Keep Mortgage Capital Flowing
     through Warehouse Lines of Credit (Jan. 6, 2010), at 1, http://www.mortgagebankers.org/files/IssueBriefs/2010
     WarehouseIssueBrief.pdf.




                                    Appendix VIII.B.1.b(1), Page 2 of 3
 12-12020-mg         Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                   Appendix
                                              Pg 363 of 385
                                 Appendix VIII.B.1.b(1), Page 3 of 3

funding.”19 Alternatively, warehouse lenders may choose not to fund the loan until it has
received the mortgage note and other loan documentation, which is referred to as “dry
funding.”20

        Upon purchasing or funding loans, the sponsor places the loans into its inventory.21
Typically, as a condition of purchase, the sponsor will receive loan level representations and
warranties from the broker or correspondent lender.22 In the event of a breach of the
representations and warranties, the sponsor can “put back” a loan to the originator for repurchase
or replacement.23




19
     Id. at 2.
20
     Id.
21
     See CONGRESSIONAL OVERSIGHT PANEL, NOVEMBER OVERSIGHT REPORT: EXAMINING THE CONSEQUENCES OF
     MORTGAGE IRREGULARITIES FOR FINANCIAL STABILITY AND FORECLOSURE MITIGATION (Nov. 16, 2010), at 14,
     http://www.gpo.gov/fdsys/pkg/CPRT-111JPRT61835/pdf/CPRT-111JPRT61835.pdf.
22
     Examples of certain representations and warranties that would accompany a mortgage loan being
     purchased/sold relate to the underlying property, applicable documentation in the loan file and the loan
     origination process, among others. AMERICAN SECURITIZATION FORUM, ASF MODEL RMBS REPRESENTATIONS
     AND WARRANTIES (July 15, 2009), at 4, http://www.americansecuritization.com/uploadedfiles/asf_restart_ repre
     sentations_rfc_071509.pdf.
23
     Adam B. Ashcroft & Til Schuermann, Understanding the Securitization of Subprime Mortgage Credit, Federal
     Reserve Bank of New York Staff Reports, Mar. 2008, at 6, http://www.newyorkfed.org/research /staff_reports/
     sr318.pdf.




                                  Appendix VIII.B.1.b(1), Page 3 of 3
    12-12020-mg         Doc 3698-36     Filed 05/13/13 Entered 05/13/13 17:08:13               Appendix
                                             Pg 364 of 385
                                 Appendix VIII.B.1.b(3), Page 1 of 6

                   1.      Structuring the Securitization

        Structuring a securitization requires isolating and distributing credit risk, usually through
various credit enhancement techniques.1 The structuring process consists of four primary stages:
(1) segregating the assets; (2) adding credit enhancement to mitigate risk and improve salability;
(3) creating an SPE or trust to hold the assets; and (4) issuing interests in the asset pool (i.e.,
RMBS).2

                           a.     Segregating Assets

        The sponsor designates the mortgage loans to be sold to a trust.3 The selection is carried
out to create a portfolio whose performance is not only predictable but also consistent with the
target quality of the desired security.4 Because the sponsor’s eventual goal is to securitize the
purchased loans and market the RMBS to investors, the sponsor typically works with a lead
underwriter that has pre-existing relationships with investors to whom the RMBS will be
marketed. 5 The lead underwriter advises the sponsor on the types of loans desired by investors,
works with the sponsor to structure the securities, interacts with the third parties associated with
the transaction (e.g., rating agencies, legal counsel, diligence firms), assists in the selection of the
servicer, trustee and custodian entities, and ultimately sells the RMBS into the market.6

       Once the lead underwriter and sponsor agree on the types of loans to be securitized, the
sponsor selects loans from its inventory to form a preliminary pool.7 The lead underwriter then
contracts with a third-party loan-diligence firm to perform a loan-level review on a portion of the
loan pool for adherence to the sponsor’s underwriting guidelines and deal parameters.8
Exceptions to loan underwriting criteria are reviewed by both the lead underwriter and sponsor,




1
      COMPTROLLER OF THE CURRENCY ADMINISTRATION OF NATIONAL BANKS, ASSET SECURITIZATION,
      COMPTROLLER’S HANDBOOK (Nov. 1997), at 12-13, http://www.occ.gov/publications/publications-by-
      type/comptrollers-handbook/assetsec.pdf.
2
      Id. at 13.
3
      Id. at 14.
4
      Id.
5
      Id. at 12.
6
      See NICOLA CETORELLI & STAVROS PERISTIANI, THE ROLE OF BANKS IN ASSET SECURITIZATION, FRBNY
      ECON. POL’Y REV., July 2012, at 49, http://www.newyorkfed.org/research/epr/12v18n2/1207peri.pdf.
7
      COMPTROLLER OF THE CURRENCY ADMINISTRATION OF NATIONAL BANKS, ASSET SECURITIZATION,
      COMPTROLLER’S HANDBOOK (Nov. 1997), at 14, http://www.occ.gov/publications/publications-by-type/comptr
      ollers-handbook/assetsec.pdf.
8
      FINANCIAL CRISIS INQUIRY COMMISSION, THE FINANCIAL CRISIS INQUIRY REPORT: FINAL REPORT OF THE
      NATIONAL COMMISSION ON THE CAUSES OF THE FINANCIAL AND ECONOMIC CRISIS IN THE UNITED STATES (Jan.
      2011), at 165–166, http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf.




                                 Appendix VIII.B.1.b(3), Page 1 of 6
    12-12020-mg        Doc 3698-36          Filed 05/13/13 Entered 05/13/13 17:08:13                     Appendix
                                                 Pg 365 of 385
                                   Appendix VIII.B.1.b(3), Page 2 of 6

who together decide whether to approve or exclude particular loans from the loan pool.9 The
parties may allow loans with exceptions to remain in the pool based on the compensating factors
discussed in Appendix VIII.B.1.b(1).10

                            b.       Credit Enhancement

        The most widely used credit-enhancement features are (1) the senior/subordinate
structure; (2) overcollateralization; (3) reserve funds; and (4) bond insurance.11 The objective,
from the sponsor’s viewpoint, is to find the most practical and cost-effective method of credit
protection to achieve the desired credit rating and price for the RMBS.12 The underwriter,
originator or pool sponsor will often negotiate with the rating agencies about the type and size of
the credit enhancements in order to obtain an appropriate credit rating.13

        The senior/subordinate structure consists of a senior tranche and one or more subordinate
tranches.14 The sponsor will typically seek a desirable investment-grade credit rating for the
senior tranche, with lower ratings—investment or noninvestment grade—for the subordinate
tranches.15 The most junior tranche, or the “first-loss piece,” will not be rated.16 Investors in
subordinated tranches require a higher-yield premium to compensate for the greater credit risk
exposure relative to the senior tranche.17 Additionally, almost all senior/subordinate structures
incorporate a shifting-interest structure, which redirects principal prepayments and certain
liquidation proceeds disproportionately from the subordinated tranche to the senior tranche




9
      See COMPTROLLER OF THE CURRENCY ADMINISTRATOR OF NATIONAL BANKS, ASSET SECURITIZATION,
      COMPTROLLER’S HANDBOOK (Nov. 1997), at 14, http://www.occ.gov/publications/publications-by-type/comptr
      ollers-handbook/assetsec.pdf.
10
      FINANCIAL CRISIS INQUIRY COMMISSION, THE FINANCIAL CRISIS INQUIRY REPORT: FINAL REPORT OF THE
      NATIONAL COMMISSION ON THE CAUSES OF THE FINANCIAL AND ECONOMIC CRISIS IN THE UNITED STATES (Jan.
      2011), at 166, http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf.
11
      FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 116 (McGraw-Hill, 6th ed. 2005);
      Timothy C. Leixner, Securitization of Financial Assets, Sept. 1, 1999, at 4–5, http://mx.nthu.edu.tw/~chclin/Cla
      ss/Securitization.htm.
12
      See COMPTROLLER OF THE CURRENCY ADMINISTRATOR OF NATIONAL BANKS, ASSET SECURITIZATION,
      COMPTROLLER’S HANDBOOK (Nov. 1997), at 23, http://www.occ.gov/publications/publications-by-type/compt
      rollers-handbook/assetsec.pdf.
13
      Id.
14
      FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 117 (McGraw-Hill, 6th ed. 2005).
15
      Id.
16
      Id.
17
      Id. at 188; Timothy C. Leixner, Securitization of Financial Assets, Sept. 1, 1999, at 4–5, http://mx.nthu.edu.tw/
      ~chclin/Class/Securitization.htm.




                                    Appendix VIII.B.1.b(3), Page 2 of 6
 12-12020-mg           Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                     Appendix
                                               Pg 366 of 385
                                  Appendix VIII.B.1.b(3), Page 3 of 6

according to a specified schedule.18 The purpose of the shifting-interest structure is to have
sufficient subordinated tranches outstanding to provide coverage for future credit losses.19

        Overcollateralization is achieved when the principal balance of the underlying mortgage
loans exceeds the principal balance of the outstanding RMBS.20                     The purpose of
overcollateralization is to create a cushion, in addition to the excess spread, to cover potential
loan losses.21 The excess spread is generally defined as the difference between the monthly
interest received on the underlying mortgage loans minus the interest paid on the RMBS and
other monthly fees (e.g., servicing fees, servicer advances, etc.).22 Loan losses are absorbed first
by any monthly excess spread that may exist, and then by the value of the overcollateralization.23
If a transaction is not initially structured with overcollateralization, it will generally build to a
specified overcollateralization target in the first few years of the transaction’s life.24 This is
achieved by directing the excess spread to pay down the senior most RMBS until the targeted
level of overcollateralization is reached.25

       Reserve funds, which can come in the form of cash reserves or excess spread accounts,
can also be used to provide credit enhancement.26 Cash reserve funds are straight deposits of
cash generated from RMBS sale proceeds which are deposited into money market instruments.27
Excess spread accounts involve the monthly allocation of excess spread into a separate reserve
account, which acts as the first line of credit support for the deal.28

        Finally, a sponsor may use a bond insurer to provide credit enhancement on a
securitization.29 The insurer is generally triple-A rated by the rating agencies and provides an
irrevocable guaranty for the payment of principal and timely payment of interest on all or a



18
     FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 118 (McGraw-Hill, 6th ed. 2005).
19
     Id.
20
     FRANK J. FABOZZI, THE HANDBOOK OF NON-AGENCY MORTGAGE-BACKED SECURITIES 210 (Wiley, John &
     Sons, Inc., 2d ed. 2000).
21
     See FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 120 (McGraw-Hill, 6th ed. 2005).
22
     FRANK J. FABOZZI, THE HANDBOOK OF NON-AGENCY MORTGAGE-BACKED SECURITIES 209 (Wiley, John &
     Sons, Inc., 2d ed. 2000).
23
     See FRANK J. FABOZZI, THE HANDBOOK OF MORTGAGE BACKED SECURITIES 121 (McGraw-Hill, 6th ed. 2005).
24
     Id. at 120.
25
     See id. at 121.
26
     Id.
27
     Id.
28
     Id.
29
     See Timothy C. Leixner, Securitization of Financial Assets, Sept. 1, 1999, at 5, http://mx.nthu.edu.tw/~chclin/C
     lass /Securitization.htm.




                                   Appendix VIII.B.1.b(3), Page 3 of 6
 12-12020-mg         Doc 3698-36        Filed 05/13/13 Entered 05/13/13 17:08:13                Appendix
                                             Pg 367 of 385
                                Appendix VIII.B.1.b(3), Page 4 of 6

portion of the RMBS.30 When bond insurance is being used, loan pool information is provided to
the insurer for a due diligence review almost identical to that conducted by the rating agencies.31
Insured RMBS also typically receive “shadow ratings”—ratings that would have been
appropriate absent bond insurance—from the rating agencies.32

                         c.       Creating The SPE/Trust

        A PLS issuer is required under the Securities Act to register an RMBS offering; this is
generally referred to as a “shelf registration.”33 This process begins with the filing of a disclosure
document which consists of two parts: prospectus and prospectus supplement.34 The prospectus
provides such things as general attributes of the securities to be offered off the shelf in the future
and a description of the company.35 The prospectus supplement provides more detailed
information on the specific series offering for the investor, such as risk factors relating to the
collateral, certificates and credit enhancement structure, and parties involved in the securitization
(underwriters, servicer, trustee, custodian, etc.) 36

         Once the assets are pooled together by the sponsor, they are sold to the depositor which
pays for the assets with funds raised from the investors purchasing the RMBS issued by the
trust.37 The transfer of the assets to the depositor takes the form of a “true sale,” which removes
sponsor ownership from the assets and insulates RMBS investors in the event of a sponsor
bankruptcy.38




30
     Id.
31
     Written Testimony of New York Bankers Association, FINANCIAL GUARANTY INSURANCE AND
     REPRESENTATIONS AND WARRANTIES IN SECURITIZED DEBT TRANSACTIONS 3–5 (Feb. 16, 2011),
     http://www.nyba.com/wp-content/uploads/2012/08/RMBSTestimony.pdf.
32
     The shadow rating provided by the Rating Agencies is only intended to be used by the guarantor to assess
     capital requirements. See ORGANIZATION FOR ECONOMIC CO-OPERATION AND DEVELOPMENT, CHALLENGES
     RELATED TO FINANCIAL GUARANTEE INSURANCE (2008), at 95, http://www.oecd.org/finance/financial-
     markets/45500761.pdf.
33
     U.S. SECURITIES AND EXCHANGE COMMISSION, STAFF REPORT: ENHANCING DISCLOSURE IN THE MORTGAGE-
     BACKED SECURITIES MARKETS (January 2003), at 21, http://www.sec.gov/news/studies/mortgagebacked.htm.
34
     Id.
35
     Id.
36
     Id.
37
     NICOLA CETORELLI & STAVROS PERISTIANI, THE ROLE OF BANKS IN ASSET SECURITIZATION, FRBNY ECON.
     POL’Y REV., July 2012, at 48, http://www.newyorkfed.org/research/epr/12v18n2/1207peri.pdf; see also
     CONGRESSIONAL OVERSIGHT PANEL, NOVEMBER OVERSIGHT REPORT: EXAMINING THE CONSEQUENCES OF
     MORTGAGE IRREGULARITIES FOR FINANCIAL STABILITY AND FORECLOSURE MITIGATION (Nov. 16, 2010), at 14,
     http://www.gpo.gov/fdsys/pkg/CPRT-111JPRT61835/pdf/CPRT-111JPRT61835.pdf.
38
     Id.




                                 Appendix VIII.B.1.b(3), Page 4 of 6
 12-12020-mg          Doc 3698-36          Filed 05/13/13 Entered 05/13/13 17:08:13                      Appendix
                                                Pg 368 of 385
                                   Appendix VIII.B.1.b(3), Page 5 of 6

                           d.       Issuing Securities

        Throughout the underwriting process, the securitization deal documents (including
supplemental prospectus,39 indentures, mortgage loan sale and servicing agreements, and
insurance and indemnity agreements) are reviewed by all relevant parties, including the lead
underwriter, the rating agencies, and, where applicable, the insurer.40 The lead underwriter
works with the sponsor to provide loan pool information to the rating agencies.41 The rating
agencies also perform analyses to determine the loss coverage necessary to attain the desired
credit rating.42 As part of this process, the rating agencies may require the sponsor to add
additional collateral to the pool to increase the likelihood that the pool will generate cash flows
sufficient to pay investors.43 Rating agencies perform a financial/operational review and provide
a rating for the sponsor and legal entities associated with the securitization (e.g., servicers,
financial guarantor and underwriter).44

        Based upon final loan-loss analysis, the rating agencies confirm credit enhancement
levels and assign ratings.45 The bond insurer then approves the final debt structure and assigns
their internal credit rating46 which is used for performance review purposes.47




39
     A PLS issuer is required under the Securities Act to register an RMBS offering; this is generally referred to as a
     “shelf registration”. This process begins with the filing of a disclosure document, or prospectus, outlining
     attributes of the securities to be offered off the shelf in the future. The document consists of two parts:
     prospectus and prospectus supplement. A prospectus typically provides investors with general information such
     as collateral type of the RMBS offering and a description of the company. The prospectus supplement provides
     more material and detailed information on particular risks for the investor such as specifics on collateral
     characteristics, certificates and credit enhancement structure, parties involved in the securitization
     (underwriters, servicer, trustee, custodian, etc.). See U.S. SECURITIES AND EXCHANGE COMMISSION, STAFF
     REPORT: ENHANCING DISCLOSURE IN THE MORTGAGE-BACKED SECURITIES MARKETS (January 2003), at 21,
     http://www.sec.gov/news/studies/mortgagebacked.htm.
40
     Ian Giddy, Presentation on The Securitization Process, Stern School of Business, New York University, dated
     2001, at 39–41, http://people.stern.nyu.edu/igiddy/ABS/absprocess.pdf.
41
     NICOLA CETORELLI & STAVROS PERISTIANI, THE ROLE OF BANKS IN ASSET SECURITIZATION, FRBNY ECON.
     POL’Y REV., July 2012, at 49, http://www.newyorkfed.org/research/epr/12v18n2/1207peri.pdf.
42
     Id.
43
     Id.
44
     Id.
45
     Ian Giddy, Presentation on The Securitization Process, Stern School of Business, New York University, dated
     2001, at 41, http://people.stern.nyu.edu/igiddy/ABS/absprocess.pdf.
46
     The bond insurer’s “internal” credit rating can differ from the “shadow” rating assigned by a rating agency.
     Both ratings represent the individual entities view of the credit risk associated with the securitization.
47
     Ian Giddy, Presentation on The Securitization Process, Stern School of Business, New York University, dated
     2001, at 41, http://people.stern.nyu.edu/igiddy/ABS/absprocess.pdf.




                                   Appendix VIII.B.1.b(3), Page 5 of 6
 12-12020-mg         Doc 3698-36         Filed 05/13/13 Entered 05/13/13 17:08:13                    Appendix
                                              Pg 369 of 385
                                 Appendix VIII.B.1.b(3), Page 6 of 6

        On the closing date, the documents are finalized and the rating letters, legal opinions,
comfort letters,48 etc., are delivered to all entities associated with the securitization.49 The
securities are then transferred, directly or indirectly, from the sponsor to the depositor who
deposits them into the trust, which issues the RMBS certificates on behalf of the depositor.50 The
depositor sells the securities to the underwriter who markets them to investors.51 The certificates
are sold in either public offerings or private placements, and the net proceeds are remitted to the
sponsor.52




48
     Letter provided by a public accounting firm which reports the results of an audit of the financial statements
     included in the registration statement. See AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS,
     COMFORT LETTER PROCEDURES RELATING TO CAPSULE FINANCIAL INFORMATION PRESENTED IN A
     REGISTRATION STATEMENT PRIOR TO THE ISSUANCE OF THE YEAR-END FINANCIAL STATEMENTS 5 (2005),
     http://www.thecaq.org/resources/secregs/pdfs/otherguidance/Comfort_Letter_Procedures.pdf.
49
     Ian Giddy, Presentation on The Securitization Process, Stern School of Business, New York University, dated
     2001, at 41, http://people.stern.nyu.edu/igiddy/ABS/absprocess.pdf.
50
     See CONGRESSIONAL OVERSIGHT PANEL, NOVEMBER OVERSIGHT REPORT: EXAMINING THE CONSEQUENCES OF
     MORTGAGE IRREGULARITIES FOR FINANCIAL STABILITY AND FORECLOSURE MITIGATION (Nov. 16, 2010), at 14,
     http://www.gpo.gov/fdsys/pkg/CPRT-111JPRT61835/pdf/CPRT-111JPRT61835.pdf.
51
     MOODY’S INVESTORS SERVICE, DEAL SPONSOR AND CREDIT RISK OF U.S. ABS AND MBS SECURITIES (Dec.
     2006), at 5, http://www.moodys.com/sites/products/DefaultResearch/2006200000426039.pdf; see also
     CONGRESSIONAL OVERSIGHT PANEL, NOVEMBER OVERSIGHT REPORT: EXAMINING THE CONSEQUENCES OF
     MORTGAGE IRREGULARITIES FOR FINANCIAL STABILITY AND FORECLOSURE MITIGATION (Nov. 16, 2010), at 14,
     http://www.gpo.gov/fdsys/pkg/CPRT-111JPRT61835/pdf/CPRT-111JPRT61835.pdf.
52
     COMPTROLLER OF THE CURRENCY ADMINISTRATION OF NATIONAL BANKS, ASSET SECURITIZATION,
     COMPTROLLER’S HANDBOOK (Nov. 1997), at 24, http://www.occ.gov/publications/publications-by-
     type/comptrollers-handbook/assetsec.pdf.




                                  Appendix VIII.B.1.b(3), Page 6 of 6
        12-12020-mg                 Doc 3698-36                Filed 05/13/13 Entered 05/13/13 17:08:13                                             Appendix
                                                                    Pg 370 of 385
                                                           Appendix VIII.C.6.c, Page 1 of 4

Residential Capital, LLC, et al.
All or Substantially All Analysis
Book Value Analysis (Total Assets)
December 31, 2008
($ in Millions, rounded)


                                                                                                  ResCap
                                                                                  2009 Asset Reductions
                                                 Book Value            Interco. Debt Forgiveness                  Sale of               Total             Pro Forma
                                                                            (1)                         (1)
             Total Assets                      12/31/2008             RFC             GMAC Holding              Ally Bank            Adjustments          12/31/2008
Cash and cash equivalents                    $          563       $               -    $        -             $          -         $          -       $            563
Accounts receivable                                      49                       -             -                        -                    -                     49
Intercompany loans receivable:
  Note receivable from RFC                             3,042                (1,495)                -                        -               (1,495)              1,547
  Note receivable from GMAC Holding                    2,610                   -                (2,520)                     -               (2,520)                 90
  Subtotal                                             5,651                (1,495)             (2,520)                     -               (4,015)              1,636

Investment in subsidiaries:
  RFC Holding                                          1,970                      -                 -                     -                    -                 1,970
  GMAC Holding                                         1,819                      -                 -                     -                    -                 1,819
  Ally Bank                                            1,829                      -                 -                  (1,829)              (1,829)                -
  Other                                                   46                      -                 -                     -                    -                    46
  Subtotal                                             5,664                      -                 -                  (1,829)              (1,829)              3,835

Other assets                                             495                      -                 -                       -                   -                 495
Total assets                                 $        12,422      $         (1,495)    $        (2,520)       $        (1,829)     $        (5,844)   $          6,578

                                                                                                                                 % Change in Assets             -47.0%


                                                                                                  ResCap
                                                                               2009 & 2010 Asset Reductions
                                                 Book Value            Interco. Debt Forgiveness            Sale of                     Total             Pro Forma
             Total Assets                      12/31/2008             RFC (1)         GMAC Holding (1)          Ally Bank            Adjustments          12/31/2008
Cash and cash equivalents                    $          563       $               -    $        -             $          -         $          -       $            563
Accounts receivable                                      49                       -             -                        -                    -                     49
Intercompany loans receivable:
  Note receivable from RFC                             3,042                (2,110)                -                        -               (2,110)                932
  Note receivable from GMAC Holding                    2,610                   -                (2,520)                     -               (2,520)                 90
  Subtotal                                             5,651                (2,110)             (2,520)                     -               (4,630)              1,021

Investment in subsidiaries:
  RFC Holding                                          1,970                      -                 -                     -                    -                 1,970
  GMAC Holding                                         1,819                      -                 -                     -                    -                 1,819
  Ally Bank                                            1,829                      -                 -                  (1,829)              (1,829)                -
  Other                                                   46                      -                 -                     -                    -                    46
  Subtotal                                             5,664                      -                 -                  (1,829)              (1,829)              3,835

Other assets                                             495                      -                 -                       -                   -                 495
Total assets                                 $        12,422      $         (2,110)    $        (2,520)       $        (1,829)     $        (6,459)   $          5,963

                                                                                                                                 % Change in Assets             -52.0%


(1)
   Includes RFC and GMAC Holding subsidary intercompany receivables forgiven by ResCap.
Source: Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 215; ResCap HoldCo Balance Sheets Analysis, prepared by ResCap [EXAM00345975]; ResCap –
Intercompany Transactions – Draft Presentation, prepared by Morrison Foerster and FTI Consulting, dated Apr. 4, 2013 [EXAM00345894].




                                                              Appendix VIII.C.6.c, Page 1 of 4
       12-12020-mg                  Doc 3698-36                 Filed 05/13/13 Entered 05/13/13 17:08:13                                              Appendix
                                                                     Pg 371 of 385
                                                              Appendix VIII.C.6.c, Page 2 of 4

Residential Capital, LLC, et al.
All or Substantially All Analysis
Book Value Analysis (Operating Assets)
December 31, 2008
($ in Millions, rounded)


                                                                                                  ResCap
                                                                                  2009 Asset Reductions
                                                 Book Value            Interco. Debt Forgiveness                   Sale of                Total             Pro Forma
                                                                            (1)                         (1)
           Operating Assets                      12/31/2008           RFC             GMAC Holding                Ally Bank             Adjustments         12/31/2008
Intercompany loans receivable:
  Note receivable from RFC                   $          3,042     $         (1,495)    $           -          $              -      $         (1,495)   $          1,547
  Note receivable from GMAC Holding                     2,610                  -                (2,520)                      -                (2,520)                 90
  Subtotal                                              5,651               (1,495)             (2,520)                      -                (4,015)              1,636

Investment in subsidiaries:
  RFC Holding                                           1,970                     -                 -                      -                     -                 1,970
  GMAC Holding                                          1,819                     -                 -                      -                     -                 1,819
  Ally Bank                                             1,829                     -                 -                   (1,829)               (1,829)                -
  Other                                                    46                     -                 -                      -                     -                    46
  Subtotal                                              5,664                     -                 -                   (1,829)               (1,829)              3,835
Total operating assets                       $        11,315      $         (1,495)    $        (2,520)       $         (1,829)     $         (5,844)   $          5,471

                                                                                                                                  % Change in Assets              -51.6%


                                                                                                  ResCap
                                                                               2009 & 2010 Asset Reductions
                                                 Book Value            Interco. Debt Forgiveness            Sale of                       Total             Pro Forma
           Operating Assets                      12/31/2008           RFC (1)         GMAC Holding (1)            Ally Bank             Adjustments         12/31/2008
Intercompany loans receivable:
  Note receivable from RFC                   $          3,042     $         (2,110)    $           -          $              -      $         (2,110)   $            932
  Note receivable from GMAC Holding                     2,610                  -                (2,520)                      -                (2,520)                 90
  Subtotal                                              5,651               (2,110)             (2,520)                      -                (4,630)              1,021

Investment in subsidiaries:
  RFC Holding                                           1,970                     -                 -                      -                     -                 1,970
  GMAC Holding                                          1,819                     -                 -                      -                     -                 1,819
  Ally Bank                                             1,829                     -                 -                   (1,829)               (1,829)                -
  Other                                                    46                     -                 -                      -                     -                    46
  Subtotal                                              5,664                     -                 -                   (1,829)               (1,829)              3,835
Total operating assets                       $        11,315      $         (2,110)    $        (2,520)       $         (1,829)     $         (6,459)   $          4,856

                                                                                                                                  % Change in Assets              -57.1%


(1)
   Includes RFC and GMAC Holding subsidary intercompany receivables forgiven by ResCap.
Source: Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 215; ResCap HoldCo Balance Sheets Analysis, prepared by ResCap [EXAM00345975]; ResCap –
Intercompany Transactions – Draft Presentation, prepared by Morrison Foerster and FTI Consulting, dated Apr. 4, 2013 [EXAM00345894].




                                                              Appendix VIII.C.6.c, Page 2 of 4
                                                                                                        Appendix VIII.C.6.c, Page 3 of 4

Residential Capital, LLC, et al.
All or Substantially All Analysis
Fair Market Value Analysis (Total Assets)
December 31, 2008
($ in Millions, rounded)


                                                                                                                                ResCap
                                                                                                                                  2009 Asset Reductions
                                                   Book Value              FMV                    FMV                  Interco. Debt Forgiveness                   Sale of                  Total               Pro Forma
                                                                                                                                                                                                                                                                                    12-12020-mg




              Total Assets                       12/31/2008          Adjustments (1)         12/31/2008               RFC (2)         GMAC Holding (2)          Ally Bank                Adjustments            12/31/2008
Cash and cash equivalents                      $          563        $         -           $          563         $             -      $        -             $          -             $          -         $            563
Accounts receivable                                         49                 -                        49                      -               -                        -                        -                        49
Intercompany loans receivable:
  Note receivable from RFC                                3,042                 (3,042)                  -                      -                     -                       -                      -                   -
  Note receivable from GMAC Holding                       2,610                 (2,610)                  -                      -                     -                       -                      -                   -
  Subtotal                                                5,651                 (5,651)                  -                      -                     -                       -                      -                   -

Investment in subsidiaries:
                                                                                                                                                                                                                                                                                    Doc 3698-36




  RFC Holding                                             1,970                 (1,970)                  -                      -                     -                       -                      -                   -
  GMAC Holding                                            1,819                 (1,819)                  -                      -                     -                       -                      -                   -
      Ally Bank (3)                                       1,829                 (1,237)                  592                    -                     -                      (592)                  (592)                -
      Other                                                  46                    (46)                  -                      -                     -                       -                      -                   -
      Subtotal                                            5,664                 (5,072)                  592                    -                     -                      (592)                  (592)                -

Other assets                                                495                    -                     495                    -                     -                       -                      -                   495

Total assets                                   $         12,422      $        (10,723)     $           1,699      $             -       $             -       $              (592)     $            (592)   $          1,107

                                                                                                                                                                                     % Change in Assets               -34.8%

                                                                                                                                ResCap
                                                                                                                               2009 & 2010 Asset Reductions
                                                                                                                                                                                                                                                                     Pg 372 of 385




                                                   Book Value              FMV                    FMV                  Interco. Debt Forgiveness            Sale of                         Total               Pro Forma
              Total Assets                       12/31/2008          Adjustments (1)         12/31/2008               RFC (2)         GMAC Holding (2)          Ally Bank                Adjustments            12/31/2008
Cash and cash equivalents                      $          563        $         -           $          563         $             -      $        -             $          -             $          -         $            563
Accounts receivable                                         49                 -                        49                      -               -                        -                        -                        49
Intercompany loans receivable:
  Note receivable from RFC                                3,042                 (3,042)                  -                      -                     -                       -                      -                   -
  Note receivable from GMAC Holding                       2,610                 (2,610)                  -                      -                     -                       -                      -                   -
  Subtotal                                                5,651                 (5,651)                  -                      -                     -                       -                      -                   -

Investment in subsidiaries:
  RFC Holding                                             1,970                 (1,970)                  -                      -                     -                       -                      -                   -
  GMAC Holding                                            1,819                 (1,819)                  -                      -                     -                       -                      -                   -
      Ally Bank (3)                                       1,829                 (1,237)                  592                    -                     -                      (592)                  (592)                -
      Other                                                  46                    (46)                  -                      -                     -                       -                      -                   -
      Subtotal                                            5,664                 (5,072)                  592                    -                     -                      (592)                  (592)                -
                                                                                                                                                                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13




Other assets                                                495                    -                     495                    -                     -                       -                      -                   495

Total assets                                   $         12,422      $        (10,723)     $           1,699      $             -       $             -       $              (592)     $            (592)   $          1,107

                                                                                                                                                                                     % Change in Assets               -34.8%

(1)
  Fair-value adjustments made to ResCap's intercompany loans receivable and investment in subsidiaries balances. See Section VI.E.2. Remaining assets assumed to equal book value for purposes of this analysis.
(2)
  Includes RFC and GMAC Holding subsidary intercompany receivables forgiven by ResCap.
                                                                                                                                                                                                                                                                                    Appendix




(3)
  For purposes of this analysis, the midpoint of the range of value for the IB Finance Preferred Interests and the remaining IB Finance Class M Shares (non-marketable, non-controlling) at January 30, 2009 was utilized. See Appendix V.A.2.d.(6).
Source: Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 215; ResCap HoldCo Balance Sheets Analysis, prepared by ResCap [EXAM00345975]; ResCap – Intercompany Transactions – Draft Presentation, prepared by Morrison Foerster and FTI
Consulting, dated Apr. 4, 2013 [EXAM00345894].



                                                                                                         Appendix VIII.C.6.c, Page 3 of 4
                                                                                                   Appendix VIII.C.6.c, Page 4 of 4

Residential Capital, LLC, et al.
All or Substantially All Analysis
Fair Market Value Analysis (Operating Assets)
December 31, 2008
($ in Millions, rounded)


                                                                                                                                     ResCap
                                                                                                                                       2009 Asset Reductions
                                                                                                                                                                                                                                                                             12-12020-mg




                                                     Book Value               FMV                     FMV                   Interco. Debt Forgiveness                    Sale of               Total Asset            Pro Forma
           Operating Assets                          12/31/2008         Adjustments (1)            12/31/2008              RFC (2)         GMAC Holding (2)             Ally Bank              Adjustments            12/31/2008
Intercompany loans receivable:
  Note receivable from RFC                       $           3,042      $          (3,042)     $             -        $              -       $             -        $              -       $             -        $             -
  Note receivable from GMAC Holding                          2,610                 (2,610)                   -                       -                     -                       -                     -                      -
  Subtotal                                                   5,651                 (5,651)                   -                       -                     -                       -                     -                      -

Investment in subsidiaries:
                                                                                                                                                                                                                                                                             Doc 3698-36




  RFC Holding                                                1,970                 (1,970)                   -                       -                     -                       -                     -                      -
  GMAC Holding                                               1,819                 (1,819)                   -                       -                     -                       -                     -                      -
      Ally Bank (3)                                          1,829                 (1,237)                   592                     -                     -                     (592)                  (592)                   -
      Other                                                     46                    (46)                   -                       -                     -                      -                      -                      -
      Subtotal                                               5,664                 (5,072)                   592                     -                     -                     (592)                  (592)                   -
Total operating assets                           $         11,315       $        (10,723)      $             592      $              -       $             -        $            (592)     $            (592)     $             -

                                                                                                                                                                                         % Change in Assets                 -100.0%


                                                                                                                                     ResCap
                                                                                                                                    2009 & 2010 Asset Reductions
                                                                                                                                                                                                                                                              Pg 373 of 385




                                                     Book Value               FMV                     FMV                   Interco. Debt Forgiveness            Sale of                       Total Asset            Pro Forma
           Operating Assets                          12/31/2008         Adjustments (1)            12/31/2008              RFC (2)         GMAC Holding (2)             Ally Bank              Adjustments            12/31/2008
Intercompany loans receivable:
  Note receivable from RFC                       $           3,042      $          (3,042)     $             -        $              -       $             -        $              -       $             -        $             -
  Note receivable from GMAC Holding                          2,610                 (2,610)                   -                       -                     -                       -                     -                      -
  Subtotal                                                   5,651                 (5,651)                   -                       -                     -                       -                     -                      -

Investment in subsidiaries:
  RFC Holding                                                1,970                 (1,970)                   -                       -                     -                       -                     -                      -
  GMAC Holding                                               1,819                 (1,819)                   -                       -                     -                       -                     -                      -
      Ally Bank (3)                                          1,829                 (1,237)                   592                     -                     -                     (592)                  (592)                   -
      Other                                                     46                    (46)                   -                       -                     -                      -                      -                      -
      Subtotal                                               5,664                 (5,072)                   592                     -                     -                     (592)                  (592)                   -
                                                                                                                                                                                                                                                         Filed 05/13/13 Entered 05/13/13 17:08:13




Total operating assets                           $         11,315       $        (10,723)      $             592      $              -       $             -        $            (592)     $            (592)     $             -

                                                                                                                                                                                         % Change in Assets                 -100.0%


(1)
    Fair-value adjustments made to ResCap's intercompany loans receivable and investment in subsidiaries balances. See Section VI.E.2.
(2)
    Includes RFC and GMAC Holding subsidary intercompany receivables forgiven by ResCap.
                                                                                                                                                                                                                                                                             Appendix




(3)
    For purposes of this analysis, the midpoint of the range of value for the IB Finance Preferred Interests and the remaining IB Finance Class M Shares (non-marketable, non-controlling) at January 30, 2009 was utilized. See Appendix V.A.2.d.(6).
Source: Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 215; ResCap HoldCo Balance Sheets Analysis, prepared by ResCap [EXAM00345975]; ResCap – Intercompany Transactions – Draft Presentation, prepared by Morrison
Foerster and FTI Consulting, dated Apr. 4, 2013 [EXAM00345894].


                                                                                                    Appendix VIII.C.6.c, Page 4 of 4
                                                                                                           Appendix VIII.D.1, Page 1 of 2


Alleged RMBS Claims Damages
($ in Millions)
                                                                                                 RMBS Claims
      Party/Action                                                                                                                                                                 Damages
      AIG, Allstate, MassMutual, and Prudential                                                                                                                                                       $1,500.0 (1)
      Assured Guaranty Municipal Corp.                                                                                                                                                                    $80.2 (2)
      Cambridge Place Investment Management                                                                                                                                                               $39.1 (3)
                                                                                                                                                                                                                                                                                                12-12020-mg




                                                                                                                                                                                                                  (4)
      FDIC (in its capacity as receiver for Citizens National Bank, Strategic Capital Bank, Colonial Bank, and Guaranty Bank)                                                                     Undisclosed

      Federal Home Loan Bank of Boston                                                                                                                                                                  $153.2
      Federal Home Loan Bank of Indianapolis                                                                                                                                                              $23.0
      Federal Home Loan Bank of Chicago                                                                                                                                                                   $75.3 (5)
      FHFA                                                                                                                                                                                        Undisclosed (6)
      FGIC                                                                                                                                                                                            $1,850.0 (7)
                                                                                                                                                                                                                                                                                                Doc 3698-36




      Huntington Bancshares                                                                                                                                                                               $58.5 (8)
      John Hancock Life Insurance                                                                                                                                                                       $138.0 (9)
      MBIA Insurance Company                                                                                                                                                                         $2,000.0 (10)
                                                                                                                                                                                                                  (11)
      National Credit Union Administration Board, as liquidating agent of U.S. Central Federal Credit Union and Western
                                                                                                                                                                                                       $293.0
      Corporate Federal Credit Union
      New Jersey Carpenters Health Fund and New Jersey Carpenters Vacation Fund                                                                                                                   Undisclosed
      Stichting Pensioenfonds ABP                                                                                                                                                                        $25.2 (12)
      The Union Central Life Insurance Company                                                                                                                                                           $30.8 (13)
      West Virginia Investment Management Board                                                                                                                                                           $9.2 (14)
      Plaintiffs in Western & Southern Life Ins. Co. v. RFC, No. A1105042 (Ohio C.P.)                                                                                                                    $30.0 (15)
                                                                                                                                                                                                                                                                                 Pg 374 of 385




      Total                                                                                                                                                                                          $6,305.5 (16)
(1)
     AIG, Allstate, MassMutual and Prudential Joint Submission Paper, dated Oct. 17, 2012, at 1.
(2)
     Damages Letter from J. Buchdahl (Jan. 3, 2013).
(3)
     Proof of Claim No. 5305, filed Nov. 16, 2012 [Case No. 12-12054]; Proof of Claim No. 5313, filed Nov. 16, 2012 [Case No. 12-12052]; Proof of Claim No. 5331, filed Nov. 16, 2012 [Case No. 12-12053].
(4)
     Damages Letter from K. Matthews (Feb. 6, 2013). The FDIC declined the Examiner's Professionals' request for damages information, in part, because the "FDIC-Receivers intend to object to any provision in the Debtors' plan that attempts to bar them from
proceeding with their claims against Ally Securities or any non-debtor affiliate" under 12 U.S.C. § 1821(j). Id. at 2.
(5)
     Federal Home Loan Banks of Boston, Chicago, and Indianapolis Joint Submission Paper, dated Oct. 19, 2012, at 34.
(6)
     FHFA Letter, dated Oct. 12, 2012, at 2. The FHFA declined to provide information regarding its damages, stating that "any plan that attempts to impose nonconsensual releases on FHFA would be seeking relief prohibited by applicable non-bankruptcy law
and, thus, would be unconfirmable." Id.
(7)
     Proof of Claim No. 4868, filed Nov. 16, 2012 [Case No. 12-12019]; Proof of Claim No. 4870, filed Nov. 16, 2012 [Case No. 12-12020]; Proof of Claim No. 4871, filed Nov. 16, 2012 [Case No. 12-12032].
(8)
     Damages Letter from M. Morris (Oct. 25, 2012), at 3.
(9)
     Damages Letter from M. Morris (Oct. 25, 2012), at 3.
(10)
      MBIA Submission Paper, dated Nov. 9, 2012, at 1. MBIA alleges that it is "entitled to rescissory damages in excess of $2 billion arising from its fraudulent inducement claims against the Debtors for which the Ally Defendants are jointly and severally liable."
See id. at 34. Consistent with the Examiner Scope Approval Order, the Investigation has not attempted to independently quantify MBIA's damages and therefore the Examiner offer's no conclusions with respect to the proper basis of calculating MBIA's damages.
(11)
      Proof of Claim No. 2626, filed Nov. 8, 2012 [Case No. 12-12052]; Proof of Claim No. 2627, filed Nov. 8, 2012 [Case No. 12-12052]; Proof of Claim No. 2628, filed Nov. 8, 2012 [Case No. 12-12052]; Proof of Claim No. 2629, filed Nov. 8, 2012 [Case No. 12-
                                                                                                                                                                                                                                                                            Filed 05/13/13 Entered 05/13/13 17:08:13




12052]; Proof of Claim No. 2630, filed Nov. 8, 2012 [Case No. 12-12052]; Proof of Claim No. 2631, filed Nov. 8, 2012 [Case No. 12-12052]; Proof of Claim No. 2632, filed Nov. 8, 2012 [Case No. 12-12052]; Proof of Claim No. 2633, filed Nov. 8, 2012 [Case
No. 12-12052]; Proof of Claim No. 2634, filed Nov. 8, 2012 [Case No. 12-12052]; Proof of Claim No. 2635, filed Nov. 8, 2012 [Case No. 12-12061]; Proof of Claim No. 2636, filed Nov. 8, 2012 [Case No. 12-12052]. The NCUAB has not asserted claims directly
against the AFI Defendants, but it has asserted similar fraud-based claims against the Debtors. See Compl., Nat'l Credit Union Admin. Bd. v. Goldman, Sachs & Co., Case No. 11-06521, Docket No. 1 (C.D. Cal. Aug. 9, 2011); Compl., Nat'l Credit Union Admin.
Bd. v. RBS Sec. Inc., Case No. 11-02340, Docket No. 1 (D. Kan. June 20, 2011).
(12)
      Damages Letter from M. Morris (Oct. 25, 2012), at 3.
(13)
      Proof of Claim No. 4813, filed Nov. 16, 2012 [Case No. 12-12052]; Proof of Claim No. 4814, filed Nov. 16, 2012 [Case No. 12-12019]; Proof of Claim No. 4815, filed Nov. 16, 2012 [Case No. 12-12020].
(14)
      Damages Letter from G. Linkh (Jan. 4, 2013). The West Virginia Investment Management Board estimate of $9.2 million is based on a rescission damages theory. Id. at 2-3. Plaintiffs assert that if their damages are calculated using a benefit-of-the-bargain
method, they have damages of approximately $5.6 million. Id. at 3.
                                                                                                                                                                                                                                                                                                Appendix




(15)
      Damages Letter from S. Fitzgerald (Jan. 9, 2013), at 2.
(16)
      Plus undisclosed and unliquidated amounts.



                                                                                                            Appendix VIII.D.1, Page 1 of 2
                                                                                                                       Appendix VIII.D.1, Page 2 of 2

Alleged Non-RMBS and Unsecured Noteholder Damages
($ in Millions)
                                                               Non-RMBS Claims                                                                                                                    Unsecured Noteholder Causes of Action
       Party/Action                                                                                                   Damages                          Party/Action                                                                                               Damages
       Plaintiffs in Abraham v. Am. Home Mortg. Serv., No. 12-4686 (E.D.N.Y.)                                                                          Wilmington Trust, solely in its capacity as Indenture Trustee to the
                                                                                                                                 Undisclosed (17)                                                                                                                               $1,000.0 (25)
       and Kelly v. Am. Home Mortg. Serv., No. 12-6240 (E.D.N.Y.)                                                                                      Unsecured Notes

       Plaintiffs in Bollinger v. Residential Capital LLC, No. C10-1123 (W.D.
                                                                                                                                           $6.2 (18) Total                                                                                                                      $1,000.0
                                                                                                                                                                                                                                                                                                                    12-12020-mg




       Wash.)
       Plaintiffs in Donaldson v. GMAC Mortgage, No. SU-CV-3359D (Super. Ct.
       Ga.), Chatman v. GMAC Mortgage, No. CV 2008-900015 (Cir. Ct. Ala.),
                                                                                                                                 Undisclosed (19)
       and Robinson v. Homecomings Financial, No. CV 2008-9000007 (Cir. Ct.
       Ala.)
       Plaintiffs in Rothstein v. GMAC Mortgage, No. 12-3412 (S.D.N.Y.)                                                                 $971.0 (20)
       William and Eileen White                                                                                                            $0.3 (21)

       Plaintiffs in Dennis v. Homecomings Fin., LLC, No. 11-00066 (D. Wyo.)                                                               $0.0 (22)
                                                                                                                                                                                                                                                                                                                    Doc 3698-36




       Plaintiffs in Lafitte v. Ally Fin. Inc., No. 10-2820 (D.S.C.)                                                                     >$5.0 (23)
       Total                                                                                                                            $982.5 (24)
(17)
   Damages Letter from P. Berwish (Jan. 2, 2013). The plaintiffs in Abraham and Kelly declined the Examiner's Professionals' request for damages information because they felt that the request was prejudicial to their litigation interests and they objected "to the possible release of
Plaintiff's claims when they are not party to the bankruptcy as, inter alia, ALLY has not filed for bankruptcy, there has been no valid subpoena seeking information, and there has been no Order from the U.S. District Court for the Eastern District of New York." Id. at 2.
(18)
     Damages Letter from M. Helland (Jan. 4, 2013), at Ex. 1.
(19)
     Damages Letter from N. Armstrong (Jan. 21, 2013). The plaintiffs in Donaldson, Chatman, and Robinson informed the Examiner's Professionals that "[g]iven the putative class nature, and the status of discovery, [they] are unable to provide a quantification of damages at this time."
Id. at 1.
(20)
     Damages Letter from M. Strauss (Jan. 11, 2013), at 1.
(21)
     Damages Letter from A. Katsock (Jan. 4, 2013), at 5.
(22)
     Proof of Claim No. 2227, filed Nov. 5, 2012 [Case No. 12-12032].
(23)
       See Notice of Removal, Lafitte v. Ally Fin., Case No. 10-02820, Docket No. 1, at 4 (D.S.C. Nov. 1, 2010) (Plaintiffs pleading at least $5.0 million threshold under Class Action Fairness Act).
(24)
       Plus undisclosed and unliquidated amounts.
(25)
       See Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 32.
                                                                                                                                                                                                                                                                                                     Pg 375 of 385
                                                                                                                                                                                                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                                                                                                                    Appendix




                                                                                                                        Appendix VIII.D.1, Page 2 of 2
                                                                               Appendix X, Page 1 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
III.J.3.c—1          EXAM00176483              FTI Presentation to the Board of Residential Capital, LLC, dated Apr. 5, 2012, at 5 [EXAM00176483].
III.J.3.c—1          EXAM00128214              Notes of P. West (Apr. 5, 2012), at EXAM00128218 [EXAM00128214].
III.J.3.c—1          RC40020521                Draft Settlement Agreement, dated Apr. 30, 2012, at RC40020541 [RC40020521].
III.J.3.c—1          RCES00001556              See E-mail from T. Goren (May 3, 2012) [RCES00001556].
                                                                                                                                                                                                                 12-12020-mg




III.J.3.c—1          RCES00001573              Blackline Draft Settlement Agreement, dated May 3, 2012, at 6 [RCES00001573].
III.J.3.c—1          ALLY_0334556              E-mail from G. Lee to T. Devine (May 4, 2012) [ALLY_0334556].
III.J.3.c—1          EXAM00002973              E-mail from T. Marano to M. Carpenter (May 6, 2012) [EXAM00002973].
                                               Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 4, 2012, at CCM00444815; CCM00444842
III.J.3.c—1          CCM00444794
                                               [CCM00444794].
III.J.3.c—1          CCM00449220               E-mail from N. Ornstein to L. Nashelsky and G. Lee (May 2, 2012) [CCM00449220].
                                               Blackline Draft Settlement Agreement, dated May 2, 2012, at 6 [CCM00449236] (attached to E-mail from N. Ornstein to L. Nashelsky and G. Lee
III.J.3.c—1          CCM00449236
                                               (May 2, 2012) [CCM00449220]).
                                                                                                                                                                                                                 Doc 3698-36




III.J.3.c—1          RCES00001506              E-mail from M. Meltzer to L. Nashelsky and G. Lee (May 4, 2012) [RCES00001506]).
                                               Draft Settlement Agreement, dated May 4, 2012, at 6 [RCES00001523] (attached to E-mail from M. Meltzer to L. Nashelsky and G. Lee (May 4,
III.J.3.c—1          RCES00001523
                                               2012) [RCES00001506]).
III.J.3.c—1          ALLY_0021383              E-mail from L. Nashelsky to R. Schrock (May 5, 2012) [ALLY_0021383].
III.J.3.c—1          RCES00002361              E-mail from A. Grossi to L. Nashelsky, J. Tanenbaum, and G. Lee (Apr. 19, 2012) [RCES00002361]).
                                               Summary Discussion of Ally Financial Inc. Support For a ResCap Chapter 11 Plan of Reorganization, dated Apr. 19, 2012, at 1 [RCES00002362]
III.J.3.c—1          RCES00002362
                                               (attached to E-mail from A. Grossi to L. Nashelsky, J. Tanenbaum, and G. Lee (Apr. 19, 2012) [RCES00002361]).
III.J.4.d—4          EXAM00176409              Centerview and FTI Discussion Materials Presentation, dated Apr. 25, 2012, at 7–11 [EXAM00176409].
III.J.4.d—4          EXAM00176337              Centerview and FTI Discussion Materials Presentation, dated May 2, 2012, at 7–11 [EXAM00176337].
III.J.4.d—4          EXAM00178949              Centerview and FTI Discussion Materials Presentation, dated May 3, 2012, at 7–11 [EXAM00178949].
III.J.4.d—4          CCM00565463               E-mail from T. Devine to M. Carpenter (May 8, 2012), at CCM00565465 [CCM00565463].
                                                                                                                                                                                                  Pg 376 of 385




                                               Centerview and FTI Discussion Materials Presentation, dated May 7, 2012, at 7–9 [EXAM00176421] (attached to E-mail from M. Renzi to G. Lee
III.J.4.d—4          EXAM00176421
                                               and T. Devine (May 8, 2012) [EXAM00176420]).
III.J.4.d—4          EXAM00176548              Centerview and FTI Discussion Materials Presentation, dated May 9, 2012, at 3–4 [EXAM00176548].
III.J.4.d—4          EXAM00180187              E-mail from K. Patrick to G. Lee (May 7, 2012) [EXAM00180187].
III.J.4.d—4          N/A                       Int. of K. Patrick, Mar. 18, 2013, at 94:9–95:19, 172:8–177:4.

V.B.12.a(1)—1        EXAM00344891              Bank Flow HFI Portfolio, dated Jan. 2008 [EXAM00344891].
V.B.12.a(1)—1        EXAM00344892              Bank Flow HFI Portfolio, dated May 2007 [EXAM00344892].
V.B.12.a(1)—1        EXAM00344893              Bank Flow HFI Portfolio, dated Nov. 2007 [EXAM00344893].
V.B.12.a(1)—1        EXAM00344894              Bank Flow HFI Portfolio, dated Feb. 2008 [EXAM00344894].
V.B.12.a(1)—1        EXAM00344895              Bank Flow HFI Portfolio, dated Dec. 2007 [EXAM00344895].
V.B.12.a(1)—1        EXAM00344896              Bank Flow HFI Portfolio, dated Sep. 2007 [EXAM00344896].
                                                                                                                                                                                             Filed 05/13/13 Entered 05/13/13 17:08:13




V.B.12.a(1)—1        EXAM00344897              Bank HFI Swap [EXAM00344897].
V.B.12.a(1)—1        EXAM00344898              Bank Flow HFI Portfolio, dated Oct. 2007 [EXAM00344898].
V.B.12.a(1)—1        EXAM00344899              Bank Flow HFI Portfolio, dated Aug. 2007 [EXAM00344899].
V.B.12.a(1)—1        EXAM00344900              Bank Flow HFI Portfolio, dated Mar. 2008 [EXAM00344900].
V.B.12.a(1)—1        EXAM00344901              Bank Flow HFI Portfolio, dated June 2007 [EXAM00344901].
                                                                                                                                                                                                                 Appendix




V.B.12.a(1)—1        EXAM00344902              Bank Flow HFI Portfolio, dated July 2007 [EXAM00344902].
V.B.12.a(2)          EXAM00338641              2006 Monthly Sum of Sum [EXAM00338641].
V.B.12.a(2)          EXAM00338642              2007 Monthly Sum of Sum [EXAM00338642].

                                                                               Appendix X, Page 1 of 10
                                                                                Appendix X, Page 2 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
V.B.12.a(2)          EXAM00338643              2008 Monthly Sum of Sum [EXAM00338643].
V.B.12.a(2)          EXAM00338644              2009 Monthly Sum of Sum [EXAM00338644].
V.B.12.a(2)          EXAM00338645              2010 Monthly Sum of Sum [EXAM00338645].
V.B.12.a(2)          EXAM00338646              2011 Monthly Sum of Sum [EXAM00338646].
                                                                                                                                                                  12-12020-mg




V.B.12.a(2)          EXAM00338647              2012 Monthly Sum of Sum [EXAM00338647].
V.B.12.a(2)          N/A                       Meeting with J. Whitlinger in Ft. Washington, PA (Mar. 29, 2013).
V.B.12.b(1)—7        EXAM00232592              MSR Rollforward YTD 2011, dated Dec. 31, 2011 [EXAM00232592].
V.B.12.b(1)—7        EXAM00233968              MSR ARB Interest Expense Allocation, dated Mar. 31, 2012 [EXAM00233968].
V.B.12.b(1)—7        N/A                       Ally Financial Inc., Quarterly Report (Form 10-Q) (May 6, 2011), at 32, 34.
V.B.12.b(1)—7        N/A                       Ally Financial Inc., Quarterly Report (Form 10-Q) (Aug. 9, 2011), at 33, 35.
V.B.12.b(1)—7        N/A                       Ally Financial Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 35, 37.
V.B.12.b(1)—7        N/A                       Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 62, 168.
                                                                                                                                                                  Doc 3698-36




V.B.12.b(1)—7        N/A                       Ally Financial Inc., Quarterly Report (Form 10-Q) (Apr. 27, 2012), at 33.
V.B.12.b(1)—7        N/A                       Bank of America Corporation, Quarterly Report (Form 10-Q) (May 5, 2011), at 33, 120.
V.B.12.b(1)—7        N/A                       Bank of America Corporation, Quarterly Report (Form 10-Q) (Aug. 4, 2011), at 39, 129.
V.B.12.b(1)—7        N/A                       Bank of America Corporation, Quarterly Report (Form 10-Q) (Nov. 3, 2011), at 43,144.
V.B.12.b(1)—7        N/A                       Bank of America Corporation, Annual Report (Form 10-K) (Feb. 23, 2012), at 46, 154.
V.B.12.b(1)—7        N/A                       Bank of America Corporation, Quarterly Report (Form 10-Q) (May 3, 2012), at 34, 122.
V.B.12.b(1)—7        N/A                       JP Morgan Chase & Co., Quarterly Report (Form 10-Q) (May 6, 2011), at 150.
V.B.12.b(1)—7        N/A                       JP Morgan Chase & Co., Quarterly Report (Form 10-Q) (Aug. 9, 2011), at 161.
V.B.12.b(1)—7        N/A                       JP Morgan Chase & Co., Quarterly Report (Form 10-Q) (Nov. 8, 2011), at 170.
V.B.12.b(1)—7        N/A                       JP Morgan Chase & Co., Annual Report (Form 10-K) (Feb. 29, 2012), at 269.
                                                                                                                                                   Pg 377 of 385




V.B.12.b(1)—7        N/A                       JP Morgan Chase & Co., Quarterly Report (Form 10-Q) (May 10, 2012), at 145.
V.B.12.b(1)—7        N/A                       Citigroup Inc., Quarterly Report (Form 10-Q) (May 5, 2011), at 132.
V.B.12.b(1)—7        N/A                       Citigroup Inc., Quarterly Report (Form 10-Q) (Aug. 5, 2011), at 152.
V.B.12.b(1)—7        N/A                       Citigroup Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 153.
V.B.12.b(1)—7        N/A                       Citigroup Inc., Annual Report (Form 10-K) (Feb. 24, 2012), at 224.
V.B.12.b(1)—7        N/A                       Citigroup Inc., Quarterly Report (Form 10-Q) (May. 4, 2012), at 143.
V.B.12.b(1)—7        N/A                       Wells Fargo & Co., Quarterly Report (Form 10-Q) (May 6, 2011), at 93–94.
V.B.12.b(1)—7        N/A                       Wells Fargo & Co., Quarterly Report (Form 10-Q) (Aug. 5, 2011), at 115–116.
V.B.12.b(1)—7        N/A                       Wells Fargo & Co., Quarterly Report (Form 10-Q) (Nov. 6, 2011), at 109–110.
V.B.12.b(1)—7        N/A                       Wells Fargo & Co., Annual Report (Form 10-K) (Feb. 28, 2012), at 171–172.
V.B.12.b(1)—7        N/A                       Wells Fargo & Co., Quarterly Report (Form 10-Q) (May 8, 2012), at 96–97.
V.B.12.b(1)—7        N/A                       U.S. Bancorp, Quarterly Report (Form 10-Q) (May 6, 2011), at 42.
                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




V.B.12.b(1)—7        N/A                       U.S. Bancorp, Quarterly Report (Form 10-Q) (Aug. 8, 2011), at 47.
V.B.12.b(1)—7        N/A                       U.S. Bancorp, Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 52.
V.B.12.b(1)—7        N/A                       U.S. Bancorp, Annual Report (Form 10-K) (Feb. 23, 2012), at 94–95.
V.B.12.b(1)—7        N/A                       U.S. Bancorp, Quarterly Report (Form 10-Q) (May 7, 2012), at 49–50.
V.B.12.b(1)—7        N/A                       The PNC Financial Services Group, Inc., Quarterly Report (Form 10-Q) (May 9, 2011), at 116.
V.B.12.b(1)—7        N/A                       The PNC Financial Services Group, Inc., Quarterly Report (Form 10-Q) (Aug. 8, 2011), at 140.
                                                                                                                                                                  Appendix




V.B.12.b(1)—7        N/A                       The PNC Financial Services Group, Inc., Quarterly Report (Form 10-Q) (Nov. 8, 2011), at 140.
V.B.12.b(1)—7        N/A                       The PNC Financial Services Group, Inc., Annual Report (Form 10-K) (Feb. 29, 2012), at 160.
V.B.12.b(1)—7        N/A                       The PNC Financial Services Group, Inc., Quarterly Report (Form 10-Q) (May 9, 2012), at 116.

                                                                                Appendix X, Page 2 of 10
                                                                                Appendix X, Page 3 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
V.B.12.b(1)—7        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (May 6, 2011), at 20.
V.B.12.b(1)—7        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (Aug. 9, 2011), at 20–21.
V.B.12.b(1)—7        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 24.
V.B.12.b(1)—7        N/A                       SunTrust Banks, Inc., Annual Report (Form 10-K) (Feb. 24, 2012), at 130–131.
                                                                                                                                                                  12-12020-mg




V.B.12.b(1)—7        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (May, 4, 2012), at 23.
V.B.12.b(1)—8        EXAM00232592              MSR Rollforward YTD 2011, dated Dec. 31, 2011 [EXAM00232592].
V.B.12.b(1)—8        EXAM00233968              MSR ARB Interest Expense Allocation, dated Mar. 31, 2012 [EXAM00233968].
V.B.12.b(1)—8        N/A                       Ally Financial Inc., Quarterly Report (Form 10-Q) (May 6, 2011), at 32, 34.
V.B.12.b(1)—8        N/A                       Ally Financial Inc., Quarterly Report (Form 10-Q) (Aug. 9, 2011), at 33, 35.
V.B.12.b(1)—8        N/A                       Ally Financial Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 35, 37.
V.B.12.b(1)—8        N/A                       Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 62, 168.
V.B.12.b(1)—8        N/A                       Ally Financial Inc., Quarterly Report (Form 10-Q) (Apr. 27, 2012), at 33.
                                                                                                                                                                  Doc 3698-36




V.B.12.b(1)—8        N/A                       Bank of America Corporation, Quarterly Report (Form 10-Q) (May 5, 2011), at 33, 120.
V.B.12.b(1)—8        N/A                       Bank of America Corporation, Quarterly Report (Form 10-Q) (Aug. 4, 2011), at 39, 129.
V.B.12.b(1)—8        N/A                       Bank of America Corporation, Quarterly Report (Form 10-Q) (Nov. 3, 2011), at 43,144.
V.B.12.b(1)—8        N/A                       Bank of America Corporation, Annual Report (Form 10-K) (Feb. 23, 2012), at 46, 154.
V.B.12.b(1)—8        N/A                       Bank of America Corporation, Quarterly Report (Form 10-Q) (May 3, 2012), at 34, 122.
V.B.12.b(1)—8        N/A                       JP Morgan Chase & Co., Quarterly Report (Form 10-Q) (May 6, 2011), at 150.
V.B.12.b(1)—8        N/A                       JP Morgan Chase & Co., Quarterly Report (Form 10-Q) (Aug. 9, 2011), at 161.
V.B.12.b(1)—8        N/A                       JP Morgan Chase & Co., Quarterly Report (Form 10-Q) (Nov. 8, 2011), at 170.
V.B.12.b(1)—8        N/A                       JP Morgan Chase & Co., Annual Report (Form 10-K) (Feb. 29, 2012), at 269.
V.B.12.b(1)—8        N/A                       JP Morgan Chase & Co., Quarterly Report (Form 10-Q) (May 10, 2012), at 145.
                                                                                                                                                   Pg 378 of 385




V.B.12.b(1)—8        N/A                       Citigroup Inc., Quarterly Report (Form 10-Q) (May 5, 2011), at 132.
V.B.12.b(1)—8        N/A                       Citigroup Inc., Quarterly Report (Form 10-Q) (Aug. 5, 2011), at 152.
V.B.12.b(1)—8        N/A                       Citigroup Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 153.
V.B.12.b(1)—8        N/A                       Citigroup Inc., Annual Report (Form 10-K) (Feb. 24, 2012), at 224.
V.B.12.b(1)—8        N/A                       Citigroup Inc., Quarterly Report (Form 10-Q) (May. 4, 2012), at 143.
V.B.12.b(1)—8        N/A                       Wells Fargo & Co., Quarterly Report (Form 10-Q) (May 6, 2011), at 93–94.
V.B.12.b(1)—8        N/A                       Wells Fargo & Co., Quarterly Report (Form 10-Q) (Aug. 5, 2011), at 115–116.
V.B.12.b(1)—8        N/A                       Wells Fargo & Co., Quarterly Report (Form 10-Q) (Nov. 6, 2011), at 109–110.
V.B.12.b(1)—8        N/A                       Wells Fargo & Co., Annual Report (Form 10-K) (Feb. 28, 2012), at 171–172.
V.B.12.b(1)—8        N/A                       Wells Fargo & Co., Quarterly Report (Form 10-Q) (May 8, 2012), at 96–97.
V.B.12.b(1)—8        N/A                       U.S. Bancorp, Quarterly Report (Form 10-Q) (May 6, 2011), at 42.
V.B.12.b(1)—8        N/A                       U.S. Bancorp, Quarterly Report (Form 10-Q) (Aug. 8, 2011), at 47.
                                                                                                                                              Filed 05/13/13 Entered 05/13/13 17:08:13




V.B.12.b(1)—8        N/A                       U.S. Bancorp, Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 52.
V.B.12.b(1)—8        N/A                       U.S. Bancorp, Annual Report (Form 10-K) (Feb. 23, 2012), at 94–95.
V.B.12.b(1)—8        N/A                       U.S. Bancorp, Quarterly Report (Form 10-Q) (May 7, 2012), at 49–50.
V.B.12.b(1)—8        N/A                       The PNC Financial Services Group, Inc., Quarterly Report (Form 10-Q) (May 9, 2011), at 116.
V.B.12.b(1)—8        N/A                       The PNC Financial Services Group, Inc., Quarterly Report (Form 10-Q) (Aug. 8, 2011), at 140.
V.B.12.b(1)—8        N/A                       The PNC Financial Services Group, Inc., Quarterly Report (Form 10-Q) (Nov. 8, 2011), at 140.
                                                                                                                                                                  Appendix




V.B.12.b(1)—8        N/A                       The PNC Financial Services Group, Inc., Annual Report (Form 10-K) (Feb. 29, 2012), at 160.
V.B.12.b(1)—8        N/A                       The PNC Financial Services Group, Inc., Quarterly Report (Form 10-Q) (May 9, 2012), at 116.
V.B.12.b(1)—8        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (May 6, 2011), at 20.

                                                                                Appendix X, Page 3 of 10
                                                                                Appendix X, Page 4 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
V.B.12.b(1)—8        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (Aug. 9, 2011), at 20–21.
V.B.12.b(1)—8        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 24.
V.B.12.b(1)—8        N/A                       SunTrust Banks, Inc., Annual Report (Form 10-K) (Feb. 24, 2012), at 130–131.
V.B.12.b(1)—8        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (May, 4, 2012), at 23.
                                                                                                                                                                                                               12-12020-mg




                                               GMAC Mortgage Corporation Consolidated Financial Statements as of and for the years ended December 31, 2005 and 2004 (Restated), at 2, 52
V.B.12.b(1)—8        EXAM00231553
                                               [EXAM00231553].
V.B.12.b(1)—8        EXAM00232043              GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2007 and 2006, at 2 [EXAM00232043].
V.B.12.b(1)—8        EXAM00234189              GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2009 and 2008, at 5 [EXAM00234189].
V.B.12.b(1)—8        EXAM00234281              GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2011 and 2010, at 5 [EXAM00234281].
V.B.12.b(1)—8        RC00034535                GMAC Bank Consolidated Financial Statements as of December 31, 2008 and 2007, at 2 [RC00034535].
                                               Residential Funding Corporation Consolidated Financial Statements for the Years Ended December 31, 2004 and 2003 (Restated), at 2
V.B.12.b(1)—8        EXAM00231149
                                               [EXAM00231149].
                                                                                                                                                                                                               Doc 3698-36




V.B.12.b(1)—8        EXAM00231642              Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2006 and 2005, at 2 [EXAM00231642].
V.B.12.b(1)—8        EXAM00124988              Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2008 and 2007, at 2 [EXAM00124988].
V.B.12.b(1)—8        EXAM00232592              MSR Rollforward YTD 2011, dated Dec. 31, 2011 [EXAM00232592].
V.B.12.b(1)—8        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (Nov. 4, 2011), at 24.
V.B.12.b(1)—8        N/A                       SunTrust Banks, Inc., Annual Report (Form 10-K) (Feb. 24, 2012), at 130–131.
V.B.12.b(1)—8        N/A                       SunTrust Banks, Inc., Quarterly Report (Form 10-Q) (May, 4, 2012), at 23.
                                               GMAC Mortgage Corporation Consolidated Financial Statements as of and for the years ended December 31, 2005 and 2004 (Restated), at 2, 52
V.B.12.b(2)—2        EXAM00231553
                                               [EXAM00231553].
V.B.12.b(2)—2        EXAM00232043              GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2007 and 2006, at 2 [EXAM00232043].
V.B.12.b(2)—2        EXAM00234189              GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2009 and 2008, at 5 [EXAM00234189].
                                                                                                                                                                                                Pg 379 of 385




V.B.12.b(2)—2        EXAM00234281              GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2011 and 2010, at 5 [EXAM00234281].
V.B.12.b(2)—2        RC00034535                GMAC Bank Consolidated Financial Statements as of December 31, 2008 and 2007, at 2 [RC00034535].
                                               Residential Funding Corporation Consolidated Financial Statements for the Years Ended December 31, 2004 and 2003 (Restated), at 2
V.B.12.b(2)—2        EXAM00231149
                                               [EXAM00231149].
V.B.12.b(2)—2        EXAM00231642              Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2006 and 2005, at 2 [EXAM00231642].
V.B.12.b(2)—2        EXAM00124988              Residential Funding Company, LLC Consolidated Financial Statements for the Years Ended December 31, 2008 and 2007, at 2 [EXAM00124988].
V.B.12.b(2)—2        EXAM00232592              MSR Rollforward YTD 2011, dated Dec. 31, 2011 [EXAM00232592].

VI.C.4.b(3)—2        N/A                       Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 95.
VI.C.4.b(3)—2        N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 101.
VI.C.4.b(3)—2        N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 101.
VI.C.4.b(3)—2        N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119.
                                                                                                                                                                                           Filed 05/13/13 Entered 05/13/13 17:08:13




                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 5
VI.C.4.b(3)—2        EXAM00124455
                                               [EXAM00124455].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011, at 5
VI.C.4.b(3)—2        EXAM00123128
                                               [EXAM00123128].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012, at 5
VI.C.4.b(3)—2        EXAM00122651
                                               [EXAM00122651].
                                                                                                                                                                                                               Appendix




VI.C.4.c(3)          ALLY_0272658              ResCap Daily Liquidity Rollforward, dated July 1, 2008 [ALLY_0272658].
VI.C.4.c(3)          ALLY_0273141              ResCap Investment Balance Rollforward, dated July 28, 2008 [ALLY_0273141].
VI.C.4.c(3)          CERB018489                ResCap Daily Liquidity Rollforward, dated Dec. 28, 2007 [CERB018489].

                                                                                Appendix X, Page 4 of 10
                                                                              Appendix X, Page 5 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
VI.C.4.c(3)          EXAM10609907              ResCap Daily Liquidity Rollforward, dated Jan. 31, 2008 [EXAM10609907].
VI.C.4.c(3)          EXAM10612983              ResCap Daily Liquidity Rollforward, dated Apr. 10, 2008 [EXAM10612983].
VI.C.4.c(3)          RC40012763                ResCap Liquidity Update, dated Oct. 15, 2007, at RC40012768 [RC40012763].
VI.C.4.c(5)          ALLY_0080946              ResCap Daily Liquidity Rollforward, dated May 4, 2009 [ALLY_0080946].
                                                                                                                                                      12-12020-mg




VI.C.4.c(5)          ALLY_0272658              ResCap Daily Liquidity Rollforward, dated July 1, 2008 [ALLY_0272658].
VI.C.4.c(5)          ALLY_0273141              ResCap Daily Investment Balance Rollforward, dated July 28, 2008 [ALLY_0273141].
VI.C.4.c(5)          CERB018489                ResCap Daily Liquidity Rollforward, dated Dec. 28, 2007 [CERB018489].
VI.C.4.c(5)          EXAM10609907              ResCap Daily Liquidity Rollforward, dated Jan. 31, 2008 [EXAM10609907].
VI.C.4.c(5)          EXAM10612983              ResCap Daily Liquidity Rollforward, dated Apr. 10, 2008 [EXAM10612983].
VI.C.4.c(5)          RC40012763                ResCap Liquidity Update, dated Oct. 15, 2007, at RC40012768 [RC40012763].
VI.C.4.c(5)          ALLY_0081503              ResCap Daily Liquidity Rollforward, dated June 29, 2009 [ALLY_0081503].
VI.C.4.c(5)          ALLY_0275088              ResCap Daily Liquidity Rollforward, dated Sep. 15, 2008 [ALLY_0275088].
                                                                                                                                                      Doc 3698-36




VI.C.4.c(5)          ALLY_0275797              ResCap Daily Liquidity Balance Rollforward, dated Oct. 27, 2008 [ALLY_0275797].
VI.C.4.c(5)          ALLY_0276886              ResCap Daily Liquidity Balance Rollforward, dated Dec. 1, 2008 [ALLY_0276886].
VI.C.4.c(5)          ALLY_0280277              ResCap Daily Liquidity Balance Rollforward, dated Apr. 27, 2009 [ALLY_0280277].
VI.C.4.c(5)          ALLY_0283223              ResCap Daily Liquidity Balance Rollforward, dated July 27, 2009 [ALLY_0283223].
VI.C.4.c(5)          ALLY_0284342              ResCap Daily Liquidity Balance Rollforward, dated Aug. 24, 2009 [ALLY_0284342].
VI.C.4.c(5)          ALLY_0285555              ResCap Daily Liquidity Balance Rollforward, dated Sep. 28, 2009 [ALLY_0285555].
VI.C.4.c(5)          CCM00028777               ResCap Daily Liquidity Balance Rollforward, dated Mar. 2, 2009 [CCM00028777].
VI.C.4.c(5)          CCM00028940               ResCap Daily Liquidity Balance Rollforward, dated Mar. 23, 2009 [CCM00028940].
VI.C.4.c(5)          CCM00029223               ResCap Daily Liquidity Balance Rollforward, dated Apr. 6, 2009 [CCM00029223].
VI.C.4.c(5)          CCM00059068               ResCap Daily Liquidity Balance Rollforward, dated Feb. 2, 2009 [CCM00059068].
                                                                                                                                       Pg 380 of 385




VI.C.4.c(5)          CCM00109218               ResCap Daily Liquidity Balance Rollforward, dated Dec. 29, 2008 [CCM00109218].
VI.C.4.c(5)          EXAM00114686              ResCap Daily Liquidity Balance Rollforward, dated Oct. 26, 2009 [EXAM00114686].
VI.C.4.c(5)          EXAM00114687              ResCap Daily Balance Liquidity Rollforward, dated Dec. 28, 2009 [EXAM00114687].
VI.C.4.c(5)          EXAM00114688              ResCap Daily Liquidity Balance Rollforward, dated Jan. 25, 2010 [EXAM00114688].
VI.C.4.c(5)          EXAM00114689              ResCap Daily Liquidity Balance Rollforward, dated Mar. 29, 2010 [EXAM00114689].
VI.C.4.c(5)          EXAM00114690              ResCap Daily Liquidity Balance Rollforward, dated Apr. 26, 2010 [EXAM00114690].
VI.C.4.c(5)          EXAM00114692              ResCap Daily Liquidity Balance Rollforward, dated June 28, 2010 [EXAM00114692].
VI.C.4.c(5)          EXAM00114694              ResCap Daily Liquidity Balance Rollforward, dated Aug. 30, 2010 [EXAM00114694].
VI.C.4.c(5)          EXAM00114695              ResCap Daily Liquidity Rollforward, dated Sep. 27, 2010 [EXAM00114695].
VI.C.4.c(5)          EXAM00114696              ResCap Liquid Cash Rollfoward, dated Oct. 25, 2010 [EXAM00114696].
VI.C.4.c(5)          EXAM00114698              ResCap Liquid Cash Rollforward, dated Dec. 6, 2010 [EXAM00114698].
VI.C.4.c(5)          EXAM00114700              ResCap Daily Liquid Cash Rollforward, dated Feb. 21, 2011 [EXAM00114700].
                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13




VI.C.4.c(5)          EXAM00114702              ResCap Daily Liquid Cash Rollforward, dated Apr. 11, 2011 [EXAM00114702].
VI.C.4.c(5)          EXAM00114704              ResCap Daily Liquid Cash Rollforward, dated June 20, 2011 [EXAM00114704].
VI.C.4.c(5)          EXAM00114706              ResCap Daily Liquid Cash Rollforward, dated Aug. 22, 2011 [EXAM00114706].
VI.C.4.c(5)          EXAM00114708              ResCap Daily Liquid Cash Rollforward, dated Nov. 1, 2011 [EXAM00114708].
VI.C.4.c(5)          EXAM00114709              ResCap Daily Liquid Cash Rollforward, dated Dec. 1, 2011 [EXAM00114709].
VI.C.4.c(5)          EXAM00114711              ResCap Daily Liquid Cash Rollforward, dated Feb. 1, 2012 [EXAM00114711].
                                                                                                                                                      Appendix




VI.C.4.c(5)          EXAM00114713              ResCap Daily Liquid Cash Rollforward, dated Apr. 2, 2012 [EXAM00114713].
VI.C.4.c(5)          EXAM00114715              ResCap Daily Liquid Cash Rollforward, dated May 11, 2012 [EXAM00114715].
VI.C.4.c(5)          EXAM10158701              ResCap Daily Liquidity Rollforward, dated Jan. 31, 2008 [EXAM10158701].

                                                                              Appendix X, Page 5 of 10
                                                                              Appendix X, Page 6 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
VI.C.4.c(5)          EXAM10667290              ResCap Daily Liquidity Rollforward, dated July 31, 2008 [EXAM10667290].
                     LAZ-RSCP-
VI.C.4.c(5)                                    ResCap Daily Liquidity Balance Rollforward, dated June 8, 2009 [LAZ-RSCP-XMR00002342].
                     XMR00002342
VI.C.4.d             N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 89, 90, 208.
                                                                                                                                                                                                           12-12020-mg




VI.C.4.d             N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 65.
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 43
VI.C.4.d             EXAM00124455
                                               [EXAM00124455].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012, at 39
VI.C.4.d             EXAM00122651
                                               [EXAM00122651].
VI.C.4.d             RC00025831                7th Amend. to A&R Line of Credit Agreement, § 2.01 [RC00025831].
VI.C.4.d             RC00026655                7th Amend. to A&R Line of Credit Agreement, § 2.3 [RC00026655].
                                               PHILIP KIBEL & JOHN J. KRIZ, MOODY’S, RATING ACTION: MOODY’S ASSIGNS BAA2 ISSUER RATING TO RESIDENTIAL
                                                                                                                                                                                                           Doc 3698-36




VI.C.4.e(1)          N/A
                                               CAPITAL CORPORATION; RATING OUTLOOK IS NEGATIVE (June 9, 2005).
                                               PHILIP KIBEL & JOHN J. KRIZ, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESIDENTIAL CAPITAL’S SENIOR DEBT
VI.C.4.e(1)          N/A
                                               TO BAA3; RATING OUTLOOK IS NEGATIVE (Aug. 24, 2005).
                                               PHILIP KIBEL & JOHN J. KRIZ, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO BA1, FROM BAA3; RATINGS
VI.C.4.e(1)          N/A
                                               REMAIN ON REVIEW DOWN (Aug. 16, 2007).
                                               CRAIG A. EMRICK & BRIAN L. HARRIS, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO BA3, FROM BA1;
VI.C.4.e(1)          N/A
                                               OUTLOOK NEGATIVE (Nov. 1, 2007).
                                               ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO B2; OUTLOOK
VI.C.4.e(1)          N/A
                                               NEGATIVE (Feb. 5, 2008).
                                               ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO CAA1; RATINGS ON
VI.C.4.e(1)          N/A
                                                                                                                                                                                            Pg 381 of 385




                                               REVIEW DOWN (Apr. 23, 2008).
                                               ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO CA; RATING UNDER
VI.C.4.e(1)          N/A
                                               REVIEW DOWN (May 2, 2008).
VI.C.4.e(1)          N/A                       ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO C (Nov. 20, 2008).
                                               MARK L. WASDEN & ROBERT YOUNG, MOODY’S, RATING ACTION: MOODY’S UPGRADES ALLY FINANCIAL TO B1, RESCAP TO
VI.C.4.e(1)          N/A
                                               CA (Feb. 7, 2011).
                                               MARK L. WASDEN & ROBERT F. YOUNG, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP UNSECURED TO C;
VI.C.4.e(1)          N/A
                                               AFFIRMS ALLY AT B1 (Apr. 18, 2012).
                                               CHRISTOPHER D. WOLFE & Philip S. Walker, FITCH, FITCH ASSIGNS ‘BBB’ & ‘F2’ RATINGS TO RESIDENTIAL CAPITAL CORP.
VI.C.4.e(1)          N/A
                                               (June 9, 2005), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=164498.
                                               CHRISTOPHER D. WOLFE ET AL., FITCH, FITCH DOWNGRADES GMAC & RESCAP; OUTLOOK REMAINS NEGATIVE (Sept. 26,
VI.C.4.e(1)          N/A
                                               2005).
                                                                                                                                                                                       Filed 05/13/13 Entered 05/13/13 17:08:13




                                               CHRISTOPHER D. WOLFE ET AL., FITCH, FITCH UPGRADES GMAC LLC TO ‘BB+’ & RESCAP TO ‘BBB’; OUTLOOK POSITIVE (Nov.
VI.C.4.e(1)          N/A
                                               30, 2006), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=326772.
                                               CHRISTOPHER D. WOLFE ET AL., FITCH, AMEND: FITCH LOWERS COUNTRYWIDE IDR TO ‘BBB+’ & RESCAP TO ‘BB+’;
VI.C.4.e(1)          N/A
                                               INDYMAC ON WATCH NEGATIVE (Aug. 16, 2007), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=365172.
                                               CHRISTOPHER D. WOLFE & VINCENT ARSCOTT, FITCH, FITCH DOWNGRADES RESCAP’S L-T IDR TO ‘BB-’; REMAINS ON
VI.C.4.e(1)          N/A
                                               WATCH NEGATIVE (Mar. 3, 2008), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=408395.
                                                                                                                                                                                                           Appendix




                                               CHRISTOPHER D. WOLFE & VINCENT ARSCOTT, FITCH, FITCH DOWNGRADES RESCAP’S IDR TO ‘C’ ON DDE; REMAINS ON
VI.C.4.e(1)          N/A
                                               WATCH NEGATIVE (May 2, 2008), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=419155.


                                                                              Appendix X, Page 6 of 10
                                                                            Appendix X, Page 7 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
                                               CHRISTOPHER D. WOLFE & VINCENT ARSCOTT, FITCH, FITCH DOWNGRADES RESCAP’S IDRs TO ‘D’ ON DISTRESSED DEBT
VI.C.4.e(1)          N/A
                                               EXCHANGE (June 5, 2008), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=422813.
                                               MOHAK RAO & PETER SHIMKUS, FITCH, FITCH UPGRADES RESCAP’S IDR TO ‘B’; OUTLOOK STABLE (Feb. 3, 2011),
VI.C.4.e(1)          N/A
                                               http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=680221.
                                                                                                                                                                                                      12-12020-mg




                                               MOHAK RAO & JUSTIN FULLER, FITCH, FITCH DOWNGRADES RESCAP’S IDR TO ‘CCC’ (Nov. 11, 2011),
VI.C.4.e(1)          N/A
                                               http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=733364.
                                               MOHAK RAO & NATHAN FLANDERS, FITCH, FITCH DOWNGRADES RESCAP’S IDR TO ‘C’; PLACES ALLY FINANCIAL’S ‘BB-’ IDR
VI.C.4.e(1)          N/A
                                               ON RATING WATCH NEGATIVE (Apr. 18, 2012), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=747746.
                                               MOHAK RAO & NATHAN FLANDERS, FITCH, FITCH DOWNGRADES RESCAP’S IDR TO ‘D’; MAINTAINS RATING WATCH
VI.C.4.e(1)          N/A
                                               NEGATIVE ON ALLY (May 15, 2012), http://www.fitchratings.com/creditdesk/press_releases/detail.cfm?print=1&pr_id=749864.
                                               VICTORIA WAGNER ET AL., S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL CORP. ASSIGNED ‘BBB- / A-3’ RATINGS (June 9,
VI.C.4.e(1)          N/A
                                               2005).
                                                                                                                                                                                                      Doc 3698-36




                                               JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATING RAISED TO ‘BBB’, REMOVED FROM
VI.C.4.e(1)          N/A
                                               CREDITWATCH; OUTLOOK NEGATIVE (Nov. 27, 2006).
                                               JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATING LOWERED TO ‘BBB-’, OUTLOOK
VI.C.4.e(1)          N/A
                                               REVISED TO STABLE (May 2, 2007).
                                               JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATINGS OFF WATCH NEG, LOWERED TO ‘BB+
VI.C.4.e(1)          N/A
                                               / B’ FROM ‘BBB- / A-3’; OUTLOOK NEG (Nov. 1, 2007).
VI.C.4.e(1)          N/A                       RICHARD BARLEY, REUTERS, S&P CUTS GMAC, RESCAP RATINGS, OUTLOOK NEGATIVE (Feb. 22, 2008).
                                               ROBERT SCHULZ & GREGG LEMOS STEIN, S&P, RESEARCH UPDATE: GENERAL MOTORS ‘B / B-3’ CCR STAYS ON WATCH NEG
VI.C.4.e(1)          N/A
                                               ON RATING ACTIONS ON GMAC, RESIDENTIAL CAPITAL (Apr. 24, 2008).
                                               JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC DOWNGRADED TO ‘CC’; STILL ON
VI.C.4.e(1)          N/A
                                                                                                                                                                                       Pg 382 of 385




                                               CREDITWATCH NEGATIVE (May 2, 2008).
                                               JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATING LOWERED TO ‘SD’ FROM ‘CC’;
VI.C.4.e(1)          N/A
                                               REMOVED FROM CREDITWATCH NEGATIVE (June 4, 2008).
                                               JOHN K. BARTKO & ADOM ROSENGARTEN, S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATING RAISED TO ‘CCC+ /
VI.C.4.e(1)          N/A
                                               C’; OUTLOOK NEGATIVE (July 15, 2008).
                                               JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: GMAC LLC AND RESIDENTIAL CAPITAL LLC RATINGS LOWERED;
VI.C.4.e(1)          N/A
                                               OUTLOOKS NEGATIVE (Nov. 7, 2008).
                                               JOHN K. BARTKO & ADOM ROSENGARTEN, S&P, RESEARCH UPDATE: GMAC LLC, RESIDENTIAL CAPITAL LLC RATINGS
VI.C.4.e(1)          N/A
                                               LOWERED, ON CREDITWATCH NEGATIVE (Nov. 20, 2008).
                                               JOHN K. BARTKO & ERNEST D. NAPIER, S&P, RESEARCH UPDATE: GMAC LLC, RESIDENTIAL CAPITAL LLC RATINGS LOWERED
VI.C.4.e(1)          N/A
                                               TO ‘SD’ FROM ‘CC’, TAKEN OFF CREDITWATCH (Dec. 31, 2008).
                                               JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: GMAC LLC AND RESIDENTIAL CAPITAL LLC RATINGS RAISED TO ‘CCC / C’;
VI.C.4.e(1)          N/A
                                                                                                                                                                                  Filed 05/13/13 Entered 05/13/13 17:08:13




                                               OUTLOOK NEGATIVE (Feb. 4, 2009).
                                               JOHN K. BARTKO & VIKAS JHAVERI, S&P, RESEARCH UPDATE: GMAC INC., RESIDENTIAL CAPITAL LLC RATINGS RAISED TO
VI.C.4.e(1)          N/A
                                               ‘B’ FROM ‘CCC’; OUTLOOK STABLE (Jan. 27, 2010).
                                               BRENDAN BROWNE & JOHN K. BARTKO, S&P, RESEARCH UPDATE: ALLY FINANCIAL INC., RESIDENTIAL CAPITAL RATINGS
VI.C.4.e(1)          N/A
                                               RAISED TO ‘B+’ FROM ‘B’ (May 4, 2011).
                                               BRENDAN BROWNE & JOHN K. BARTKO, S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATING LOWERED TO ‘CCC’
VI.C.4.e(1)          N/A
                                                                                                                                                                                                      Appendix




                                               AND PLACED ON CREDITWATCH NEGATIVE (Nov. 10, 2011).
                                               BRENDAN BROWNE & JOHN K. BARTKO, S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC DOWNGRADED TO ‘CC’;
VI.C.4.e(1)          N/A
                                               RATINGS REMAIN ON CREDITWATCH NEGATIVE (Feb. 10, 2012).

                                                                            Appendix X, Page 7 of 10
                                                                      Appendix X, Page 8 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
                                               TOM G. CONNELL & BRENDAN BROWNE, S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC DOWNGRADED TO ‘SD’ FROM
VI.C.4.e(1)          N/A
                                               ‘CC’ ON MISSED INTEREST PAYMENT (Apr. 18, 2012).
                                               TOM G. CONNELL & BRENDAN BROWNE, S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATINGS LOWERED TO ‘D’
VI.C.4.e(1)          N/A
                                               AFTER CHAPTER 11 FILING (May 17, 2012).
                                                                                                                                                                            12-12020-mg




VI.C.4.f(1)—1        EXAM10055830              Draft ResCap Executive Liquidity Report, dated Dec. 31, 2007 [EXAM10055830].
VI.C.4.f(1)—1        EXAM10055877              ResCap Executive Liquidity Report, dated Mar. 31, 2008 [EXAM10055877].
VI.C.4.f(1)—1        EXAM10055944              ResCap Executive Liquidity Report, dated June 30, 2008 [EXAM10055944].
VI.C.4.f(1)—1        EXAM10055957              ResCap Executive Liquidity Report, dated Oct. 6, 2008 [EXAM10055957].
VI.C.4.f(1)—1        EXAM10055973              ResCap Executive Liquidity Report, dated Dec. 29, 2008 [EXAM10055973].
VI.C.4.f(1)—1        EXAM10056015              ResCap Executive Liquidity Report, dated Mar. 30, 2009 [EXAM10056015].
VI.C.4.f(1)—1        EXAM10056051              Draft ResCap Executive Liquidity Report, dated June 29, 2009 [EXAM10056051].
VI.C.4.f(1)—1        EXAM10056078              Draft ResCap Executive Liquidity Report, dated Sep. 28, 2009 [EXAM10056078].
                                                                                                                                                                            Doc 3698-36




VI.C.4.f(1)—1        EXAM10056100              Draft ResCap Executive Liquidity Report, dated Dec. 28, 2009 [EXAM10056100].
VI.C.4.f(1)—1        EXAM10056125              Draft ResCap Executive Liquidity Report, dated Mar. 22, 2010 [EXAM10056125].
VI.C.4.f(1)—1        ALLY_PEO_0084328          ResCap Executive Liquidity Report, dated July 5, 2010 [ALLY_PEO_0084328].
VI.C.4.f(1)—1        ALLY_0383598              ResCap Executive Liquidity Report, dated Sep. 13, 2010 [ALLY_0383598].
VI.C.4.f(1)—1        ALLY_0297477              ResCap Executive Liquidity Report, dated Dec. 6, 2010 [ALLY_0297477].
VI.C.4.f(1)—1        ALLY_0193580              ResCap Executive Liquidity Report, dated Mar. 21, 2011 [ALLY_0193580].
VI.C.4.f(1)—1        ALLY_0193670              ResCap Executive Liquidity Report, dated June 20, 2011 [ALLY_0193670].
VI.C.4.f(1)—1        ALLY_0194078              Draft ResCap Executive Liquidity Report, dated Oct. 10, 2011 [ALLY_0194078].
VI.C.4.f(1)—1        ALLY_0194181              ResCap Executive Liquidity Report, dated Jan. 16, 2012 [ALLY_0194181].
VI.C.4.f(1)—1        ALLY_0194266              ResCap Executive Liquidity Report, dated Apr. 16, 2012 [ALLY_0194266].
                                                                                                                                                             Pg 383 of 385




VI.C.4.f(1)—2        EXAM10055830              Draft ResCap Executive Liquidity Report, dated Dec. 31, 2007 [EXAM10055830].
VI.C.4.f(1)—2        EXAM10055877              ResCap Executive Liquidity Report, dated Mar. 31, 2008 [EXAM10055877].
VI.C.4.f(1)—2        EXAM10055944              ResCap Executive Liquidity Report, dated June 30, 2008 [EXAM10055944].
VI.C.4.f(1)—2        EXAM10055957              ResCap Executive Liquidity Report, dated Oct. 6, 2008 [EXAM10055957].
VI.C.4.f(1)—2        EXAM10055973              ResCap Executive Liquidity Report, dated Dec. 29, 2008 [EXAM10055973].
VI.C.4.f(1)—2        EXAM10056015              ResCap Executive Liquidity Report, dated Mar. 30, 2009 [EXAM10056015].
VI.C.4.f(1)—2        EXAM10056051              Draft ResCap Executive Liquidity Report, dated June 29, 2009 [EXAM10056051].
VI.C.4.f(1)—2        EXAM10056078              Draft ResCap Executive Liquidity Report, dated Sep. 28, 2009 [EXAM10056078].
VI.C.4.f(1)—2        EXAM10056100              Draft ResCap Executive Liquidity Report, dated Dec. 28, 2009 [EXAM10056100].
VI.C.4.f(1)—2        EXAM10056125              Draft ResCap Executive Liquidity Report, dated Mar. 22, 2010 [EXAM10056125].
VI.C.4.f(1)—2        ALLY_PEO_0084328          ResCap Executive Liquidity Report, dated July 5, 2010 [ALLY_PEO_0084328].
VI.C.4.f(1)—2        ALLY_0383598              ResCap Executive Liquidity Report, dated Sep. 13, 2010 [ALLY_0383598].
                                                                                                                                                        Filed 05/13/13 Entered 05/13/13 17:08:13




VI.C.4.f(1)—2        ALLY_0297477              ResCap Executive Liquidity Report, dated Dec. 6, 2010 [ALLY_0297477].
VI.C.4.f(1)—2        ALLY_0193580              ResCap Executive Liquidity Report, dated Mar. 21, 2011 [ALLY_0193580].
VI.C.4.f(1)—2        ALLY_0193670              ResCap Executive Liquidity Report, dated June 20, 2011 [ALLY_0193670].
VI.C.4.f(1)—2        ALLY_0194078              Draft ResCap Executive Liquidity Report, dated Oct. 10, 2011 [ALLY_0194078].
VI.C.4.f(1)—2        ALLY_0194181              ResCap Executive Liquidity Report, dated Jan. 16, 2012 [ALLY_0194181].
VI.C.4.f(1)—2        ALLY_0194266              ResCap Executive Liquidity Report, dated Apr. 16, 2012 [ALLY_0194266].
                                                                                                                                                                            Appendix




VI.C.4.f(2)—1        N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 101.
VI.C.4.f(2)—1        N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 101.
VI.C.4.f(2)—1        N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119.

                                                                      Appendix X, Page 8 of 10
                                                                                Appendix X, Page 9 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 5
VI.C.4.f(2)—1        EXAM00124455
                                               [EXAM00124455].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011, at 5
VI.C.4.f(2)—1        EXAM00123128
                                               [EXAM00123128].
                                                                                                                                                                                                              12-12020-mg




                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012, at 5
VI.C.4.f(2)—1        EXAM00122651
                                               [EXAM00122651].
VI.C.4.f(2)—1        EXAM00295529              ResCap 2009 Business Plan Review, dated Mar. 26, 2009, at EXAM00295546 [EXAM00295529].
VI.C.4.f(2)—1        RC40012974                2006 ResCap Plan, dated Jan. 31, 2006, at RC40013021 [RC40012974].
VI.C.4.f(2)—1        RC40012214                ResCap 2007–2009 Operating Plan Review, dated Dec. 2006, at RC40012386 [RC40012214].
VI.C.4.f(2)—1        RC40007361                ResCap Global Debt Restructuring Due Diligence Presentation, dated Mar. 17, 2008, at RC40007389 [RC40007361].
VI.C.4.f(2)—1        RC40015763                ResCap Preliminary 2010–2012 Business Plan, dated Mar. 19, 2010, at RC40015782 [RC40015763].
VI.C.4.f(2)—1        RC40017167                ResCap Preliminary 2011–2013 Business Plan, dated Dec. 22, 2010, at RC40017189 [RC40017167].
                                                                                                                                                                                                              Doc 3698-36




VI.C.4.f(3)(a)       N/A                       Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 94.
VI.C.4.f(3)(a)       N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 100.
VI.C.4.f(3)(a)       N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 100.
VI.C.4.f(3)(a)       N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 118.
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 4
VI.C.4.f(3)(a)       EXAM00124455
                                               [EXAM00124455].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011, at 4
VI.C.4.f(3)(a)       EXAM00123128
                                               [EXAM00123128].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012, at 4
VI.C.4.f(3)(a)       EXAM00122651
                                               [EXAM00122651].
                                                                                                                                                                                               Pg 384 of 385




VI.C.4.f(3)(a)       EXAM00329293              ResCap Trial Balance Spreadsheet, dated Dec. 31, 2006 [EXAM00329293].
VI.C.4.f(3)(a)       EXAM00329329              ResCap Trial Balance Spreadsheet, dated Dec. 31, 2007 [EXAM00329329].
VI.C.4.f(3)(a)       EXAM00231095              ResCap Trial Balance Spreadsheet, dated Dec. 31, 2008 [EXAM00231095].
VI.C.4.f(3)(b)—1     N/A                       Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 95.
VI.C.4.f(3)(b)—1     N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 101.
VI.C.4.f(3)(b)—1     N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 101.
VI.C.4.f(3)(b)—1     N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119.
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 5, 24
VI.C.4.f(3)(b)—1     EXAM00124455
                                               [EXAM00124455].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011, at 5
VI.C.4.f(3)(b)—1     EXAM00123128
                                               [EXAM00123128].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 5, 9
VI.C.4.f(3)(b)—1     EXAM00122651
                                                                                                                                                                                          Filed 05/13/13 Entered 05/13/13 17:08:13




                                               [EXAM00122651].
VI.C.4.f(3)(b)—2     N/A                       Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 95.
VI.C.4.f(3)(b)—2     N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 101.
VI.C.4.f(3)(b)—2     N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 101.
VI.C.4.f(3)(b)—2     N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119.
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 5, 24
VI.C.4.f(3)(b)—2     EXAM00124455
                                                                                                                                                                                                              Appendix




                                               [EXAM00124455].
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011, at 5
VI.C.4.f(3)(b)—2     EXAM00123128
                                               [EXAM00123128].

                                                                                Appendix X, Page 9 of 10
                                                                                Appendix X, Page 10 of 10


List of Complete Citations for Exhibits With Truncated Citations

Exhibit Number       Bates Number              Citation
                                               Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated Feb. 26, 2010, at 5, 9
VI.C.4.f(3)(b)—2     EXAM00122651
                                               [EXAM00122651].
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 41.
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90.
                                                                                                                                                                                                                    12-12020-mg




VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90.
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 42.
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008), at 39.
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 42.
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90.
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 42.
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 56.
VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 13.
                                                                                                                                                                                                                    Doc 3698-36




VI.C.4.f(4)(c)       N/A                       Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 64.
                                               Affidavit of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Support of Chapter 11 Petitions and First Day Pleadings
VI.C.4.f(4)(c)       N/A
                                               [Docket No. 6], at 40.

                                               Residential Funding Securities Corporation Financial Statements and Supplementary Schedules December 31, 2004, dated Feb. 24, 2005, at 2
VIII.D.5.b           FHFA-AS-0314592
                                               [FHFA-AS-0314592].
                                               Residential Funding Securities Corporation Financial Statements and Supplementary Schedules December 31, 2005, dated Mar. 14, 2006, at 2
VIII.D.5.b           FHFA-AS-0314471
                                               [FHFA-AS-0314471].
                                               Residential Funding Securities, LLC Financial Statements and Supplementary Schedules December 31, 2006, dated Feb. 26, 2007, at 2 [FHFA-AS-
VIII.D.5.b           FHFA-AS-0314430
                                               0314430].
                                                                                                                                                                                                     Pg 385 of 385




                                               Residential Funding Securities, LLC Financial Statements and Supplementary Schedules December 31, 2007, dated Feb. 28, 2008, at 2 [FHFA-AS-
VIII.D.5.b           FHFA-AS-0314450
                                               0314450].
                                               Residential Funding Securities, LLC Financial Statements and Supplementary Schedules December 31, 2008, dated Feb. 27, 2009, at 2 [FHFA-AS-
VIII.D.5.b           FHFA-AS-0314492
                                               0314492].
                                               Residential Funding Securities, LLC Financial Statements and Supplementary Schedules December 31, 2009, dated Feb. 26, 2010, at 2 [FHFA-AS-
VIII.D.5.b           FHFA-AS-0314518
                                               0314518].
                                               Residential Funding Securities, LLC Financial Statements as of and for the Year Ended December 31, 2010, Supplementary Schedules as of Year
VIII.D.5.b           FHFA-AS-0314542
                                               Ended December 31, 2010 and Independent Auditors' report, dated Feb. 25, 2011, at 3 [FHFA-AS-0314542].
                                               Ally Securities, LLC Financial Statements as of and for the Year Ended December 31, 2011, Supplementary Schedules as of Year Ended December
VIII.D.5.b           FHFA-AS-0314565
                                               31, 2011 and Independent Auditors' report, dated Feb. 24, 2012, at 3 [FHFA-AS-0314565].
                                               Ally Securities, LLC Financial Statements as of and for the Year Ended December 31, 2012, Supplementary Schedules as of Year Ended December
VIII.D.5.b           ALLY_0424625
                                               31, 2012 and Independent Auditors' report, dated Feb. 28, 2013, at 3 [ALLY_0424625].
                                                                                                                                                                                                Filed 05/13/13 Entered 05/13/13 17:08:13
                                                                                                                                                                                                                    Appendix




                                                                                Appendix X, Page 10 of 10
